                             2023-2008
            ___________________________________________

                UNITED STATES COURT OF APPEALS
                     FOR THE FEDERAL CIRCUIT
            ___________________________________________


             In re: ALEXANDER I. SOTO, WALTER G. SOTO,
                                   Appellants
            ____________________________________________

       Appeal from the United States Patent and Trademark Office,
        Patent Trial and Appeal Board Application No. 17/138,794
          ____________________________________________

                          JOINT APPENDIX
            ____________________________________________

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February 20, 2024
                                Inre: Soto
                            Case No. 2023-2008

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             systems based on Passive Optical Networks (PON))
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             Networks)




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            Trademark: 7,925,162)
2/2/2022    Final Rejection                                       3432-3479
8/4/2022    Appeal Brief Filed                                    3515-3545
9/9/2022    Examiner's Answer to Appeal Brief                     3550-3608
11/9/2022   Reply Brief Filed                                     3612-3620
4/18/2023   Patent Trial and Appeal Board (PTAB) Oral Hearing     3664-3680
            Transcript
5/31/2023   Notice of Appeal Filed                                3684-3686
11/1/1988   U.S. Patent No. 4,781,427 (Husbands)                  3706-3716
8/17/2004   U.S. Patent No. 6,778,557 (Yuki)                      3717-3848
1/30/2003   U.S. Patent Appl. Publ. No. US 2003/0020991           3895-3918
            (Chang)
1/4/2000    U.S. Patent No. 6,011,637 (Pfeiffer)                  3983-3991
2/8/2000    U.S. Patent No. 6,023,467 (Abdelhamid)                3992-4006
9/30/1997   Fiber Optics Standard Dictionary by Martin H.         4007-5246
            Weik, Third Edition
11/5/1996   U.S. Patent No. 5,572,349 (Hale)                      5247-5258
5/30/2002   U.S. Patent Appl. Publ. No. US 2002/0063932 (Unitt)   5259-5272
7/24/2003   U.S. Patent Appl. Publ. No. US 2003/0137975 (Song)    5273-5350
2/12/2004   U.S. Patent Appl. Publ. No. US 2004/0028047 (Hou)     5351-5377




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       17/138,794               12/30/2020              Alexander Ivan Soto                   UBI-005E                           1022

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       Washington, DC 2003 7                                                                      2636


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PTOL-90A (Rev. 04/07)

                                                       Appx0001
        UNITED STATES PATENT AND TRADEMARK OFFICE


         BEFORE THE PATENT TRIAL AND APPEAL BOARD


    Ex parte ALEXANDER IVAN SOTO and WALTER GLENN SOTO


                            Appeal2023-000477
                           Application 17 /138,794 1
                           Technology Center 2600



Before ERIC B. CHEN, HUNG H. BUI, and MICHAEL J. ENGLE,
Administrative Patent Judges.

BUI, Administrative Patent Judge.


                           DECISION ON APPEAL
      Appellant seeks our review under 35 U.S.C. § 134(a) from the
Examiner's final rejection of claims 1-24. Appeal Br. 1-7 (Claim App.).
We have jurisdiction under 35 U.S.C. § 6(b ). An oral hearing was held on
March 23, 2023. A transcript of the oral hearing will be made of record in
due course.
      We affirm. 2


1
  "Appellant" refers to "applicant[ (s)]" as defined in 37 C .F .R. § 1. 42. The
named inventors are the real parties of interest. Appeal Br. 1.
2
  Our Decision refers to Appellant's Appeal Brief filed August 4, 2022
("Appeal Br."); the Reply Brief filed November 9, 2022 ("Reply Br."); the
Examiner's Answer mailed September 9, 2022 ("Ans."); the Final Office
Action mailed February 2, 2022 ("Final Act."); and the original
Specification filed December 30, 2020 ("Spec.").


                                  Appx0002
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                       STATEMENT OF THE CASE
                            Related Proceedings
      The instant application is related to Appeal 2009-006986 in U.S. Pat.
App. No. 10/886,514, now U.S. Pat. No. 7,925,162 B2.
      The instant application is also a continuation of U.S. Pat. App. No.
16/886,479, filed May 4, 2020, now U.S. Pat. No. 10,917,176 B2, which is a
continuation of U.S. Pat. App. No. 16/734,270, filed January 3, 2020, now
U.S. Pat. No. 10,644,802 Bl, which is a continuation of U.S. Pat. App. No.
14/588,899, filed January 2, 2015, now U.S. Pat. No. 10,892,828 B2, which
is a continuation of U.S. Pat. App. No. 13/543,880, filed July 8, 2012, now
U.S. Pat. No. 8,958,697 B2, which is a continuation-in-part ("CIP") of
(1) U.S. Pat. App. No. 12/982,872, filed December 30, 2010, now U.S. Pat.
No. 8,238,754 B2, and (2) U.S. Pat. App. No. 12/512,968, filed July 30,
2009, now U.S. Pat. No. 9,337,948 B2. The '872 application is a
continuation of U.S. Pat. App. No. 10/886,514, filed July 6, 2004, now U.S.
Pat. No. 7,925,162 B2, which claims the benefit of (1) U.S. Provisional
App. No. 60/515,836, filed October 30, 2003, and (2) U.S. Provisional App.
No. 60/485,072, filed July 3, 2003. The '968 application is a CIP of U.S.
Pat. App. No. 11/772,187, filed June 31, 2007 (now abandoned), which is a
continuation of U.S. Pat. App. No. 10/865,547, filed June 10, 2004, now
U.S. Pat. No. 7,242,868 B2, which claims the benefit of (I) U.S. Provisional
App. No. 60/477,845, filed June 10, 2003 and (2) U.S. Provisional App. No.
60/480,488, filed June 21, 2003.
                           Appellant's Invention
      Appellant's invention relates to an optical local area network ("LAN")
50, shown in Figure 1, which includes network manager ("NM") 100 and

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one or more local network clients (e.g., network client adapters ("NCAs")
104A-104C). Spec. ,r,r 2, 24-26. Figure 1 is reproduced below with
additional annotations for illustration:




          100




NM--CLM
                                                           1048
                                                  Network Client Adapter
                                                             NC-ClM



                                                                                .     136
                                                                                    New.wk
                                                                                    !nt&rf;n:e




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    FIG.1                                                                           ~etwO!li(
                                                                                    lfttl'.lrfat:&




                                                              ••
Figure 1, as reproduced above, depicts optical local area network ("LAN")
50 including network manager ("NM") 100 and one or more local network
clients in the context of network client adapters ("NCAs") 104A- l 04C. NM
100 at the head end of a passive optical distribution fabric ("ODF") 102 acts
as a central transmission point and an overall controlling device for optical
LAN 50, and NCAs 104-104C use communication logic and memory to
                                           3

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      respond to messages from NM 100 using a protocol (e.g., layer-I, layer-2, or
       layer-3 protocol). Spec. ,r,r 24-26.
                 According to Appellant's Specification, optical LAN 50 transfers data
      between NM 100 and NCAs 104 in the form of "downstream frames" (from
      NM 100 to NCAs 104) and "virtual upstream frames" (from NCAs 104 to
      NM 100). Spec. ,r 33. An overall structure of downstream frame 200 and
      virtual upstream frame 202, is shown in Figure 2, as reproduced below:
                                                                                                                                  208       210



                                                                                                                                                                                                                                                                          ,   ..-···
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                                                                                                                                                                                                ......················•·'
                                                                                  NetworkP eno
                                                                                             •d                                                                                   ,,
                                                                                                                                                                                       ,,,,,"

                                                                                                                                                       ····················•"''
       200
                   Header                                                                                                                 Header
Downstream            n                  I                                                             Payload n
                                                                                                                                           n+1       I                                                Payload n+1                                                                       •••
                                                                                                                                         204/                                                          206/
                                                                                                 216
                                                                                  Network Period
       202
  Upstream
                                                                          10 11 12 13 14 15 !16 0 1 2 3 4 S 6 7 5 9 10 11 12 13 14 15 16 ~ti·· •
              Slot Slot Sill!
    Virtual    0 1 2                si;ilst Slot5 Slot6 Slot7 Slots Slot9 S!ct Slot Slot Slot Slot SlotiSlot S1oti[Slo!,1S!ot,js1o1tjS!ot SlotlS!otlSfotlS!otlSlottlS!otlSlotllS!ottlSk!!IS!ottlSlottlS!ot

     Frame                                    !

                 1226                    1228
       224     NC-A                  NC-A                                  NC-B                    NC-B         U!l·   NC-C NC-C                                NC-B                                                    NC-B
              Heade1                                                                                          assigned Header 13ayloa<
                                                                                                                                          Unassigned
  Upstream                         Payload                                Header                  Payload
                                                                                                                                            Slots
                                                                                                                                                               Heade1                                                  Payload
                 n                       n                                  n                        n         Slots     n        n                                   /1                                                        n
                          .,.,_
                                  ····••,,.
                                              ··-.................
                                                                     .........
                                                                                 •·,   ......                                                                "
                                                                                                                                                             :..:20                                                                            222
                                                                                                                                                US Slot Allocation n                                                        US Slot Allocation n+1

                  Preamble                           Delimiter                           I Ma!~~!~en!                                       NC-ID
                                                                                                                                           NC 104A
                                                                                                                                                            Start
                                                                                                                                                                0
                                                                                                                                                                                        End
                                                                                                                                                                                          5
                                                                                                                                                                                                                     NC-10
                                                                                                                                                                                                                 NC 104B
                                                                                                                                                                                                                                               Start
                                                                                                                                                                                                                                                     5
                                                                                                                                                                                                                                                                                  End
                                                                                                                                                                                                                                                                                       16
                 230/                              232                                          2~/
                                                                                                                                           NC 104B              6                        10
                                                                                                                                           NC 104C             13                        16



                                                    FIG. 2
      Figure 2, as reproduced above, depicts an overall structure of downstream
       frame 200, virtual upstream frame 202, and upstream frame 224. For each

                                                                                                                              4

                                                                                                                       Appx0005
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network period 218, NM I 00 allocates each NCA I 04 respective slots within
which an NCA is able to transmit data, based on total upstream bandwidth
requests communicated to NCAs 104 in downstream frame 200. Spec. ,r 35.
                             Representative Claim
      Claims 1-24 are pending. Claims 1, 23, and 24 are independent.
Claim I is representative of Appellant's invention as reproduced below with
bracketed letters added for clarity:
             1.) A Local Area Network (LAN) client for a passive
      optical LAN, the passive optical LAN disposed to having a head
      end and one or more passive optical splitters for coupling the
      LAN client over one or more optical fibers to the head end of the
      passive optical LAN, the LAN client for a passive optical LAN
      comprising of:
             [A] an optical interface for converting a downstream
      optical signal on a downstream optical wavelength to a
      downstream electrical signal and for converting an upstream
      electrical signal to an upstream optical signal and emitting the
      upstream optical signal on an upstream optical wavelength;
             [B] at least one network interface for receiving user data;
      and
             [C] a control module electrically coupled to the optical
      interface and electrically coupled to the at least one network
      interface and
                 [Cl] wherein the control module processes the
          downstream electrical signal having a downstream control
          and downstream data information to recover an upstream
          bandwidth allocation from the downstream control
          information and
                 [C2] wherein the control module receives user data
          from the at least one network interface and the control module
          responsive to the upstream bandwidth allocation generates the
          upstream electrical signal having upstream control and
          upstream data information and
                 [C3] wherein at least a portion of the user data is
          included in the upstream data information,

                                       5

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           [D] whereby the LAN client for a passive optical LAN
      communicates user data upstream responsive to an upstream
      bandwidth allocation.

Appeal Br. I (Claims App.).

                   REJECTIONS AND REFERENCES
      (1)   Claims 1, 3-6, 11-14, 17, 18, 23, and 24 stand rejected under
35 U.S.C. § 103(a) as being obvious over the combined teachings of
Husbands et al. (US 4,781,427; issued Nov. 1, 1988; "Husbands") and Yuki
et al. (US 6,778,557 BI; issued Aug. 17, 2004; "Yuki"). Final Act. 11-34.
      (2)   Claims 2 and 7 stand rejected under 35 U.S.C. § 103(a) as being
obvious over the combined teachings of Husbands, Yuki, and Marion R.
Finley, Jr. (Optical Fibers in Local Area Networks, 22 IEEE Comm. Mag.
22-35 (Aug. 1984) ("Finley")). Final Act. 34-36.
      (3)   Claim 8 stands rejected under 35 U.S.C. § 103(a) as being
obvious over the combined teachings of Husbands, Yuki, and Xu et al. (US
7,181,142 Bl; issued Feb. 20, 2007; "Xu"). Final Act. 36-37.
      (4)   Claim 9 stands rejected under 35 U.S.C. § 103(a) as being
obvious over the combined teachings of Husbands, Yuki, and ITU-T
Recommendation G.983.1 (Broadband Optical Access Systems based on
Passive Optical Networks (PON) 1-110 (Oct. 1998) ("ITU-T")). Final Act.
37-39.
      (5)   Claim 10 stands rejected under 35 U.S.C. § 103(a) as being
obvious over the combined teachings of Husbands, Yuki, and Warden et al.
(US 2003/0189935 Al; issued Oct. 9, 2003; "Warden"). Final Act. 39-40.
      (6)   Claims 15, 16, 19, and 20 stand rejected under 35 U.S.C.
§ 103(a) as being obvious over the combined teachings of Husbands, Yuki,

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Chang (US 2003/0020991 Al; published Jan. 30, 2003), and Masucci et al.
(US 6,498,667 BI; issued Dec. 24, 2002; "Masucci"). Final Act. 40-44.
      (7)    Claim 21 stands rejected under 35 U.S.C. § 103(a) as being
obvious over the combined teachings of Husbands, Yuki, and Mahony et al.
(US 6,668,127 BI; issued Dec. 23, 2003; "Mahony"). Final Act. 44.
      (8)    Claim 22 stands rejected under 35 U.S.C. § 103(a) as being
obvious over the combined teachings of Husbands, Yuki, Finley, and
Vujkovic-Cvijin et al. (US 2003/0039015 Al; published Feb. 27, 2003;
"Vujkovic-Cvijin"). Final Act. 44-46.


                                ANALYSIS
       § 103(a) Rejection of Claims 1, 3-6, 11-14, 17, 18, 23, and 24
                        based on Husbands and Yuki
      In support of the obviousness rejection, the Examiner (1) finds the
combination of Husbands and Yuki teaches or suggests all the limitations of
Appellant's claim 1, and (2) articulates reasoning with rational underpinning
to combine Husbands and Yuki. Final Act. 12-17. In particular, the
Examiner finds Husbands teaches the claimed "Local Area Network (LAN)
client for a passive optical LAN, ... [shown in Figures 4-5] having a head
end [24, shown in Figure 4] and one or more passive optical splitters [26, 28
shown in Figure 4] for coupling the LAN client over one or more optical
fibers to the head end of the passive optical LAN," including limitations
[A] "an optical interface" (FO XMTR and FO RCV, shown in Figure 4),
[B] "at least one network interface" (Port #1, Port #2, shown in Figure 5)
and [C] "a control module" (interface logic, shown in Figure 4) of
Appellant's claim I to perform part of limitations [Cl], [C2], [C3], and [D]
relative to "the downstream electrical signal having downstream data
                                      7

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information" and "the upstream electrical signal having upstream control
and upstream data information." Final Act. 12-13 (citing Husbands 4:3-13,
40-42, 7:7-9, 50-54, Figs. 4, 5, 8).
      For example, Husbands teaches an optical local area network (LAN),
shown in Figure 4, including head-end unit 24 and passive optical splitters
26, 28 arranged to communicate with a plurality of user terminal devices
(LAN client) 14, via network adapter 18. Husbands' Figures 4-5 are
reproduced below with additional annotations for illustration.




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Husbands' Figure 4, as reproduced above, depicts a LAN client including:
[A] "an optical interface" in the form of "FO XMTR [and] FO RCV," [B] "at
least one network interface" in the form of Port # 1 and Port #2, shown in
Figure 5, and [C] "a control module" in the form of interface logic, shown in
Figure 4, Husbands 2:44, 4:3-13, 40-42, 6:18-40, 7:7-9, 26-47,
According to Husbands, the network protocol selected for use with the
optical LAN is a carrier sense multiple access ("CSMA") with collision

                                                                          9

                                               Appx0010
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detection ("CD"), also known as CSMA/CD, designed to support a large
number of user devices 14. Husbands 2:29-35.
      The Examiner acknowledges Husbands does not expressly teach, but
relies upon Yuki for teaching missing limitations [Cl]-[C3] and [D] of
Appellant's claim 1 relative (1) "to recover an upstream bandwidth
allocation" when processing "the downstream electrical signal having a
downstream control and downstream data information" and (2) "responsive
to the upstream bandwidth allocation" when generating "the upstream
electrical signal having upstream control and upstream data information" in
order to support the conclusion of obviousness, i.e.,
      it would have been obvious ... to apply the dynamic bandwidth
      allocation approach as taught by Yuki ... to the system/method
      of Husbands ... so that ... the buffer memory requirements can
      be relaxed, and the latency time elapsed before a slave/client unit
      transmits a signal can be reduced, and system
      capacity/throughput can be increased.

Final Act. 14-17.
      For example, Yuki teaches a point-to-multipoint communication
system such as an optical LAN, shown in Figure 1, in which "downstream
data information" and "upstream data information" are allocated with time
slots (e.g., bandwidth), shown in Figure 5. Yuki's Figure 1 is reproduced
below:




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         110-1




                                              DOWNSTREAM



                                                                          /
                                                                              ,.-20
                                                                  MASTER
                                                                   UNIT




                                               UPSTREAM




Yuki's point-to-multipoint communication system including master unit 20
and multiple slave units 10-1 to 10-m such that transmission line 30 is
allocated among slaves units 10-1 to 10-m by master unit 20, via TDM
(Time Division Multiplex) and TDMA (Time Division Multiple Access)
protocols. Yuki 11:51-67, 29:65-30:4, 42:46-52. However, Yuki's access
protocol is not limited to TDM and TDMA, but is applicable to upstream
and downstream transmission in accordance with FDM (Frequency Division
Multiplex), FDMA (Frequency Division Multiple Access), CDMA (Code
Division Multiple Access), and the like. Yuki 12:46-54, 29:65-30:4, 42:46-
52.
      Appellant does not dispute the Examiner's factual findings regarding
Husbands and Yuki individually. See Appeal Br. 9. Instead, Appellant
presents several arguments against the combination of Husbands and Yuki.
      First, Appellant contends the Examiner's "combination of Husbands
and Yuki is fundamentally flawed" because (1) "Husbands operates in a
peer-to-peer manner that is the opposite of the master/slave operation in
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Yuki"; (2) Husbands' "nodes and terminals ... involve either ... no
processing or ... specialized functions, none of which are control of the
network in any manner"; and (3) "the operation of Yuki changes the
principle of operation of Husbands" and "makes the terminals of Husbands
unsuitable for their intended purpose" because Husbands has "no central
controller and any terminal [that] can initiate communications" whereas
"Yuki's system specifically requires a master and requires the slaves to ask
for permission to transmit data." Appeal Br. 9-12.
      Second, Appellant contends the Examiner's "alleged rationale to
combine Yuki with Husbands is not rational" (emphasis omitted) because
(1) "the system of Yuki ... where CDMA is used does not provide a reason
to use Yuki's system in the CSMA system of Husbands"; (2) "[t]he
Examiner's reliance on the applicability of Yuki's system to master/slave
systems is misplaced as Husbands does not have a master/slave system"; and
(3) "[ o]ne skilled in the art would not use Yuki's protocol that does not have
collisions to modify a CSMA/CD system that inherently has collisions." Id.
at 12-15.
      Third, Appellant contends "[t]he Examiner is relying on hindsight"
(emphasis omitted) because "Yuki discloses using time division
multiplexing (TDM) and time division multiple access (TDMA) as part of
the system" (Yuki 12:45-54) and "Yuki's access protocol may be used with
other types of access control such as CDMA, FDM, and FDMA" (Yuki
29:65-30:4) but "Yuki never mentions that the system may be used with
CSMA/CD," which as discussed above is the protocol used in Husbands. Id.
at 15-16. In other words, Appellant argues (1) "Yuki never discloses that
Yuki's protocol can be used in a CSMA/CD system" and, as such, Yuki's

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access protocol cannot be used in Husbands' CSMA/CD system and
(2) "[t]here is no explanation how Yuki's protocol could be incorporated
without modifying Husbands to be a master/slave system" and "[ d]oing so
would destroy the express feature of clients in Husbands to initiate
communications without a central controller." Reply Br. 4-5.
      Appellant's contentions are not persuasive to demonstrate reversible
error. See In re Jung, 637 F.3d 1356, 1365 (Fed. Cir. 2011). Instead, we
find the Examiner's findings are supported by a preponderance of the
evidence on this record. Ans. 39-54. At the outset, we note Appellant's
claim 1 broadly recites basic components of a LAN client (as described by
Husbands), including "an upstream bandwidth allocation" when processing
"the downstream electrical signal having a downstream control and
downstream data information" and "responsive to the upstream bandwidth
allocation" when generating "the upstream electrical signal having upstream
control and upstream data information" which are taught or suggested by
Yuki. As such, Appellant's arguments regarding (1) the alleged distinction
between Husbands' peer-to-peer system (without a central controller) and
Yuki's point-to-multipoint system, (2) the alleged incompatibility between
Yuki's access protocol for use in TDM, TDMA, CDMA, FDM, and FDMA
and Husbands' network that uses CSMA/CD are not commensurate in scope
with claim 1, and thus, for that reason, do not demonstrate error in the
Examiner's obviousness rejection of independent claims 1, 23, and 24. See
In re Self, 671 F.2d 1344, 1348 (CCPA 1982) (limitations not appearing in
the claims cannot be relied upon for patentability).
      For example, we are unpersuaded by Appellant's argument regarding
the alleged distinction between Husbands' peer-to-peer system (without a

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central controller) and Yuki's point-to-multipoint system because both
Husbands and Yuki are directed to an optical local area network (LAN) (see
Husbands' Abstract and Yuki 1: 16-23).
      Likewise, we are equally unpersuaded by Appellant's argument
regarding the alleged incompatibility between Yuki's access protocol and
Husbands' access protocol because (1) both Yuki's access protocol and
Husbands' access protocol are directed to overcoming problems with
CSMA/CD and (2) Yuki's TDM (Time Division Multiplex) and TDMA
(Time Division Multiple Access) are known to be interchangeable with and
"easily adapted, for example, to FDM (Frequency Division Multiplex),
FDMA (Frequency Division Multiple Access), CDMA (Code Division
Multiple Access), and the like." Yuki 1:29-60, 2:29-34, 29:65-30:4,
42:46-52.
      More importantly, we note that Appellant's arguments do not point to
any specific language within the claims to distinguish over the prior art
(Husbands and Yuki) and, as such, those arguments amount to a general
allegation that the claims define a patentable invention. Such allegations
will not be considered an argument for separate patentability. 37 C.F.R.
§ 41.37(c)(l)(iv) (2021). Instead, mere attorney arguments and conclusory
statements that are unsupported by factual evidence are entitled to little
probative value. In re Geisler, 116 F.3d 1465, 1470 (Fed. Cir. 1997); see
also In re De Blauwe, 736 F.2d 699, 705 (Fed. Cir. 1984); Ex parte Belinne,
No. 2009-004693, slip op. at 7-8 (BPAI Aug. 10, 2009) (informative),
available at https://www.uspto.gov/sites/default/files/ip/boards/bpai/
decisions/inform/fd09004693. pdf.



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      Although all the limitations [A]-[D] recited in Appellant's claim 1
were known as demonstrated by Husbands and Yuki, we recognize that the
Examiner must still articulate "reasoning with some rational underpinning to
support the legal conclusion of obviousness." In re Kahn, 441 F.3d 977, 988
(Fed. Cir. 2006). However, the Examiner's reasoning need not appear in, or
be suggested by, one or more of the references on which the Examiner relies
upon. Instead, a reason to combine teachings from the prior art "may be
found in explicit or implicit teachings within the references themselves, from
the ordinary knowledge of those skilled in the art, or from the nature of the
problem to be solved." WMS Gaming Inc. v. Int'! Game Tech., 184 F.3d
1339, 1355 (Fed. Cir. 1999) (citing In re Rouffet, 149 F.3d 1350, 1355 (Fed.
Cir. 1998)). "Under the correct [obviousness] analysis, any need or problem
known in the field of endeavor at the time of invention and addressed by the
patent can provide a reason for combining the elements in the manner
claimed." KSR Int 'l Co. v. Teleflex Corp., 550 U.S. 398, 420 (2007).
      For example, the Examiner has provided a rationale supporting
motivation by a person of ordinary skill in the art to achieve the claimed
subject matter, i.e., "to apply the dynamic bandwidth allocation approach as
taught by Yuki ... to the system/method of Husbands ... so that ... the
buffer memory requirements can be relaxed, and the latency time elapsed
before a slave/client unit transmits a signal can be reduced, and system
capacity/throughput can be increased" is supported with sufficient rational
underpinning. Final Act. 14-17; Ans. 44-45. We agree with the
Examiner's findings. Appellant has not sufficiently demonstrated the
Examiner's proffered reason to combine is reached in error or why a person
of ordinary skill in the art would not have reached the conclusions reached

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by the Examiner. Consequently, we are not persuaded that the Examiner's
proffered reason to combine these references is incorrect.
      We are also unpersuaded by Appellant's argument of impermissible
hindsight. We see the hindsight question before us as asking (1) whether the
Examiner's proffered combination of references is merely "the predictable
use of prior art elements according to their established functions" (KSR, 550
U.S. at 417) and (2) whether an artisan reasonably would have combined the
cited references in the manner proffered by the Examiner without having the
benefit of the claim to use as a guide (i.e., impermissible hindsight). After
reviewing the teachings and suggestions of the cited references, we find the
weight of the evidence shows that the proffered combination is merely a
"predictable use of prior art elements according to their established
functions[, i.e., substituting Yuki's access protocol with Husbands' access
protocol]." KSR, 550 U.S. at 415-416; see also In re Cree, Inc., 818 F.3d
694, 702 n.3 (Fed. Cir. 2016) (Appellant's hindsight argument is of no
moment where the Examiner provides a sufficient, non-hindsight reason to
combine the references).
      Lastly, we note Appellant has not demonstrated the Examiner's
proffered combination of Husbands and Yuki would have been "uniquely
challenging or difficult for one of ordinary skill in the art." See Leapfrog
Enters., Inc. v. Fisher-Price, Inc., 485 F.3d 1157, 1162 (Fed. Cir. 2007)
(citing KSR, 550 U.S. at 418). "Attorney argument is no substitute for
evidence." Enzo Biochem, Inc. v. Gen-Probe, Inc., 424 F.3d 1276, 1284
(Fed. Cir. 2005). Nor has Appellant provided objective evidence of
secondary considerations which our reviewing court guides "operates as a



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beneficial check on hindsight." Cheese Sys., Inc. v. Tetra Pak Cheese &
Powder Sys., Inc., 725 F.3d 1341, 1352 (Fed. Cir. 2013).
      For these reasons, we are not persuaded of Examiner error.
Accordingly, we sustain the Examiner's obviousness rejection of
independent claim 1 and similarly, independent claims 23 and 24, and their
respective dependent claims 3-6, 11-14, 17, and 18, which are not argued
separately.
      With respect to dependent claim 2, 7-10, 15, 16, and 19-22,
Appellant simply states that the newly cited art, including: (1) Finley,
(2) Xu, (3) ITU-T, (4) Warden, (5) Chang, (6) Masucci, (7) Mahony, and
(8) Vujkovic-Cvijin, does not and cannot cure the deficiencies of Husbands
and Yuki. Appeal Br. 16-20. However, such a skeletal argument as offered
here is not an argument in support of separate patentability pursuant to 37
C.F.R. § 41.37(c)(l)(iv) and, therefore, need not be addressed. In re Lovin,
652 F.3d 1349, 1356-1357 (Fed. Cir. 2011). Even if Appellant's sole
argument regarding claims 2, 7-10, 15, 16, and 19-22 is an argument in
support of separate patentability, we still find it unavailing because
Appellant fails to dispute the Examiner's factual findings regarding these
references. Ans. 55-58.
      For the reasons set forth above, Appellant has not persuaded us of
error in the Examiner's rejections of claims 2, 7-10, 15, 16, and 19-22.
Accordingly, we also sustain the Examiner's obviousness rejections of
claims 2, 7-10, 15, 16, and 19-22.




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                               CONCLUSION 3
      On the record before us, Appellant does not demonstrate that the
Examiner erred in rejecting: (1) claims 1, 3-6, 11-14, 17, 18, 23, and 24 as
obvious over the combined teachings of Husbands and Yuki; (2) claims 2
and 7 as obvious over the combined teachings of Husbands, Yuki, and
Finley; (3) claim 8 as obvious over the combined teachings of Husbands,
Yuki, and Xu; (4) claim 9 as obvious over the combined teachings of
Husbands, Yuki, and ITU-T; (5) claim 10 as obvious over the combined
teachings of Husbands, Yuki, and Warden; (6) claims 15, 16, 19, and 20 as
obvious over the combined teachings of Husbands, Yuki, Chang, and
Masucci; (7) claim 21 as obvious over the combined teachings of Husbands,
Yuki, and Mahony; and (8) claim 22 as obvious over the combined teachings
of Husbands, Yuki, Finley, and Vujkovic-Cvijin.




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   In the event of further prosecution of this application, this panel suggests
the Examiner consider whether claims 1-24 should be rejected under the
obviousness-type double patenting over the claims in the related issued
patents, including (1) U.S. Pat. No. 10,917,176 B2, (2) U.S. Pat. No.
10,644,802 Bl, (3) U.S. Pat. No. 10,892,828 B2, (4) U.S. Pat. No. 8,958,697
B2, (5) U.S. Pat. No. 8,238,754 B2, (6) U.S. Pat. No. 9,337,948 B2, (7) U.S.
Pat. No. 7,925,162 B2, and (8) U.S. Pat. No. 7,242,868 B2. Claims 1-24 as
pending may be significantly broader than the claims issued in those patents.
If necessary, a terminal disclaimer could be and should be filed to overcome
such a rejection.
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                                 Appx0019
Appeal2023-000477
Application 17 /138,794

                               DECISION SUMMARY
      In summary:



1 3-6 11-             103(a)    Husbands, Yuki      1 3-6 11-
 '    '                                              '    '
14,17,18,                                           14,17,18,
23,24                                               23,24
   2, 7               103(a)    Husbands, Yuki,        2, 7
                                Finle
      8               103(a)    Husbands, Yuki,         8
                                Xu
      9               103(a)    Husbands, Yuki,         9
                                ITU-T
      10              103(a)    Husbands, Yuki,         10
                                Warren
 15, 16, 19,          103(a)    Husbands, Yuki,     15, 16, 19,
     20                         Chan , Masucci          20
     21               103(a)    Husbands, Yuki,         21
                                Mahon
      22              103(a)    Husbands, Yuki,         22
                                Finley, Vujkovic-
                                Cvi"in
  Overall                                             1-24
  Outcome

                         TIME PERIOD FOR RESPONSE

      No time period for taking any subsequent action in connection with
this appeal may be extended under 37 C.F.R. § 1.136. See 37 C.F.R.
§ l.136(a)(l )(iv).


                                   AFFIRMED




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                                   Appx0020
Form PTO 55 (12-80)


                          U.S. DEPARTMENT OF COMMERCE
                         United States Patent and Trademark Office


                                                                          July 24, 2023
                                                                                (Date)




THIS IS TO CERTIFY that the annexed is a list of the contents comprised of the
electronic file of the Patent Application identified below, said contents list being a list of
the papers comprising the record before the United States Patent and Trademark Office
for the Patent Application of:


                Applicant(s): Alexander Ivan Soto and Walter Glenn Soto

                Date Filed:     12/30/2020

                Serial No:      17/138,794

                Title:          Communication System and Method for an Optical Local
                                Area Network

                         By authority of the

                         UNDER SECRETARY OF COMMERCE FOR
                         INTELLECTUAL PROPERTY AND DIRECTOR OF THE
                         UNITED STATES PATENT AND TRADEMARK OFFICE


                                        /s/ Natasha M. Brotten

                                        Certifying Officer




                                        Appx0021
Prosecution History Ser. No. 17/138,794
 Date         Document
 12/30/2020   Track 1 Request
 12/30/2020   Utility or Design Patent Application
 12/30/2020   Application Data Sheet
 12/30/2020   Fee Worksheet
 01/15/2021   Notice to File Corrected Application Papers
 01/15/2021   Fee Worksheet
 01/15/2021   Filing Receipt
 01/19/2021   Applicant Response to Pre-Exam Formalities Notice
 01/19/2021   Preliminary Amendment
 01/22/2021   Letter Regarding a New Notice and/or the Status of the Application
 01/22/2021   Filing Receipt - Updated
 01/22/2021   Fee Worksheet
 01/22/2021   Notice to File Corrected Application Papers
 01/22/2021   Applicant Response to Pre-Exam Formalities Notice
 01/26/2021   Notice of Incomplete Reply
 01/26/2021   Fee Worksheet
 01/27/2021   Applicant Response to Pre-Exam Formalities Notice
 01/29/2021   Notice of Incomplete Reply
 01/29/2021   Fee Worksheet
 01/29/2021   Applicant Response to Pre-Exam Formalities Notice
 02/02/2021   Fee Worksheet
 02/02/2021   Letter Regarding a New Notice and/or the Status of the Application
 02/02/2021   Filing Receipt - Updated
 02/04/2021   Track 1 Request Granted
 03/18/2021   Non-Final Office Action
 03/18/2021   Bibliographic Data Sheet
 04/13/2021   Electronic Request for Interview with Examiner
 04/23/2021   Examiner Interview Summary
 05/13/2021   Notice of Publication
 06/17/2021   Information Disclosure Statement (IDS)
 06/17/2021   Response after Non-Final Office Action
 07/13/2021   Final Office Action
 09/07/2021   Response after Final Office Action
 09/15/2021   Response after Final Action
 09/15/2021   Notice of Non-Compliant Amendment
 09/27/2021   Examiner Interview Summary
 10/08/2021   Non-Final Office Action
 01/09/2022   Fee Worksheet
 01/09/2022   Electronic Information Disclosure Statement
 01/09/2022   Response after Non-Final Office Action
 02/02/2022   Final Office Action
 05/02/2022   Power of Attorney




                                      Appx0022
05/02/2022   Fee Worksheet
05/02/2022   Notice of Appeal
05/04/2022   Acceptance of Power of Attorney
08/04/2022   Appeal Brief
08/04/2022   Fee Worksheet
09/09/2022   Examiner's Answer
11/09/2022   Reply Brief
11/09/2022   Request for Oral Hearing
11/16/2022   Patent Trial and Appeal Board Docketing Notice
01/10/2023   Notification of Appeal Hearing
01/31/2023   Confirmation of Video Hearing
02/08/2023   Decision Granting Video Hearing
04/03/2023   PTAB Decision on Appeal
04/18/2023   PTAB Oral Hearing Transcript
04/19/2023   Electronic Review
04/19/2023   Email Notification
05/31/2023   Notice of Appeal to Court of Appeals




                                    Appx0023
                                LISTING OF CLAIMS ON APPEAL

1.) A Local Area Network (LAN) client for a passive optical LAN, the passive optical LAN
    disposed to having a head end and one or more passive optical splitters for coupling the
    LAN client over one or more optical fibers to the head end of the passive optical LAN, the
    LAN client for a passive optical LAN comprising of:

                  an optical interface for converting a downstream optical signal on a
           downstream optical wavelength to a downstream electrical signal and for converting
           an upstream electrical signal to an upstream optical signal and emitting the upstream
           optical signal on an upstream optical wavelength;
                  at least one network interface for receiving user data; and
                  a control module electrically coupled to the optical interface and electrically
           coupled to the at least one network interface and wherein the control module
           processes the downstream electrical signal having a downstream control and
           downstream data information to recover an upstream bandwidth allocation from the
           downstream control information and wherein the control module receives user data
           from the at least one network interface and the control module responsive to the
           upstream bandwidth allocation generates the upstream electrical signal having
           upstream control and upstream data information and wherein at least a portion of the
           user data is included in the upstream data information,
                  whereby the LAN client for a passive optical LAN communicates user data
           upstream responsive to an upstream bandwidth allocation.


2.) The LAN client for a passive optical LAN of claim 1, wherein the control module includes
    an Ethernet MAC.




UBI‐005E                                Listing of Claims on Appeal                        Page 1 of 7

                                             Appx0024
3.) The LAN client for a passive optical LAN of claim 1, wherein the control module includes
    a passive optical LAN protocol processor.

4.) The LAN client for a passive optical LAN of claim 1, wherein the control module further
    adjusts timing of the generation of the upstream electrical signal responsive to receiving a
    response delay message.

5.) The LAN client for a passive optical LAN of claim 1, wherein the control module is
    configured to receive in the downstream electrical signal a network identification address
    assigned to the LAN client and wherein the network identification address can be used
    by the control module for receiving downstream data information addressed to the LAN
    client for a passive optical LAN.

6.) The LAN client for a passive optical LAN of claim 1, wherein the control module
    performs operation administration and maintenance (OAM) message processing.

7.) The LAN client for a passive optical LAN of claim 1, wherein the control module is
    configured to manage the transmission and reception of optical data link layer
    communications through the optical interface based on at least one optical data link layer
    address and wherein the control module includes an Ethernet Media Access Control
    (MAC) configured to enable Ethernet communications through the at least one network
    interface.

8.) The LAN client for a passive optical LAN of claim 1, wherein the LAN client adjusts the
    optical power level of the upstream optical signal responsive to receiving a message.

9.) The LAN client for a passive optical LAN of claim 1, wherein the LAN client receives a
    request for new LAN clients to identify themselves and the LAN client responds with a
    message including a serial number for identifying the LAN client.


UBI‐005E                                Listing of Claims on Appeal                     Page 2 of 7

                                             Appx0025
10.)       The LAN client for a passive optical LAN of claim 1, wherein the downstream control
    information includes a consecutive sequence of bits for the LAN client to identify the
    beginning of a downstream frame, wherein the downstream frame includes the
    downstream control and data information.

11.)       The LAN client for a passive optical LAN of claim 1, wherein the upstream control
    information includes user data buffering status information.

12.)       The LAN client for a passive optical LAN of claim 1, wherein the control module
    processes the downstream electrical signal having successive downstream frames.

13.)       The LAN client for a passive optical LAN of claim 12, wherein a downstream frame
    includes a first number of downstream subframes having one or more downstream
    formats and wherein each downstream subframe includes a second number of
    downstream slots of time.

14.)       The LAN client for a passive optical LAN of claim 13, wherein a downstream
    subframe includes a downstream communication channel for communicating the
    upstream bandwidth allocation for provisioning upstream slots of time to the LAN client
    for a passive optical LAN.

15.)       The LAN client for a passive optical LAN of claim 12, wherein a downstream frame
    includes downstream packet data and wherein downstream packet data includes a
    downstream packet header and downstream packet payload and wherein the downstream
    packet header includes a field indicating the length of the downstream packet payload.

16.)       The LAN client for a passive optical LAN of claim 15, wherein the downstream packet
    payload includes at least a portion of an Ethernet frame or a Fibre Channel frame.




UBI‐005E                               Listing of Claims on Appeal                       Page 3 of 7

                                            Appx0026
17.)       The LAN client for a passive optical LAN of claim 1, wherein the upstream optical
    signal is emitted in one or more upstream slots of time forming one or more upstream
    frames as governed by the upstream bandwidth allocation.

18.)       The LAN client for a passive optical LAN of claim 17, wherein upstream frames
    includes a first number of upstream subframes having one or more upstream formats.

19.)       The LAN client for a passive optical LAN of claim 17, wherein upstream frames
    includes an upstream packet header and an upstream packet payload and wherein the
    upstream packet header includes a field indicating an upstream packet payload length.

20.)       The LAN client for a passive optical LAN of claim 19, wherein the upstream packet
    payload includes at least a portion of an Ethernet frame or a Fibre Channel frame.

21.)       The LAN client for a passive optical LAN of claim 1, wherein the optical interface
    includes one or more optical fiber connectors selected from the group consisting
    essentially of:
           Subscriber Connector (SC);
           Lucent Connector (LC);
           Fiber Channel (FC);
           Straight TP (ST); and
           Miniature Unit (MU).


22.)       The LAN client for a passive optical LAN of claim 1, wherein the at least one network
    interface is configured to communicate using a protocol from the group consisting
    essentially of:
           IEEE 10Mbit Ethernet;
           IEEE 100Mbit Ethernet;


UBI‐005E                                Listing of Claims on Appeal                      Page 4 of 7

                                             Appx0027
           IEEE 1000Mbit Ethernet;
           Fibre Channel;
           IEEE 802.11;
           IEEE 802.16; and
           Digital Subscriber Line (DSL)


23.)       A Local Area Network (LAN) client for a passive optical LAN, the passive optical LAN
    disposed to having a head end and one or more passive optical splitters for coupling the
    LAN client over one or more optical fibers to the head end of the passive optical LAN, the
    LAN client for a passive optical LAN comprising of:

                  an optical interface for converting a downstream optical signal on a
           downstream optical wavelength to a downstream electrical signal and for converting
           an upstream electrical signal to an upstream optical signal and emitting the upstream
           optical signal on an upstream optical wavelength;
                  at least one network interface for receiving user data; and
                  a control module electrically coupled to the optical interface and electrically
           coupled to the at least one network interface and wherein the control module
           processes the downstream electrical signal having a downstream control and
           downstream data information to recover an upstream bandwidth allocation from the
           downstream control information wherein the upstream bandwidth allocation
           includes a start and end time slot number or a start time and length of time and
           wherein the control module receives user data from the at least one network interface
           and the control module responsive to the upstream bandwidth allocation generates
           the upstream electrical signal having upstream control and upstream data information
           and wherein at least a portion of the user data is included in the upstream data
           information,

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                                             Appx0028
                  whereby the LAN client for a passive optical LAN communicates user data
           upstream responsive to an upstream bandwidth allocation.


24.)       A Local Area Network (LAN) client for a passive optical LAN, the passive optical LAN
    disposed to having a head end and one or more passive optical splitters for coupling the
    LAN client over one or more optical fibers to the head end of the passive optical LAN, the
    LAN client for a passive optical LAN comprising of:

                  an optical interface for converting a downstream optical signal on a
           downstream optical wavelength to a downstream electrical signal and for converting
           an upstream electrical signal to an upstream optical signal and emitting the upstream
           optical signal on an upstream optical wavelength;
                  at least one network interface for receiving user data; and
                  a control module electrically coupled to the optical interface and electrically
           coupled to the at least one network interface and wherein the control module
           processes the downstream electrical signal having a downstream control and
           downstream data information to recover an upstream bandwidth allocation from the
           downstream control information wherein the upstream bandwidth allocation
           includes a start and end time slot number or a start time and length of time and
           wherein the control module receives user data from the at least one network interface
           and the control module responsive to the upstream bandwidth allocation generates
           the upstream electrical signal having upstream control and upstream data information
           and wherein at least a portion of the user data is included in the upstream data
           information,
                  whereby the LAN client for a passive optical LAN ends the optical upstream
           signal emissions responsive to the end time slot number or the end of the length of



UBI‐005E                                Listing of Claims on Appeal                        Page 6 of 7

                                             Appx0029
           time and whereby the LAN client for a passive optical LAN communicates user data
           upstream responsive to an upstream bandwidth allocation.




UBI‐005E                              Listing of Claims on Appeal                    Page 7 of 7

                                           Appx0030
Doc Code: TRACK1 .REQ
Document Description: TrackOne Request
                                                                                                                   PTO/AIA/424 (04-14)




                       CERTIFICATION AND REQUEST FOR PRIORITIZED EXAMINATION
                                    UNDER 37 CFR 1.102(e) (Page 1 of 1)

First Named
Inventor:                 Alexander Soto                    I   Nonprovisional Application Number (if
                                                                known):
                                                                                                        I
Title of
Invention:                Communication System and Method for an Optical Local Area Network
APPLICANT HEREBY CERTIFIES THE FOLLOWING AND REQUESTS PRIORITIZED EXAMINATION FOR
THE ABOVE-IDENTIFIED APPLICATION.

     1. The processing fee set forth in 37 CFR 1.17(i)(1) and the prioritized examination fee set forth in
        37 CFR 1.17(c) have been filed with the request. The publication fee requirement is met
        because that fee, set forth in 37 CFR 1.18(d), is currently $0. The basic filing fee, search fee,
        and examination fee are filed with the request or have been already been paid. I understand
        that any required excess claims fees or application size fee must be paid for the application.

     2. I understand that the application may not contain, or be amended to contain, more than four
        independent claims, more than thirty total claims, or any multiple dependent claims, and that
        any request for an extension of time will cause an outstanding Track I request to be dismissed.

     3. The applicable box is checked below:

            I.        [?] Original Application {Track One) - Prioritized Examination under§ 1.102{e){1)
     i.          (a) The application is an original nonprovisional utility application filed under 35 U.S.C. 111 (a).
                     This certification and request is being filed with the utility application via EFS-Web.
                                                      ---OR---
                 (b) The application is an original nonprovisional plant application filed under 35 U.S.C. 111 (a).
                     This certification and request is being filed with the plant application in paper.

     ii.         An executed inventor's oath or declaration under 37 CFR 1.63 or 37 CFR 1.64 for each
                 inventor, or the application data sheet meeting the conditions specified in 37 CFR 1.53(f)(3)(i) is
                 filed with the application.

           II.        0 Request for Continued Examination - Prioritized Examination under§ 1.102{e){2)
     i. A request for continued examination has been filed with, or prior to, this form.
     ii. If the application is a utility application, this certification and request is being filed via EFS-Web.
     iii. The application is an original nonprovisional utility application filed under 35 U.S.C. 111 (a), or is
          a national stage entry under 35 U.S.C. 371.
     iv. This certification and request is being filed prior to the mailing of a first Office action responsive
          to the request for continued examination.
     v. No prior request for continued examination has been granted prioritized examination status
          under 37 CFR 1.102(e)(2).



Signature/Alexander Soto/                                                                    Date   December 30, 2020
~p~~~Typed)Alexander                       Soto                                              Practitioner
                                                                                             Registration Number

Note: This form must be signed in accordance with 37 CFR 1.33. See 37 CFR 1.4(d) for signature requirements and certifications.
Submit multiole forms if more than one sianature is reauired. *
                      2
~         *Total of           forms are submitted.


                                                        Appx0031
                                                Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the requirements of
the Act, please be advised that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)(2); (2)
furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information is used by the
U.S. Patent and Trademark Office is to process and/or examine your submission related to a patent application or
patent. If you do not furnish the requested information, the U.S. Patent and Trademark Office may not be able to
process and/or examine your submission, which may result in termination of proceedings or abandonment of the
application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.   The information on this form will be treated confidentially to the extent allowed under the Freedom of
         Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records may
         be disclosed to the Department of Justice to determine whether disclosure of these records is required by the
         Freedom of Information Act.
    2.   A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence
         to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of
         settlement negotiations.
    3.   A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
         request involving an individual, to whom the record pertains, when the individual has requested assistance from
         the Member with respect to the subject matter of the record.
    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having
         need for the information in order to perform a contract. Recipients of information shall be required to comply
         with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
    5.   A record related to an International Application filed under the Patent Cooperation Treaty in this system of
         records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
         Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes
         of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C.
         218(c)).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator, General
         Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
         responsibility to recommend improvements in records management practices and programs, under authority of
         44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations governing
         inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such
         disclosure shall not be used to make determinations about individuals.
    8.   A record from this system of records may be disclosed, as a routine use, to the public after either publication of
         the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a
         record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record
         was filed in an application which became abandoned or in which the proceedings were terminated and which
         application is referenced by either a published application, an application open to public inspection or an issued
         patent.
    9.   A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
         enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




                                                     Appx0032
Doc Code: TRACK1 .REQ
Document Description: TrackOne Request
                                                                                                                   PTO/AIA/424 (04-14)




                       CERTIFICATION AND REQUEST FOR PRIORITIZED EXAMINATION
                                    UNDER 37 CFR 1.102(e) (Page 1 of 1)

First Named
Inventor:                 Alexander Soto                    I   Nonprovisional Application Number (if
                                                                known):
                                                                                                        I
Title of
Invention:                Communication System and Method for an Optical Local Area Network
APPLICANT HEREBY CERTIFIES THE FOLLOWING AND REQUESTS PRIORITIZED EXAMINATION FOR
THE ABOVE-IDENTIFIED APPLICATION.

     1. The processing fee set forth in 37 CFR 1.17(i)(1) and the prioritized examination fee set forth in
        37 CFR 1.17(c) have been filed with the request. The publication fee requirement is met
        because that fee, set forth in 37 CFR 1.18(d), is currently $0. The basic filing fee, search fee,
        and examination fee are filed with the request or have been already been paid. I understand
        that any required excess claims fees or application size fee must be paid for the application.

     2. I understand that the application may not contain, or be amended to contain, more than four
        independent claims, more than thirty total claims, or any multiple dependent claims, and that
        any request for an extension of time will cause an outstanding Track I request to be dismissed.

     3. The applicable box is checked below:

            I.        [?] Original Application {Track One) - Prioritized Examination under§ 1.102{e){1)
     i.          (a) The application is an original nonprovisional utility application filed under 35 U.S.C. 111 (a).
                     This certification and request is being filed with the utility application via EFS-Web.
                                                      ---OR---
                 (b) The application is an original nonprovisional plant application filed under 35 U.S.C. 111 (a).
                     This certification and request is being filed with the plant application in paper.

     ii.         An executed inventor's oath or declaration under 37 CFR 1.63 or 37 CFR 1.64 for each
                 inventor, or the application data sheet meeting the conditions specified in 37 CFR 1.53(f)(3)(i) is
                 filed with the application.

           II.        0 Request for Continued Examination - Prioritized Examination under§ 1.102{e){2)
     i. A request for continued examination has been filed with, or prior to, this form.
     ii. If the application is a utility application, this certification and request is being filed via EFS-Web.
     iii. The application is an original nonprovisional utility application filed under 35 U.S.C. 111 (a), or is
          a national stage entry under 35 U.S.C. 371.
     iv. This certification and request is being filed prior to the mailing of a first Office action responsive
          to the request for continued examination.
     v. No prior request for continued examination has been granted prioritized examination status
          under 37 CFR 1.102(e)(2).



Signature/Walter              Soto/                                                          Date   December 30, 2020
~p~~~Typed)        Walter Soto                                                               Practitioner
                                                                                             Registration Number

Note: This form must be signed in accordance with 37 CFR 1.33. See 37 CFR 1.4(d) for signature requirements and certifications.
Submit multiole forms if more than one sianature is reauired. *
                      2
~         *Total of           forms are submitted.


                                                        Appx0033
                                                Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the requirements of
the Act, please be advised that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)(2); (2)
furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information is used by the
U.S. Patent and Trademark Office is to process and/or examine your submission related to a patent application or
patent. If you do not furnish the requested information, the U.S. Patent and Trademark Office may not be able to
process and/or examine your submission, which may result in termination of proceedings or abandonment of the
application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.   The information on this form will be treated confidentially to the extent allowed under the Freedom of
         Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records may
         be disclosed to the Department of Justice to determine whether disclosure of these records is required by the
         Freedom of Information Act.
    2.   A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence
         to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of
         settlement negotiations.
    3.   A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
         request involving an individual, to whom the record pertains, when the individual has requested assistance from
         the Member with respect to the subject matter of the record.
    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having
         need for the information in order to perform a contract. Recipients of information shall be required to comply
         with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
    5.   A record related to an International Application filed under the Patent Cooperation Treaty in this system of
         records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
         Organization, pursuant to the Patent Cooperation Treaty.
    6.   A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes
         of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C.
         218(c)).
    7.   A record from this system of records may be disclosed, as a routine use, to the Administrator, General
         Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
         responsibility to recommend improvements in records management practices and programs, under authority of
         44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations governing
         inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such
         disclosure shall not be used to make determinations about individuals.
    8.   A record from this system of records may be disclosed, as a routine use, to the public after either publication of
         the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a
         record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record
         was filed in an application which became abandoned or in which the proceedings were terminated and which
         application is referenced by either a published application, an application open to public inspection or an issued
         patent.
    9.   A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
         enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




                                                     Appx0034
                                                            Attorney Docket No.: UBI-DOSE




                                ABSTRACT



        An optical local area network includes a passive optical
distribution fabric interconnecting a plurality of nodes including a first
node and a plurality of remaining nodes, a hub that includes the first
node and a control module, and a client network adapter coupled to each
of the remaining nodes forrespondingtothe control module. The control
module controls timing for each ofthe client network adapters to transmit
signals over the passive optical distribution fabric and distribution of
signals to each of the nodes.




                                Appx0035
What is claimed is:

1.) A Local Area Network (LAN) client for a passive optical LAN, the passive optical LAN
   disposed to having one or more passive optical splitters for coupling the LAN client over one
   or more optical fibers to the head end of the passive optical LAN, the LAN client for a
   passive optical LAN comprising of:

               an optical interface for converting a downstream optical signal on a downstream
       optical wavelength to a downstream electrical signal and for converting an upstream
       electrical signal to an upstream optical signal and emitting the upstream optical signal on
       an upstream optical wavelength;

               at least one network interface for receiving user data; and

               a control module electrically coupled to the optical interface and electrically
       coupled to the at least one network interface and wherein the control module processes
       the downstream electrical signal having a downstream control and downstream data
       information to recover an upstream bandwidth allocation from the downstream control
       information and wherein the control module receives user data from the at least one
       network interface and the control module responsive to the upstream bandwidth
       allocation generates the upstream electrical signal having upstream control and upstream
       data information and wherein at least a portion of the user data is included in the
       upstream data information,

               whereby the LAN client for a passive optical LAN communicates user data
       upstream responsive to an upstream bandwidth allocation.

2.) The LAN client for a passive optical LAN of claim 1, wherein the control module includes
   an Ethernet MAC.

3.) The LAN client for a passive optical LAN of claim 1, wherein the control module includes a
   passive optical LAN protocol processor.




                                          Appx0036
4.) The LAN client for a passive optical LAN of claim 1, wherein the control module further
   adjusts timing of the generation of the upstream electrical signal responsive to receiving a
   response delay message.

5.) The LAN client for a passive optical LAN of claim 1, wherein the control module is
   configured to receive in the downstream electrical signal a network identification address
   assigned to the LAN client and wherein the network identification address can be used by the
   control module for receiving downstream data information addressed to the LAN client for a
   passive optical LAN.

6.) The LAN client for a passive optical LAN of claim 1, wherein the control module performs
   operation administration and maintenance (OAM) message processing.

7.) The LAN client for a passive optical LAN of claim 1, wherein the control module is
   configured to manage the transmission and reception of optical data link layer
   communications through the optical interface based on at least one optical data link layer
   address and wherein the control module includes an Ethernet Media Access Control (MAC)
   configured to enable Ethernet communications through the at least one network interface.

8.) The LAN client for a passive optical LAN of claim 1, wherein the LAN client adjusts the
   optical power level of the upstream optical signal responsive to receiving a message.

9.) The LAN client for a passive optical LAN of claim 1, wherein the LAN client receives a
   request for new LAN clients to identify themselves and the LAN client responds with a
   message including a serial number for identifying the LAN client.

10.)   The LAN client for a passive optical LAN of claim 1, wherein the downstream control
   information includes a consecutive sequence of bits for the LAN client to identify the
   beginning of a downstream frame, wherein the downstream frame includes the downstream
   control and data information.

11.)   The LAN client for a passive optical LAN of claim 1, wherein the upstream control
   information includes user data buffering status information.




                                         Appx0037
12.)   The LAN client for a passive optical LAN of claim 1, wherein the control module
   processes the downstream electrical signal having successive downstream frames.

13.)   The LAN client for a passive optical LAN of claim 12, wherein a downstream frame
   includes a first number of downstream subframes having one or more downstream formats
   and wherein each downstream subframe includes a second number of downstream slots of
   time.

14.)   The LAN client for a passive optical LAN of claim 13, wherein a downstream subframe
   includes a downstream communication channel for communicating the upstream bandwidth
   allocation for provisioning upstream slots of time to the LAN client for a passive optical
   LAN.

15.)   The LAN client for a passive optical LAN of claim 12, wherein a downstream frame
   includes downstream packet data and wherein downstream packet data includes a
   downstream packet header and downstream packet payload and wherein the downstream
   packet header includes a field indicating the length of the downstream packet payload.

16.)   The LAN client for a passive optical LAN of claim 15, wherein the downstream packet
   payload includes at least a portion of an Ethernet frame or a Fibre Channel frame.

17.)   The LAN client for a passive optical LAN of claim 1, wherein the upstream optical signal
   is emitted in one or more upstream slots of time forming one or more upstream frames as
   governed by the upstream bandwidth allocation.

18.)   The LAN client for a passive optical LAN of claim 17, wherein upstream frames includes
   a first number of upstream subframes having one or more upstream formats.

19.)   The LAN client for a passive optical LAN of claim 17, wherein upstream frames includes
   an upstream packet header and an upstream packet payload and wherein the upstream packet
   header includes a field indicating an upstream packet payload length.

20.)   The LAN client for a passive optical LAN of claim 19, wherein the upstream packet
   payload includes at least a portion of an Ethernet frame or a Fibre Channel frame.




                                         Appx0038
21.)     The LAN client for a passive optical LAN of claim 1, wherein the optical interface
   includes one or more optical fiber connectors selected from the group consisting essentially
   of:
         Subscriber Connector (SC);
         Lucent Connector (LC);
         Fiber Channel (FC);
         Straight TP (ST); and
         Miniature Unit (MU).

22.)     The LAN client for a passive optical LAN of claim 1, wherein the at least one network
   interface is configured to communicate using a protocol from the group consisting essentially
   of:
         IEEE 10Mbit Ethernet;
         IEEE 100Mbit Ethernet;
         IEEE 1000Mbit Ethernet;
         Fibre Channel;
         IEEE 802.11;
         IEEE 802.16; and
         Digital Subscriber Line (DSL)

23.)     A Local Area Network (LAN) client for a passive optical LAN, the passive optical LAN
   disposed to having one or more passive optical splitters for coupling the LAN client over one
   or more optical fibers to the head end of the passive optical LAN, the LAN client for a
   passive optical LAN comprising of:

                an optical interface for converting a downstream optical signal on a downstream
         optical wavelength to a downstream electrical signal and for converting an upstream
         electrical signal to an upstream optical signal and emitting the upstream optical signal on
         an upstream optical wavelength;

                at least one network interface for receiving user data; and




                                           Appx0039
              a control module electrically coupled to the optical interface and electrically
       coupled to the at least one network interface and wherein the control module processes
       the downstream electrical signal having a downstream control and downstream data
       information to recover an upstream bandwidth allocation from the downstream control
       information wherein the upstream bandwidth allocation includes a start and end time slot
       number or a start time and length of time and wherein the control module receives user
       data from the at least one network interface and the control module responsive to the
       upstream bandwidth allocation generates the upstream electrical signal having upstream
       control and upstream data information and wherein at least a portion of the user data is
       included in the upstream data information,

              whereby the LAN client for a passive optical LAN communicates user data
       upstream responsive to an upstream bandwidth allocation.

24.)   A Local Area Network (LAN) client for a passive optical LAN, the passive optical LAN
   disposed to having one or more passive optical splitters for coupling the LAN client over one
   or more optical fibers to the head end of the passive optical LAN, the LAN client for a
   passive optical LAN comprising of:

              an optical interface for converting a downstream optical signal on a downstream
       optical wavelength to a downstream electrical signal and for converting an upstream
       electrical signal to an upstream optical signal and emitting the upstream optical signal on
       an upstream optical wavelength;

              at least one network interface for receiving user data; and

              a control module electrically coupled to the optical interface and electrically
       coupled to the at least one network interface and wherein the control module processes
       the downstream electrical signal having a downstream control and downstream data
       information to recover an upstream bandwidth allocation from the downstream control
       information wherein the upstream bandwidth allocation includes a start and end time slot
       number or a start time and length of time and wherein the control module receives user
       data from the at least one network interface and the control module responsive to the




                                         Appx0040
upstream bandwidth allocation generates the upstream electrical signal having upstream
control and upstream data information and wherein at least a portion of the user data is
included in the upstream data information,

       whereby the LAN client for a passive optical LAN ends the optical upstream
signal emissions responsive to the end time slot number or the end of the length of time
and whereby the LAN client for a passive optical LAN communicates user data upstream
responsive to an upstream bandwidth allocation.




                                  Appx0041
                                                                                                                 104A
                                                           so,                                        Network Client Adapter
                                                                                                                          120
                                                                                                                        NC-CLM             126
                                                                                                                                       Adaptation
                                                                                 102                                                      Unit
                           100                                              ,,,-------   ......                  131            128
                                                                                                      122                                  132
                                                                           I    ODF             I
                                                                           I                    I                 De-                                   136
                    Network Manager                                                                    NC       Framer                  IEgress I
                                                     110                   I         1Q_5A I                                   NC                     Network
                                                 ,,,---------    .......
                                                                           I
                                                                                                     Optical
                                                  ODF Interface                                                               Engine                  Interface
                                                                           I                        Interface   Framer                  l1ngressl
                                                                           I
                                                   116      117A           I                                                               133
                                                                                                         134     .130
                106                                             ODF        11Q5A
                                                                Port
               NM-CLM
                     114                            ....
                                                    Q)
                                                                1178                                             104B
            112                    108
                      TX                            ±:          ODF
                                    NM              a.          Port                                  Network Client Adapter
            NM      Framer                          Cl)
                                  Optical                                                                                120
           Engine     RX                     I      "iii        117C
                                 Interface           u                                                                 NC-CLM              126
                    Framer                   I
                                             I
                                                    a           ODF                                                                    Adaptation
                     115                            0           Port                                                                      Unit
                                             I
                                             I                                                        122        131            128        132
                                 109         I                                                                    De-                                    136
                                                                           I
                                             I                                                         NC
                                                                  ••
                                             I                             I             1058                   Framer         NC       ~             Network
                                                                  •        I                         Optical
                                             '----------                   I                        Interface                 Engine                  Interface
                                                                           I
                                                                                                                Framer                 Iingress   I




Appx0042
                                                                           I                                                               133
                                                                           I                             134     130
                                                                           I
                                                                           I
                                                                           I
                                                                           I                                     104C
                                                                           I
                                                                           I                          Network Client Adapter
                                                                           I
                                                                           I                                             120
                                                                           I                                                               126
                                                                           I
                                                                                                                       NC-CLM
                                                                                                                                       Adaptation
                                                                           I
                                                                           I
                                                                                                                                          Unit
                                                                           I                          122        131           128         132
                                                                           I                                      De-                                    136
                                                                           I
                                                                                                       NC.                              Egress
                                                                                         1Q5C                   Framer         NC      I          I   Network
                    FIG. 1                                                 I                         Optical
                                                                           \                                                  Engine                  Interface
                                                                               -------✓             Interface   Framer                 l1ngressj
                                                                                                                 130                       133
                                                                                                         134

                                                                                                                         ••
                                                                                                                          •
                                                                                                                             208                                                             214                               216

                                                                                                                               OS Sync                          # of NCs                         # of NCs                     US Slot Allocation

                                                                                                                                                                                                                              ···················•••••••••••••••••••
                                                                                                                                                                                                      ··········•••••••••••
                                                                                                                                                                                           ---····
                                                                          Network Period
                                                                                                                                                   ················•••••••••••••••••
                  200
                              Header                                                                                                  Header
           Downstream                                                                        Payload n                                                                                           Payload n+1
                                n                    I                                                                                 n+1                                                                                                                              •••
                                                                                                                                                   I
                                                                                                                                     204/                                                            205/
                                                                                    218
                                                                         Network Period
                  202
             Upstream
                         Slot Slot Slot Slot Slot Slot Slot Slot Slot Slot Slot Slot Slot Slot Slot Slot Slot Slot: 'Slot 'Slot 'Slot: 'Slot Slott Slot 'Slot 'Slot 'Slot: 'Slot 'Slot 'Slot: 'Slot 'Slot 'Slot 'Slot
               Virtual    0    1    2    3    4    5    6    7    8    9 10 11 12 13 14 15 16 0                       1     2      3     4    5     6     7     8
                                                                                                                                                                  I    9 10 11 12 13 14 15 16 S~otl • •                                                                       •
                Frame

                            /226                     /228
                  224     NC-A              NC-A                      NC-B              NC-B                 Un-     NC-C   NC-C                            NC-B                                                   NC-B
                         Header            Payload                                                                                    Unassigned
             Upstream                                                Header            Payload             assigned Header Payload                         Header                                                 Payload
                                                                                                             Slots                      Slots
                           n                  n                        n                  n                           n       n                              n                                                       n
                                  ------------ ...




Appx0043
                                                     ··-······································-.........                                                 220                                                                              222
                                                                                                                                            US Slot Allocation n                                                    US Slot Allocation n+1
                                                                                   Station                                                NC-ID         Start                    End                            NC-ID                    Start                    End
                             Preamble                     Delimiter
                                                                                 Management
                                                                                                                                         NC 104A            0                          5                    NC 104B                          5                         16
                            230                          232                     234
                                                                                                                                         NC 104B            6                     10
                                                                                                                                         NC 104C           13                     16



                                                         FIG. 2
                                                                              Network Period
                  200
                            Header                                                                                                                                                       Header
           Downstream         n                                                                     Payload n                                                                             n+t                                                    Payload n+1                               • • •

                          204                   ....····/            300 "\                  206                                                                 ...•···········

                                            I                          Adaptation Data Unit (ADU)                                                                I
                                        .....                                                                       __   .................. ---------·········
                         1"226 /                              /'228       -······················      ----
                  224     NC-A                       NC-A                NC-8               NC-8                      Un-     NC-C   NC-C                                                                                NC-8                                        NC-8
                                                                                                                                                                                          Unassigned
             Upstream    Header                     Payload             Header             Payload                  assigned Header Payload                                                                             Header                                      Payload
                           n                           n                                                              Slots    n       n                                                    Slots                         n                                            n
                                                                          n                   n


                                                                        FIG. 3A

                                                                           Network Period
                  200
                            Header                                                                                                                                                       Header
           Downstream                                                                               Payload n                                                                                                                                    Payload n+1                               • • •
                              n                                                                                                                                                           n+ 1




Appx0044
                          204                   ....-······                                            206                                                                         ••••••••
                                                                                                                                                                                                            ··········------
                                                                                                                                                                                                                                 ········-
                                                                                                                                                                                                                                             ·········--
                                                    302                          304                                                                                                                    ~                                                  -----------------------------
                                                                         Sub-Frame                                  Sub-Frame                             Sub-Frame                                                            Sub-Frame                    Sub-Frame
            Downstream                                                                                                                                                                            0 0        0 0 0
                                                                         Payload #1                                 Header #2                             Payload #2                          °         ~                      Header #N                    Payload #N
            & Upstream
               Payload                                                                                                                                               18
                Format      \       I           PU            1 ·~:~ I Type I CRC I                            P:~~;                        [i~g f-3                                    ... _                  -                      -          - -                -         -
                                                                                                                                                                     ---------··
                                \ 308 7                   310 7       312 7         314 J               316 7                              ------------,-----
                                :                                                                                    -------------···
                         /226\                                /228        -----------····························
                 224     NC-A                          NC-A              NC-8                NC-8                     Un-     NC-C   NC-C                                                                                 NC-8                                          NC-8
                                                                                                                                                                                         Unassigned                     Header                                     Payload
             Upstream    Header                    Payload              Header             Payload                  assigned Header Payload
                                                                                              n                       Slots                                                                Slots                          n                                           n
                           n                          n                   n                                                    n       n


                                                                        FIG. 3B
                              Network Manager (NM)                                                        Netw~rk Client (NCA)
                                                                                                           ,------------..410
                                                                                                           NCA is powered ON.
                                 - - - - - - - ~ 400                                                                                412
                                  NM is powered ON.                                                           NCA Synchronizes to
                                                                                    Downstream                Downstream Frame

                                                                          402                                                               414
                    NM activates Clients by sending messages requesting                               NCA Interprets Downstream message
                     new NCAs to identify themselves (report NCA serial      1          1        ., 1 waiting for initial transmit power setting
                      number) and setting initial power level to transmit.                                 and request for serial number

                                                                         404                                                              416
                    NM is aware of new Client and request new Client to
                                                                             1,..       1             1 NCA Transmits Serial ID Number
                     adjust transmit power level by sending message

                                                            406                                                                    418




Appx0045
                                                                       .___ _ _---1t-----1►
                                                                                          ~I NCA waits for message to adjusts transmit
                                NM initiates Response Delay                       1
                                process by sending message                                    power level and sets power accordingly


                              r------'----..:!4'...!.1~9                                                                                    420
                               NM performs Response Delay ' 1 - - - - - - - - 1 - - _ . . . !    NCA waits for message to perform
                                    process with NCA      ,-                                  Response Delay process after which NCA
                                                                                               aligns transmission to Network Period


                                                        408                                                                       422
                                        NM's                                                                      NCA's
                                   Normal Operation                                                           Normal Operation
                                   Transmits network data                                                     Transmits network data
                                     in the downstream                                                            in the upstream
                                              and                                                                        and
                                   Receives network data                                                      Receives network data
                                       in the upstream                                                          in the downstream
           FIG. 4                                                                   Upstream
                      Determining Response Delay
                           ---------
                                                              500
                            NM starts process with a Client


                                                                502
                     NM assigns no NCA slots generating a silence
                                      period


                                                              504
                         NM sends Response Delay message
                                  to specific NCA

                                                              506
                       NCA receives Response Delay message
                         and transmits response message




Appx0046
                                                               508
                       NM receives NCA response message and
                        calculates Network Period parameters

                                                                    510
                    NM transmits Network Period parameters to NCA


                                                               512
           FIG. 5     NCA aligns transmission to Network Period
                             600                                                                                                                                                                  606
                         HUB Config.                               \
                                                                       \
           100                                                             \                                                                                                  104
                                                                               \
            Network Manager                                                        \                                                                                         Network Client Adapter
                                                  110                                  \
                                                                                           \                                                                                           122             120
                                             'ODFl~terfa~e     i                               \
                                                                                                   \
                                              116       117A   I                                       \                                                         105                              NC-CLM
                                                               1                                            \
                  106                                   ODF        105                                          \
                                                        Port                                                        \
                                                                                                                                            FIG. 6A
              NM-CLM                                                                                                    \
                                               L...
                                                                                                                            \
            112          114       108         Q)       1178                                                                    \
                                               ±:       ODF        105                                                              \            600
                         TX                    C.                                                  Optical                                                                            NIC                    Network
            NM          Framer                 en       Port                                       LAN                                                                                                       Interface
                                                                                                                                                                                    Controller
           Engine        RX                             117C                                       Ports                                -       HUB
                                         I     ~
                                         I     a.       ODF        105
                                         I    0         Port
                                         I
                                         I                                                                         ,,,.     ,,,. ,,,.
                                 109     I                                                                 ,. ,,,.                                                                                105
                                         I   -
                                                         ••
                                                         •                                     ,,,. ,,,.                                                                                                     621A
                                          , _________ 11                             ,,
                                                                               ,, ,,                                                                                                             104
                                                                   ,, ,,
                                                                                                                                                                                                   NCA
                                                                                                                                                                       PC
                                                                                                                                                                       604
                                                                                                                                                                                                  Network
                                                                                                                        Workstation                                             ---               Interface




Appx0047
                                                                                                                                                                                                   (GMII)
                                                                                                                                602
                                                                   Workstation/PC Pool
                                                                                   602/604                                                                                    618
                                                                                                                                                                  Ethernet
                                                                                                                                                                L2/L3 Switch
                                                                                                                                                                   -----, ,--
                                                                                                                                                                              00
                                                                                                                                                         -
                                                                                                                                                        iBook
                                                                                                                                                       604
                                                                                                                                                                Ethernet LAN
                                                                                                                                                                         622
                         600                                                                                                                                              607
                     HUB Config.
           100                                                                                                                                        104
                                                                   ''
           Network Manager                                                                                                                        Network Client Adapter
                                                                        ''
                                                  110
                                             ,-------- \                                                                                                                       120
                                         t ODF Interface
                                                                             ''
                                         I                    -I                  ''
                                         I    116              I                                                                         105                              NC-CLM
                                         I                     I
                                                                                        ''
                 106                                               105
                                         I                                                                               FIG. 68
                                                                                              ''
               NM-CLM                    I
                                         I     ....a,
                                                                                                    ''
             112     114         108     I                                                                                    600
                                              E                    105
                                                                                                           ''
                      TX        NM       I    a.                                      Optical                    '                                            HBA                    Network
            NM      Framer               I    CJ')                                      LAN                                                     609                                  Interface
                              Optical                                                                                                                       Controller
           Engine   ~                         iii                                       Ports                        -       HUB
                             Interface   I     u
                    Framer                    ;.:,
                                         I     a.                  105
                     115                 I    0
                                         I
                                         I                                                           ,,,   ,,, ,,,
                             1_0_9_
                                         I                                                    ,,, ,,                                                                      105
                                                        ••
                                         I              •                        ,,   ,, ,,                                                                                          6218
                                                             11
                                         '---------                        ,, ,,                                                                                         104
                                                                   ,, ,,
                                                                                                                                                                           NCA



                                                                                                                                                                          Network
                                                                                                                                                        ---               Interface




Appx0048
                                                                                                                                                                           (Serial)

                                                                           614                                                                        619
                                                                                                                                        FC-2 Switch
                                                                                                                                    -
                                                                                                                                    Fibre Channel SAN
                                                                                                                                             623
                             600                                                                                                                                                        607
                     HUB Config.
           100                                                                                                                                                      104
                                                                                 ''
                                                                                                                                                                  Network Client Adapter
            Network Manager                        _J10_____
                                                                                      ''
                                               ( ODF Interface              \                                                                                                122             120
                                                                                           ''
                                                                            I                   ''                                                                           NC
                                               I   116            117A      I                                                                              105
                                               I                                                                                                                           Optical I   I NC-CLM
                                               I                            I
                                                                  ODF
                                                                                                     ''
                106                                                             105                                                                                       Interface
                                               I                  Port
                                                                                                          ''                     FIG. 6C
              NM-CLM                           I                                                                                                                               134
                                               I
                                                                                                               ''
            112     114            108         I
                                                                                                                    ''                   600
                      TX                       I
                                                                                105              Optical                                                                                           Network
                                   NM                                                                                    '                                       609;       HBA
            NM      Framer                     I                                                  LAN                                                                     Controller               Interface
                                Optical                                                          Ports                       -         HUB
           Engine     RX       Interface       I
                    Framer                     I                                105
                     115                       I
                                               I
                               109             I
                                               I                                                                                                                                        105
                                                                        ••
                                               I                         • 11                                                                                                                      621A
                                               '---------                                                                                                                              104
                                                                                                                                                                                            NCA



                                                                                                                                                                                           Network
                                                                                                               Workstation                                              ---                Interface




Appx0049
                                                                            --                                                                                                              (GMII)
                                                               ,,, .,                                                602
                                                    606                         Workstation/PC Pool
                                                                                           602/604                                                                  618

                               104
                              Network Client Adapter
                                         122             120
                                        NC
                     105              Optical       NC-CLM
                                     Interface                                                                                       'f:;;if~f,.:   '~I
                                           134


                                       NIC                     Network
                             608                               Interface
                                     Controller
                                                                                                                                                                              Workstation
                                                                                                                                                                                     602
                                                                                                                                                          Ethe,mel'LAN
                                                                                                                                                                 622
                        704                                                                                                                                606
                                                       100A
                                                  C
                      Switch               706
                                                                    '1~S                                                  104
                                                  0
                      Config.        708                            105                                                    NCA
                                             -- Sg-::::i·E    NM    105                                                                          122         120
                                                  "O                                                                               NC
                                                  <(
                                                                                                   FIG. 7A         105 1IODFI - I Optical                  NC-CLM
                                                                      .•• ' ' ' '
                              700                      1008
                                                                                    ''                                                        Interface
                702                               C
                                                                    710
                                                  0                                                                                                 134
                                                                                         ''
           714 Uplink                      708   :.:;...,           710            Opticat,
                                Layer2            ra ·-                             LAN
                                                  -    C      NM
                Port            Switch            g-::::i           710            Ports
                                                                                              ''             704                                                   Network
                                                                                                                                                NIC
                                                                     .•                             Switch                                    Controller           Interface
                                           706 ~
                                                100C
                                                                   ill
                                     708     ~Iii! 'El        NM   ~
                                                                   ill                                                                                        105
                                                                     .• l,,..,..                                                                                         621A
                                                                   ,__.,..                                                                                  104
                                                                                                                                                                   NCA
                                                                                                                           PC
                                                                                                                          604
                                                                                                                                                                 Network




Appx0050
                                                                                                                                                                 Interface
                                                                                                                                  .,,, .,..                       (GMII)
                                                                                                                              /
                                                                                                                          I
                                                                                                                                              618




                                                                                                                                  604


                                                                                                                      Ethe.met LAN .
                                                                                                                                    622
                   704                                                                                                                       607
           ~,_ _ _ _ _ _ _ _ _ _ _7_0_6_F-=i_,_
                                          1"o"'onrA----,-,, t:~
                                                C                                                                               104
               Switch                           0
                                                                     ~                                                           NCA
               Config.             708          a.::,
                                           .., li'E        NM        105                                                                       120
                               I                ~                           ''
                                               <(                     ••                                                  105
                                                                      .          ''               FIG. 78                                    NC-CLM
                         700                                                          ''
             702                                                     Z1Q                   ''
                           Layer 2       708                         Z1Q          Opticat,               I    704
                                                           NM        710           LAN ' ,                          I
                           Switch                                                 Ports    'i                                                         Network
                                                                      ••                            Switch                                            Interface
                                                                      •
                                                    100C
                                                C                    Z.1l
                                                0

                               I   108     .., li:g
                                                g-::::,    NM        Z.1l
                                                                     712                                                                        105
                                             ~                  I     •
                                                                      .                                                                                    621B
                                         706 b----J                   •
                                                                    e.,.                                                                      104

                                                                                                                                                     NCA

                                                                                                                                612
                                                                                                                                                   Network




Appx0051
                                                                                                                                                   interface
                                                                                                                                                    (Serial)
                                                                                                Server Pool
                                                                            614                    614                                 619




                                                                                                                Disk array
                                                                                                                    612
                                                                                                                        Fibre·Channel SAN
                                                                                                                                  623
                        704                                                                                                                                                                      607
                                                                                                --- ..... .....
                      Switch                                                                   105                ''                                                       LOA
                      Config.                                                                  105                     '                                                     NCA
                                           708                                 NM                                                                                                                  120
                                                                                                                           ''
                                                                                               1~                               \
                                                                                                                                '\                                                     122
                                                                                                .•                                                                  105
                                                                                                 •                                   \              FIG. 7C                                      NC-CLM
                                                                                                                                         \
                              700                                     100B                                                                   \
                702                                              C
                                                                                               710                                            I
                                                                 .Q                                               Optical                      I
           714 Uplink           Layer 2            708 m~                                      710
                                                        -c    NM                                                   LAN                         I
                Port            Switch                  g-=>                                   710                 Ports                       1.             704                                         Network
                                                                                                                                                                                      HBA
                                                        ~                                       •
                                                                                                .                                                   Switch                          Controller            Interface
                                                    706
                                                         100C
                                                                 C                              712
                                                                 0
                                           708         --1~ ·E                                  712
                                                                 C.    =>      NM
                                                                 111                            712                                                                                                 105
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                                                                                                    • l.,..,.                                                                                                  621A
                                                    706                                            ••
                                                                                               ,:.....,.                                                                                          104
                                                                                                                                                                                                         NCA
                                                                                                                                                                             612
                                                                                                                                                                                                       Network




Appx0052
                                                                                                                                                                                                       Interface
                                                                                                                                                                                                         (GMII)
                                                                                       .,.
                                                                       606         /
                                                                                                                                                                                    618
                                                                                                                                                                          Ethernet
                                                                                                                                                                        L2/L3 Switch
                                           104
                                      Network Client Adapter

                               105
                                                   122
                                                   NC
                                                                             120
                                                                                                                                                                    -
                                                 Optical                    NC-CLM
                                                 Interface




                                               NIC                                 Network
                                     608                                           Interface                                                                                  604
                                             Controller



                                                                                                                                                                        Ethernet t;AN •
                                                                                                                                                                                 622
                                                  705                                                                                                                                                                     606
                                                                                                                                                         618
           I                            Swtich Config.                                           r\                                                              Ethernet
                                   100                                                                \                                                        L2/L3 Switch                     104
                                                                                                          \                                                               r--
                                  Network Manager                       ,.. - j 1_0_ - - - -                  \                                                             0                    NCA
                                                                                                                  \
                                                                    1 ODF Interface
                                                                    : 116              117A
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                                                                                                                                                         -                                105
                                                                                                                                  \
                   708                  106                         I    n .. lc55i=
                                                                    1    I         M   Port                                                                           714
                                      NM-CLM                        I                                                                 ''
                         ·c  -                                      I                  1178                                                '   \
           7021          ::::,      112     114                     I
                             C              TX                      I
                                                                             j         ODF                                     '  Optical'                                  705
                             0                                               a.                                                                                   I                                                                Network
  7141~                  ;:                                         I        Cl)
                                                                                       Port                                                                                                                  NIC
           ~                                             Optical                                                                                                                                           Controller              Interface
                             a                                                                                            - ~~s l •                            Switch                 I
           -=                IV                         Interface   I        o
           Q.            "Cl                                        I        ~
           ::::,         <                                                   a.
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               706                                      109
                                                                                                                                                                                                                               105
                                                                                                                                                                                                                                        621A
                         I
                                                                                                                                                                                                                             104
                                                                    L___ : -L:~::~/
                                                                                                                                                                                                                                  NCA
                                                                                                                                                                                                PC
                                                                                                                                                                                                604




Appx0053
                                                                                                                                                                                                                                Network
                                                                                                                                           Workstation                                                                          Interface
                                                    FIG. 7D                                                                                                                                                                      (GMII)
                                                                                                                                                   602
                                                                                               Workstation/PC Pool
                                                                                                      602/604                                                                                              618




                                                                                                                                                                        □

                                                                                                                                                                                                0'
                                                                                                                                                                                                     604
                                                                                                                                                                                                                        Workstation
                                                                                                                                                                                • iBook
                                                                                                                                                                                604                                         602
                                                                                                                                                                                           • EttierneJ LAN
                                                                                                                                                                                                      622
                                                                                                                                               WAN

                                                                                                                                                                    804
                                          800                                                                                                  Router
                                                                                                                                                                                                         607
                                NM - Optical Module (NM-OM)
                       803                                                                        ''
                             706
                        Adaptation
                                       NM-CLM
                                                                                                       ''
                                                                                                            ''
                                                                                                                       -                   I            \                           104
                                                                                                                                                                                     NCA
                           Unit
                                                                                                                                         ,: Router's ~
                                   I
                                                                                                                 ''                                                                                           120
                                                            114              108                                                            internal
                                            112                                                                       ''                     switch                         105
                                                            TX                                                                                                                                              NC-CLM
            Switch
             708~  Egress
                      ~                                                       NM                                                           Interface
                                                         Framer
                                                                                                                           ''
                                           NM                                                     105                                          (XAUI)
                                                                            Optical                                                             I   •
           Interface    ~
                                                                                                                                ''
                          ngress          Engine            RX             Interface                                                 '                      708
                                                         Framer
                                                            115___,                                                                       NM-OM                                              HBA                     Network
                                                                           109                                                                                                             Controller               Interface



                                                                                               810
                                                                                                                                                                                                                      105
                                                                                                                                                                                                        802
                                                                                                                                                                                                         Network Client
                                   FIG. 8                                                                                                                                                                Optical Module
                                                                                                                                                                                                            (NC-OM)




Appx0054
                                                                                                                                                                                                                          136
                                                                                                                                                                                                                Network
                                                                                                                                                                                            808                 Interface
                                                                                                                                                                                                                 (XAUI)
                                                                                                                                                                          thernet l2/L3 Switch
                                                                                                                 Server Pool
                                                                                                                      614

                                                                                       Workstation/PC Pool
                                                                                             602/604




                                                      . :;,i ,. •.   .
                                                         , Workstation .
                             iBook                                                                                                                                                                Workstation
                                                            :•602                                                                                             iBook
                             604                                                                                                                                                                      602
                                       Ethernet LAN                                                                                                           604
                                                                                                                                                                            EthernE!tLAN ..
                                                                                                                                                                                   622
                        808
                                                                                                                 900
                   Conventional Switch                                                                                                 PHY L    - -
                                                                                                                                H      Port r
                        802                                                                                                             902
                       NC-OM                            120                                                                            PHY L    -- -
                                                      NC-CLM                    126                                             H      Port r
                                                                             Adaptation                      L2 Switch                  902
                                                                                Unit                                                                   LAN/SAN Ports
                              122               131             128                                          (with MACs)               PHY L           (Wireline & Wireless)
                                                                                132                                                             -
                 124                       ,     De- ~                                                                                 Port r
                             NC     ""'"       Framer          NC            IEgress I                                          H
           105             Optical                                                             136_                                     902
                          Interface ◄
                                                              Engine .....
                 ~                             Framer                        l1ngressl
                                                        ~
                                                                                                                                         ••
                                                                                133
                                           1 130                                                                                          •
                               f134                              t                                                                     PHY L - - -
                                                                                                                                H      Port r
                                                                                                                                        902

                 FIG. 9A                                      910
                                                        NC Switch (Switch-less & MAC-less)
                                                               912




Appx0055
                                                            Network                            120
                                                            Client Adapter                   NC-CLM               126
                                                                                                                           -   136_ I PHY L - -
                                                            (NCA)                                                                     I Port r - - -
                                                                                                                                        902
                                                                                                                               136 I PHY L ---
                                                                      122              131             128           ·2:
                                                                                                                     -                I Port r - - -
                                                        124                                                          :J                 902
                                                                                        De- ~                      C:
                                                        ODFr+    NC     ,....    1    Framer          NC          .Q                                   LAN/SAN Ports
                                               105      Port   Optical                                                                                 (Wireline & Wireless)
                                                                                                     Engine ..... iii          136 I PHY L ---
                                                              Interface ◄             Framer                         a.  -           -I Port r ---
                                                                                               ~                     <II
                                                                                                                     '"O
                                                                                                                     <(                 902
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                                                                                                                                         ••
                                                                                                                                         •
                                                                                                                               136    I PHY I --
                                                                                                                 -                    I Port r  .
                                                                                                                                        902

                                                        FIG. 98
                                                                                                                                                  PTO/AIA/01 (06-12)
                                                                                                             Approved for use through 11/30/2020. 0MB 0651-0032
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        DECLARATION (37 CFR 1.63) FOR UTILITY OR DESIGN APPLICATION USING AN
                        APPLICATION DATA SHEET (37 CFR 1.76)

 Title ot        COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA
 Invention       NETWORK


 As the below named inventor, I hereby declare that:

 This declaration
 is directed to:
                          [i]      The attached application, or

                          □        United States application or PCT international application number ___________

                                   filed on
                                              ---------------


 The above-identified application was made or authorized to be made by me.



I believe that I am the original inventor or an original joint inventor of a claimed invention in the application.



I hereby acknowledge that any willful false statement made in this declaration is punishable under 18 U.S.C. 1001
by fine or imprisonment of not more than five (5) years, or both.




                                                                          WARNING:
Petitioner/applicant is cautioned to avoid submitting personal information in documents filed in a patent application that may
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   LEGAL NAME OF INVENTOR


   Inventor: Alexander Soto                                                                             Date (Optional) :_ _ _ _ _ _ _ _ __

   Signature:/Alexander Soto/


Note: An application data sheet (PTO/SB/14 or equivalent), including naming the entire inventive entity, must accompany this form or must have
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The information provided by you in this form will be subject to the following routine uses:

    1.   The information on this form will be treated confidentially to the extent allowed under the
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    3.   A record in this system of records may be disclosed, as a routine use, to a Member of
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    4.   A record in this system of records may be disclosed, as a routine use, to a contractor of the
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                                              Appx0057
                                                                                                                                                  PTO/AIA/01 (06-12)
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                                   filed on
                                              ---------------


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   LEGAL NAME OF INVENTOR


   Inventor: Walter Soto                                                                                Date (Optional) :_ _ _ _ _ _ _ _ __

   Signature/Walter Soto/


Note: An application data sheet (PTO/SB/14 or equivalent), including naming the entire inventive entity, must accompany this form or must have
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         became abandoned or in which the proceedings were terminated and which application is
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         violation of law or regulation.




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   COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA
                           NETWORK



                  CROSS-REFERENCE TO RELATED APPLICATIONS

[0001] This application is filed under 37 C.F.R. §1.53(b) as a continuation claiming the benefit
under 35 U.S.C. §120 of the pending patent application Ser. No. 16/866,479, "Communication
System and Method for an Optical Local Area Network", which was filed by the same inventors
on May 4, 2020, claiming the benefit under 35 U.S.C. §120 of the pending patent application
Ser. No. 16/734,270, "Communication System and Method for an Optical Local Area Network",
which was filed by the same inventors on January 3, 2020, claiming the benefit under 35 U.S.C.
§120 of the pending patent application Ser. No. 14/588,899, "System and Method for Optical
Layer Management in Optical Modules and Remote Control of Optical Modules", which was
filed by the same inventors on January 2, 2015, claiming the benefit under 35 U.S.C. §120 of the
pending patent application Ser. No. 13/543,880, "System and Method for Optical Layer
Management in Optical Modules and Remote Control of Optical Modules", which was filed by
the same inventors on July 08, 2012, claiming the benefit under 35 U.S.C. §120 of the pending
Patent application No. 12/ 982,872, "System and Method for Pluggable Optical Modules for
Passive Optical Networks", which was filed by the same inventors on Dec. 30, 2010, claiming
the benefit under 35 U.S.C. §120 of U.S. Patent No. 7,925,162 filed on July 6, 2004 claiming the
benefit under 35 U.S.C. l 19(e) of U.S. Provisional Application No. 60/485,072 filed July 03,
2003, now expired, and U.S. Provisional Application No. 60/515,836 filed Oct. 30, 2003, now
expired; and claiming the benefit under 35 U.S.C. §120 of the pending Patent application No.
12/512,968, "System and Method For Performing High Speed Communications Over Fiber
Optical Networks", which was filed by the same inventors on filed July 30, 2009 claiming the
benefit under 35 U.S.C. § 120 of U.S. Patent Application Ser. No. 11/772, 187, which was filed by
the same inventors on June 30, 2007, now abandoned, claiming the benefit under 35 U.S.C. §120
of commonly-assigned U.S. Patent Application Ser. No. 10/865,547 filed by the same inventors
on June 10, 2004, now U.S. Pat. No. 7,242,868, which claims the benefit under 35 U.S.C. l 19(e)
of U.S. Provisional Application No. 60/477,845 filed June 10, 2003, now expired, and U.S.
Provisional Application No. 60/480,488 filed June 21, 2003, now expired, and entirely
incorporated herein by reference.



                                FIELD OF THE INVENTION

[0002] The present invention relates to optical fiber networks.



                           BACKGROUND OF THE INVENTION




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[0003] A local-area network (LAN) is a computer network that spans a relatively small area or
domain. Most LANs are confined to a single building or group of buildings. However, one LAN
can be connected to other LANs over any distance often spanning an area greater than either
LAN via telephone lines, coaxial cable, optical fiber, free-space optics and radio waves. A
system of LANs can be connected in this way via other networks that are commonly referred to
as wide-area networks (WANs).



                               SUMMARY OF THE INVENTION

[0004] In general, in one aspect, the invention includes a method for broadcasting data including
receiving an incoming optical signal at a first port of a plurality of ports; converting the received
incoming optical signal to an electrical signal; processing the electrical signal; converting the
processed electrical signal to a broadcast optical signal; and coupling the broadcast optical signal
to each of the plurality of ports.

[0005] Aspects of the invention may include one or more of the following features. Processing
the electrical signal includes coupling the electrical signal to a device that processes the electrical
signal according to an OSI layer-2 protocol. Processing the electrical signal includes coupling
the electrical signal to a device that processes the electrical signal according to an OSI layer-3
protocol. The method further includes converting an electrical client signal to the incoming
optical signal. The method further includes adapting the electrical client signal from a signal
conforming to an OSI layer-2 protocol. The OSI layer-2 protocol includes a media access control
protocol. The media access control protocol is Ethernet or Fibre Channel. The method further
includes transmitting the incoming optical signal from a network client adapter to one of the
plurality of ports over an optical distribution fabric. The method further includes transmitting the
broadcast optical signal from one of the plurality of ports over an optical distribution fabric; and
receiving the broadcast optical signal at network client adapters in a plurality of clients. The
method further includes converting the received broadcast optical signal to a second electrical
signal in at least one of the clients. The method further includes selecting a frame within the
second electrical signal associated with the network client adapter and adapting data in the
selected frame for transmission over a network interface.

[0006] In general, in another aspect, the invention includes an apparatus including a plurality of
ports; a passive optical coupler coupled to each of the plurality of ports; an optical-electrical
converter in optical communication with the passive optical coupler; and a control module in
electrical communication with the optical-electrical converter for scheduling slots for incoming
and outgoing signals over the plurality of ports.

[0007] Aspects of the invention may include one or more of the following features. The control
module is operable to schedule a slot for receiving a signal over one of the plurality of ports and
to schedule a slot for broadcasting a signal over each of the plurality of ports. The apparatus




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includes only a single optical-electrical converter in optical communication with the passive
optical coupler. The control module is coupled to a device that is operable to process an
electrical signal provided by the optical-electrical converter according to an OSI layer-2
protocol. The control module is coupled to a device that is operable to process an electrical
signal provided by the optical-electrical converter according to an OSI layer-3 protocol.

[0008] In general, in another aspect, the invention includes an optical local area network
including a plurality of optical waveguides; a network manager that includes an optical-electrical
converter in optical communication with the plurality of optical waveguides; and a control
module in electrical communication with the optical-electrical converter for scheduling slots for
incoming and outgoing signals transmitted over the plurality of optical waveguides; and a
plurality of network client adapters coupled to the plurality of optical waveguides, each network
client adapter including an optical- electrical converter for processing transmitted and received
optical signals at a client.

[0009] Aspects of the invention may include one or more of the following features. The optical
local area network further includes a passive optical coupler coupled to each of the plurality of
optical waveguides. The network manager further includes a passive optical coupler coupled to
each of the plurality of optical waveguides. The control module is operable to schedule a slot for
receiving a signal over one of the plurality of optical waveguides and to schedule a slot for
broadcasting a signal over each of the plurality of optical waveguides. The control module is
operable to dynamically schedule a slot for receiving a signal over one of the plurality of optical
waveguides in response to a message from one of the network client adapters. The control
module is operable to determine a response delay between the optical-electrical converter and
one of the network client adapters. The control module is coupled to a device that is operable to
process an electrical signal provided by the optical-electrical converter according to an OSI
layer-2 protocol. The control module is coupled to a device that is operable to process an
electrical signal provided by the optical-electrical converter according to an OSI layer-3
protocol. Each of the network client adapters is operable to convert an electrical client signal to
an optical signal for transmission over one of the optical waveguides. Each of the network client
adapters is operable to adapt the client signal from a signal conforming to an OSI layer-2
protocol. The OSI layer-2 protocol includes a media access control protocol. The media access
control protocol used by a network client adapter is Ethernet or Fibre Channel. Each of the
network client adapters is operable to convert a received optical signal to an electrical signal.
Each network client adapter is operable to select a frame within the electrical signal associated
with the network client adapter. The optical local area network further includes a client that
includes a network interface card, the network interface card including one of the network client
adapters. The client is selected from the group consisting of a workstation, a personal computer,
a disk storage array, a server, a switch, and a router.

[0010] In general, in another aspect, the invention includes an optical local area network
including a passive optical distribution fabric interconnecting a plurality of nodes including a




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first node and a plurality of remaining nodes; a hub that includes the first node and a control
module; and a client network adapter coupled to each of the remaining nodes for responding to
the control module; wherein the control module controls timing for each of the client network
adapters to transmit signals over the passive optical distribution fabric and distribution of signals
to each of the nodes.

[0011] Aspects of the invention may include one or more of the following features. The control
module is operable to schedule a slot for receiving a signal from one of the remaining nodes and
to schedule a slot for broadcasting a signal to each of the remaining nodes. The control module is
operable to dynamically schedule a slot for receiving a signal from one of the remaining nodes in
response to a message from one of the network client adapters. The control module is operable to
determine a response delay between the hub and one of the network client adapters. The control
module is coupled to a device that is operable to process signals according to an OSI layer-2
protocol. The control module is coupled to a device that is operable to process signals according
to an OSI layer-3 protocol. Each of the network client adapters is operable to convert an
electrical signal to an optical signal for transmission over the passive optical transmission fabric.
Each of the network client adapters is operable to adapt a signal conforming to an OSI layer-2
protocol. The OSI layer-2 protocol includes a media access control protocol. The media access
control protocol used by a network client adapter is Ethernet or Fibre Channel. Each of the
network client adapters is operable to convert a received optical signal to an electrical signal.
Each network client adapter is operable to select a frame within the electrical signal associated
with the network client adapter. The optical local area network further includes a client that
includes a network interface card, the network interface card including one of the network client
adapters. The client is selected from the group consisting of a workstation, a personal computer,
a disk storage array, a server, a switch, and a router.

[0012] In general, in another aspect, the invention includes an optical local area network
including a hub; a plurality of external nodes interconnected by a passive optical distribution
fabric, wherein the external nodes are located external to the hub, and the hub is operable to
control traffic across all nodes; adaptors at each external node responsive to hub instruction; and
an interface coupled to the hub coupling signals received from any individual external node for
distribution to all external nodes.

[0013] Aspects of the invention may include one or more of the following features. The hub
includes an internal node coupled to the passive optical distribution fabric. The hub is operable to
measure response delay between the hub and external nodes. The hub is operable to allocate slots
for external nodes dynamically. Slot allocations are made to guarantee external nodes have a
minimum bandwidth. The optical local area network further includes splitters coupled between
the hub and external nodes. Traffic arriving at one or more external nodes includes Ethernet
traffic. Traffic arriving at one or more external nodes includes Fibre channel traffic. The hub
includes an optical module. At least one of the external nodes is located within an optical module
external to the hub.




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[0014] Implementations of the invention may include one or more of the following advantages.
A network manager in an optical local area network can provide switching functions of a hub, a
switch or a router. A switch configuration in which network managers are aggregated enables a
high performance network in a compact apparatus. Connectivity of network managers and
network client adapters to existing conventional routers and switches using industry standard
form factor optical modules enables a high performance network upgrade with minimal new
equipment. A network client switch can support multiple physical layer ports without necessarily
requiring a Layer-2 MAC or switching elements and the associated routing tables and packet
memory. The number of optical transceivers and switching elements used to sustain the same
number of computing nodes in a LAN via a point-to-multipoint optically coupled network
configuration is reduced, thus saving the majority of expense described above.



                       BRIEF DESCRIPTION OF THE DRAWINGS

[0015] FIG. 1 is a block diagram of an optical local area network.

[0016] FIGS. 2, 3A and 3B are schematic diagrams showing frame structures.

[0017] FIG. 4 is a flowchart for a network operating process.

[0018] FIG. 5 is a flowchart for a response delay process.

[0019] FIGS. 6A - 6C are diagrams of optical local area networks utilizing a hub configuration

[0020] FIGS. 7A-7D are diagrams of optical local area networks utilizing a switch configuration.

[0021] FIG. 8 is a diagram of an optical local area network.

[0022] FIGS. 9A and 9B are block diagrams of switches.



                                 DETAILED DESCRIPTION

[0023] Referring to _FIG. 1, a high-level schematic of an optical local area network 50 includes
a network manager (NM) 100 at the head end of a passive optical distribution fabric (ODF) 102.
The NM 100 acts as a central transmission point and an overall controlling device for the optical
local area network 50. On another end, the ODF 102 is terminated by a plurality of (in one
implementation, generally similar) network client adapters (NCAs) 104A, 104B, 104C. Herein
the NCA 104A, NCA 104B, NCA 104C, are also referred to collectively as NCAs 104. Though
three NCAs 104 are shown more or fewer NCAs may be included in the optical local area
network 50.

[0024] The NM 100 transmits/receives data to/from the NCAs 104 in the form of modulated
optical light signals of known wavelength through the ODF 102. The transmission mode of the




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data sent over the ODF 102 may be continuous, burst or both burst and continuous modes. Both
NM 100 and NCAs 104 may transmit light signals having a same wavelength. In one
implementation, the light signals are polarized and the polarization of light transmitted by the
NM 100 is perpendicular to the polarization of the light transmitted by the NCAs 104.
Alternatively, the transmissions can be-made in accordance with a time-division multiplexing
scheme or similar protocol.

[0025] In another implementation, bi-directional wavelength-division multiplexing (WDM) may
be used. Bi-directional WDM is herein defined as any technique by which two optical signals
having different wavelengths may be simultaneously transmitted bi-directionally with one
wavelength used in each direction over a single fiber. In yet another implementation, bi-
directional dense wavelength- division multiplexing (DWDM) may be used. Bi-directional
DWDM is herein defined as any technique by which more than two optical signals having
different wavelengths may be simultaneously transmitted bi-directionally with more than one
wavelength used in each direction over a single fiber with each wavelength unique to a direction.
For example, if bi-directional WDM is used, the NM 100 may transmit data to an NCA 104A,
104B, 104C utilizing a first wavelength of modulated light conveyed via a fiber 105A, 105B,
105C, respectively, in the ODF 102 and, similarly, the NCAs 104A, 104B, 104C may transmit
data via the same fiber 105A, 105B, 105C, respectively, in the ODF 102 to the NM 100 utilizing
a second wavelength of modulated light. Because only a single fiber is used (e.g., between the
NM 100 and each respective NCA 104), this type of transmission system is commonly referred
to as a bi-directional transmission system. Although the optical local area network 50 illustrated
in FIG. I includes an NM 100 in communication with a plurality of NC As 104 using a plurality
of fibers, other implementations of optical local area networks 50 may be used. In some
implementations, the NCAs 104 are generally similar. In other implementations, the NCAs 104
may differ in one or more aspects.

[0026] The NM 100 includes network management communication logic and memory (NM-
CLM) 106 block, a network management optical interface (NM Optical Interface) 108 block and
an optical distribution fabric interface (ODF Interface) 110 block. The NM-CLM 106 includes a
network manager engine (NM Engine) 112 block, a transmit framer (Tx Framer) 114 block and a
receive framer (Rx Framer) 115 block.

[0027] The NM Engine 112 is a control module that performs various processing and scheduling
functions of an NM 100. The Tx Framer 114 frames outgoing data from the NM Engine 112 in
accordance with a framing protocol that is in-use. The Rx Framer 115 receives incoming frames
and recovers appropriate data and messages to pass on to the NM Engine 112. The NM Optical
Interface 108 is controlled by the NM-CLM 106 using, for example, bus 109. The NM Optical
Interface 108 converts electrical signals carrying data from the Tx Framer 114 to optical signals,
for example, by modulating a laser (not shown) included in the NM Optical Interface 108 and
transmitting the laser output to the ODF interface 110. The NM Optical Interface 108 also
receives optical signals from the ODF interface 110 and converts the optical signals to electrical




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signals carrying data that is then transferred to the Rx Framer 115. Thus, the NM Optical
Interface 108 functions as an "optical-electrical converter" that can convert a signal from an
optical signal to electrical signal or from an electrical signal to an optical signal.

 [0028] The ODF Interface 110 includes an optical splitter 116 and a plurality of ODF Ports
117A, 117B, 117C, etc. For example, the optical splitter 116 can be a I :n splitter (where n is at
least 2) that splits light coming from the NM Optical Interface I 08 into n portions of light
coupled into n optical ports, respectively. The optical ports (e.g., ODF Ports 117) can be coupled
to one or more optical waveguides. In one implementation, each ODF Port 117 is coupled to an
optical waveguide. The optical waveguides can be, for example, single mode or multimode fibers
that guide received/transmitted light to/from respective ODF Ports 117A, 117B, 117C, etc. The
I :n splitter (or equivalently, n: I combiner) also directs light from any of the ODF Ports 117A,
117B, 117C, etc. received over one of the optical waveguides to the NM Optical Interface 108.
ODF Ports 117A, 117B, 117C, etc. include optical fiber connector sockets (e.g., SC, LC, FC, ST,
or MU connector sockets) for coupling to the optical waveguides.

[0029] The ODF 102 can include any of a variety of passive optical components including
optical fibers (e.g., single mode fibers, multimode fibers), optical connectors, fiber splices,
passive branching components (e.g., passive splitters) and passive optical attenuators.

[0030] In this implementation, the NCAs 104 each include a network client communication logic
and memory (NC-CLM) 120 block, a network client optical interface (NC Optical Interface) 122
block and an ODF port 124. The NC-CLM 120 block includes an Adaptation Unit 126 block, a
network client engine (NC Engine) 128 block, a transmit framer (Framer) 130 block and a
receiver framer (Deframer) 131 block. The NC Engine 128 is a control module that performs
various functions associated with an NCA 104, such as responding to messages from the NM
100. The Framer 130 frames outgoing data from the NC Engine 128 in accordance with a
framing protocol that is in-use. The Deframer 131 receives incoming frames and recovers
appropriate data and messages to pass on to the NC Engine 128. The adaptation unit 126 receives
and transmits data and messages in the form of frames, packets or cells according to one or more
external protocol(s). External controls, data and messages can be received using the network
interface 136. The responsibilities of the adaptation unit 126 may include providing buffering,
data and/or message filtering and translation between the external protocol(s) and the protocol of
the optical local area network 50. The adaptation Unit 126 includes egress queue 132 block and
ingress queue 133 block. Egress and ingress queues 132, 133 can be of the form of memory and
are used for buffering receive and transmit data and messages, respectively. The adaptation unit
126 can filter out or drop data and/or messages that are not intended to egress through its
network interface 136. Filtering can be based on the destination address of the data and/or
messages according to the external protocol in-use. Additionally, the adaptation unit 126 can
filter out or drop data and/or messages that are not intended to ingress through its network
interface 136. Filtering can be based on equal values for the source and destination addresses of




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the data and/or messages according to the external protocol in-use. The NC Optical Interface 122
is controlled by the NC-CLM 128 using bus 134. The NC Optical Interface 122 converts

electrical signals carrying data from the Framer 130 block to optical signals, for example, by
modulating a laser (not shown) included in the NC Optical Interface 122 and transmitting the
laser output to the ODF port 124. The NC Optical Interface 122 also receives optical signals
from the ODF port 124 and converts the optical signals to electrical signals carrying data that is
then transferred to the Deframer 131 block. The ODF port 124 includes an optical fiber
connector socket (e.g., an SC, LC, FC ST, or MU connector socket).

[0031] The. NCAs 104 can be coupled to data link layer devices (not shown) or physical layer
devices (not shown) using network interface 136. The data link layer devices and physical layer
devices are network devices that operate at a Layer-2 or Layer-I respectively, according to the
Open Systems Interconnect (OSI) 7-layer reference model. Furthermore, these network devices
may comply with industry standard specifications such as IEEE 802.3 and Fibre Channel
(incorporated herein by reference). Consequently, the network interface 136 may be an MIi,
GMII, XGMII, XAUI or SPI type interface. Other Layer-2 and Layer-I type interface
specifications may also be used.

[0032] The optical local area network 50 transfers data between an NM 100 and the NCAs 104
in the form of downstream frames (NM 100 to NCAs 104) and upstream "virtual frames" (NCAs
100 to NM 104). Downstream frames from the NM 100 are transmitted into the ODF 102 in an
essentially continuous sequence of constant period frames. In one implementation, downstream
frames have a period of 125 µs, and transfer data downstream at a rate of approximately 10 Gb/s,
although other periods and rates may be used. The ODF Interface 110 and potentially the ODF
102 split the downstream transmissions passively so that all NCAs 104 receive the frames in a
generally broadcast manner. In the upstream direction, separate transmissions from the plurality
ofNCAs 104 are transmitted as burst transmissions or in slots which are combined in a virtual
frame so that the separate burst transmissions do not collide when they arrive at the NM 100. In
one implementation, the virtual upstream frames have essentially the same period as the
downstream frames, and upstream data transmissions are transmitted at a rate approximately
equal to the downstream rate. Alternatively, different upstream and downstream rates may be
used.

[0033] FIG. 2 is a schematic timing and framing diagram, showing overall structure of a
downstream frame 200, and a virtual upstream frame 202 in an implementation of a framing
protocol. Referring now to FIG.s 1 and 2, each downstream frame 200 includes a header 204 and
a payload section 206. The downstream header 204 includes a downstream synchronization (DS
Sync) 208 section, a station management 210 section, two sections containing the number of
NCAs 104 in communication with the NM 100 (# ofNCAs) 212, 214 and an upstream slot
allocation (US slot allocation) 216 section. The DS Sync 208 section includes a consecutive
sequence of bits that enables receiving NCAs 104 to identify a beginning of the downstream




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frame 200 and thus acts as starting marker for frame timing throughout the optical local area
network 50. The number of NC As 104 in communication with the NM is sent twice 212,214 to
ensure correct interpretation of the US slot allocation section 216. The order of downstream
header sections 210,212,214,216 after a DS Sync 208 may differ in other implementations.

[0034] During each network period 218 defined by respective adjacent downstream headers,
each NCA 104 is able to send upstream data. The virtual upstream frame 202 is partitioned into
slots, where a "slot" corresponds to a fixed number of bits or a fixed length of time within a
virtual frame. For each network period 218, the NM 100 allocates each NCA 104 respective slots
within which an NCA is able to transmit data upstream. Each slot allocation includes a start slot
number and end slot number (also referred to as start time and end time), relative to the starting
marker defined by a DS Sync 208 from the next network period after an NCA 104 receives a slot
allocation. In alternative implementations, a start slot number and a length of time during which
a specific NCA 104 is permitted to transmit may be sent instead of a start slot number and an end
slot number. Slot allocation start and end numbers are allocated within the virtual upstream
frame so that slot allocations do not overlap, ensuring that there are no collisions of data from
different NCAs 104 at the NM 100. The allocations can be determined by the NM Engine 112
based on total upstream bandwidth requests and can be communicated to NCAs 104 in the
downstream frame US slot allocation 216 section. The US slot allocation 216 section includes
start and end slot numbers pertaining to and identified to specific NCAs 104 (as shown in 220
and 222). Slot allocations assigned to NCAs 104 can be dynamic and may be changed from
network period to network period.

[0035] The upstream frame 224 includes header 226 and payload 228 sections. The header 226
includes a preamble 230 section, a frame delimiter (Delimiter) 232 section and a station
management 234 section. The preamble 230 section includes a consecutive sequence of bits
designed to aid an NM 100 in synchronizing to the bit clock of a respective transmitting NCA
104. The Delimiter 232 includes a consecutive sequence of bits designed to aid an NM 100 in
synchronizing to and recognizing the beginning of an upstream frame 224.

[0036] Each downstream frame 200 and upstream frame 224 includes a payload section 206, 228
respectively, in which data to and from NCAs 104 (from the network interface 136) are
transferred. FIG. 3A is a schematic showing the payload in downstream and upstream framing,
showing that the payload of both upstream and downstream may contain a single adaptation data
unit (ADU) 300. ADUs 300 are output units of data from an adaptation unit 126, where the
adaptation unit 126 has processed data received from the network interface 136 for transfer
across the optical local network 50. For example, in one implementation the adaptation unit 126
receives Ethernet media access control frames (MAC frames) via a GMII interface (as an
implementation for the network interface 136) and removes the MAC frame's preamble and start
of frame delimiter (SFD) fields with the remaining fields of the MAC frame encapsulated in an
ADU 300. Additionally, in one implementation the adaptation unit 126 receives Fibre Channel
(FC) FC-2 frames through a serial interface (as an implementation of the network interface 136)




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and removes the FC-2 frame's start of frame and end of frame fields with the remaining fields of
the FC-2 frame encapsulated in an ADU 300.

[0037] In another example, the adaptation unit 126 can receive IEEE 802.3 MAC frames via a
GMII interface and form an ADU 300 with the entire MAC frame included (i.e., encapsulate the
entire MAC frame). In yet another example, the adaptation unit 126 can receive FC-2 frames
through a serial interface (as an implementation for the network interface 136) and form an ADU
300 with the entire FC-2 frame included (i.e., encapsulate the entire FC-2 frame).

[0038] In one implementation, the payload 204, 232 of downstream frames 200 and upstream
frames 224 may include multiple consecutive sub-frames. Referring to FIG.s 1 and 3B, a sub-
frame includes a sub-frame header 302 section and a sub-frame payload 304 section. A sub-
frame header 302 section includes a payload length indicator (PLI) 308 and cyclic redundancy
check (CRC) 310 section that covers the PLI 308. CRC sections, although not shown, may be
used in the downstream 200 and upstream 224 frames as well. The sub-frame payload 304
section includes a type 312 section, a CRC 314 that relates to the type 312 section, a payload
data unit (PDU) 316 and optionally a CRC 318 that relates to the PDU 316. The PLI 308 gives
an indication of the length, e.g., in bits, of the sub-frame payload 304 section immediately
following the sub-frame header 302. The type 312 section gives an indication of the type of data
in the PDU 316. An adaptation unit 126 may receive data from a mixture of protocols essentially
simultaneously (as described below) and the use of sub-frames allows the data to be transferred
across the network ensuring quality of service or class of service. An adaptation unit 126 uses
sub-frames by placing received data in the PDU 316, indicating the type of data received in the
type 312 section and entering the length of the sub-frame payload 304 in the PLI 308 section.

[0039] The optical local area network 50 operates according to an exemplary process illustrated
in FIG. 4. Referring now to FIG.s 1 and 4, after an NM 100 is powered on 400, the NM 100
sends out 402 one or more message(s) requesting new NCAs 104 (NCAs 104 that the NM 100 is
unaware of) to identity themselves by reporting to the NM 100 with their respective serial
number. The NM 100 also sends out 402 network parameters including initial NCA transmit
power levels using, for example, a station management message(s). The NCAs 104 respond
using slot allocation(s) given by the NM 100 for new NCAs 104 to respond. After successfully
receiving new NCA serial numbers, the NM 100 assigns each new NCA 104 a network
identification number (NC-ID) and requests 404 the new NCA 104 to adjust its transmitting
power level. In one implementation, the NM 100 sends these requests in a station management
message. The respective new NCAs 104 use the assigned NC-ID to interpret specific messages
of concern (i.e., addressed) to a given NCA 104. The NM 100 initiates 406 a response delay
process to determine the delay in responses between the new NCA and the NM 100. After
performing 419 the response delay process, the NM 100 enters normal operation in which
network data is transmitted and received 408 across the optical local area network 50.




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[0040] When an NCA 104 is powered on 410, the NCA 104 attempts to synchronize 412 to
downstream frames by searching for the DS Sync 208. After successful downstream
synchronization, the NCA 104 interprets 414 network parameters received via downstream
station management messages 404, adjusts its initial transmit power level and awaits instructions
(e.g., a message) for new NCAs 104. The instructions include a slot allocation for new NCAs
104 to respond 416 to the NM 100 with the NCA's 104 serial number. Once the NCA 104 has
sent its serial number the NCA 104 is then assigned an NC-ID by the NM 100. The NCA 104
then enters a waiting loop (e.g., for a station management message from the NM 100 to adjust its
transmit power level). In response to a request to set transmit power level, the NCA 104 adjusts
the transmit power level 418. The NCA 104 then enters a waiting loop again (e.g., until receipt
of a message from the NM 100 to initiate a response delay process). Upon receipt of an
instruction to begin a response delay process, the NCA 104 can, in cooperation with the NM 100,
determine the delay between the respective network elements (not shown as part of the process
flow). The details of the response delay process are described in greater detail below. After the
NCA 104 and NM 100 complete the response delay process, the NCA 104 may adjust 420 its
alignment with the network period to account for downstream and upstream transmission delay.
The NCA 104 then enters its normal operation state in which network data is received and
transmitted 422.

[0041] FIG. 5 shows one implementation for executing a response delay process 500. The
response delay process 500, is a process to determine the delay in NM downstream transmission
to NM upstream reception of a message or network data transmission. Referring now to FIG.s 1,
2 and 5, the NM 100 starts 501 the delay process with a new NCA 104 or with an NCA 104 that
may cause upstream transmission collisions. The NM 100 assigns one or more slot(s) to the
target NCA 104 (i.e., the new NCA or one NCA that may cause a collision in upstream
communication) to respond with a response delay message. The NM 100 generates 502 a silence
period in the upstream virtual frame 202 (e.g., by not assigning or granting any slots for that
period) around the slot(s) assigned to the target NCA 104. The silence period ensures no
upstream collisions will occur. The NM 100 sends 504 a message to the NCA 104 to respond
with a response delay message and informs the NCA 104 of its slot(s) assignment to respond.
Thereafter, the NCA 104 responds 506 to the NM 100 at the appropriate slot time. The NM 100
receives the NCA 104 response delay message and calculates 508 the transmission delay. In one
implementation, the NM 100 transmits 510 the result of the response delay calculation to the
NCA 104 and the NCA 104 aligns 512 itself to the proper network period.

[0042] The NM 100 may assign, schedule or grant slot allocations in a number of ways (e.g.
according to fixed time-division multiplex or statistical time-division multiplex schemes). In one
implementation the slot allocations are scheduled to give the NCs 104 a guaranteed minimum
upstream transfer rate. The rate may be determined by dividing the maximum upstream data rate
by the number ofNCAs 104. In another implementation, the NM 100 receives status information
about the NCAs 104 egress 132 and ingress 133 queue status. The NM 100 can schedule slot




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allocations that best minimize the depth of the egress 132 and ingress 133 queues to minimize
transmission delays ensuring quality of service (QOS) or class of service (COS).

[0043] FIGs 6A-6C, 7A-7C and 8 are illustrations of implementations of the optical local area
network 50. In one implementation shown in FIG. 6A, an NM 100 may function in a hub
configuration 600 networking clients including workstations 602, personal computers (PC) 604
and Ethernet switches 618 together using the Ethernet protocol. The workstations 602 and PCs
604 are connected to the hub configuration 600 with a network interface card (NIC) 606
containing an NCA I 04 and a NIC controller 608. In one implementation of the NIC 606, the
NIC controller 608 includes a GMII interface, an Ethernet MAC and a peripheral component
interconnect (PCI) bus interface. The NCA 104 communicates to the NIC controller 608 through
the GMII interface. Ethernet switches 618 are connected to the hub configuration 600 with a
network adaptor 621A containing an NCA 104. Ethernet switches 618 can be conventional
Ethernet switches. In one implementation of the network adaptor 621A, the network interface
136 is a GMII interface.

[0044] In another implementation shown in FIG. 6B, the hub configuration 600 can network disk
storage array devices 612, servers 614 and FC switches 619 together using the Fibre Channel
(FC) protocol. This implementation may be described as a Storage Area Network (SAN). The
disk. storage array devices 612 and servers 614 are connected to the hub configuration 600 with
a host bust adaptor (HBA) 607. In one implementation of HBA 607, the HBA controller 609
includes a serial interface, FC controller and a PCI bus interface. FC switches 619 are connected
to the hub configuration 600 with a network adaptor 621B containing an NCA 104. FC switches
619 can be conventional FC switches. In one implementation of the network adaptor 621B, the
network interface 136 is a serial interface.

[0045] In yet another implementation of the optical local area network 50 shown in FIG. 6C, the
hub configuration 600 may network clients such as workstations 602, PCs 604, disk storage array
devices 612, servers 614 and switches 618,619 (FIG. 6B) using both Ethernet and FC protocols
concurrently. NICs 606 can connect a particular client to the hub configuration 600 using the
Ethernet protocol. HBAs 607 can connect a particular client to the hub configuration 600 using
the FC protocol. For example, workstations 602, PCs 604 and switches 618 can communicate
with the hub configuration 600 using Ethernet protocol while disk storage array devices 612 and
servers 614 can communicate with the hub configuration 600 using FC protocol. The ODF 102
(not shown) of the optical local area network 50 can include splitters 620. Hub configuration
600 can also connect to a switch 618 using an adaptor card 621A. Adaptor card 621A includes an
NCA 104 with a respective network interface 136 (e.g., GMII, XAUI, Serial). Switch 618 may
be, for example, a switch in a conventional Ethernet LAN 622.

[0046] One or more NMs 100 can interface to a switching device (e.g., a Layer-2 switch or a
Layer-3 switch) to process frames from the various NCAs 104 according to a communication
protocol of the switching device. Referring to FIG. 7A, a switch configuration 704 includes




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multiple NMs IO0A, IO0B, IO0C in communication with a Layer-2 switch device 700 which is in
further communication with an uplink port 702. In alternative implementations, the Layer-2
switch device 700 may be in communication with a plurality of uplink ports (not shown).
Though three NMs 100A, 100B, lO0C are shown more or fewer NMs 100 may be in
communication with a Layer-2 switch device 700 included in the switch configuration 704. Each
NM 100A, 100B, lO0C includes an adaptation unit 706 in communication with a NM Engine
(not shown). The adaptation unit 706 receives and transmits data and messages in the form of
frames, packets or cells according to the Layer-2 switch device 700 via a switch interface 708.
Adaptation unit 706 can provide buffering, data and/or message filtering and translation between
the protocol of the Layer-2 switch device 700 and the protocol of the optical local area network
50. The adaptation unit 706 includes an egress queue block (not shown) and an ingress queue
block (not shown). Egress and ingress queues can be of the form of memory and are used for
buffering receive and transmit data and messages, respectively. In one implementation of the
NMs 100A, 100B, lO0C, all upstream traffic received by an NM 100 is passed through the
switch interface 708 to the Layer-2 switch device 700. All downstream traffic transmitted by an
NM 100 is received by the NM 100 through the switch interface 708. In another implementation
upstream traffic received by an NM 100 can be filtered based on destination address to either
pass data and/or messages back to one or more NCAs 104 multiplexed in downstream traffic
(e.g. hairpinning) or to the Layer-2 switch device 700 through the switch interface 708. The fiber
connections 105 form a first ODF for connecting NM 100A with one or more NCAs. The fiber
connections 710 form a second ODF for cofnnecting NM 100B with one or more NCAs. The
fiber connections 712 form a third ODF for connecting NM lO0C with one or more NCAs.

[0047] In one implementation of an optical local area network 50 shown in FIG. 7A, the switch
configuration 704 is used to network workstations 602, PCs 604 and a Ethernet switch 618
together using the Ethernet protocol with appropriate NICs 606 as described above. The switch
configuration 704 includes a Layer-2 switch (e.g., Layer-2 switch device 700) that implements
an Ethernet MAC and switching functions. The optical fibers 105, 710, 712 connecting the
workstations 602, PCs 604 and Ethernet switches 618 to the switch configuration 704 can be
associated with different NMs 100A, 100B, lO0C depending on which fiber connections are
used. The uplink port 702 of switch configuration 704 can connect to an Ethernet switch and/or
router (not shown).

[0048] In another implementation of an optical local area network 50 shown in FIG. 7B, the
switch configuration 704 is used to network one or more disk storage array devices 612, servers
614 and FC-2 switches 619 using, for example, the FC protocol with appropriate HBAs 607 as
described above. This implementation may also be described as a Storage Area Network (SAN).
The switch configuration 704 includes a Layer-2 switch (e.g., Layer-2 switch device 700) that
implements an FC-2 controller and switching functions. The optical fibers 105, 710, 712
connecting the disk storage array devices 612, servers 614 and FC-2 switch 619 to the switch
configuration 704 can be associated with different NMs 100A, 100B, lO0C depending on which




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fiber connections are used. The uplink port 702 of switch configuration 704 may connect to an
FC-2 switch and/or router (not shown). FC-2 switches 619 can be a conventional FC-2 switch.

[0049] In yet another implementation of an optical local area network 50 shown in FIG. 7C, a
switch configuration 704 is used to network workstations 602, PCs 604, 'disk storage array
devices 612, servers 614 and other switches (e.g. an Ethernet switch 618) together using, for
example, both Ethernet and FC protocols concurrently in a manner described previously. The
switch configuration 704 includes a Layer-2 switch (e.g. Layer-2 switch device 700) that
implements both an Ethernet MAC and FC-2 controller with switching functions. Layer-2 switch
device 700 can be implemented by a packet processor or network processor. The optical fibers
105, 710, 712 connecting the workstations 602, PCs 604, disk storage array devices 612, servers
614 and t switches to the switch configuration 704 can be associated with different NMs 100A,
100B, lO0C depending on which fiber connections are used. The uplink port 702 of switch
configuration 704 may connect to an Ethernet or FC-2 switch and/or router (not shown).

[0050] In yet another implementation of an optical local area network 50, an implementation of
switch configuration 705 containing an NM 100, an adaptation unit 706 and an uplink port 702 is
shown in FIG. 7D. Switch configuration 705 can be used to network workstations 602, PCs 604
and other switches 618 in a manner described previously. The NM 100 is in communication with
a Layer-2 switch device (not shown) through the uplink port 702 that is connected to a switch.
The connection between uplink port 702 and switch 618 can be a physical layer connection 714
(e.g., 1000 BASE-SX, 1000 BASE-LX). Ethernet switch 618 can be a conventional Ethernet
switch.

[0051] In some implementations of switch configurations 704, 705 the uplink port 702 can be an
NCA adaptor (not shown) similar to 621A, 621B wherein the network interface 136 and switch
interface 708 are coupled using the same interface standard (e.g., XAUI, Serial, Parallel), thus
enabling the uplink port 702 to connect to other hub configurations 600 and switch
configurations 704 (FIG.s 7A-7C), 705 (FIG. 7D).

[0052] In another implementation of an optical local area network 50 shown in FIG. 8, NM 100
and NCA 104 may be implemented in optical modules. A network manager in an optical module
(NM-OM) 800 is provided that, in one implementation, conforms to an industry standard form
factor and includes an NM-CLM 803 that includes an adaptation unit 706 to transfer data into
and out of a network interface (e.g., switch interface 708). The NM-OM 800 also includes a NM
Optical interface 108 and an ODF port 117A. In one implementation, the optical module NM-
OM 800 conforms to an industry standard Multi-source agreement (MSA) form factor (e.g.,
300pin, XENPAK, X2, XPAK, XFP or SFP). A network client adaptor in an optical module
(NC-OM) 802 can be provided that, in one implementation, also conforms to an industry
standard form factor and includes an NCA 104. For example, the optical module NC-OM may
conform to an MSA form factor (e.g., 300pin, XENPAK, X2, XPAK, XFP or SFP).




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[0053] The NM-OM 800 can connect to a conventional router 804 that has optical module ports
806 using the router's switch interface (e.g., XAUI or Serial). The NM-OM 800 is in optical
communication with an optical splitter 810 that splits light among and collects light from
workstations 602, PCs 604, disk storage array devices 612, servers 614 and switches using
appropriate NICs 606 and/or NC-OM 802 as previously described. The Ethernet Layer-2/3
switch 808 may be of conventional design and include an uplink port, that in one
implementation, conforms to an industry standard optical module form factor. The Ethernet
Layer-2/3 switch 808 can communicate with the NM-OM 800 in router 804 by using an NC-OM
802 via network interface 136 (e.g., XAUI or Serial).

[0054] The Ethernet Layer-2/3 switch 808 is further detailed in FIG. 9A. In the Ethernet Layer-
2/3 switch 808, an NC-OM 802 is in communication with a Layer-2 switch 900 by means of a
MAC (not shown) using a network interface 136 (e.g., XAUI or Serial). Ethernet Layer-2/3
switch 808 also includes physical layer ports (PHY ports) 902 that, in one implementation, form
a conventional Ethernet LAN (e.g., Ethernet LAN 622 of FIG. 8) connecting network clients
such as workstations 602 and PCs 604.

[0055] An implementation of an alternative configuration for a switch is shown in FIG. 9B. FIG.
9B is an illustration of an NC-Switch 910, in which no conventional Layer-2 switch and MAC is
used. NC-Switch 910 includes an NCA 912 and multiple PHY ports 902. Each PHY port may
perform wireline (e.g., 10/100/1000 BASE-T, DSL) or wireless (e.g., IEEE 802.11, IEEE
802.16) physical layer communications with conventional LAN clients. In this implementation,
the adaptation unit 126 supports multiple network interfaces 136. The switching function
previously performed by the Layer-2 switch (e.g., Layer-2 switch 900 of FIG. 9A) is
consolidated to the switch or router in communication with an NM 100 in a switch configuration
704 (as described above) or an NM-OM 800 (e.g. as illustrated in FIG. 8 an NC-Switch 910 in
communication with an NM-OM 800). Alternatively, the switching function previously
performed by the Layer-2 switch is consolidated to Layer-2 switches (not shown) in
communication with other NCAs 104 networked in a hub configuration 600.

[0056] In hub configuration 600 (e.g. FIG.s 6A-6C) of the optical local area network 50, flow
control, denial of service and other network administration functions are dependent on external
Layer-2 devices in communication with NCAs 104 (for example, the Ethernet MAC or FC-2
controller in the NIC controller 608 dependent on the implementation as previously discussed).
In switch configurations 704 (e.g. FIG.s 7A-7C) of the optical local area network 50, flow
control, denial of service and other network administration functions are further dependent on the
external Layer-2 device 700 in communication with NMs 100, in addition to the Layer-2 devices
external and in communication with NCAs 104 as previously mentioned.

[0057] Although the invention has been described in terms of particular implementations, one of
ordinary skill in the art, in light of this teaching, can generate additional implementations and
modifications without departing from the spirit of or exceeding the scope of the claimed




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invention. Accordingly, it is to be understood that the drawings and descriptions herein are
proffered by way of example to facilitate comprehension of the invention and should not be
construed to limit the scope thereof.




                                         Appx0075
                                 Electronic Patent Application Fee Transmittal

 Application Number:

 Filing Date:




                                                           COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA
 Title of Invention:
                                                           NETWORK




 First Named Inventor/Applicant Name:                      Alexander Ivan Soto


 Filer:                                                    Alexander Ivan Soto


 Attorney Docket Number:                                   UBl-005E


 Filed as Small Entity


Filing Fees for Track I Prioritized Examination - Nonprovisional Application under 35 USC 111 (a)


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                                                     Appx0077
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                                                         COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA
                    Title of Invention:
                                                         NETWORK




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                                                                                                   8d65




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     5                       Claims                    UBI-00SE_claims.pdf                                                          no            6
                                                                                 fd7 3 ac8a21 b835 03 d0c9a5 73 2c7 ca4 24f403
                                                                                                     bSSS




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     6                                                UBI-00SE_drawings.pdf                                                         no            14
                           drawings
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     7               Oath or Declaration filed        UBI-00SE_oath_alex.pdf                                                      no   2
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     8               Oath or Declaration filed        UBI-00SE_oath_walt.pdf                                                      no   2
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     9                     Specification             UBI-00SE_specification.pdf                                                   no   16
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                                                     Appx0080
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                                                                Attorney Docket Number               UBI-00SE
 Application Data Sheet 37 CFR 1.76
                                                                Application Number

 Title of Invention        COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA NETWORK

 The application data sheet is part of the provisional or nonprovisional application for which it is being submitted. The following form contains the
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Application Information:
 Title of the Invention               COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA NETWORK

 Attorney Docket Number                UBI-00SE                                            I Small Entity Status Claimed                       ~
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 Subject Matter                        Utility

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 D     Request Early Publication (Fee required at time ofRequest 37 CFR 1.219)

       Request Not to Publish. I hereby request that the attached application not be published under                                                             35   u.s.c.
       122(b) and certify that the invention disclosed in the attached application has not and will not be the subject of an
 □
       application filed in another country, or under a multilateral international agreement, that requires publication at eighteen
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Representative Information:
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 Please Select One:                @      Customer Number               I O US Patent Practitioner                 10 Limited Recognition (37 CFR 11.9)
 Customer Number
                                                                         Appx0082
WEB ADS 1.0
                                                                                                                                                                PTO/AIA/14 (08-15)
                                                                                                                          Approved for use through 04/30/2017. 0MB 0651-0032
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                                                                     Attorney Docket Number                     UBl-005E
 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention       COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA NETWORK



 Prefix               Given Name                         Middle Name                         Family Name                          Suffix
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 Prefix               Given Name                         Middle Name                         Family Name                          Suffix
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  Registration Number
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 Additional Representative Information blocks may be generated within this form by
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Domestic Benefit/National Stage Information:
This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e}, 120, 121, 365(c}, or 386(c) or indicate National
Stage entry from a PCT application. Providing benefit claim information in the Application Data Sheet constitutes the specific
reference required by 35 U.S.C. 119(e) or 120, and 37 CFR 1.78.
When referring to the current application, please leave the "Application Number" field blank.




                                                                                                                                           Fi ing or 371 (c) Date
     Application Number                           Continuity Type                         Prior Application Number                            (YYYY-MM-DD)

                                      Continuation of                                   16866479                                   2020-05-04




     Application                                                Prior Application               Filing Date                                                  Issue Date
                              Continuity Type                                                                                Patent Number                 (YYYY-MM-DD)
      Number                                                         Number                   (YYYY-MM-DD)

 16866479              Continuation of                      16734270                       2020-01-03                   10644802                         2020-05-05




     Application                                                Prior Application               Filing Date                                                  Issue Date
                              Continuity Type                                                                                Patent Number                 (YYYY-MM-DD)
      Number                                                         Number                   (YYYY-MM-DD)

 16734270              Continuation of                      14588899                       2015-01-02                   10892828                         2021-01-12




     Application                                                Prior Application               Filing Date                                                  Issue Date
                              Continuity Type                                                                                Patent Number                 (YYYY-MM-DD)
      Number                                                         Number                   (YYYY-MM-DD)

 14588899              Continuation of                      13543880                       2012-07-08                   8958697                          2015-02-17




     Application                                                Prior Application               Filing Date                                                  Issue Date
                              Continuity Type                                                                                Patent Number                 (YYYY-MM-DD)
      Number                                                         Number                   (YYYY-MM-DD)

 13543880              Continuation in part of              12982872                       2010-12-30                   8238754                          2012-08-07




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                                                                    Attorney Docket Number                     UBl-005E
Application Data Sheet 37 CFR 1.76
                                                                    Application Number

Title of Invention       COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA NETWORK




    Application                                                Prior Application               Filing Date                                                   Issue Date
                             Continuity Type                                                                                Patent Number                 (YYYY-MM-DD)
     Number                                                         Number                   (YYYY-MM-DD)

13543880              Continuation in part of              12512968                       2009-07-30                   9337948                          2016-05-10




    Application                                                Prior Application               Filing Date
                             Continuity Type                                                                                Patent Number                 (YYYY-MM-DD)
     Number                                                         Number                   (YYYY-MM-DD)

12982872              Continuation of                      10886514                       2004-07-06                   7925162                          2011-04-12




                                                                                                                                          Fi ing or 371 (c) Date
    Application Number                           Continuity Type                         Prior Application Number                            (YYYY-MM-DD)

10886514                             Claims benefit of provisional                     60485072                                   2003-07-03




                                                                                                                                          Fi ing or 371 (c) Date
    Application Number                           Continuity Type                         Prior Application Number                            (YYYY-MM-DD)

10886514                             Claims benefit of provisional                     60515836                                   2003-10-30




                                                                                                                                          Fi ing or 371 (c) Date
    Application Number                           Continuity Type                         Prior Application Number                            (YYYY-MM-DD)

12512968                             Continuation in part of                           11772187                                   2007-06-30




    Application                                                Prior Application               Filing Date                                                   Issue Date
                             Continuity Type                                                                                Patent Number                 (YYYY-MM-DD)
     Number                                                         Number                   (YYYY-MM-DD)

11772187              Continuation of                      10865547                       2004-06-10                   7242868                          2007-07-10




                                                                                                                                          Fi ing or 371 (c) Date
    Application Number                           Continuity Type                         Prior Application Number                            (YYYY-MM-DD)

10865547                             Claims benefit of provisional                     60477845                                   2003-06-10




                                                                                                                                          Fi ing or 371 (c) Date
    Application Number                           Continuity Type                         Prior Application Number                            (YYYY-MM-DD)

10865547                             Claims benefit of provisional
                                                                        Appx0084
                                                                             60480488                                             2003-06-21

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                                                                      Attorney Docket Number                     UBl-005E
 Application Data Sheet 37 CFR 1.76
                                                                      Application Number

 Title of Invention        COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA NETWORK


 Additional Domestic Benefit/National Stage Data may be generated within this form by
 selecting the Add button.

Foreign Priority Information:

This section allows for the applicant to claim priority to a foreign application. Providing this information in the application data sheet
constitutes the claim for priority as required by 35U.S.C.119(b) and 37 CFR 1.55. When priority is claimed to a foreign application that is eligible
for retrieval under the priority document exchange program (POX) the information J,ill be used by the Office to automatically attempt retrieval
pursuant to 37 CFR 1.55(i)(l) and (2). Under the PDX program, applicant bears the ultimate responsibility for ensuring that a copy of the foreign
application is received by the Office from the participating foreign intellectual property office, or a certified copy of the foreign priority
application is filed, within the time period specified in 37 CFR 1.55(g)(l).


                                                                  1
      Application Number                              Country                      Filing Date (YYYY-MM-DD)                              Access Codei(if applicable)


 Additional Foreign Priority Data may be generated within this form by selecting the Add
 button.




Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition
Applications
      This application (1) claims priority to or the benefit of an application filed before March 16, 2013 and (2) also
      contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after March
 0    16,2013.
      NOTE: By providing this statement under 37 CFR 1.55 or 1.78, this application, with a filing date on or after March
      16, 2013, will be examined under the first inventor to file provisions of the AIA.




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                                                                     Attorney Docket Number                     UBI-00SE
 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention       COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA NETWORK




Authorization or Opt-Out of Authorization to Permit Access:

When this Application Data Sheet is properly signed and filed with the application, applicant has provided written authority to
permit a participating foreign intellectual property (IP) office access to the instant application-as-filed (see paragraph A in
subsection 1 below) and the European Patent Office (EPO) access to any search results from the instant application (see
paragraph Bin subsection 1 below).

Should applicant choose not to provide an authorization identified in subsection 1 below, applicant must opt-out of the
authorization by checking the corresponding box A or B or both in subsection 2 below.

NOTE: This section of the Application Data Sheet is ONLY reviewed and processed with the INITIAL filing of an application.
After the initial filing of an application, an Application Data Sheet cannot be used to provide or rescind authorization for access
by a foreign IP office(s). Instead, Form PTO/SB/39 or PTO/SB/69 must be used as appropriate.


1. Authorization to Permit Access by a Foreign Intellectual Property Office(s)

A. Priority Document Exchange (PDX) - Unless box A in subsection 2 (opt-out of authorization) is checked, the undersigned
hereby grants the USPTO authority to provide the European Patent Office (EPO), the Japan Patent Office (JPO), the Korean
Intellectual Property Office (KIPO), the State Intellectual Property Office of the People's Republic of China (SIPO), the World
Intellectual Property Organization (WIPO), and any other foreign intellectual property office participating with the USPTO in a
bilateral or multilateral priority document exchange agreement in which a foreign application claiming priority to the instant
patent application is filed, access to: (1) the instant patent application-as-filed and its related bibliographic data, (2) any foreign
or domestic application to which priority or benefit is claimed by the instant application and its related bibliographic data, and
(3) the date offiling of this Authorization. See 37 CFR l.14(h)(l ).

B. Search Results from U.S. Application to EPO- Unless box Bin subsection 2 (opt-out of authorization) is checked, the
undersigned herebv grants the USPTO authority to provide the EPO access to the bibliographic data and search results from
the instant patent application when a European patent application claiming priority to the instant patent application is filed. See
37 CFR l.14(h)(2).

The applicant is reminded that the EPO's Rule 141 (1) EPC (European Patent Convention) requires applicants to submit a copy of
search results from the instant application without delay in a European patent application that claims priority to the instant
application.



2. Opt-Out of Authorizations to Permit Access by a Foreign Intellectual Property Office(s)

      A. Applicant DOES NOT authorize the USPTO to permit a participating foreign IP office access to the instant
D application-as-filed. If this box is checked, the USPTO will not be providing a participating foreign IP office with any
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D application. If this box is checked, the USPTO will not be providing the EPO with search results from the instant application.
NOTE: Once the application has published or is otherwise publicly available, the USPTO may provide access to the application in
accordance with 37 CFR 1.14.




                                                                          Appx0086
WEB ADS 1.0
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                                                                       Attorney Docket Number                     UBI-00SE
 Application Data Sheet 37 CFR 1.76
                                                                       Application Number

 Title of Invention         COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA NETWORK




Applicant Information:

 Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title 37 of CFR to have
 an assignment recorded by the Office.


 Applicant          1
If the applicant is the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed. The
information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR 1.43; or the
name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person who otherwise shows
sufficient proprietary interest in the matter who is the applicant under 37 CFR 1.46. If the applicant is an applicant under 37 CFR 1.46 (assignee,
person to whom the inventor is obligated to assign, or person who otherwise shows sufficient proprietary interest) together with one or more
joint inventors, then the joint inventor or inventors who are also the applicant should be identified in this section.

                                                                                                                                               I     Clear
                                                                                                                                                              I
0 Assignee                                      lo       Legal Representative under 35 U.S.C. 117
                                                                                                                                lo       Joint Inventor


0 Person to whom the inventor is obligated to assign.                                      lo        Person who shows sufficient proprietary interest

If applicant is the legal representative, indicate the authority to file the patent application, the inventor is:


                                                                                                                                  I
Name of the Deceased or Legally Incapacitated Inventor:                            I
 If the Applicant is an Organization check here.                            □

 Prefix                           Given Name                            Middle Name                          Family Name                           Suffix



 Mailing Address Information For Applicant:
 Address 1
 Address 2
 City                                                                                       State/Province
            1
 Country        I                                                                           Postal Code
 Phone Number                                                                               Fax Number

 Email Address

Additional Applicant Data may be generated within this form by selecting the Add button.




                                                                           Appx0087
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                                                                     Attorney Docket Number                     UBI-00SE
 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention       COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA NETWORK




Assignee Information including Non-Applicant Assignee Information:

Providing assignment information in this section does not substitute for compliance with any requirement of part 3 ofTitle 37 of
CFR to have an assignment recorded by the Office.




 Assignee          1
Complete this section if assignee information, including non-applicant assignee information, is desired to be included on the patent application
publication. An assignee-applicant identified in the "Applicant Information" section will appear on the patent application publication as an
applicant. For an assignee-applicant, complete this section only if identification as an assignee is also desired on the patent application
publication.


 If the Assignee or Non-Applicant Assignee is an Organization check here.                                                                      □
 Prefix                          Given Name                            Middle Name                          Family Name                         Suffix



Mailing Address Information For Assignee including Non-Applicant Assignee:


 Address 1

 Address 2
 City                                                                                      State/Province
                                   I
 Country i                                                                                 Postal Code
                  I
 Phone Number                                                                              Fax Number

 Email Address

Additional Assignee or Non-Applicant Assignee Data may be generated within this form by
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WEB ADS 1.0
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                                                                                                                          Approved for use through 04/30/2017. 0MB 0651-0032
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                      Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid 0MB control number.

                                                                     Attorney Docket Number                     UBI-00SE
 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention       COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA NETWORK



Signature:
NOTE: This Application Data Sheet must be signed in accordance with 37 CFR 1.33(b). However, if this Application Data Sheet
is submitted with the INITIAL filing of the application and either box A or B is not checked in subsection 2 of the
"Authorization or Opt-Out of Authorization to Permit Access" section, then this form must also be signed in accordance
with 37 CFR 1.14(c).
      This Application Data Sheet must be signed by a patent practitioner if one or more of the applicants is a juristic entity (e.
g., corporation or association). If the applicant is two or more joint inventors, this form must be signed by a patent practitioner,
all joint inventors who are the applicant, or one or more joint inventor-applicants who have been given power of attorney (e.g.,
see USPTO Form PTO/AIA/81) on behalfofalljoint inventor-applicants.
     See 37 CFR 1.4(d) for the manner of making signatures and certifications.




 Signature      /Alexander Soto/                                                                                 Date (YYYY-MM-DD)


 First Name      Alexander                    I Last Name           I Soto                                    I Registration Number


 Signature      /Walter Soto/                                                                                    Date (YYYY-MM-DD)


 First Name      Walter                       I Last Name           I Soto                                    I Registration Number
   Additional Signature may be generated within this form by selecting the Add button.




                                                                         Appx0089
WEB ADS 1.0
Application/Control Number: 17/138,794                                                                    Page 2
Art Unit: 2636
                                 Notice of Pre-A/A or A/A Status

1.     The present application is being examined under the pre-AIA first to invent

provisions.



                                 Claim Rejections - 35 USC § 103

2.     The following is a quotation of pre-AIA 35 U.S.C. 103(a) which forms the basis

for all obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described
       as set forth in section 102, if the differences between the subject matter sought to be patented
       and the prior art are such that the subject matter as a whole would have been obvious at the
       time the invention was made to a person having ordinary skill in the art to which said subject
       matter pertains. Patentability shall not be negatived by the manner in which the invention was
       made.

3.     Claims 1-7, 9-12, 15-17, 21, 23 and 24 are rejected under pre-AIA 35 U.S.C.

103(a) as being unpatentable over Umayabashi et al (JP 2003-92582. English Machine

Translation of the JP 2003-92582 provided) in view of Unitt et al (US 2002/0063932)

and Pfeiffer (US 6,011,637).

       1). With regard to claim 1, Umayabashi et al discloses a Local Area Network

(LAN) client (1-3 in Figures 1 and 17; or 21-23 in Figure 20) for a passive optical LAN

(as shown in Figures 1 and 17, the base station or optical line terminal 4 is located after

the local switch 8, and "the public network of Ethernet (R) technology, which has been

developed as a technology for LAN (Local Area Network), especially the subscriber

access. Application to the network is progressing" [0002], that is, the devices/stations 1-

4 and fibers 100-103 and passive splitter 9 etc. form a passive optical LAN), the passive

optical LAN disposed to having one or more passive optical splitters (9) for coupling the




                                               Appx0195
Application/Control Number: 17/138,794                                               Page 3
Art Unit: 2636
LAN client over one or more optical fibers (100-103) to the head end (the base station

4) of the passive optical LAN, the LAN client for a passive optical LAN comprising of:

       an optical interface (transceiver 11) for converting a downstream optical signal on

a downstream optical wavelength (the wavelength for signal from the base station 4 to

to the local stations 1 - 3) a downstream electrical signal (electrical signals to address

filter 13) and for converting an upstream electrical signal (electrical signals from mux 16)

to an upstream optical signal (the optical signals sent to the base station 4) and emitting

the upstream optical signal on an upstream optical wavelength (a wavelength for the

upstream signals);

       at least one network interface (e.g. interface 10) for receiving user data (from

client 5 etc.); and

       a control module (the combination of the components of 12 to 18) electrically

coupled to the optical interface and electrically coupled to the at least one network

interface (Figures 1 and 17) and wherein the control module processes the downstream

electrical signal having a downstream control and downstream data information (Figures

2-12; especially Figures 11 and 12, "the Data field 12 is arranged in place of the Padding

field A6", [0119], and "A data length adjusting part adding circuit 487 performs padding

so that a frame length is equal to or larger than a minimum size of an Ethernet (R)

frame", [0149]) to recover an upstream bandwidth allocation from the downstream

control information ([0137]-[0145]; upstream bandwidths are allocated by the bandwidth

allocation unit 50, and sent from the base station 4 to the local stations 1-3) and wherein

the control module receives user data from the at least one network interface (interface

10) and the control module responsive to the upstream bandwidth allocation generates




                                       Appx0196
Application/Control Number: 17/138,794                                                Page 4
Art Unit: 2636
the upstream electrical signal (from the Mux 16) having upstream control (control signal

from the stop-control frame generation unit 19) and upstream data information (from the

buffer 14) and wherein at least a portion of the user data is included in the upstream

data information ([0032], "A frame attribute part which describes the transmission

source address part, a frame type part which describes the type of the frame, and a

frame attribute part which describes the type of the frame which the remote station

device transmits after the stop of the frame transmission instructed by the control

frame", and [0061 ]; that is, at least a portion of the user data is included in the upstream

data information),

       whereby the LAN client for a passive optical LAN communicates user data

upstream responsive to an upstream bandwidth allocation ([0137]-[0145]).

       In Figures 1 and 17, Umayabashi et al shows a plurality of components to

perform the controlling, Umayabashi et al does not expressly state that those

components are integrated as "a control module", and in Figures 1 and 17, Umayabashi

et al does not show the details of the transmission/reception unit (11 ). However, Unitt et

al discloses a passive optical network (Figure 1), in which a control module (the medium

access logic in the outstations 12) can be used to perform the control, and Unitt et al

also shows that an optical transmitter (120), an optical receiver (112) and a wavelength

multiplexer (124) can be used as the optical interface to perform the O/E and E/O

conversion, and multiplexing/demultiplexing signals and convey the signals to/from the

fiber 15. Unitt et al discloses "customers tend to exist in groups situated geographically

close to each other (say, within a few hundred meters), but the head end (or central

office) may be some kilometers away" ([0023] and [0038]); that is the PON is relatively




                                        Appx0197
Application/Control Number: 17/138,794                                                Page 5
Art Unit: 2636
"local". Also, another prior, Pfeiffer, discloses that the similar PON (Figure 1) can be

used as a passive optical local area network (Background and column 2 lines 50-54, "an

optical LAN can be constructed wherein the optical network units ONU communicate

with each other, for example transmit data, via the center OLT."). Therefore, it would

have been obvious to one of ordinary skill in the art before the effective filing date of the

claimed invention to combine the teachings of Unitt et al and Pfeiffer with the

system/method of Umayabashi et al so that a high capacity and high speed data flows

can be realized on an passive optical local area network.

       2). With regard to claim 2, Umayabashi et al and Unitt et al and Pfeiffer disclose

all of the subject matter as applied to claim 1 above. And the combination of

Umayabashi et al and Unitt et al and Pfeiffer further discloses wherein the control

module includes an Ethernet MAC (Umayabashi: Ethernet frames are transmitted

between the local stations 1-3 and the base station 4; it is obvious to one skilled in the

art that an Ethernet MAC is in the control module. Unit: [0021] and [0048]).

       3). With regard to claim 3, Umayabashi et al and Unitt et al and Pfeiffer disclose

all of the subject matter as applied to claim 1 above. And the combination of

Umayabashi et al and Unitt et al and Pfeiffer further discloses wherein the control

module includes a passive optical LAN protocol processor (the combination of

Umayabashi et al and Unitt et al and Pfeiffer discloses a PON LAN in which Ethernet

frames are transmitted/processed. It is common that Ethernet protocol is one kind of

LAN protocol. And Unit et al indicates "Ethernet is an established protocol used in

computer local area networks", [0018]. Therefore, the combination of Umayabashi et al




                                        Appx0198
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complete, reliable or fit for specific purposes. Critical decisions, such as commercially relevant or
financial decisions, should not be based on machine-translation output.



DESCRIPTION JP2003092582A


[0001]
13 The present invention relates to a data transfer method and a control frame, a one-to-many

  common medium type communication system, a base station device, and a remote station
  device, and particularly a plurality of remote station devices for one base station device. The
   present invention relates to a technique for controlling transmission of a data frame
  transmitted from each remote station device onto the common medium, which is connected
  via a common communication medium.



[0002]
22 Conventional Technology With the spread of multimedia communication services such as

  voice, images, and the Internet, there is an increasing demand for high-speed and low-cost
   networks.
25 These demands are progressing not only in the backbone network but also in the subscriber

  access network, and the public network of Ethernet (R) technology, which has been developed
  as a technology for LAN (Local Area Network), especially the subscriber access. Application to
  the network is progressing.



[0003]
32 As an example of application of Ethernet (R) technology to a subscriber access network, a

   point-to-multipoint PON (Passive Optical Network) configuration subscriber access network
  capable of reducing costs is drawing attention ...
35 The schematic configuration of this Ethernet (R) -based PON system is shown in FIG.

   Hereinafter, this PON system will be referred to as an EPON [Ethernet (R) -PON] system 20.


                                            Appx0238 1
                                           12-03-2021
                                               REMARKS

        Interview with Examiner Summary: On April 20, 2021, Applicant Alexander Soto and
Examiner Li Liu participated in an applicant-initiated telephonic interview regarding issues
relating to 35 U.S.C. § 103 rejections ofUmayabashi et al (JP 2003-92582. English Machine
Translation.) in view of Unitt et al (2002/0063932) and Pfieiffer (US 6,011,637) references.
Applicant Alexander Soto and Examiner Li Liu additionally discussed that Local Area Networks
(LANs) and Broadband Subscriber Access Networks are different types of networks and not
equivalent in view of the references above as well as Umayabashi and Unitt bandwidth allocation
teaching away from Applicants claims, however no agreement was reached.


        Request for Human translation of Umayabashi et al. MPEP states "a request by the
applicant for the examiner to obtain a human language translation should be granted if the
applicant provides evidence showing the machine translation does not accurately represent the
document's contents". The Umayabshi referenced used is a machine translation of the Japanese
application and the translation itself gives notice that states:

           "This translation is machine generated It cannot be guaranteed that it is intelligible,
accurate, complete, reliable or fit for specific purposes. Critical decisions, such as
commercially relevant or financial decisions, should not be based on machine-translation
output."

        Applicants hereby request a human translation ofUmayabashi because machine-
translated paragraphs of Umayabashi are incomplete and therefore the machine-translated
version does not accurately represent the contents ofUmayabashi's application. For example, an
important first sentence of paragraph [0003] is incomplete ending in" ... " as well as the second
sentence has no Figure number stated after "FIG.". Missing "FIG." numbers are also present in
paragraphs [0075], [0078], [0086-0087], [0093-0094], [0099-0100], [0102-0103], [0139],
[0153], [0161], [0165], [0183], [0186], [0191-0192], and [0194-0195]. Paragraphs [0117] and
[0169] also seem to end incomplete. Additionally, the unit of time that Umayabashi offset and
Pause_time fields use is described as "unit hours", for example in paragraph [0097] an example
frame is described as turning off a remote station device stopping frame transmission for 1000
unit hours. This would have remote stations not transmitting for over 40 days and therefore unit

                                                   2


                                             Appx0341
hours are not a reasonable interpretation for units of time for these fields as an Ethernet frame is
much less than an hour long. The smallest unit of time would be 1 unit hour would still leave the
interpretation of the minimum remote station devices can be turned off is 1 hour which again is
not a reasonable interpretation for these fields whose purpose is to control upstream
transmissions for each upstream Ethernet frame period for each remote station device as again an
Ethernet frame period is much less than an hour long.


       Failure to Address All Claims in Office Action. Applicant respectfully note that all of
the claims have not been addressed in the outstanding Office Action. Specifically, the Office
Action failed to address claim 22. The failure to properly address claim 22 causes the status of
the claim 22 to be uncertain and further renders the Office Action deficient.
       Accordingly, Applicant respectfully requests that the Examiner issue a new Office Action
properly addressing claim 22 as required by the MPEP and the C.F.R. Additionally, because the
rejection of claim 22 would be presented for the first time on the record, Applicant respectfully
notes that the new Office Action rejecting one or more of these claims cannot be made final per
37 C.F.R. § 1.113.


       Discussion regarding rejections to claims 1-7, 9-12, 15-17, 21, 23 and 24: In the Office
Action mailed on March 18, 2021, the Office Action rejected the Applicants' claims 1-7, 9-12,
15-17, 21, 23 and 24 as being unpatentable over Umayabashi in view of Unitt and Pfeiffer.
Applicants respectfully traverse these rejections for at least the reasons below.
       The rejections are improper because they are incorrect in the interpretation of the prior art
references of Umayabashi, Unitt and Pfeiffer, and these references do not teach or disclose what
the rejections contend.
       Regarding Umayabashi, the rejections conflate Applicants' passive optical LAN with
Umayabashi's EPON subscriber access network as equivalent. However, Umayabashi's EPON
network is not a LAN as in Applicants' claims, but instead is a subscriber access network, which
is a type of WAN and is described as such in Umayabashi paragraph [0003].

        "[0003J As an example of [the] application of Ethernet technology to a subscriber access
network, a point-to-multipoint PON (Passive Optical Network) configuration subscriber access
network capable of reducing costs is drawing attention [i.e., shown]. The schematic
                                                  3


                                           Appx0342
configuration of this Ethernet based PON system is shown in Fig. Hereinafter, this PON system
will be referred to as an EPON [Ethernet PON] system 20." (emphasis added)

       Furthermore, Umayabashi's reference to "local switch" is another word for a class 5
switch in a Central Office supporting Umayabashi's EPON system 20 is a subscriber access
network as Umayabashi describes in paragraph [0003] and not a LAN. Umayabashi's base
station apparatus 4 is connected to a local switch (i.e., a class 5 switch at a central office) and is
therefore not equivalent to the head end of the passive optical LAN of Applicants' claims. See
reference Chapter 13: Local Switching Systems from Irwin Handbook of Telecommunications.
Since Umayabashi's network is a subscriber access network (i.e., a type of WAN) and not a
LAN, Umayabashi's remote station devices are not LAN clients as equated in the rejections but
are WAN clients. For this reason alone, these rejections should be withdrawn.
       Additionally, Umayabashi in at least FIG. 6-10 and related paragraphs [0093-0117] and
[O 169-0170] describe how the upstream communications are controlled through the use of stop
control frames that tell Umayabashi's remote station devices (i.e, WAN clients and not LAN
clients) to stop transmitting (i.e., Umayabashi's upstream bandwidth allocation). The upstream
bandwidth allocation are stopping transmissions from Umayabashi's remote station devices. In
Umayabashi, a remote station device stops transmitting responsive to receiving an upstream
bandwidth allocation, which is opposite to and therefore teaches away from Applicants' claims
of generating upstream signal responsive to upstream bandwidth allocation. Again, for this
reason alone, these rejections should be withdrawn.
       Regarding Unitt, these rejections equate Unitt's medium access logic in outstations 12 to
Applicants' control module. However, Unitt paragraph [0026] describes the medium access
logic as arranged to receive a pause request to pause transmission for a period of time, similar to
Umayabashi, which is again opposite to and teaches away from Applicants' claims of generating
upstream signal responsive to upstream bandwidth allocation.
       Furthermore, the rejections state that "customers tend to exist in groups situated
geographically close to each other (say, within a few hundred meters), but the head end (or
central office) may be some kilometers away" ([0023] and [0038]) (emphasis added) as
evidence that Unitt is a LAN. However, Unitt in paragraph [0038] is clearly describing a Fiber
to the Home (FTTH) access network and not a LAN as in Applicants' claims. Unitt does nothing
to overcome the deficiencies of Umayabashi in order to read in to Applicants' claims. On the
                                                   4


                                             Appx0343
contrary Unitt supports Umayabashi in teaching away from Applicants' claims.
       Regarding Pfeiffer, the rejection states that "Pfeiffer, discloses that the similar PON
(Figure 1) can be used as a passive optical local area network (Background and column 2 lines
50-54, "an optical LAN can be constructed wherein the optical network units ONU communicate
with each other, for example transmit data, via the center OLT" It is unclear what the suggested
deficiency of Umayabashi and Unitt is that Pfeiffer is to modify and overcome in order to read
into Applicants' claims. The rejection suggests that Pfeiffer's PON is similar to Umayabashi and
Unitt, however other than they are technically PONs there is nothing similar about them.
Pfeiffer's PON has only one transmitter (i.e., LAS) in the PON at the OLT, the ONU's have no
transmitter they reflect light from the OLT and modulate asynchronously (i.e., without a
bandwidth allocation) the reflection back to the OLT on a separate fiber distribution with a
separate splitter. Again, Pfeiffer's PON is not "similar" to Unitt or Umayabashi.
       Furthermore, the rejections support for Pfeiffer being a LAN is only found by a single
keyword finding and incorrect interpretation in column 2 lines 50-54. The rejection takes the
keyword finding of "optical LAN' out of context using hindsight reasoning and ignoring the rest
of the specification of Pfeiffer to conclude that Pfeiffer's PON is a LAN.
       Pfeiffer' s PON is a broadband subscriber access network and not a LAN. Pfeiffer in
column 3, lines 14-22 and lines 39-47, and column 4, lines 7-8 describes the use case of his
broadband PON as carrying cable TV signals, video on demand signals, and video conferencing
signals which at the time of Pfeiffer' s invention in 1996 is clearly indicative of a subscriber
access network and not a LAN. This is further supported in Hale et al (US 5,572,349) col. 2,
lines 18-25, that describe recent (at the time) concept for video-on-demand being a service
provided over Hale's subscriber access network.
       Furthermore, the first "optical LAN" key word finding relied upon for the rejection is a
reference not to Pfeiffer' s PON but to an implementation of an "optical LAN" in an article in the
Electronic Letters, Sep. 1, 1994, Vol. 30, No 18, pages 1506-1507, a copy of which the
Applicants' have submitted with this response.
       The second "optical LAN" key word finding that forms the basis of the support that
Pfeiffer' s PON is a LAN is mis-construed as it is referencing the optical LAN in the reference
paper. Pfeiffer in column 2, lines 50-54 is suggesting that the optical LAN from the paper can be
applied to a broadband network wherein ONU s communication to an OL T across a PON using

                                                  5


                                            Appx0344
the same manner as the network in the optical LAN paper referenced in the background section.
The optical LAN paper is the inspiration for Pfeiffer' s invention as applied to a subscriber access
network. So, column 2, lines 50-54 reads as:

        "The communication between the central 0LT and the optical network units ONU can be
[a] broadband [network]. In this way, for example, an optical LAN [from the paper] can be
constructed wherein the optical network units ONU communicate with each other, for example
transmit data [over the broadband network from the previous sentence], via the center OLT "
(emphasis added to clarify that Pfeiffer' s PON is a broadband network)

       The above reading supports that Pfeiffer' s PON is a broadband subscriber access network
based on the optical LAN journal paper and is a reading supported by the rest of Pfeiffer's
discloser due to Pfeiffer' s use case of his PON to carry cable TV and video on demand which is
a use case for broadband subscriber access networks. The Examiner's incorrect interpretation of
Pfeifer' s column 2, lines 50-54 is at odds with this use case as described by Pfeiffer, while the
interpretation above that these lines in Pfeiffer are suggesting applying the teaching of the optical
LAN in the journal paper to construct a broadband subscriber access network is not at odds but
consistent with the use case as described by Pfeiffer.
       The Examiner must consider the prior art in its entirety; the prior art is good for
everything it teaches, not just the invention it describes or claims. "It is impermissible within the
framework of section 103 to pick and choose from any one reference only so much of it as will
support a given position, to the exclusion of other parts necessary to the full appreciation of what
such a reference fairly suggests to one of ordinary skill in the art." In re Wesslau, 353 F.2d 238,
241 (CCP A 1965) (holding that the district court, by failing to consider a prior art reference in its
entirety, ignored portions of the reference that led away from obviousness).
       It is respectfully submitted that any combination of the above-mentioned references fails
to teach or suggest, at least, a LAN client for a passive optical LAN as in Applicants' claims, and
therefore the pending rejections are improper and should be withdrawn because the rejections
have not established a factual basis to support the legal conclusion of obviousness. See In re
Fine, 837 F.2d 1071, 1073 (Fed. Cir. 1988). Moreover, the rejection does not possess a rational
underpinning to support the legal conclusion of obviousness. See KSR Int 'l Co. v. Teleflex, Inc.,
550 U.S. 398, 418 (2007).
       Applicants respectfully request reconsideration and withdrawal ofrejections to claims 1-
                                               6


                                            Appx0345
Application/Control Number: 17/138,794                                                               Page 17
Art Unit: 2636
 F.2d 238, 241 (CCPA "1965) (holding that the district court, by failing to consider a

 prior art reference in its entirety, ignored portions of the reference that led away from

 obviousness).

        !t is respectfully submitted that any combination of the above-mentioned

 references fails to teach or suggest, at !east, a LAN client for a passive optical LAN

 as in Applicants' claims, and therefore the pending rejections are improper and

 should be wit!1drawn because the rejections have not established a factual basis to

 support the legal conclusion of obviousness. See In re Fine, 837 F.2d 1071, 1073

 (Fed. Cir. 1988). Moreover, the rejection does not possess a rational underpinning to

 support the legal conclusion of obviousness. See KSR lnt'I Co. v. Teleflex, Inc., 550

 U.S. 398, 418 (2007),

        Examiner's response - As discussed above, the Examiner consider the prior

 art in its entirety: and references in cornbination "teach or suggest" "a LAN client for a

 passive optical LAN as in Applicants' claims".



                                 Claim Rejections - 35 USC § 103

3.     The following is a quotation of pre-AIA 35 U.S.C. 103(a) which forms the basis

for all obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described
       as set forth in section 102, if the differences between the subject matter sought to be patented
       and the prior art are such that the subject matter as a whole would have been obvious at the
       time the invention was made to a person having ordinary skill in the art to which said subject
       matter pertains. Patentability shall not be negatived by the manner in which the invention was
       made.

4.     Claims 1-7, 9-12, 15-17, 22, 23 and 24 are rejected under pre-AIA 35 U.S.C.

103(a) as being unpatentable over Umayabashi et al (JP 2003-92582. English Machine




                                               Appx0382
Application/Control Number: 17/138,794                                             Page 18
Art Unit: 2636
Translation of the JP 2003-92582 provided) in view of Unitt et al (US 2002/0063932)

and Pfeiffer (US 6,011,637).

       1). With regard to claim 1, Umayabashi et al discloses a Local Area Network

(LAN) client (1-3 in Figures 1 and 17; or 21-23 in Figure 20, after the local switch 8 or

29) for a passive optical LAN (as shown in Figures 1 and 17, the base station or optical

line terminal 4 is located after the local switch 8, and "The Ethernet(R) technology,

which has been developed as a technology for LAN (Local Area Network), is now being

applied to public networks, especially to subscriber access networks" [0002]; the

devices/stations 1-4 and fibers 100-103 and passive splitter 9 etc. form a passive optical

LAN), the passive optical LAN disposed to having one or more passive optical splitters

(9) for coupling the LAN client over one or more optical fibers (100-103) to the head end

(the base station 4) of the passive optical LAN, the LAN client for a passive optical LAN

comprising of:

       an optical interface (transceiver 11) for converting a downstream optical signal on

a downstream optical wavelength (the wavelength for signal from the base station 4 to

to the local stations 1 - 3) a downstream electrical signal (electrical signals to address

filter 13) and for converting an upstream electrical signal (electrical signals from mux 16)

to an upstream optical signal (the optical signals sent to the base station 4) and emitting

the upstream optical signal on an upstream optical wavelength (a wavelength for the

upstream signals);

       at least one network interface (e.g. interface 10) for receiving user data (from

client 5 etc.); and




                                       Appx0383
Application/Control Number: 17/138,794                                               Page 19
Art Unit: 2636
       a control module (the combination of the components of 12 to 18) electrically

coupled to the optical interface and electrically coupled to the at least one network

interface (Figures 1 and 17) and wherein the control module processes the downstream

electrical signal having a downstream control and downstream data information (Figures

2-12; especially Figures 11 and 12, "the Data field 12 is arranged in place of the Padding

field A6", [0119], and "A data length adjusting part adding circuit 487 performs padding

so that a frame length is equal to or larger than a minimum size of an Ethernet (R)

frame", [0149]) to recover an upstream bandwidth allocation from the downstream

control information ([0137]-[0145]; upstream bandwidths are allocated by the bandwidth

allocation unit 50, and sent from the base station 4 to the local stations 1-3) and wherein

the control module receives user data from the at least one network interface (interface

10) and the control module responsive to the upstream bandwidth allocation generates

the upstream electrical signal (from the Mux 16) having upstream control (control signal

from the stop-control frame generation unit 19) and upstream data information (from the

buffer 14) and wherein at least a portion of the user data is included in the upstream

data information ([0032], "A frame attribute part which describes the transmission

source address part, a frame type part which describes the type of the frame, and a

frame attribute part which describes the type of the frame which the remote station

device transmits after the stop of the frame transmission instructed by the control

frame", and [0061 ]; that is, at least a portion of the user data is included in the upstream

data information),

       whereby the LAN client for a passive optical LAN communicates user data

upstream responsive to an upstream bandwidth allocation ([0137]-[0145]).




                                        Appx0384
Application/Control Number: 17/138,794                                                Page 20
Art Unit: 2636
       In Figures 1 and 17, Umayabashi et al shows a plurality of components to

perform the controlling, Umayabashi et al does not expressly state that those

components are integrated as "a control module", and in Figures 1 and 17, Umayabashi

et al does not show the details of the transmission/reception unit (11 ). However, Unitt et

al discloses a passive optical network (Figure 1), in which a control module (the medium

access logic in the outstations 12) can be used to perform the control, and Unitt et al

also shows that an optical transmitter (120), an optical receiver (112) and a wavelength

multiplexer (124) can be used as the optical interface to perform the O/E and E/O

conversion, and multiplexing/demultiplexing signals and convey the signals to/from the

fiber 15. Unitt et al discloses "customers tend to exist in groups situated geographically

close to each other (say, within a few hundred meters), but the head end (or central

office) may be some kilometers away" ([0022] and [0038]); that is the PON is relatively

"local". Unitt et al does not expressly state that the network is a local area network. But,

another prior, Pfeiffer, discloses that a similar PON (Figure 1) can be used as a passive

optical local area network (Background and column 2 lines 50-54, "an optical LAN can

be constructed wherein the optical network units ONU communicate with each other, for

example transmit data, via the center OL T."). Therefore, it would have been obvious to

one of ordinary skill in the art before the effective filing date of the claimed invention to

combine the teachings of Unitt et al and Pfeiffer with the system/method of Umayabashi

et al so that a high capacity and high speed data flows can be realized on an passive

optical local area network.

       2). With regard to claim 2, Umayabashi et al and Unitt et al and Pfeiffer disclose

all of the subject matter as applied to claim 1 above. And the combination of




                                         Appx0385
                                                                         Application No.   Applicant(s)
                                                                         17/138,794        Soto et al.
                                                                         Examiner          Art         AIA {First Inventor     Page
         Applicant-Initiated Interview Summary                           LI LIU            Unit        to File) Status
                                                                                                      No                       1 of 1
                                                                                           2636




   LI LIU                                                   Primary Examiner                    Telephonic
   Alexander Soto                                           Inventor
   Ken Vanderpuye                                           SPE

  Date of Interview: 22 September 2021


  Issues Discussed:

  Other
   On 9/7/2021, the inventor/applicant initiated an interview with SPE Vanderpuye regarding the
   Final-Office Action sent on 7/13. After the telephone interview, SPE Vanderpuye and Examiner
   discussed applicant's arguments; and SPE and Examiner agreed to withdraw the finality of the rejection;
   and more clarification and explanations will be put into a next office action. On 9/15/2021, Applicant's
   corrected After-Final Response was received. On 9/22/2021, the inventor/applicant called SPE again
   and wanted to know the status of this case. Examiner called the inventor/applicant, and informed him
   that SPE discussed the case with Examiner, and Examiner will withdraw the finality of the rejection.
   Examiner also informed the inventor/applicant that Examiner will update searches, and plan to cite two
   or more references in the next office action, which should be sent out near the end of September or early
   October.




 /LI LIU/
 Primary Examiner, Art Unit 2636                                         I
 Applicant is reminded that a complete written statement as to the substance of the interview must be made of record in
 the application file. It is the applicants responsibility to provide the written statement, unless the interview was initiated
 by the Examiner and the Examiner has indicated that a written summary will be provided. See MPEP 713.04
 Please further see:
 MPEP 713.04
 Title 37 Code of Federal Regulations (CFR) § 1.133 Interviews, paragraph (b)
 37 CFR § 1.2 Business to be transacted in writing



Applicant recordation instructions: The formal written reply to the last Office action must include the substance of the
interview. (See MPEP section 713.04). If a reply to the last Office action has already been filed, applicant is given a
non-extendable period of the longer of one month or thirty days from this interview date, or the mailing date of this
interview summary form, whichever is later, to file a statement of the substance of the interview.

Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete
and proper recordation of the substance of an interview should include the items listed in MPEP 713.04 for complete
and proper recordation including the identification of the general thrust of each argument or issue discussed, a general
indication of any other pertinent matters discussed regarding patentability and the general results or outcome of the
interview, to include an indication as to whether or not agreement was reached on the issues raised.


U.S. Patent and Trademark Office

                                                                Appx0765
PTOL-413/413b (Rev. Oct. 2019)                                 Interview Summary                                        Paper No. 20210922
Application/Control Number: 17/138,794                                                Page 5
Art Unit: 2636
6.     Claims 1, 3-6, 11-14, 17, 18, 23 and 24 are rejected under pre-AIA 35 U.S.C.

103(a) as being unpatentable over Husbands et al (US 4,781,427) in view of Yuki et al

(US 6,778,557).

       1). With regard to claim 1, Husbands discloses a Local Area Network (LAN) client

(e.g., 18/16 in Figure 4, "fiber optic modem 18" and "Sytek local net 20/100 dual port

packet communication unit 16"; also shown in Figure 5. Figure 8: optic modem card 56

and Comm Card) for a passive optical LAN (as a convention in the art, in a passive

optical network (PON) the transmission facility between the transmitter and the

receivers consists of passive (i.e., un-powered) optical components; or what makes a

passive optical network passive is that it uses unpowered optical splitters. As shown in

Husbands' Figures 4 and 8, there is no "powered devices" between the

transmitter/receiver of the head-end and the receiver/transmitter (the optical modem) of

the LAN client; e.g., Figure 8, no powered devices between transmitter/receiver 64/66 of

the head-end 68 and the fiber optical modem card 56; the 8x8 star coupler is a passive

splitter/coupler. Therefore, the network shown in Figure 4 or Figure 8 is a passive

optical LAN), the passive optical LAN disposed to having one or more passive optical

splitters (e.g., Figure 4, "two 8x8 passive optical star couplers 26 and 28". Figure 8, "8x8

passive optical star coupler 62") for coupling the LAN client over one or more optical

fibers (Figure 4: "fiber optic cables 20 and 22". Figure 8, "a single fiber cable 60") to the

head end (the head end 24 in Figure 4; Head End in Figure 8) of the passive optical

LAN (Figures 4 and 8 etc.), the LAN client for a passive optical LAN comprising of:

       an optical interface (FO XMTR and FO RCV in Figures 4 and 8) for converting a

downstream optical signal on a downstream optical wavelength (column 4 lines 3-13




                                        Appx0772
Application/Control Number: 17/138,794                                                Page 6
Art Unit: 2636
and 40-42, column 7 lines 7-9, around 850 nm; or 1300 nm as shown in Figure 10,

column 7 lines 50-54) to a downstream electrical signal and for converting an upstream

electrical signal to an upstream optical signal and emitting the upstream optical signal

on an upstream optical wavelength (column 4 lines 40-42, column 7 lines 7-9, around

850 nm);

       at least one network interface for receiving user data (Figure 5: PORT# 1 and

PORT # 2 of SYTEK COMM CARD 40 for receiving user data from user device 14.

Figure 8, COMM CARD for receiving user data from User Terminal Device); and

       a control module (interface logic in Figures 4 and 8 etc.; or Figure 5, column 4

lines 47-64) electrically coupled to the optical interface and electrically coupled to the at

least one network interface (Figures 4, 5 and 8 etc.) and wherein the control module

processes the downstream electrical signal having a downstream data information

(column 4 lines 3-13 and 40-42, and column 6 lines 18-40 etc.) and wherein the control

module receives user data from the at least one network interface (user data coming

from the User Terminal Devices as shown in Figures 4 and 8 etc.) and the control

module generates the upstream electrical signal having upstream data information

(column 4 lines 3-13 and 40-42 etc.) and wherein at least a portion of the user data is

included in the upstream data information (column 4 lines 3-13 and 40-42 etc.),

       whereby the LAN client for a passive optical LAN communicates user data

upstream (based on CSMA/CD "listen while talking", column 2 line 44, column 7 line 26-

27 and 47).

       But, Husbands et al does not expressly disclose wherein the control module

processes the downstream electrical signal having a downstream control information to




                                        Appx0773
Application/Control Number: 17/138,794                                                  Page 7
Art Unit: 2636
recover an upstream bandwidth allocation from the downstream control information and

the control module responsive to the upstream bandwidth allocation generates the

upstream electrical signal having upstream control and upstream data information,

whereby the LAN client for a passive optical LAN communicates user data upstream

responsive to an upstream bandwidth allocation.

       However, as disclosed by Husbands et al, the fiber optical LAN uses CSMA/CD

"listen while talking" protocol, and the head-end can perform other functions, e.g.,

"technical control" (monitoring, signaling, and fault isolation etc.), and "[a] video

distribution service may also be provided on an unexpanded network by use of the

auxiliary ports 44 on the outbound star node 47" (column 5 line 42 to column 6 line 50

etc.); it is obvious to one skilled in the art that other protocols can be used for the fiber

optical LAN.

       Yuki et al discloses a protocol that allocates bandwidth dynamically (or dynamic

bandwidth allocation. Abstract, and column 2 line 9 to column 5 line 55) for a point-to-

multipoint communication system (Figure 1 etc.), which comprises a master unit (20)

and slave units (10-i) coupled to the master unit by a passive optical splitter (40), and a

control module (17 in Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84

etc.) in the slave unit electrically coupled to the optical interface (13/14 in Figures 2, 65,

68 and 76 etc.) and electrically coupled to the at least one network interface (11 /12 in

Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84 etc.) and wherein the

control module processes the downstream electrical signal having a downstream control

and downstream data information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure

78 etc.) to recover an upstream bandwidth allocation from the downstream control




                                         Appx0774
Application/Control Number: 17/138,794                                               Page 8
Art Unit: 2636
information (Figures 8-10 and 31 etc. "On the basis of the reports from the slave units,

the master unit determines an allowable amount of information for each slave unit and

permits the slave units to transmit the stored signals according to the request from the

master unit.") and wherein the control module receives user data from the at least one

network interface (user data signal from input unit 11) and the control module

responsive to the upstream bandwidth allocation generates the upstream electrical

signal having upstream control and upstream data information (Figure 5, Figure 30,

Figure 31, Figures 50-55, Figure 78 etc.) and wherein at least a portion of the user data

is included in the upstream data information (Figure 30, Figure 31, Figures 50-55,

Figure 78 etc.), whereby the slave unit for the passive optical network communicates

user data upstream responsive to an upstream bandwidth allocation (dynamic

bandwidth allocation. Abstract, and column 2 line 9 to column 5 line 55 etc.).

      Yuki et al indicates "[w]hen, for example, information signals generated in bursts

of several megabytes are transmitted according to the CSMA/CD protocol, the

information signals are separated into packets of about 64-1500 kB and repeatedly

transmitted. Consequently, increased burst traffic results in a markedly lower throughput

because of the higher frequency of retransmission due to packet collisions".

       However, Yuki et al's approach/protocol "allows slave units to transmit signals in

accordance with instructions from the master unit, no signal collisions occur in the

transmission line and a throughput reduction such as that observed in the case of

CSMA/CD is avoided when signals containing several megabytes of data are

transmitted in bursts." (column 2 lines 28-34) and "allows the maximum amount of

stored signal to be stabilized at a comparatively low level without the increase observed




                                       Appx0775
Application/Control Number: 17/138,794                                                 Page 9
Art Unit: 2636
in the access protocol based on TOMA or CSMA/CD, can easily accommodate burst

traffic, and is capable of reducing the buffer memory requirements of slave units when

the load factor of the transmission line is high and the burst traffic increases in volume"

(column 23 lines 14-22. And column 21 lines 49-60; column 30 lines 19 and 26).

       Yuki's approach/protocol "can be easily adapted, for example, to FDM

(Frequency Division Multiplex), FDMA (Frequency Division Multiple Access), CDMA

(Code Division Multiple Access), and the like" (column 30 line 1-4); and "Point-to-

multipoint communication systems such as LANs, CATV networks, satellite

communication networks, and optical subscriber access networks are commonly

configured such that a master unit and a plurality of slave units communicate by

sharing, for example, transmission lines such as those used in coaxial communication,

optical-fiber communication, and radio communication"; that is, the point-to-multipoint

system shown in Figure 1 can be an optical LAN. Therefore, it would have been obvious

to one of ordinary skill in the art before the effective filing date of the claimed invention

to apply the dynamic bandwidth allocation approach as taught by Yuki et al to the

system/method of Husbands et al so that a throughput reduction observed in the case

of CSMA/CD is avoided, signal collisions can be eliminated, the buffer memory

requirements can be relaxed, and the latency time elapsed before a slave/client unit

transmits a signal can be reduced, and system capacity/throughput can be increased.

       2). With regard to claim 3, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module includes a passive optical LAN




                                         Appx0776
LCF     Laser Control Field
LSB     Least Significant Bit
LT      Line Terminal
MAC     Media Access Control
MLM     Multi-Longitudinal Mode
MSB     Most Significant Bit
NRZ     Non Return to Zero
NT      Network Termination
0/E     Optical/Electrical
OAM     Operations, Administration and Maintenance
OAN     Optical Access Network
ODF     Optical Distribution Frame
ODN     Optical Distribution Network
OLT     Optical Line Termination
ONT     Optical Network Termination
ONU     Optical Network Unit
OpS     Operations System
ORL     Optical Return Loss
PLOAM   Physical Layer OAM
PON     Passive Optical Network
PRBS    Pseudo-Random Bit Sequence
PST     PON Section Trace
PSTN    Public Switched Telephone Network
QoS     Quality of Service
RAU     Request Access Unit
RMS     Root Mean Square
RXCF    Receiver Control Field
SDH     Synchronous Digital Hierarchy
SLM     Single-Longitudinal Mode
SN      Serial Number
SNI     Service Node Interface
TC      Transmission Convergence
TDMA    Time Division Multiple Access
UI      Unit Interval
UNI     User Network Interface
UPC     Usage Parameter Control


                                     Appx0821Recommendation G.983.1   (10/98)   3
VC              Virtual Channel
VP              Virtual Path
VPI             Virtual Path Identifier
WDM             Wavelength Division Multiplexing


4       Definitions
This Recommendation defines the following terms:
4.1     churning: Churning is a function which can be applied to the downstream user data from an
OLT to its ONUs. Churning provides the necessary function of data scrambling and offers a low
level of protection for data confidentiality. It is installed at TC layer of the ATM-PON system and
can be activated for point-to-point downstream connections.
4.2      diplex working: Bidirectional communication using a different wavelength for each
direction of transmission over a single fibre.
4.3      duplex working: Bidirectional communication using the same wavelength for both
directions of transmission over a single fibre.
4.4      grant: OLT controls each upstream transmission from ONUs by sending a permission. Grant
is a permission to transmit an upstream cell of each ONU when an ONU receives own grant.
4.5      logical reach: The logical reach is defined as the maximum length that can be achieved for a
particular transmission system independent of optical budget.
4.6     mean signal transfer delay: The average upstream and downstream values between
reference points "V" and "T", a given value is determined by measuring round-trip delay, then
dividing by 2.
4.7      Optical Access Network (OAN): The set of access links sharing the same network-side
interfaces and supported by optical access transmission systems. The OAN may include a number of
ODNs connected to the same OLT.
4.8     Optical Distribution Network (ODN): An ODN provides the optical transmission means
from the OLT towards the users, and vice versa. It utilises passive optical components.
4.9   Optical Line Termination (OLT): An OLT provides the network-side interface of the
OAN, and is connected to one or more ODNs.
4.10    Optical Network Termination (ONT): An ONU used for FTTH and includes the User Port
function.
4.11     Optical Network Unit (ONU): An ONU provides (directly or remotely) the user-side
interface of the OAN, and is connected to the ODN.
4.12    ranging: It is necessary to transmit an upstream cell without cell collision in this system.
Ranging is a function to measure the logical distance between each ONU and OLT and decide the
transmission timing when each ONU receives a grant.
4.13     service port function: The Service Port Function (SPF) adapts the requirements defined for
a specific SNI to the common bearers handling and selects the relevant information for treatment in
the AN system management function.
4.14    Time Division Multiple Access (TDMA): Transmission technique involving the
multiplexing of many time slots onto the same time payload.




4        Recommendation G.983.1      (10/98)Appx0822
4.15    user port function: The User Port Function (UPP) adapts the specific UNI requirements to
the core and management functions. The AN may support a number of different accesses and user
network interfaces which require specific functions according to the relevant interface specification
and the access bearer capability requirements, i.e. bearers for information transfer and protocols.
4.16   verification: It is possible for a malicious user to masquerade as other ONU and use the
network if the user knows that the ONU is power-off. Verification is a function to check whether the
connected ONU is masqueraded by a malicious user.
4.17    Wavelength Division Multiplexing (WDM): Bidirectional multiplexing using different
optical wavelength for up and downstream signals.


5       Architecture of the optical access network

5.1     Network architecture
The optical section of a local access network system could be either a point-to-point, active, or
passive point-to-multipoint architecture. Figure 1 shows the architectures considered, which range
from Fibre to the Home (FTTH), through Fibre to the Building/Curb (FTTB/C) to Fibre to the
Cabinet (FTTCab). The Optical Access Network (OAN) is common to all architectures shown in
Figure 1, hence commonality in this system has the potential to generate large world-wide volumes.


                                     FTTH

                                                        fibre

                                                           FTTB/C

                                        copper                  fibre



                                                                FTTCab




                    home                           access network
                    network
                              UNI                                            SNI

                                                                          T1528110-98

                  ONU     Optical Network Unit
                  ONT     Optical Network Termination
                  OLT     Optical Line Termination
                  NT      Network Termination


                               Figure 1/G.983.1-Network architecture


The FTTB/C and FTTCab network options are predominantly different only as a result of
implementation, as a result they can be treated the same in this Recommendation.




                                                 Appx0823Recommendation G.983.1         (10/98)     5
                                                  Q3

                           Access Network System Management Functions




                                        ONU
                                                              SIR


                                                                                     SNI
                                                     ODN              OLT

              UNI
           _,___, AF t--+----t          ONU                   IFPON                                T1528120-98
                                                                        (V8)/(V) reference point
                            (a) reference point
            (T 8)/(T) reference point


            ONU      Optical Network Unit
            ODN      Optical Distribution Network
            OL T     Optical Line Termination
            AF       Adaptation Function
            S        Point on the optical fibre just after the OLT[Downstream]/ONU[Upstream] optical connection
                     point (i.e. optical connector or optical splice).
            R        Point on the optical fibre just before the ONU[Downstream]/OL T[Upstream] optical connection
                     point (i.e. optical connector or optical splice).
            (a)      Reference point - This reference point is added to differentiate the AF from the ONU.


                Figure 2/G.983.1 - Reference configuration for an ATM based PON
This subclause describes the reference architecture for supporting ATM over a PON. This system
consists of Optical Line Termination (OLT), Optical Network Unit (ONU) and fibre cable which has
a Passive Optical Network (PON) configuration with a passive optical splitter. One fibre is passively
split between multiple ONU'S who share the capacity of one fibre. Because of the passive splitting,
special actions are required with respect to privacy and security. Moreover, in the upstream direction
a TDMA protocol is required.

5.2.1   Service Node Interface
See Recommendation G.902

5.2.2   Interface at the reference points SIR and R/S
This interface at the reference points SIR and R/S is defined as IFPoN. This is a PON-specific
interface that supports all the protocol elements necessary to allow the transmission between OLT
and ONUs.

5.3     Functional blocks
5.3.1   Optical Line Termination
The Optical Line Termination (OLT) interface is over the SNI to service nodes, and to the PON. The
OLT is responsible for managing all the PON specific aspects of the ATM transport system. The
ONU and OLT provide transparent ATM transport service between the UNis and the SNI over the
PON.

5.3.2   Optical Network Unit
The Optical Network Unit (ONU) interfaces over the IFPON to the OLT, and to the UNI. Together
with the OLT, the ONU is responsible for providing transparent ATM transport service between the
UNI and the SNI.



                                                    Appx0825Recommendation G.983.1                         (10/98)   7
8.3.6.2.5     Idle cells
The ONU sends an idle cell, as defined in Recommendation I.432, when it receives a data grant and
has no cells available. Idle cells are inserted at the ONU and discarded at the OLT for cell rate
decoupling.

8.3.6.2.6     PLOAM cells
PLOAM cells received from the transport specific TC layer, which is an exceptional case, are
discarded.

8.3.7   OAM functions
The OAM functions installed in the ONU and OLT are shown in Figure 21. It also shows the
notification signals between OLT and ONU. These signals are mapped in the message fields of the
PLOAM cells. The general principles as defined in Recommendation I.610 can be applied to the
PON. However, due to the point-to-multipoint nature of the physical medium, some notifications
from OLT to ONU are obsolete because principally the ONU slaves to the OLT and the ONU can not
do anything with these notifications.


                                                        OL T        Loss_of_physical_layer_I
                   ONU                                               otification
                                PEE o----+----+----1-PEEi --....,..---

                       ----•- TF •                         LOSi - - ~
                                                           LCDi--,....._,
                                                           CPEi
                                                           OAMLi
                                                           SUFi - - + - . . I
                                                         •SDi ....__,_
                                 BIP n----+-------,i----a- ERRi _____,1


                     r-::
                     G~INH
                             ERR
                                                             ~~i
                                                            REC_INHi
                                                            BIP
                               SD
                              SUF                           DFi
                            OAML
                            FRML                          .TF ...__
                     ,,.----LCD
                     ,,.----Los
                              PEE•......
                                    - - + - - - - - + - - o PEE.._
                     , _ _ _ DIS
                            DACT-.-+---------,f-----o DACTi
                              PST                           MISi
                              MIS                           PST
                                                                         T1528310-98
                        Loss_of_physical_layer
                        notification


                 • Detection point
                 D Originating point
                 D Calculation and originating point


                                     Figure 21/G.983.1 - OAM functions




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                                                                                          I   N THE following paragraphs, we will examine the
                                                                                              application of optical transmission technology to the local
                                                                                          interconnection structures that we call local area networks
                                                                                          (LAN's). These networks are a singular technological develop-
                                                                                          ment with an application scope which may eventually
                                                                                          overlap that of older conventional network structures, such
                                                                                          as the local subscriber loop in telephone systems.
                                                                                             By-the term LAN we understand a data communications
                                                                                          system that allows a number of independent, nonhomoge-
                                                                                          neous devices to communicate with each other [1]. LAN's are
                                                                                          usually distinguished from other types of data networks in
                                                                                          that communication is confined to a modestly sized geo-
                                                                                          graphic area such as a single office building or a complex of
                                                                                          buildings and laboratories such as a university campus. LAN
                                                                                          application environments include the commercial, the indus-
                                                                                          trial, and the institutional. Perhaps the major thrust of LAN's
                                                                                          will be in office applications. LAN's must, therefore, support
                                                                                          services such as file transfer, graphics applications, word
     Optical Fibers                                                                       processing, electronic mail, distributed data bases, intercon-
                                                                                          nection to other LAN's, digital telephony, and, eventually,
     in Local Area                                                                        some kind of video service. Moreover, LAN's must support a
                                                                                          wide variety of data devices: computers of all vintages
                                                                                          (micro, mini, and maxi), video terminals, mass storage
     Networks                                                                             devices, printers, plotters, facsimile printers, and gateways
                                                                                          to other networks.
     Marion R. Finley, Jr.                                                                   Some of the distinguishing features of LAN's are:

                                                                                             • Distances between network interfaces are typically less
     The burgeoning potentials of                                                              than 1 km; a network interface is a concentrator /decon-
     optical-fiber transn1 ission                                                              centrator interface which usually includes packetization/
     technology in LAN's                                                                       depacketization facilities as well, to which the various
                                                                                               network devices may be connected.
                                                                                             • Aggregate bandwidth is modest, ranging from 1-20
                                                                                               Mb/s, although newer systems are now emerging in the
                                                                                               range of 32-several hundreds of Mb/s, with one recent
                                                                                               prototype potentially capable of achieving 1 Gb/s.
                                                                                             • Uniformly low bit error rates are assumed, usually less
                                                                                               than 10-9 _
                                                                                             • Network architecture is such that total connectivity is
                                                                                               achieved and complex routing algorithms are not
                                                                                               needed.
                                                                                             • The Open Systems Interconnection Reference Model
                                                                                               (OSI/RM), proposed by the International Standards
                                                                                               Organization (ISO) [2], is susceptible to simplifications as
                                                                                               a consequence of the preceeding point. The IEEE
                                                                                               Computer Society Project 802 has developed standards
                                                                                               for three classes of LAN's, namely contention networks
                                                                                               using CSMA-type protocols, token buses, and token
                                                                                               rings [3]. It remains to be seen whether these will
                                                                                               become industry -standards. but they have at least
                                                                                               forced designers to consider the issue.
                                                                                             • A high degree of connectability /reconnectability is
                                                                                               required.

                                                                                             As a transmission medium, optical fibers have proven to be •
                                                                                          extremely effective in CATV and telephone trunking applica-
                                                                                          tions [4]. However, when one restricts attention to LAN's,
                                                                                          optical fibers have yet to be exploited to the limits of their
                                                                                          enormous information-carrying capacity. Such things as
                                                                                          optical tap losses, optical transmitter-receiver pair behavior,
                                                                                          and complexity of the medium-access mechanisms needed
                                                                                          limit their applicability at the present stage of technology.

     August ID84-Vol. 22. ~o. 8
     IEEE Communications ;v1ag,1zinc                                               22                 0163-6804/84/0800-0022 $01.00©1984 lEEE
                                                                                  Appx0985
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Application/Control Number: 10/886,514                                                     Page 18
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       Masucci. The only relevance Graves has to the Examiner'.5 stated motivation is the

       keyword finding of 'hairpin' three times. Thus, Examiner appears to recite no basis for

       any reconstructions rif Wang, Kuo and Masucci in view rif Graves other than Appellants'

       claims, which is an improper hindsight reconstruction barred by the rule against

       improper hindsight rejections discussed in MPEP §§2142-3 and elsewhere.

       In response to applicant's argument that the examiner's conclusion of obviousness is

based upon improper hindsight reasoning, it must be recognized that any judgment on

obviousness is in a sense necessarily a reconstruction based upon hindsight reasoning. But so

long as it takes into account only knowledge which was within the level of ordinary skill at the

time the claimed invention was made, and does not include knowledge gleaned only from the

applicant's disclosure, such a reconstruction is proper. See In re McLaughlin, 443 F.2d 1392,

170USPQ209(CCPA 1971).

       Furthermore, a combination of familiar elements according to known methods is likely to

be obvious when it does no more than yield predictable results. KSR International Co. v.

Teleflex Inc., 127 S. Ct. 1727, 82 USPQ2d 1385 (U.S. 2007).

       (11) Related Proceeding(s) Appendix

       No decision rendered by a court or the Board is identified by the examiner in the Related

Appeals and Interferences section of this examiner's answer.

       For the above reasons, it is believed that the rejections should be sustained.

       Respectfully submitted,

       IS. K. L./

       Primary Examiner, Art Unit 2613




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                                                                                               Page 67 of 496
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    APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.             CONFIRMATION NO.

       17/138,794               12/30/2020              Alexander Ivan Soto              UBI-005E                       1022

       93749            7590             02/02/2022                                                    EXAMINER
       Alexander Soto
                                                                                                         LIU.LI
       7673 Hazard Center Dr.
       San Diego, CA 92108
                                                                                          ART UNIT                 PAPER NUMBER

                                                                                             2636


                                                                                   NOTIFICATION DATE               DELIVERY MODE

                                                                                         02/02/2022                 ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address(es):
alexander.i.soto@gmail.com




PTOL-90A (Rev. 04/07)

                                                       Appx3432
                                                                                   Application No.                               Applicant(s)
                                                                                   17/138, 794                                   Soto et al.
                      Office Action Summary                                        Examiner                                      Art Unit           AIA (FITF) Status
                                                                                   LI LIU                                        2636               No
          -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE 3 MONTHS FROM THE MAILING
 DATE OF THIS COMMUNICATION.
           Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed after SIX (6) MONTHS from the mailing
           date of this communication.
           If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
           Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any earned patent term
           adjustment. See 37 CFR 1.704(b).

 Status
       1)0 Responsive to communication(s) filed on 1/9/2022.
           □ A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _ .
      2a)0 This action is FINAL.                       2b) □ This action is non-final.
       3) □ An election was made by the applicant in response to a restriction requirement set forth during the interview
            on _ _ ; the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
            closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

 Disposition of Claims*
         5)    0      Claim(s)        1-24 is/are pending in the application.
                 5a) Of the above claim(s)                      is/are withdrawn from consideration.
         6) D         Claim(s)             is/are allowed.
         7)    0      Claim(s) 1-24 is/are rejected.
         8)    □      Claim(s) _ _ is/are objected to.
         9) D         Claim(s) _ _ are subject to restriction and/or election requirement
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PPHfeedback@uspto.gov.

 Application Papers
      10) □     The specification is objected to by the Examiner.
      11 ) □ The drawing(s) filed on _ _ is/are:                       a) □     accepted or         b) □ objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
      12) □     Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
        Certified copies:
                 a) □ All          b)D Some**                c) □ None of the:
                     1. □      Certified copies of the priority documents have been received.
                     2. □      Certified copies of the priority documents have been received in Application No. _ _ .
                     3. □      Copies of the certified copies of the priority documents have been received in this National Stage
                               application from the International Bureau (PCT Rule 17.2(a)).
  ** See the attached detailed Office action for a list of the certified copies not received.


 Attachment{s)
 1)   D Notice of References Cited (PTO-892)                                                      3)   D Interview Summary (PTO-413)
                                                                                                          Paper No(s)/Mail Date _ _ .
 2) 0 Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
      Paper No(s)/Mail Date 1/9/2022.
                                                                                                  4)   D Other: _ _.
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                                    Office Action Summary                                Part of Paper No./Mail Date 20220127
                                                                              Appx3433
Application/Control Number: 17/138,794                                               Page 2
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                                   DETAILED ACTION

                            Information Disclosure Statement

1.     The information disclosure statement (IDS) submitted on 1/9/2022 is being

considered by the examiner.



                                Response to Arguments

2.     Applicant's arguments filed on 1/9/2022 have been fully considered but they are

not persuasive.

       1). Applicant's argument - Applicants respectfully submit that the combination of

the CSMA/CD discussed in Husbands with the master/slave access method of Yuki is

improper. Applicants respectfully submit that such a combination would result in a

bizarre situation where Husbands optic modem logic interface logic (Fig. 4 and Fig. 5)

that the rejections equate to Applicants control module would be unable to function as

they are designed to use CSMA/CD. The CSMA/CD access method is important to

Husbands network system and the removal thereof would frustrate the purpose of the

system discussed therein.



       In the present case, the suggested modification of using Yuki's centralized

master/slave access method in Husbands system would frustrate Husbands principle of

operation of using CSMA/CD access method.

       Additionally, MPEP § 2143.01 (VI) states "If the proposed modification or

combination of the prior art would change the principle of operation of the prior art

invention being modified, then the teachings of the references are not sufficient to




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render the claims prima facie obvious. In re Ratti, 270 F.2d 810, 123 USPQ 349 (CCPA

1959)" (emphasis added).

       In the present case, the suggested modification of using Yuki's centralized

master/slave access method in Husbands would change Husbands principle of

operation of using CSMA/CD. Indeed, Yuki teaches that CSMA/CD is a "basic principle

of operation", see Yuki col. 1, lines 29-32.

       As such, Applicant respectfully submits that a person of ordinary skill in the art

would not have a reason to combine these features and that further, the combination

thereof would frustrate and change the principle of operation of Husbands. Therefore,

Applicant respectfully requests that the rejections be withdrawn.

       Examiner's response - In response to applicant's argument that there is no

teaching, suggestion, or motivation to combine the references, the examiner recognizes

that obviousness may be established by combining or modifying the teachings of the

prior art to produce the claimed invention where there is some teaching, suggestion, or

motivation to do so found either in the references themselves or in the knowledge

generally available to one of ordinary skill in the art. See In re Fine, 837 F.2d 1071, 5

USPQ2d 1596 (Fed. Cir. 1988), In re Jones, 958 F.2d 347, 21 USPQ2d 1941 (Fed. Cir.

1992), and KSR International Co. v. Teleflex, Inc., 550 U.S. 398, 82 USPQ2d 1385

(2007).

       In this case, Husbands discloses a passive optical LAN, which has a head end,

passive optical splitters and LAN clients; in Husbands' LAN system, a CSMA/CD

protocol is used to control data transmissions "on a time shared transmission medium"

and to avoid "collision". The control logic in Husbands' LAN client can perform "listen




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before talk" and "listen while talk" etc., and can determine when to transmit a signal.

And Husbands' head-end also can perform added functions: "technical control"

(monitoring, signaling, and fault isolation etc.), and "[a] video distribution service may

also be provided on an unexpanded network by use of the auxiliary ports 44 on the

outbound star node 47" etc. (column 5 line 42 to column 6 line 50 etc.).

       Yuki et al discloses "Point-to-multipoint communication systems such as LANs,

CATV networks, satellite communication networks, and optical subscriber access

networks are commonly configured such that a master unit and a plurality of slave units

communicate by sharing, for example, transmission lines such as those used in coaxial

communication, optical-fiber communication, and radio communication". Yuki et al

discloses that the conventional access protocols including CSMA/CD etc., have some

"drawbacks that make these protocols incapable of handling burst traffic containing

several megabytes of data, which is expected to grow even more in the future. When,

for example, information signals generated in bursts of several megabytes are

transmitted according to the CSMA/CD protocol, the information signals are separated

into packets of about 64-1500 kB and repeatedly transmitted. Consequently, increased

burst traffic results in a markedly lower throughput because of the higher frequency of

retransmission due to packet collisions .... the delay time increases and is not constant

any longer ..... Thus, conventional access protocols for point-to-multipoint

communication systems are disadvantageous in that an increase in burst traffic

containing several megabytes of data results in a lower throughput and makes it

impossible to comply with time requirements for downstream transmission".




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       Yuki et al clearly indicates the drawbacks of the CSMA/CD protocol used in the

point-to-multipoint LAN systems. Yuki et al discloses an "access protocol for the point-

to-multipoint communication system of the present invention, the main principle of

operation is that "a report is issued regarding the information amount necessary for

signal transmission+an instruction regarding transmission below a specific maximum

value is issued on the basis of the information amount reported.'"'. Yuki's

approach/protocol "allows slave units to transmit signals in accordance with instructions

from the master unit, no signal collisions occur in the transmission line and a throughput

reduction such as that observed in the case of CSMA/CD is avoided when signals

containing several megabytes of data are transmitted in bursts." (column 2 lines 28-34;

column 3 lines 43-49; column 30 lines 5-14) and "allows the maximum amount of stored

signal to be stabilized at a comparatively low level without the increase observed in the

access protocol based on TOMA or CSMA/CD, can easily accommodate burst traffic,

and is capable of reducing the buffer memory requirements of slave units when the load

factor of the transmission line is high and the burst traffic increases in volume" (column

23 lines 14-22. And column 21 lines 49-60; column 30 lines 19 and 26). Yuki et al also

states "the access protocol in accordance with the present invention can be easily

adapted, for example, to FDM (Frequency Division Multiplex), FDMA (Frequency

Division Multiple Access), CDMA (Code Division Multiple Access), and the like."

(column 30 line 1-4).

       That is, Yuki et al points out the drawbacks of OSMA/CD in the LAN, and present

an access protocol that can avoid throughput reduction etc. Therefore, "a person of

ordinary skill in the art would" "have a reason to combine these features" and "the




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combination thereof would" not "frustrate and change the principle of operation of

Husbands".

       Regarding Applicant's statement "Indeed, Yuki teaches that CSMA/CD is a "basic

principle of operation", see Yuki col. 1, lines 29-32". Yuki actually states "For example,

the CSMA/CD (Carrier Sense Multiple Access with Collision Detection) protocol is one

in which "carrier sense+multiaccess+collision detection" is the basic principle of

operation, and the DAMA (Demand Assign Multiple Access) protocol is one in which

"transmission start demand/end notification+transmission line sharing/release" is the

basic principle of operation. In such point-to-multipoint communication systems, burst

traffic in which signals containing several megabytes of data are generated in bursts is

rapidly becoming more widespread because of the increased popularity of personal

computers, a larger number of Internet users, and the development of various

multimedia services that blend communication and broadcasting." (column 1 lines 29-

43). That is, the CSMA/CD protocol is one in which "carrier sense+multiaccess+collision

detection" is the basic principle of operation. Yuki never states that Yuki's access

protocol cannot be used in a LAN that had a CSMA/CD. As discussed above, Yuki et al

clearly indicates the drawbacks of the CSMA/CD; and in Figures 20 and 21 etc., Yuki et

al compares the result using CSMA/CD with the result using Yuki's protocol for a same

point-to-multipoint system; and Yuki et al clearly presents the advantages of using

Yuki's access protocol. The combination of Yuki et al with Husbands would not

"frustrate" the operating of Husbands.




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       2). Applicant's argument - Alternatively, the rejections lack any suggestion or

supporting rationale of what in Husbands, the primary reference, is being modified to

support the rejections of the subject matter of the Applicants claims. These rejections

merely argue that Yuki's master/slave access method can be applied to Husbands,

however, a person of ordinary skill is left to imagine how to modify Husbands to support

the suggested function from Yuki. Therefore, the rejections have not articulated a

reasonable expectation of success and should be withdrawn.

       Indeed, in order to modify Husbands network with Yuki's master/slave access

method one would have to replace Husbands optical baseband modem (i.e., what the

rejection equates to Applicants LAN client) with Yuki's slave unit and replace Husbands

head-end unit 24 with Yuki's master unit in order to realize the benefits of the suggested

modification. There is little if anything left unique to Husbands in the suggested

combination of Husbands and Yuki in order to read into Applicants' claims. Even less

when considering the further suggested modifications to Yuki from additional suggested

combinations used as basis of later rejections against the rest of Applicants' claims.

Again, if the proposed modification or combination of the prior art would change the

principle of operation of the prior art invention being modified, then the teachings of the

references are not sufficient to render the claims prima facie obvious. In re Ratti, 270

F.2d 810, 813, 123 USPQ 349, 352 (CCPA 1959) (Claims were directed to an oil seal

comprising a bore engaging portion with outwardly biased resilient spring fingers

inserted in a resilient sealing member. The primary reference relied upon in a rejection

based on a combination of references disclosed an oil seal wherein the bore engaging

portion was reinforced by a cylindrical sheet metal casing. The seal construction taught




                                        Appx3439
Application/Control Number: 17/138,794                                               Page 8
Art Unit: 2636
in the primary reference required rigidity for operation, whereas the seal in the claimed

invention required resiliency. The court reversed the rejection holding the "suggested

combination of references would require a substantial reconstruction and redesign of

the elements shown in [the primary reference] as well as a change in the basic principle

under which the [primary reference] construction was designed to operate.") (emphasis

added).

       Examiner's response - As discussed above, Yuki et al points out the drawbacks

of the CSMA/CD, and Yuki et al presents the advantages of using Yuki's access

protocol. And in Figures 17, 18, 20, 21, 27, 28, Yuki et al presents "the results of a

comparison" of different test parameters between Yuki's access protocol and CSMA/CD

protocol for a same point-to-multipoint system. Therefore, examiner's "rejections" do not

lack "suggestion or supporting rationale of what in Husbands, the primary reference, is

being modified to support the rejections of the subject matter of the Applicants claims";

and "[t]hese rejections" do not "merely argue that Yuki's master/slave access method

can be applied to Husbands". Based on Yuki's teaching, a person of ordinary skill

knows "how to modify Husbands to support the suggested function from Yuki"; and "the

rejections have" "articulated a reasonable expectation of success".



       3). Applicant's argument - Misleading and incorrect interpretations of the prior art

       The office action mailed on Oct 8, 2021 contains many misleading and incorrect

interpretations of the prior art. For example, on page 7 it is argued that Husbands head-

end can perform other functions "technical control" (monitoring, signaling and fault

isolation) and a video distribution service. However, Husbands discloses these are not




                                       Appx3440
Application/Control Number: 17/138,794                                                  Page 9
Art Unit: 2636
part of the head-end but are external devices (e.g., activity monitor 48, OTDR in Fig. 7)

that gain access to Husbands network via auxiliary ports 44 on the outbound star node

47 (i.e., passive optical splitter).

       Examiner's response - Examiner's office action does not have "[m]isleading and

incorrect interpretations of the prior art".

       Husbands discloses "Technical control refers to monitoring system performance

and signaling alert conditions that may result in performance degradation or network

failure. As shown in FIG. 7, the auxiliary optical ports 44 on the star node 46 may be

used to provide several functions associated with technical control. If the fiber optic

node is configured in the loop back mode, so that it functions as the network head-end,

all information received from the terminals will appear at the auxiliary ports on the

inbound star. An activity monitor 48 connected to one of the ports 44 on the star can

provide useful network statistics during operation. The activity monitor 48 consists of an

optical detector followed by electronics for decoding packet headers (not shown). By

examining incident packet headers, information is obtained on all current virtual

connections, and statistics are acquired that can be used to reveal excessive numbers

of bad packets, retransmissions, or unexpected disruptions of virtual connections. This

information is displayed to a technical controller who initiates corrective maintenance as

necessary.... ".

       It can be seen that, for a system shown in Figure 7, Husbands does not

expressly call the star node 46 head-end; instead, the star node 46 together with the

auxiliary optical ports 44 etc. function "as the network head-end". That is, as shown in




                                          Appx3441
Application/Control Number: 17/138,794                                               Page 1O
Art Unit: 2636
Figure 7, the star node combined with auxiliary optical ports plus the monitor 48 and

OTDR etc. form a head-end.



        4). Applicant's argument -Another example is on OA page 9, wherein it is stated

Yuki's approach/protocol "can be easily adapted ... " and "Point-to-multipoint

communications systems such as LANs ... However, these statements are misleading as

Yuki col. 30 and lines 1-4 is speaking to access methods such as FDM, FDMA, CDMA

and not a type of network like a LAN. The presentation on page 9 is as if reference to

LAN immediately follows Yuki col. 30 lines 1-4, however, rejection is now referencing

the beginning of Yuki's background section in col. 1. Therefore, the rejection's

misleading conclusory statement that Yuki's Fig. 1 can be an optical LAN is faulty and is

an example of reconstruction of Yuki using hindsight reasoning. Indeed, Yuki discloses

the best mode of carrying out Yuki's invention is as an optical access network or

wireless access networks which are Wide Area Networks (WANs) and not LANs as

alleged in the OA, see Yuki col. 11 line 44 to col. 12 line 6 that discuss what Fig. 1 is.



        Examiner's response - Examiner's statement "Yuki's approach/protocol "can be

easily adapted, for example, to FDM (Frequency Division Multiplex), FDMA (Frequency

Division Multiple Access), CDMA (Code Division Multiple Access), and the like"" is used

to indicate that Yuki's access protocol can be easily adapted to different protocols, and

"the like".




                                        Appx3442
Application/Control Number: 17/138,794                                                               Page 11
Art Unit: 2636
       The statement "Point-to-multipoint communication systems such as LANs, CATV

networks, satellite communication networks, ... "cited by Examiner is used to indicate

"the point-to-multipoint system shown in Figure 1 can be an optical LAN".

       Yuki et al never state that Figure 1 is "Wide Area Networks (WANs) and not

LANs". In "Yuki col. 11 line 44 to col. 12 line 6" cited by Applicant, Yuki et al also states

"the point-to-multipoint communication system of the present invention is also widely

applicable to communication systems composed of a master unit and a plurality of slave

units such that the transmission line band is allocated among the slave units by the

master unit in a controlled manner." Figure 1 is a point-to-multipoint communication

system, and in the background, Yuki et al clearly indicates "Point-to-multipoint

communication systems such as LANs, ... ". That is, Figure 1 can be an optical LAN,

and Yuki's protocol is applicable to a LAN.



                                 Claim Rejections - 35 USC § 103

3.     The following is a quotation of pre-AIA 35 U.S.C. 103(a) which forms the basis

for all obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described
       as set forth in section 102, if the differences between the subject matter sought to be patented
       and the prior art are such that the subject matter as a whole would have been obvious at the
       time the invention was made to a person having ordinary skill in the art to which said subject
       matter pertains. Patentability shall not be negatived by the manner in which the invention was
       made.

4.     Claims 1, 3-6, 11-14, 17, 18, 23 and 24 are rejected under pre-AIA 35 U.S.C.

103(a) as being unpatentable over Husbands et al (US 4,781,427) in view of Yuki et al

(US 6,778,557).




                                               Appx3443
Application/Control Number: 17/138,794                                             Page 12
Art Unit: 2636
       1). With regard to claim 1, Husbands discloses a Local Area Network (LAN) client

(e.g., 18/16 in Figure 4, "fiber optic modem 18" and "Sytek local net 20/100 dual port

packet communication unit 16"; also shown in Figure 5. Figure 8: optic modem card 56

and Comm Card) for a passive optical LAN (as a convention in the art, in a passive

optical network (PON) the transmission facility between the transmitter and the

receivers consists of passive (i.e., un-powered) optical components; or what makes a

passive optical network passive is that it uses unpowered optical splitters. As shown in

Husbands' Figures 4 and 8, there is no "powered devices" between the

transmitter/receiver of the head-end and the receiver/transmitter (the optical modem) of

the LAN client; e.g., Figure 8, no powered devices between transmitter/receiver 64/66 of

the head-end 68 and the fiber optical modem card 56; the 8x8 star coupler is a passive

splitter/coupler. Therefore, the network shown in Figure 4 or Figure 8 is a passive

optical LAN), the passive optical LAN disposed to having a head end (the head end 24

in Figure 4; Figure 7, the star node 46 combined with auxiliary optical ports 44 plus the

monitor 48 and OTDR etc. form a head-end, column 5 line 42 to column 6 line 50; Head

End in Figure 8) and one or more passive optical splitters (e.g., Figure 4, "two 8x8

passive optical star couplers 26 and 28". Figure 8, "8x8 passive optical star coupler 62")

for coupling the LAN client over one or more optical fibers (Figure 4: "fiber optic cables

20 and 22". Figure 8, "a single fiber cable 60") to the head end of the passive optical

LAN (Figures 4 and 8 etc.), the LAN client for a passive optical LAN comprising of:

       an optical interface (FO XMTR and FO RCV in Figures 4 and 8) for converting a

downstream optical signal on a downstream optical wavelength (column 4 lines 3-13

and 40-42, column 7 lines 7-9, around 850 nm; or 1300 nm as shown in Figure 10,




                                       Appx3444
Application/Control Number: 17/138,794                                               Page 13
Art Unit: 2636
column 7 lines 50-54) to a downstream electrical signal and for converting an upstream

electrical signal to an upstream optical signal and emitting the upstream optical signal

on an upstream optical wavelength (column 4 lines 40-42, column 7 lines 7-9, around

850 nm);

       at least one network interface for receiving user data (Figure 5: PORT# 1 and

PORT# 2 of SYTEK COMM CARD 40 for receiving user data from user device 14.

Figure 8, COMM CARD for receiving user data from User Terminal Device); and

       a control module (interface logic in Figures 4 and 8 etc.; or Figure 5, column 4

lines 47-64) electrically coupled to the optical interface and electrically coupled to the at

least one network interface (Figures 4, 5 and 8 etc.) and wherein the control module

processes the downstream electrical signal having a downstream data information

(column 4 lines 3-13 and 40-42, and column 6 lines 18-40 etc.) and wherein the control

module receives user data from the at least one network interface (user data coming

from the User Terminal Devices as shown in Figures 4 and 8 etc.) and the control

module generates the upstream electrical signal having upstream data information

(column 4 lines 3-13 and 40-42 etc.) and wherein at least a portion of the user data is

included in the upstream data information (column 4 lines 3-13 and 40-42 etc.),

       whereby the LAN client for a passive optical LAN communicates user data

upstream (based on CSMA/CD "listen while talking", column 2 line 44, column 7 line 26-

27 and 47).

       But, Husbands et al does not expressly disclose wherein the control module

processes the downstream electrical signal having a downstream control information to

recover an upstream bandwidth allocation from the downstream control information and




                                        Appx3445
Application/Control Number: 17/138,794                                                  Page 14
Art Unit: 2636
the control module responsive to the upstream bandwidth allocation generates the

upstream electrical signal having upstream control and upstream data information,

whereby the LAN client for a passive optical LAN communicates user data upstream

responsive to an upstream bandwidth allocation.

       However, as disclosed by Husbands et al, the fiber optical LAN uses CSMA/CD

"listen while talking" protocol, and the head-end can perform other functions, e.g.,

"technical control" (monitoring, signaling, and fault isolation etc.), and "[a] video

distribution service may also be provided on an unexpanded network by use of the

auxiliary ports 44 on the outbound star node 47" (column 5 line 42 to column 6 line 50

etc.; Figure 7 etc., the star node 46 together with the auxiliary optical ports 44 etc.

function "as the network head-end", or the star node combined with auxiliary optical

ports plus the monitor 48 and OTDR etc. form a head-end), and the control logic in

Husbands' LAN client can perform "listen before talk" and "listen while talk" etc. and

determine when to transmit a signal; it is obvious to one skilled in the art that other

protocols can be used for the fiber optical LAN.

       Yuki et al discloses a protocol that allocates bandwidth dynamically (or dynamic

bandwidth allocation. Abstract, and column 2 line 9 to column 5 line 55) for a point-to-

multipoint communication system (Figure 1 etc.), which comprises a master unit (20)

and slave units (10-i) coupled to the master unit by a passive optical splitter (40), and a

control module (17 in Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84

etc.) in the slave unit electrically coupled to the optical interface (13/14 in Figures 2, 65,

68 and 76 etc.) and electrically coupled to the at least one network interface (11 /12 in

Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84 etc.) and wherein the




                                         Appx3446
Application/Control Number: 17/138,794                                            Page 15
Art Unit: 2636
control module processes the downstream electrical signal having a downstream control

and downstream data information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure

78 etc.) to recover an upstream bandwidth allocation from the downstream control

information (Figures 8-10 and 31 etc. "On the basis of the reports from the slave units,

the master unit determines an allowable amount of information for each slave unit and

permits the slave units to transmit the stored signals according to the request from the

master unit.") and wherein the control module receives user data from the at least one

network interface (user data signal from input unit 11) and the control module

responsive to the upstream bandwidth allocation generates the upstream electrical

signal having upstream control and upstream data information (Figure 5, Figure 30,

Figure 31, Figures 50-55, Figure 78 etc.) and wherein at least a portion of the user data

is included in the upstream data information (Figure 30, Figure 31, Figures 50-55,

Figure 78 etc.), whereby the slave unit for the passive optical network communicates

user data upstream responsive to an upstream bandwidth allocation (dynamic

bandwidth allocation. Abstract, and column 2 line 9 to column 5 line 55 etc.).

      Yuki et al indicates "Conventional access protocols, however, have the following

drawbacks that make these protocols incapable of handling burst traffic containing

several megabytes of data, which is expected to grow even more in the future. When,

for example, information signals generated in bursts of several megabytes are

transmitted according to the CSMA/CD protocol, the information signals are separated

into packets of about 64-1500 kB and repeatedly transmitted. Consequently, increased

burst traffic results in a markedly lower throughput because of the higher frequency of

retransmission due to packet collisions .... the delay time increases and is not constant




                                       Appx3447
Application/Control Number: 17/138,794                                                Page 16
Art Unit: 2636
any longer ..... Thus, conventional access protocols for point-to-multipoint

communication systems are disadvantageous in that an increase in burst traffic

containing several megabytes of data results in a lower throughput and makes it

impossible to comply with time requirements for downstream transmission" (column 1

line 43 to column 2 line 6).

       However, Yuki et al's approach/protocol "allows slave units to transmit signals in

accordance with instructions from the master unit, no signal collisions occur in the

transmission line and a throughput reduction such as that observed in the case of

CSMA/CD is avoided when signals containing several megabytes of data are

transmitted in bursts." (column 2 lines 28-34; column 3 lines 43-49; column 30 lines 5-

14) and "allows the maximum amount of stored signal to be stabilized at a

comparatively low level without the increase observed in the access protocol based on

TOMA or CSMA/CD, can easily accommodate burst traffic, and is capable of reducing

the buffer memory requirements of slave units when the load factor of the transmission

line is high and the burst traffic increases in volume" (column 23 lines 14-22. And

column 21 lines 49-60; column 30 lines 19 and 26).

       Yuki et al also states "the access protocol in accordance with the present

invention can be easily adapted, for example, to FDM (Frequency Division Multiplex),

FDMA (Frequency Division Multiple Access), CDMA (Code Division Multiple Access),

and the like" (column 30 line 1-4); that is, Yuki's access protocol can be easily adapted

to different protocols, and "the like". And, Yuki et al states "Point-to-multipoint

communication systems such as LANs, CATV networks, satellite communication

networks, and optical subscriber access networks are commonly configured such that a




                                         Appx3448
Application/Control Number: 17/138,794                                              Page 17
Art Unit: 2636
master unit and a plurality of slave units communicate by sharing, for example,

transmission lines such as those used in coaxial communication, optical-fiber

communication, and radio communication" (column 1 line 16-23), and "the point-to-

multipoint communication system of the present invention is also widely applicable to

communication systems composed of a master unit and a plurality of slave units such

that the transmission line band is allocated among the slave units by the master unit in a

controlled manner'' (column 11 line 58 to column 12 line 6); Figure 1 is a point-to-

multipoint communication system; that is, the point-to-multipoint system shown in Figure

1 can be an optical LAN. Therefore, it would have been obvious to one of ordinary skill

in the art before the effective filing date of the claimed invention to apply the dynamic

bandwidth allocation approach as taught by Yuki et al to the system/method of

Husbands et al so that a throughput reduction observed in the case of CSMA/CD is

avoided, signal collisions can be eliminated, the buffer memory requirements can be

relaxed, and the latency time elapsed before a slave/client unit transmits a signal can be

reduced, and system capacity/throughput can be increased.

       2). With regard to claim 3, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module includes a passive optical LAN

protocol processor (e.g., the control logic in Figures 4, 5 and 8 of Yuki. And

controller/processor in the slave unit of Yuki).

       3). With regard to claim 4, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module further adjusts timing of the




                                        Appx3449
Application/Control Number: 17/138,794                                               Page 18
Art Unit: 2636
generation of the upstream electrical signal responsive to receiving a response delay

message (Yuki: column 2 lines 41-63, "a time of td seconds is necessary for the

transmission if all the slave units transmit kilobit signals, making it possible to secure an

allowed delay time of td seconds for data transmission by all the slave units"; "The

control unit 17 issues instructions regarding time slot numbers and transmission timing";

"The control packet sent from the control unit 27 to the transmission unit 23 is

transmitted to the slave units 10-1 to 10-m by the time slots of a control region provided

inside the frame. Transmission timing and time slot numbers are controlled by the

control unit 28". Figure 30 and 52 etc., "delay control region").

       4). With regard to claim 5, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module is configured to receive in the

downstream electrical signal a network identification address assigned to the LAN client

and wherein the network identification address can be used by the control module for

receiving downstream data information addressed to the LAN client for a passive optical

LAN (Husbands: column 2 lines 39-64, "If the line is quiet, the source terminal sends out

a command packet followed by the message. The command packet contains both the

destination address and the source address. Upon hearing its address, the receiving

terminal copies the message" "The collision detection process can take several forms

such as summed energy or software comparisons on the flags or addresses in the

broadband mechanization". Yuki: column 5 lines 33-55, "the master unit divides

terminal-addressed input packets and attaches headers to create fixed-length cells.

Each header contains slave unit addresses for use in the point-to-multipoint




                                        Appx3450
Application/Control Number: 17/138,794                                             Page 19
Art Unit: 2636
communication system and retrieved based on the terminal addresses contained in the

input packets. Because the slave units operate such that data is retrieved only if the

addresses contained in the aforementioned headers match the addresses of the local

stations, the transfer rate in the downstream direction for each of the slave units can be

varied in a simple manner using the master unit alone. In addition, short bit strings are

used and the transfer rate can be utilized efficiently because the addresses of the slave

units used in each header are those that have significance solely inside a point-to-

multipoint communication system. Furthermore, the address architecture used in the

point-to-multipoint communication system is hierarchized, and the addresses are set

such that a subnet is used and the slave units constitute a single network within the

entire point-to-multipoint communication system. The structure of the master unit can

thus be simplified because the portion of a terminal address for identifying the subnet

can be used directly as a slave unit address", and column 13 lines 19-25 and column 47

lines 1-10 etc.).

       5). With regard to claim 6, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module performs operation

administration and maintenance (OAM) message processing (Yuki: Figures 4 and 5, 19

etc., PLOAM sent downstream; column 14 lines 8-12, "Described below with reference

to FIGS. 6 to 10 is a first embodiment aspect, which is configured such that the master

unit 20 uses PLOAM cells to instruct slave units 10 to issue reports regarding the

information amount necessary to transmit signals"; column 33 lines 23-39; and column

51 lines 5-22 etc.).




                                       Appx3451
Application/Control Number: 17/138,794                                               Page 20
Art Unit: 2636
         6). With regard to claim 11, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the upstream control information includes user data

buffering status information (Yuki: refer claim 1 rejection; column 12 lines 15-27, and

Figures 6, 8, 10 and 11 etc.).

         7). With regard to claim 12, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module processes the downstream

electrical signal having successive downstream frames (Yuki: e.g., Figure 4, 5, 30, 54

etc.).

         8). With regard to claim 13, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 and 12 above. And the combination of Husbands et

al and Yuki et al further discloses wherein a downstream frame includes a first number

of downstream subframes having one or more downstream formats and wherein each

downstream subframe includes a second number of downstream slots of time (Yuki:

e.g., Figures 4, 5, 30 and 54 etc.).

         9). With regard to claim 14, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 and 12-13 above. And the combination of

Husbands et al and Yuki et al further discloses wherein a downstream subframe

includes a downstream communication channel for communicating the upstream

bandwidth allocation for provisioning upstream slots of time to the LAN client for a

passive optical LAN (Yuki: e.g., Figures 5, 30, 54 etc.).




                                         Appx3452
Application/Control Number: 17/138,794                                              Page 21
Art Unit: 2636
       10). With regard to claim 17, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the upstream optical signal is emitted in one or more

upstream slots of time forming one or more upstream frames as governed by the

upstream bandwidth allocation (Yuki: e.g., Figures 4, 5, 12, 25, 29 and 31 etc.).

       11 ). With regard to claim 18, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claims 1 and 17 above. And the combination of Husbands

et al and Yuki et al further discloses wherein upstream frames includes a first number of

upstream subframes having one or more upstream formats (Yuki: Figure 25 etc.; also

Figures 5 and 50 etc.).

       12). With regard to claim 23, Husbands discloses a Local Area Network (LAN)

client (e.g., 18/16 in Figure 4, "fiber optic modem 18" and "Sytek local net 20/100 dual

port packet communication unit 16"; also shown in Figure 5. Figure 8: optic modem card

56 and Comm Card) for a passive optical LAN (as a convention in the art, in a passive

optical network (PON) the transmission facility between the transmitter and the

receivers consists of passive (i.e., un-powered) optical components; or what makes a

passive optical network passive is that it uses unpowered optical splitters. As shown in

Husbands' Figures 4 and 8, there is no "powered devices" between the

transmitter/receiver of the head-end and the receiver/transmitter (the optical modem) of

the LAN client; e.g., Figure 8, no powered devices between transmitter/receiver 64/66 of

the head-end 68 and the fiber optical modem card 56; the 8x8 star coupler is a passive

splitter/coupler. Therefore, the network shown in Figure 4 or Figure 8 is a passive

optical LAN), the passive optical LAN disposed to having a head end (the head end 24




                                       Appx3453
Application/Control Number: 17/138,794                                               Page 22
Art Unit: 2636
in Figure 4; Figure 7, the star node 46 combined with auxiliary optical ports 44 plus the

monitor 48 and OTDR etc. form a head-end, column 5 line 42 to column 6 line 50; Head

End in Figure 8) and one or more passive optical splitters (e.g., Figure 4, "two 8x8

passive optical star couplers 26 and 28". Figure 8, "8x8 passive optical star coupler 62")

for coupling the LAN client over one or more optical fibers (Figure 4: "fiber optic cables

20 and 22". Figure 8, "a single fiber cable 60") to the head end of the passive optical

LAN (Figures 4 and 8 etc.), the LAN client for a passive optical LAN comprising of:

       an optical interface (FO XMTR and FO RCV in Figures 4 and 8) for converting a

downstream optical signal on a downstream optical wavelength (column 4 lines 3-13

and 40-42, column 7 lines 7-9, around 850 nm; or 1300 nm as shown in Figure 10,

column 7 lines 50-54) to a downstream electrical signal and for converting an upstream

electrical signal to an upstream optical signal and emitting the upstream optical signal

on an upstream optical wavelength (column 4 lines 40-42, column 7 lines 7-9, around

850 nm);

       at least one network interface for receiving user data (Figure 5: PORT# 1 and

PORT # 2 of SYTEK COMM CARD 40 for receiving user data from user device 14.

Figure 8, COMM CARD for receiving user data from User Terminal Device); and

       a control module (interface logic in Figures 4 and 8 etc.; or Figure 5, column 4

lines 47-64) electrically coupled to the optical interface and electrically coupled to the at

least one network interface (Figures 4, 5 and 8 etc.) and wherein the control module

processes the downstream electrical signal having a downstream data information

(column 4 lines 3-13 and 40-42, and column 6 lines 18-40 etc.) and wherein the control

module receives user data from the at least one network interface (user data coming




                                        Appx3454
Application/Control Number: 17/138,794                                                  Page 23
Art Unit: 2636
from the User Terminal Devices as shown in Figures 4 and 8 etc.) and the control

module generates the upstream electrical signal having upstream data information

(column 4 lines 3-13 and 40-42 etc.) and wherein at least a portion of the user data is

included in the upstream data information (column 4 lines 3-13 and 40-42 etc.),

       whereby the LAN client for a passive optical LAN communicates user data

upstream (based on CSMA/CD "listen while talking", column 2 line 44, column 7 line 26-

27 and 47).

       But, Husbands et al does not expressly disclose wherein the control module

processes the downstream electrical signal having a downstream control information to

recover an upstream bandwidth allocation from the downstream control information

wherein the upstream bandwidth allocation includes a start and end time slot number or

a start time and length of time and the control module responsive to the upstream

bandwidth allocation generates the upstream electrical signal having upstream control

and upstream data information, whereby the LAN client for a passive optical LAN

communicates user data upstream responsive to an upstream bandwidth allocation.

       However, as disclosed by Husbands et al, the fiber optical LAN uses CSMA/CD

"listen while talking" protocol, and the head-end can perform other functions, e.g.,

"technical control" (monitoring, signaling, and fault isolation etc.), and "[a] video

distribution service may also be provided on an unexpanded network by use of the

auxiliary ports 44 on the outbound star node 47" (column 5 line 42 to column 6 line 50

etc.; Figure 7 etc., the star node 46 together with the auxiliary optical ports 44 etc.

function "as the network head-end", or the star node combined with auxiliary optical

ports plus the monitor 48 and OTDR etc. form a head-end), and the control logic in




                                         Appx3455
Application/Control Number: 17/138,794                                                Page 24
Art Unit: 2636
Husbands' LAN client can perform "listen before talk" and "listen while talk" etc. and

determine when to transmit a signal; it is obvious to one skilled in the art that other

protocols can be used for the fiber optical LAN.

       Yuki et al discloses a protocol that allocates bandwidth dynamically (or dynamic

bandwidth allocation. Abstract, and column 2 line 9 to column 5 line 55) for a point-to-

multipoint communication system (Figure 1 etc.), which comprises a master unit (20)

and slave units (10-i) coupled to the master unit by a passive optical splitter (40), and a

control module (17 in Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84

etc.) in the slave unit electrically coupled to the optical interface (13/14 in Figures 2, 65,

68 and 76 etc.) and electrically coupled to the at least one network interface (11 /12 in

Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84 etc.) and wherein the

control module processes the downstream electrical signal having a downstream control

and downstream data information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure

78 etc.) to recover an upstream bandwidth allocation from the downstream control

information (Figures 8-10 and 31 etc. "On the basis of the reports from the slave units,

the master unit determines an allowable amount of information for each slave unit and

permits the slave units to transmit the stored signals according to the request from the

master unit."), wherein the upstream bandwidth allocation includes a start and end time

slot number or a start time and length of time (column 5 lines 16-22, "the time slots for

transmitting information signals by slave units are calculated by the master unit

dynamically and efficiently on the basis of reports from slave units"; Figures 5, 25 and

29; and column 36 line 8 to column 39 line 6, "the time slot number for starting a data

packet transmission and the information amount ni for allowing these packets to be




                                         Appx3456
Application/Control Number: 17/138,794                                              Page 25
Art Unit: 2636
transmitted are read from the information amount notification region of the control

packet" and "[t]he information signals sent from the buffer memory 15 are written in the

information signal region. Packet classification numbers 11 h, which indicate that the

packets are for transmitting information signals, are written to a packet identification

region. Slave unit identification numbers assigned in advance to the slave units 10 are

written to a slave unit identification region. The necessary information is written to each

region of the data packet in the transmission unit 13, and this data packet is then sent to

the master unit 20 by the time slots of a data region provided inside the frame.

Transmission timing and time slot numbers are controlled by the control unit 17"; "FIG.

44 is a flowchart depicting a procedure for determining the time slot number according

to which a slave unit begins transmitting an information packet") and wherein the control

module receives user data from the at least one network interface (user data signal from

input unit 11) and the control module responsive to the upstream bandwidth allocation

generates the upstream electrical signal having upstream control and upstream data

information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure 78 etc.), whereby the

slave unit for a passive optical network communicates user data upstream responsive to

an upstream bandwidth allocation (dynamic bandwidth allocation. Abstract, and column

2 line 9 to column 5 line 55 etc.).

       Yuki et al indicates "Conventional access protocols, however, have the following

drawbacks that make these protocols incapable of handling burst traffic containing

several megabytes of data, which is expected to grow even more in the future. When,

for example, information signals generated in bursts of several megabytes are

transmitted according to the CSMA/CD protocol, the information signals are separated




                                        Appx3457
Application/Control Number: 17/138,794                                              Page 26
Art Unit: 2636
into packets of about 64-1500 kB and repeatedly transmitted. Consequently, increased

burst traffic results in a markedly lower throughput because of the higher frequency of

retransmission due to packet collisions .... the delay time increases and is not constant

any longer ..... Thus, conventional access protocols for point-to-multipoint

communication systems are disadvantageous in that an increase in burst traffic

containing several megabytes of data results in a lower throughput and makes it

impossible to comply with time requirements for downstream transmission" (column 1

line 43 to column 2 line 6).

       However, Yuki et al's approach/protocol "allows slave units to transmit signals in

accordance with instructions from the master unit, no signal collisions occur in the

transmission line and a throughput reduction such as that observed in the case of

CSMA/CD is avoided when signals containing several megabytes of data are

transmitted in bursts." (column 2 lines 28-34; column 3 lines 43-49; column 30 lines 5-

14) and "allows the maximum amount of stored signal to be stabilized at a

comparatively low level without the increase observed in the access protocol based on

TOMA or CSMA/CD, can easily accommodate burst traffic, and is capable of reducing

the buffer memory requirements of slave units when the load factor of the transmission

line is high and the burst traffic increases in volume" (column 23 lines 14-22. And

column 21 lines 49-60; column 30 lines 19 and 26).

       Yuki et al also states "the access protocol in accordance with the present

invention can be easily adapted, for example, to FDM (Frequency Division Multiplex),

FDMA (Frequency Division Multiple Access), CDMA (Code Division Multiple Access),

and the like" (column 30 line 1-4); that is, Yuki's access protocol can be easily adapted




                                       Appx3458
Application/Control Number: 17/138,794                                                Page 27
Art Unit: 2636
to different protocols, and "the like". And, Yuki et al states "Point-to-multipoint

communication systems such as LANs, CATV networks, satellite communication

networks, and optical subscriber access networks are commonly configured such that a

master unit and a plurality of slave units communicate by sharing, for example,

transmission lines such as those used in coaxial communication, optical-fiber

communication, and radio communication" (column 1 line 16-23), and "the point-to-

multipoint communication system of the present invention is also widely applicable to

communication systems composed of a master unit and a plurality of slave units such

that the transmission line band is allocated among the slave units by the master unit in a

controlled manner'' (column 11 line 58 to column 12 line 6); Figure 1 is a point-to-

multipoint communication system; that is, the point-to-multipoint system shown in Figure

1 can be an optical LAN. Therefore, it would have been obvious to one of ordinary skill

in the art before the effective filing date of the claimed invention to apply the dynamic

bandwidth allocation approach as taught by Yuki et al to the system/method of

Husbands et al so that a throughput reduction observed in the case of CSMA/CD is

avoided, signal collisions can be eliminated, the buffer memory requirements can be

relaxed, and the latency time elapsed before a slave/client unit transmits a signal can be

reduced, and system capacity/throughput can be increased.

       13). With regard to claim 24, Husbands discloses a Local Area Network (LAN)

client (e.g., 18/16 in Figure 4, "fiber optic modem 18" and "Sytek local net 20/100 dual

port packet communication unit 16"; also shown in Figure 5. Figure 8: optic modem card

56 and Comm Card) for a passive optical LAN (as a convention in the art, in a passive

optical network (PON) the transmission facility between the transmitter and the




                                         Appx3459
Application/Control Number: 17/138,794                                             Page 28
Art Unit: 2636
receivers consists of passive (i.e., un-powered) optical components; or what makes a

passive optical network passive is that it uses unpowered optical splitters. As shown in

Husbands' Figures 4 and 8, there is no "powered devices" between the

transmitter/receiver of the head-end and the receiver/transmitter (the optical modem) of

the LAN client; e.g., Figure 8, no powered devices between transmitter/receiver 64/66 of

the head-end 68 and the fiber optical modem card 56; the 8x8 star coupler is a passive

splitter/coupler. Therefore, the network shown in Figure 4 or Figure 8 is a passive

optical LAN), the passive optical LAN disposed to having a head end (the head end 24

in Figure 4; Figure 7, the star node 46 combined with auxiliary optical ports 44 plus the

monitor 48 and OTDR etc. form a head-end, column 5 line 42 to column 6 line 50; Head

End in Figure 8) and one or more passive optical splitters (e.g., Figure 4, "two 8x8

passive optical star couplers 26 and 28". Figure 8, "8x8 passive optical star coupler 62")

for coupling the LAN client over one or more optical fibers (Figure 4: "fiber optic cables

20 and 22". Figure 8, "a single fiber cable 60") to the head end of the passive optical

LAN (Figures 4 and 8 etc.), the LAN client for a passive optical LAN comprising of:

       an optical interface (FO XMTR and FO RCV in Figures 4 and 8) for converting a

downstream optical signal on a downstream optical wavelength (column 4 lines 3-13

and 40-42, column 7 lines 7-9, around 850 nm; or 1300 nm as shown in Figure 10,

column 7 lines 50-54) to a downstream electrical signal and for converting an upstream

electrical signal to an upstream optical signal and emitting the upstream optical signal

on an upstream optical wavelength (column 4 lines 40-42, column 7 lines 7-9, around

850 nm);




                                       Appx3460
Application/Control Number: 17/138,794                                               Page 29
Art Unit: 2636
       at least one network interface for receiving user data (Figure 5: PORT# 1 and

PORT # 2 of SYTEK COMM CARD 40 for receiving user data from user device 14.

Figure 8, COMM CARD for receiving user data from User Terminal Device); and

       a control module (interface logic in Figures 4 and 8 etc.; or Figure 5, column 4

lines 47-64) electrically coupled to the optical interface and electrically coupled to the at

least one network interface (Figures 4, 5 and 8 etc.) and wherein the control module

processes the downstream electrical signal having a downstream data information

(column 4 lines 3-13 and 40-42, and column 6 lines 18-40 etc.) and wherein the control

module receives user data from the at least one network interface (user data coming

from the User Terminal Devices as shown in Figures 4 and 8 etc.) and the control

module generates the upstream electrical signal having upstream data information

(column 4 lines 3-13 and 40-42 etc.) and wherein at least a portion of the user data is

included in the upstream data information (column 4 lines 3-13 and 40-42 etc.),

       whereby the LAN client for a passive optical LAN communicates user data

upstream (based on CSMA/CD "listen while talking", column 2 line 44, column 7 line 26-

27 and 47).

       But, Husbands et al does not expressly disclose wherein the control module

processes the downstream electrical signal having a downstream control information to

recover an upstream bandwidth allocation from the downstream control information

wherein the upstream bandwidth allocation includes a start and end time slot number or

a start time and length of time and the control module responsive to the upstream

bandwidth allocation generates the upstream electrical signal having upstream control

and upstream data information, whereby the LAN client for a passive optical LAN ends




                                        Appx3461
Application/Control Number: 17/138,794                                                  Page 30
Art Unit: 2636
the optical upstream signal emissions responsive to the end time slot number or the end

of the length of time and whereby the LAN client for a passive optical LAN

communicates user data upstream responsive to an upstream bandwidth allocation.

       However, as disclosed by Husbands et al, the fiber optical LAN uses CSMA/CD

"listen while talking" protocol, and the head-end can perform other functions, e.g.,

"technical control" (monitoring, signaling, and fault isolation etc.), and "[a] video

distribution service may also be provided on an unexpanded network by use of the

auxiliary ports 44 on the outbound star node 47" (column 5 line 42 to column 6 line 50

etc.; Figure 7 etc., the star node 46 together with the auxiliary optical ports 44 etc.

function "as the network head-end", or the star node combined with auxiliary optical

ports plus the monitor 48 and OTDR etc. form a head-end), and the control logic in

Husbands' LAN client can perform "listen before talk" and "listen while talk" etc. and

determine when to transmit a signal; it is obvious to one skilled in the art that other

protocols can be used for the fiber optical LAN.

       Yuki et al discloses a protocol that allocates bandwidth dynamically (or dynamic

bandwidth allocation. Abstract, and column 2 line 9 to column 5 line 55) for a point-to-

multipoint communication system (Figure 1 etc.), which comprises a master unit (20)

and slave units (10-i) coupled to the master unit by a passive optical splitter (40), and a

control module (17 in Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84

etc.) in the slave unit electrically coupled to the optical interface (13/14 in Figures 2, 65,

68 and 76 etc.) and electrically coupled to the at least one network interface (11 /12 in

Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84 etc.) and wherein the

control module processes the downstream electrical signal having a downstream control




                                         Appx3462
Application/Control Number: 17/138,794                                              Page 31
Art Unit: 2636
and downstream data information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure

78 etc.) to recover an upstream bandwidth allocation from the downstream control

information (Figures 8-10 and 31 etc. "On the basis of the reports from the slave units,

the master unit determines an allowable amount of information for each slave unit and

permits the slave units to transmit the stored signals according to the request from the

master unit."), wherein the upstream bandwidth allocation includes a start and end time

slot number or a start time and length of time (column 5 lines 16-22, "the time slots for

transmitting information signals by slave units are calculated by the master unit

dynamically and efficiently on the basis of reports from slave units"; Figures 5, 25 and

29; and column 36 line 8 to column 39 line 6, "the time slot number for starting a data

packet transmission and the information amount ni for allowing these packets to be

transmitted are read from the information amount notification region of the control

packet" and "[t]he information signals sent from the buffer memory 15 are written in the

information signal region. Packet classification numbers 11 h, which indicate that the

packets are for transmitting information signals, are written to a packet identification

region. Slave unit identification numbers assigned in advance to the slave units 10 are

written to a slave unit identification region. The necessary information is written to each

region of the data packet in the transmission unit 13, and this data packet is then sent to

the master unit 20 by the time slots of a data region provided inside the frame.

Transmission timing and time slot numbers are controlled by the control unit 17"; "FIG.

44 is a flowchart depicting a procedure for determining the time slot number according

to which a slave unit begins transmitting an information packet") and wherein the control

module receives user data from the at least one network interface (user data signal from




                                        Appx3463
Application/Control Number: 17/138,794                                            Page 32
Art Unit: 2636
input unit 11) and the control module responsive to the upstream bandwidth allocation

generates the upstream electrical signal having upstream control and upstream data

information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure 78 etc.) and wherein

at least a portion of the user data is included in the upstream data information (Figure

30, Figure 31, Figures 50-55, Figure 78 etc.), whereby the slave unit for a passive

optical network ends the optical upstream signal emissions responsive to the end time

slot number or the end of the length of time (column 5 lines 16-22; Figures 5, 25, 29 and

44; and column 36 line 8 to column 39 line 6 etc.) and whereby the slave unit for a

passive optical network communicates user data upstream responsive to an upstream

bandwidth allocation (dynamic bandwidth allocation. Abstract, and column 2 line 9 to

column 5 line 55 etc.).

       Yuki et al indicates "Conventional access protocols, however, have the following

drawbacks that make these protocols incapable of handling burst traffic containing

several megabytes of data, which is expected to grow even more in the future. When,

for example, information signals generated in bursts of several megabytes are

transmitted according to the CSMA/CD protocol, the information signals are separated

into packets of about 64-1500 kB and repeatedly transmitted. Consequently, increased

burst traffic results in a markedly lower throughput because of the higher frequency of

retransmission due to packet collisions .... the delay time increases and is not constant

any longer ..... Thus, conventional access protocols for point-to-multipoint

communication systems are disadvantageous in that an increase in burst traffic

containing several megabytes of data results in a lower throughput and makes it




                                       Appx3464
Application/Control Number: 17/138,794                                                Page 33
Art Unit: 2636
impossible to comply with time requirements for downstream transmission" (column 1

line 43 to column 2 line 6).

       However, Yuki et al's approach/protocol "allows slave units to transmit signals in

accordance with instructions from the master unit, no signal collisions occur in the

transmission line and a throughput reduction such as that observed in the case of

CSMA/CD is avoided when signals containing several megabytes of data are

transmitted in bursts." (column 2 lines 28-34; column 3 lines 43-49; column 30 lines 5-

14) and "allows the maximum amount of stored signal to be stabilized at a

comparatively low level without the increase observed in the access protocol based on

TOMA or CSMA/CD, can easily accommodate burst traffic, and is capable of reducing

the buffer memory requirements of slave units when the load factor of the transmission

line is high and the burst traffic increases in volume" (column 23 lines 14-22. And

column 21 lines 49-60; column 30 lines 19 and 26).

       Yuki et al also states "the access protocol in accordance with the present

invention can be easily adapted, for example, to FDM (Frequency Division Multiplex),

FDMA (Frequency Division Multiple Access), CDMA (Code Division Multiple Access),

and the like" (column 30 line 1-4); that is, Yuki's access protocol can be easily adapted

to different protocols, and "the like". And, Yuki et al states "Point-to-multipoint

communication systems such as LANs, CATV networks, satellite communication

networks, and optical subscriber access networks are commonly configured such that a

master unit and a plurality of slave units communicate by sharing, for example,

transmission lines such as those used in coaxial communication, optical-fiber

communication, and radio communication" (column 1 line 16-23), and "the point-to-




                                         Appx3465
Application/Control Number: 17/138,794                                              Page 34
Art Unit: 2636
multipoint communication system of the present invention is also widely applicable to

communication systems composed of a master unit and a plurality of slave units such

that the transmission line band is allocated among the slave units by the master unit in a

controlled manner'' (column 11 line 58 to column 12 line 6); Figure 1 is a point-to-

multipoint communication system; that is, the point-to-multipoint system shown in Figure

1 can be an optical LAN. Therefore, it would have been obvious to one of ordinary skill

in the art before the effective filing date of the claimed invention to apply the dynamic

bandwidth allocation approach as taught by Yuki et al to the system/method of

Husbands et al so that a throughput reduction observed in the case of CSMA/CD is

avoided, signal collisions can be eliminated, the buffer memory requirements can be

relaxed, and the latency time elapsed before a slave/client unit transmits a signal can be

reduced, and system capacity/throughput can be increased.



5.     Claims 2 and 7 are rejected under pre-AIA 35 U.S.C. 103(a) as being

unpatentable over Husbands et al and Yuki et al as applied to claim 1 above, and

further in view of Finley (Finley: "Optical Fibers in Local Area Networks", IEEE

Communications Magazine, Vol. 22, No. 8, August 1984, pages 22-34).

       1). With regard to claim 2, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. But, Husbands et al and Yuki et al do not

expressly disclose wherein the control module includes an Ethernet MAC.

       However, the CSMA/CD used in Husbands' system is a MAC method widely

used in Ethernet technology for LAN. And, Yuki et al discloses that the point-to-

multipoint system as shown in Figure 1 etc. can be used to transmit Ethernet packets




                                        Appx3466
Application/Control Number: 17/138,794                                             Page 35
Art Unit: 2636
(column 13 lines 35-45, column 34 lines 19 and 26, column 39 line 47, and column 47

lines 13 and 22 etc.). And Finley discloses that OSI model (Figure 6) can be used in

optical LANs (Figures 7-13), which can be Ethernet LANs (pages 28-34); that is, the

MAC in Figure 6 can be an Ethernet MAC.

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to combine Finley with Husbands et al and

Yuki et al so that a high efficient Ethernet LAN can be obtained.

       2). With regard to claim 7, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module is configured to manage the

transmission and reception of optical data link layer communications through the optical

interface based on at least one optical data link layer address (Husbands: the control

logic in Figure 5 etc. performs CSMA/CD protocol (MAC layer), and the CSMA/CD

frame format has data link layer address; that is, the combination of Husbands et al and

Yuki et al teaches/suggests that the control logic manages the transmission and

reception of optical data link layer communications through the optical interface based

on at least one optical data link layer address).

       But, Husbands et al and Yuki et al do not expressly disclose wherein the control

module includes an Ethernet Media Access Control (MAC) configured to enable

Ethernet communications through the at least one network interface.

       However, the CSMA/CD used in Husbands' system is a MAC method widely

used in Ethernet technology for LAN. And, Yuki et al discloses that point-to-multipoint

system as shown in Figure 1 etc. can be used to transmit Ethernet packets (column 30




                                        Appx3467
Application/Control Number: 17/138,794                                              Page 36
Art Unit: 2636
lines 19 and 26, column 39 line 47 etc.). And Finley discloses that OSI model (Figure 6)

can be used in optical LANs (Figures 7-13), which can be Ethernet LANs (pages 28-34);

that is, the MAC in Figure 6 can be an Ethernet MAC to enable Ethernet

communications through at least one network interface.

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to combine Finley with Husbands et al and

Yuki et al so that an Ethernet MAC is used to enable high efficient Ethernet LAN

communications.



6.     Claim 8 is rejected under pre-AIA 35 U.S.C. 103(a) as being unpatentable over

Husbands et al and Yuki et al as applied to claim 1 above, and further in view of Xu et al

(US 7,181,142).

       Husbands et al and Yuki et al disclose all of the subject matter as applied to

claim 1 above. But, Husbands et al and Yuki et al do not expressly disclose wherein the

LAN client adjusts the optical power level of the upstream optical signal responsive to

receiving a message.

       However, to adjust an output of an optical unit based on a received message is

known in the art. E.g., Xu et al discloses a "local area networks (LAN)", "FIG. 8

illustrates that the architecture according to the present embodiment can be easily

extended to provide "local" networking services. As used herein, local network services

includes, for example, so-called local area networks (LAN). intranets, secure ("trusted")

networks, and virtual private networks (VPN). Such networking services may be

desirable, for example, in scenarios where the use of intranet is essential, such as in




                                       Appx3468
Application/Control Number: 17/138,794                                                Page 37
Art Unit: 2636
business offices or other enterprises, community networking, and premises networking

cases. The operation of the local network 800 of the embodiment of FIG. 8 is similar to

an Ethernet LAN" (column 14 lines 11-21 ). As shown in Figures 7a and 7b etc., "the

ON Us to adjust their respective transmitter power based on OL T feedback such that

power levels received by the OLT from all the ONUs are the same" (column 4 lines 14-

54, and column 13 line 40 to column 14 line 10).

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the teachings of Xu et al to the

system/method of Husbands et al and Yuki et al so that a desired output power level

can be obtained, and the reliability of the system is enhanced.



7.     Claim 9 is rejected under pre-A IA 35 U.S.C. 103(a) as being unpatentable over

Husbands et al and Yuki et al as applied to claim 1 above, and further in view of ITU-T

(ITU-T Recommendation G.983.1 Broadband optical access systems based on Passive

Optical Networks (PON), October 1998).

       Husbands et al and Yuki et al disclose all of the subject matter as applied to

claim 1 above. But, Husbands et al and Yuki et al do not expressly disclose wherein the

LAN client receives a request for new LAN clients to identify themselves and the LAN

client responds with a message including a serial number for identifying the LAN client.

       However, first, Yuki et al discloses "The ID numbers of the slave units 10-1 to 1O-

m are managed by the master unit 20, and these ID numbers are conveyed during the

initial stage to all the slave units 10-1 to 10-m participating in the operation of the

system. By virtue of these ID numbers, the master unit 20 can trace a cell to a particular




                                         Appx3469
Application/Control Number: 17/138,794                                               Page 38
Art Unit: 2636
slave unit 10-1 to 10-m, and each of the slave units 10-1 to 10-m can determine

whether the cell it has received is addressed to this station" (column 13 lines 19-25) and

"The service class identifiers and ID numbers of the slave units 10-1 to 10-m are

managed by the master unit 20, and these service class identifiers and ID numbers are

conveyed during the initial stage to all the slave units 10-1 to 10-m participating in the

operation of the system. By virtue of these ID numbers and identifiers, the master unit

20 can trace an information signal within a service class to a particular slave unit 10-1 to

10-m, and each of the slave units 10-1 to 10-m can determine whether the information

signal it has received is indeed addressed to this station" (column 47 lines 1-10). That

is, during the initial stage, the slave units exchange information with the master units;

then it is obvious to one skilled in the art that specific identifications or numbers are

used by the slave units to identify themselves so that the master unit can assign the ID

numbers to the slave units. Second, ITU-T G.983.1 discloses that in passive optical

network, an optical network unit (ONU) can send its serial number to an optical line

terminal (OL T) in ranging mode, and "[t]he OL T extracts the serial number and can

assign a free PON_ID to this ONU" (page 53), and the serial number also can be used

to register an ONU (page 64 Section 8.4.1.1 ): "1) the network operator enables the

ranging process to start when it is known that a new ONU has been connected. After

successful ranging (or a time-out), ranging is automatically stopped; 2) the OL T

periodically and automatically initiates the ranging process, testing to see if any new

ONUs have been connected. The frequency of polling is programmable such that a

ranging window can be opened every millisecond or every second under instruction of

the OpS system."; and "When more grants are required for completion of the ONU




                                        Appx3470
Application/Control Number: 17/138,794                                              Page 39
Art Unit: 2636
optical power set-up, the optical power set-up can be completed by allowing several

failures during ranging and repeated re-ranging. In the case that serial number

acquisition (binary tree mechanism stated in 8.4.4.1) is applied, the ONU may use

grants for the ONU optical power set-up. Also, if the OL T periodically initiate the ranging

process to check recently connected ONUs, it is useful for this purpose.".

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the recommendation of the ITU-T

G.983.1 to the system/method of Husbands et al and Yuki et al so that a newly added or

powered-up LAN client can be properly identified and set-up.



8.     Claim 10 is rejected under pre-AIA 35 U.S.C. 103(a) as being unpatentable over

Husbands et al and Yuki et al as applied to claim 1 above, and further in view of

Warden et al (US 2003/0189935).

       Husbands et al and Yuki et al disclose all of the subject matter as applied to

claim 1 above. And the combination of Husbands et al and Yuki et al further discloses

wherein the downstream frame includes the downstream control and data information

(refer claim 1 rejection etc.)

       But, Husbands et al and Yuki et al do not expressly disclose wherein the

downstream control information includes a consecutive sequence of bits for the LAN

client to identify the beginning of a downstream frame. However, to implement a field to

indicate a beginning of a frame is known in the art. E.g., Warden et al discloses a frame

transmitted between optical communicating devices (Figure 2 etc.), and as shown in




                                        Appx3471
Application/Control Number: 17/138,794                                                Page 40
Art Unit: 2636
Figure 4, "the Start-of-Frame (SoF) delimiter is a specially encoded 10 bit byte character

otherwise known as an Ordered Set that uniquely identifies the start of frames".

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the teaching of Warden et al to the

system/method of Husbands et al and Yuki et al so that the processing of the

downstream signal by the LAN client can be made easier.



9.     Claims 15, 16, 19 and 20 are rejected under pre-AIA 35 U.S.C. 103(a) as being

unpatentable over Husbands et al and Yuki et al as applied to claims 1 and 12 above,

and further in view of Chang (US 2003/0020991) and Masucci et al (US 6,498,667).

       1). With regard to claim 15, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claims 1 and 12 above. And the combination of Husbands

et al and Yuki et al further discloses wherein a downstream frame includes downstream

packet data and wherein downstream packet data includes a downstream packet

header and downstream packet payload (Yuki: column 5 line 33-47, Figure 32; column

38 lines 32-40, "In the slave unit 10 shown in FIG. 2, the packets from the master unit

20 are received by the reception unit 14 via the reception port. In the reception unit 14,

the header is removed, and it is then determined based on the slave unit numbers

written to the received packet whether the received packet is indeed addressed to this

slave unit 1O"; column 73 line 62 to column 74 line 8, "Specifically, the point-to-

multipoint communication system according to the fifteenth embodiment aspect is such

that the master unit 20 segments terminal-addressed input packets and attaches

headers to create fixed-length cells. Each header contains the addresses of slave units




                                        Appx3472
Application/Control Number: 17/138,794                                               Page 41
Art Unit: 2636
10-1 to 10-m for use in the point-to-multipoint communication system and retrieved

based on the terminal addresses contained in the input packets. Because the slave

units 10-1 to 10-m operate such that data is retrieved only when the addresses

contained in the aforementioned headers match the addresses of the local stations, the

transfer rate in the downstream direction for each of the slave units 10-1 to 10-m can be

varied in a simple manner using the master unit alone", and column 76 line 14-29 etc.).

       But, Husbands et al and Yuki et al do not expressly disclose wherein the

downstream packet header includes a field indicating the length of the downstream

packet payload.

       However, to use a field in a downstream packet header to indicate the length of a

payload is known in the art. E.g., Chang discloses a passive optical network, in which

downstream packet header includes a field indicating the length of the downstream

packet payload (Figure 12, downstream data packet 1209; [0061 ], "[t]he maximum

payload length for each data packet in the channel 1209 in this particular embodiment is

2048 bytes. The data packet channel 1209 further comprises a plurality of fields

including a data packet header (DPH), a priority (PRIO), a loopback (LPBK), a

residential gateway number (RGN), a payload length, a payload, and a bit interleaved

parity 32 (BIP-32).). Chang does not expressly state that the fields DPH, PRIO, LPBK,

RGN and payload length all together to be called a header. However, it is common in

the art to collectively call a group of fields as a header, e.g., Masucci et al discloses a

frame with a plurality of packets (Figures 6-8), and a group of fields including "payload

length" can be called header, e.g., header 303 in Figure 6.




                                        Appx3473
Application/Control Number: 17/138,794                                                Page 42
Art Unit: 2636
       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the teaching of Chang and Masucci

et al to the system/method of Husbands et al and Yuki et al so to make the signal

process and buffer management easier.

       2). With regard to claim 16, Husbands et al and Yuki et al and Chang and

Masucci et al disclose all of the subject matter as applied to claims 1, 12 and 15 above.

And the combination of Husbands et al and Yuki et al and Chang and Masucci et al

further discloses wherein the downstream packet payload includes at least a portion of

an Ethernet frame (Yuki column 13 lines 35-45, column 34 lines 19 and 26, column 39

line 47, and column 47 lines 13 and 22 etc.; Figures 54-55. Also, Masucci et al teaches

that Ethernet frame can be transmitted over the passive optical network. That is, the

combination of Husbands et al and Yuki et al and Chang and Masucci et al

teaches/suggests that the downstream packet payload includes at least a portion of an

Ethernet frame) or a Fibre Channel frame.

       3). With regard to claim 19, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claims 1 and 17 above. And the combination of Husbands

et al and Yuki et al further discloses wherein upstream frames includes an upstream

packet header and an upstream packet payload (Yuki: column 16 lines 26-29, "In the

master unit 20 shown in FIG. 3, cells received from the slave units 10 via the reception

port are identified based on the cell identifiers written to the cells. This is done after

headers are removed in the reception unit 24"; column 32 line 62 to column 33 line 2;

column 35 lines 6-12 and 39-43; column 38 line 18; column 49 lines 7-14; and column

76 line 14-29 etc.; and Figure 87).




                                         Appx3474
Application/Control Number: 17/138,794                                              Page 43
Art Unit: 2636
       But, Husbands et al and Yuki et al do not expressly disclose wherein the

upstream packet header includes a field indicating an upstream packet payload length.

       However, to use a field in a downstream packet header to indicate the length of a

payload is known in the art. E.g., Chang discloses a passive optical network, in which

the upstream packet header includes a field indicating an upstream packet payload

length (Figure 11 etc.), "The upstream data packet channel 509 comprises a plurality of

fields including the data packet header (DPH) 1111, the priority (PRIO) 1113, the

loopback (LPBK) 1115, the residential gateway number (RGN) 1117, the payload length

1119, the payload 1121 and the bit interleaved parity 32 (BIP-32) 1123" ([0054]). Chang

does not expressly state that the fields DPH, PRIO, LPBK, RGN and payload length all

together to be called a header. However, it is common in the art to collectively call a

group of fields as a header, e.g., Masucci et al discloses a frame with a plurality of

packets (Figures 6-8), and a group of fields including "payload length" can be called

header, e.g., header 303 in Figure 6.

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the teaching of Chang and Masucci

et al to the system/method of Husbands et al and Yuki et al so to make the signal

process and buffer management easier.

       4). With regard to claim 20, Husbands et al and Yuki et al and Chang and

Masucci et al disclose all of the subject matter as applied to claims 1, 17 and 19 above.

And the combination of Husbands et al and Yuki et al and Chang and Masucci et al

further discloses wherein the upstream packet payload includes at least a portion of an

Ethernet frame (Yuki column 13 lines 35-45, column 34 lines 19 and 26, column 39 line




                                        Appx3475
Application/Control Number: 17/138,794                                                Page 44
Art Unit: 2636
47, and column 47 lines 13 and 22 etc.; Figures 54-55. Also, Masucci et al teaches that

Ethernet frame can be transmitted over the passive optical network. That is, the

combination of Husbands et al and Yuki et al and Chang and Masucci et al

teaches/suggests that the upstream packet payload includes at least a portion of an

Ethernet frame) or a Fibre Channel frame.



10.    Claim 21 is rejected under pre-AIA 35 U.S.C. 103(a) as being unpatentable over

Husbands et al and Yuki et al as applied to claim 1 above, and further in view of

Mahony et al (US 6,668,127).

       Husbands et al and Yuki et al disclose all of the subject matter as applied to

claim 1 above. But, Husbands et al and Yuki et al do not expressly disclose wherein the

optical interface includes one or more optical fiber connectors selected from the group

consisting essentially of: Subscriber Connector (SC); Lucent Connector (LC); Fiber

Channel (FC); Straight TP (ST); and Miniature Unit (MU).

       However, as disclosed by Mahony et al, the SC connector or ST connector is

well known connectors in the art. Therefore, it would have been obvious to one of

ordinary skill in the art before the effective filing date of the claimed invention to apply

one of these connectors to the system/method of Husbands and Yuki et al so that the

optical fiber/cable can be properly/securely connected with the optical

transmitting/receiving device (or transceiver module etc.) or the LAN client.



11.    Claim 22 is rejected under pre-AIA 35 U.S.C. 103(a) as being unpatentable over

Husbands et al and Yuki et al as applied to claim 1 above, and further in view of Finley




                                         Appx3476
Application/Control Number: 17/138,794                                                Page 45
Art Unit: 2636
(Finley: "Optical Fibers in Local Area Networks", IEEE Communications Magazine, Vol.

22, No. 8, August 1984, pages 22-34) and Cvijin et al (US 2003/0039015).

       Husbands et al and Yuki et al disclose all of the subject matter as applied to

claim 1 above. But, Husbands et al and Yuki et al do not expressly disclose wherein the

at least one network interface is configured to communicate using a protocol from the

group consisting essentially of: IEEE 10 Mbit Ethernet; IEEE 100 Mbit Ethernet; IEEE

1000 Mbit Ethernet; Fibre Channel; IEEE 802.11; IEEE 802.16; and Digital Subscriber

Line (DSL).

       However, first, the CSMA/CD used in Husbands' system is a MAC method widely

used in Ethernet technology for LAN. And, Yuki et al discloses that point-to-multipoint

system as shown in Figure 1 etc. can be used to transmit Ethernet packets (column 13

lines 35-45, column 34 lines 19 and 26, column 39 line 47, and column 47 lines 13 and

22 etc.). And Finley discloses that 10 Mbit Ethernet protocol (pages 28-34) can be used

in the optical LAN. Another prior art, Cvijin et al discloses "Implementation of fiber optic

communication at the local area network (LAN) level will enable users to break current

bottlenecks in the last mile of information transfer. A further attraction of fiber-optic

technology is its scalability. Most current fiber LAN products are Ethernet-based in a

range of 100-Mbit/second up to 1-Gbit/s. Fiber optical communication is easily scalable

up to 10 Gbits/s, and several equipment vendors have announced fiber-optic links that

can support transmission up to 1 terabit/s utilizing more than 128 DWDM." That is, a

network interface using a protocol from IEEE 10 Mbit Ethernet, IEEE 100 Mbit Ethernet,

or IEEE 1000 Mbit Ethernet is used in the optical LAN.




                                         Appx3477
Application/Control Number: 17/138,794                                              Page 46
Art Unit: 2636
       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the teachings of Finley and Cvijin et

al to the system/method of Husbands et al and Yuki et al so that a high data rate

Ethernet protocol can be used in the optical LAN, and a high efficient and high speed

Ethernet LAN can be obtained.



                                          Conclusion

12.    THIS ACTION IS MADE FINAL. Applicant is reminded of the extension of time

policy as set forth in 37 CFR 1.136(a).

       A shortened statutory period for reply to this final action is set to expire THREE

MONTHS from the mailing date of this action. In the event a first reply is filed within

TWO MONTHS of the mailing date of this final action and the advisory action is not

mailed until after the end of the THREE-MONTH shortened statutory period, then the

shortened statutory period will expire on the date the advisory action is mailed, and any

extension fee pursuant to 37 CFR 1.136(a) will be calculated from the mailing date of

the advisory action. In no event, however, will the statutory period for reply expire later

than SIX MONTHS from the mailing date of this final action.



13.    Any inquiry concerning this communication or earlier communications from the

examiner should be directed to LI LIU whose telephone number is (571)270-1084. The

examiner can normally be reached 9 am - 6 pm.

       Examiner interviews are available via telephone, in-person, and video

conferencing using a USPTO supplied web-based collaboration tool. To schedule an




                                          Appx3478
Application/Control Number: 17/138,794                                            Page 47
Art Unit: 2636
interview, applicant is encouraged to use the USPTO Automated Interview Request

(AIR) at http://www.uspto.gov/interviewpractice.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Kenneth Vanderpuye can be reached on 5712723078. The fax phone

number for the organization where this application or proceeding is assigned is 571-

273-8300.

       Information regarding the status of published or unpublished applications may be

obtained from Patent Center. Unpublished application information in Patent Center is

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center for more information about Patent Center and

https://www.uspto.gov/patents/docx for information about filing in DOCX format. For

additional questions, contact the Electronic Business Center (EBC) at 866-217-9197

(toll-free). If you would like assistance from a USPTO Customer Service

Representative, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/LI LIU/
Primary Examiner, Art Unit 2636
January 28, 2022




                                       Appx3479
             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

                   BEFORE THE PATENT TRIAL AND APPEAL BOARD



                                 Application No. 17/138,794

 Title: COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA
                               NETWORK

 Inventor: Alexander I. Soto et al.                                  Confirmation No. 1022

 Filing Date: December 30, 2020                                            Examiner: Li Liu

 Attorney Docket No. UBI-005E                                         Group Art Unit: 2636



                                      APPEAL BRIEF


TO THE COMMISSIONER FOR PATENTS:

       Pursuant to the Notice of Appeal filed May 2, 2022, the Applicant appeals from the
final rejection of pending claims 1-24 set forth in the final Office action dated February 2,
2022 (herein the "Final Office Action" or simply "Office Action").

       The Applicant petitions for a two-month extension of time. If any additional fee is
due with this appeal brief, the Office is authorized to charge Deposit Account No. 50-5836.




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                                                              Appx3518
I.         REAL PARTY IN INTEREST

       The real parties in interest are the named inventors.


II.        RELATED PROCEEDINGS

           Appeal No. 2009-006986 in U.S. Patent App. No. 10/886,514 is related to the present
application. The present application claims priority to U.S. Patent App. No. 10/886,514.

           No other appeal, interference or judicial proceeding is related to, would directly
affect, or would be directly affected by or have a bearing on the Board's decision in this
appeal.


III.       SUMMARY OF CLAIMED SUBJECT MATTER

           Claims 1-24 are pending in the present application, of which claims 1, 23, and 24 are
in independent form.

           The following table summarizes independent claims 1, 23, and 24 as required by 37
C.F.R. § 41.37(c)(l)(iii), with citations to the application as filed.      These citations are
provided in accordance with 37 C.F.R. § 41.37(c)(l)(iii) to illustrate specific examples and
embodiments supporting the recited claim language, and not to limit the claims. These
citations are meant only to illustrate specific examples of support and are not meant to be
exhaustive references of all possible support in the specification for particular claim language.




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                                           Appx3519
 A Local Area Network (LAN) client for a passive optical LAN,
 the passive optical LAN disposed to having a head end and one
 or more passive optical splitters for coupling the LAN client
                                                                    Figure l; 123
 over one or more optical fibers to the head end of the passive
 optical LAN, the LAN client for a passive optical LAN
 comprising of:

 an optical interface for converting a downstream optical signal
 on a downstream optical wavelength to a downstream electrical
 signal and for converting an upstream electrical signal to an      Figure l; 11 25, 30
 upstream optical signal and emitting the upstream optical signal
 on an upstream optical wavelength;

 at least one network interface for receiving user data; and        Figure l; 1 30

 a control module electrically coupled to the optical interface
 and electrically coupled to the at least one network interface     Figure l; 1 30
 and

 wherein the control module processes the downstream
 electrical signal having a downstream control and downstream
                                                                    Figure 2; 11 33-34
 data information to recover an upstream bandwidth allocation
 from the downstream control information and

 wherein the control module receives user data from the at least
 one network interface and the control module responsive to the
 upstream bandwidth allocation generates the upstream               Figure 3A; 11 35-36
 electrical signal having upstream control and upstream data
 information and

 wherein at least a portion of the user data is included in the
                                                                    Figure 3A; 1 36
 upstream data information,




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                                          Appx3520
 whereby the LAN client for a passive optical LAN
 communicates user data upstream responsive to an upstream          Figure 2; 11 34-36
 bandwidth allocation.




 A Local Area Network (LAN) client for a passive optical LAN,
 the passive optical LAN disposed to having a head end and one
 or more passive optical splitters for coupling the LAN client
                                                                    Figure l; 123
 over one or more optical fibers to the head end of the passive
 optical LAN, the LAN client for a passive optical LAN
 comprising of:

 an optical interface for converting a downstream optical signal
 on a downstream optical wavelength to a downstream electrical
 signal and for converting an upstream electrical signal to an      Figure l; 11 25, 30
 upstream optical signal and emitting the upstream optical signal
 on an upstream optical wavelength;

 at least one network interface for receiving user data; and        Figure l; 1 30

 a control module electrically coupled to the optical interface
 and electrically coupled to the at least one network interface     Figure l; 1 30
 and

 wherein the control module processes the downstream
 electrical signal having a downstream control and downstream
                                                                    Figure 2; 11 33-34
 data information to recover an upstream bandwidth allocation
 from the downstream control information

 wherein the upstream bandwidth allocation includes a start and
                                                                    Figure 2; 1 34
 end time slot number or a start time and length of time and


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                                         Appx3521
 wherein the control module receives user data from the at least
 one network interface and the control module responsive to the
 upstream bandwidth allocation generates the upstream               Figure 3A; 11 35-36
 electrical signal having upstream control and upstream data
 information and

 wherein at least a portion of the user data is included in the
                                                                    Figure 3A; 1 36
 upstream data information,

 whereby the LAN client for a passive optical LAN
 communicates user data upstream responsive to an upstream          Figure 2; 1 34-36
 bandwidth allocation.




 A Local Area Network (LAN) client for a passive optical LAN,
 the passive optical LAN disposed to having a head end and one
 or more passive optical splitters for coupling the LAN client
                                                                    Figure l; 123
 over one or more optical fibers to the head end of the passive
 optical LAN, the LAN client for a passive optical LAN
 comprising of:

 an optical interface for converting a downstream optical signal
 on a downstream optical wavelength to a downstream electrical
 signal and for converting an upstream electrical signal to an      Figure l; 11 25, 30
 upstream optical signal and emitting the upstream optical signal
 on an upstream optical wavelength;

 at least one network interface for receiving user data; and        Figure l; 1 30




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                                          Appx3522
 a control module electrically coupled to the optical interface
 and electrically coupled to the at least one network interface    Figure l; 1 30
 and

 wherein the control module processes the downstream
 electrical signal having a downstream control and downstream
                                                                   Figure 2; 11 33-34
 data information to recover an upstream bandwidth allocation
 from the downstream control information

 wherein the upstream bandwidth allocation includes a start and
                                                                   Figure 2; 1 34
 end time slot number or a start time and length of time and

 wherein the control module receives user data from the at least
 one network interface and the control module responsive to the
 upstream bandwidth allocation generates the upstream              Figure 3A; 11 35-36
 electrical signal having upstream control and upstream data
 information and

 wherein at least a portion of the user data is included in the
                                                                   Figure 3A; 1 36
 upstream data information,

 whereby the LAN client for a passive optical LAN ends the
 optical upstream signal emissions responsive to the end time      Figure 2; 1 34-36
 slot number or the end of the length of time and

 whereby the LAN client for a passive optical LAN
 communicates user data upstream responsive to an upstream         Figure 2; 1 34-36
 bandwidth allocation.




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                                          Appx3523
N.         ARGUMENTS

           A.     Rejections on Appeal

           The Final Office Action rejected claims 1, 3-6, 11-14, 17, 18, 23, and 24 under 35
U.S.C. § 103(a) as allegedly being unpatentable over Husbands (U.S. Patent No. 4,781,427) in
view of Yuki (U.S. Patent No. 6,778,557).

           Claims 2 and 7 were rejected as allegedly being unpatentable over Husbands in view of
Yuki and further in view of Finley ("Optical Fibers in Local Area Networks," IEEE
Communications Magazine, Vol. 22, No. 8, August 1984, pp. 22-34).

           Claim 8 is rejected as allegedly being unpatentable over Husbands in view of Yuki
and further in view of Xu (U.S. Patent No. 7,181,142).

           Claim 9 is rejected as allegedly being unpatentable over Husbands in view of Yuki
and further in view of ITU-T (ITU-T Recommendation G.983.1 Broadband optical access
systems based on Passive Optical Networks (PON), October 1998).

           Claim 10 is rejected as allegedly being unpatentable over Husbands in view of Yuki
and further in view of Warden (U.S. Patent App. Pub. No. 2003/0189935).

           Claims 15, 16, 19, and 20 are rejected as allegedly being unpatentable over Husbands
in view of Yuki and further in view of Chang (U.S. Patent App. Pub. No. 2003/0020991) and
Masucci (U.S. Patent No. 6,498,667).

           Claim 21 is rejected as allegedly being unpatentable over Husbands in view of Yuki
and further in view of Mahony (U.S. Patent No. 6,668,127).

           Claim 22 is rejected as allegedly being unpatentable over Husbands in view of Yuki
and further in view of Finley and Vujkovic-Cvijin (U.S. Patent App. Pub. No. 2003/0039015).




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                                           Appx3524
           B.     Standard for Obviousness Rejections.

           "The PTO has the burden under section 103 to establish a prima fade case of
obviousness." In re Fine, 837 F.2d 1071, 1074 (Fed. Cir. 1988) (citing In re Piasecki, 745 F.2d
1468, 1471-72 (Fed. Cir. 1984)). "[O]bviousness requires a suggestion of all limitations in a
claim." CFMT Inc. v. Yieldup Int'J Corp., 349 F.3d 1333, 1342 (Fed. Cir., 2003) (citing In re
Royka, 490 F.2d 981, 985 (CCPA 1974) (emphasis added)); see also In re TVilson, 424 F.2d
1382, 1385 (CCPA 1970) ("All words in a claim must be considered in judging the
patentability of that claim against the prior art" under § 103); see also MPEP § 2143.03
(same). Thus, when determining whether a claim is obvious, an examiner must make "a
searching comparison of the claimed invention - including all its limitations - with the
teaching of the prior art." In re Wada, No. 2007-3733, slip op. at 7 (BPAI Jan. 14, 2008)
(quoting In re Ochiai, 71 F.3d 1565, 1572 (Fed. Cir. 1995)) (emphasis added).

           It is also well-settled that, to establish a prima fade case of obviousness, the Office
must set forth an explicit analysis supporting the rejection. MPEP § 2142. That analysis
must include "some articulated reasoning with some rational underpinning to support the
legal conclusion of obviousness." KSR Int'J v. Teleflex Inc., 550 U.S. 398, 418 (2007) (quoting
In re Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006)). In addition, "the Patent Office has the initial
duty of supplying the factual basis for its rejection [and] may not resort to speculation,
unfounded assumptions or hindsight reconstruction to supply deficiencies in its factual
basis." In re Warner, 379 F.2d 1011, 1017 (CCPA 1967).

           Finally, obviousness cannot be established by hindsight combination to produce the
claimed invention. The Supreme Court has emphasized that examiners must avoid hindsight
reconstruction of an applicant's invention:

                       A factfinder should be aware, of course, of the distortion
                  caused by hindsight bias and must be cautious of arguments
                  reliant upon ex post reasoning. See Graham [v. John Deere Co.},


UBI-OOSE                                   Appeal Brief                                  Page 7 of 20

                                            Appx3525
              383 U.S. [1,] 36, 86 S. Ct. 684, 15 L. Ed. 2d 545 [(1966)] (warning
              against a "temptation to read into the prior art the teachings of
              the invention in issue" and instructing courts to "'guard against
              slipping into use of hindsight"' (quoting Monroe Auto Equip.
              Co. v. Heckethorn Mfg. & Supply Co., 332 F.2d 406, 412 (6th
              Cir. 1964))).

KSR, 550 U.S. at 421. The Federal Circuit has reiterated this point:

                    We have observed that "the prejudice of hindsight bias"
              often overlooks that the "genius of invention is often a
              combination of known elements which in hindsight seems
              preordained."      Power Integrations, Inc. v. Fairchild
              Semiconductor Int'l, Inc., 711 F.3d 1348, 1368 (Fed. Cir. 2013)
              (quoting McGinley v. Franklin Sports, Inc., 262 F.3d 1339, 1351
              (Fed. Cir. 2001)). We have also recognized that, "[w]hen the art
              in question is relatively simple, as is the case here, the
              opportunity to judge by hindsight is particularly tempting."
              McGinley, 262 F.3d at 1351 (citations omitted).

Polaris Indus., 882 F.3d at 1068. The MPEP reiterates this point. MPEP § 2142 states that
"impermissible hindsight must be avoided and the legal conclusion must be reached on the
basis of the facts gleaned from the prior art." MPEP § 2145(X)(A) also states, "'Any judgment
on obviousness is in a sense necessarily a reconstruction based on hindsight reasoning, but so
long as it takes into account only knowledge which was within the level of ordinary skill in
the art at the time the claimed invention was made and does not include knowledge gleaned
only from applicant's disclosure, such a reconstruction is proper"' (quoting In re McLaughlin,
443 F.2d 1392, 1395 (CCPA 1971)).




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                                         Appx3526
           C.    The§ 103 Rejections of Claims 1, 3-6, 11-14, 17, 18, 23, and 24 Should be
                 Reversed.

           Independent claim 1 recites that "the control module receives user data from the at
least one network interface and the control module responsive to the upstream bandwidth
allocation generates the upstream electrical signal having upstream control and upstream
data information," "the control module responsive to the upstream bandwidth allocation
generates the upstream electrical signal having upstream control and upstream data
information," and "the LAN client for a passive optical LAN communicates user data
upstream responsive to an upstream bandwidth allocation." Independent claims 23 and 24
include similar limitations.

           The Examiner recognized that these limitations were not disclosed by Husbands and
instead relied on Yuki. Office Action at 13-17. The combination of Husbands and Yuki is
fundamentally flawed. Husbands operates in a peer-to-peer manner that is the opposite of
the master/slave operation in Yuki.        Husbands' does not even have the processing for
performing the operations from Yuki. The Examiner's rationale to modify Husbands ignores
these deficiencies, relies on logical errors, and is based on hindsight.

                  1. Incorporating the disclosure of Yuki into Husbands would change the
                     principle of operation of Husbands and render Husbands unsuitable for its
                     intended purpose.

           A modification or combination must not "require a substantial reconstruction and
redesign of the elements" in a reference or "a change in the basic principles under which [a
reference] was designed to operate." In re Ratti, 270 F.2d 810, 813 (CCPA 1959). "If [the]
proposed modification would render the prior art invention being modified unsatisfactory
for its intended purpose, then there is no suggestion or motivation to make the proposed
modification." MPEP § 2143.0l(V) (citing In re Gordon, 733 F.2d 900 (Fed. Cir. 1984)).




UBI-00SE                                  Appeal Brief                                Page 9 of 20

                                           Appx3527
           Husbands is a peer-to-peer network, not a master slave network as in Yuki. Husbands
network uses carrier sense multiple access (CSMA) with collision detection (CD) or
CSMA/CD.        Husbands at 2:29-31. "This protocol features no central controller and any
terminal can initiate communications to other terminals." Id. at 2:35-37, emphasis added.


           The architecture of the prior art to Husbands and the embodiments described in
Husbands confirms this communication technique. In Figures 1 and 2, any terminal T can
communicate with another through a repeater or star coupler without a master.               Id. at
Figures 1 and 2, and 3:2-52. The "head-end repeater R" of Figure 1 does not include any
processing. It only compensates for the different optical loss between near and far terminals
T. Id. at 3: 15-19. Figure 2 uses a passive star coupler. Id. at 3:30-33.

           Figure 3 introduces an improvement to the passive star coupler of Figure 2. All
transmitters T transmit to a fiber optic star 10, which combines the signals together. Id. at
3:60-61. "The resulting signal is amplified and distributed through a second outbound star
12." Id. at 61-63. No processing is included in the stars 10 and 12. As illustrated in Figure 4,
only receivers 32 and 84 and transmitters 30 and 82 are illustrated to propagate the signals.
Id. at Figure 4.

                         Each of the 8 ports on one side of the star couplers 26 and
                 28 are dedicated to terminal interconnections. On the other side
                 of the star couplers, one port is terminated through a connecter
                 ether to the optical receiver 32 or to the optical transmitter 30.
                   Optical transmissions from a terminal 14 enter the input star
                 coupler 26 and are detected by the receiver 32. The electrical
                 output of this receiver 32 drives the head-end transmitter 30,
                 which launches light back into the output star 28. This light is
                   divided by the star 28 and broadcast to all of the terminals.




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                                              Appx3528
Id at 19-30. This is the foundation of the operation in Husbands. A signal from a terminal
enters a star coupler. One output of the star coupler is received by a receiver R, electrically
transmitted to transmitter T, and split to all of the devices through the output star coupler.

           Figure 5 does not add any details to the star coupler operation. Figure 5 only provides
the details on the terminals, that is, the fiber optic modem 18 of Figure 4. Id at 4:47-49.
Figure 6 illustrates the expandability of the network where a terminal is replaced with the
dual star coupler of Figure 4. Id 5: 15-16.

           Figure 7 adds no control of the network to the node.         The activity detector 48
provides statistics and provides information to be displayed. Id at 5:53-64. The babble
detector 50 only "monitors the incident optical Manchester waveform of the packets and
signals excessive collision counts. Id at 5:64-6:2. The optical time domain reflectometer
(OTDR) measures reflections to monitor continuity of the fiber optic cables. Id at 6: 10-17.
Finally, Husbands discloses a video distribution service that may be input into an auxiliary
port 44. Id at 6: 18-20. However, this is merely a way of transmitting a video channel to the
terminals. Id at 6:21-25 and 6:41-43.

           The change to Figure 8 is the use of the star coupler 62 to use a single fiber between
the star coupler and the terminals. The head-end receiver 66 merely receives transmissions
and retransmits them back into the star coupler 62 to operate bidirectionally. Id at 7: 1-6.
Figure 9 is the cascading of the devices of Figure 8 similar to that of Figure 6. Finally, Figure
10 discloses a system similar to that of Figure 8 but with a change in wavelength at the head-
end node 74. Id at 7:48-54.

           The nodes and terminals of Husbands involve either (1) no processmg or (2)
specialized functions, none of which are control of the network in any manner.                 The
receivers and transmitters merely repeat signals and perform no processing. The babble
detector 50 and activity monitor 48 merely provide information, not control of the network.


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                                            Appx3529
Finally, the video distribution service merely provides video channels and is out of band for
the main network communication.

           In stark contrast, Yuki requires a master that manages the network. The slave units
issue reports on an amount of data needed. Yuki 2:21-23. The master unit instructs the slave
units on a maximum number of bits that may be transmitted. Id 2:23-27.

           The operation of Yuki changes the principle of operation of Husbands. First, this is a
fundamental change from the terminals of Husbands that may transmit at any time, only
stopping if the network is being used. No terminal in Husbands gives others permission to
transmit data. Second, a master-slave network necessarily needs some processing. The nodes
of Husbands themselves have none. The transmitters and receivers are merely repeaters.

           Any remaining terminals in Husbands are fundamentally different from a network
master. The babble detector has a specific purpose to detect collisions. The OTDR checks
the continuity of fibers.      The activity detector provides statistics.   A video distribution
service provides out-of-band video channels to the normal network communications. No
device has any network control functionality.

           Finally, the operation of Yuki makes the terminals of Husbands unsuitable for their
intended purpose. As described above, it is a feature of Husbands that there is no central
controller and any terminal can initiate communications. Yuki's system specifically requires
a master and requires the slaves to ask for permission to transmit data.

           Accordingly, there is no rational basis to modify the peer-to-peer system of Husbands
with the master/slave system of Yuki.

                  2. The alleged rationale to combine Yuki with Husbands is not rational.

           The Examiner's rationales to combine Yuki with Husbands do not support the
combination. First, the Examiner appears to confuse CSMA with CDMA. As an alleged
rationale to combine Yuki with Husbands, the office alleges that "FDM (Frequency Division

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                                            Appx3530
Multiplex), FDMA (Frequency Division Multiple Access), CDMA (Code Division Multiple
Access), and the like" can be easily adapted to different protocols. Office Action at 16.
However, CDMA and CSMA are not the same. In CSMA collisions are both inherent and
detected to control access. Husbands at 2:49-54. After data is garbled by a collision, the data
must be retransmitted. Id. at 2:54-58. Frequency division or code division access systems
allow for simultaneous transmission. For example, in CDMA "a signal string characteristic
for each optical network unit ONU is generated so that all signal strings can be detected even
in the event that there is an overlap between several signal strings received simultaneously at
the center OLT." U.S. Patent No. 6,011,637 ("Pfeiffer") at 4:41-46. That the system of Yuki
may be used where CDMA is used does not provide a reason to use Yuki's system in the
CSMA system of Husbands.

           The Examiner also irrationally relied on Yuki's applicability to master/slave systems.
The Examiner argued that "point-to-multipoint communication systems such as LANs ... are
commonly configured such that a master unit and a plurality of slave units communicate by
sharing, for example, transmission lines[.]" Office Action at 16-17. The Examiner argued
that the point-to-multipoint system of Yuki was widely applicable to systems with a master
unit and slave units. Id. at 17. The Examiner's reliance on the applicability of Yuki's system
to master/slave systems is misplaced as Husbands does not have a master/slave system. Thus,
any argument that Yuki's system may be incorporated into an existing master/slave system is
inapplicable to Husbands.

           The Examiner's modifications are premised on the head end of Husbands including
the head end 24 of Figure 4 and "the monitor 48 and OTDR etc." Office Action at 12.
Husbands does not refer to this combination as the head end. The activity monitor and
OTDR are separate from the head end 24 of Figure 4 or the star node 46 of Figure 7.
Husbands at Figures 4 and 7. The activity monitor 48 is effectively another terminal. It
could be placed anywhere on the network as all traffic is transmitted to all terminals.       It is

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                                            Appx3531
not necessarily part of the head end 24 or the star node 46. As described above, the OTDR is
a piece of test equipment to test the optical fibers. Nothing discloses that one skilled in the
art would include the activity monitory 48 or OTDR in a head end or even consider the
combination to be a head end.

           The Examiner implies that Yuki's access protocol can be used in a LAN that has
CSMNCD. Office Action at 6. However, Yuki is a wholesale replacement for a CSMA/CD
based system.       CSMNCD inherently has collisions.        Husbands 2:49-54.     Yuki's system
eliminates collisions, particularly, the ones from CSMNCD. Yuki at 2:29-34. One skilled in
the art would not use Yuki's protocol that does not have collisions to modify a CSMNCD
system that inherently has collisions.

           The Examiner's logic with respect to point-to-multipoint communication systems and
LANs in Yuki is flawed.         The Examiner alleges that point-to-multipoint communication
systems may be a LAN. Id. at 11 and 16, citing Yuki at 1:17-23. Yuki only mentions a LAN
in one location. Yuki at 1:17-23. However, this LAN is a configuration with "master unit
and a plurality of slave units." Id.     Thus, it is not applicable to the peer-to-peer system of
Husbands.

           Next, the Examiner relies on a logical fallacy to allege that Figure 1 of Yuki is a LAN
and that the protocol is applicable to a LAN. The Examiner's logic is that (1) Figure 1 is a
point to multipoint system, (2) some point-to-multipoint communication systems are LANs,
and therefore (3) Figure 1 of Yuki is a LAN and (4) Yuki's system may be applied to any LAN.
This logic requires that all point-to-multipoint communication systems are LANs. Without
that, the logic fails at (2). Unfortunately, Yuki only discloses that some point-to-multipoint
communication systems are LANs.

           Reinforcing this point, Yuki discloses that Figure 1 is "an optical access network[,]"
not a LAN. Yuki at 11:58-59. Yuki lists an optical subscriber access network as a different


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                                            Appx3532
type of communication system from a LAN, CATV network, and a satellite communication
network. Id at 1:17-19. In access networks, data flows in a downstream direction from a
head-end to terminals and in an upstream direction from the terminals to the head end. See
U.S. Patent No. 6,023,467 at 3:44-51. The head-end and terminals are not peer entities. Id
at 3:54-58. This matches the upstream and downstream direction of data in Yuki. See Yuki
at Figure 4 and 12:43-59 (describing the upstream and downstream transmission frames).
This is in contrast to the peer-to-peer LAN of Husbands where "any terminal can initiate
communications to other terminals." Husbands at 2:35-37.

           The Examiner's repeated attempts to connect Yuki to a LAN are explained by the
previous rejections. The Examiner previously rejected the claims based on Umayabashi,
Unitt, and Pfeiffer.     Office Action dated July 13, 2021 at 17-18.      As explained in the
Response, Umayabashi, Unitt, and Pfeiffer are access networks and not LANs. Response
dated September 15, 2021 at 2-4.

           The Examiner needed to find a reference with a passive optical LAN with the
functions recited in the claims. That led to the use of Husbands in the next office action.
Non-final Office Action dated October 8, 2021 at 5. However, Husbands was missing the
recited functions. The Examiner then attempted to incorporate Yuki by any way possible.
As described above, the reasons to incorporate Yuki are not sufficient.

                 3. The Examiner is relying on hindsight.

           Here, the Examiner has been unable to find a reference that would be combined with
Husbands CSMA/CD based system. Yuki discloses using time division multiplexing (TDM)
and time division multiple access (TDMA) as part of the system. Yuki at 12:45-54. Yuki
discloses that although TDM and TDMA may be used, Yuki's access protocol may be used
with other types of access control such as CDMA, FDM, and FDMA. Id at 29:65-30:4.




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                                          Appx3533
           Conspicuously absent from the list of access control protocols is CSMNCD.
CSMNCD appears over 39 times in Yuki, including Figures 18 20 21 27 and 28 comparing
CSMNCD to Yuki's system. However, Yuki never mentions that the system may be used
with CS MA/CD.

           Accordingly, the combination of Husbands and Yuki does not disclose or suggest each
and every limitation of claims 1, 23, and 24 and the rejections should be reversed. Claims 1,
3-6, 11-14, 17, and 18 depend from claim 1, and the rejections should be reversed for at least
the reason that claim 1. See In re Fine, 837 F.2d at 1076 (allowing dependent claims that
depend from and further limit allowable base claims); see also MPEP § 2143.03 (same).


           D.    The§ 103 Rejection of Claims 2 and 7 Should be Reversed.

           Claims 2 and 7 were rejected based on Husbands and Yuki and further in view of
Finley.      However, Finley does not cure the deficiencies of Husbands and Yuki.       Finley
focuses on "the application of optical transmission technology to the local interconnection
structures that we call local area networks (LAN's)." Finley at 1. Finley does not disclose
adding a master to a peer-to-peer CSMA/CD based network and modifying attached
terminals to act as slaves to the master. In fact, Finley emphasizes that a LAN is "a data
communication system that allows a number of independent, non-homogenous devices to
communicate with each other[.]"         Id, emphasis added.    Finley lists the distinguishing
features of a LAN, none of which involve aspects of a master/slave system. Id

      Accordingly, the combination of Husbands, Yuki, and Finley does not disclose or
suggest each and every limitation of claim 1. The rejection of dependent claims 2 and 7
should be reversed.




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                                           Appx3534
           E.    The § 103 Rejection of Claim 8 Should be Reversed.

           Claim 8 was rejected based on Husbands and Yuki and further in view of Xu. Xu does
not cure the deficiencies of Husbands and Yuki. Xu focuses on adding local networking
services to a conventional passive optical network (PON) using Ethernet CSMA/CD MAC.
Xu at 7:52-57. A symmetric coupler arrangement provides this functionality. Id. at 56-57.
Xu's system "enables a simplified (e.g., CSMNCD) MAC to be implemented in the optical
domain such that no other complicated MAC protocol is required." Id. at 8:2-4. Thus, Xu
teaches against making the modification to a CSMA/CD based system to remove the
CSMNCD system and incorporate the complicated protocol of Yuki as proposed by the
Examiner.

      Accordingly, the combination of Husbands, Yuki, and Xu does not disclose or suggest
each and every limitation of claim 1.        The rejection of dependent claims 8 should be
reversed.


           F.    The § 103 Rejection of Claim 9 Should be Reversed.

           Claim 9 was rejected based on Husbands and Yuki and further in view of ITU-T.
ITU-T does not cure the deficiencies of Husbands and Yuki. ITU-T focuses on an optical
access network, not a LAN. ITU-T at 5. ITU-T does not disclose adding a master to a peer-
to-peer CSMNCD based network and modifying attached terminals to act as slaves to the
master.

      Accordingly, the combination of Husbands, Yuki, and ITU-T does not disclose or
suggest each and every limitation of claim 1. The rejection of dependent claim 9 should be
reversed.




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                                          Appx3535
           G.    The§ 103 Rejection of Claim 10 Should be Reversed.

           Claim 10 was rejected based on Husbands and Yuki and further in view of Warden.
Warden does not cure the deficiencies of Husbands and Yuki. Warden focuses on adding

quality of service (QoS) to a system that does not support QoS. Warden 1 3. Warden adds
QoS processing to the processing in the processor 26 that already exists in a Fibre Channel
switch 20.      Id. 1 105-109, describing the routing of frames by the processor 26 and the
additional QoS scheduling. Warden does not disclose adding processing where processing
did not exist, adding a master to a peer-to-peer CSMA/CD based network, and modifying
attached terminals to act as slaves to the master.

      Accordingly, the combination of Husbands, Yuki, and Warden does not disclose or
suggest each and every limitation of claim 1. The rejection of dependent claim 10 should be
reversed.


           H.    The § 103 Rejection of Claims 15, 16, 19, and 20 Should be Reversed.

           Claims 15, 16, 19, and 20 were rejected based on Husbands and Yuki and further in
view of Chang and Masucci. Chang and Masucci do not cure the deficiencies of Husbands
and Yuki. Chang focuses on an access network similar to Yuki where optical network units
(ONUs) communication with an optical line terminal (OLT), which is connected to an IP

network. Chang 11 8 and 27. Masucci focuses on a PON 16 between a wide area network
(WAN) 39 and a LAN 33. Masucci at 3:32-34, 3:46-49, 5:9-14, and Figure 1. Chang and
Masucci do not disclose adding a master to a peer-to-peer CSMA/CD based network and
modifying attached terminals to act as slaves to the master.

      Accordingly, the combination of Husbands, Yuki, Chang, and Masucci does not
disclose or suggest each and every limitation of claim 1. The rejection of dependent claims
15, 16, 19, and 20 should be reversed.




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                                          Appx3536
           I.     The § 103 Rejection of Claim 21 Should be Reversed.

           Claim 21 was rejected based on Husbands and Yuki and further in view of Mahony.
Mahony does not cure the deficiencies of Husbands and Yuki. Mahony focuses on a fiber
optic drop that includes various physical components and fittings.         Mahony at Abstract.
Mahony does not disclose adding a master to a peer-to-peer CSMNCD based network and
modifying attached terminals to act as slaves to the master.

        Accordingly, the combination of Husbands, Yuki, and Mahony does not disclose or
suggest each and every limitation of claim 1. The rejection of dependent claim 21 should be
reversed.


           J.     The § 103 Rejection of Claim 22 Should be Reversed.

           Claim 22 was rejected based on Husbands and Yuki and further in view of Finley and
Vujkovic-Cvijin. Finley and Vujkovic-Cvijin do not cure the deficiencies of Husbands and
Yuki.       Vujkovic-Cvijin focuses on a dense wavelength division multiplexing transmitter
using low cost discrete optical components.          Vujkovic-Cvijin at Abstract.   As described
above, Finley discloses independent, non-homogenous devices communicating on a LAN.
Neither discloses adding a master to a peer-to-peer CSMA/CD based network and modifying
attached terminals to act as slaves to the master.

        Accordingly, the combination of Husbands, Yuki, Finley, and Vujkovic-Cvijin does not
disclose or suggest each and every limitation of claim 1. The rejection of dependent claim 22
should be reversed.




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                                           Appx3537
V.         CONCLUSION

           Based at least on the foregoing, the Applicant respectfully requests that the Board
reverse the Examiner's rejections of all pending claims 1-24.

                                              Respectfully submitted,

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                                           Appx3538
                                LISTING OF CLAIMS ON APPEAL

1.) A Local Area Network (LAN) client for a passive optical LAN, the passive optical LAN
    disposed to having a head end and one or more passive optical splitters for coupling the
    LAN client over one or more optical fibers to the head end of the passive optical LAN, the
    LAN client for a passive optical LAN comprising of:


                  an optical interface for converting a downstream optical signal on a
           downstream optical wavelength to a downstream electrical signal and for converting
           an upstream electrical signal to an upstream optical signal and emitting the upstream
           optical signal on an upstream optical wavelength;
                  at least one network interface for receiving user data; and
                  a control module electrically coupled to the optical interface and electrically
           coupled to the at least one network interface and wherein the control module
           processes the downstream electrical signal having a downstream control and
           downstream data information to recover an upstream bandwidth allocation from the
           downstream control information and wherein the control module receives user data
           from the at least one network interface and the control module responsive to the
           upstream bandwidth allocation generates the upstream electrical signal having
           upstream control and upstream data information and wherein at least a portion of the
           user data is included in the upstream data information,
                  whereby the LAN client for a passive optical LAN communicates user data
           upstream responsive to an upstream bandwidth allocation.


2.) The LAN client for a passive optical LAN of claim 1, wherein the control module includes
    an Ethernet MAC.




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                                              Appx3539
3.) The LAN client for a passive optical LAN of claim 1, wherein the control module includes
    a passive optical LAN protocol processor.

4.) The LAN client for a passive optical LAN of claim 1, wherein the control module further
    adjusts timing of the generation of the upstream electrical signal responsive to receiving a

    response delay message.

5.) The LAN client for a passive optical LAN of claim 1, wherein the control module is
    configured to receive in the downstream electrical signal a network identification address
    assigned to the LAN client and wherein the network identification address can be used
    by the control module for receiving downstream data information addressed to the LAN
    client for a passive optical LAN.


6.) The LAN client for a passive optical LAN of claim 1, wherein the control module
    performs operation administration and maintenance (OAM) message processing.


7.) The LAN client for a passive optical LAN of claim 1, wherein the control module is
    configured to manage the transmission and reception of optical data link layer
    communications through the optical interface based on at least one optical data link layer
    address and wherein the control module includes an Ethernet Media Access Control
    (MAC) configured to enable Ethernet communications through the at least one network
    interface.


8.) The LAN client for a passive optical LAN of claim 1, wherein the LAN client adjusts the
    optical power level of the upstream optical signal responsive to receiving a message.


9.) The LAN client for a passive optical LAN of claim 1, wherein the LAN client receives a
    request for new LAN clients to identify themselves and the LAN client responds with a
    message including a serial number for identifying the LAN client.


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                                              Appx3540
10.)       The LAN client for a passive optical LAN of claim 1, wherein the downstream control
    information includes a consecutive sequence of bits for the LAN client to identify the
    beginning of a downstream frame, wherein the downstream frame includes the
    downstream control and data information.


11.)       The LAN client for a passive optical LAN of claim 1, wherein the upstream control
    information includes user data buffering status information.

12.)       The LAN client for a passive optical LAN of claim 1, wherein the control module
    processes the downstream electrical signal having successive downstream frames.


13.)       The LAN client for a passive optical LAN of claim 12, wherein a downstream frame
    includes a first number of downstream subframes having one or more downstream
    formats and wherein each downstream subframe includes a second number of
    downstream slots of time.


14.)       The LAN client for a passive optical LAN of claim 13, wherein a downstream
    subframe includes a downstream communication channel for communicating the
    upstream bandwidth allocation for provisioning upstream slots of time to the LAN client
    for a passive optical LAN.


15.)       The LAN client for a passive optical LAN of claim 12, wherein a downstream frame
    includes downstream packet data and wherein downstream packet data includes a
    downstream packet header and downstream packet payload and wherein the downstream
    packet header includes a field indicating the length of the downstream packet payload.


16.)       The LAN client for a passive optical LAN of claim 15, wherein the downstream packet
    payload includes at least a portion of an Ethernet frame or a Fibre Channel frame.




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                                             Appx3541
17.)       The LAN client for a passive optical LAN of claim 1, wherein the upstream optical
    signal is emitted in one or more upstream slots of time forming one or more upstream
    frames as governed by the upstream bandwidth allocation.


18.)       The LAN client for a passive optical LAN of claim 17, wherein upstream frames
    includes a first number of upstream subframes having one or more upstream formats.


19.)       The LAN client for a passive optical LAN of claim 17, wherein upstream frames
    includes an upstream packet header and an upstream packet payload and wherein the
    upstream packet header includes a field indicating an upstream packet payload length.


20.)       The LAN client for a passive optical LAN of claim 19, wherein the upstream packet
    payload includes at least a portion of an Ethernet frame or a Fibre Channel frame.


21.)       The LAN client for a passive optical LAN of claim 1, wherein the optical interface
    includes one or more optical fiber connectors selected from the group consisting
    essentially of:
           Subscriber Connector (SC);
           Lucent Connector (LC);
           Fiber Channel (FC);
           Straight TP (ST); and
           Miniature Unit (MU).


22.)       The LAN client for a passive optical LAN of claim 1, wherein the at least one network
    interface is configured to communicate using a protocol from the group consisting
    essentially of:
           IEEE lOMbit Ethernet;
           IEEE lOOMbit Ethernet;


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                                              Appx3542
           IEEE lO00Mbit Ethernet;
           Fibre Channel;
           IEEE 802.11;
           IEEE 802.16; and
           Digital Subscriber Line (DSL)


23.)       A Local Area Network (LAN) client for a passive optical LAN, the passive optical LAN
    disposed to having a head end and one or more passive optical splitters for coupling the
       LAN client over one or more optical fibers to the head end of the passive optical LAN, the
       LAN client for a passive optical LAN comprising of:


                  an optical interface for converting a downstream optical signal on a
           downstream optical wavelength to a downstream electrical signal and for converting
           an upstream electrical signal to an upstream optical signal and emitting the upstream
           optical signal on an upstream optical wavelength;
                  at least one network interface for receiving user data; and
                  a control module electrically coupled to the optical interface and electrically
           coupled to the at least one network interface and wherein the control module
           processes the downstream electrical signal having a downstream control and
           downstream data information to recover an upstream bandwidth allocation from the
           downstream control information wherein the upstream bandwidth allocation
           includes a start and end time slot number or a start time and length of time and
           wherein the control module receives user data from the at least one network interface
           and the control module responsive to the upstream bandwidth allocation generates
           the upstream electrical signal having upstream control and upstream data information
           and wherein at least a portion of the user data is included in the upstream data
           information,

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                                              Appx3543
                  whereby the LAN client for a passive optical LAN communicates user data
           upstream responsive to an upstream bandwidth allocation.


24.)       A Local Area Network (LAN) client for a passive optical LAN, the passive optical LAN
    disposed to having a head end and one or more passive optical splitters for coupling the
       LAN client over one or more optical fibers to the head end of the passive optical LAN, the
       LAN client for a passive optical LAN comprising of:


                  an optical interface for converting a downstream optical signal on a
           downstream optical wavelength to a downstream electrical signal and for converting
           an upstream electrical signal to an upstream optical signal and emitting the upstream
           optical signal on an upstream optical wavelength;
                  at least one network interface for receiving user data; and
                  a control module electrically coupled to the optical interface and electrically
           coupled to the at least one network interface and wherein the control module
           processes the downstream electrical signal having a downstream control and
           downstream data information to recover an upstream bandwidth allocation from the
           downstream control information wherein the upstream bandwidth allocation
           includes a start and end time slot number or a start time and length of time and
           wherein the control module receives user data from the at least one network interface
           and the control module responsive to the upstream bandwidth allocation generates
           the upstream electrical signal having upstream control and upstream data information
           and wherein at least a portion of the user data is included in the upstream data
           information,
                  whereby the LAN client for a passive optical LAN ends the optical upstream
           signal emissions responsive to the end time slot number or the end of the length of



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                                              Appx3544
           time and whereby the LAN client for a passive optical LAN communicates user data
           upstream responsive to an upstream bandwidth allocation.




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                                            Appx3545
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                                                       Appx3550
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             BEFORE THE PATENT TRIAL AND APPEAL BOARD


Application Number: 17/138,794
Filing Date: 30 Dec 2020
Appellant(s): Soto et al.




                                    Derek Meeker
                                    For Appellant


                              EXAMINER'S ANSWER




This is in response to the appeal brief filed on August 4, 2022.




                                 Appx3551
Application/Control Number: 17/138,794                                                                    Page 3
Art Unit: 2636
       (1) Grounds of Rejection to be Reviewed on Appeal

       Every ground of rejection set forth in the Office action dated February 2, 2022

from which the appeal is taken is being maintained by the examiner except for the

grounds of rejection (if any) listed under the subheading "WITHDRAWN REJECTIONS."

New grounds of rejection (if any) are provided under the subheading "NEW GROUNDS

OF REJECTION."

       The following ground(s) of rejection are applicable to the appealed claims.



                                 Claim Rejections - 35 USC § 103

1.     The following is a quotation of pre-AIA 35 U.S.C. 103(a) which forms the basis

for all obviousness rejections set forth in this Office action:

       (a) A patent may not be obtained though the invention is not identically disclosed or described
       as set forth in section 102, if the differences between the subject matter sought to be patented
       and the prior art are such that the subject matter as a whole would have been obvious at the
       time the invention was made to a person having ordinary skill in the art to which said subject
       matter pertains. Patentability shall not be negatived by the manner in which the invention was
       made.

2.     Claims 1, 3-6, 11-14, 17, 18, 23 and 24 are rejected under pre-AIA 35 U.S.C.

103(a) as being unpatentable over Husbands et al (US 4,781,427) in view of Yuki et al

(US 6,778,557).

       1). With regard to claim 1, Husbands discloses a Local Area Network (LAN) client

(e.g., 18/16 in Figure 4, "fiber optic modem 18" and "Sytek local net 20/100 dual port

packet communication unit 16"; also shown in Figure 5. Figure 8: optic modem card 56

and Comm Card) for a passive optical LAN (as a convention in the art, in a passive

optical network (PON) the transmission facility between the transmitter and the

receivers consists of passive (i.e., un-powered) optical components; or what makes a




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passive optical network passive is that it uses unpowered optical splitters. As shown in

Husbands' Figures 4 and 8, there is no "powered devices" between the

transmitter/receiver of the head-end and the receiver/transmitter (the optical modem) of

the LAN client; e.g., Figure 8, no powered devices between transmitter/receiver 64/66 of

the head-end 68 and the fiber optical modem card 56; the 8x8 star coupler is a passive

splitter/coupler. Therefore, the network shown in Figure 4 or Figure 8 is a passive

optical LAN), the passive optical LAN disposed to having a head end (the head end 24

in Figure 4; Figure 7, the star node 46 combined with auxiliary optical ports 44 plus the

monitor 48 and OTDR etc. form a head-end, column 5 line 42 to column 6 line 50; Head

End in Figure 8) and one or more passive optical splitters (e.g., Figure 4, "two 8x8

passive optical star couplers 26 and 28". Figure 8, "8x8 passive optical star coupler 62")

for coupling the LAN client over one or more optical fibers (Figure 4: "fiber optic cables

20 and 22". Figure 8, "a single fiber cable 60") to the head end of the passive optical

LAN (Figures 4 and 8 etc.), the LAN client for a passive optical LAN comprising of:

       an optical interface (FO XMTR and FO RCV in Figures 4 and 8) for converting a

downstream optical signal on a downstream optical wavelength (column 4 lines 3-13

and 40-42, column 7 lines 7-9, around 850 nm; or 1300 nm as shown in Figure 10,

column 7 lines 50-54) to a downstream electrical signal and for converting an upstream

electrical signal to an upstream optical signal and emitting the upstream optical signal

on an upstream optical wavelength (column 4 lines 40-42, column 7 lines 7-9, around

850 nm);




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       at least one network interface for receiving user data (Figure 5: PORT# 1 and

PORT # 2 of SYTEK COMM CARD 40 for receiving user data from user device 14.

Figure 8, COMM CARD for receiving user data from User Terminal Device); and

       a control module (interface logic in Figures 4 and 8 etc.; or Figure 5, column 4

lines 47-64) electrically coupled to the optical interface and electrically coupled to the at

least one network interface (Figures 4, 5 and 8 etc.) and wherein the control module

processes the downstream electrical signal having a downstream data information

(column 4 lines 3-13 and 40-42, and column 6 lines 18-40 etc.) and wherein the control

module receives user data from the at least one network interface (user data coming

from the User Terminal Devices as shown in Figures 4 and 8 etc.) and the control

module generates the upstream electrical signal having upstream data information

(column 4 lines 3-13 and 40-42 etc.) and wherein at least a portion of the user data is

included in the upstream data information (column 4 lines 3-13 and 40-42 etc.),

       whereby the LAN client for a passive optical LAN communicates user data

upstream (based on CSMA/CD "listen while talking", column 2 line 44, column 7 line 26-

27 and 47).

       But, Husbands et al does not expressly disclose wherein the control module

processes the downstream electrical signal having a downstream control information to

recover an upstream bandwidth allocation from the downstream control information and

the control module responsive to the upstream bandwidth allocation generates the

upstream electrical signal having upstream control and upstream data information,

whereby the LAN client for a passive optical LAN communicates user data upstream

responsive to an upstream bandwidth allocation.




                                        Appx3554
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       However, as disclosed by Husbands et al, the fiber optical LAN uses CSMA/CD

"listen while talking" protocol, and the head-end can perform other functions, e.g.,

"technical control" (monitoring, signaling, and fault isolation etc.), and "[a] video

distribution service may also be provided on an unexpanded network by use of the

auxiliary ports 44 on the outbound star node 47" (column 5 line 42 to column 6 line 50

etc.; Figure 7 etc., the star node 46 together with the auxiliary optical ports 44 etc.

function "as the network head-end", or the star node combined with auxiliary optical

ports plus the monitor 48 and OTDR etc. form a head-end), and the control logic in

Husbands' LAN client can perform "listen before talk" and "listen while talk" etc. and

determine when to transmit a signal; it is obvious to one skilled in the art that other

protocols can be used for the fiber optical LAN.

       Yuki et al discloses a protocol that allocates bandwidth dynamically (or dynamic

bandwidth allocation. Abstract, and column 2 line 9 to column 5 line 55) for a point-to-

multipoint communication system (Figure 1 etc.), which comprises a master unit (20)

and slave units (10-i) coupled to the master unit by a passive optical splitter (40), and a

control module (17 in Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84

etc.) in the slave unit electrically coupled to the optical interface (13/14 in Figures 2, 65,

68 and 76 etc.) and electrically coupled to the at least one network interface (11/12 in

Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84 etc.) and wherein the

control module processes the downstream electrical signal having a downstream control

and downstream data information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure

78 etc.) to recover an upstream bandwidth allocation from the downstream control

information (Figures 8-10 and 31 etc. "On the basis of the reports from the slave units,




                                         Appx3555
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the master unit determines an allowable amount of information for each slave unit and

permits the slave units to transmit the stored signals according to the request from the

master unit.") and wherein the control module receives user data from the at least one

network interface (user data signal from input unit 11) and the control module

responsive to the upstream bandwidth allocation generates the upstream electrical

signal having upstream control and upstream data information (Figure 5, Figure 30,

Figure 31, Figures 50-55, Figure 78 etc.) and wherein at least a portion of the user data

is included in the upstream data information (Figure 30, Figure 31, Figures 50-55,

Figure 78 etc.), whereby the slave unit for the passive optical network communicates

user data upstream responsive to an upstream bandwidth allocation (dynamic

bandwidth allocation. Abstract, and column 2 line 9 to column 5 line 55 etc.).

      Yuki et al indicates "Conventional access protocols, however, have the following

drawbacks that make these protocols incapable of handling burst traffic containing

several megabytes of data, which is expected to grow even more in the future. When,

for example, information signals generated in bursts of several megabytes are

transmitted according to the CSMA/CD protocol, the information signals are separated

into packets of about 64-1500 kB and repeatedly transmitted. Consequently, increased

burst traffic results in a markedly lower throughput because of the higher frequency of

retransmission due to packet collisions .... the delay time increases and is not constant

any longer ..... Thus, conventional access protocols for point-to-multipoint

communication systems are disadvantageous in that an increase in burst traffic

containing several megabytes of data results in a lower throughput and makes it




                                       Appx3556
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impossible to comply with time requirements for downstream transmission" (column 1

line 43 to column 2 line 6).

       However, Yuki et al's approach/protocol "allows slave units to transmit signals in

accordance with instructions from the master unit, no signal collisions occur in the

transmission line and a throughput reduction such as that observed in the case of

CSMA/CD is avoided when signals containing several megabytes of data are

transmitted in bursts." (column 2 lines 28-34; column 3 lines 43-49; column 30 lines 5-

14) and "allows the maximum amount of stored signal to be stabilized at a

comparatively low level without the increase observed in the access protocol based on

TOMA or CSMA/CD, can easily accommodate burst traffic, and is capable of reducing

the buffer memory requirements of slave units when the load factor of the transmission

line is high and the burst traffic increases in volume" (column 23 lines 14-22. And

column 21 lines 49-60; column 30 lines 19 and 26).

       Yuki et al also states "the access protocol in accordance with the present

invention can be easily adapted, for example, to FDM (Frequency Division Multiplex),

FDMA (Frequency Division Multiple Access), CDMA (Code Division Multiple Access),

and the like" (column 30 line 1-4); that is, Yuki's access protocol can be easily adapted

to different protocols, and "the like". And, Yuki et al states "Point-to-multipoint

communication systems such as LANs, CATV networks, satellite communication

networks, and optical subscriber access networks are commonly configured such that a

master unit and a plurality of slave units communicate by sharing, for example,

transmission lines such as those used in coaxial communication, optical-fiber

communication, and radio communication" (column 1 line 16-23), and "the point-to-




                                         Appx3557
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multipoint communication system of the present invention is also widely applicable to

communication systems composed of a master unit and a plurality of slave units such

that the transmission line band is allocated among the slave units by the master unit in a

controlled manner'' (column 11 line 58 to column 12 line 6); Figure 1 is a point-to-

multipoint communication system; that is, the point-to-multipoint system shown in Figure

1 can be an optical LAN. Therefore, it would have been obvious to one of ordinary skill

in the art before the effective filing date of the claimed invention to apply the dynamic

bandwidth allocation approach as taught by Yuki et al to the system/method of

Husbands et al so that a throughput reduction observed in the case of CSMA/CD is

avoided, signal collisions can be eliminated, the buffer memory requirements can be

relaxed, and the latency time elapsed before a slave/client unit transmits a signal can be

reduced, and system capacity/throughput can be increased.

       2). With regard to claim 3, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module includes a passive optical LAN

protocol processor (e.g., the control logic in Figures 4, 5 and 8 of Yuki. And

controller/processor in the slave unit of Yuki).

       3). With regard to claim 4, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module further adjusts timing of the

generation of the upstream electrical signal responsive to receiving a response delay

message (Yuki: column 2 lines 41-63, "a time of td seconds is necessary for the

transmission if all the slave units transmit kilobit signals, making it possible to secure an




                                        Appx3558
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allowed delay time of td seconds for data transmission by all the slave units"; "The

control unit 17 issues instructions regarding time slot numbers and transmission timing";

"The control packet sent from the control unit 27 to the transmission unit 23 is

transmitted to the slave units 10-1 to 10-m by the time slots of a control region provided

inside the frame. Transmission timing and time slot numbers are controlled by the

control unit 28". Figure 30 and 52 etc., "delay control region").

       4). With regard to claim 5, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module is configured to receive in the

downstream electrical signal a network identification address assigned to the LAN client

and wherein the network identification address can be used by the control module for

receiving downstream data information addressed to the LAN client for a passive optical

LAN (Husbands: column 2 lines 39-64, "If the line is quiet, the source terminal sends out

a command packet followed by the message. The command packet contains both the

destination address and the source address. Upon hearing its address, the receiving

terminal copies the message" "The collision detection process can take several forms

such as summed energy or software comparisons on the flags or addresses in the

broadband mechanization". Yuki: column 5 lines 33-55, "the master unit divides

terminal-addressed input packets and attaches headers to create fixed-length cells.

Each header contains slave unit addresses for use in the point-to-multipoint

communication system and retrieved based on the terminal addresses contained in the

input packets. Because the slave units operate such that data is retrieved only if the

addresses contained in the aforementioned headers match the addresses of the local




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stations, the transfer rate in the downstream direction for each of the slave units can be

varied in a simple manner using the master unit alone. In addition, short bit strings are

used and the transfer rate can be utilized efficiently because the addresses of the slave

units used in each header are those that have significance solely inside a point-to-

multipoint communication system. Furthermore, the address architecture used in the

point-to-multipoint communication system is hierarchized, and the addresses are set

such that a subnet is used and the slave units constitute a single network within the

entire point-to-multipoint communication system. The structure of the master unit can

thus be simplified because the portion of a terminal address for identifying the subnet

can be used directly as a slave unit address", and column 13 lines 19-25 and column 47

lines 1-10 etc.).

       5). With regard to claim 6, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module performs operation

administration and maintenance (OAM) message processing (Yuki: Figures 4 and 5, 19

etc., PLOAM sent downstream; column 14 lines 8-12, "Described below with reference

to FIGS. 6 to 10 is a first embodiment aspect, which is configured such that the master

unit 20 uses PLOAM cells to instruct slave units 10 to issue reports regarding the

information amount necessary to transmit signals"; column 33 lines 23-39; and column

51 lines 5-22 etc.).

       6). With regard to claim 11, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the upstream control information includes user data




                                       Appx3560
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buffering status information (Yuki: refer claim 1 rejection; column 12 lines 15-27, and

Figures 6, 8, 10 and 11 etc.).

         7). With regard to claim 12, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module processes the downstream

electrical signal having successive downstream frames (Yuki: e.g., Figure 4, 5, 30, 54

etc.).

         8). With regard to claim 13, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 and 12 above. And the combination of Husbands et

al and Yuki et al further discloses wherein a downstream frame includes a first number

of downstream subframes having one or more downstream formats and wherein each

downstream subframe includes a second number of downstream slots of time (Yuki:

e.g., Figures 4, 5, 30 and 54 etc.).

         9). With regard to claim 14, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 and 12-13 above. And the combination of

Husbands et al and Yuki et al further discloses wherein a downstream subframe

includes a downstream communication channel for communicating the upstream

bandwidth allocation for provisioning upstream slots of time to the LAN client for a

passive optical LAN (Yuki: e.g., Figures 5, 30, 54 etc.).

         10). With regard to claim 17, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the upstream optical signal is emitted in one or more




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upstream slots of time forming one or more upstream frames as governed by the

upstream bandwidth allocation (Yuki: e.g., Figures 4, 5, 12, 25, 29 and 31 etc.).

       11 ). With regard to claim 18, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claims 1 and 17 above. And the combination of Husbands

et al and Yuki et al further discloses wherein upstream frames includes a first number of

upstream subframes having one or more upstream formats (Yuki: Figure 25 etc.; also

Figures 5 and 50 etc.).

       12). With regard to claim 23, Husbands discloses a Local Area Network (LAN)

client (e.g., 18/16 in Figure 4, "fiber optic modem 18" and "Sytek local net 20/100 dual

port packet communication unit 16"; also shown in Figure 5. Figure 8: optic modem card

56 and Comm Card) for a passive optical LAN (as a convention in the art, in a passive

optical network (PON) the transmission facility between the transmitter and the

receivers consists of passive (i.e., un-powered) optical components; or what makes a

passive optical network passive is that it uses unpowered optical splitters. As shown in

Husbands' Figures 4 and 8, there is no "powered devices" between the

transmitter/receiver of the head-end and the receiver/transmitter (the optical modem) of

the LAN client; e.g., Figure 8, no powered devices between transmitter/receiver 64/66 of

the head-end 68 and the fiber optical modem card 56; the 8x8 star coupler is a passive

splitter/coupler. Therefore, the network shown in Figure 4 or Figure 8 is a passive

optical LAN), the passive optical LAN disposed to having a head end (the head end 24

in Figure 4; Figure 7, the star node 46 combined with auxiliary optical ports 44 plus the

monitor 48 and OTDR etc. form a head-end, column 5 line 42 to column 6 line 50; Head

End in Figure 8) and one or more passive optical splitters (e.g., Figure 4, "two 8x8




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passive optical star couplers 26 and 28". Figure 8, "8x8 passive optical star coupler 62")

for coupling the LAN client over one or more optical fibers (Figure 4: "fiber optic cables

20 and 22". Figure 8, "a single fiber cable 60") to the head end of the passive optical

LAN (Figures 4 and 8 etc.), the LAN client for a passive optical LAN comprising of:

       an optical interface (FO XMTR and FO RCV in Figures 4 and 8) for converting a

downstream optical signal on a downstream optical wavelength (column 4 lines 3-13

and 40-42, column 7 lines 7-9, around 850 nm; or 1300 nm as shown in Figure 10,

column 7 lines 50-54) to a downstream electrical signal and for converting an upstream

electrical signal to an upstream optical signal and emitting the upstream optical signal

on an upstream optical wavelength (column 4 lines 40-42, column 7 lines 7-9, around

850 nm);

       at least one network interface for receiving user data (Figure 5: PORT# 1 and

PORT # 2 of SYTEK COMM CARD 40 for receiving user data from user device 14.

Figure 8, COMM CARD for receiving user data from User Terminal Device); and

       a control module (interface logic in Figures 4 and 8 etc.; or Figure 5, column 4

lines 47-64) electrically coupled to the optical interface and electrically coupled to the at

least one network interface (Figures 4, 5 and 8 etc.) and wherein the control module

processes the downstream electrical signal having a downstream data information

(column 4 lines 3-13 and 40-42, and column 6 lines 18-40 etc.) and wherein the control

module receives user data from the at least one network interface (user data coming

from the User Terminal Devices as shown in Figures 4 and 8 etc.) and the control

module generates the upstream electrical signal having upstream data information




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(column 4 lines 3-13 and 40-42 etc.) and wherein at least a portion of the user data is

included in the upstream data information (column 4 lines 3-13 and 40-42 etc.),

       whereby the LAN client for a passive optical LAN communicates user data

upstream (based on CSMA/CD "listen while talking", column 2 line 44, column 7 line 26-

27 and 47).

       But, Husbands et al does not expressly disclose wherein the control module

processes the downstream electrical signal having a downstream control information to

recover an upstream bandwidth allocation from the downstream control information

wherein the upstream bandwidth allocation includes a start and end time slot number or

a start time and length of time and the control module responsive to the upstream

bandwidth allocation generates the upstream electrical signal having upstream control

and upstream data information, whereby the LAN client for a passive optical LAN

communicates user data upstream responsive to an upstream bandwidth allocation.

       However, as disclosed by Husbands et al, the fiber optical LAN uses CSMA/CD

"listen while talking" protocol, and the head-end can perform other functions, e.g.,

"technical control" (monitoring, signaling, and fault isolation etc.), and "[a] video

distribution service may also be provided on an unexpanded network by use of the

auxiliary ports 44 on the outbound star node 47" (column 5 line 42 to column 6 line 50

etc.; Figure 7 etc., the star node 46 together with the auxiliary optical ports 44 etc.

function "as the network head-end", or the star node combined with auxiliary optical

ports plus the monitor 48 and OTDR etc. form a head-end), and the control logic in

Husbands' LAN client can perform "listen before talk" and "listen while talk" etc. and




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determine when to transmit a signal; it is obvious to one skilled in the art that other

protocols can be used for the fiber optical LAN.

       Yuki et al discloses a protocol that allocates bandwidth dynamically (or dynamic

bandwidth allocation. Abstract, and column 2 line 9 to column 5 line 55) for a point-to-

multipoint communication system (Figure 1 etc.), which comprises a master unit (20)

and slave units (10-i) coupled to the master unit by a passive optical splitter (40), and a

control module (17 in Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84

etc.) in the slave unit electrically coupled to the optical interface (13/14 in Figures 2, 65,

68 and 76 etc.) and electrically coupled to the at least one network interface (11 /12 in

Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84 etc.) and wherein the

control module processes the downstream electrical signal having a downstream control

and downstream data information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure

78 etc.) to recover an upstream bandwidth allocation from the downstream control

information (Figures 8-10 and 31 etc. "On the basis of the reports from the slave units,

the master unit determines an allowable amount of information for each slave unit and

permits the slave units to transmit the stored signals according to the request from the

master unit."), wherein the upstream bandwidth allocation includes a start and end time

slot number or a start time and length of time (column 5 lines 16-22, "the time slots for

transmitting information signals by slave units are calculated by the master unit

dynamically and efficiently on the basis of reports from slave units"; Figures 5, 25 and

29; and column 36 line 8 to column 39 line 6, "the time slot number for starting a data

packet transmission and the information amount ni for allowing these packets to be

transmitted are read from the information amount notification region of the control




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packet" and "[t]he information signals sent from the buffer memory 15 are written in the

information signal region. Packet classification numbers 11 h, which indicate that the

packets are for transmitting information signals, are written to a packet identification

region. Slave unit identification numbers assigned in advance to the slave units 10 are

written to a slave unit identification region. The necessary information is written to each

region of the data packet in the transmission unit 13, and this data packet is then sent to

the master unit 20 by the time slots of a data region provided inside the frame.

Transmission timing and time slot numbers are controlled by the control unit 17"; "FIG.

44 is a flowchart depicting a procedure for determining the time slot number according

to which a slave unit begins transmitting an information packet") and wherein the control

module receives user data from the at least one network interface (user data signal from

input unit 11) and the control module responsive to the upstream bandwidth allocation

generates the upstream electrical signal having upstream control and upstream data

information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure 78 etc.), whereby the

slave unit for a passive optical network communicates user data upstream responsive to

an upstream bandwidth allocation (dynamic bandwidth allocation. Abstract, and column

2 line 9 to column 5 line 55 etc.).

       Yuki et al indicates "Conventional access protocols, however, have the following

drawbacks that make these protocols incapable of handling burst traffic containing

several megabytes of data, which is expected to grow even more in the future. When,

for example, information signals generated in bursts of several megabytes are

transmitted according to the CSMA/CD protocol, the information signals are separated

into packets of about 64-1500 kB and repeatedly transmitted. Consequently, increased




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burst traffic results in a markedly lower throughput because of the higher frequency of

retransmission due to packet collisions .... the delay time increases and is not constant

any longer ..... Thus, conventional access protocols for point-to-multipoint

communication systems are disadvantageous in that an increase in burst traffic

containing several megabytes of data results in a lower throughput and makes it

impossible to comply with time requirements for downstream transmission" (column 1

line 43 to column 2 line 6).

       However, Yuki et al's approach/protocol "allows slave units to transmit signals in

accordance with instructions from the master unit, no signal collisions occur in the

transmission line and a throughput reduction such as that observed in the case of

CSMA/CD is avoided when signals containing several megabytes of data are

transmitted in bursts." (column 2 lines 28-34; column 3 lines 43-49; column 30 lines 5-

14) and "allows the maximum amount of stored signal to be stabilized at a

comparatively low level without the increase observed in the access protocol based on

TOMA or CSMA/CD, can easily accommodate burst traffic, and is capable of reducing

the buffer memory requirements of slave units when the load factor of the transmission

line is high and the burst traffic increases in volume" (column 23 lines 14-22. And

column 21 lines 49-60; column 30 lines 19 and 26).

       Yuki et al also states "the access protocol in accordance with the present

invention can be easily adapted, for example, to FDM (Frequency Division Multiplex),

FDMA (Frequency Division Multiple Access), CDMA (Code Division Multiple Access),

and the like" (column 30 line 1-4); that is, Yuki's access protocol can be easily adapted

to different protocols, and "the like". And, Yuki et al states "Point-to-multipoint




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communication systems such as LANs, CATV networks, satellite communication

networks, and optical subscriber access networks are commonly configured such that a

master unit and a plurality of slave units communicate by sharing, for example,

transmission lines such as those used in coaxial communication, optical-fiber

communication, and radio communication" (column 1 line 16-23), and "the point-to-

multipoint communication system of the present invention is also widely applicable to

communication systems composed of a master unit and a plurality of slave units such

that the transmission line band is allocated among the slave units by the master unit in a

controlled manner'' (column 11 line 58 to column 12 line 6); Figure 1 is a point-to-

multipoint communication system; that is, the point-to-multipoint system shown in Figure

1 can be an optical LAN. Therefore, it would have been obvious to one of ordinary skill

in the art before the effective filing date of the claimed invention to apply the dynamic

bandwidth allocation approach as taught by Yuki et al to the system/method of

Husbands et al so that a throughput reduction observed in the case of CSMA/CD is

avoided, signal collisions can be eliminated, the buffer memory requirements can be

relaxed, and the latency time elapsed before a slave/client unit transmits a signal can be

reduced, and system capacity/throughput can be increased.

       13). With regard to claim 24, Husbands discloses a Local Area Network (LAN)

client (e.g., 18/16 in Figure 4, "fiber optic modem 18" and "Sytek local net 20/100 dual

port packet communication unit 16"; also shown in Figure 5. Figure 8: optic modem card

56 and Comm Card) for a passive optical LAN (as a convention in the art, in a passive

optical network (PON) the transmission facility between the transmitter and the

receivers consists of passive (i.e., un-powered) optical components; or what makes a




                                        Appx3568
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passive optical network passive is that it uses unpowered optical splitters. As shown in

Husbands' Figures 4 and 8, there is no "powered devices" between the

transmitter/receiver of the head-end and the receiver/transmitter (the optical modem) of

the LAN client; e.g., Figure 8, no powered devices between transmitter/receiver 64/66 of

the head-end 68 and the fiber optical modem card 56; the 8x8 star coupler is a passive

splitter/coupler. Therefore, the network shown in Figure 4 or Figure 8 is a passive

optical LAN), the passive optical LAN disposed to having a head end (the head end 24

in Figure 4; Figure 7, the star node 46 combined with auxiliary optical ports 44 plus the

monitor 48 and OTDR etc. form a head-end, column 5 line 42 to column 6 line 50; Head

End in Figure 8) and one or more passive optical splitters (e.g., Figure 4, "two 8x8

passive optical star couplers 26 and 28". Figure 8, "8x8 passive optical star coupler 62")

for coupling the LAN client over one or more optical fibers (Figure 4: "fiber optic cables

20 and 22". Figure 8, "a single fiber cable 60") to the head end of the passive optical

LAN (Figures 4 and 8 etc.), the LAN client for a passive optical LAN comprising of:

       an optical interface (FO XMTR and FO RCV in Figures 4 and 8) for converting a

downstream optical signal on a downstream optical wavelength (column 4 lines 3-13

and 40-42, column 7 lines 7-9, around 850 nm; or 1300 nm as shown in Figure 10,

column 7 lines 50-54) to a downstream electrical signal and for converting an upstream

electrical signal to an upstream optical signal and emitting the upstream optical signal

on an upstream optical wavelength (column 4 lines 40-42, column 7 lines 7-9, around

850 nm);




                                       Appx3569
Application/Control Number: 17/138,794                                               Page 21
Art Unit: 2636
       at least one network interface for receiving user data (Figure 5: PORT# 1 and

PORT # 2 of SYTEK COMM CARD 40 for receiving user data from user device 14.

Figure 8, COMM CARD for receiving user data from User Terminal Device); and

       a control module (interface logic in Figures 4 and 8 etc.; or Figure 5, column 4

lines 47-64) electrically coupled to the optical interface and electrically coupled to the at

least one network interface (Figures 4, 5 and 8 etc.) and wherein the control module

processes the downstream electrical signal having a downstream data information

(column 4 lines 3-13 and 40-42, and column 6 lines 18-40 etc.) and wherein the control

module receives user data from the at least one network interface (user data coming

from the User Terminal Devices as shown in Figures 4 and 8 etc.) and the control

module generates the upstream electrical signal having upstream data information

(column 4 lines 3-13 and 40-42 etc.) and wherein at least a portion of the user data is

included in the upstream data information (column 4 lines 3-13 and 40-42 etc.),

       whereby the LAN client for a passive optical LAN communicates user data

upstream (based on CSMA/CD "listen while talking", column 2 line 44, column 7 line 26-

27 and 47).

       But, Husbands et al does not expressly disclose wherein the control module

processes the downstream electrical signal having a downstream control information to

recover an upstream bandwidth allocation from the downstream control information

wherein the upstream bandwidth allocation includes a start and end time slot number or

a start time and length of time and the control module responsive to the upstream

bandwidth allocation generates the upstream electrical signal having upstream control

and upstream data information, whereby the LAN client for a passive optical LAN ends




                                        Appx3570
Application/Control Number: 17/138,794                                                  Page 22
Art Unit: 2636
the optical upstream signal emissions responsive to the end time slot number or the end

of the length of time and whereby the LAN client for a passive optical LAN

communicates user data upstream responsive to an upstream bandwidth allocation.

       However, as disclosed by Husbands et al, the fiber optical LAN uses CSMA/CD

"listen while talking" protocol, and the head-end can perform other functions, e.g.,

"technical control" (monitoring, signaling, and fault isolation etc.), and "[a] video

distribution service may also be provided on an unexpanded network by use of the

auxiliary ports 44 on the outbound star node 47" (column 5 line 42 to column 6 line 50

etc.; Figure 7 etc., the star node 46 together with the auxiliary optical ports 44 etc.

function "as the network head-end", or the star node combined with auxiliary optical

ports plus the monitor 48 and OTDR etc. form a head-end), and the control logic in

Husbands' LAN client can perform "listen before talk" and "listen while talk" etc. and

determine when to transmit a signal; it is obvious to one skilled in the art that other

protocols can be used for the fiber optical LAN.

       Yuki et al discloses a protocol that allocates bandwidth dynamically (or dynamic

bandwidth allocation. Abstract, and column 2 line 9 to column 5 line 55) for a point-to-

multipoint communication system (Figure 1 etc.), which comprises a master unit (20)

and slave units (10-i) coupled to the master unit by a passive optical splitter (40), and a

control module (17 in Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84

etc.) in the slave unit electrically coupled to the optical interface (13/14 in Figures 2, 65,

68 and 76 etc.) and electrically coupled to the at least one network interface (11 /12 in

Figures 2, 65, 68 and 76 etc.; also refer Figures 79, 82 and 84 etc.) and wherein the

control module processes the downstream electrical signal having a downstream control




                                         Appx3571
Application/Control Number: 17/138,794                                              Page 23
Art Unit: 2636
and downstream data information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure

78 etc.) to recover an upstream bandwidth allocation from the downstream control

information (Figures 8-10 and 31 etc. "On the basis of the reports from the slave units,

the master unit determines an allowable amount of information for each slave unit and

permits the slave units to transmit the stored signals according to the request from the

master unit."), wherein the upstream bandwidth allocation includes a start and end time

slot number or a start time and length of time (column 5 lines 16-22, "the time slots for

transmitting information signals by slave units are calculated by the master unit

dynamically and efficiently on the basis of reports from slave units"; Figures 5, 25 and

29; and column 36 line 8 to column 39 line 6, "the time slot number for starting a data

packet transmission and the information amount ni for allowing these packets to be

transmitted are read from the information amount notification region of the control

packet" and "[t]he information signals sent from the buffer memory 15 are written in the

information signal region. Packet classification numbers 11 h, which indicate that the

packets are for transmitting information signals, are written to a packet identification

region. Slave unit identification numbers assigned in advance to the slave units 10 are

written to a slave unit identification region. The necessary information is written to each

region of the data packet in the transmission unit 13, and this data packet is then sent to

the master unit 20 by the time slots of a data region provided inside the frame.

Transmission timing and time slot numbers are controlled by the control unit 17"; "FIG.

44 is a flowchart depicting a procedure for determining the time slot number according

to which a slave unit begins transmitting an information packet") and wherein the control

module receives user data from the at least one network interface (user data signal from




                                        Appx3572
Application/Control Number: 17/138,794                                            Page 24
Art Unit: 2636
input unit 11) and the control module responsive to the upstream bandwidth allocation

generates the upstream electrical signal having upstream control and upstream data

information (Figure 5, Figure 30, Figure 31, Figures 50-55, Figure 78 etc.) and wherein

at least a portion of the user data is included in the upstream data information (Figure

30, Figure 31, Figures 50-55, Figure 78 etc.), whereby the slave unit for a passive

optical network ends the optical upstream signal emissions responsive to the end time

slot number or the end of the length of time (column 5 lines 16-22; Figures 5, 25, 29 and

44; and column 36 line 8 to column 39 line 6 etc.) and whereby the slave unit for a

passive optical network communicates user data upstream responsive to an upstream

bandwidth allocation (dynamic bandwidth allocation. Abstract, and column 2 line 9 to

column 5 line 55 etc.).

       Yuki et al indicates "Conventional access protocols, however, have the following

drawbacks that make these protocols incapable of handling burst traffic containing

several megabytes of data, which is expected to grow even more in the future. When,

for example, information signals generated in bursts of several megabytes are

transmitted according to the CSMA/CD protocol, the information signals are separated

into packets of about 64-1500 kB and repeatedly transmitted. Consequently, increased

burst traffic results in a markedly lower throughput because of the higher frequency of

retransmission due to packet collisions .... the delay time increases and is not constant

any longer ..... Thus, conventional access protocols for point-to-multipoint

communication systems are disadvantageous in that an increase in burst traffic

containing several megabytes of data results in a lower throughput and makes it




                                       Appx3573
Application/Control Number: 17/138,794                                                Page 25
Art Unit: 2636
impossible to comply with time requirements for downstream transmission" (column 1

line 43 to column 2 line 6).

       However, Yuki et al's approach/protocol "allows slave units to transmit signals in

accordance with instructions from the master unit, no signal collisions occur in the

transmission line and a throughput reduction such as that observed in the case of

CSMA/CD is avoided when signals containing several megabytes of data are

transmitted in bursts." (column 2 lines 28-34; column 3 lines 43-49; column 30 lines 5-

14) and "allows the maximum amount of stored signal to be stabilized at a

comparatively low level without the increase observed in the access protocol based on

TOMA or CSMA/CD, can easily accommodate burst traffic, and is capable of reducing

the buffer memory requirements of slave units when the load factor of the transmission

line is high and the burst traffic increases in volume" (column 23 lines 14-22. And

column 21 lines 49-60; column 30 lines 19 and 26).

       Yuki et al also states "the access protocol in accordance with the present

invention can be easily adapted, for example, to FDM (Frequency Division Multiplex),

FDMA (Frequency Division Multiple Access), CDMA (Code Division Multiple Access),

and the like" (column 30 line 1-4); that is, Yuki's access protocol can be easily adapted

to different protocols, and "the like". And, Yuki et al states "Point-to-multipoint

communication systems such as LANs, CATV networks, satellite communication

networks, and optical subscriber access networks are commonly configured such that a

master unit and a plurality of slave units communicate by sharing, for example,

transmission lines such as those used in coaxial communication, optical-fiber

communication, and radio communication" (column 1 line 16-23), and "the point-to-




                                         Appx3574
Application/Control Number: 17/138,794                                              Page 26
Art Unit: 2636
multipoint communication system of the present invention is also widely applicable to

communication systems composed of a master unit and a plurality of slave units such

that the transmission line band is allocated among the slave units by the master unit in a

controlled manner'' (column 11 line 58 to column 12 line 6); Figure 1 is a point-to-

multipoint communication system; that is, the point-to-multipoint system shown in Figure

1 can be an optical LAN. Therefore, it would have been obvious to one of ordinary skill

in the art before the effective filing date of the claimed invention to apply the dynamic

bandwidth allocation approach as taught by Yuki et al to the system/method of

Husbands et al so that a throughput reduction observed in the case of CSMA/CD is

avoided, signal collisions can be eliminated, the buffer memory requirements can be

relaxed, and the latency time elapsed before a slave/client unit transmits a signal can be

reduced, and system capacity/throughput can be increased.



3.     Claims 2 and 7 are rejected under pre-AIA 35 U.S.C. 103(a) as being

unpatentable over Husbands et al and Yuki et al as applied to claim 1 above, and

further in view of Finley (Finley: "Optical Fibers in Local Area Networks", IEEE

Communications Magazine, Vol. 22, No. 8, August 1984, pages 22-34).

       1). With regard to claim 2, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. But, Husbands et al and Yuki et al do not

expressly disclose wherein the control module includes an Ethernet MAC.

       However, the CSMA/CD used in Husbands' system is a MAC method widely

used in Ethernet technology for LAN. And, Yuki et al discloses that the point-to-

multipoint system as shown in Figure 1 etc. can be used to transmit Ethernet packets




                                        Appx3575
Application/Control Number: 17/138,794                                             Page 27
Art Unit: 2636
(column 13 lines 35-45, column 34 lines 19 and 26, column 39 line 47, and column 47

lines 13 and 22 etc.). And Finley discloses that OSI model (Figure 6) can be used in

optical LANs (Figures 7-13), which can be Ethernet LANs (pages 28-34); that is, the

MAC in Figure 6 can be an Ethernet MAC.

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to combine Finley with Husbands et al and

Yuki et al so that a high efficient Ethernet LAN can be obtained.

       2). With regard to claim 7, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claim 1 above. And the combination of Husbands et al and

Yuki et al further discloses wherein the control module is configured to manage the

transmission and reception of optical data link layer communications through the optical

interface based on at least one optical data link layer address (Husbands: the control

logic in Figure 5 etc. performs CSMA/CD protocol (MAC layer), and the CSMA/CD

frame format has data link layer address; that is, the combination of Husbands et al and

Yuki et al teaches/suggests that the control logic manages the transmission and

reception of optical data link layer communications through the optical interface based

on at least one optical data link layer address).

       But, Husbands et al and Yuki et al do not expressly disclose wherein the control

module includes an Ethernet Media Access Control (MAC) configured to enable

Ethernet communications through the at least one network interface.

       However, the CSMA/CD used in Husbands' system is a MAC method widely

used in Ethernet technology for LAN. And, Yuki et al discloses that point-to-multipoint

system as shown in Figure 1 etc. can be used to transmit Ethernet packets (column 30




                                        Appx3576
Application/Control Number: 17/138,794                                              Page 28
Art Unit: 2636
lines 19 and 26, column 39 line 47 etc.). And Finley discloses that OSI model (Figure 6)

can be used in optical LANs (Figures 7-13), which can be Ethernet LANs (pages 28-34);

that is, the MAC in Figure 6 can be an Ethernet MAC to enable Ethernet

communications through at least one network interface.

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to combine Finley with Husbands et al and

Yuki et al so that an Ethernet MAC is used to enable high efficient Ethernet LAN

communications.



4.     Claim 8 is rejected under pre-AIA 35 U.S.C. 103(a) as being unpatentable over

Husbands et al and Yuki et al as applied to claim 1 above, and further in view of Xu et al

(US 7,181,142).

       Husbands et al and Yuki et al disclose all of the subject matter as applied to

claim 1 above. But, Husbands et al and Yuki et al do not expressly disclose wherein the

LAN client adjusts the optical power level of the upstream optical signal responsive to

receiving a message.

       However, to adjust an output of an optical unit based on a received message is

known in the art. E.g., Xu et al discloses a "local area networks (LAN)", "FIG. 8

illustrates that the architecture according to the present embodiment can be easily

extended to provide "local" networking services. As used herein, local network services

includes, for example, so-called local area networks (LAN). intranets, secure ("trusted")

networks, and virtual private networks (VPN). Such networking services may be

desirable, for example, in scenarios where the use of intranet is essential, such as in




                                       Appx3577
Application/Control Number: 17/138,794                                                Page 29
Art Unit: 2636
business offices or other enterprises, community networking, and premises networking

cases. The operation of the local network 800 of the embodiment of FIG. 8 is similar to

an Ethernet LAN" (column 14 lines 11-21 ). As shown in Figures 7a and 7b etc., "the

ON Us to adjust their respective transmitter power based on OL T feedback such that

power levels received by the OLT from all the ONUs are the same" (column 4 lines 14-

54, and column 13 line 40 to column 14 line 10).

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the teachings of Xu et al to the

system/method of Husbands et al and Yuki et al so that a desired output power level

can be obtained, and the reliability of the system is enhanced.



5.     Claim 9 is rejected under pre-A IA 35 U.S.C. 103(a) as being unpatentable over

Husbands et al and Yuki et al as applied to claim 1 above, and further in view of ITU-T

(ITU-T Recommendation G.983.1 Broadband optical access systems based on Passive

Optical Networks (PON), October 1998).

       Husbands et al and Yuki et al disclose all of the subject matter as applied to

claim 1 above. But, Husbands et al and Yuki et al do not expressly disclose wherein the

LAN client receives a request for new LAN clients to identify themselves and the LAN

client responds with a message including a serial number for identifying the LAN client.

       However, first, Yuki et al discloses "The ID numbers of the slave units 10-1 to 1O-

m are managed by the master unit 20, and these ID numbers are conveyed during the

initial stage to all the slave units 10-1 to 10-m participating in the operation of the

system. By virtue of these ID numbers, the master unit 20 can trace a cell to a particular




                                         Appx3578
Application/Control Number: 17/138,794                                               Page 30
Art Unit: 2636
slave unit 10-1 to 10-m, and each of the slave units 10-1 to 10-m can determine

whether the cell it has received is addressed to this station" (column 13 lines 19-25) and

"The service class identifiers and ID numbers of the slave units 10-1 to 10-m are

managed by the master unit 20, and these service class identifiers and ID numbers are

conveyed during the initial stage to all the slave units 10-1 to 10-m participating in the

operation of the system. By virtue of these ID numbers and identifiers, the master unit

20 can trace an information signal within a service class to a particular slave unit 10-1 to

10-m, and each of the slave units 10-1 to 10-m can determine whether the information

signal it has received is indeed addressed to this station" (column 47 lines 1-10). That

is, during the initial stage, the slave units exchange information with the master units;

then it is obvious to one skilled in the art that specific identifications or numbers are

used by the slave units to identify themselves so that the master unit can assign the ID

numbers to the slave units. Second, ITU-T G.983.1 discloses that in passive optical

network, an optical network unit (ONU) can send its serial number to an optical line

terminal (OL T) in ranging mode, and "[t]he OL T extracts the serial number and can

assign a free PON_ID to this ONU" (page 53), and the serial number also can be used

to register an ONU (page 64 Section 8.4.1.1 ): "1) the network operator enables the

ranging process to start when it is known that a new ONU has been connected. After

successful ranging (or a time-out), ranging is automatically stopped; 2) the OL T

periodically and automatically initiates the ranging process, testing to see if any new

ONUs have been connected. The frequency of polling is programmable such that a

ranging window can be opened every millisecond or every second under instruction of

the OpS system."; and "When more grants are required for completion of the ONU




                                        Appx3579
Application/Control Number: 17/138,794                                              Page 31
Art Unit: 2636
optical power set-up, the optical power set-up can be completed by allowing several

failures during ranging and repeated re-ranging. In the case that serial number

acquisition (binary tree mechanism stated in 8.4.4.1) is applied, the ONU may use

grants for the ONU optical power set-up. Also, if the OL T periodically initiate the ranging

process to check recently connected ON Us, it is useful for this purpose.".

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the recommendation of the ITU-T

G.983.1 to the system/method of Husbands et al and Yuki et al so that a newly added or

powered-up LAN client can be properly identified and set-up.



6.     Claim 10 is rejected under pre-AIA 35 U.S.C. 103(a) as being unpatentable over

Husbands et al and Yuki et al as applied to claim 1 above, and further in view of

Warden et al (US 2003/0189935).

       Husbands et al and Yuki et al disclose all of the subject matter as applied to

claim 1 above. And the combination of Husbands et al and Yuki et al further discloses

wherein the downstream frame includes the downstream control and data information

(refer claim 1 rejection etc.)

       But, Husbands et al and Yuki et al do not expressly disclose wherein the

downstream control information includes a consecutive sequence of bits for the LAN

client to identify the beginning of a downstream frame. However, to implement a field to

indicate a beginning of a frame is known in the art. E.g., Warden et al discloses a frame

transmitted between optical communicating devices (Figure 2 etc.), and as shown in




                                        Appx3580
Application/Control Number: 17/138,794                                                Page 32
Art Unit: 2636
Figure 4, "the Start-of-Frame (SoF) delimiter is a specially encoded 10 bit byte character

otherwise known as an Ordered Set that uniquely identifies the start of frames".

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the teaching of Warden et al to the

system/method of Husbands et al and Yuki et al so that the processing of the

downstream signal by the LAN client can be made easier.



7.     Claims 15, 16, 19 and 20 are rejected under pre-AIA 35 U.S.C. 103(a) as being

unpatentable over Husbands et al and Yuki et al as applied to claims 1 and 12 above,

and further in view of Chang (US 2003/0020991) and Masucci et al (US 6,498,667).

       1). With regard to claim 15, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claims 1 and 12 above. And the combination of Husbands

et al and Yuki et al further discloses wherein a downstream frame includes downstream

packet data and wherein downstream packet data includes a downstream packet

header and downstream packet payload (Yuki: column 5 line 33-47, Figure 32; column

38 lines 32-40, "In the slave unit 10 shown in FIG. 2, the packets from the master unit

20 are received by the reception unit 14 via the reception port. In the reception unit 14,

the header is removed, and it is then determined based on the slave unit numbers

written to the received packet whether the received packet is indeed addressed to this

slave unit 1O"; column 73 line 62 to column 74 line 8, "Specifically, the point-to-

multipoint communication system according to the fifteenth embodiment aspect is such

that the master unit 20 segments terminal-addressed input packets and attaches

headers to create fixed-length cells. Each header contains the addresses of slave units




                                        Appx3581
Application/Control Number: 17/138,794                                               Page 33
Art Unit: 2636
10-1 to 10-m for use in the point-to-multipoint communication system and retrieved

based on the terminal addresses contained in the input packets. Because the slave

units 10-1 to 10-m operate such that data is retrieved only when the addresses

contained in the aforementioned headers match the addresses of the local stations, the

transfer rate in the downstream direction for each of the slave units 10-1 to 10-m can be

varied in a simple manner using the master unit alone", and column 76 line 14-29 etc.).

       But, Husbands et al and Yuki et al do not expressly disclose wherein the

downstream packet header includes a field indicating the length of the downstream

packet payload.

       However, to use a field in a downstream packet header to indicate the length of a

payload is known in the art. E.g., Chang discloses a passive optical network, in which

downstream packet header includes a field indicating the length of the downstream

packet payload (Figure 12, downstream data packet 1209; [0061 ], "[t]he maximum

payload length for each data packet in the channel 1209 in this particular embodiment is

2048 bytes. The data packet channel 1209 further comprises a plurality of fields

including a data packet header (DPH), a priority (PRIO), a loopback (LPBK), a

residential gateway number (RGN), a payload length, a payload, and a bit interleaved

parity 32 (BIP-32).). Chang does not expressly state that the fields DPH, PRIO, LPBK,

RGN and payload length all together to be called a header. However, it is common in

the art to collectively call a group of fields as a header, e.g., Masucci et al discloses a

frame with a plurality of packets (Figures 6-8), and a group of fields including "payload

length" can be called header, e.g., header 303 in Figure 6.




                                        Appx3582
Application/Control Number: 17/138,794                                                Page 34
Art Unit: 2636
       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the teaching of Chang and Masucci

et al to the system/method of Husbands et al and Yuki et al so to make the signal

process and buffer management easier.

       2). With regard to claim 16, Husbands et al and Yuki et al and Chang and

Masucci et al disclose all of the subject matter as applied to claims 1, 12 and 15 above.

And the combination of Husbands et al and Yuki et al and Chang and Masucci et al

further discloses wherein the downstream packet payload includes at least a portion of

an Ethernet frame (Yuki column 13 lines 35-45, column 34 lines 19 and 26, column 39

line 47, and column 47 lines 13 and 22 etc.; Figures 54-55. Also, Masucci et al teaches

that Ethernet frame can be transmitted over the passive optical network. That is, the

combination of Husbands et al and Yuki et al and Chang and Masucci et al

teaches/suggests that the downstream packet payload includes at least a portion of an

Ethernet frame) or a Fibre Channel frame.

       3). With regard to claim 19, Husbands et al and Yuki et al disclose all of the

subject matter as applied to claims 1 and 17 above. And the combination of Husbands

et al and Yuki et al further discloses wherein upstream frames includes an upstream

packet header and an upstream packet payload (Yuki: column 16 lines 26-29, "In the

master unit 20 shown in FIG. 3, cells received from the slave units 10 via the reception

port are identified based on the cell identifiers written to the cells. This is done after

headers are removed in the reception unit 24"; column 32 line 62 to column 33 line 2;

column 35 lines 6-12 and 39-43; column 38 line 18; column 49 lines 7-14; and column

76 line 14-29 etc.; and Figure 87).




                                         Appx3583
Application/Control Number: 17/138,794                                             Page 35
Art Unit: 2636
       But, Husbands et al and Yuki et al do not expressly disclose wherein the

upstream packet header includes a field indicating an upstream packet payload length.

       However, to use a field in a downstream packet header to indicate the length of a

payload is known in the art. E.g., Chang discloses a passive optical network, in which

the upstream packet header includes a field indicating an upstream packet payload

length (Figure 11 etc.), "The upstream data packet channel 509 comprises a plurality of

fields including the data packet header (DPH) 1111, the priority (PRIO) 1113, the

loopback (LPBK) 1115, the residential gateway number (RGN) 1117, the payload length

1119, the payload 1121 and the bit interleaved parity 32 (BIP-32) 1123" ([0054]). Chang

does not expressly state that the fields DPH, PRIO, LPBK, RGN and payload length all

together to be called a header. However, it is common in the art to collectively call a

group of fields as a header, e.g., Masucci et al discloses a frame with a plurality of

packets (Figures 6-8), and a group of fields including "payload length" can be called

header, e.g., header 303 in Figure 6.

       Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the teaching of Chang and Masucci

et al to the system/method of Husbands et al and Yuki et al so to make the signal

process and buffer management easier.

       4). With regard to claim 20, Husbands et al and Yuki et al and Chang and

Masucci et al disclose all of the subject matter as applied to claims 1, 17 and 19 above.

And the combination of Husbands et al and Yuki et al and Chang and Masucci et al

further discloses wherein the upstream packet payload includes at least a portion of an

Ethernet frame (Yuki column 13 lines 35-45, column 34 lines 19 and 26, column 39 line




                                        Appx3584
Application/Control Number: 17/138,794                                                Page 36
Art Unit: 2636
47, and column 47 lines 13 and 22 etc.; Figures 54-55. Also, Masucci et al teaches that

Ethernet frame can be transmitted over the passive optical network. That is, the

combination of Husbands et al and Yuki et al and Chang and Masucci et al

teaches/suggests that the upstream packet payload includes at least a portion of an

Ethernet frame) or a Fibre Channel frame.



8.     Claim 21 is rejected under pre-AIA 35 U.S.C. 103(a) as being unpatentable over

Husbands et al and Yuki et al as applied to claim 1 above, and further in view of

Mahony et al (US 6,668,127).

       Husbands et al and Yuki et al disclose all of the subject matter as applied to

claim 1 above. But, Husbands et al and Yuki et al do not expressly disclose wherein the

optical interface includes one or more optical fiber connectors selected from the group

consisting essentially of: Subscriber Connector (SC); Lucent Connector (LC); Fiber

Channel (FC); Straight TP (ST); and Miniature Unit (MU).

       However, as disclosed by Mahony et al, the SC connector or ST connector is

well known connectors in the art. Therefore, it would have been obvious to one of

ordinary skill in the art before the effective filing date of the claimed invention to apply

one of these connectors to the system/method of Husbands and Yuki et al so that the

optical fiber/cable can be properly/securely connected with the optical

transmitting/receiving device (or transceiver module etc.) or the LAN client.



9.     Claim 22 is rejected under pre-AIA 35 U.S.C. 103(a) as being unpatentable over

Husbands et al and Yuki et al as applied to claim 1 above, and further in view of Finley




                                         Appx3585
Application/Control Number: 17/138,794                                                Page 37
Art Unit: 2636
(Finley: "Optical Fibers in Local Area Networks", IEEE Communications Magazine, Vol.

22, No. 8, August 1984, pages 22-34) and Cvijin et al (US 2003/0039015).

       Husbands et al and Yuki et al disclose all of the subject matter as applied to

claim 1 above. But, Husbands et al and Yuki et al do not expressly disclose wherein the

at least one network interface is configured to communicate using a protocol from the

group consisting essentially of: IEEE 10 Mbit Ethernet; IEEE 100 Mbit Ethernet; IEEE

1000 Mbit Ethernet; Fibre Channel; IEEE 802.11; IEEE 802.16; and Digital Subscriber

Line (DSL).

       However, first, the CSMA/CD used in Husbands' system is a MAC method widely

used in Ethernet technology for LAN. And, Yuki et al discloses that point-to-multipoint

system as shown in Figure 1 etc. can be used to transmit Ethernet packets (column 13

lines 35-45, column 34 lines 19 and 26, column 39 line 47, and column 47 lines 13 and

22 etc.). And Finley discloses that 10 Mbit Ethernet protocol (pages 28-34) can be used

in the optical LAN. Another prior art, Cvijin et al discloses "Implementation of fiber optic

communication at the local area network (LAN) level will enable users to break current

bottlenecks in the last mile of information transfer. A further attraction of fiber-optic

technology is its scalability. Most current fiber LAN products are Ethernet-based in a

range of 100-Mbit/second up to 1-Gbit/s. Fiber optical communication is easily scalable

up to 10 Gbits/s, and several equipment vendors have announced fiber-optic links that

can support transmission up to 1 terabit/s utilizing more than 128 DWDM." That is, a

network interface using a protocol from IEEE 10 Mbit Ethernet, IEEE 100 Mbit Ethernet,

or IEEE 1000 Mbit Ethernet is used in the optical LAN.




                                         Appx3586
Application/Control Number: 17/138,794                                                    Page 38
Art Unit: 2636
         Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to apply the teachings of Finley and Cvijin et

al to the system/method of Husbands et al and Yuki et al so that a high data rate

Ethernet protocol can be used in the optical LAN, and a high efficient and high speed

Ethernet LAN can be obtained.



         NEW GROUNDS OF REJECTION

         None



         WITHDRAWN REJECTIONS

         The following grounds of rejection are not presented for review on appeal

because they have been withdrawn by the examiner. None.



         (2) Response to Argument

         1). Regarding Argument C.1. (a), the Appellant argues on pages 9-10 of the

Brief:

                1. Incorporating the disclosure of Yuki into Husbands would change the principle

         of operation of Husbands and render Husbands unsuitable for its intended purpose.



                Husbands is a peer-to-peer network, not a master slave network as in Yuki.

         Husbands network uses carrier sense multiple access (CSMA) with collision detection

         (CD) or CSMNCD. Husbands at 2:29-31. "This protocol features no central

         controller and any terminal can initiate communications to other terminals." Id. at 2:35-

         37, emphasis added.




                                           Appx3587
Application/Control Number: 17/138,794                                                         Page 39
Art Unit: 2636



                The architecture of the prior art to Husbands and the embodiments described in

         Husbands confirms this communication technique. In Figures 1 and 2, any terminal T

         can communicate with another through a repeater or star coupler without a master. Id. at

         Figures 1 and 2, and 3:2-52. The "head-end repeater R" of Figure 1 does not include any

         processing. It only compensates for the different optical loss between near and far

         terminals T. Id. at 3: 15-19. Figure 2 uses a passive star coupler. Id. at 3:30-33.




         Appellant's argument is not persuasive. First, Examiner does not rely on

Husbands' Figures 1 and 2 to reject applicant's claims (Husbands' Figures 1 and 2 are

"prior art"). Second, Appellant's argument "The "head-end repeater R" of Figure 1 does

not include any processing'' is incorrect. As admitted by Appellant, the repeater R

"compensates for the different optical loss between near and far terminals T"; Husbands

also discloses "the head-end repeater R must have the capability to rapidly adjust

between optical signals received from the closest transmitter T and those from the most

distant transmitter. To compensate for this process it is possible to engineer an optically

balanced system by tapering the coupler tap ratios." That is, the head-end repeater R

has a processing component to perform monitoring/detection and the compensation etc.



         2). Regarding Argument C.1. (b), the Appellant argues on pages 10-12 of the

Brief:

                Figure 3 introduces an improvement to the passive star coupler of Figure 2. All

         transmitters T transmit to a fiber optic star 10, which combines the signals together. Id.

         at 3:60-61. 'The resulting signal is amplified and distributed through a second outbound




                                             Appx3588
Application/Control Number: 17/138,794                                                     Page 40
Art Unit: 2636
      star 12." Id. at 61-63. No processing is included in the stars 10 and 12. As illustrated in

      Figure 4, only receivers 32 and 84 and transmitters 30 and 82 are illustrated to

      propagate the signals. Id. at Figure 4.



      Id, at 19-30. This is the foundation of the operation in Husbands. A signal from a terminal

      enters a star coupler. One output of the star coupler is received by a receiver R,

      electrically transmitted to transmitter T, and split to all of the devices through the output

      star coupler.



              The nodes and terminals of Husbands involve either (1) no processing or (2)

      specialized functions, none of which are control of the network in any manner. The

      receivers and transmitters merely repeat signals and perform no processing. The babble

      detector 50 and activity monitor 48 merely provide information, not control of the

      network. Finally, the video distribution service merely provides video channels and is out

      of band for the main network communication.

              In stark contrast, Yuki requires a master that manages the network. The slave

      units issue reports on an amount of data needed. Yuki 2:21-23. The master unit instructs

      the slave units on a maximum number of bits that may be transmitted. Id. 2:23-27.

              The operation of Yuki changes the principle of operation of Husbands. First, this

      is a fundamental change from the terminals of Husbands that may transmit at any time,

      only stopping if the network is being used. No terminal in Husbands gives others

      permission to transmit data. Second, a master-slave network necessarily needs some

      processing. The nodes of Husbands themselves have none. The transmitters and

      receivers are merely repeaters.

             Any remaining terminals in Husbands are fundamentally different from a network

      master. The babble detector has a specific purpose to detect collisions. The OTDR




                                          Appx3589
Application/Control Number: 17/138,794                                                       Page 41
Art Unit: 2636
       checks the continuity of fibers. The activity detector provides statistics. A video

       distribution service provides out-of-band video channels to the normal network

       communications. No device has any network control functionality.

               Finally, the operation of Yuki makes the terminals of Husbands unsuitable for

       their intended purpose. As described above, it is a feature of Husbands that there is no

       central controller and any terminal can initiate communications. Yuki's system

       specifically requires a master and requires the slaves to ask for permission to transmit

       data.

               Accordingly, there is no rational basis to modify the peer-to-peer system of

       Husbands with the master/slave system of Yuki.




       Appellant's argument is not persuasive. First, Husbands' head-end is not a

simple "star coupler", and does not "merely repeat signals and perform no processing".

Husbands' head-end is actually "an active star" (column 3 line 56, and column 4 line

16); and the head-end can perform amplification, switching, monitoring/detection and

technical control etc. functions (column 3 line 62, column 4 line 37, column 4 line 67 to

column 5 line 2, column 5 line 42 to column 6 line 17), and also "[a] video distribution

service may also be provided on an unexpanded network by use of the auxiliary ports

44 on the outbound star node 47" etc. (column 5 line 42 to column 6 line 50 etc.). The

functions performed by the head-end are different from the functions performed by the

user terminals (T) each having optical modem (18). The head-end (24 in Figure 4, left

side of Figure 7, and head-end in Figure 8) monitors/controls the powers sent to the

plurality of terminals, also the babble detector in node 46 "monitors the incident optical

Manchester waveform of the packets".




                                           Appx3590
Application/Control Number: 17/138,794                                               Page 42
Art Unit: 2636
       In Husbands' optical local area network (LAN) system, a CSMA/CD protocol is

used to control data transmissions "on a time shared transmission medium" and to

attempt to avoid/reduce "collision" (column 2 line 62; also refer column 5 line 68 to

column 6 line 2, "[i]n the event of an optical collision, this waveform will be distorted, but

such collision should persist for only a short duration. If a terminal modem malfunctions

in the "on" state, and begins to optically jam the network ("babbling"), an excessive

collision count is signaled); the Collision Detection CD is used, and the CSMA/CD

avoids collisions by waiting for an idle signal before sending data. The control logic in

Husbands' LAN client (user terminal) can perform "listen while talk" etc., and can

determine when to transmit a signal.

       However, the CSMA/CD protocol has some disadvantage; and the second

reference, Yuki et al, discloses that the conventional access protocols including

CS MA/CD etc., have some "drawbacks that make these protocols incapable of handling

burst traffic containing several megabytes of data, which is expected to grow even more

in the future. When, for example, information signals generated in bursts of several

megabytes are transmitted according to the CSMA/CD protocol, the information signals

are separated into packets of about 64-1500 kB and repeatedly transmitted.

Consequently, increased burst traffic results in a markedly lower throughput because of

the higher frequency of retransmission due to packet collisions .... the delay time

increases and is not constant any longer ..... Thus, conventional access protocols for

point-to-multipoint communication systems are disadvantageous in that an increase in

burst traffic containing several megabytes of data results in a lower throughput and




                                        Appx3591
Application/Control Number: 17/138,794                                              Page 43
Art Unit: 2636
makes it impossible to comply with time requirements for downstream transmission"

(column 1 line 29 to column 2 line 6 etc.).

       Yuki et al discloses "Point-to-multipoint communication systems such as LANs,

CATV networks, satellite communication networks, and optical subscriber access

networks are commonly configured such that a master unit and a plurality of slave units

communicate by sharing, for example, transmission lines such as those used in coaxial

communication, optical-fiber communication, and radio communication". Yuki et al

discloses an "access protocol for the point-to-multipoint communication system of the

present invention, the main principle of operation is that "a report is issued regarding the

information amount necessary for signal transmission + an instruction regarding

transmission below a specific maximum value is issued on the basis of the information

amount reported."" (column 2 lines 14-20). Yuki's approach/protocol "allows slave units

to transmit signals in accordance with instructions from the master unit, no signal

collisions occur in the transmission line and a throughput reduction such as that

observed in the case of CSMA/CD is avoided when signals containing several

megabytes of data are transmitted in bursts." (column 2 lines 28-34; column 3 lines 43-

49; column 30 lines 5-14) and "allows the maximum amount of stored signal to be

stabilized at a comparatively low level without the increase observed in the access

protocol based on TOMA or CSMA/CD, can easily accommodate burst traffic, and is

capable of reducing the buffer memory requirements of slave units when the load factor

of the transmission line is high and the burst traffic increases in volume" (column 23

lines 14-22. And column 21 lines 49-60; column 30 lines 19 and 26). Yuki et al also

states "the access protocol in accordance with the present invention can be easily




                                       Appx3592
Application/Control Number: 17/138,794                                              Page 44
Art Unit: 2636
adapted, for example, to FDM (Frequency Division Multiplex), FDMA (Frequency

Division Multiple Access), CDMA (Code Division Multiple Access), and the like."

(column 30 line 1-4). That is, Yuki's access protocol can be easily adapted to different

protocols and "the like".

       Husbands et al discloses a passive optical LAN that has a head end, and the

head-end can perform multiple "active" functions/processes, but the optical LAN uses

CSMA/CD protocol. However, as discussed above, Yuki et al clearly indicates the

drawbacks of the CSMA/CD protocol used in an optical LAN system. And in Figures 17,

18, 20, 21, 27 and 28 etc., Yuki et al shows the results of comparisons for the same

system according to "present protocol" and according to the access protocols based on

conventional TOMA and CSMA/CD; and Yuki's access protocol performs substantially

better than the CSMA/CD protocol (e.g., "At a load factor of 80%, the maximum

transmission latency time according to the access protocol of the present invention is

about 1/3 that provided by the TOMA-based access protocol, and about 1/9 that

provided by the CSMA/CD-based access protocol", column 20 line 40-52 etc.).

       Husbands et al discloses to use CSMA/CD to attempt avoiding/reducing

"collision" and Yuki discloses an access protocol "completely eliminating signal

collisions in the transmission line and preventing the throughput from decreasing in the

manner observed with CSMA/CD (column 2 lines 29-34, column 13 lines 10-11, column

30 lines 5-14, and column 14 lines 31-37). That is, Yuki's access protocol not only avoid

collision but also increase throughput. A person of ordinary skill in the art before the

effective filing date of the claimed invention would have recognized that Yuki's access

protocol could have been substituted for the CSMA/CD protocol of Husbands et al




                                        Appx3593
Application/Control Number: 17/138,794                                                     Page 45
Art Unit: 2636
because both the CSMA/CD and Yuki's access protocol try to resolve issues of

collisions in the transmission line, but Yuki's access protocol increases signal

throughput and performs significantly better. Furthermore, a person of ordinary skill in

the art would have been able to carry out the substitution, and Husbands' active head-

end can be modified to perform the transmission controlling, or as a "master unit".

Finally, the substitution achieves the predictable result of increasing the throughput

significantly.

         Therefore, it would have been obvious to one of ordinary skill in the art before the

effective filing date of the claimed invention to substitute Yuki's access protocol for the

CSMA/CD protocol of Husbands et al according to known method to yield the

predictable result of increasing throughput, relaxing the buffer memory requirements,

reducing the latency time elapsed before a slave/client unit transmits a signal, and

increasing system capacity.

         Then, Appellant's arguments "there is no rational basis to modify the peer-to-peer

system of Husbands with the master/slave system of Yuki .... , the operation of Yuki

makes the terminals of Husbands unsuitable for their intended purpose" are incorrect.



         3). Regarding Argument C.2. (a), the Appellant argues on pages 12-13 of the

Brief:

                 2. The alleged rationale to combine Yuki with Husbands is not rational.

                 The Examiner's rationales to combine Yuki with Husbands do not support the

         combination. First, the Examiner appears to confuse CSMA with CDMA. As an alleged

         rationale to combine Yuki with Husbands, the office alleges that "FDM (Frequency

         Division Multiplex), FDMA (Frequency Division Multiple Access), CDMA (Code Division




                                            Appx3594
Application/Control Number: 17/138,794                                                   Page 46
Art Unit: 2636
       Multiple Access), and the like" can be easily adapted to different protocols. Office Action

       at 16. However, CDMA and CSMA are not the same. In CSMA collisions are both

       inherent and detected to control access. Husbands at 2:49-54. After data is garbled by a

       collision, the data must be retransmitted. Id. at 2:54-58. Frequency division or code

       division access systems allow for simultaneous transmission. For example, in CDMA "a

       signal string characteristic for each optical network unit ONU is generated so that all

       signal strings can be detected even in the event that there is an overlap between several

       signal strings received simultaneously at the center OL T." U.S. Patent No. 6,011,637

       ("Pfeiffer') at 4:41-46. That the system of Yuki may be used where CDMA is used does

       not provide a reason to use Yuki's system in the CSMA system of Husbands.




      Appellant's argument is not persuasive.

       First, Examiner does not "confuse CSMA with CDMA". One skilled in the art fully

understands that CSMA and CDMA are different protocols. In page 16 of the Final-

Action, Examiner states "Yuki et al's approach/protocol "allows slave units to transmit

signals in accordance with instructions from the master unit, no signal collisions occur in

the transmission line and a throughput reduction such as that observed in the case of

CSMA/CD is avoided when signals containing several megabytes of data are

transmitted in bursts." (column 2 lines 28-34; column 3 lines 43-49; column 30 lines 5-

14) and "allows the maximum amount of stored signal to be stabilized at a

comparatively low level without the increase observed in the access protocol based on

TOMA or CSMA/CD, can easily accommodate burst traffic, and is capable of reducing

the buffer memory requirements of slave units when the load factor of the transmission




                                          Appx3595
Application/Control Number: 17/138,794                                              Page 47
Art Unit: 2636
line is high and the burst traffic increases in volume" (column 23 lines 14-22. And

column 21 lines 49-60; column 30 lines 19 and 26).

       Yuki et al also states "the access protocol in accordance with the present

invention can be easily adapted, for example, to FDM (Frequency Division Multiplex),

FDMA (Frequency Division Multiple Access), CDMA (Code Division Multiple Access),

and the like" (column 30 line 1-4); that is, Yuki's access protocol can be easily adapted

to different protocols, and "the like"." (emphasis added).

       As can be seen above, Examiner first indicates that Yuki's access protocol has

been applied to the system where the CSMA/CD or TOMA is used, and comparisons

are made, and improvements over the CSMA/CD or TOMA are observed: "throughput

reduction such as that observed in the case of CSMA/CD is avoided" and "allows the

maximum amount of stored signal to be stabilized at a comparatively low level without

the increase observed in the access protocol based on TOMA or CSMA/CD" etc .. And

then, Examiner points out that Yuki et al also discloses that Yuki's access protocol can

be easily adapted to FDM, FDMA, CDMA and the like systems.

       That is, Yuki's access protocol can be used not only in TOMA or CSMA/CD

system but also in FDM, FDMA, CDMA and the like system. The Examiner does not

"confuse CSMA with CDMA". Appellant's arguments "the Examiner appears to confuse

CSMA with CDMA. ... That the system of Yuki may be used where CDMA is used does

not provide a reason to use Yuki's system in the CSMA system of Husbands" is

incorrect.




                                       Appx3596
Application/Control Number: 17/138,794                                                       Page 48
Art Unit: 2636
         4). Regarding Argument C.2. (b), the Appellant argues on pages 13-14 of the

Brief:

                The Examiner also irrationally relied on Yuki's applicability to master/slave

         systems. The Examiner argued that "point-to-multipoint communication systems such as

         LANs ... are commonly configured such that a master unit and a plurality of slave units

         communicate by sharing, for example, transmission lines[.]" Office Action at 16-17. The

         Examiner argued that the point-to-multipoint system of Yuki was widely applicable to

         systems with a master unit and slave units. Id at 17. The Examiner's reliance on the

         applicability of Yuki's system to master/slave systems is misplaced as Husbands does

         not have a master/slave system. Thus, any argument that Yuki's system may be

         incorporated into an existing master/slave system is inapplicable to Husbands.

                The Examiner's modifications are premised on the head end of Husbands

         including the head end 24 of Figure 4 and "the monitor 48 and OTDR etc." Office Action

         at 12. Husbands does not refer to this combination as the head end. The activity monitor

         and OTDR are separate from the head end 24 of Figure 4 or the star node 46 of Figure

         7. Husbands at Figures 4 and 7. The activity monitor 48 is effectively another terminal. It

         could be placed anywhere on the network as all traffic is transmitted to all terminals. It is

         not necessarily part of the head end 24 or the star node 46. As described above, the

         OTDR is a piece of test equipment to test the optical fibers. Nothing discloses that one

         skilled in the art would include the activity monitory 48 or OTDR in a head end or even

         consider the combination to be a head end.

                The Examiner implies that Yuki's access protocol can be used in a LAN that has

         CSMNCD. Office Action at 6. However, Yuki is a wholesale replacement for a

         CSMNCD based system. CSMA/CD inherently has collisions. Husbands 2:49-54. Yuki's

         system eliminates collisions, particularly, the ones from CSMNCD. Yuki at 2:29-34. One




                                             Appx3597
Application/Control Number: 17/138,794                                                    Page 49
Art Unit: 2636
       skilled in the art would not use Yuki's protocol that does not have collisions to modify a

       CSMNCD system that inherently has collisions.




       Appellant's argument is not persuasive. First, as discussed above, Husbands's

head-end is an active head-end; that is, the head-end can be viewed as a "point", and

the plurality of user terminals can be viewed as "multipoint".

       Second, Husbands never state that the activity monitor 48 is another terminal.

Husbands discloses "the auxiliary optical ports 44 on the star node 46 may be used to

provide several functions associated with technical control. If the fiber optic node is

configured in the loop back mode, so that it functions as the network head-end, all

information received from the terminals will appear at the auxiliary ports on the inbound

star. An activity monitor 48 connected to one of the ports 44 on the star can provide

useful network statistics during operation. The activity monitor 48 consists of an optical

detector followed by electronics for decoding packet headers (not shown). By examining

incident packet headers, information is obtained on all current virtual connections, and

statistics are acquired that can be used to reveal excessive numbers of bad packets,

retransmissions, or unexpected disruptions of virtual connections" (column 5 lines 42-

62). The ports 44 are part of the node 46; and as shown in Figure 7, a Babble Detector

is also implemented in the node 46. The combination of the node 46 (Babble Detector

inside), activity monitor 48 and OTDR etc. can be viewed as a head-end.

       Regarding Appellant's arguments "CS MA/CD inherently has collisions". As

discussed in Section "2). Regarding Argument C.1. (b)", Husbands uses CSMA/CD

protocol to attempt to avoid/reduce "collision", and the Collision Detection CD is used,

and the CSMA/CD avoids collisions by waiting for an idle signal before sending data.



                                          Appx3598
Application/Control Number: 17/138,794                                                        Page 50
Art Unit: 2636
That is, the main purpose of the CSMA/CD is to avoid/reduce collisions. Yuki's access

protocol not only avoid collision but also increase throughput. As discussed in Section

"2). Regarding Argument C.1. (b)"above, a person of ordinary skill in the art before the

effective filing date of the claimed invention would have recognized that Yuki's access

protocol could have been substituted for the CSMA/CD protocol of Husbands et al

because both the CSMA/CD and Yuki's access protocol try to resolve issues of

collisions in the transmission line; and a person of ordinary skill in the art would have

been able to carry out the substitution, and Husbands' active head-end can be modified

to perform the transmission controlling, or as a "master unit". Finally, the substitution

achieves the predictable result of increasing the throughput significantly, relaxing the

buffer memory requirements, reducing the latency time elapsed before a slave/client

unit transmits a signal, and increasing system capacity.



         5). Regarding Argument C.2. (c), the Appellant argues on pages 14-15 of the

Brief:

                 The Examiner's logic with respect to point-to-multipoint communication systems

         and LANs in Yuki is flawed. The Examiner alleges that point-to-multipoint communication

         systems may be a LAN. Id. at 11 and 16, citing Yuki at 1: 17-23. Yuki only mentions a

         LAN in one location. Yuki at 1:17-23. However, this LAN is a configuration with "master

         unit and a plurality of slave units." Id. Thus, it is not applicable to the peer-to-peer system

         of Husbands.

                Next, the Examiner relies on a logical fallacy to allege that Figure 1 of Yuki is a

         LAN and that the protocol is applicable to a LAN. The Examiner's logic is that (1) Figure

         1 is a point to multipoint system, (2) some point-to-multipoint communication systems




                                             Appx3599
Application/Control Number: 17/138,794                                                     Page 51
Art Unit: 2636
       are LANs, and therefore (3) Figure 1 of Yuki is a LAN and (4) Yuki's system may be

       applied to any LAN. This logic requires that all point-to-multipoint communication

       systems are LANs. Without that, the logic fails at (2). Unfortunately, Yuki only discloses

       that some point-to-multipoint communication systems are LANs.

              Reinforcing this point, Yuki discloses that Figure 1 is "an optical access

       network[]" not a LAN. Yuki at 11:58-59. Yuki lists an optical subscriber access network

       as a different type of communication system from a LAN, CA TV network, and a satellite

       communication network. Id. at 1: 17-19. In access networks, data flows in a downstream

       direction from a head-end to terminals and in an upstream direction from the terminals to

       the head end. See USS. Patent No. 6,023,467 at 3:44-51. The head-end and terminals

       are not peer entities. Id. at 3:54-58. This matches the upstream and downstream

       direction of data in Yuki. See Yuki at Figure 4 and 12:43-59 (describing the upstream

       and downstream transmission frames). This is in contrast to the peer-to-peer LAN of

       Husbands where "any terminal can initiate communications to other terminals."

       Husbands at 2:35-37.



      Appellant's argument is not persuasive. First, as admitted by Appellant, Yuki's

point-to-multipoint communication can be a LAN (" Yuki only discloses that some point-

to-multipoint communication systems are LANs"). And Yuki's access protocol can be

used in a point-to-multipoint LAN system. Examiner's "logic" never "requires that all

point-to-multipoint communication systems are LANs".

       Based on Appellant's argument "This logic requires that all point-to-multipoint

communication systems are LANs. Without that, the logic fails at (2)", Appellant's logic

is: without "all point-to-multipoint communication systems are LANs", the logic fails at

"some point-to-multipoint communication systems are LANs". Appellant's this logic "is




                                          Appx3600
Application/Control Number: 17/138,794                                                Page 52
Art Unit: 2636
flawed". If I say "five amplifiers in the optical link are erbium-doped fiber amplifiers

(EDFAs)", does that require that all amplifiers in the optical link are EDFAs? If five

EDFAs and three semiconductor amplifiers (SOAs) are in the optical link, can I say "five

amplifiers in the optical link are EDFAs"? Certainly, the statement "five amplifiers in the

optical link are EDFAs" does not require that all amplifiers in the optical link are EDFAs.

       Yuki et al discloses that point-to-multipoint communication systems can be

"LANs, CATV networks, satellite communication networks etc.", that is, some point-to-

multipoint communication systems are LANs.

       Second, as discussed in Section "2). Regarding Argument C.1. (b)" to Section

"4). Regarding Argument C.2. (b)" above, Husbands' head-end is an active head-end,

which can be viewed as a "point", and the user terminals (having optical modems) can

be viewed as "multipoint". And both the CSMA/CD and Yuki's access protocol try to

resolve issues of collisions in the transmission line, and Husbands' active head-end can

be modified to perform the transmission controlling, or as a "master unit", and the

substitution of the CSMA/CD protocol in Husbands with Yuki's access protocol achieves

the predictable result of increasing the throughput significantly, relaxing the buffer

memory requirements, reducing the latency time elapsed before a slave/client unit

transmits a signal, and increasing system capacity.



       6). Regarding Argument C.3., the Appellant argues on pages 15-16 of the Brief:

              3. The Examiner is relying on hindsight.

              Here, the Examiner has been unable to find a reference that would be combined

       with Husbands CSMA/CO based system. Yuki discloses using time division multiplexing

       (TOM) and time division multiple access (TOMA) as part of the system. Yuki at 12:45-54.




                                         Appx3601
Application/Control Number: 17/138,794                                                  Page 53
Art Unit: 2636
       Yuki discloses that although TOM and TOMA may be used, Yuki's access protocol may

       be used with other types of access control such as CDMA, FDM, and FDMA. Id. at

      29:65-30:4.

              Conspicuously absent from the list of access control protocols is CSMNCD.

       CSMNCD appears over 39 times in Yuki, including Figures 18 20 21 27 and 28

      comparing CSMNCD to Yuki's system. However, Yuki never mentions that the system

       may be used with CSMA/CD.

              Accordingly, the combination of Husbands and Yuki does not disclose or suggest

       each and every limitation of claims 1, 23, and 24 and the rejections should be reversed.

       Claims 1, 3-6, 11-14, 17, and 18 depend from claim 1, and the rejections should be

       reversed for at least the reason that claim 1. See Jn re Fine, 837 F.2d at 1076 (allowing

       dependent claims that depend from and further limit allowable base claims); see also

       MPEP § 2143.03 (same).




      Appellant's argument is not persuasive. First, in response to applicant's argument

that the examiner's conclusion of obviousness is based upon improper hindsight

reasoning, it must be recognized that any judgment on obviousness is in a sense

necessarily a reconstruction based upon hindsight reasoning. But so long as it takes

into account only knowledge which was within the level of ordinary skill at the time the

claimed invention was made, and does not include knowledge gleaned only from the

applicant's disclosure, such a reconstruction is proper. See In re McLaughlin, 443 F.2d

1392, 170 USPQ 209 (CCPA 1971 ). Refer to Section "2). Regarding Argument C.1. (b)"

to Section "5). Regarding Argument C.2. (c)" above, Examiner's reasoning "takes into

account only knowledge which was within the level of ordinary skill at the time the




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claimed invention was made, and does not include knowledge gleaned only from the

applicant's disclosure".

       Second, if according to Appellant's argument "Yuki never mentions that the

system may be used with CSMA/CD', how all the results of comparison shown in Yuki's

Figures 17, 18, 20, 21, 27, 28 come from?

       As shown in Figures 17, 18, 20, 21, 27, 28, Yuki et al presents "the results of a

comparison" of different test parameters among Yuki's access protocol, TOMA and

CSMA/CD protocols for a same point-to-multipoint system. The results shown in solid

triangles are for the CSMA/CD protocol. That is, Yuki clearly and concretely discloses

that "the system can be used with CSMA/CD". Appellant's argument" Yuki never

mentions that the system may be used with CSMA/CD' is incorrect.




       7). Regarding Argument D., the Appellant argues on page 16 of the Brief:

              Finley does not disclose adding a master to a peer-to-peer CSMNCD based

       network and modifying attached terminals to act as slaves to the master. ...

              Accordingly, the combination of Husbands, Yuki, and Finley does not disclose or

       suggest each and every limitation of claim 1. The rejection of dependent claims 2 and 7

       should be reversed.



       Appellant's argument is not persuasive. Examiner respectively maintains, for the

reasons provided above and previously, that the limitations appear in parent claim 1 are

in fact properly taught by Husbands and Yuki, and have been addressed in connection

with that claim. As such, Appellant's argument is moot since Finley is not relied upon to

teach that limitations.




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       8). Regarding Argument E, the Appellant argues on page 17 of the Brief:

             Xu teaches against making the modification to a CSMNCD based system to

      remove the CSMA/CD system and incorporate the complicated protocol of Yuki as

      proposed by the Examiner.

             Accordingly, the combination of Husbands, Yuki, and Xu does not disclose or

      suggest each and every limitation of claim 1. The rejection of dependent claims 8 should

      be reversed.




      Appellant's argument is not persuasive. First, Xu is cited mainly for teaching

power adjustment of the upstream signal. Nowhere in the disclosure does Xu "teaches

against making the modification to a CSMA/CD based system to remove the CSMA/CD

system and incorporate" another protocol (note: the applicant did not present this

argument in the "Response Under 37 C. F. R. 1.111 ", submitted on 1/9/2022, in

"Responsive to the Office Action mailed on October 08, 2021 "). Second, Examiner

respectively maintains, for the reasons provided above and previously, that the

limitations appear in parent claim 1 are in fact properly taught by Husbands and Yuki,

and have been addressed in connection with that claim. As such, Appellant's argument

is moot since Xu is not relied upon to teach that limitations.



       9). Regarding Argument F, the Appellant argues on page 17 of the Brief:

              ITU- T does not disclose adding a master to a peer- to-peer CSMA/CD based

       network and modifying attached terminals to act as slaves to the master.




                                         Appx3604
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Art Unit: 2636
              Accordingly, the combination of Husbands, Yuki, and ITU-T does not disclose or

       suggest each and every limitation of claim 1. The rejection of dependent claim 9 should

       be reversed.




       Appellant's argument is not persuasive. Examiner respectively maintains, for the

reasons provided above and previously, that the limitations appear in parent claim 1 are

in fact properly taught by Husbands and Yuki, and have been addressed in connection

with that claim. As such, Appellant's argument is moot since ITU-Tis not relied upon to

teach that limitations.



       10). Regarding Argument G, the Appellant argues on page 18 of the Brief:

               Warden does not disclose adding processing where processing did not exist,

       adding a master to a peer-to-peer CSMNCD based network, and modifying attached

       terminals to act as slaves to the master.

              Accordingly, the combination of Husbands, Yuki, and Warden does not disclose

       or suggest each and every limitation of claim 1. The rejection of dependent claim 10

       should be reversed.




       Appellant's argument is not persuasive. Examiner respectively maintains, for the

reasons provided above and previously, that the limitations appear in parent claim 1 are

in fact properly taught by Husbands and Yuki, and have been addressed in connection

with that claim. As such, Appellant's argument is moot since Warden et al is not relied

upon to teach that limitations.




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       11 ). Regarding Argument H, the Appellant argues on page 18 of the Brief:

              Chang and Masucci do not disclose adding a master to a peer-to-peer CSMNCD

       based network and modifying attached terminals to act as slaves to the master.

              Accordingly, the combination of Husbands, Yuki, Chang, and Masucci does not

       disclose or suggest each and every limitation of claim 1. The rejection of dependent

       claims 15, 16, 19, and 20 should be reversed.




       Appellant's argument is not persuasive. Examiner respectively maintains, for the

reasons provided above and previously, that the limitations appear in parent claim 1 are

in fact properly taught by Husbands and Yuki, and have been addressed in connection

with that claim. As such, Appellant's argument is moot since Chang and Masucci are

not relied upon to teach that limitations.



       12). Regarding Argument I, the Appellant argues on page 19 of the Brief:

              Mahony does not disclose adding a master to a peer-to-peer CSMNCD based

       network and modifying attached terminals to act as slaves to the master.

              Accordingly, the combination of Husbands, Yuki, and Mahony does not disclose

       or suggest each and every limitation of claim 1. The rejection of dependent claim 21

       should be reversed.




       Appellant's argument is not persuasive. Examiner respectively maintains, for the

reasons provided above and previously, that the limitations appear in parent claim 1 are

in fact properly taught by Husbands and Yuki, and have been addressed in connection




                                         Appx3606
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with that claim. As such, Appellant's argument is moot since Mahony is not relied upon

to teach that limitations.



       13). Regarding Argument J, the Appellant argues on page 19 of the Brief:

               Vujkovic-Cvijin focuses on a dense wavelength division multiplexing transmitter

       using low cost discrete optical components. Vujkovic-Cvijin at Abstract. As described

       above, Finley discloses independent, non-homogenous devices communicating on a

       LAN. Neither discloses adding a master to a peer-to-peer CSMA/CD based network and

       modifying attached terminals to act as slaves to the master.

              Accordingly, the combination of Husbands, Yuki, Finley, and Vujkovic-Cvijin does

       not disclose or suggest each and every limitation of claim 1. The rejection of dependent

       claim 22 should be reversed.




       Appellant's argument is not persuasive. Examiner respectively maintains, for the

reasons provided above and previously, that the limitations appear in parent claim 1 are

in fact properly taught by Husbands and Yuki, and have been addressed in connection

with that claim. As such, Appellant's argument is moot since Finley and Vujkovic-Cvijin

are not relied upon to teach that limitations.



       For the above reasons, it is believed that the rejections should be sustained.

Respectfully submitted,

/LI LIU/
Primary Examiner, Art Unit 2636




                                         Appx3607
Application/Control Number: 17/138,794                                            Page 59
Art Unit: 2636
Conferees:

/KENNETH N VANDERPUYE/
Supervisory Patent Examiner, Art Unit 2636


/CHIEH M FAN/
Supervisory Patent Examiner, Art Unit 2632


Requirement to pay appeal forwarding fee. In order to avoid dismissal of the instant
appeal in any application or ex parte reexamination proceeding, 37 CFR 41.45 requires
payment of an appeal forwarding fee within the time permitted by 37 CFR 41.45(a),
unless appellant had timely paid the fee for filing a brief required by 37 CFR 41.20(b) in
effect on March 18, 2013.




                                       Appx3608
              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

                   BEFORE THE PATENT TRIAL AND APPEAL BOARD



                                  Application No. 17/138,794

   Title: COMMUNICATION SYSTEM AND METHOD FOR AN OPTICAL LOCAL AREA
                                 NETWORK

  Inventor: Alexander I. Soto et al.                                  Confirmation No. 1022

  Filing Date: December 30, 2020                                           Examiner: Li Liu

  Attorney Docket No. UBI-005E                                         Group Art Unit: 2636



                                       REPLY BRIEF


TO THE COMMISSIONER FOR PATENTS:

       The Applicant submits this timely Reply Brief, pursuant to 37 C.F.R. § 41.41, in

response to the Examiner's Answer dated September 9, 2022 ("Examiner's Answer" or simply

"Answer" herein) and in support of the Applicant's Appeal Brief filed August 4, 2022 ("Appeal
Brief' herein).

       If the Office believes any additional fee is due, it is authorized to charge Deposit

Account No. 50-5836.




                                        Appx3612
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                      1.         Yuki does not disclose that the protocol is used in a CSMA/CD
                                 system .......................................................................................................... 4

                      2.         The Examiner ignores the required wholesale modification and
                                 elimination of express features of Husbands to incorporate
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III.       Conclusion ........................................................................................................................... ?




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                                                               Appx3613
I.         INTRODUCTION

      The Answer has several flaws. The Examiner continues to misunderstand the operation
of Husbands. In addition, the Examiner misunderstands Yuki's analysis of its protocol. Finally,
the combination of Husbands with Yuki would necessarily be a wholesale modification of
Husbands and an elimination of express features of Husbands' system.



II.        ARGUMENTS IN REPLY TO EXAMINER'S ANSWER

           A.   Examiner's misunderstandings of Husbands.

      The Examiner misunderstands the purpose of the repeaters R in the various networks of
Husbands to argue that some form of processing is performed. Answer at 39. The Examiner
also misunderstands the rapid adjustment to different optical signals as a feature instead of a
problem that is solved by the network architecture. Id.

      The repeaters R are used to compensate for optical power losses as more couplers are
used. Husbands at 3:7-11. As more couplers are used for more terminals, the optical loss
increases, requiring a repeater R. Id. Reproduced below is Figure 1 of Husbands.




                          r                T                r                T


Id. at Figure 1. The repeater R may compensate for the difference in power level. Id. at 3:16-
19. In addition, the tap ratio of the couplers may be adjusted to compensate for the different
optical losses due to different distances from the repeater R. Id. at 3:19-21. There is no




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                                          Appx3614
processmg of any information within the optical signals by the repeater R disclosed m
Husbands. Its sole function is to attempt to equalize the optical power level.

           The Examiner alleges that Husbands head end is not a simple star coupler. Answer at
41. That is exactly what Husbands discloses for Figures 2 and 3. Star couplers Sor stars 10 and
12 are simple star couplers. Husbands at 3:33-35; 3:58-63. Figure 3 adds a repeater R to
"compensate for optical power losses." Id. at 3:56-58. No processing of data encoded in the
optical signals is performed. The star is only active as it includes a repeater R. Id. It is not
active because it performs some processing of the data. The "active" label only indicates that
a repeater is present.

           The Examiner alleges that "the head-end can perform amplification, switching,
monitoring/detection and technical control etc. functions." Answer at 41. However, the
various citations provided by the Examiner do not disclose any processing. For example, the
citation to col. 3, line 62 is merely the amplification and distribution of the optical signal
through the outbound star coupler 12. Husbands at 3:61-63. No processing of the data is
disclosed.

           The citations to col. 4, line 37 and col. 4 line 67 to col. 5, line 2 disclose no processing.
Those sections merely disclose switching on the electrical connection of the transmitter 82
and receiver 84 to the receiver 32 and transmitter 30, respectively, to repeat the signals. Id. at
3:36-39. The purpose of switching on this electrical connection is to enable to the cascaded
structure of Figure 6. It is a "switch selectable mode of operation to either serve as a repeater
or to loop back incoming traffic." Id. at 4:67-5:1. There is no switching of data, no analysis of
data in packet, or the like. The connection is turned on or off based on the position of the
node 24 in the cascaded configuration of Figure 6. A node 24 is either set to be in loop-back
mode at the highest level or set to be in the repeater mode for the lower levels. Id. 5:7-12.




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                                                Appx3615
           The remainder of the citations are to the various secondary terminals that may be
attached to the node 24. These were addressed in the Appeal Brief at 11. The Examiner
provided no evidence that any performed processing or network control beyond mere
monitoring.

           The "technical control" cited by the Examiner is performed by a person. "[I]nformation
is displayed to a technical controller who initiates corrective maintenance." Husbands at 5:62-
64, emphasis added. A terminal may be connected to the inbound and outbound stars 47 and
49 to allow "the technical controller to query any of the terminal devices in the network[.]"
Id at 6:3-9.

           The Examiner even recognizes that in Husbands, it is the terminals that perform the
network control of CSMNCD. Answer at 42. "Husbands' LAN client (user terminal) can
perform "listen while talk" etc., and can determine when to transmit a signal." Id In other
words, the network access control is in the terminals, not in a node. Husbands' nodes 24, 46,
70, 71, 72, 74, or the like merely form a repeater network. A terminal's communications are
repeated to the other terminals without modification. See Appeal Brief at 10-11 describing
the various configurations of Husbands' network.

           The Examiner alleges that the combination of a node 46 with a babble detector 50,
activity monitor 48, and OTDR can be viewed as a head end. Answer at 49. Husbands does
not use the term head end to describe that combination. This is pure hindsight by the
Examiner in an attempt to bring in some form of processing. Regardless, as described in the
Appeal Brief at pp. 10-11, the devices attached to the node 24 do not perform processing or
network control.

           The alleged improvement of the replacement suggested by the Examiner rests on the
assumption that the head end of Husbands has processing.             The Examiner argues that
Husbands' "head end can perform multiple "active" functions/processes" and that Husbands'


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                                             Appx3616
"active head-end can be modified to perform the transmission controlling, or as a "master
unit"." See Answer at 44-45, emphasis in original. As described above, Husbands head end
does not perform processing or any network control. The "active" aspect is the mere use of a
repeater whether an optical repeater R as in Figures 1 and 3 or an optical to electrical to optical
conversion of the receiver Rand transmitter Tin Figure 4 and onward. The "activeness" of
Husbands is merely in the repeating of an optical signal which requires power and thus active
as opposed to the passive optical splitters, not in any processing or network control.

           B.     Examiner's Arguments Regarding Yuki and the Combination with Husbands

                  1. Yuki does not disclose that the protocol is used in a CSMNCD system

           The Examiner alleges that "Yuki clearly and concretely discloses that "the system can
be used with CDMA/CD"." Answer at 54. The Examiner's argument appears to be that Figures
17, 18, 20, 21, 27, and 28 show Yuki's access protocol being applied to a CSMA/CD system.
This is false.

           Yuki expressly discloses that Figure 17 compares an embodiment of Yuki's access
protocol with "access protocols of conventional TDMA or CSMA/CD." Yuki at 20:40-44,
emphasis added. Similarly, Yuki expressly discloses that Figure 18 compares "the access
protocol of the first embodiment aspect of the present invention and according to access
protocols based on conventional TDMA and CSMNCD." Id. At 20:56-58, emphasis added.
"FIG. 20 depicts the results of a comparison between the access protocol based on the second
embodiment aspect of the present invention and access protocols based on conventional
TDMA and CSMA/CD." Id. At 22:48-51, emphasis added. Results of Figure 21 are "obtained
using the same simulation" as Figure 20 showing the results of the second embodiment. Id. At
23:9-16. Yuki introduces Figures 27 and 28 as "a description of comparison results obtained
by simulating access protocols based on conventional TDMA and CSMNCD, and an access




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                                             Appx3617
protocol based on the fourth embodiment aspect of the present invention described above."
Id At 28:28-32., emphasis added.

           Yuki clearly and unambiguously distinguishes various embodiments of Yuki's protocol
with conventional CSMA/CD. Yuki's protocol is not described as being used in a CSMA/CD

system.

                 2. The Examiner ignores the required wholesale modification and elimination
                    of express features of Husbands to incorporate Yuki's protocol

           Yuki is a wholesale replacement for a CSMNCD system. The Examiner's arguments
listed drawbacks of a CSMA/CD system and described how Yuki's system is better. See Answer
at 42-44. However, Yuki never discloses that Yuki's protocol can be used in a CSMNCD
system. The Examiner argued that Yuki's protocol could be adapted to a variety different
system. Answer at 44 and 47. However, none of those are a CSMNCD system. The system
must be replaced.

           In addition, the Examiner did not address the requirement of Yuki to have a
master/slave relationship with the clients. Understandably, Husbands discloses a peer-to-peer
system with no central controller where any terminal can initiate communication to another
terminal. See Appeal Brief at 10, citing Husbands at 2:29-31. Husbands literally uses the word
"feature" to describe this concept. Id The Examiner recognizes this, stating that "Husbands'
LAN client (user terminal) can perform "listen while talk" etc., and can determine when to
transmit a signal." Answer at 42. Each client makes the determination on when to transmit
on the network.

           The Examiner's arguments require that Husbands is modified to be a master/slave
system. Answer at 50. There is no explanation how Yuki's protocol could be incorporated
without modifying Husbands to be a master/slave system. Doing so would destroy the express
feature of clients in Husbands to initiate communications without a central controller.



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                                            Appx3618
                 3. The Examiner continues to use flawed logic

           The Examiner misinterprets the logical argument.      The Examiner argues that "as
admitted by Appellant, Yuki's point-to-multipoint communication can be a LAN." Answer at
51. This is incorrect and replaces the argument with the Examiner's flawed logic. Yuki's
Figure 1 is not a LAN. This is clear from the argument from the Appeal Brief at pp. 14-15 that
is quoted on pp. 50-51 of the Answer. It is not true that if Figure 1 of Yuki is a point-to-
multipoint network and some point-to-multipoint networks are LANs then Figure 1 of Yuki
is must be a LAN. The Examiner's logic would only be correct if all point-to-multipoint
networks are LANs. As explained in the Appeal Brief at pp. 14-15 that is quoted on p. 51 of
the Answer, Yuki's Figure 1 is an access network, not a LAN.

           The Examiner's analogy again illustrates the flaw.    See Answer at 52. Using the
Examiner's analogy, the error would be in arguing that (1) Yuki has an optical amplifier, (2)
some optical amplifiers are EDFAs, and therefore (3) Yuki's optical amplifier is an EDFA. This
is incorrect as it could be an SOA.

           C.    Additional References

           In general, the Examiner relies on the disclosures of Husbands and Yuki even when
combined with other references. Answer at 54-58. The only variation is the Examiner's
argument that "Nowhere in the disclosure does Xu "teach[] against making the modification
to a CSMNCD based system to remove the CSMA/CD system and incorporate another
protocol." Id. at 55. As explained in the Appeal Brief at p. 17, Xu's system, enables a simplified
system such that no other complicated MAC protocol is required. Xu teaches that the simple
CSMNCD system of Husbands would not be replaced with the complicated protocol of Yuki.
The Examiner had no response. Answer at 55.




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                                            Appx3619
III.       CONCLUSION

           Based at least on the foregoing, the Applicant respectfully requests that the Board
reverse the Examiner's rejections of all pending claims 1-24.

                                                Respectfully submitted,

       Date:    2022 Nov. 9                     By: IV(?Al'"eAv Meeke¥/
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                                               Attorney Docket No. UBI-005E




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                                            Appx3620
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       4th Floor East                                                                         ART UNIT                      PAPER NUMBER

       Washington, DC 2003 7                                                                      2636


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Please find below and/or attached an Office communication concerning this application or proceeding.

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PTOL-90A (Rev. 04/07)

                                                       Appx3664
                  RECORD OF ORAL HEARING

    UNITED STATES PATENT AND TRADEMARK OFFICE


     BEFORE THE PATENT TRIAL AND APPEAL BOARD


    Ex parte ALEXANDER IVAN SOTO, and WALTER SOTO


                       Appeal 2023-0004 77
                      Application 17 /138,794
                      Technology Center 2600


                 Oral Hearing Held: March 23, 2023


Before HUNG H. BUI, ERIC B. CHEN, and MICHAEL J. ENGLE,
Administrative Patent Judges.

APPEARANCES:

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       The above-entitled matter came on for hearing Thursday,
March 23, 2023, commencing at 3:08 p.m. EDT, via Video-
conference.




                            Appx3665
     Appeal 2023-0004 77
     Application 17 /138,794

 1                           P-R-O-C-E-E-D-I-N-G-S
 2                                                                    3:08 p.m.
 3         JUDGE BUI: Good afternoon, Mr. Soto?
 4         MR. MEEKER: I am Derek Meeker. I'm representing
 5   Alexander Ivan Soto.
 6         JUDGE BUI: Oh, okay. I'm sorry about that. But, good
 7   afternoon. I am Judge Bui. I'm on the Panel. With me, we also have
 8   Judge Chen and Judge Engle.
 9         So, just to tell you, that this is a public hearing. So, the public
1o   might be listening to your presentation. So, please introduce yourself
11   to our Court Reporter, and your law firm.
12         And, you will have 20 minutes. And this case might take a little
13   bit more than that. We allocate a few extra minutes for questioning.
14         You have -- and, we also save a few minutes for, toward the end
15   of the presentation so you can, so our Court Reporter can ask
16   additional spelling of the references.
17         So, with that, please proceed. The floor is yours.
18         MR. MEEKER: Thank you, Your Honors. My name is Derek
19   Meeker. I'm from Lawrence and Phillips. May it please the Board,
20   this is a case about a flawed combination.
21         So, the Examiner was unable in previous rejections, to create a
22   combination that has both a passive optical LAN, that has the
23   functionality recited in the claims.
24         Now, the previous rejections all used references that disclosed
25   access networks, not LAN s. In response, the Examiner came up with




                                       2
                                    Appx3666
     Appeal 2023-0004 77
     Application 17 /138,794

 1   the current rejection with Husbands', which had an optical LAN, but,
 2   without the function recited in the claims.
 3           The Examiner then tried to shoehorn Yuki into Husbands in
 4   order to reach the claimed invention. And, there are several problems
 5   with that.
 6           Now first, I'd like to begin with the functional opposite
 7   structures of Husbands and Yuki. Husbands is a peer-to-peer network.
 8           Husbands expressly discloses that it is a feature of its protocol
 9   that there is no central controller and that any terminal can initiate
10   communications. So, you can see this. It's in Husbands, Column 2,
11   lines 3 5 through 37.
12           Yuki on the other hand, requires a master. The slaves need to
13   request an amount of data. Then the master can instruct the slaves on
14   the maximum amount of data that they are permitted to use.
15           Incorporating Yuki and forcing Husbands to be a master/slave
16   network, would not only be a fundamental redesign of Husbands'
17   network, but it would also eliminate that express feature of Husbands.
18           Now, I'd like to turn to the processing, because the Examiner
19   relies on alleged processing in Husbands in order to try to further
20   justify his combination.
21           And, there is not processing present in Husbands that can
22   perform the operations described in Yuki. So, no embodiment of
23   Husbands has processing that controls the network like a master in
24   Yuki.




                                         3
                                     Appx3667
     Appeal 2023-0004 77
     Application 17 /138,794

 1         If you look at the various embodiments of Yuki, you can see
 2   that Figure 2 of Yuki, it's completely passive, there's no processing.
 3   Figures I and 3 show architects where the repeater are and it may be
 4   used to compensate for optical losses.
 5         But, the adjustment there is merely to the tap ratios of the
 6   couplers that couple a terminal to the repeater R so that terminals that
 7   are further away, where there maybe more attenuation before it gets to
 8   the repeater.
 9         And, can have their tab coupling ratio increased so that by the
10   time it gets there, it's at about the same optical level. There is no
11   processing of data, it's merely amplification.
12         Now, Figure 4 and onward are the main embodiments of
13   Husbands. And, they also do not include processing at the head-end.
14   At best, there's monitoring, but no control, no command, nothing
15   that's even close to network control.
16          So, now the Examiner attempts to argue that there's processing
17   shown in four different aspects. One is through amplification. The
18   second is switching. A third is monitoring and detection. And then a
19   fourth is technical control functions.
20          So, amplification is not processing of data. We've kind of
21   already touched on that with the optical amplification. Switching, you
22   might think oh, switching, I think I might have heard of that in the
23   context of data.
24          This is not packet switching. It's not network switching. It is
25   taking a node and literally flipping a switch to have it operate in loop-




                                       4
                                    Appx3668
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 1   back mode or repeater mode. And, you can see this in Figure 6 of
 2   Husbands where it has different nodes with the switch in a different
 3   position.
 4         So, the loop-back node is node 42. You can see the arrow going
 5   from the R back to the Tin node 42. That's in the loop-back node so
 6   that data that comes in, loops back around, and then gets sent back out.
 7         All of the other nodes are in repeater mode. All the nodes 41, I
 8   think it's node 1 through node 8 is there, they're all in the repeater
 9   mode. And so, it's a switch so that the data that comes in doesn't get
1o   looped back, it goes right up the chain.
11         This is not some function that's switched back and forth during
12   operations. It's just provisioning of the network. If you switch one of
13   those nodes, you destroyed a node.
14         If you switch the functions of node 42 into the repeater node,
15   then the data does not loop back to the other nodes. No node will see,
16   or no terminal will get communications from the others.
17         If you switch one of the nodes 1 to 8 there into loop-back mode,
18   so those nodes that are connected, the chart, those terminals that are
19   connected to that node may see each other. But, they are effectively
20   removed from that node.
21         So, there's not going to be switching back and forth. That's not
22   network control. It's not any processing that occurs. It's just when
23   you provision the network.




                                        5
                                    Appx3669
     Appeal 2023-0004 77
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 1          The next part, the monitoring and detection, these are all just
 2   passive collection of information. The activity detector just detects
 3   some activity to provide the statistics to be displayed.
 4          The same thing with the babble detector, it just monitors for
 5   collisions. The OTDR monitors the fibers and measures reflections.
 6   The video service is just content. It's not network control.
 7          And, so this information ties into the fourth part, the technical
 8   control function. The technical control is not performed by any
 9   processmg.
1o          And, Husbands disclosed that information is displayed to a
11   technical controller. It's displayed to a person, and that person, that
12   technical controller who initiates corrective maintenance.
13          It's not any processing in Husbands that can do any kind of
14   network control. And, there's not going to be a replacement of a
15   person with the functions in Yuki.
16          So, what Husbands does not have, is processing, where Yuki
17   could just be a simple replacement. But, Husbands does not need it.
18   It's not that kind of architecture.
19         Now, I'd like to address a couple of other arguments that the
20   Examiner has. So, the Examiner argues that Yuki can be applied to all
21   sorts of different protocols.
22          And, it's true, Yuki lists several different protocols that Yuki's
23   protocols can be displayed. Some of these like FDM, FDMA, CDMA,
24   there's a bunch of different ones.




                                         6
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 1         Notably missing from that list is CSMA. CSMA is what's used
 2   in Husbands. Husbands relies on that. And, Yuki clearly knew about
 3   CSMA.
 4         Yuki is mentioned in CSMA. Yuki distinguishes its system and
 5   its protocol from CSMA. Yuki knew about it. But, in spite of that,
 6   when Yuki said, look, you can use it with all these protocols, missing
 7   from that list was CDMA.
 8         So, to note for -
 9         JUDGE BUI: So, I mean - counsel, you know, you make
10   several points regarding the protocol, the difference between Yuki and
11   Husbands.
12         MR. MEEKER: Um-hum.
13         JUDGE BUI: But, if you would turn your attention back to
14   Claim 1, how is that relevant in contact with Claim 1?
15         Because Claim 1 doesn't really talk about any requirement for
16   any protocol between Yuki and Husbands. What you simply have here
17   is a very broad claim regarding a local LAN and a LAN device,
18   including three basic elements, which is the optical interface, the level
19   interface, which every - every LAN would likely have all those
20   interfaces by necessity.
21         Now, the control module, that's just nothing more than your
22   processor, right? And here, if you go back to the Claim 1 again, the
23   two, the two wherein clauses, is really the meat of this claim.
24         Every other limitation recited in Claim 1 is taught by Husbands.
25   Right?




                                        7
                                    Appx3671
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 1         The basic, at least the basic component of Claim I is taught by
 2   Husbands. And, you're not disputing the Examiner's finding
 3   regarding the three basic elements, right?
 4         So, what the Examiner is doing here, is incorporating the
 5   functionality, the functionality of that control module, right?
 6         And, he allegedly, he's relying on Yuki for those limitations.
 7         MR. MEEKER: Um-hum.
 8         JUDGE BUI: Okay. So, the first wherein clause is where the
 9   control module processes that electrical -- the downstream electrical
10   signal, that's meaning -- the electrical signal to be transmitted, right?
11         To recover the upstream bandwidth allocation, I have a few
12   questions regarding that limitation. The first wherein clause, the
13   second wherein clause that he's talking about, responds to that
14   upstream bandwidth allocation to generate certain information,
15   electrical information about that. Okay?
16         So, the question I have for you is that, are those wherein clause
17   limitations described in Yuki?
18         What is your position regarding Yuki teaching? Relative to
19   those two wherein clauses.
20         MR. MEEKER: So, I believe Yuki does have a problem with
21   tracking of bandwidth calculations.
22         JUDGE BUI: Um-hum.
23         MR. MEEKER: The problem is in the (inaudible.)
24         JUDGE BUI: I'm losing your audio.
25         MR. MEEKER: Oh, you can't hear me?




                                        8
                                    Appx3672
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 1            JUDGE BUI: Yes.
 2            MR. MEEKER: Is that any better?
 3            JUDGE BUI: Yes. It --
 4            MR. MEEKER: Let me move up a little bit.
 5            So, the problem is really in the combination. So, if Yuki
 6   discloses, and you're assuming for the sake of argument, it discloses
 7   all of the limitations that the Examiner says that functionality is there,
 8   it's all there in Yuki.
 9            JUDGE BUI: Yes.
10            MR. MEEKER: You still need to have a reason, you know, so
11   with the rational underpinnings to combine it with the optical LAN in
12   Husbands.
13            JUDGE BUI: Right.
14            MR. MEEKER: And, this is a problem that the Examiner had
15   with the previous rejections. All of the times that the Examiner may
16   have found something that was close, it was all in the context of access
17   nodes.
18            And so, there's this fundamental problem. As the Examiner
19   needs to find some teaching that says, take what's here in Yuki, and
20   there needs to be some reason to take Husbands and modify it in order
21   to bring that functionality to term.
22            JUDGE BUI: Okay.
23            MR. MEEKER: And, the problem here is really twofold. One,
24   you can't just change the head-end of Husbands, which seems like
25   Yuki's trying to argue to put in some functionality there.




                                         9
                                     Appx3673
     Appeal 2023-0004 77
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 1         You have to both change the head-end, and you have to change
 2   all of the terminals. That's a wholesale redesign of Husbands' system.
 3         And, you eliminate, the second part you eliminate the express
 4   feature in Husbands that the terminals can decide when and how they
 5   communicate with each other. You have to get rid of that entirely.
 6         JUDGE BUI: Our concern is that if those -- if you tum your
 7   attention back to Claim 1, Claim 1 is very broad in the context of local
 8   area network device. Right?
 9         MR. MEEKER: Uh-huh.
10         JUDGE BUI: It has the basic component that every LAN
11   device would have. It would have an optical interface, which you're
12   not contesting, which you're not disputing.
13         It has a network interface, which you are not disputing. And, it
14   has a control module, right?
15         MR. MEEKER: Uh-hum.
16         JUDGE BUI: And, where it's a processor, it has a control
17   module. Or, anything, any control, you know, mechanism building
18   through the, your LAN device, it would have that control module.
19         So, the only question here is that, does that control module
20   perform the way in, the limitation recited in the way in clause?
21         MR. MEEKER: Um-hum. Yes. And that's --
22         JUDGE BUI: So, --
23         MR. MEEKER: That's why the Examiner relies on Yuki.
24         JUDGE BUI: Right. So, if Yuki were to teach the use of -- but
25   any new. Any time you have a device A communicating with device B




                                       10
                                    Appx3674
     Appeal 2023-0004 77
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 1   over the network, allocate, bandwidth would have to be allocated,
 2   whether that's upstream or downstream. Right?
 3          Otherwise, you wouldn't be able to come through a transmission
 4   -- to complete that chain of transmission.   Right?
 5          MR. MEEKER: Um-hum.
 6          JUDGE BUI: So, the bandwidth information, bandwidth
 7   allocation would be necessary to ensure data is transmitted from point
 8   A to point B. Why wouldn't that be obvious?
 9          MR. MEEKER: So, I would disagree with that, because
1o   Husbands does not have that. Husbands does not have bandwidth
11   allocation.
12          And, that's part of the problem. Husbands doesn't have that, so
13   that every, every client can do -- this is a feature, they can
14   communicate with each other.
15          JUDGE BUI: That's right. And, the Examiner is relying on
16   Yuki for that limitation though. Isn't he?
17          MR. MEEKER: Right.
18          JUDGE BUI: He's not relying on Husbands for that limitation.
19          MR. MEEKER: Yes. So, we're eliminating that express
20   feature.
21          JUDGE BUI: Um-hum.
22          MR. MEEKER: Which, you know, if you eliminate, you know,
23   a -- you make some modification that makes it unsatisfactory for its
24   intended purpose. And, there's no suggestion or motivation to make
25   that proposed modification.




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                                     Appx3675
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 1          WDGE BUI: But, can you tell that in the wherein clause?
 2          MR. MEEKER: Well, let's step back. I want to - I want to
 3   address something that you mentioned. Because you need to have a
 4   teaching somewhere that says in Yuki, look, you can -- you can apply
 5   these to a master/slave -- or sorry, you can apply these teachings and
 6   use this in a system that is not a master/slave system and it's a LAN.
 7          And, Yuki just does not have that. Yuki does not disclose that
 8   its system can be used in a system that is not a master/slave system.
 9   So, you have to modify Husbands' system in order to be a master/slave
10   system.
11          And, on top of that, the Examiner tries to rely on Figure 1, and
12   say, that that's a LAN. But, it's not. Yuki expressly states that that
13   Figure 1 of Yuki is an access network.
14          And, we have the same problem that we had before, that you
15   still do not have a combination that has a LAN, a passive optical LAN
16   that also has the functionality that from what we seem to have in Yuki,
17   only appears in access networks.
18          You need to have some rationale to make that modification.
19   And, it's not present here. And, there's all these signposts that say,
20   don't do it.
21          You know, I look at --
22          mDGE BUI: To be fair -- to be fair to the Examiner, the
23   Examiner didn't provide a reason for making the combinations, right?
24          Here -- in the final office action on page 17, he's saying that
25   look, the reason why you want to incorporate the dynamic bandwidth




                                        12
                                     Appx3676
     Appeal 2023-0004 77
     Application 17 /138,794

 1   allocation approach as described by Yuki is so that you can, you can
 2   relax about the memory requirement.
 3          You can handle the, you know, minimize the latency time, and
 4   reuse that. And, increase the system capacity. Why wouldn't that
 5   reason be sufficient?
 6          It would be supported by a rational underpinning required by
 7   KSR.
 8          MR. MEEKER: Because number one, you have to eliminate
 9   functionality that's in Husbands that Husbands expressly says is a
10   feature.
11          But, number two, I'd like to point out that there's secondary
12   reference. I think it's called Xu. It teaches that a simple CSMA
13   system like Husbands would not be replaced by a complicated media
14   access control or MAC protocol like in Yuki.
15          We pointed this out in the Appeal Brief. It's on page 17 of the
16   Appeal Brief. The Examiner had no response to this. And, we pointed
17   that out again in the Reply Brief on page six.
18          So, we have these situations where yes, there is an optical LAN.
19   But, you know, there are these signposts that say, look, you're not
20   going to make the combination because it's using a different protocol.
21          You're not going to make the combination because it's making
22   it more complicated. You're not going to make the combination
23   because you're removing a fundamental feature of that system.
24          So, all these signposts that say don't make the combination.




                                      13
                                   Appx3677
     Appeal 2023-0004 77
     Application 17 /138,794

 1         JUDGE BUI: Okay. I do have -- how much more time do we
 2   have Judge Chen? I think that we have like five, ten more -- five, ten
 3   minutes?
 4         JUDGE CHEN: Oh, sorry. About five minutes. I was on mute.
 5         JUDGE BUI: Five minutes. Right. So, let me -- let me save
 6   the last five minutes, and talk about the procedure history of this case.
 7         Okay. So, in the -- this data sheet, you have -- this application is
 8   a continuation of a string of cases that have priority that date back in
 9   2003. Right?
1o         MR. MEEKER: Correct.
11         JUDGE BUI: And, you already have, the inventors, or the
12   patent owners already obtained, I think it's, if my -- if my accurate
13   counting, you have eight patents already issued.
14         And, I -- we've been reviewing the claim in the issue patents,
15   and we know that the claims that you have pending on this appeal are
16   somewhat much broader than the claim that we'll allow. Okay?
17         So, the question I have for you is, that you were in charge of the
18   prosecution of all those earlier patents. Was there a restriction
19   requirement? I mean, which I couldn't find any.
20         So, there was no restriction requirement, correct?
21         MR. MEEKER: I'm not aware of it. But, I don't believe I've
22   looked for one.
23         JUDGE BUI: Okay. So, you know, for example, that you have
24   pending on this appeal are more significantly broader than the claim
25   that was identified in the second, in the second patent that was issued.




                                       14
                                    Appx3678
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 1         And, I'm wondering, I'm wondering the reason why? Why
 2   would those claims be patently distinct from the claims that were
 3   previously allowed in those eight patents?
 4         That's my number one question. And the number two question I
 5   have for you is, is whether -- if this claim were to be issued, okay, you
 6   have -- because your priority is all the way back to 2003.
 7         Would that also mean, I think the earliest priority date is June
 8   10, 2003. And, right now we are March 23, 2023. You practically
 9   have almost only three months left in the patent term.
1o         Were you -- are you aware of that issue?
11         MR. MEEKER: Yes. Yes, Your Honor. We're aware of the
12   timing. But, through patent term extension, I believe when we worked
13   it out, I would be, you know, maybe a year of term. There would be
14   some term left. I don't believe this is a case where it's a petition with
15   no term remaining.
16         Going back to your first point about the, you know, the scope of
17   the claims in the earlier patents, you know, this is not an issue that's
18   come up. Or, maybe there would be a double patenting rejection.
19         But, we haven't had to deal with that. And so, you know, if that
20   comes up then, you know, we could deal with that at that point in time.
21         JUDGE BUI: So, we would instruct the Examiner to issue a
22   restriction. Are you prepared to file a disclaimer?
23         MR. MEEKER: If it's a, you know, a valid double patenting
24   rejection than, you know, I believe so. I'd still have to consult with
25   my clients about that.




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                                    Appx3679
     Appeal 2023-0004 77
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 I         JUDGE BUI: All right. Judge Chen and Judge Engle, do you
2    have any questions?
3          JUDGE CHEN: This is Judge Chen, I have no questions.
4          JUDGE ENGLE: This is Judge Engle, no further questions
 5   from me. Thank you.
6          JUDGE BUI: So, with that, thank you very much, Mr. Meeker.
7    I appreciate your presentation.
 8         MR. MEEKER: Thank you, Your Honors.
9          (Whereupon, the above-entitled matter went off the record at
IO   3:30 p.m.)




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                                   Appx3680
           UNITED STATES PATENT AND TRADEMARK OFFICE




            BEFORE THE PATENT TRIAL AND APPEAL BOARD



                           In re Patent Application of:
                       Alexander I. Soto and Walter G. Soto


                             Appeal No. 2023-000477
                            Application No. 17 /138,794



                              NOTICE OF APPEAL

      Pursuant to 35 U.S.C. §§ 14l(a) and 142, the Appellants, Alexander I. Soto

and Walter G. Soto hereby give notice that they appeal to the United States Court of

Appeals for the Federal Circuit from the Decision on Appeal entered by the Patent

Trial and Appeal Board on April 3, 2023 in which the PTAB affirmed the

obviousness rejections of claims 1-24 of the above-referenced application. Issues

on appeal may include the Board's claim interpretations, factual findings, and legal

conclusions. A copy of the Decision on Appeal is attached to this notice of appeal.

       This notice of appeal is timely filed within the time limits prescribed by 35

U.S.C. § 142 and 37 C.F.R. §§ 90.3(a)(l).



UBI-DOSE                           Notice of Appeal                        Page 1 of 2
                                    Appx3684
                         Respectfully submitted,

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UBI-DOSE             Notice of Appeal                      Page 2 of 2
                      Appx3685
                  CERTIFICATE OF FILING AND SERVICE


       I certify that on May 31, 2023, copies of the foregoing NOTICE OF APPEAL

and all documents filed with it are being filed with the Director of the United States

Patent and Trademark Office (USPTO) via Priority I\1ai1 Express(]{.>, at the following

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                      United States Patent & Trademark Office
                            Mail Stop 8, P.O. Box 1450
                            Alexandria, VA22313-1450


       I further certify that on May 31, 2023, copies of the foregoing NOTICE OF

APPEAL and all documents filed with it are being electronically filed with the Patent

Trial and Appeal Board via the USPTO's Patent Center's electronic filing system.


       I further certify that, pursuant to Federal Circuit Rules 15(a)(l) and 25(b)(l),

on May 31, 2023, a true and correct copy of the foregoing NOTICE OF APPEAL,

and all documents filed with it, as well as payment of the required fee, are being

filed with the United States Court of Appeals for the Federal Circuit via the CM/ECF

electronic filing system.

                                                 /1(/ Ve-velv Meeker
                                                Derek Meeker
                                                Registration No. 53,313




UBI-DOSE                           Notice of Appeal COF                       Page 1 of 1
                                      Appx3686
United States Patent c191                                                             [11]       Patent Number:                 4,781,427
Husbands et al.                                                                       (45]       Date of Patent:               Nov. 1, 1988
[54] ACTIVE STAR CENTERED FIBER OPTIC                                            [57]                  ABSTRACT
     LOCAL AREA NETWORK
                                                                                 The local area optical network interconnects a plurality
[75] Inventors: Charles R. Husbands, Acton; Bruce                                of user terminals. The local area network includes an
                D. Metcalf, Carlisle, both of Mass.                              interface unit for receiving information from the user
[73] Assignee: The MITRE Corporation, Bedford,                                   terminals and an active star node connected to the inter-
                Mass.                                                            face unit by fiber optic cables. In one embodiment, the
                                                                                 active star centered node includes a passive optical star
[21] Appl. No.: 777./)34
                                                                                 coupler having a plurality of ports for interconnecting
[22] Filed:         Sep. 19, 1985                                                the terminals. An optical receiver receives optical sig-
[51] Int. Q.4 ................... ................... .......... G02B 6/28       nals from the star coupler and is interconnected with an
[52] U.S. a ................................... 350/96.16; 455/612               optical transmitter which transmits the signal from the
[58] Field of Search .......................... 350/96.15, 96.16;                receiver back into the star for distribution to the plural-
                                     455/600, 601,606,607,612                    ity of ports. In either embodiment, the star node in-
                                                                                 cludes an expansion port and an optically associated
[56]                 References Cited                                            transmitter and receiver to allow multiple nodes to be
           U.S. PATENT DOCUMENTS                                                 connected to one another in an hierachial, branching
     4,227,260 10/1980        Vojvodich et al .................. 455/601         architecture. In another embodiment, the active star
     4,528,695 7/1985         Khoe ................................... 455/612   centered node includes a passive input star coupler and
     4,573,215 2/1986         Oates et al.......................... 455/607      a passive output star coupler. The local area networks
     4,580,872 4/1986         Bhatt et al ........................ 350/96.16     organized around the active stars are portable, flexible
Primary Examiner- Eugene R. Laroche                                              and expandable.
Assistant Examiner- Steven J. Mottola
Attorney, Agent, or Firm-Wol f, Greenfield & Sacks                                                10 Claims, 5 Drawing Sheets




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                            FIG.3




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U.S. Patent          Nov.1, 1988                              Sheet 2 of 5                  4,781,427


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U.S. Patent           Nov. I, 1988                 Sheet 3 of 5                4,781,427

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         FIG.9                                                         8




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                        Appx3711
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 ACTIVE STAR CENTERED FIBER OPTIC LOCAL                             BRIEF DESCRIPTIO N OF THE ORAWING
              AREA NETWORK                                         The invention disclosed herein will be understood
                                                                better with reference to the following drawing of
        BACKGROUND OF THE INVENTION                          5 which:
    The present invention relates to local area networks           FIG. 1 is a prior art linear bus configuration;
 and more particularly to a local area network organized           FIG. 2 is a prior art passive star coupler configura-
                                                                tion;
 around a fiber optic active star node.
                                                                   FIG. 3 is a schematic diagram of an active star node
    A local area network (LAN) for use in emergency 10 of the
                                                                       present invention;
 command center communications should satisfy re-                  FIG. 4 is a diagram of the local area network ele-
 quirements for portability, flexibility and expandability.     ments of the present invention;
 The portability requirement suggests that the LAN be              FIG. 5 is a diagram of fiber optic baseband modem
 lightweight, self-contained and rapidly deployable. In         logic of the present invention;
 certain emergency situations, the command center may 15           FIG. 6 is a schematic diagram of the modular expan-
 have to be relocated. In this case, the LAN must be            sion concepts of the present invention;
 retrieved, packed in a truck or helicopter for transport          FIG. 7 is a diagram of the technical control capability
 to the new site, and there rapidly deployed. The light         with the present local area network;
 weight and small size of fiber optics meet this portabil-         FIG. 8 is a diagram illustrating a bidirectional local
 ity requirement. In addition, a fiber optic medium offers 20 area network;
 well known benefits of immunity to electrical interfer-           FIG. 9 is a schematic diagram illustrating the modu-
 ence and lightning strikes, elimination of ground loops,       lar expansion concept for use with the configuration of
 and no catastrophic shorting in the event of a damaged         FIG. 8; and
 cable section.                                                    FIG. 10 is a schematic diagram of a dual wavelength
    The requirement of LAN flexibility refers to the 25 bidirectional single fiber local area network.
network's capability to support a wide variety of termi-              DESCRIPTIO N OF THE PREFERRED
 nal devices for data services. Such flexibility may be                             EMBODIME NT
 provided by the utilization of standard electrical data
interface units. In addition to data transmission, the             The network protocol selected for use with the local
distribution of one or more video channels is also de- 30 area network of the present invention is carrier sense
sired for the transmission of images or maps to monitor         multiple access (CSMA) with collision detection (CD).
the status of the emergency situation.                          The CSMA protocol has evolved from decentralized
                                                                contention techniques. This protocol is designed to
   The requirement for expandability relates to the size
                                                                support a large
of the LAN as measured by the number of terminal 35 transmission number of bursty users on a time shared
                                                                              medium. This protocol features no central
devices that may be interconnected by the network.              controller and any terminal can initiate communications
The network must be balanced and should operate with           to other terminals. To accomplish this task, the initiat-
various deployments ranging from a few to many sub-            ing terminal first listens to determine the availability of
scriber stations. Furthermore, growth in the number of         the transmission medium. If the line is quiet, the source
network subscribers should be modular. A dynamic 40 terminal sends out a command packet followed
                                                                                                                   by the
reconfiguration to add additional subscribers to an oper-      message. The command packet contains both the desti-
ating network should not interfere with the communica-         nation address and the source address. Upon hearing its
tions between active terminals originally connected to         address, the receiving terminal copies the message. This
the LAN.                                                       process is termed "listen before talk" (LBT). In addition
   It is therefore an object of the present-invention to 45 to the command packet containing the header informa-
provide a local area network which is light in weight          tion, additional packets are exchanged between the
for portability.                                               terminals to acknowledge valid receipt of the informa-
   Another object of the invention is a local area net-        tion.
work capable of supporting a wide variety of terminal             Because of inherent delays in the transmission me-
devices for data services. •                                50 dium, two terminals located some distance from one
   Still another object of the invention is such a local       another can initiate almost simultaneous transmissions
area network which is expandable in a modular fashion          based on each hearing a quiet line. This simultaneous
to permit the interconnection of numerous terminal             transmission creates a collision on the line, producing
users.                                                         garbled data. If simple LBT is employed, an invalid
                                                            55 message can be detected through the use of check sums.
          SUMMARY OF THE INVENTION                             Requests for retransmission of the invalid message can
   The local area networks of the present invention are        then be made through the acknowledgment process. As
based on an active star node. In one embodiment, the           the transmission medium becomes more heavily loaded
active star node consists of a pair of passive, transmis-      or the packet size is increased, the requirement for re-
sive optical star couplers and active LED and PIN 60 transmission rapidly increases. To abort the transmis-
                                                               sion of an invalid packet upon detection of a collision, a
diode transmitter/receiver modules. In another embodi-
                                                               technique called "listen while talk" (LWT) has been
ment a single active star centered node is utilized in a
                                                               developed. The collision detection process can take
bidirectional fashion. The active star centered nodes of       several forms such as summed energy or software com-
the present invention allow a modular expansion of the 65 parisons on the flags
                                                                                        or addresses in the broadband
network, using an expansion port and provide auxiliary         mechanization.
optical ports that can furnish vedeo distribution services        In examining network structures to support the
and technical control access points.                           CSMA protocol with collision detection, the linear bus



                                                   Appx3712
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configuration known in the prior art (FIG. 1) appears to         can be expanded or contracted to meet the immediate
be a logical choice. This bus structure has been used           needs of the user.
successfully in coaxial mechanizations for both wide-              The network components of the fiber optic LAN of
band and baseband data transmission in dual and single          the present invention are illustrated in FIG. 4. In this
cable configurations. However, when this type of struc- 5 implementation, user terminal devices 14 are interfaced
ture is mechanized in fiber optics, a series of problems        to the optical transmission network through a modified
become evident. One problem is the optical power loss           Sytek local net 20/100 dual port packet communication
associated with cascading couplers. As the losses in-           unit 16. For operation on a coaxial network, these units
crease linearly with the number of couplers involved,           contain a communications card (or bus interface unit)
only a small number of terminals can be supported be- 10 and a frequency shift keyed (FSK) RF modem. The
fore repeaters are required.                                    communications card includes the firmware for per-
   A second problem associated with the linear bus              forming the CSMA/CD protocol, data packet format-
configuration of FIG. 1 is the dynamic range require-           ing, and error detection.
ments imposed on some of the optical receivers in the              In FIG. 4 a fiber optic modem 18 transmits and re-
system. In FIG. 1, the optical receiver associated with 15 ceives light through a pair of fiber optic cables 20 and
the head-end repeater R must have the capability to             22 connected to an active star or head-end unit 24. The
rapidly adjust between optical signals received from the        active star node 24 of the LAN consists of two 8 X 8
closest transmitter T and those from the most distant           passive optical star couplers 26 and 28, an LED trans-
transmitter. To compensate for this process it is possible      mitter 30, and a PIN photo diode receiver 32. Each of
to engineer an optically balanced system by tapering the     20 the  8 ports on one side of the star couplers 26 and 28 are
coupler tap ratios. Data bus designs successfully imple-        dedicated to terminal interconnections. On the other
menting this technique are known in the prior art. How-         side of the star couplers, one port is terminated through
ever, in a portable system repeatedly being disassem-           a connector either to the optical receiver 32 or to the
                                                                optical transmitter 30. Optical transmissions from a
bled and deployed, this tapering technique becomes
                                                             25 terminal 14 enter the input star coupler 26 and are de-
impractical. Because of the requirements for modular
                                                                tected by the receiver 32. The electrical output of this
expandability and portability, linear bus architecture is
                                                                receiver 32 drives the head-end transmitter 30, which
not suitable for use in the present invention.                  launches light back into the output star 28. This light is
   The most popular method of mechanizing                       divided by the star 28 and broadcast to all of the termi-
CSMA/CD fiber optic local area networks utilize the 30 nals. The star node 24 is therefore used unidirectionally.
passive star coupler. The known passive star architec-          The remaining seven ports of the star couplers are ter-
ture m_shown in FIG. 2 and uses a passive, transmissive         minated in connectors and may be used as auxiliary
star coupler as the key component. As is well known, a          ports for additional services. While the star node 24 is
star coupler is an optical device which can combine and         shown connected in a head end mode, it should be
distribute optical signals. Such couplers are oftentimes 35 noted that the node 24 includes an optical expansion
constructed by wrapping optical fibers around one an-           port 80 and associated transmitter 82 and receiver 84 •
other so that light energy couples into each of the fibers.     which can be switched into electrical connection with
In the structure of FIG. 2, all of the optical transmitters     the receiver 32 and transmitter 30, respectively, to pro-
are interfaced to one side of the star, while the optical       vide operation in a repeater mode.
receivers are connected to the opposite side of the star. 40 All optical sources and detectors used in this imple-
The star acts as an optical combiner for the sources and        mentation operate in the short wavelength range (i.e.,
then as an optical distribution network to the receivers.       around 850 nm). Because collision detection (CD) is
Since the optical loss of a star increases as the log of the    used in this implementation (e.g., when the terminals
number of ports, a greater number of terminals can be           listen for the return of their own start-of-transmission
supported by this structure- than by ·the linear bus of 45 flags), a dual fiber cable is required for interconnectivity
FIG. 1. Although the structure is inherently balanced,          between units.
manufacturing variability in larger star couplers has              The logic to interface the communications card of the
caused dynamic range problems when collision detec-             Sytek local net 20/100 communication unit 16 to the
tion is implemented. A major constraint on this type of         fiber optic transmission medium is• shown in FIG. 5.
architecture is expandability. Having once exceeded the 50 When the terminal senses that the line is quiet, transmis-
limits of the original star node, the addition of star nodes    sion is achieved by presenting the data to be transmitted
through the use of repeaters is complicated by recircu-         to the optical modem together with the carrier key line
lation problems.                                                34. The carrier key line 34 acts as an enabler and gates
   A variety of network configurations to support               the transmit data and clock signals to a Manchester
CSMA/CD protocol have been developed with active 55 encoder 35 associated with the optical transmitter. The
stars. In an active star network, some form of repeater         optical signal is transmitted by way of the head-end to
function takes place at the star node to compensate for         all other terminals in the system. Optical energy is de-
optical power losses. A mechanization of a star network         tected by an optical receiver 36. The resulting electrical
according to the present invention is shown in FIG. 3.          signal is sent to a Manchester decoder 37 to recover
In this configuration, a fiber optic star 10 is used to 60 data and clock. A portion of the encoded signal is used
combine the inbound optical signals. The resulting sig-         to stimulate an activity counter 38 that detects the sus-
nal is amplified and distributed through a second out-          tained presence of data transmissions. This counter 38
bound star 12. This configuration can be mechanized             establishes the presence of carrier and is used to gate
with reflective as well as transmissive stars and is modu-      valid data to the communications card 40.
larly expandable through the application of repeaters. 65          To provide connectivity to large subscriber popula-
An architecture of this type is the network selected for        tions, the method of network expansion is illustrated in
use in the present· invention and requires two optical          FIG. 6. Each star node 41 is provided with a switch-
stars per node. The system is inherently balanced and           selectable mode of operation either to serve as a re-




                                                    Appx3713
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  peater or to loop back incoming traffic. With the appro-       "on" state, and begins to optically jam the network
  priate switch settings, a hierarchy of star nodes is           ("babbling"), an excessive collision count is signaled.
  formed. At the lowest level of hierarchy the terminals           Also note that a terminal modem connected to trans-
  connect to nodes 41 set for the repeater function. Traf-       mit into any of the auxiliary ports 44 on the outbound
  fic incident from the terminals is photodetected and 5 star 47 and receive on any of the auxiliary ports on
                                                                                                                        the
  then retransmitted via a transmitter 82 and an expansion       inbound star 49 may communicate with any other termi-
  port 80 toward a higher level. The lower level nodes act       nal on the network. This allows the technical controller
  as a repeater. The highest level node 42 detects all in-      to query any of the terminal devices in the network and
  coming traffic and then broadcasts this traffic back           may be used for fault isolation to a particular terminal.
  through the star coupler to all lower order nodes 10 To monitor the continuity of the fiber optic cable
  through the expansion ports 80 and the associated re-         plant, an optical time domain reflectometer (OTDR)
 ceivers 84. The expansion node 42 consists of two pairs        may be launced into any one of the auxiliary ports 44.
 of fiber optic transmitter (T) and receiver (R) modules,       To resolve continuity on each leg of the node, the set of
 and a pair of 8 X 8 star couplers 43.                          fiber optic cable assemblies 52 is cut to form a sequence
     The expansion concept of FIG. 6 is modular in that 15 of differential lengths ~I. In this manner, reflections
 all nodes in the system are identical. The optical link        from the cable ends are staggered in time and may be
 budget and dynamic range of an expanded configura-             resolved with the OTDR.
 tion are essentially identical to a single node system            A video distribution service may also be provided on
 since lower order nodes have the same optical configu-         an unexpanded network by use of the auxiliary ports 44
 ration as the terminal modems.                             20 on the outbound star node 47. Two multiplexing tech-
     An operational single node system may be expanded          niques may be considered for this purpose. The first
 without interruption of communications if one of the           technique is electrical frequency division multiplexing
 eight terminal ports of a star coupler is dedicated to an      (FDM) in which the video channel is heterodyned by
 expansion. In this case, seven terminals initially operate     an electrical subcarrier before analog modulation of an
 into a node set for the loop back mode of operation. 25 optical source. The optical source emits in the
                                                                                                                     same
 When expansion is required, a second node (in the re-          wavelength region as the data sources. The optical
 peater mode) is connected to the dedicated expansion           analog signal is launched into one of the auxiliary ports
 port on the original node. For a configuration consist-        44 on the outbound star 47. This technique differs from
 ing ofN tiers (two tiers are shown in FIG. 6), an optical      conventional FDM approaches in that the RF video
 signal would be regenerated 2N -1 times before final 30 and baseband data channels are summed optically
                                                                                                                        in-
 detection in the terminals. The overall system bit error       stead of electrically. The outbound star coupler, there-
 rate (BER) would then be degraded by a factor of ap-           fore, serves both as a multiplexing summing point and as
 proximately 2N compared to the BER of a single opti-           a branching point for distribution to all users. At the
 cal receiver. A further performance degradation would          user stations, filtering is performed electrically within
occur as a result of timing jitter if timing recovery were 35 the receivers for selecting either the data or the
                                                                                                                    video
not employed at the nodes. Timeout periods associated           channel. At the terminal stations, the additional light
 with acknowledgments in the network protocol may              level from the de bias of the analog optical source
impose further limitations. This limitation is determined      causes an imperfect extinction ratio on data reception;
from propagation delay in the system and is a function         however, no noticeable degradation in data terminal
of fiber cable lengths and signal regeneration processing 40 communication is observed.
delays in the nodes.                                               The second technique is wavelength division multi-
    The technical control capability of the present inven-     plexing in which the data and video channel light
tion will now be described in conjunction with FIG. 7.         sources are at distinct wavelengths. The star coupler
Technical control refers to monitoring system perfor-          serves as the wavelength multiplexer. At the expense of
mance and signaling alert conditions that may result in 45 optical power margin (or possible cable lengths)
                                                                                                                          a
performance degradation or network failure. As shown           wavelength demultiplexer at the terminal stations sepa-
in FIG. 7, the auxiliary optical ports 44 on the star node     rates the data and video wavelengths. In this technique
46 may be used to provide several functions associated         both channels may be baseband modulated. For a multi-
with technical control. If the fiber optic node is config-     ple video channel transmission, a tunable wavelength
ured in the loop back mode, so that it functions as the 50 demultiplexer may be used to select either the
                                                                                                                  data or
network head-end, all information received from the            any one of the video signals.
terminals will appear at the auxiliary ports on the in-            With reference now to FIG. 8, a bidirectional active
bound star. An activity monitor 48 connected to one of         star network 54 is shown. In this structure, the star node
the ports 44 on the star can provide useful network            consists of a passive star used for both inbound (combin-
statistics during operation. The activity monitor 48 55 ing) and outbound (broadcast) functions.
                                                                                                            Using the star
consists of an optical detector followed by electronics        in this bidirectional manner reduces by half the number
for decoding packet headers (not shown). By examining          of stars required to implement this type of architecture.
incident packet headers, information is obtained on all        In FIG. 8, a fiber optic modem card 56 transmits and
current virtual connections, and statistics are acquired       receives light through a passive "Y" coupler 58 onto a
that can be used to reveal excessive numbers of bad 60 single fiber cable 60. The active star node
                                                                                                            (or head-end)
packets, retransmissions, or unexpected disruptions of         of the LAN consists of an 8 X 8 passive optical star
virtual connections. This information is displayed to a        coupler 62, an LED transmitter 64 and a PIN photodi-
technical controller who initiates corrective mainte-          ode receiver 66. Eight ports on one side of the star
nance as necessary. A babble detector 50 monitors the          coupler 62 are dedicated to terminal interconnections.
incident optical Manchester waveform of the packets. ?5 On the other side of the star coupler 62
                                                                                                              one port is
In the event of an optical collision, this waveform will       terminated, through a connector, to the optical receiver
be distorted, but such collision should persist for only a     66, and one port is connected to the transmitter 64.
short duration. If a terminal modem malfunctions in the        Optical transmissions from a terminal's modem enter



                                                   Appx3714
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 the star coupler 62 and are detected by the head-end           ture, the active node consists of a single star coupler and
 receiver 66. The electrical output of this receiver drives     a single fiber optic cable is utilized.
the head-end transmitter 64, which launches light back             The local area networks disclosed herein are porta-
 into the star coupler 62. This light is divided by the star    ble, flexible and expandable. Growth in the number of
coupler 62 and broadcast to all terminals 68. The star 5 network subscribers is modular and additional subscrib-
coupler is therefore used bidirectionally.                      ers can be added to an operating network without inter-
    All optical sources and detectors used in this imple-       fering with communications between active terminals
mentation operate in the short wavelength range (i.e.,          originally connected to the LAN.
around 850 nm). The use of common wavelength bidi-                 It is recognized that modifications and variations of
rectional transmission on a single fiber with an optical 10 the present invention will occur to those skilled in the
"Y" coupler leads to considerations of optical crosstalk        art and it is intended that all such modifications and
from the terminal modem's transmitter to its collocated         variations be included within the scope of the appended
receiver. Although the isolation of fused biconical tape        claims.
couplers is greater than 35 dB when the output port is             What is claimed is:
optically terminated, the use of a non-indexed matched 15          1. An active star centered optical node for intercon-
connector on the output port gives rise to reflections at       necting a plurality of user terminals comprising:
the air/glass interfaces of the connector. For an optical          at least one passive star coupler including a plurality
"Y" coupler with an excess loss of 0.5 dB, the near end                of first ports for interconnecting the user terminals
reflections from a connector on the output port result in              located at a first side of the star coupler and a like
only 18 dB of optical isolation. In addition, there will be 20         plurality of second ports located at a second, head-
reflections from other connectors in the system and, to                end side of the star coupler;
a lesser degree, backscatter from the fiber cable and the          an optical expansion part located at said second side
star coupler. The optical receiver on the terminal                     of the star coupler;
modem card 56 will detect this crosstalk. With the im-             at least two pairs of optical transmitters and receivers,
plementation of the architecture in FIG. 8, it is not 25
                                                                       and,
possible because of the single fiber optic cable to "listen
                                                                   selection means movable between a first position
while talking".
   Modular expansion similar to that shown in FIG. 6 in                which connects said at least two pairs of optical
connection with dual fiber cables, can be achieved with                transmitters and receivers in a loop back mode in
the single fiber embodiment of FIG. 8. This modular 30                 which an optical input from at least one of said
expansion concept is shown in FIG. 9. Each of the star                 second ports is directed to one of said receivers
nodes-70 is provided with a switch selectable mode of                  whose output is directed to one of said transmitters
operation to serve either as a repeater or to loop back                which in tum is directed back to at least one of said
incoming traffic. With the appropriate switch settings, a             second ports and a second position which connects
hierarchy of star nodes is formed. At the lowest level of 35          said at least two pairs of optical transmitters and
the hierarchy the terminals connect to nodes set for the              receivers in a repeater mode where the output of at
repeater function. Traffic incident from the terminals is             least one of said second ports is directed to the
photodetected and then retransmitted by a transmitter                  receiver of one of said receiver and transmitter
82 toward a higher level node 71 on a single fiber                    pairs whose transmitter output is directed to said
through a "Y" coupler feeding an expansion port 80. 40                expansion port, and the other of said receiver and
The lower level nodes act as a repeater. The highest                  transmitter pairs receives an optical signal input to
level node 71 detects all incoming traffic and then re-               said optical node at said expansion port and trans-
broadcasts this traffic back through the star coupler to              mits it into at least one of said second ports.
all lower order nodes through the expansion port 80 and            2. The active star of claim 1 wherein said selection
an associated receiver 80.                                   45 means is switch-selectable.
   FIG. 10 shows an embodiment of the present inven-               3. The active star of claim 1 wherein said at least one
tion capable of "listen while talk" and requiring only a        passive star coupler is one star coupler and said first and
single fiber optic cable. In this case, each of the termi-      second ports act as both input and output ports for
nals 72 transmit at one wavelength and receive on an-           optical information combined or distributed by said
other. The architecture of FIG. 10 thus involves bidi- 50 passive star coupler.
rectional wavelength division multiplexing (WDM).                  4; The active star of claim 3 further including a con-
The head end node 74 in this case would provide the             nector which optically connects said expansion port
required wavelength translation with the appropriate            with the transmitter of one of said pairs of transmitters
photodetector and transmitter. In this implementation           and receivers to produce an output signal at said expan-
only one star coupler 76 would be employed in the 55 sion port that combines the input signals at any of said
LAN node and a single fiber 78 would be employed                second ports and with the receiver of the other said pair
between the LAN node and each terminal 72. The mod-             of transmitters and receivers to produce a multi-channel
ular expansion scheme described earlier may still be            output at said second ports of a signal input at the ex-
used in this WDM implementation with, for example,              pansion port.
short wavelength transmission used on the ascending 60 5. The active star of claim 1 where said at least pas-
path from the lower to the higher level nodes, and long         sive star comprises a passive input star and a passive
wavelength transmission on the descending path.                 output star.
   It is thus seen that the objects of this invention have         6. A local area optical network comprising: .
been achieved in that there has been disclosed a fiber             a plurality of active star nodes each including:
optic local area network architecture based on the use 65          (i) at least one passive star having a plurality of ports
of active star couplers. In one implementation, each star             for interconnecting the terminals, said ports being
node consists of two star couplers and employs unidi-                 arrayed both on a terminal side of said passive star
rectional fiber optic connections. In another architec-               and a head-end side of said passive star,




                                                     Appx3715
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(ii) an expansion port disposed at the head-end side of          the highest order having an active star node set in the
    said star, and                                                  loop back mode so that it receives all the optical
(iii) two pairs of optical transmitters and receivers               signals from all levels of the network and re-broad-
   located at the head-end side of said star with elec-             casts them to all levels of the network.
    trical communication between the optical receivers 5         7. The local area network of claim 6 wherein said at
   and transmitters of each said pair and with optical        least one star includes a passive input star and a passive
                                                              output star.
    communication via selected ones of said receivers
                                                                 8. The local area network of claim 6 wherein said at
   and transmitters between said expansion port and           least one star includes a single star and the active star is
   at least one of said ports at the head-end side of said 10 bi-directional.
   star, said electrical communication being selectable          9. The local area network of claim 6 wherein said
   between a first position in which said star node           transmitters and receivers are switchable between said
   operates in and a second position in which said star       loop-back and repeater modes so that all of said active
   node operates in a loop-back mode,                         stars in said local area optical network are interchange-
said star nodes being arrayed in hierarchical order 15 able.
   with a first order in direct coruiection with the             10. The local area network of claim 6 further com-
                                                              prising at least one interface unit that provides signal
   terminals with their expansion ports connected to          transmission between said terminals and said terminal
   the ports of a star in a next higher order, the stars      side ports.
   in the first order being set in the repeater mode, and 20




                                                          25




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(12)   United States Patent                                                                                 (10) Patent No.:                     US 6,778,557 Bl
       Yuki et al.                                                                                          (45) Date of Patent:                           Aug. 17, 2004


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(30)          Foreign Application Priority Data                                                         Assistant Examiner---Phuc Tran
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                                                                                                        (57)                         ABSTRACT
(51)    Int. Cl.7 ................................................... H04J 3/16
(52)    U.S. Cl. ........................ 370/468; 370/235; 370/230                                     A point-to-multipoint communication system that is well
(58)    Field of Search ................................. 370/230-231,                                  operative for transmitting megabytes of information in the
                     370/235, 241.1, 351, 395.1, 398, 395.21,                                           form of a signal burst. Each slave unit temporarily stores a
                     395.41, 395.72, 400, 422, 437-439, 468,                                            signal and measures the amount of the signal information
                       252-253, 409,379,419,229,395,396,                                                before transmitting the signal. A master unit requests that
                                                                  465, 389, 413                         slave units report the measured amounts of information, and
                                                                                                        they give reports to the master unit. On the basis of the
(56)                       References Cited                                                             reports from the slave units, the master unit determines an
                                                                                                        allowable amount of information for each slave unit and
              FOREIGN PATENT DOCUMENTS                                                                  permits the slave units to transmit the stored signals accord-
                                                                                                        ing to the request from the master unit. The interval between
JP                 9-233101                   9/1997
JP                 10-23055                   1/1998
                                                                                                        the reports from the slave units to the master unit can be
JP                10-126430                   5/1998
                                                                                                        varied.
JP                10-336188                  12/1998
JP                 11-41269                   2/1999                                                                     36 Claims, 88 Drawing Sheets

                                             10-1
                                 SLAVE
                                 UNIT1
                                                                  30-1
                                             10-2
                                                                                                                DOWNSTREAM
                                 SLAVE
                                 UNIT2
                                                                                                                 OPTICAL                                20
                                                                                                               TRANSMISSION
                                                                                                                   LINE                       MASTER
                                                                                                                                               UNIT
                                                                                                                       30
                                                                                                   40

                                             10-m                                                                 UPSTREAM
                                                                    30-m
                                 SLAVE
                                 UNITm



                                                                                      Appx3717
U.S. Patent         Aug. 17, 2004                    Sheet 1 of 88                                     US 6,778,557 Bl


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                                            Appx3718
U.S. Patent          Aug. 17, 2004                   Sheet 2 of 88                            US 6,778,557 Bl

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                                             Appx3719
U.S. Patent           Aug. 17, 2004             Sheet 3 of 88                        US 6,778,557 Bl

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                                          Appx3720
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                                          FIG.4


                        DOWNSTREAM TRANSMISSION FRAME
                           Tframe = 56 CELLS (53 BYTES)
                                                                                    :;




     PLOAM1        CELL 1    - - CELL 27 PLOAM2 CELL 26 - - - - CELL 27


                          UPSTREAM TRANSMISSION FRAME
                            Ttrame = 53 CELLS (56 BYTES)
    -                                                                               :;

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                                        CELL 3   ------ ---- \"".
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                                                                          CELL 53
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  I        = OVERHEAD 3 BYTES




                                         Appx3721
                                                                     FIG.5
                                          DOWNSTREAM TRANSMISSION FRAME, Ttrame = 56 CELLS
                                                                                                           (53 BYTES)
                    53 BYTE

                    PLOAM1                                                        PLOAM2
                             (D   r-...
                ..-N                                                                      LO CD
                             C\I N                                            ..- N
                I- ...                                                                    NC\I
                          1-                                                  I- ...
                zz ... I-
                       z z                                                                ... 1-
                <( ~         <( <(
                                          CELL 1                   CELL 27    zz ... z z
                                                                                                    CELL 28
                                                                              <( ~                                                   CELL 54
                a: a:        a: a:                                                        ~   <(
                (!J (!)                                                       a: a:       a: a:
                             (!J (!J                                          (!J (!)
                                                                                          (!) (!J




            PLOAM1, GRAN T 1                  PLOAM1, GRANT 27           PLOAM2, GRANT 1
           -+ SLOT 1 SPECIFIED               -+ SLOT 2 SPECIFIED
                                                                                                         PLOAM2, GRANT 26
                                                                        -+ SLOT 28 SPECIFIED           -+ SLOT 53 SPECIFIED




Appx3722
                          CELL 1                                    CELL 27              CELL 28      - •- - -- -- - -- - - -- --    CELL 53


                     SLOT 1                                         SLOT 27             SLOT 28                                     SLOT 53
                    56 BYTE
                                                          OVERHEAD
                                                           3 BYTE
                                           UPSTREAM TRANSMISSION FRAME, Ttrame = 53 CELLS (56
                                                                                                            BYTES)
U.S. Patent    Aug. 17, 2004      Sheet 6 of 88           US 6,778,557 Bl




                               FIG.6
                 START


            INITIALIZATION OF N                   101
        (N = 27 FOR PLOAM CELL 1,
        N = 26 FOR PLOAM CELL 2)


                                      NO


                                       103                             106
      INSTRUCTION TO NOTIFY ABOUT                        #n = #n - N
       INFORMATION AMOUNT IS SET
             FOR GRANT #n


           UPDATING OF SLAVE                       104
             UNIT FOR ISSUING
        INSTRUCTIONS TO REPORT
          INFORMATION AMOUNT

                                                   105
               #n = #n   +P

                                                            END




                               Appx3723
U.S. Patent         Aug. 17, 2004      Sheet 7 of 88        US 6,778,557 Bl




                                    FIG.7

    MASTER UNIT PROCESSING

               START


                                    201
                                           NO




              YES                                                     NO
     202
           ID NUMBER OF
             SLAVE UNIT
       IS SET FOR GRANT #n                      YES
                                                                204
                                             LOGICAL SUM OF
                                          SPECIFIC VALUE AND
                                              ID NUMBER OF
                                                SLAVE UNIT
                                          IS SET FOR GRANT #n




                END




                                    Appx3724
U.S. Patent      Aug. 17, 2004      Sheet 8 of 88       US 6,778,557 Bl




                                 FIG.8

          SLAVE UNIT PROCESSING

                 START


                                    211
               ICAL PRODU
              ALUE OF GRAN                  NO
              ATIVE SPECIF!
              HES ID NUMBE
               SLAVE UNIT




                                    212




                                  213                       214
        REPORT ON INFORMATION               SIGNAL TRANSMITTED
            AMOUNT ISSUED




                  END




                                 Appx3725
U.S. Patent         Aug. 17, 2004      Sheet 9 of 88          US 6,778,557 Bl




                                    FIG.9

     MASTER UNIT PROCESSING

               START




                                          NO




              YES                                                    NO




                                         #n IS SET AS GRANT
                                              NUMBER IN
                                          ADDITIONAL AREA




        ID NUMBER OF SLAVE
                                          222
      UNIT IS SET FOR GRANT #n



                END




                                    Appx3726
U.S. Patent    Aug. 17, 2004      Sheet 10 of 88      US 6,778,557 Bl




                               FIG.10

         SLAVE UNIT PROCESSING

               START

                                 231
                                        NO




                                        NO



                                233                       234
       REPORT ON INFORMATION              SIGNAL TRANSMITTED
           AMOUNT ISSUED




                END




                               Appx3727
U.S. Patent     Aug. 17, 2004       Sheet 11 of 88                                                                         US 6,778,557 Bl




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                                 Appx3728
U.S. Patent           Aug. 17, 2004      Sheet 12 of 88     US 6,778,557 Bl




                                  FIG.12



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             SLAVE           SLAVE                        SLAV E
             UNIT 1          UNIT 2                       UNIT m


                                           .... .... .
             G1 ~ k          G2 ~ k                       Gm~ k




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                                      Appx3729
U.S. Pat ent   Aug. 17, 2004      Sheet 13 of 88       US 6,778,557 Bl


                        FIG.13


                    i=1
                                       501
               flag1 = TRUE

                                 502
                                     NO




                                                       505
                    Gi= Ri                    Gi = k


                                       506
                 Ai= Ri- Gi




                                                          508
                                          flag1 = FALSE


                                        509

          NO




                               Appx3730
U.S. Patent   Aug. 17, 2004      Sheet 14 of 88         US 6,778,557 Bl



                      FIG.14


                                          511
                                                   NO


                  YES                             512
                         i=1
                                                  513
                        9i = 0
                                                  514
                     i=i+ 1

                                                  515
        NO




                              Appx3731
U.S. Patent   Aug. 17, 2004      Sheet 15 of 88           US 6,778,557 Bl


                          FIG.15


                    i=1
                                      516




        519                      NO


                YES              520                      526
               Qj = 9i + Gj                          +
                                               Qj = gj   Ns
                  Gj =0                        Gj = Gj - Ns
               Ns = Ns - Gj                       Ns = O
                 j=j  + 1


                                  NO         522

                                        j =1


                                       523
       NO




                               525                            527
               flag2 = FALSE                   flag2 = TRUE


                                                   END




                              Appx3732
U.S. Patent      Aug. 17, 2004         Sheet 16 of 88         US 6,778,557 Bl




                             FIG.16

                START


                 i=1             601
                #n = 1




                                                                 607

                                  NO
                                                                    NO


                                 604
                                                          YES
      ID NUMBER OF SLAVE UNIT i
          SET FOR GRANT#n


                                   605
              gi = gi - 1


                                   606
              #n = #n + 1

                                                        END




                                 Appx3733
U.S. Patent           Aug. 17, 2004      Sheet 17 of 88        US 6,778,557 Bl




                                 FIG.17



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                 10   20       30       40       50       60   70    80
                                 LOAD FACTOR (%)




                                      Appx3734
U.S. Patent              Aug. 17, 2004      Sheet 18 of 88         US 6,778,557 Bl




                                     FIG.18


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                        SYSTEM                                       CSMA/CD
            1.E+0
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                    0            1             2             3             4
                                             TIME




                                         Appx3735
U.S. Patent     Aug. 17, 2004      Sheet 19 of 88        US 6,778,557 Bl




                                FIG.19

                         START


        INSTRUCTIONS FOR INFORMATION AMOUNT               611
       REPORTING ARE ENTERED INTO PLOAM CELL
     GRANTS ACCORDING TO FLOWCHARTS FIG.6 TO 10



       SIGNAL TRANSMISSION INSTRUCTIONS ARE               612
          ENTERED INTO PLOAM CELL GRANTS
      ACCORDING TO FLOWCHARTS IN FIGS. 13 TO 16




                                                    NO




            INSTRUCTIONS FOR SLAVE UNIT i                 614
            TO ISSUE INFORMATION AMOUNT
       REPORT ARE ENTERED INTO UNUSED GRANTS


                                                          615
             SLAVE UNIT i INSTRUCTED TO
        SUBMIT INFORMAIONT AMOUNT REPORT IS
       UPDATED (1 < i < m, WHERE m IS THE TOTAL
               NUMBER OF SLAVE UNITS)


                                                                END




                                Appx3736
U.S. Patent              Aug. 17, 2004       Sheet 20 of 88            US 6,778,557 Bl




                                     FIG.20


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                                         Appx3737
U.S. Patent                          Aug. 17, 2004                      Sheet 21 of 88                                US 6,778,557 Bl




                                                           FIG.21


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                                                               Appx3738
U.S. Patent    Aug. 17, 2004        Sheet 22 of 88     US 6,778,557 Bl




                          FIG.22

                         START
                                                     621

    INSTRUCTIONS TO TRANSMIT SIGNALS AT NO MORE
   THAN SPECIFIC MAXIMUM VALUE ARE CONTINUOUSLY
   ISSUED BASED ON INFORMATION AMOUNT REPORTED
            BY SLAVE UNITS. TRANSMISSION
      INSTRUCTIONS ARE WRITTEN TO CELL GRANTS




                                                     622
                  UNUSED GRANTS
                REMAINING IN PLOAM C                         NO
                NSMISSION INSTRUCT!
                SUED FOR ALL INFORM
                     AMOUNTS
                               ?



                                   YES               623

    UNUSED GRANTS ARE UTILIZED TO SEQUENTIALL Y
          PROVIDE SLAVE UNITS WITH SIGNAL
      TRANSMISSION INSTRUCTIONS. TRANSMISSION
    INSTRUCTIONS ARE WRITTEN TO UNUSED GRANTS
                  OF PLOAM CELLS



                           END




                               Appx3739
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                                     FIG.23


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                                                                     PRESENT
                                                                    PROTOCOL



                                                                     70    80
                                          LOAD FACTOR(%)




                                          Appx3740
U.S. Patent       Aug. 17, 2004      Sheet 24 of 88         US 6,778,557 Bl




                                  FIG.24


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                                    LOAD FACTOR(%)




                                  Appx3741
U.S. Patent           Aug. 17, 2004      Sheet 25 of 88                   US 6,778,557 Bl


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                                      Appx3742
U.S. Patent   Aug. 17, 2004        Sheet 26 of 88     US 6,778,557 Bl




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                              Appx3743
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                                            FIG.27

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                       10       20          30     40      50     60     70       80
                                             LOAD FACTOR(%)




                                            Appx3744
U.S. Patent                       Aug. 17, 2004                    Sheet 28 of 88                   US 6,778,557 Bl




                                                     FIG.28


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                       10     20      30     40        50    60                                 70       80
                                                        LOAD FACTOR(%)




                                                         Appx3745
U.S. Patent          Aug. 17, 2004      Sheet 29 of 88         US 6,778,557 Bl




                                     FIG.29



  BAND
            SLAVE             SLAVE                          SLAVE
            UNIT1             UNIT 2                         UNITm


                                           •   ■   •••••••

           G1 ~ k1           G2 ~ k2                         Gm~km




                                                                         ~




                                                                     :TIME
         - - - - - - - - - - - t d --------------'-




                                     Appx3746
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                                      FIG.30


                                           1ms                                       -

  #O I #1   I    ... ... ...    1#255 #2561       ... ... ...   1#287    .........
                 DATA                            CONTROL                 DELAY-
                REGION                            REGION                CONTROL
                                                                         REGION




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                                                                  FIG.31
                                 UPSTREAM                                                                  DOWNSTREAM
                                 DIRECTION                                                                  DIRECTION

                                                       MASTER                      MASTER                       SLAVE UNIT 1,
    SLAVE UNIT 1,                                       UNIT,                       UNIT                         RECEPTION
   TRANSMISSION                                       RECEPTION                 TRANSMISSION

                      SLAVE UNIT m,                                                                                     SLAVE UNITm,
                      TRANSMISSION                                                                                       RECEPTI ON

                                                                                                                       ---------····· -
                                ..                                                                     NOTIFICATION
                                               -1~                                          (.)     ABOUT CALCULATED
                                        REPO~ Tl G OF                                                  INFORMATION     (.)               u
          u                    u
                                      STORAGE AMOUNT       u                                              AMOUNT
                                            (R1)                                            ::;;                        ...
                 . --------------                                                                     DELAY CONTROL     ::i:             ::ii:
          ::!:                ::i:
                                              CONTROL
                                                      - ~·········r                         C
                                                                                                                       Cl
                                                                                                                             ------- Q.._
          C                   .c      DELAY
                                                           ····cALc~flT10N
                                                             OF INFORMATION
                                                                                                      TRANSMISSION
                                      TRANSMISSION OF          AMOUNT (N1)                           OF INFORMATION
                               -        INFORMATION              BASED ON w                               SIGNAL        -
                                      SIGNAL BASED ON      -     STORAGE    ::;;
                                        INFORMATION
  w                                        AMOUNT               AMOUNT (R]) :
  ::;;
  <(
  C:
  u..                         ----
                                          CONVEYED
                                                                      i ········ u.. .....                              -------------- -

                                               -1~                                                   Q
                                                                                                 -3) NOTIFICATION
                                                                                            u A OUT INFORMATION (.)                       (.)
          (.)                  (.)      REPO~ Tl G OF
                                      STORAGE AMOUNT       (.)                                    AMOUNT (n])
                                                                                                                  ...
                                            (Rf)                                            ::i:
                   --------------                                                           C    DELAY CONTROL    ::i:                    ::!:
                               ::i:                        ~·········r                                                  Cl                Cl
                               C       DELAY CONTROL                                                                         -------
                                                           ····cALciflT10N
                                              (1·4i          OF INFORMATION
                                      TRANSMIS ION OF                                                  TRANSMISSION
                                        INFORMATION            AMOUNT (N~)                            OF INFORMATION
                               -      SIGNAL BASED ON           BASEDON    w                               SIGNAL       -
                                        INFORMATION        -     STORAGE   ::;;
  w                                      AMOUNT (N])           AMOUNT (R~) ~
  ::;;
  <(
  C:
                                          CONVEYED
                                                                      t .........   11.. .... .
                                                                                                                        --------------
  u..                         ----
                                                                                                        -3) NOTIFICATION
                                        REPORTING OF                                         u      A ~ OUT INFORMATION u                 (.)
           u                   u      STORAGE AMOUNT       u                                             AMOUNT (n~)
                                            (R1)                                             ::i:                       ----
                   --------------                                                                     DELAY CONTROL     ::ii:           ::;;
           ::i:                ::i:                      - ::1:········r                     C
           C                   C       DELAY CONTROL
                                                                                                                        C
                                                                                                                                ------- Cl
                                                           .'?..CALCULATION
                                              (1·4i            OF INFORMATION
                                      TRANSMIS ION OF            AMOUNT (N1)                           TRANSMISSION
                                        INFORMATION
                               -      SIGNAL BASED ON
                                        INFORMATION
                                                                  BASED ON
                                                                   STORAGE
                                                                                                      OF INFORMATION
                                                                                                           SIGNAL        -
                                                                 AMOUNT (R1)
                                         AMOUNT (N~)
                                          CONVEYED
                                                                                                           I: DATA REGION
         R1 (BIT): STORAGE AMOUNT OF SLAVE UNIT i                                                         C : CONTROL REGION
         N; (BIT): INFORMATION AMOUNT FOR ALLOWING                                                       OM: DELAY CONTROL REGION
                   SLAVE UNIT i TO TRANSMIT SIGNALS
         n; (BIT): INFORMATION AMOUNT FOR NOTIFYING
                   SLAVE UNIT I EACH FRAME PERIOD




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                                    FIG.32



                                            OCTET
          1   2      3       4    5         6     7    8              60
     1                   z         z
     2                   -<
                         0
                         I-        -cw.,
                                   0

     3                   (.)     !::a:
              CCz        ~z Zz              wz
      4       WQ         1-0 =>o            >o
                                            a:_         COMMUNICATIONS
  BIT S
              c-
              < Cl       z-  w-
                         wCJ >~             We,
                                                            REGION
              ww         cW <o              cnw
              :ccc       -CC ..J-           Wee
     6                   I-                 cc
                         w en!:!::
                               I-
                         ~
     7                   (.)   zw
                         <
     8                   c..       -C




                                           Appx3749
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                       FIG.33



                                          PACKET TYPE
        PACKET TYPE                         NUMBER

      STORAGE AMOUNT                              01h
          REPORT
    INFORMATION AMOUNT                            02h
        NOTIFICATION
        INFORMATION                               11h
           SIGNAL




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                            FIG.34



           SLAVE                            SLAVE
         UNIT NAME                       UNIT NUMBER
              SLAVE                              01h
              UNIT 1
              SLAVE                              02h
              UNIT 2
                I                                   I

                I                                   I

                I                                   I

                I                                   I

                I                                   I

                I                                   I

                I                                   I

                I                                   I

                I                                   I

                I                                   I

                I                                   I




          SLAVE                                  32h
          UNIT 32




                                    Appx3751
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                                             FIG.35



                                                  OCTET
             1      2     3     4         5       6           7   8                 60
        1
        2                               I-
                    w     a:            -c:
        3   0
                    ..J   w             zw            0
        4 a:
                    cc    !::   .c:     ::J[D
                                                      w               INFORMATION
            ct      :E          ,..                   en                 SIGNAL
  BIT               <(    :E    .....   W:;           ::::>
        5   ::::>   w     :J            >::::>        z                  REGION
            C,            UJ                          ::::>
        6           C:
                          C
                                        :Sz
                    C.                  en
        7
        8




                                                 Appx3752
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                                         FIG.36




                                                 OCTET
           1     2     3       4        5        6          7   8                60
      1
      2                               I-
                 w     cc
      3   C
                 ..J   w              zcc            C
                                                                     STORAGE
          cc     Ill   t:::           :::,W          w
      4          ~            .c
                              ,....   Wm             en              AMOUNT
  BIT
      5
          <(
          :::>
          c.:,
                 <(
                 w  -
                 cc w
                       ~
                       ..J
                              0       >:E
                                      <( :::>
                                                     :::>
                                                     :z
                                                     :::>
                                                                    REPORTING
                                                                      REGION
      6                C
                                      ..JZ
                 Cl.                  en
      7
      8




                                                Appx3753
                                                                                         d
                                                                                         •
                                                                                         r:JJ.
                                                                                         •
                                                                                         ~
                                                                                         ~
                                                                                         ......
                                                                                         ~

                                                                                         ......
                                                                                         =
                    STORAGE                 INFORMATION              NOTIFICATION
                                           AMOUNT TABLE                   TABLE          ~
               AMOUNT TABLE                                                             ~

           SLAVE          STORAGE      SLAVE      INFORMATION    SLAVE                   '"""'
                                                                                        ~-..J
                                                                                 (nj)    N
           UNIT (i)      AMOUNT (Ri)   UNIT (i)    AMOUNT (Ni)   UNIT (i)                0
                                                                                         0
                                                                                         ,i;;..
             1               0           1              0          1              0
             2               0           2              0          2              0
                                                                                         'JJ.
                                                                                         ~
                                                                                         =-
                                                                                         ~
                                                                                         ....




Appx3754
                                                                                   0     ~
             32              0           32            0           32                    -..J
                                                                                         0
                                                                                         ....,
                                                                                         00
                                                                                         00

            FIG. 37a                    FIG. 37b                  FIG. 37c
                                                                                         e
                                                                                         rJ'J.
                                                                                        _,.a-...
                                                                                         -...,l
                                                                                         -...,l
                                                                                         ~
                                                                                        (It
                                                                                         (It
                                                                                         -...,l

                                                                                         ~
                                                                                         i,-
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                                                      FIG.38
  STORAGE                         SLAVE
  AMOUNT                          UNIT 1
  COUNTER
  1       100         I
                      INFORMATION
                I_       SIGNAL
           BUFFER MEMORY

  STORAGE                         SLAVE
  AMOUNT                          UNIT2
  COUNTER
  1       1so         I
                 INFORMATION
                    SIGNAL
           BUFFER MEMORY

   STORAGE                        SLAVE
   AMOUNT                         UNIT3
   COUNTER
   I       O          I                                                   MASTER UNIT

                                                                          STORAGE UNIT

           BUFFER MEMORY                                             STORAGE AMOUNT TABLE
                                                                       SLAVE     STORAGE
                                                                       UNIT (i) AMOUNT (Ri)
   STORAGE                        SLAVE
   AMOUNT                         UNIT4                                   1          100
   COUNTER                                                                2          150
   1      100             I                                               3            0
                              iNFORMATION                                 4          100
                 I_              SIGNAL                                   5           50
            BUFFER MEMORY
                                                                                         '
      STORAGE                      SLAVE
      AMOUNT                       UNITS                                  32             0
      COUNTER
   I       so             I
                                   IINFORMATION
                                       SIGNAL
                                                I
            BUFFER MEMORY




      STORAGE                      SLAVE
      AMOUNT                       UNIT 32
      COUNTER
      I  O                I
                              IINFORMATION
                                  SIGNAL
                                               I
            BUFFER MEMORY




                                                      Appx3755
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                                   FIG.39
       CALCULATION OF INFORMATION AMOUNT




                            i=1
                         flag1 = 0


                                           NO



                                           NO




                          Ni=Ai                        Ni= k



                       Ai= Ri - Ni


                                           NO

                                                  flag1 = 1




              NO




                                   Appx3756
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                            FIG.40
       INITIALIZATION OF INFORMATION AMOUNT
                CONV EYED TO SLAVE UNITS




                                                        NO


                            YES

                                    i=1




               NO




                                    Appx3757
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                                     FIG.41
          CALCULATION OF INFORMATION AMOUNT
               CONVEYED TO SLAVE UNITS



                               i=j

                                            NO



                            p = 256


                                           NO

                                                    q= p
                            q = Nj


                         Nj = Nj - q

                           P= p-q


                         nj = ni   +q
                                           NO




                                           NO

                                                    j= 1

              NO



                                          NO

                                                  flag2 = 1
                         YES




                         flag2 = 0




                                     Appx3758
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                                       FIG.42



                                            OCTET
           1   2        3    4     5       6         7   8                 60
       1
       2
       3                         t-
               a::z              -a:
                                 zw            C
       4       WQ
                            .c   =>m           w             INFORMATION
 BIT           c-           N    W:;
                                               (/)             AMOUNT
                                               z=>
       5       <tC!J        0                                 REPORTING
               ww                > :::J
               :::ca:            Sz            =>               REGION
       6                         (/)

       7
       8




                                          Appx3759
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                                            FIG.43



                                                OCTET
             1   2         3    4       5       6          7    8            60
         1
                                                               #
                                                                     ....
                                                                     z
         2                                                     a:    :::,
                                                               UJ    0
         3                            !::::·-                  al    :E
                 a:z                  za:           C          :E
                                                               :::, <
         4       wo                                 w
   BIT           C-            ..c:   =>w
                                      wm            (J)        z 0z
         5       ci;<,
                 ww
                               N
                               0      >:E
                                      <:::,
                                                    :::,
                                                    z          .... ....
                                                               0
                 ::t:C::              ..Jz          :::,       -I    <t
         6                            en                          :E
                                                               en a:
         7                                                     w 0
                                                               :i:? u.
                                                               .:= z
         8
                                                                    -




                                                Appx3760
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                          FIG.44


                    i=j
                  sum = O


                                      NO




                 #i = sum                          #i = 0



              sum = sum + ni




      NO




                               Appx3761
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                                                                               FIG.45
                                   UPSTREAM                                                                            DOWNSTREAM
                                   DIRECTION                                                                            DIRECTION
                   SLAVE UNIT                                                                                                   SLAVE UNIT
                  TRANSMISSION                           MASTER                                       MASTER                   TRANSMISSION
            i=1 i:2 i=3 i=4 i:5 - i=32                    UNIT                                         UNIT              i:1 i=2 i=3 i:4 i=5 - i=32
            ..        I    1.... 1...   ..l ........ J            ----
           (.)       I CONTROL
                        I I
                               PACKET                             (.)                                                                                     (.)
              . ~~!~~A~.~ ~~.o.~~!..~~ORT)
           :;;                                               ..... ----



    r
           C ~.-                                                   :E                                                                                      :;;
                   ·- - · ~.- ----                               E..                                                       1---   -- ---L--       ------
                                                                                                                                                           C




                                                                                                                   TRANSMISSION OF
    w-                                                                                                           INFORMATION SIGNAL
    :E
    <(
    a:
    II.




    ~
                           ----- ---- ---------
                                                                  ----

                     CONTROL PACKET                               (.)
               (STORAGE AMOUNT REPORT)
            ...........•••• ··.··t····:···i-
                                                             ~---·
                                                                  :E
                                                                  C
                                    DATA P1CKET(100)
                                     1

                                    DATA P1CKET(100)                                                               TRANSMISSION OF
                                         1                                n1 = 0 ,        n2 = 50 ,              INFORMATION SIGNAL
                            D,ATA P~CKET(56)                              n3 = 0 ,        n4 = 44 ,
                    TRANSMISSION OF                                       ns = 50 , A     n32 = o
                  INFORMATION, SIGNA,L
                                                                 ----
                                                                                        t .................. ___~-------------------
                                                                                                                 .                   -----------
          (.)        I CONTROL
                        I I
                               PACKET                            (.)
                                                                          R1 = 0,
                                                                          R3:0,
                                                                                          R2=0,
                                                                                          R4 = O •     <.l
                                                                                                                                      CONTROL PACKET
                                                                                                                                      (INFORMATION
                  (STORAGE AMOUNT REPORT)                                                                                               ~ AMOUNT REPORT)
                                                                          R5 = 0, A       R32= 0
                 .•••• ••••••••• :····r···.·•··.···- .....                                                   t ----+.-:-:+=t= k-....L_JC.l
                                                                  :E ·N···1··=··0··,•····1· N2 = 0 , __]_                  •••• ···•· •••• ••             :;;
                                                                  C
                                    DATA P~CKET(50)
                                                                                                                          ~. ·- ·-·~· ~·-·-·e.
                                                                          N3 = 0,         N4 = 0,
                                     1
                                                                          N5 = 0 , A      N32 = 0
                                    DATA P~CKET(44)                                                                TRANSMISSION OF
                                        1                                 n1 = O,         n2 = O,                INFORMATION SIGNAL
                            Of-TA P~CKET(50)                              n3 = 0,         n4 = O,
                    TRANSMISSION OF                                       n5 = o, A       n32 = 0
                  INFORMAXION, SIGNA,L
                                                                 ----                   L.................. c~==::::--==.j___.:.;.;.J'
                                                                                                            ,-             - ••••••••• "foiiiti=lciCPACKET
          (.)       I CONTROL
                       I I
                              PACKET                             (.)                                   u t===-::.-::.-:..t-:..+~~~-(l.'..'.l..:N~FO~-.FJ!!;-MATION
                                                                                                                                                    AMOUNT REPORT)
                 (STORAGE AMOUNT REPORT)                                                                     1

      :E         ····1····+··~······1·········           -       :E
                                                                                                       :;; r--+.::C,...+..-:-:-..~.. h..=.. J,..J_-1u
                                                                                                                                                         ~
      C
   -·- · - - ·              •   ·- -·-·                          C                                   __E_
                                                                                                                          --      -- -----       ------
     R; : STORAGE AMOUNT OF SLAVE UNIT i                                                                               I: DATA REGION
     N1: INFORMATION AMOUNT OF SLAVE UNIT I                                                                           C : CONTROL REGION
     n1: INFORMATION AMOUNT FOR NOTIFYING                                                                            OM: DELAY CONTROL REGION
          SLAVE UNITI




                                                                                Appx3762
                                                                                                                                     d•
                                                                                                                                     r:JJ.
                                                        FIG.46                                                                       •
                                                                                                                                      ~
                                                                                                                                      ~
                                                                                                                                     ......
                                                                                                                                     ~
                                                   SERVICE CLASS 1
                             s = = 1 (VOICE}                INFORMATION                                                              ......
                                                                                                                                     =
                                               ~                                             _ STORAGE AMOUNT _
                                                               SIGNAL                 t---
                                                    I                             ~               COUNTER
                                                   BUFFER MEMORY
                                                                                              SERVICE   SERVICE
                                                                                              CLASS 1   CLASS 2                      >
                                                   SERVICE CLASS 2                                                                   =
                                                                                                          50                         ~
                             s = = 2 (VIDEO}                         INFORMATIO N~
                                                                                              I 100 I I           I
                                               -
                                                                        SIGNAL     t---       SERVICE   SERVICE
                                                                                                                                      '"""'
                                                                                                                                     ~-..J
                                                                I                             CLASS 3   CLASS sc                      N
                                                                                                                                      0
                                                   BUFFER MEMORY                                                                      0
                                                                                              I 75   I I   0                          ,i;;..
                                                                                                                  I
           INPUT                                   SERVICE CLASS 3
           PORT    INPUT '=- S==3(DATA }                                                                              TRANSMISSION
                    UNIT                       -             INFORMATION          I     ~
                                                                                                                          PORT
                                                                SIGNAL                            - TRANSMISSION                     'JJ.
                        -                               I                         I                     UNIT
                                                                                                                                      ~
                                                                                                                                      =-
                                                   BUFFER MEMORY                                                                      ~
                                                                                                                                      ,i;;..




Appx3763
                                                                                                                                      O'I
                                                                ..                                                                    0
                                                                                                                                      ....,
                                                                                                                                     00
                                                              ..•                                                                    00




                                                             ..
                                                   SERVICE CLASS sc
                             S ==SC                         INFORMATION
                                                                                                                                      e
                                                                                                                                      rJ'J.
                                               :                                      t---
                                                   I           SIGNAL             ~                                                  O'I
                                                                                                   SLAVE UNIT i
                                                   BUFFER MEMORY                                                                     ~
                                                                                                                                      -...,l
                                                                                                                                      ~
                                                                                                                                     11.
                                                                                                                                      (It
                                                                                                                                      -...,l

                                                                                                                                      ~
                                                                                                                                      I■-
                                                                                                                                 d
                                                                                                                                 •
                                                                                                                                 r:JJ.
                                                                                                                                 •
                                                                                                                                 ~
                                                                                                                                 ~
                                                        FIG.47                                                                   ......
                                                                                                                                 ~

                                                                                                                                 ......
                                                                                                                                 =
                               5==1             SERVICE CLASS 1 QUEUE
                           (ANALOG VOICE)                   INFORMATION
                                            ~
                                                                                 ~   ~ STORAGE AMOUNT_
                                                    I          SIGNAL        ~                COUNTER                            ~
                                                                                                                                ~
                                                                                      SERVICE      SERVICE
                                                                                      CLASS 1      CLASS 2                       '"""'
                                                                                                                                ~-..J
                                5==2            SERVICE CLASS 2 QUEUE                                                            N
                                                                                      I 100 1 I       50    I                    0
                             (ATM CELL)                                                                                          0
                                            ~
                                                                  INFORMAT ION~ ~
                                                                                      SERVICE                                    ,i;;..
                                                                     SIGNAL                       SERVICE
                                                                                      CLASS 3     CLASS SC
                                                                                      I  75    I I   0      I
                                5==3                       '                                                                     'JJ.
           INPUT         ._  (ETHERNET          SERVICE CLASS 3 QUEUE
            PORT                                                                                                TRANSMISSIO N    ~
                                                                                                                                 =-
                   INPUT .__  PACKET)                        INFORMATION                                                         ~
                    UNIT                    ~                                I   -        -   TRANSMISSION          PORT         ....
                                                                SIGNAL                                                           ,i;;..




Appx3764
                                                        I                    I                    UNIT
                                                                                                                                 -..J
                                                              ■
                                                                                                                                 0
                                                                                                                                 ....,
                                                             ■
                                                                                                                                 00
                                                              ■                                                                  00
                                                             ■




                                                SERVICE CLASS sc QUEUE
                               S = SC                       INFORMATION
                                            ~
                                                   I           SIGNAL       ~~
                                                                                                                                 e
                                                                                                                                 rJ'J.
                                                                                              SLAVE UNITi
                                                   BUFFER MEMORY                                                                _,.a-...
                                                                                                                                 -...,l
                                                                                                                                 -...,l
                                                                                                                                 ~
                                                                                                                                11.
                                                                                                                                 (It
                                                                                                                                 -...,l

                                                                                                                                 ~
                                                                                                                                 I■-
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                                           FIG.48



                                                OCTET
           1     2    3     4       5       6           7    8                           60
      1                                                      -1-                  or-
                                                            T""Z   N~             cnZ
      2                                                     en=, en=,             en=>
      3
                w     a:          I-
                                  za:                       enc enc               cnO
          C
                ..J
                m     w
                                  ::::>W
                                                C
                                                w           <:: <::               <(~
        a:
      4 <(            I-                                        _J<(
  BIT 5   =:,
                ::
                <( ::       .c:
                            T""
                            0
                                  Wm
                                  >::
                                                en
                                                ::::>
                                                            ~<( (.)
                                                            wW wW       . . . . . . Uw
                                                                                  _J<(

          C,    w     ::l         <(=:,         z           uCJ uCJ               W(!J
      6         a:    w           _Jz           ::::>       -<( -<(
                                                            >a: >a:               g<(
                c..   C           en                                              >0:
      7                                                     a:o a:a               a:o
                                                            W1- W1-               WI-
      8                                                     encn encn             enw




                                           Appx3765
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                   STORAGE AMOUNT TABLE
                 SERVICE          SERVICE                      SERVICE
                  CLASS 1          CLASS 2                     CLASS sc
     SLAVE       STORAGE          STORAGE                      STORAGE
     UNIT (i)    AMOUNT           AMOUNT                       AMOUNT
                    (Ri1)            (Ri2)                       (Risd
        1             0                0                           0
        2             0                0                           0
                                                ......... ,

       32            0                0                            0

                           FIG. 49a
                 INFORMATION AMOUNT TABLE
                  SERVICE          SERVICE                      SERVICE
                   CLASS 1          CLASS 2                     CLASS sc
     SLAVE      INFORMATION      INFORMATION                  INFORMATION
     UNIT (i)      AMOUNT          AMOUNT                       AMOUNT
                     (Ni1)            (Nj2)                       (Nisd
         1             0                0                           0
         2           0                  0                           0
                                                 ..........

        32           0                0                            0

                           FIG. 49b
                         NOTIFICATION TABLE
                  SERVICE          SERVICE                      SERVICE
     SLAVE        CLASS 1          CLASS 2                      CLASS sc
     UNIT (i)
                    ni1              ni2                          nisc
         1           0                0                            0
         2            0               0                            0
                                                 ..........

        32            0               0                            0



                           FIG. 49c
                                 Appx3766
                                                                                                                              d•
                                                                                                                              r:JJ.
                                                                                                                              •
                                                                                                                               ~
                                                                                                                               ~
                                                                                                                              ......
                                                                                                                              ~

                                                                                                                              ......
                                                                                                                              =
                                                                 FIG.SO
                                                                                                                              >
                                                                                                                              =
                                                                                                                              ~

                            1111.:,
                            1ms                                                                                                '"""'
                                                                                                                              ~-..J
                                                                    I II I.>
                                                                    1ms
           -                                                                                           I I II.>
                                                                                                       1ms                    N
                                                     - -                              - -                                 -   0
               DATA REGION                                                                                                    0
           -                                                DATA REGION                                                        ,i;;..
                                            -          -                                   -   DATA REGION
                                                                                                                  -
           SERVICE         SERVICE                     SERVICE    SERVICE
           CLASS 1         CLASS 2                                                         SERVICE   SERVICE
                                                       CLASS 1    CLASS 2                                                     'JJ.
                                                                                           CLASS 1   CLAS S 2
                                                                                                                               ~
                                                                                                                               =-
           k11 k12   k12     k22      k32       C IDM k13 k14 k42   ks2    ks2                                                ~
                                                                                 C IDM k1s k1s k12   k22    k32       C IDM




Appx3767
                                                                                                                              Ul
           50 50     120     120      120             50 50 120 120 120                                                       0
                                                                                       50 50 120 120 120                      0
            100                                         100                                                                    ....,
            (bit)          360(bit)                                                      100                                  00
                                                        (bit)     360(bit)              (bit)      360(bit)                   00



           -                                          td2
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                                              FIG.51



                                                      OCTET
          1   2       3   4   5   6           7      8                             60
      1                                                          1-          1-
                                                     ~CC         z    ~     ~Z
      2                                            ,-w ,..."'::) NW        u:::,
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                                                                          en::
      3                                            en:: en:: en::
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      4       wo                      w
                                      en
                                                   ...1z ...1z ...1z      ..JZ
  BIT S
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              c;tC,                   :::,
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              ww                      z:::,        wo Wj:: WQ             Wi=
              ::cCC                                    < (.) ..J
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      6                                            s;en >:: >(/)          s;::
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                                                         z en-
                                                             I-
                                                                          (I) LL
      8                                                                      z




                                                  Appx3768
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                          FIG.52




                 REGION                    CONTROL   CONTROL
                                            REGION    REGION
                                                      (111µs}




                              Appx3769
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                                                     FIG.53



                                                          OCTET
           1   2       3    4      5       6         7       8                                         60
       1
       2                                                 z        z                     ZN
                                               0         _c:.... O""
                                                         0       _c:                    QC"l
       3       CCz
               WQ                              w         ........ ........              ........
                                                                                        -    C:


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                                                     Appx3770
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                                                                                                                                                                   r:JJ.
                                                                         FIG.54                                                                                    •
           MASTER -                   SLAVE                                                                                                                        ~
            UNIT                       UNIT                                                                                                                        ~
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                      CONTROL                                                                    CONTROL                                                           N
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           1                                                                          1
           2                                                                          2
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                wo                     UJ                                             3                         LU                                                 'JJ.
           4    c-      .s::. .s::.    C/J                                            4
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           6    UJUJ                   z             --    SLAVE                            UJLU                z                -   i-----_
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Appx3771
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             SLAVE _    MASTER                                                                                                                                    11.
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                                                                   FIG.55                                                                    r:JJ.
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           MASTER _         SLAVE
            UNIT             UNIT                                                                                                            ~
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              REGION                                                            REGION
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                      CONTROL
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                       PACKET                                                            PACKET                                              0
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               1 2 3 4 5 6 7 8     ~ 60                                          1 2 3 4 5 6 7 8                     ~       60              ,i;;..
           1                                                                1
           2                                                                2
           3 ffiZ            C                                              3     ffi~              C
           4 c-    0  .c ..c w                                              4     c-      .c ..c    w                                        'JJ.
                <( C, C\I O  CfJ                      SLAVE                       <( C,   C\I O     CfJ                            SLAVE
           5 UJW                                                            5                                                                ~
                                                                                                                                             =-
                      O O    :::>                      UNIT                       UJW     O   o     :::>                            UNIT     ~
           6 :ca:            z
                             :::>                    NUMBER i               6     :ca:              z:::>                         NUMBERi    ....




Appx3772
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               SLAVE _        MASTER                                                                                                        11.
                UNIT           UNIT                                                                                                         (It
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U.S. Patent          Aug. 17, 2004                           Sheet 56 of 88                                    US 6,778,557 Bl

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                                                     Appx3773
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                                  Appx3774
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        INFORMATION                            ENABLING
       AMOUNT TABLE 1                      AMOUNT TABLE 1
     SLAVE    INFORMATION                 SLAVE     ENABLING
      UNIT      CONTENT                    UNIT      AMOUNT
   NUMBER (i)     (Rvi)                 NUMBER (i)     (Gvi)
       1             0                        1        0
       2             0                        2        0


       m             0                       m         0

       FIG. 58a                              FIG. 58c

        INFORMATION                           ENABLING
       AMOUNT TABLE 2                     AMOUNT TABLE 2
     SLAVE    INFORMATION                SLAVE     ENABLING
      UNIT      CONTENT                   UNIT      AMOUNT
   NUMBER (i)     (Rdi)                NUMBER (i)     (Gdi)
       1            0                        1         0
       2            0                        2         0


      m             0                        m         0

       FIG. 58b                             FIG. 58d




                               Appx3775
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                                            FIG.59                                     ......
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               START   J                                                               '"""'
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Appx3776
           GENERATION          PERIOD-                                GENERATION OF    Ul
                                                 TRANSMISSION-                         \0
           OF UPSTREAM        MEASURING                               TRANSMISSION     0
                                                                                       ....,
                                                   ENABLING
            PLOAM CELL          TIMER                                  INSTRUCTIONS    00
                                                    AMOUNT                             00




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                                                                                       rJ'J.
           (   END-j                                                                  _,.a-...
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                         FIG.60

  PROCEDURE FOR CALCULATING ENABLING AMOUNT Gdi



                          START



                        COUNTER
                     INITIALIZATION



                          DIRECT
                         COUTING



                                                   NO



                                 YES

                       flag1 = TRUE




                               Appx3777
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                          FIG.61
   PROCEDURE FOR CALCULATING ENABLING AMOUNT Gdi



                  START


                                     NO




                 Gdi = Adi                         Gdi = K



              Adi = Adi - Gdi




         NO


                        YES

                    ENO




                               Appx3778
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                               FIG.62

    GRANT-GENERATIING PROCEDURE


                       START


                     i = 1, #n = 1


                   SETTING OF Ns


                                           YES


                              NO

                 INSTRUCTION TO                  INSTRUCTION TO
                  TRANSMIT DATA                  TRANSMIT VIDEO
                     SIGNAL                          SIGNAL




                                         YES


                                                    GENERATION OF
                                                     DOWNSTREAM
                                                      PLOAM CELL


                                                         END




                              Appx3779
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                              FIG.63
   PROCEDURE FOR ISSUING INSTRUCTIONS
       TO TRANSMIT VOICE SIGNALS

                 START




    NO
                                                                NO



           ID NUMBER OF SLAVE
          UNIT i IS ENTERED INTO
         GRANT #n, IDENTIFIER OF                flag1 = FALSE
            VOICE SIGNAL IS SET


              Gvi = Gvi - 1



              #n = #n + 1



                   END




                                   Appx3780
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                                  FIG.64
   PROCEDURE FOR GENERATING INSTRUCTIONS
         TO TRANSMIT VOICE SIGNALS

                   START




      NO
                                                              NO



             ID NUMBER OF SLAVE
            UNIT i IS ENTERED INTO
           GRANT #n, IDENTIFIER OF                #nlSIDLE
              DATA SIGNAL IS SET


               Gvi = Gvi -1



                #n = #n   +1

                    END




                                  Appx3781
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                                                                                            CJ)l-
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                               0                                                                CJ)!-
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                                                                                                  r:JJ.
                                              FIG.66                                              •
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                                    ONE FRAME             ONE FRAME                               ......
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           DATA SIGNAL OF
            SLAVE UNIT1
                                                                                                  'JJ.
                                                                                DATA SIGNAL OF    ~
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                                                                                 SLAVE UNIT 4     ~
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Appx3783
              DATA SIGNAL OF                                                                      O'I
                                                                                                  O'I
               SLAVE UNIT 2                                                                       0
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                                                                                                  00
                                                                         DATA SIGNAL OF           00
                                                                          SLAVE UNIT 3
                        VIDEO SIGNAL OF
                          SLAVE UNIT 1
                                     VIDEO SIGNAL OF
                                       SLAVE UNIT 2    VIDEO SIGNAL OF
                                                         SLAVE UNIT 3                             e
                                                                                                  rJ'J.
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                                          DIAGRAM FOR k = 7 SLOTS                                1J.
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                       I 641         I 642            ;643              I 644             I 64 5    ~
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Appx3784
           GENERATION           PERIOD-        CALCULATION       CALCULATION     GENERATION OF      O'I
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           OF UPSTREAM         MEASURING         OF DATA           OF VIDEO      TRANSMISSION       0
            PLOAM CELL           TIMER        TRANSMISSION-     TRANSMISSION-     INSTRUCTIONS      ....,
                                             ENABLING AMOUNT   ENABLING AMOUNT                      00
                                                                                                    00




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                                                                    FIG.68                                                            ~
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             OUTPUT PORT      ... I   I   OUTPUT   7,                                           RECEPTION     1-t-   RECEPTION       >
                                           UNIT                                            I      UNIT                 PORT          =
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                                                                     CONTROL                                                          0
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                                                                       UNIT       I                 I                                 ,i;;..



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            INPUT PORT FOR    -H          INPUT                                                                                      00
           SERVICE CLASS s0                UNIT                                                                                      00

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            INPUT PORT FOR                INPUT                          BUFFER                                       TRANSMISSION
                                                                                               TRANSMISSION               PORT
           SERVICE CLASS s1                UNIT                          MEMORY                    UNIT
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                                          INPUT                                                                                       rJ'J.
            INPUT PORT FOR    -t-1
           SERVICE CLASS s2                UNIT                                                                                       O'I
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       INFORMATION                            ENABLING
      AMOUNT TABLE 1                      AMOUNT TABLE 1
    SLAVE    INFORMATION                 SLAVE     ENABLING
     UNIT      CONTENT                    UNIT      AMOUNT
  NUMBER (i)     (ROi)                 NUMBER (i)     (GOi)
      1            0                         1         0
      2            0                         2         0


      m            0                         m         0


       FIG. 69a                              FIG. 69d
       INFORMATION                            ENABLING
      AMOUNT TABLE 2                      AMOUNT TABLE 2
    SLAVE    INFORMATION                 SLAVE     ENABLING
     UNIT      CONTENT                    UNIT      AMOUNT
  NUMBER (i)     (R1 i)                NUMBER (i)     (G1 i)
      1            0                       1            0
      2            0                       2            0


      m            0                         m         0


      FIG. 69b                              FIG. 69e
       INFORMATION                            ENABLING
      AMOUNT TABLE 3                      AMOUNT TABLE 3
    SLAVE    INFORMATION                 SLAVE      ENABLING
     UNIT      CONTENT                    UNIT      AMOUNT
  NUMBER (i)     (R2i)                 NUMBER (i)     (G2i)
      1            0                         1         0
      2            0                         2         0


      m            0                         m         0

      FIG. 69c                              FIG. 69f
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                                                            FIG.70                                                       ~
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           GENERATION




Appx3787
                                                                                          -ENABLING     TRANSMISSION     -..J
           OF UPSTREAM       MEASURING     MEASURING     -ENABLING       -ENABLING                                       0
                              TIMER 0       TIMER 1    AMOUNT FOR s0   AMOUNT FOR s1    AMOUNT FOR s2    INSTRUCTIONS    0
            PLOAM CELL                                                                                                   ....,
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                               FIG.71

    PERIOD-MEASURING TIMER PROCEDURE FOR SERVICE CLASS 1



                               START



                            COUNTER
                         INITIALIZATION



                                DIRECT
                               COUTING



                                                   NO




                           flag2 = TRUE




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                                  FIG.72
     ENTIRE PROCEDURE FOR ISSUING
      TRANSMISSION INSTRUCTIONS

                                     START


                                   i = 1, #n = 1


                                  SETTING OF Ns


                                                       YES




                         YES


                                           NO

                                 TRANSMISSION                  TRANSMISSION
       TRANSMISSION                                          INSTRUCTION FOR
     INSTRUCTION FOR           INSTRUCTION FOR
                               SERVICE CLASS s2              SERVICE CLASS s0
     SERVICE CLAS S s1



                                                       YES


                                                              GENERATION OF
                                                               DOWNSTREAM
                                                                PLOA M CELL


                                                                   END




                                  Appx3789
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                                  FIG.73
    PROCEDURE FOR ISSUING TRANSMSS  ISSION
     INSTRUCTION S FOR SER VICE CLA    s0


                    START




       NO
                                                                  NO




              ID NUMBER OF SLAVE
             UNIT i IS ENTERED INTO               flag1 = FALSE
            GRA NT #n, IDENTIFIER OF
                     s0 IS SET


                 GOi = GOi -1



                  #n = #n   +1

                      END




                                  Appx3790
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                              FIG.74
                                     NS TO
  PROCEDURE FOR ISSUING INSTRUCTIO  CLA SS s1
 TRANSMIT DAT A SIGNALS OF SER VICE


                  START




     NO
                                                                  NO




            ID NUMBER OF SLAVE
           UNIT i IS ENTERED INTO                flag 2 = FALSE
          GRANT #n, IDENTIFIER OF
                   s1 IS SET


                G1 i=G 1i-1



                #n = #n + 1


                     END




                                   Appx3791
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                                                                SERVICE CLASS                                                         ~

                                                                   2 QUEUE
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                     INTERFACE              FILTER                             -               UNIT
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                                       FIG.86


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                                    Appx3805
                                                     US 6,778,557 Bl
                              1                                                                   2
   POINT-TO-MULTIPOINT COMMUNICATION                                transmission. Thus, conventional access protocols for point-
                 SYSTEM                                             to-multipoint communication systems are disadvantageous
                                                                    in that an increase in burst traffic containing several mega-
                                                                    bytes of data results in a lower throughput and makes it
                   TECHNICAL FIELD                              5   impossible to comply with time requirements for down-
                                                                    stream transmission.
   The present invention relates to a point-to-multipoint
communication system in which communication is per-                            DISCLOSURE OF THE INVENTION
formed between a single master unit and a plurality of slave
units along a transmission line, and more particularly to a           With the foregoing in view, it is an object of the present
                                                                10 invention to provide a point-to-multipoint communication
point-to-multipoint communication system in which
adequate communication can be achieved even when signals           system in which adequate communication can be achieved
containing several megabytes of data are transmitted in            even when signals containing several megabytes of data are
bursts.                                                            transmitted in bursts.
                                                                      According to the access protocol for the point-to-
                    BACKGROUND ART                              15 multipoint communication system of the present invention,
                                                                   the main principle of operation is that "a report is issued
   Point-to-multipoint communication systems such as
                                                                   regarding the information amount necessary for signal
LANs, CATV networks, satellite communication networks,
                                                                   transmission+an instruction regarding transmission below a
and optical subscriber access networks are commonly con-
                                                                   specific maximum value is issued on the basis of the
figured such that a master unit and a plurality of slave units 20
                                                                   information amount reported."
communicate by sharing, for example, transmission lines
such as those used in coaxial communication, optical-fiber            First, slave units about to transmit signals issue reports on
communication, and radio communication.                            the  information amount needed to transmit the signals in
                                                                   accordance with instructions from the master unit. The
   Here, an access protocol for allocating the use of a shared
                                                                   master unit, upon receipt of the reports from the slave units,
transmission line among slave units is important for ensur- 25
                                                                   issues instructions for the slave units to transmit the signals
ing smooth communication between the master unit and the
                                                                   at no more than a specific maximum number of kilobits on
slave units via this transmission line. There are various types
                                                                   the basis of the reported information amount.
of access protocols.
                                                                      Because such an arrangement allows slave units to trans-
   For example, the CSMNCD (Carrier Sense Multiple                 mit signals in accordance with instructions from the master
Access with Collision Detection) protocol is one in which       30
                                                                   unit, no signal collisions occur in the transmission line and
"carrier sense+multiaccess+collision detection" is the basic       a throughput reduction such as that observed in the case of
principle of operation, and the DAMA (Demand Assign                CSMNCD is avoided when signals containing several
Multiple Access) protocol is one in which "transmission            megabytes of data are transmitted in bursts.
start demand/end notification+transmission line sharing/
                                                                35    Another feature is that because signal transmission
release" is the basic principle of operation.
                                                                   instructions are issued dynamically and efficiently on the
   In such point-to-multipoint communication systems, burst        basis of the information amount reported by slave units, high
traffic in which signals containing several megabytes of data      throughput can be obtained even under complex conditions
are generated in bursts is rapidly becoming more widespread        created by greater burst traffic or an increased number of
because of the increased popularity of personal computers,         slave units.
a larger number of Internet users, and the development of 40
                                                                      The aforementioned specific maximum number of kilo-
various multimedia services that blend communication and
                                                                   bits is set such that the following relation is satisfied:
broadcasting.
   Conventional access protocols, however, have the follow-                k~(rxtd)+(axm),
ing drawbacks that make these protocols incapable of han-
                                                                45 where m is the total number of slave units (m is an integer),
dling burst traffic containing several megabytes of data,
                                                                   a is the proportion of currently active slave units
which is expected to grow even more in the future.
                                                                   (0<a~ 1.0), r (b/s) is the data transfer rate, and td (s) is the
   When, for example, information signals generated in             delay time allowed for data transmission and determined by
bursts of several megabytes are transmitted according to the       the system.
CSMNCD protocol, the information signals are separated 50             A slave unit can therefore continuously transmit large
into packets of about 64-1500 kB and repeatedly transmit-          signals because it has exclusive use of the upstream trans-
ted. Consequently, increased burst traffic results in a mark-      mission line during the transmission of signals whose maxi-
edly lower throughput because of the higher frequency of           mum size is measured ink (bits).
retransmission due to packet collisions.                              Another feature is that when the maximum value is
   Probability calculations conducted under conditions cor- 55 determined on the basis of the above equation and signal
responding to a collision of about 15 packets show a               transmission instructions are issued for the slave units, a
throughput of about 40%, and a period that is 1.5-2.5 times        time of td seconds is necessary for the transmission if all the
the normal time is needed for data transmission accompa-           slave units transmit kilobit signals, making it possible to
nied by collisions. As a result, the delay time increases and      secure an allowed delay time of td seconds for data trans-
is not constant any longer.                                     60 mission by all the slave units.
   On the other hand, transmitting information signals gen-           Fairness is also ensured because all the slave units can
erated in bursts according to a TDMA protocol increases the        invariably transmit their signals within the allowed delay
time needed to complete the transmission when the infor-           time of td seconds.
mation signals being transmitted contain several megabytes            Yet another feature is that the master unit can instruct the
of data, so an increase in burst traffic sometimes makes a 65 slave units to issue information amount reports in a dynamic
transmission-awaiting slave unit to miss its time slot and to      mode in accordance with changes in the transmission line
fail to operate within the delay time allowed for data             load, the information amount reported, and the like.

                                                         Appx3806
                                                     US 6,778,557 Bl
                              3                                                                    4
   In the case of low transmission line load, for example,          to temporarily store the signal, and to further enhance
variations in information amount can be identified by the           communications efficiency.
master unit at a higher speed by reducing the interval                 Here, instructions concerning signal transmission are
between the instructions for information amount reporting.          issued in accordance with the present invention such that
   The master unit can therefore be more flexible in issuing 5 individual procedures are executed independently from each
signal transmission instructions under conditions of varying        other, making it possible to ensure that access fairness is
information amount from slave units, making it possible to          ensured and delay requirements concerning data transmis-
reduce the latency time elapsed before a slave unit transmits       sion are satisfied for all the slave units in the same manner
a signal and to lower the capacity of the buffer memory             as in the above-described invention.
required by the slave unit to temporarily store the signal. 10         In addition, the point-to-multipoint communication sys-
   In the converse case of high transmission line load, the         tem of the present invention operates on the following basic
band that can be used to transmit signals along a transmis-         principle: the information amount needed for transmission is
sion line by increasing the interval between the instructions       reported for each service class in accordance with instruc-
for information amount reporting, making it possible to             tions from the master unit, and transmission by service class
increase the throughput even further.                            15 is enabled by the master unit.
   Instructions for a slave unit to report information amount          In each service class, slave units about to transmit infor-
can thus be given in a dynamic mode, making it possible to          mation signals issue reports for the master unit regarding the
reduce the latency time elapsed before the slave unit can           information amount needed to transmit the information
transmit a signal, to reduce the capacity of the buffer             signals in accordance with the instructions from the master
memory required for the slave unit to temporarily store 20 unit. Upon receipt of the reports from the slave units, the
signals, and to increase throughput.                                master unit issues transmission instructions for the slave
   Another feature is that when no instructions have been           units in each service class on the basis of the information
issued for a slave unit to transmit a signal, the same effect       amount reported for each service class. At this time, the
can be obtained by issuing instructions for reporting the           master unit issues instructions to transmit data in sequence
information amount of the slave unit and performing a 25 from higher-priority service classes.
look-ahead procedure for the information amount of each                Upon receipt of transmission instructions from the master
slave unit.                                                         unit regarding a certain service class, the slave units transmit
   Yet another feature of the present invention is that slave       the data for the corresponding service class to the master
units about to transmit information signals temporarily store       unit.
these information signals in an information signal storage 30          Such an arrangement involves reporting information
means, and the storage amounts of the stored information            amount by service class and issuing transmission instruc-
signals are reported to the master unit. Upon receipt of the        tions in sequence from higher-priority service classes, so the
reports from the slave units, the master unit calculates, based     stringent delay requirements imposed on higher-priority
on the storage amounts thus reported, the information               service classes can be satisfied because the transmission
amount (information amount allowed for transmission) that 35 instructions are issued independently for the higher-priority
can be transmitted by each slave unit at no more than a             service classes even when several megabytes or more are
specific maximum value, and each slave unit is notified of          transmitted in bursts for a lower-priority service class.
the information amount thus calculated.                                Another feature of the point-to-multipoint communication
   Upon receipt of the notification from the master unit, the       system of the present invention is that it operates on the
slave units transmit to the master unit the stored information 40 basic principle that "a report is issued regarding the infor-
signals at no more than the information amount specified in         mation amount necessary for signal transmission in all
the notification.                                                   service classes+an instruction regarding signal transmission
   Because such an arrangement allows slave units to trans-         below a specific maximum value is issued on the basis of the
mit information signals in accordance with the information          information amount reported."
amount specified in the notification from the master unit, no 45       First, the master unit establishes a plurality of service
signal collisions at all occur in the transmission line, and a      classes on the basis of differences in the delay time allowed
throughput reduction such as that observed i n the case of          for data transmission, and signals to be transmitted to the
CSMNCD is avoided when signals containing several                   master unit are classified by service class and stored in the
megabytes of data are transmitted in bursts.                        buffer memory. Before transmitting the signals stored in the
   Here, the information amount that allows information 50 buffer memory, slave units inform the master unit about the
signals to be transmitted can be calculated dynamically and         information amount needed to transmit the signals for all the
efficiently on the basis of reports from slave units such that      service classes in accordance with the instructions from the
the data transfer rate is utilized with 100% efficiency, so high    master unit.
throughput can be obtained even under complex conditions               Upon receipt of the reports from the slave units, the
created by greater burst traffic or an increased number of 55 master unit instructs the slave units to transmit signals at a
slave units.                                                        specific maximum kilobit value on the basis of the infor-
   Another feature of the present invention is that the master      mation amount reported.
unit instructs the slave units to transmit signals successively        In addition, the slave units transmit signals in accordance
when the information amount reported by all the slave units         with the instructions from the master unit, starting from
still has a transfer rate margin after the signal transmission 60 signals that are classified as belonging to a higher-priority
instructions have been issued.                                      service class and requiring shorter allowed delay times for
   In such an arrangement, the master unit constantly               data transmission.
instructs slave units to transmit signals when the information         With such an arrangement, the master unit issues signal
amount reported by the slave units is of low volume and the         transmission instructions in a dynamic mode in accordance
communications traffic is slow, making it possible to reduce 65 with the information amount reported by the slave units, and
the latency time elapsed before the slave unit can transmit a       the slave units transmit signals in accordance with the
signal, to lower the capacity of the buffer memory required         instructions from the master unit, making it possible to

                                                         Appx3807
                                                     US 6,778,557 Bl
                              5                                                                    6
prevent signal collisions in the transm1ss10n line and to              FIG. 5 is a diagram illustrating the correlation between the
maintain high throughput even under conditions of increased         slots of the upstream transmission frame and the grants of
traffic. Limitations are imposed on the time during which a         the PLOAM cells shown in FIG. 4;
signal can be continuously transmitted by a slave unit, so the         FIG. 6 is a flowchart depicting the procedure whereby the
traffic of one slave unit has no effect on another slave unit. 5 master unit shown in FIG. 1 instructs PLOAM cells to issue
Because the slave units transmit signals in accordance with         information amount reports;
instructions from the master unit, starting from signals that
are classified as belonging to a higher-priority service class         FIG. 7 is a flowchart depicting the procedure whereby the
and having shorter allowed delay times, it is possible to           master unit shown in FIG. 1 instructs a slave unit to report
provide a real-time service such as that employed in tele-          information amount;
                                                                 10
phony or video transmission, a non-real time service such as           FIG. 8 is a flowchart depicting the procedure performed
that employed in file transfer, or other type of communica-         when a slave unit shown in FIG. 1 has received instructions
tion involving a plurality of classes having different traffic      from the master unit for reporting information amount;
characteristics or requiring different allowed delay times for         FIG. 9 is a flowchart depicting another example of the
data transmission, performed simultaneously and with high           procedure whereby the master unit shown in FIG. 1 instructs
efficiency.                                                      15
                                                                    a slave unit to report information amount;
   Another feature of the present invention is that the time
slots for transmitting information signals by slave units are          FIG. 10 is a flowchart depicting another example of the
calculated by the master unit dynamically and efficiently on        procedure   performed when a slave unit shown in FIG. 1 has
the basis of reports from slave units to ensure efficient           received instructions from the master unit for reporting
utilization of data transfer rate, making it possible to obtain 20 information amount;
high throughput even under complex conditions created by               FIG. lla is a diagram depicting an exemplary information
greater burst traffic or an increased number of slave units.        amount table as part of the structure of the storage unit in the
   Yet another feature is that because the maximum number           master unit shown in FIG. 3;
of time slots that can secure a circuit in a single session is         FIG. llb is a diagram depicting an exemplary enabling
defined in advance, any slave unit can transmit data within 25 amount table as part of the structure of the storage unit in the
a period based on the product of the maximum number of              master unit shown in FIG. 3;
time slots and the number of the slave units even when                 FIG. 12 is a diagram depicting band allocation in the
different amounts of data are stored in the slave units.            point-to-multipoint communication system shown in FIG. l;
Specifically, the maximum data transfer delay time can be              FIG. 13 is a flowchart depicting the procedure for calcu-
specified, and access fairness ensured.                          30 lating the enabling amounts Gi in the master unit shown in
   In addition, telephone voice transmission and other types        FIG. 1;
of guaranteed service can be performed simultaneously.
                                                                       FIG. 14 is a flowchart depicting the procedure for initial-
   Another feature of the present invention is that the master
                                                                    izing an instructional amount gi for instructing a slave unit
unit divides terminal-addressed input packets and attaches
                                                                    to transmit a signal during transmission of a PLOAM cell in
headers to create fixed-length cells. Each header contains 35
                                                                    the master unit shown in FIG. 1;
slave unit addresses for use in the point-to-multipoint com-
                                                                       FIG. 15 is a flowchart depicting the procedure for calcu-
munication system and retrieved based on the terminal
                                                                    lating the instructional amount gi for instructing a slave unit
addresses contained in the input packets. Because the slave
                                                                    to transmit a signal during transmission of a PLOAM cell in
units operate such that data is retrieved only if the addresses
                                                                    the master unit shown in FIG. 1;
contained in the aforementioned headers match the 40
addresses of the local stations, the transfer rate in the              FIG. 16 is a flowchart depicting the procedure for issuing
downstream direction for each of the slave units can be             signal transmission instructions for the PLOAM cells in the
varied in a simple manner using the master unit alone. In           master unit shown in FIG. 1;
addition, short bit strings are used and the transfer rate can         FIG. 17 is a diagram depicting the results of a comparison
be utilized efficiently because the addresses of the slave units 45 of maximum transmission latency times elapsed before
used in each header are those that have significance solely         signals are transmitted from a slave unit and a terminal in
inside a point-to-multipoint communication system.                  accordance with the transmission line load factor when
   Furthermore, the address architecture used in the point-         bursty signals are generated by the slave unit and the
to-multipoint communication system is hierarchized, and the         terminal in the access protocol based on a first embodiment
addresses are set such that a subnet is used and the slave 50 aspect of the present invention and in the access protocols
units constitute a single network within the entire point-to-       based on conventional TDMA and CSMNCD;
multipoint communication system. The structure of the                  FIG. 18 is a diagram depicting the results of a comparison
master unit can thus be simplified because the portion of a         of the times needed for the master unit and a terminal to
terminal address for identifying the subnet can be used             receive a 90-Mb signal at a transmission line load factor of
directly as a slave unit address.                                55 50% according to the access protocol of the present inven-
                                                                    tion and access protocols based on conventional TDMA and
        BRIEF DESCRIPTION OF THE DRAWINGS                           CSMNCD;
   FIG. 1 is a block diagram depicting an embodiment aspect            FIG. 19 is a flowchart depicting the sequence according to
of the point-to-multipoint communication system in accor-           which transmission instructions are set for the grants of
dance with the present invention;                                60 PLOAM cells according to a second embodiment aspect of
   FIG. 2 is a block diagram depicting a detailed structure of      the present invention, and the procedure whereby instruc-
a slave unit shown in FIG. 1;                                       tions for submitting information amount reports are issued
   FIG. 3 is a block diagram depicting a detailed structure of      for the unused grants of the PLOAM cells;
the master unit shown in FIG. 1;                                       FIG. 20 is a diagram depicting the results of a comparison
   FIG. 4 is a frame block diagram depicting upstream and 65 between an access protocol based on the second embodi-
downstream transmission frames in the transmission line             ment aspect of the present invention, and access protocols
shown in FIG. 1;                                                    based on conventional TDMA and CSMNCD;

                                                         Appx3808
                                                   US 6,778,557 Bl
                             7                                                                  8
   FIG. 21 is a diagram depicting the results of a comparison       FIG. 37a is a diagram depicting an exemplary storage
between the amounts of signals stored in the buffer memo-        amount table for storing the storage amounts reported by
ries of a slave unit and a terminal in the second embodiment     slave units according to the sixth embodiment aspect of the
aspect of the present invention;                                 present invention;
   FIG. 22 is a flowchart depicting the method of a third 5         FIG. 37b is a diagram depicting an exemplary information
embodiment aspect of the present invention for setting           amount table for storing the information amount that allows
signal transmission instructions for slave units with the aid    the slave units to transmit signals;
of the grants of PLOAM cells;                                       FIG. 37c is a diagram depicting an exemplary notification
   FIG. 23 is a diagram depicting the results of a comparison    table for storing the information amount used for notifying
of maximum transmission latency times elapsed before 10 the slave unit during each frame period;
signals are transmitted from slave units in accordance with         FIG. 38 is a diagram illustrating the storage amount of
the transmission line load factor when bursty signals are        information signals stored in the buffer memory of a slave
generated by the slave units according to the access protocol    unit according to the sixth embodiment aspect of the present
based on the third embodiment aspect of the present inven-       invention, and the manner in which the storage amount table
                                                              15
tion and according to TDMA with fixed slot allocation;           is updated after the master unit has received a control packet;
   FIG. 24 is a diagram depicting the results of a comparison       FIG. 39 is a flowchart depicting the procedure for calcu-
obtained by simulating mean transmission latency times in        lating information amounts whereby slave units are allowed
a case in which no signal transmission instructions are          to transmit data by the master unit in the sixth embodiment
issued by means of unused grants and in a case involving the 20 aspect of the present invention, with all the slave units
use of the access protocol pertaining to the third embodi-       actively operating;
ment aspect of the present invention;                               FIG. 40 is a flowchart depicting the procedure for initial-
   FIG. 25 is a diagram depicting an example in which a          izing information amounts for notifying the slave units by
single slot of the upstream transmission frame according to      the master unit in the sixth embodiment aspect of the present
the third embodiment aspect of the present invention is split 25 invention;
into eight mini-slots;                                              FIG. 41 is a flowchart depicting the procedure for calcu-
   FIG. 26 is a diagram depicting the correlation between the    lating information amounts for notifying the slave units by
ID numbers and the numbers #s of mini-slots according to         the master unit in the sixth embodiment aspect of the present
a fourth embodiment aspect of the present invention;             invention;
   FIG. 27 is a diagram depicting the results of a comparison 30    FIG. 42 is a diagram depicting an example of a control
between the access protocol based on the fourth embodiment       packet transmitted to a slave unit by the master unit in the
aspect of the present invention and the access protocols         sixth embodiment aspect of the present invention;
based on conventional TDMA and CSMNCD;                              FIG. 43 is a diagram depicting a specific example of data
   FIG. 28 is a diagram depicting the results of a comparison    loaded in the information amount reporting region of the
of the amounts of signals stored in the buffer memory of a 35 control packet shown in FIG. 42;
terminal and a slave unit according to the fourth embodi-           FIG. 44 is a flowchart depicting a procedure for deter-
ment aspect of the present invention;                            mining the time slot number according to which a slave unit
   FIG. 29 is a diagram depicting band allocation according      begins transmitting an information packet in the sixth
to a fifth embodiment aspect in the point-to-multipoint 40 embodiment aspect of the present invention;
communication system of the present invention;                      FIG. 45 is a sequence diagram depicting the manner in
   FIG. 30 is a diagram illustrating the frame periods for       which   information signals stored in a slave unit are trans-
TDM and TDMA, which are the packet multiplexing pro-             mitted to the master unit in the sixth embodiment aspect of
tocols adopted in a sixth embodiment aspect of the point-        the present invention;
to-multipoint communication system according to the 45              FIG. 46 is a diagram depicting an example of the buffer
present invention;                                               memory structure of a slave unit for a case in which the band
                                                                 allocation illustrated in FIG. 29 is adopted in the sixth
   FIG. 31 is a sequence diagram depicting a control routine
                                                                 embodiment aspect of the present invention;
for the access protocol in the point-to-multipoint commu-
nication system according to the sixth embodiment aspect of         FIG. 47 is a diagram depicting another example of the
the present invention;                                        50
                                                                 buffer memory structure of a slave unit for a case in which
                                                                 the band allocation illustrated in FIG. 29 is adopted in the
   FIG. 32 is a diagram illustrating the frame periods for       sixth embodiment aspect of the present invention;
TDM and TDMA, which are the packet multiplexing pro-
                                                                    FIG. 48 is a diagram depicting an example of the control
tocols adopted in the sixth embodiment aspect of the present
                                                                 packet used when information amount is reported by a slave
invention;
                                                                 unit to the master unit in a case in which the band allocation
   FIG. 33 is a diagram depicting the relation between the 55 illustrated in FIG. 29 is adopted in the sixth embodiment
packet types and packet type numbers adopted in the sixth        aspect of the present invention;
embodiment aspect of the present invention;                         FIG. 49a is a diagram depicting an exemplary storage
   FIG. 34 is a diagram depicting the relation between the       amount table for a case in which the band allocation illus-
slave unit names and slave unit numbers adopted in the sixth 60 trated in FIG. 29 is adopted in the sixth embodiment aspect
embodiment aspect of the present invention;                      of the present invention;
   FIG. 35 is a diagram depicting an example of an infor-           FIG. 49b is a diagram depicting an exemplary information
mation packet adopted in the sixth embodiment aspect of the      amount table for a case in which the band allocation illus-
present invention;                                               trated in FIG. 29 is adopted in the sixth embodiment aspect
   FIG. 36 is a diagram depicting an example of a control 65 of the present invention;
packet adopted in the sixth embodiment aspect of the present        FIG. 49c is a diagram depicting an exemplary notification
invention;                                                       table for a case in which the band allocation illustrated in

                                                        Appx3809
                                                    US 6,778,557 Bl
                              9                                                                  10
FIG. 29 is adopted in the sixth embodiment aspect of the           transmit voice signals in the seventh embodiment aspect of
present invention;                                                 the present invention;
   FIG. 50 is a diagram illustrating an example of a frame            FIG. 61 is a flowchart depicting the procedure for calcu-
period for a case in which the band allocation illustrated in      lating the enabling amount Gdi in the seventh embodiment
FIG. 29 is adopted in the sixth embodiment aspect of the 5 aspect of the present invention;
present invention;                                                    FIG. 62 is a flowchart depicting the procedure for issuing
   FIG. 51 is a diagram depicting an example of a control          transmission instructions, or grants, in the seventh embodi-
                                                                   ment aspect of the present invention;
packet transmitted by the master unit to a slave unit for a
case in which the band allocation illustrated in FIG. 29 is           FIG. 63 is a flowchart depicting the procedure for issuing
                                                                   voice signal transmission instructions in the seventh
adopted in the sixth embodiment aspect of the present 10
                                                                   embodiment aspect of the present invention;
invention;
                                                                      FIG. 64 is a flowchart depicting the procedure for issuing
   FIG. 52 is a diagram depicting an example of a frame            data signal transmission instructions in the seventh embodi-
format for a case in which information amount used for             ment aspect of the present invention;
notification purposes is multicast by the master unit to the          FIG. 65 is a block diagram depicting a slave unit pertain-
                                                                15
slave units in the sixth embodiment aspect of the present          ing to an eighth embodiment aspect of the point-to-
invention;                                                         multipoint communication system according to the present
   FIG. 53 is a diagram depicting an example of a control          invention, in which voice signals generated by a variable-
packet transmitted by the master unit to the slave units in the    rate signal compression protocol are stored as a service class
case of the structure illustrated in FIG. 52;                      in which variable-length data must be transmitted with a
                                                                20
   FIG. 54 is a diagram depicting another example of a frame       prescribed period T, and in which information signals are
format for a case in which information amount used for             stored as a service class in which data is sporadically
notification purposes is multicast by the master unit to the       transmitted;
slave units in the sixth embodiment aspect of the present             FIG. 66 is a frame block diagram depicting an upstream
invention;                                                         transmission frame for the point-to-multipoint communica-
                                                                25
   FIG. 55 is a diagram depicting another example of a frame       tion system according to the eighth embodiment aspect of
format for a case in which information amount used for             the present invention;
notification purposes is multicast by the master unit to the          FIG. 67 is a flowchart depicting the overall relation
slave units in the sixth embodiment aspect of the present          among the procedures pertaining to transmission instruc-
invention;                                                      30 tions in a ninth embodiment aspect of the present invention;
   FIG. 56 is a block diagram depicting the structure of a            FIG. 68 is a block diagram depicting a slave unit for a
slave unit for accommodating voice signals as a service class      tenth embodiment aspect of the present invention;
requiring periodic fixed-length data transmissions, and for           FIG. 69a is a block diagram depicting information
accommodating data signals as a service class with sporadic        amount table 1 corresponding to the structure of the storage
transmission of variable-length data in a seventh embodi- 35 unit in the tenth embodiment aspect of the present invention;
ment aspect of the present invention;                                 FIG. 69b is a block diagram depicting information
   FIG. 57 is a frame block diagram depicting the upstream         amount table 2 corresponding to the structure of the storage
transmission frame for the point-to-multipoint communica-          unit in the tenth embodiment aspect of the present invention;
tion system according to the seventh embodiment aspect of             FIG. 69c is a block diagram depicting information amount
the present invention, in which voice signals are stored in a 40 table 3 corresponding to the structure of the storage unit in
service class requiring periodic fixed-length data                 the tenth embodiment aspect of the present invention;
transmissions, and data signals are accommodated by a                 FIG. 69d is a block diagram depicting enabling amount
service class with sporadic transmission of variable-length        table 1 corresponding to the structure of the storage unit in
data;                                                              the tenth embodiment aspect of the present invention;
   FIG. 58a is a diagram depicting information amount table 45        FIG. 69e is a block diagram depicting enabling amount
1 corresponding to the structure of the storage unit in the        table 2 corresponding to the structure of the storage u nit in
master unit shown in FIG. 3 in connection with the seventh         the tenth embodiment aspect of the present invention;
embodiment aspect of the present invention;                           FIG. 69/ is a block diagram depicting enabling amount
   FIG. 58b is a diagram depicting information amount table        table 3 corresponding to the structure of the storage unit in
                                                                50
2 corresponding to the structure of the storage unit in the        the tenth embodiment aspect of the present invention;
master unit shown in FIG. 3 in connection with the seventh            FIG. 70 is a flowchart depicting the overall relation
embodiment aspect of the present invention;                        among the procedures pertaining to transmission instruc-
   FIG. 58c is a diagram depicting enabling amount table 1         tions in the tenth embodiment aspect of the present inven-
corresponding to the structure of the storage unit in the 55 tion;
master unit shown in FIG. 3 in connection with the seventh            FIG. 71 is a flowchart depicting the period-measuring
embodiment aspect of the present invention;                        timer procedure for service class 1 shown in FIG. 70;
   FIG. 58d is a diagram depicting enabling amount table 2            FIG. 72 is a flowchart depicting the entire procedure for
corresponding to the structure of the storage unit in the          issuing transmission instructions according to FIG. 70;
master unit shown in FIG. 3 in connection with the seventh 60         FIG. 73 is a flowchart depicting the instructions to trans-
embodiment aspect of the present invention;                        mit data signals for the service class s0 according to FIG. 72;
   FIG. 59 is a flowchart depicting the overall relation              FIG. 74 is a flowchart depicting the instructions to trans-
among the procedures pertaining to transmission instruc-           mit data signals for the service class sl according to FIG. 72;
tions in the seventh embodiment aspect of the present                 FIG. 75 is a frame block diagram depicting the frame
invention;                                                      65 structure of the point-to-multipoint communication system
   FIG. 60 is a flowchart depicting the procedure for mea-         according to the tenth embodiment aspect of the present
suring the period with which instructions are issued to            invention;

                                                         Appx3810
                                                    US 6,778,557 Bl
                             11                                                                 12
   FIG. 76 is a block diagram depicting a detailed structure      controlled manner. Other possible applications include wire-
of a slave unit according to an eleventh embodiment aspect        less access networks configured such that part of the trans-
of the present invention;                                         mission line is a landline or a wireless line, such as an
   FIG. 77 is a diagram illustrating the operation of the         arrangement in which a plurality of wireless terminals are
eleventh embodiment aspect of the present invention;            5 connected instead of slave units to the master unit by means

   FIG. 78 is a frame block diagram depicting the transmis-       of a wireless transmission line.
sion frames adopted in a thirteenth embodiment aspect of the         When a wireless transmission line is used in such a case,
present invention;                                                the use of the access protocol of the present invention is
   FIG. 79 is a block diagram depicting the structure of a        facilitated by the simple synthesis or distribution of signals
                                                               10 among wireless terminals and the master unit.
slave unit adopted in the thirteenth embodiment aspect of the
present invention;                                                   FIG. 2 is a block diagram in which the detailed structure
   FIG. 80 is a block diagram depicting the structure of the      of the slave units 10-1, 10-2, . .. , 10-m shown in FIG. 1 is
master unit adopted in the thirteenth embodiment aspect of        depicted as a slave unit 10.
the present invention;                                         15
                                                                     In FIG. 2, the slave unit 10 comprises an input unit 11
   FIG. 81 is a frame block diagram depicting the transmis-       connected   to an input port; an output unit 12 connected to an
sion frames adopted for a fourteenth embodiment aspect of         output port; a transmission unit 13 connected to a transmis-
the present invention;                                            sion port; a reception unit 14 connected to a reception port;
                                                                  a buffer memory 15 for temporarily storing signals from the
   FIG. 82 is a block diagram depicting the structure of a        input unit 11; a counter 16 for counting the information
slave unit adopted for the fourteenth embodiment aspect of 20
                                                                  amount needed to transmit the signals stored in the buffer
the present invention;                                            memory 15; and a control unit 17 for providing the master
   FIG. 83 is a block diagram depicting the structure of the      unit 20 with reports regarding the information amount
master unit adopted for the fourteenth embodiment aspect of       counted by the counter 16 in accordance with the instruc-
the present invention;                                            tions from the master unit 20, transmitting to the master unit
                                                               25
   FIG. 84 is a block diagram depicting the structure of a        20 the signals temporarily stored in the buffer memory 15,
slave unit adopted for a fifteenth embodiment aspect of the       and performing other control procedures.
present invention;                                                   FIG. 3 is a block diagram depicting a detailed structure of
   FIG. 85 is a block diagram depicting the structure of the      the master unit 20 shown in FIG. 1.
master unit adopted for the fifteenth embodiment aspect of 30        In FIG. 3, the master unit 20 comprises an input unit 21
the present invention;                                            connected to an input port; an output unit 22 connected to an
   FIG. 86 is a diagram depicting packet segmenting and           output port; a transmission unit 23 connected to a transmis-
assembly for a case in which the input packets are IP packets     sion port; a reception unit 24 connected to a reception port;
in the fifteenth embodiment aspect of the present invention;      a buffer memory 25 for temporarily storing signals from the
   FIG. 87 is a diagram depicting the structure of the header 35 input unit 21; a storage unit 26 for storing the storage
in the fifteenth embodiment aspect of the present invention;      amounts reported by each slave unit 10, the enabling
and                                                               amounts that allow each slave unit 10 to transmit a signal,
   FIG. 88 is a diagram depicting an example of an IP             and the like; and a control unit 27 for instructing each slave
address assignment in the fifteenth embodiment aspect of the      unit  10 to issue a report regarding the information amount
                                                               40 needed for signal transmission, issuing instructions concern-
present invention.
                                                                  ing signal transmission, and performing other control pro-
        BEST MODE FOR CARRYING OUT THE                            cedures.
                        INVENTION                                    FIG. 4 depicts the upstream and downstream transmission
   Embodiment aspects of the point-to-multipoint commu-           frames   in the transmission line shown in FIG. 1.
                                                               45
nication system according to the present invention will now          In FIG. 4, a downstream frame comprises 56 slots (56
be described in detail.                                           cells), and an upstream frame comprises 53 slots (53 cells).
   FIG. 1 is a system block diagram depicting an embodi-          Based on these transmission frames, 53- and 56-byte cells
ment aspect of the point-to-multipoint communication sys-         are exchanged downstream and upstream, respectively, in
tem according to the present invention.                           accordance    with the TDM (Time Division Multiplex) mul-
                                                               50
                                                                  tiplexing protocol in the case of the downstream transmis-
   In FIG. 1, the point-to-multipoint communication system
                                                                  sion from the master unit 20 to the slave units 10, and in
is configured by connecting m slave units 10-1, 10-2, ... ,
                                                                  accordance with the TDMA (Time Division Multiple
10-m and a single master unit 20 by means of an optical
                                                                  Access) multiplexing protocol in the case of the upstream
transmission line 30. The transmission line 30 connected to
                                                                  transmission from the slave units 10 to the master unit 20.
the master unit 20 is divided by an optical coupler 40 into m 55
branch lines 30-1, 30-2, . .. , 30-m, which are connected to         An upstream cell contains a 3-byte overhead, and down-
the slave units 10-1, 10-2, ... , 10-m, respectively.             stream transmission frames contain two PLOAM cells
   Although the point-to-multipoint communication system          (PLOAMl, PLOAM2) per frame in a ratio of one cell for
shown in FIG. 1 is configured as an optical access network        every 28 cells.
in which the master unit 20 and the m slave units 10-1, 60           FIG. 5 illustrates the correlation between the slots of an
10-2, ... , 10-m are connected by means of the optical            upstream transmission frame and the grants of a PLOAM
transmission line 30, optical coupler 40, and m branch lines      cell.
30-1, 30-2, . .. , 30-m, the point-to-multipoint communica-          As shown in FIG. 5, the first PLOAM cell (PLOAMl) of
tion system of the present invention is also widely applicable    the downstream transmission frame has 27 grants for
to communication systems composed of a master unit and a 65 requesting upstream cells from the slave units 10, and the
plurality of slave units such that the transmission line band     second PLOAM cell (PLOAM2) has 26 grants, to a total of
is allocated among the slave units by the master unit in a        53 grants.

                                                        Appx3811
                                                    US 6,778,557 Bl
                             13                                                                  14
   The master unit 20 issues instructions as to which slave       amount as the number of cells or slots needed to transmit a
unit 10 can transmit a cell to a particular slot inside the       signal is effective because it reduces the values reported to
upstream transmission frame by writing the ID number or           the master unit 20.
other identifier of the slave unit 10 to the PLOAM cell              If the stored signal is less than 53 bytes, a single cell or
PLOAMl or the PLOAM cell PLOAM2.                                5 slot may be counted as the one necessary for transmission,
   The slave unit 10 can transmit the cell to that slot in the    and the counting may be stopped before 53 bytes are
upstream transmission frame which corresponds to the              reached.
aforementioned grants when the identifier of the slave units         Described below with reference to FIGS. 6 to 10 is a first
10 is written in the PLOAM cell PLOAMl or the PLOAM               embodiment aspect, which is configured such that the master
cell PLOAM2. This method makes it possible to prevent cell 10 unit 20 uses PLOAM cells to instruct slave units 10 to issue
collisions in the optical transmission line.                      reports regarding the information amount necessary to trans-
   An access protocol for the point-to-multipoint communi-        mit signals.
cation system shown in FIG. 1 will now be described.                 FIG. 6 is a flowchart depicting the method whereby the
   In the description that follows, i expresses the ID numbers 15 master unit gives instructions to issue information amount
of the individual slave units 10-1 to 10-m as identifiers for     reports to PLOAM cells.
the slave units 10-1 to 10-m. The total number of the slave          In FIG. 6, N represents the total number of grants in the
units 10-1 to 10-m ism, so i=l, 2, ... , m.                       PLOAM cell PLOAMl or the PLOAM cell PLOAM2.
   The ID numbers of the slave units 10-1 to 10-m are             N=27 in the case of the PLOAM cell PLOAMl, and N=26
managed by the master unit 20, and these ID numbers are 20 in the case of the PLOAM cell PLOAM2. In addition, P
conveyed during the initial stage to all the slave units 10-1     indicates the grant interval for giving instructions on infor-
to 10-m participating in the operation of the system. By          mation amount reporting, and #n indicates the grant number.
virtue of these ID numbers, the master unit 20 can trace a        P is initialized as an integral value (P ~ 1), and #n is
cell to a particular slave unit 10-1 to 10-m, and each of the     initialized as #n=P (step 101).
slave units 10-1 to 10-m can determine whether the cell it 25        It is checked whether N~#n (step 102), and if N~#n
has received is addressed to this station.                        (YES in step 102), an instruction to issue an information
   Signals such as voice, video, or data are input from a         amount report is set for the grant #n (step 103), and the slave
terminal or other network to the input port of the slave unit     unit instructed to issue an information amount report is
10 shown in FIG. 2 and to the input port of the master unit       updated (step 105). After that #n is changed to #n+P (step
20 shown in FIG. 3, and these signals are sent to the buffer 30 105), and the process returns to step 102.
memories 15 and 25 via the input units 11 and 21, and are            If it is determined in step 102 that N >#n (NO in step 102),
temporarily stored in the buffer memories 15 and 25.              #n is changed to #n-N (step 106), and the process is
   The signals stored in the buffer memory 15 or 25 may be        completed.
arranged in cells or packets while stored in the buffer              It is necessary to distinguish between signal transmission
memory 15 or 25, such as A1M cells or Ethernet packets, for 35 instructions and instructions to submit information amount
example.                                                          reports when instructions to submit information amount
   Another feature of this embodiment aspect is that the          reports are issued using the PLOAM cell PLOAMl or the
input signals have good consistency when arranged as ATM          PLOAM cell PLOAM2.
cells because each slot of the downstream transmission               To achieve this distinction, it may be suggested, for
frame and each slot of the upstream transmission frame 40 example, that the logical sum of a specific value and the ID
( excluding the overhead) has 53 bytes, as in the case of the     number of a slave unit 10 be written to a grant, and a flag be
transmission frames shown in FIG. 5.                              raised for a specific bit when an instruction to submit an
   For example, consistency can be improved by mapping            information amount report is given, as shown in FIGS. 7 and
the signals to ATM AAL Type 5 when input signals are              8.
                                                               45
Ethernet packets.                                                    In the specific case shown in FIG. 7, the master unit 20
   In the counter 16 of the slave unit 10 shown in FIG. 2, the    first checks whether an instruction to transmit a signal is to
information amount necessary to transmit the signals tem-         be issued (step 201), the ID number of the slave unit is set
porarily stored in the buffer memory 15 causes the number         for the grant #n (step 202) if it is determined here that a
of cells or slots necessary for such signal transmission to be    signal is to be transmitted (YES in step 201), and the process
                                                               50
counted in integral units.                                        is completed.
   In the upstream transmission frame shown in FIG. 5, for           If, however, it is determined in step 201 that no instruction
example, the information amount is counted such that 53           is to be given for signal transmission (NO in step 201 ), it is
bytes constitute one unit because the signals are transmitted     then checked whether an instruction is to be given to issue
using 53 bytes (excluding the overhead).                       55
                                                                  an information amount report (step 203), and the process is
   Examples of recommended counting methods include               completed if it is determined in this case that no instruction
methods in which counting is performed as required in             is to be given to issue an information amount report (NO in
accordance with the input of signals to the buffer memory 15      step 203). If, however, it is determined that an instruction is
and the output of signals from the buffer memory 15, and          to be given to issue an information amount report (YES in
methods in which the counting is based on the difference 60 step 203), the logical sum of a specific value and the slave
between the start address and the end address of a signal         unit ID is set for the grant #n (step 204), and the process is
stored as FIFO in the buffer memory 15. The information           completed.
amount may be the absolute value of a signal stored in the           The specific value used here should be set to a level not
buffer memory 15, or it may be a differential value based on      yet used as the ID number of the slave unit, such as 0x80 or
the previous report.                                           65 the like.
   Although the information amount may also be counted as            The slave unit 10 checks whether a flag has been raised at
an integral value using bits or bytes as units, counting this     a specific bit on the basis of the logical product of the

                                                         Appx3812
                                                      US 6,778,557 Bl
                              15                                                                    16
specific value and the value written to the grant when the           information amount needed to transmit signals according to
logical product of the negative specific value and the value         the first embodiment aspect.
written to the grant matches the ID number of the slave unit,           If a slave unit 10 concludes that an instruction to issue an
and it is then determined whether information amount is to           information amount report has been given to this slave unit
be reported or a signal transmitted.                               5 10 according to the flowcharts in FIGS. 7 to 10, the result is
   In the specific example shown in FIG. 8, it is first checked      the creation of a cell to which at least the following data is
whether the logical product of the negative specific value           written: a cell identifier indicating the information amount
and the value of the grant #n matches the ID number of the           report, the information amount counted by the counter, and
slave unit in question (step 211), and if a match is found           the ID number of the slave unit.
(YES in step 211), it is then checked whether the logical 10            The cell thus created is transmitted to the master unit 20
product of the specific value and the value of the grant #n          via the transmission unit 13 by means of the slots in the
matches the specific value (step 212).                               upstream transmission frame that correspond to the grants
   If a match is found in this case (YES in step 212), it is         instructed to issue a report.
concluded that an instruction to issue an information amount            Information amount is reported using either one or both of
report is to be given, an information amount report is issued 15 the absolute values counted by the counter 16 and the
(step 213), and the process is completed.                            differential values based on the previous report.
   The instruction is found to be for signal transmission, a            Following is a description of the method whereby the
signal is transmitted (step 214), and the process is completed       master unit 20, upon receipt of an information amount report
if no match is found in step 211 (NO in step 211) or step 212 20 from a slave unit 10, instructs each slave unit 10 to transmit
(NO in step 212).                                                    signals in accordance with the information amount reported.
   According to another method, it is suggested that the ID             In the description that follows, the maximum specific
number of a slave unit 10 be written to a grant, and the             number of kilobits for the enabling amount that allows a
number #n of the grant instructed to submit an information           slave unit 10 to transmit a signal is the same for all the slave
amount report be written to the additional area of the 25 units 10.
PLOAM cell PLOAMl or the PLOAM cell PLOAM2, as                          In the master unit 20 shown in FIG. 3, cells received from
shown in FIGS. 9 and 10.                                             the slave units 10 via the reception port are identified based
   In the specific case shown in FIG. 9, the master unit 20          on the cell identifiers written to the cells. This is done after
first checks whether an instruction is to be given to transmit       headers are removed in the reception unit 24.
a signal (step 221). The ID number of the slave unit is set for 30      The cells thus identified are sent to the storage unit 26
the grant #n (step 222), and the process is completed if it is       when they are for issuing information amount reports, and to
concluded here that a signal is to be transmitted (YES in step       the output unit 22 when they are for transmitting signals.
221).                                                                   FIGS. lla and llb depict an exemplary information
   If, however, it is concluded in step 221 that no instruction      amount table 300 and an exemplary enabling amount table
is to be given to transmit a signal (NO in step 221 ), it is then 35 400 corresponding to the structure of the storage unit 26 in
checked whether an instruction is to be given to issue an            the master unit 20 shown in FIG. 3.
information amount report (step 223), and the process is                The information amount table 300 (see FIG. lla) contains
completed if it is determined here that no instruction is to be      the information amount reported by the slave units 10, and
given to issue an information amount report (NO in step              with the exemplary enabling amount table 400 (see FIG.
223). The parameter #n is set as the grant number in the 40 llb) contains enabling amounts that allow the slave units 10
additional area of the grant (step 224), and the process is          to transmit signals.
completed if it is determined that an instruction is to be              In this case, the information amounts Ri in the informa-
given to issue an information amount report (YES in step             tion amount table 300 and the enabling amounts Gi in the
223).                                                                enabling amount table 400 are initially set to zero, and the
   The slave unit 10 reads the aforementioned additional 45 values of information amount Ri and enabling amount Gi
area value if the ID number of the slave unit 10 written to          individually assigned to the slave units 10 are written to the
the grant matches the ID number of this slave unit 10. This          slave unit numbers i (ID numbers i) of the information
value is compared with the number of the grant for which a           amount table 300 and enabling amount table 400.
transmission instruction has been issued, and it is checked             Upon receipt of the cells for issuing information amount
                                                                  50
whether information amount is to be reported or a signal             reports from the reception unit 24, the storage unit 26 reads
transmitted.                                                         the ID numbers of the slave units 10 and the reported
   In the specific example shown in FIG. 10, it is first             information amount Ri written to the cells, and, based on the
checked whether the grant #n matches the ID number of the            values thus read, updates the information amount Ri match-
slave unit in question (step 231), and if a match is found           ing the ID numbers of the slave units 10 in the information
                                                                  55
(YES in step 231), it is then checked whether the value in the       amount table 300.
additional area of the grant matches #n (step 232).                     With the control unit 27 of the master unit 20, the enabling
   If a match is found in this case (YES in step 232), it is         amounts Gi that allow the slave units 10 to transmit signals
concluded that an instruction to issue an information amount         are calculated as specific maximum numbers of kilobits on
report is to be given, an information amount report is issued 60 the basis of the information amount table 300 of the storage
(step 233), and the process is completed.                            unit 26.
   The instruction is found to be for signal transmission, a            Here, the specific maximum value k is set such that the
signal is transmitted (step 234), and the process is completed       following relation is satisfied:
if no match is found in step 231 (NO in step 231) or step 232
                                                                             k~(rxtd)+(axm)                                        (1),
(NO in step 232).                                                 65
   Following is a description of the method whereby slave            where m is the total number of slave units 10, a is the
units 10 present the master unit 20 with reports on the              proportion of currently active slave units 10 (0<a~ 1.0), r

                                                           Appx3813
                                                     US 6,778,557 Bl
                              17                                                                   18
(b/s) is the data transfer rate, and td (s) is the delay time         If it is concluded here that Gi is zero (YES in step 502), it
allowed for data transmission and determined by the system,           is then checked whether Ri sk (step 503). Gi=Ri is set (step
as in the band allocation shown in FIG. 12.                           504) if Ri~k (YES in step 503), and Gi=k is set (step 505)
   The proportion a of currently active slave units 10 is given       if the condition Ri~k does not hold true (NO in step 503).
by                                                                  5    Ri=Ri-Gi is set (step 506), and the operation proceeds to
        a-(Number of currently active slave units)+m          (2),
                                                                      step 507.
                                                                         If, however, it is concluded in step 502 that Gi is no zero
where a=l.0 when all the slave units 10 are currently active.         (NO in step 502), the operation proceeds to step 507 without
   The data transfer rate r in Eq. (1) is the rate at which           updating Gi because the grants of the PLOAM cell
signals can actually be transmitted as upstream transmission          PLOAMl or the PLO AM cell PLOAM2 are insufficient, and
frames. With the transmission frames shown in FIG. 4, for 10 the master unit 20 has refrained from instructing the slave
example, r=l 44.4 Mb/s in a case in which information                 unit i to transmit a signal that corresponds to the enabling
amount is reported at a rate of one cycle per frame.                  amount Gi.
   Furthermore, the delay time td allowed for data transmis-             It is checked in step 507 whether the Ri of any slave unit
sion is set on the basis of the type of service or the like           10 is zero (step 507). The operation proceeds to step 509 if
handled by the system. For example, a value of about 15 Ri is indeed 0 (YES in step 507). FALSE is set for flag 1
0.001-0.1 sis considered appropriate for a voice service, in          (step 508) if Ri is no zero (NO in step 507), and the
which no delay is allowed. By contrast, a value of about              operation proceeds to step 509.
0.1-1 sis considered appropriate for a data-based service in             In step 509, i is incremented by 1 (i=i+l), and it is then
which some delay is allowed, taking into account, among               checked whether i>m (step 510). The operation returns to
other things, the imperceptible time that elapses until a 20 step 502 if it is concluded here that the condition i>m does
signal transmission is completed.                                     not hold true (NO in step 510), and proceeds to step 511 in
   The number of currently active slave units 10 in Eq. (2)           FIG. 14 if it is concluded that i>m (YES in step 510).
is counted by the master unit 20 shown in FIG. 1. To achieve             In step 511 in FIG. 14, it is checked whether flag 2 is
this, it may be suggested, for example, that cells arriving           TRUE. If it is concluded here that flag 2 is indeed TRUE
from the slave units 10 be monitored, and the slave units 10 25 (YES in step 511), i=l is set (step 512), gi=0 is then set (step
that have transmitted the cells in accordance with the                513), and i is incremented by 1 (i=i+l).
instructions from the master unit 20 be counted as being                 It is checked whether i>m (step 515), and the operation
currently active.                                                     returns to step 513 if it is concluded that the condition i>m
   According to another method, the master unit 20 polls the          does not hold true (NO in step 515), and proceeds to step 516
slave units 10, and the slave units 10 that have responded to 30 in FIG. 15 if it is concluded that i>m (YES in step 515).
this polling are counted as being currently active.                      If flag 2 is not TRUE, that is, is FALSE, in step 511 (NO
   FIGS. 13 to 15 depict as flowcharts the procedure for              in step 511), the operation proceeds to step 516 in FIG. 15
calculating the enabling amounts Gi in the master unit (FIG.          without initializing the aforementioned gi because in this
13), the procedure for initializing an instructional amount gi        case the instructional amount gi of the slave unit i is being
for instructing a slave unit to transmit a signal during 35 calculated repeatedly.
transmission of a PLOAM cell in the master unit (FIG. 14),               In step 516 in FIG. 15, i=j is set, and it is then checked
and the procedure for calculating the instructional amount gi         whether flag 2 is TRUE (step 517). Ns is set (step 518) and
for instructing a slave unit to transmit a signal during              the operation proceeds to step 519 if it is concluded here that
transmission of a PLOAM cell in the master unit (FIG. 15).            flag 2 is indeed TRUE (YES in step 517). The operation
   The enabling amount Gi may also be calculated such that 40 proceeds to step 519 without setting NS if it is concluded in
cells for submitting information amount reports are received          step 517 that flag 2 is not TRUE (NO in step 517).
by the control unit 27 directly from the reception unit 24               It is checked in step 519 if Ns=Gj. If it is concluded here
without any calculations being made based on the informa-             that Ns=Gj (YES in step 519), then gj=gj+Gj, Gj=0, and
tion amount table 300 of the storage unit 26, and the                 Ns=NS-Gj are set, and j is incremented by 1 G=j+l) (step
enabling amount Gi is calculated sequentially every time an 45 520). It is checked whether j>m (step 512), and the operation
information amount report is received.                                proceeds to step 523 if j>m (YES in step 512). If the
   In FIGS. 13 to 15, i and j are the ID numbers of slave units       condition j>m does not hold true (NO in step 521), then j=l
10, m is the total number of the slave units 10, Ns is the            is selected (step 522), and the operation proceeds to step
number of grants for allowing instructions for signal trans-          523.
mission to be issued for the PLOAM cell PLOAMl or the 50                 It is checked in step 523 whether i and j are equal to each
PLOAM cell PLOAM2, Ri is the information amount of the                other, and the operation returns to step 519 if i and j are not
slave unit i, Gi is the enabling amount of the slave unit i,          equal to each other (NO in step 523). If they are equal to
"flag 1" indicates whether the information amount Ri of all           each other (YES in step 523), it means that the calculation
the slave units 10 is zero, and "flag 2" is a flag that indicates     of the instructional amount gj for issuing instructions related
whether gi calculations have been completed.                       55 to signal transmission has come a full circle. For this reason,
   In FIGS. 13 to 15, l~i~m, l~j~m, and the conditions                it is then checked whether flag 1 is FALSE (step 524), and
j=0, Gi=0, and flag 2=TRUE are set as initial values.                 if it is concluded that flag 1 is indeed FALSE (YES in step
   Ns is 27 when the PLOAM cell is PLOAMl, and 26 when                524), the operation proceeds to step 501 in FIG. 13, and the
the PLOAM cell is PLOAM2 if neither the grants of the                 enabling amount Gi and instructional amount gi are again
PLOAM cell PLOAMl nor the grants of the PLOAM cell 60 calculated according to the flowchart in FIG. 13.
PLOAM2 are used, and the value obtained by subtraction                   If flag 1 is FALSE, that is, TRUE, in step 524 (NO in step
from the number of grants used is set as Ns when the grants           524), it means that all the grants have been used or that
are used to issue instructions to submit information amount           instructions for signal transmission have been issued for all
reports or the like.                                                  the information amounts Ri, so flag 2 is set to TRUE (step
   The flowcharts in FIGS. 13 to 15 will now be described. 65 527), and the process is completed.
   In FIG. 13, i-1 and flag l=TRUE are first initialized (step           If the condition Ns=Gj does not hold true in step 519, that
501), and it is then checked whether Gi is zero (step 502).           is, the inequality Gj>Ns is satisfied (NO in step 519), it

                                                          Appx3814
                                                      US 6,778,557 Bl
                              19                                                                    20
means that an instruction to transmit a signal corresponding         the load factor of the transmission line when bursty signals
to the enabling amount Gj cannot by issued by a single               are generated by the slave unit and the terminal according to
PLOAM cell 1 or PLOAM cell 2, so the conditions gj=gj+               the access protocol based on the first embodiment aspect of
Ns, Gj=Gj-Ns, and Ns=0 are set (step 526), flag 2 is set to          the present invention and according to the access protocols
TRUE (step 527), and the process is completed. In this case, 5 based on conventional TDMA and CSMNCD.
a slave unit j is instructed to transmit signals with continuous        The simulation was conducted on the assumption that the
PLOAM cells 1 or PLOAM cells 2.                                      access protocol based on the present invention involved a
   FIG. 16 is a flowchart depicting the method by which the          point-to-multipoint communication system in which, based
master unit 20 issues signal transmission instructions for           on FIG. 1, 32 slave units 10 and a single master unit 20 were
PLOAM cells.                                                      10 connected by an optical transmission line 30, the transfer
   Base on the gi obtained by the calculation procedure in           rate was 155.52 Mb/s, the distance between the master unit
FIGS. 13 to 15 above, the master unit 20 creates the PLOAM           20 and the slave units 10 was 20 km, and the propagation
cell PLOAMl or the PLOAM cell PLOAM2 in accordance                   delay time was 100 µs.
with the flowchart in FIG. 16, and transmits the result to              In addition, CSMNCD was assumed to involve a point-
slave units 10 via a transmission unit 23.                        15 to-multipoint communication system in which, based on 100
   Specifically, i=l and #n=l are first set (step 601), and it is    Base-T, 32 terminals were connected to a single hub, the
then checked whether gi is zero (step 602). If gi is not zero        transfer rate was 100 Mb/s, the distance between the termi-
in this case (YES in step 602), it is then checked whether the       nals and the hub was 200 m, and the propagation delay time
grant #n is unused (step 603), and if this is true (YES in step      was 1 µs.
603), the ID number of a slave unit i is set for the grant #n 20        According to another assumption regarding the access
(step 604).                                                          protocol based on the present invention, the maximum
   The value gi is then decremented by 1 (gi=gi-1) (step             number of kilobits for the enabling amount that allows a
605), #n is incremented by 1 (#n=#n+l) (step 606), and the           slave unit to transmit a signal was determined using the
operation returns to step 602.                                       following simulation parameters: the grant interval for issu-
   If it is concluded in step 602 that gi is zero (NO in step 25 ing instructions for information amount reporting was set to
602), i is incremented by 1 (i=i+l) (step 607), and it is            53, slave units issued information amount reports at a rate of
checked whether i>m (step 608). The operation returns to             one cycle per upstream transmission frame, and the delay
step 602 if it is concluded here that the condition i>m does         time allowed for data transmission and determined by the
not hold true (NO in step 608), and the process is concluded         system was set to td=0.1 s.
if it is concluded that i>m (YES in step 608).                    30    With respect to the access protocol based on conventional
   Following is a description of the method for transmitting         TDMA, it was assumed that the transfer rate of the optical
signals in accordance with the instructions given by the             transmission line was divided by the total number of slave
master unit 20 to slave units 10.                                    units and that each of the slave units was allocated a fixed
   In the slave unit 10 shown in FIG. 2, cells are received by       share of 4.86 Mb/s.
the reception unit 14 via the reception port. In the reception 35       In FIG. 17, the load factor of the transmission line is
unit 14, it is determined based on the addresses written to the      plotted on the horizontal axis, and the maximum transmis-
cells whether the received cells are addressed to the slave          sion latency time elapsed prior to transmission of signals
unit 10 in question.                                                 generated by a slave unit and a terminal is plotted on the
   If the cells are indeed addressed to the slave unit 10 in         vertical axis.
question, cell type is determined based on the cell identifiers 40      It is apparent in FIG. 17 that the access protocol of the first
written to the cells. The identified cells are sent to the output    embodiment aspect according to the present invention
unit 12 if they are signal cells, and to the control unit 17 they    allows maximum transmission latency time to be stabilized
are PLOAM cells.                                                     at a comparatively low level without the increase observed
   Once the PLOAM cells are received by the control unit 17          in the access protocol of conventional TD MA or CSMNCD,
via the reception unit 14, it is checked whether an instruction 45 and can easily accommodate burst traffic even when the load
has been issued to transmit a signal or to submit an infor-          factor of the transmission line reaches a high level (50% or
mation amount report in accordance with the flowcharts in            higher) and the burst traffic increases in volume.
FIGS. 7 to 10.                                                          At a load factor of 80%, the maximum transmission
   If it is concluded that a signal transmission instruction has     latency time according to the access protocol of the present
been issued, the signal temporarily stored in the buffer 50 invention is about 1/3 that provided by the TDMA-based
memory 15 is retrieved, a signal-transmitting cell is created,       access protocol, and about 1/4 that provided by the CSMN
and this cell is transmitted via the transmission unit 13.           CD-based access protocol.
   Thus, the point-to-multipoint communication system                   FIG. 18 depicts the results of a comparison of the times
shown in FIG. 1 operates according to an access protocol in          needed for the master unit and a terminal to receive a 90-Mb
which a slave unit 10 instructed to transmit a signal has 55 signal at a transmission line load factor of 50% according to
exclusive use of the upstream transmission line and can              the access protocol of the first embodiment aspect of the
continuously transmit signals at no more than the enabling           present invention and according to access protocols based on
amount Gi calculated by the master unit 20, as in the band           conventional TDMA and CSMNCD.
allocation shown in FIG. 12.                                            In FIG. 18, time is plotted on the horizontal axis, and the
   Following is a description of comparison results obtained 60 number of bits received each time is plotted on the vertical
by simulating TDMA and CSMNCD, which are conven-                     axis.
tional access protocols, and the access protocol based on the           It is apparent in FIG. 18 that whereas the access protocol
first embodiment aspect of the present invention described           of the first embodiment aspect of the present invention
above.                                                               allows signal reception to be completed in a short time even
   FIG. 17 depicts the results of a comparison of maximum 65 when burst traffic on the order of several megabytes is
transmission latency times elapsed before signals are trans-         generated, the conventional access protocols take fairly long
mitted from a slave unit and a terminal in accordance with           for such signal reception to be completed.

                                                           Appx3815
                                                     US 6,778,557 Bl
                             21                                                                   22
   According to the above-described simulation, the time             the throughput improved by increasing the grant interval P
elapsed until signal reception is completed in the case of the       for issuing instructions on information amount reporting. As
access protocol of the present invention is 1/12 that achieved       noted above, it is possible to reduce the latency time elapsed
with the access protocol based on TDMA, and ½o that                  before a slave unit 10 transmits a signal, to lower the
achieved with the access protocol based on CSMNCD.                5 capacity of the buffer memory required by the slave unit 10
   It can be seen with regard to the access protocol based on        to temporarily store the signal, and to increase throughput by
CSMNCD that when signals on the order of several mega-               dynamically instructing the slave units 10 to issue informa-
bits are generated in bursts, these signals are segmented into       tion amount reports.
packets of about 64-1500 kB and repeatedly transmitted,                 FIG. 19 is a flowchart depicting the sequence according to
prolonging signal transmission due to retransmissions 10 which transmission instructions are set for the grants of
caused by packet collisions and failing to ensure satisfactory       PLOAM cells, and the method whereby instructions for
access fairness even when the load factor of the transmission        reporting information amount are issued for the unused
line is about 50%.                                                   grants of the PLOAM cells.
   It can also be seen with regard to the TDMA-based access             In FIG. 19, instructions issued to slave units 10 to submit
protocol, which is characterized by fixed band allocation, 15 information amount reports are performed independently as
that the utilization ratio of the transmission line is low for       procedures based on the grant interval P for issuing instruc-
signals generated in bursts and that even when the load              tions to submit information amount reports and as proce-
factor of the transmission line is about 50%, a transmission-        dures performed when unused grants are present, making it
awaiting slave unit is incapable of using the time slots of          possible to achieve efficiency and to ensure fairness in
other slave units and takes longer to transmit signals.           20 issuing reporting instructions for the slave units 10.
   By contrast, it can be seen with regard to the access                In the specific case shown in FIG. 19, instructions for
protocol of the first embodiment aspect of the present               information amount reporting are first entered into the
invention that the master unit allocates the band dynamically        PLOAM cell PLOAMl or the PLOAM cell PLOAM2 in
among the slave units when signals on the order of several           accordance with the procedures of the flowcharts shown in
megabytes are generated in bursts, so the utilization ratio of 25 FIGS. 6 to 10 (step 611).
the transmission line is markedly improved and signal                   Instructions for transmitting the signals of the PLOAM
transmission can be completed in a short time even when the          cell 1 or PLOAM cell 2 are then entered in accordance with
load factor of the transmission line is about 50%.                   the procedures of the flowcharts in FIGS. 10 to 16 (step
   It can therefore be seen that the access protocol of the first    612).
embodiment aspect of the present invention ensures access 30            It is then checked whether the PLOAM cell 1 or PLOAM
fairness for all slave units, satisfies requirements concerning      cell 2 contain unused grants (step 613). If it is found in this
the delay time allowed for data transmission, and is superior        case that the PLOAM cell PLOAMl or the PLOAM cell
in terms of absorbing burst traffic.                                 PLOAM2 contain unused grants (YES in step 613), instruc-
   A second embodiment aspect of the point-to-multipoint             tions for a slave unit i to issue an information amount report
communication system of the present invention will now be 35 are entered into the unused grants (step 614), the slave unit
described.                                                           i instructed to submit an information amount report is
   The second embodiment aspect allows communications                updated (step 615), and the operation returns to step 703. In
efficiency to be improved by adopting a structure in which           the procedure of step 705, 1 ~ i ~ m, where m is the total
the grant interval P at which the master unit 20 instructs           number of slave units.
slave units 10 to issue information amount reports is 40                The procedure is completed if it is thus concluded in step
dynamically updated in accordance with the busy condition            703 that there are no unused grants in the PLOAM cell
of the grants in the PLOAM cell PLOAMl or the PLOAM                  PLOAMl or the PLOAM cell PLOAM2 (NO in step 613).
cell PLOAM2.                                                            Following is a description of comparison results obtained
   This means that when, for example, a large number of              by simulating conventional TDMA and CSMNCD access
unused grants are present in the PLOAM cell PLOAMl or 45 protocols and an access protocol based on the second
the PLOAM cell PLOAM2, the information amount                        embodiment aspect of the present invention described
reported by the slave units 10 is low, as is the load factor of      above.
the optical transmission line 30.                                       FIG. 20 depicts the results of a comparison between the
   In such cases, the master unit 20 can identify in greater         access protocol based on the second embodiment aspect of
detail variations in the information amount of the slave units 50 the present invention and access protocols based on con-
10 by reducing the grant interval P for issuing instructions         ventional TDMA and CSMNCD, obtained using the same
on information amount reporting or by issuing instructions           simulation structure as that described with reference to the
on information amount reporting by utilizing unused grants.          first embodiment aspect of the present invention.
   The master unit 20 can therefore be more flexible in                 In the simulation, instructions to submit information
issuing signal transmission instructions under conditions of 55 amount reports by employing unused grants were given in
varying information amount from slave units 10, making it            accordance with the access protocol of the present invention,
possible to reduce the latency time elapsed before a slave           and maximum transmission latency times were compared in
unit 10 transmits a signal and to lower the capacity of the          accordance with the load factor of the transmission line in
buffer memory required by the slave unit 10 to temporarily           the same manner as in the case described with reference to
store the signal.                                                 60 the first embodiment aspect.
   Conversely, the information amount reported by the slave             In FIG. 20, the vertical axis is shown in magnified form
units 10 is substantial and the load factor of the optical           to make it easier to understand the difference resulting from
transmission line 30 is high when the PLOAM cell                     the use of a low load factor.
PLOAMl or the PLOAM cell PLOAM2 has only few                            It is apparent in FIG. 20 that the access protocol based on
unused grants or none at all.                                     65 the second embodiment aspect of the present invention
   In such cases, the band that can be used to transmit signals      allows the maximum transmission latency time to be stabi-
along the optical transmission line 30 can be broadened and          lized at a comparatively low level without the increase

                                                         Appx3816
                                                    US 6,778,557 Bl
                             23                                                                  24
observed in the access protocols based on TDMAor CSMN                  In addition, downstream transmission frames contain two
CD, and can easily accommodate burst traffic even when the          PLOAM cells per frame in a ratio of one cell for every 28
load factor of the transmission line is high and the burst          cells, the initial PLOAM cell (PLOAML) has 27 grants for
traffic increases in volume.                                        requesting upstream cells from the slave units 10-1 to 10-m,
   It can also be seen that results substantially indistinguish- 5 and the second PLOAM cell (PLOAM2) has 26 grants, to a
able from those provided by an access protocol based on             total of 53 grants, as shown in FIG. 5.
CSMNCD at a low load factor can be obtained using a                    The grants of the PLOAM cell PLOAMl correspond to
dynamic mode for issuing instructions to submit information         cells 1-27 of the upstream transmission frame, and the
amount reports.                                                     grants of the PLOAM cell PLOAM2 correspond to cells
   FIG. 21 depicts results obtained using the same simula-          28-53 of the upstream transmission frame.
                                                                 10
tion to compare the amounts of signals stored in the buffer            The master unit 20 is capable of issuing instructions as to
memories of a slave unit and a terminal. The maximum                which of the slave units 10-1 to 10-m can transmit a cell to
amount of signal stored in the buffer memory is plotted on          a particular slot inside the upstream transmission frame by
the vertical axis.                                                  writing the ID numbers or other identifiers of the slave units
   It is apparent in FIG. 21 that the access protocol based on      10-1 to 10-m to the grants of the PLOAM cells shown in
the second embodiment aspect of the present invention 15 FIG. 5.
allows the maximum amount of stored signal to be stabilized            The ID numbers of the slave units 10-1 to 10-m are
at a comparatively low level without the increase observed          managed by the master unit 20, and these ID numbers are
in the access protocol based on TDMA or CSMNCD, can                 conveyed during the initial stage to all the slave units 10-1
easily accommodate burst traffic, and is capable of reducing        to 10-m participating in the operation of the system.
the buffer memory requirements of slave units when the load 20         By virtue of these ID numbers, the master unit 20 can
factor of the transmission line is high and the burst traffic       trace a cell to a particular slave unit 10-1 to 10-m, and each
increases in volume.                                                of the slave units 10-1 to 10-m can determine whether the
   It can also be seen that even when the load factor is low,       cell it has received is indeed addressed to this station.
the proposed protocol is better than the TD MA-based access            The slave units 10-1 to 10-m can transmit cells to those
protocol and yields results substantially indistinguishable 25 slots of the upstream transmission frame that correspond to
from those of the CSMNCD-based access protocol.                     the aforementioned grants when identifiers of these slave
   At a load factor of 80%, the maximum amount of stored            units 10-1 to 10-m are written to the PLOAM cells. This
signal according to the access protocol of the present inven-       method makes it possible to avoid cell collisions in the
tion is about ½ that provided by the TDMA-based access              optical transmission line.
protocol, and about 1/3 that provided by the CSMNCD- 30                Instructed by the master unit 20, the slave units 10-1 to
based access protocol.                                              10-m issue reports on the information amount needed for
   A third embodiment aspect of the point-to-multipoint             cell transmission before the cells are actually transmitted.
communication system of the present invention will now be              The specifics of the method whereby the master unit 20
described.                                                          instructs the slave units 10-1 to 10-m on how to report
   The third embodiment aspect of the point-to-multipoint 35 information amount are the same as in the first or second
communication system in accordance with the present                 embodiment aspect, as are the specifics of the method
invention is obtained by configuring the above-described            whereby the slave units 10-1 to 10-m submit information
first and second embodiment aspects such that slave units           amount reports to the master unit 20.
are sequentially instructed by the master unit to transmit             Upon receipt of an information amount report from a
signals when a transfer rate margin still remains after 40 slave unit 10-1 to 10-m, the master unit 20 calculates on the
instructions for signal transmission have been issued for the       basis of the reported information amount the enabling
information amount reported by all the slave units.                 amounts that allow the slave units 10-1 to 10-m to transmit
   Such a structure allows the slave unit to be constantly          cells below a specific maximum value, and, based on these
instructed by the master unit about signal transmission when        enabling amounts, the slave units 10-1 to 10-m are instructed
the information amount reported by the slave unit is small 45 regarding such cell transmission using the grants of the
and communications traffic is low, so the latency time              PLOAM cells shown in FIG. 5.
elapsed before a slave unit transmits a signal can be reduced,         Specifics of the method for calculating the enabling
the capacity of the buffer memory for temporary signal              amounts in the master unit 10 and the method for issuing
storage lowered, and communications conducted with                  transmission-related instructions using PLOAM cells are the
higher efficiency.                                               50 same as in the first or second embodiment aspect.
   In addition, the signal transmission instructions based on          The master unit 20 can handle bursty communications
the first or second embodiment aspect described above, and          better by sequentially providing the slave units 10-1 to 10-m
the signal transmission instructions based on the third             with cell transmission instructions when the PLOAM cells
embodiment aspect are performed as separate procedures,             contain unused grants after the cell-transmission instructions
making it possible to ensure access fairness and to meet data 55 have been issued based on the above-described enabling
transmission delay requirements for all slave units.                amounts.
   In the third embodiment aspect, a downstream frame                  This means that when, for example, the PLOAM cells
comprises 56 slots, and an upstream frame comprises 53              contain a large number of unused grants, the information
slots, as shown in FIG. 4. Based on these transmission              amount reported by the slave units 10-1 to 10-m is low, and
frames, 53 bytes and 56 bytes are exchanged downstream 60 the volume of communications traffic is low as well.
and upstream, respectively, in accordance with the TDM                 In such cases, cells generated in bursts can be transferred
(Time Division Multiplex) multiplexing protocol in the case         at a higher speed by sequentially providing the slave units
of the downstream transmission from the master unit 20 to           10-1 to 10-m with cell transmission instructions, making it
the slave units 10-1 to 10-m, and in accordance with the            possible to reduce the latency time elapsed before the slave
TDMA (Time Division Multiple Access) multiplexing pro- 65 units 10-1 to 10-m can transmit a signal, to reduce the
tocol in the case of the upstream transmission to the master        capacity of the buffer memory needed to temporarily store
unit 20 from the slave units 10-1 to 10-m.                          signals, and to increase communications efficiency.

                                                         Appx3817
                                                   US 6,778,557 Bl
                            25                                                                26
   Another feature is that because signals are transmitted at    mitted from slave units 10-1 to 10-m in accordance with the
random intervals during bursty communication, the PLO AM         transmission line load factor when bursty signals are gen-
cells contain unused grants even under conditions of high        erated by the slave units according to the access protocol
communications traffic.                                          based on the second embodiment aspect and according to
   The same effects can also be obtained in the above cases 5 TDMA with fixed slot allocation.
because the unused grants can be used to sequentially               The simulated structures were point-to-multipoint com-
provide each slave unit with cell transmission instructions.     munication systems operating according to TDMA and the
   FIG. 22 is a flowchart of the above-described third           access protocol based on the third embodiment aspect in
embodiment aspect for setting signal transmission instruc-       which, based on FIG. 1, 32 slave units 10-1 to 10-32 and a
tions for the slave units 10-1 to 10-m with the aid of the 10 single master unit 20 were connected by an optical trans-
grants of PLOAM cells.                                           mission line 30, the transfer rate was 155.52 Mb/s, the
   Here, sequential instruction regarding cell transmission      distance between the master unit and the slave units was 20
can be easily accomplished by allocating the ID numbers or       km, and the propagation delay time was 100 µs.
other identifiers of the slave units 10-1 to 10-m in order          Another feature of the access protocol based on the third
among the unused grants of the PLOAM cells after instruc- 15 embodiment aspect was that the grant interval for issuing
tions on cell transmission have been issued based on             instructions for information amount reporting was set to 53,
enabling amounts. In addition, such sequential instruction       slave units issued information amount reports at a rate of one
regarding cell transmission can be accomplished more effi-       cycle per upstream transmission frame, the delay time
ciently by limiting this instruction to active slave units.      allowed for data transmission and determined by the system
   When this process is started (FIG. 22), instructions to 20 was set to 0.1 s, and the maximum value of the enabling
transmit signals at no more than a specific maximum value        amount that allows slave units to transmit signals was
are first continuously issued based on the information           determined.
amount reported by the slave units 10-1 to 10-m. These              With TDMA, the transfer rate of the optical transmission
instructions are written to the grants of a PLOAM cell (step     line was divided by the total number of slave units, and each
621).                                                         25 of the slave units was allocated a fixed share of 4.86 Mb/s.
   After transmission instructions have been issued for all         In FIG. 23, the load factor of the transmission line is
information amounts, it is checked whether the PO LAM cell       plotted on the horizontal axis, and the maximum transmis-
contains unused grants (step 622).                               sion latency time elapsed prior to the transmission of signals
   If it is concluded here that the POLAM cell contains          generated by slave units 10-1 to 10-m and terminals is
unused grants (YES in step 622), these unused grants are 30 plotted on the vertical axis.
utilized to sequentially provide the slave units 10-1 to 10-m       It is apparent in FIG. 23 that the access protocol of the
with signal transmission instructions. These transmission        third embodiment aspect allows maximum transmission
instructions are written to the unused grants of the PLOAM       latency time to be stabilized at a comparatively low level
cell (step 623). The process is completed unchanged if the       without the increase observed in the case of TDMA, and can
POLAM cell is free of unused grants (step 623).               35 easily accommodate burst traffic even under conditions of
   In addition, sequential instructions on communications        increased communications traffic. This is because the master
traffic can be issued with higher efficiency by limiting this    unit 20 dynamically allocates the band among the slave units
procedure to active slave units.                                 10-1 to 10-32.
   In FIG. 22, separate operations are performed as a method        At a load factor of 80%, the maximum transmission
for issuing instructions on signal transmission at no more A 40 latency time according to the access protocol of the present
than a specific maximum value, and a method for sequen-          invention is about 1/7 that provided by TDMA.
tially providing the grants of PLOAM cells with cell trans-         FIG. 24 depicts the results of a comparison obtained by
mission instructions.                                            simulating mean transmission latency times in a case in
   It is therefore possible to ensure access fairness and to     which no signal transmission instructions are issued by
meet data transmission delay requirements for all slave units 45 means of unused grants and in a case involving the use of the
even when cell transmission instructions are issued sequen-      access protocol pertaining to the above-described third
tially.                                                          embodiment aspect. The simulated structure is the same as
   With such a structure, the slave units 10-1 to 10-m have      that described above.
exclusive use of the upstream transmission line and can             It is evident in FIG. 24 that the mean transmission latency
continuously transmit signals at no more than a specific 50 time can be reduced by sequentially issuing signal transmis-
maximum value.                                                   sion instructions to the slave units 10-1 to 10-m by means of
   In addition, transmission of signals can be sequentially      unused grants in accordance with the access protocol of the
assigned to the slave units 10-1 to 10-m when low infor-         third embodiment aspect.
mation amount is reported by the slave units 10-1 to 10-m           It can therefore be seen that the latency time elapsed
and there are vacancies in the grants of the PLO AM cells. As 55 before a slave unit 10-1 to 10-m transmits a signal can be
a result, cells generated in bursts can be transferred at a      reduced, the capacity of the buffer memory needed for
higher speed, the latency time elapsed before the slave units    temporary signal storage can be lowered, and excellent
10-1 to 10-m transmit signals can be reduced, the capacity       results can be obtained in terms of absorbing burst traffic.
of the buffer memory needed to temporarily store signals can        It can also be seen that when the transmission line has a
be lowered, and communications efficiency can be 60 high load factor, the mean transmission latency time can still
improved.                                                        be reduced and the same effects can be obtained by utilizing
   Following is a description of comparison results obtained     the unused grants of PLOAM cells.
by simulating TDMA, which is a conventional access                  Following is a description of a fourth embodiment aspect
protocol, and an access protocol based on the above-             of the point-to-multipoint communication system according
described third embodiment aspect.                            65 to the present invention.
   FIG. 23 depicts the results of a comparison of maximum           In the upstream transmission frame shown in FIG. 4, cells
transmission latency times elapsed before signals are trans-     from each of the slave units 10-1 to 10-m are transmitted as

                                                       Appx3818
                                                     US 6,778,557 Bl
                             27                                                                   28
single slots, but the fourth embodiment aspect is configured         of the slave units 10. The mini-cells thus created are trans-
such that cells from a plurality of slave units 10-1 to 10-m         mitted to the master unit 20 via a transmission unit by means
can be transmitted as single slots by segmenting each slot           of the mini-slots in the upstream transmission frame.
into a plurality of mini-slots.                                         The number #s of the mini-slots used by the slave units
   FIG. 25 depicts an example in which a single slot of the 5 10-1 to 10-m can be calculated using Eq. (4) based on the ID
upstream transmission frame shown in FIG. 4 is split into            numbers of the slave units 10-1 to 10-m, group ID numbers,
eight mini-slots.                                                    and the total number S of mini-slots contained in each slot.
   For the sake of convenience, an arrangement is adopted in
                                                                             #s-ID number of slave unit-((Group ID number-l)xS)  (4)
which a single mini-slot contains 7 bytes, and such mini-
slots are used to transmit mini-cells comprising a 3-byte 10            FIG. 26 depicts the correlation between the ID numbers of
overhead and 4 bytes of data.                                        the slave units 10-1 to 10-m and the numbers #s of the
   The result is that although 56-byte cells transmitted by a        mini-slots calculated by Eq. ( 4) according to the fourth
single slave unit 10-1 to 10-m are commonly transmitted as           embodiment aspect described above.
single slots, using the above-described mini-slots allows               In addition, the intervals at which the master unit 20
7-byte mini-cells transmitted by a maximum of eight slave 15 instructs the slave units 10-1 to 10-m to submit information
units 10-1 to 10-m to be transmitted as single slots.                amount reports using mini-slots can be obtained by applying
   The size of the mini-slots and mini-cells can be arbitrarily      the same method as that described with reference to the first
set by the system. For example, 14-byte mini-cells trans-            or second embodiment aspects, and communications effi-
mitted by a maximum of four slave units 10-1 to 10-m can             ciency can be further improved by dynamically updating the
be transmitted as single slots when one mini-slot is 14 B. 20 intervals in accordance with the busy condition of the grants
   Following is a description of a method whereby the                of PLOAM cells.
master unit 20 instructs the slave units 10-1 to 10-m to                Although the fourth embodiment aspect was described
submit information amount reports using the above-                   with reference to a method in which mini-slots were used for
described mini-slots, and the slave units 10-1 to 10-m thus          information amount reporting, such mini-slots may also be
submit these information amount reports to the master unit 25 used where the master unit 20 gives the slave units 10-1 to
20.                                                                  10-m instructions on signal transmission, and the slave units
   When mini-slots are used, it is first necessary to divide the     10-1 to 10-m transmit signals to the master unit 20.
slave units 10-1 to 10-m into a plurality of groups and to              Following is a description of comparison results obtained
pre-assign a group ID number to each of the slave units 10-1         by simulating access protocols based on conventional
to 10-m in order to specify the slave units 10-1 to 10-m for 30 TDMA and CSMNCD, and an access protocol based on the
transmitting mini-cells in accordance with the instructions          fourth embodiment aspect of the present invention described
from the master unit 20.                                             above.
   Here, the group ID numbers can be calculated using Eq.               FIG. 27 depicts the results of a comparison between an
(3) on the basis of the ID numbers of the slave units 10-1 to        access protocol based on the fourth embodiment aspect of
10-m and the total number S of mini-slots in a single slot. 35 the present invention and access protocols based on con-
                                                                     ventional TDMA and CSMNCD, obtained using the same
        Group ID number-ID number of slave unit+S+ 1          (3)
                                                                     simulation structure as that described with reference to the
   The ID number of a slave unit 10 is such that if m is the         first embodiment aspect.
total number of slave units 10-1 to 10-m, non-overlapping               In the simulation, the maximum transmission latency
values satisfying the condition "l~ID number of slave unit 40 times corresponding to the load factor of the transmission
~m" are assigned to the slave units 10-1 to 10-m.                    line were compared in the same manner as in the first
   When, for example, the total number of slave units 10-1           embodiment aspect by applying mini-slots to information
to 10-m is 32 and each slot is segmented into eight mini-slots       amount reporting in accordance with the access protocol of
as shown in FIG. 22, four groups, each comprising eight              the fourth embodiment aspect of the present invention.
slave units 10-1 to 10-m, can be created, and any value 45              In FIG. 27, the vertical axis is shown in magnified form
satisfying the condition "l~Group ID numbers~4" can be               to make it easier to understand the difference resulting from
assigned on the basis of Eq. (3) to the slave units 10-1 to          the use of a low load factor.
10-m.                                                                   It is apparent in FIG. 27 that the access protocol based on
   When the master unit 20 instructs the slave units 10-1 to         the fourth embodiment aspect of the present invention
10-m to submit information amount reports by means of 50 allows the maximum transmission latency time to be stabi-
mini-slots, the procedure whereby specific slave units 10-1          lized at a comparatively low level without the increase
to 10-m are instructed to submit information amount reports          observed in the access protocol based on TDMA or CSMN
should be changed to a procedure whereby specific groups             CD, and can easily accommodate burst traffic even when the
are instructed to submit information amount reports in the           load factor of the transmission line is high and the burst
flowcharts shown in FIGS. 6 to 10.                                55 traffic increases in volume.
   In the processing portion for identifying instructions from          It can also be seen that even when the load factor is low,
the master unit 20 to the slave units 10-1 to 10-m according         substantially the same effects as in the access protocol based
to the flowcharts in FIGS. 7 to 10, identification based on the      on CSMNCD can be obtained by applying mini-slots to
ID numbers of the slave units 10-1 to 10-m should be                 information amount reporting.
changed to identification based on the group numbers of the 60          At a load factor of 10%, the maximum transmission
slave units 10-1 to 10-m.                                            latency time according to the access protocol of the fourth
   Mini-cells to which at least the following data is written        embodiment aspect of the present invention is about ½o that
are created if it is concluded by the slave units 10-1 to 10-m       provided by the TD MA-based access protocol, and about the
that these slave units 10-1 to 10-m have been instructed to          same as that provided by the CSMNCD-based access
submit information amount reports using mini-slots: cell 65 protocol. At a load factor of 80%, the maximum transmis-
identifiers indicating the information amount reports, infor-        sion latency time according to the access protocol of the
mation amount counted by the counter, and the ID numbers             fourth embodiment aspect of the present invention is about

                                                         Appx3819
                                                     US 6,778,557 Bl
                             29                                                                   30
1/s that provided by the TDMA-based access protocol, and            in accordance with the present invention can be easily
about ½4 that provided by the CSMNCD-based access                   adapted, for example, to FDM (Frequency Division
protocol, indicating that the use of such mini-slots improves       Multiplex), FDMA (Frequency Division Multiple Access),
communications efficiency.                                          CDMA (Code Division Multiple Acces), and the like.
   FIG. 28 depicts the results of a comparison of the amounts 5        Thus, according to the first to fifth embodiment aspects
of signals stored in the buffer memories of a terminal and a        described above, slave units 10-1 to 10-m submit reports on
slave unit 10-1 to 10-m, obtained by performing the same            the information amount necessary for signal transmission to
simulation. The maximum amount of signal stored in the              the master unit 20, and, based on the information amount
buffer memories is plotted on the vertical axis.                    reported by the slave units 10-1 to 10-m, the master unit 20
                                                                    issues signal transmission instructions, completely eliminat-
   In FIG. 28, the vertical axis is shown in magnified form 10
                                                                    ing signal collisions in the transmission line and preventing
to make it easier to understand the difference resulting from
                                                                    the throughput from decreasing in the manner observed with
the use of a low load factor.                                       CSMNCD when signals on the order of several megabytes
   It is apparent in FIG. 28 that the access protocol based on      are transmitted in bursts.
the fourth embodiment aspect of the present invention                  It is also possible to achieve further improvements in
allows the maximum amount of stored signal to be stabilized 15 communications efficiency by dynamically updating the
at a comparatively low level without the increase observed          intervals for giving the slave units 10-1 to 10-m instructions
in the access protocol based on TDMA or CSMNCD, can                 on information amount reporting, or by segmenting slots
easily accommodate burst traffic, and is capable of reducing        into a plurality of mini-slots.
the buffer memory requirements of the slave units 10-1 to              Here, the enabling amounts for permitting signal trans-
10-m when the load factor of the transmission line is high 20 mission are calculated dynamically and efficiently on the
and the burst traffic increases in volume.                          basis of reports from slave units 10-1 to 10-m such that the
   It can also be seen that even when the load factor is low,       data transfer rate can be utilized with 100% efficiency, so
the proposed protocol is better than the TD MA-based access         high throughput can be obtained even under complex con-
protocol and yields results substantially indistinguishable         ditions created by greater burst traffic or an increased
from those of the CSMNCD-based access protocol.                  25 number of slave units 10-1 to 10-m.
   At a load factor of 80%, the maximum amount of stored               The specific maximum number of kilobits k is set such
signal according to the access protocol of the fourth embodi-       that the following relation is satisfied:
ment aspect of the present invention is about ½ that provided
                                                                            k~(rxtd)+(axm),
by the TDMA-based access protocol, and about ¼ that
provided by the CSMNCD-based access protocol, indicat- 30 where mis the total number of slave units 10-1 to 10-m (m
ing that the use of mini-slots can improve communications           is an integer), a is the proportion of currently active slave
efficiency and reduce the buffer memory requirements of             units 10-1 to 10-m (0<a~l.0), r (b/s) is the data transfer
slave units.                                                        rate, and td (s) is the delay time allowed for data transmis-
   Following is a description of a fifth embodiment aspect of       sion and determined by the system.
the point-to-multipoint communication system according to 35           Slave units 10-1 to 10-m can therefore continuously
the present invention.                                              transmit large signals because these stations have exclusive
   In the fifth embodiment aspect, the specific maximum             use of the upstream transmission line during the transmis-
values k of the enabling amounts that allow information             sion of signals whose maximum size is measured ink (bits).
signals to be transmitted for the slave units 10-1 to 10-m are         Another feature is that when an enabling amount is
selected such that individual values can be calculated for 40 determined on the basis of the above equation, a time of td
each of the slave units 10-1 to 10-m, depending on the              seconds is necessary for the transmission if all the slave units
financial charges, contract type, urgency, priority level, and      10-1 to 10-m transmit k (bit) signals, making it possible to
other differences among the slave units 10.                         secure an allowed delay time of td seconds for data trans-
   In this case, the specific maximum value ki (bits) for each      mission by all the slave units 10-1 to 10-m.
of the slave units 10-1 to 10-m (i=l, ... , m) is determined 45        All the slave units 10-1 to 10-m can invariably transmit
for each of these slave units 10-1 to 10-m such that the            their signals within the allowed delay time of td seconds,
following relation is satisfied:                                    making it possible to ensure access fairness and to yield the
                                                                    delay time allowed for data transmission.
        :E.ki~rxtd                                          (5),
                                                                       In addition, the maximum transmission latency time
where m is the total number of slave units 10 (m is an 50 elapsed until a slave unit 10-1 to 10-m transmits a signal can
integer), a is the proportion of currently active slave units       be kept stable at a low level without the increase observed
10-1 to 10-m (0<a~l.0), r (b/s) is the data transfer rate of        with TDMAor CSMNCD when the transmission line has a
the point-to-multipoint communication system, and td (s) is         high load factor and the burst traffic increases in volume.
the delay time allowed for data transmission and determined         Results that are superior to those provided by TDMA and are
by the system, as in the band allocation shown in FIG. 29. 55 substantially indistinguishable from those yielded by
Here, ~ indicates the sum of i's from 1 to am. The                  CSMNCD can also be obtained at a low load factor.
proportion a of currently active slave units 10-1 to 10-m is           Another feature of this embodiment aspect is that the
calculated in the same manner using Eq. (2).                        maximum amount of signal stored in the buffer memory of
   The enabling amount Gi is calculated by substituting ki          the slave units 10-1 to 10-m can be kept stable at a low level
fork in the flowchart shown in FIG. 13.                          60 without the increase observed with conventional protocols
   The instructional amount gi for giving instructions on           when the transmission line has a high load factor and the
signal transmission to a slave unit i during the transmission       burst traffic increases in volume. Results that are superior to
of a PLOAM cell is calculated in the same manner in                 those provided by TDMA and are substantially indistin-
accordance with the flowcharts shown in FIGS. 14 and 15.            guishable from those yielded by CSMNCD can also be
   Although the first to fifth embodiment aspects above were 65 obtained at a low load factor, making it possible to reduce
described with reference to cases in which TDM and TDMA             the buffer memory requirements of the slave units 10-1 to
were used as cell multiplexing protocols, the access protocol       10-m.

                                                         Appx3820
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                             31                                                                 32
   Such an arrangement can provide an access protocol for          currently active slave units (0<a~ 1.0), r (b/s) is the data
a point-to-multipoint communication system that possesses          transfer rate, and td (s) is the delay time allowed for data
exceptional capabilities in terms of accommodating bursty          transmission and determined by the system. The proportion
traffic.                                                           a of currently active slave units 10-1 to 10-m is given by Eq.
   FIG. 30 is a diagram illustrating the frame periods for 5 (2), where a=l.0 when all the slave units 10-1 to 10-m are
TDM and TDMA, which are the packet multiplexing pro-               currently active.
tocols adopted in the point-to-multipoint communication               After calculating the information amount Ni, the master
system pertaining to a sixth embodiment aspect of the              unit calculates, based on the information amount Ni, the
present invention.                                                 information amount ni to be sent as a notification to the slave
   In the sixth embodiment aspect, the system structure is the 10 units during each frame period, and the slave units 10-1 to
same as the structure in FIG. 1, and the structures of the         10-m are notified of this information amount ni (FIG.
master unit 20 and slave units 10-1 to 10-m are the same as        31(1-3)).
the structures shown in FIGS. 2 and 3.                                Here, the reason that the information amount ni is calcu-
   In FIG. 30, 1 ms is selected as the frame period for TDM        lated separately from the information amount Ni is that the
or TDMA, which is a packet multiplexing protocol. A data 15 slave units 10-1 to 10-m are exhaustively notified of the
region, control region, and delay control region are estab-        information amount Ni in the form of continuous frames if
lished within each frame.                                          the information amount Ni thus calculated exceeds the data
   In the example shown in FIG. 30, the data region and the        transfer rate at which transmission can be performed using
control region consist of 256- and 32-packet time slots,           single frames.
respectively, and the #n in the drawing indicates the time slot 20    Upon being notified of the information amount ni by the
number, assuming that the total number of slave units 10-1         master unit 20, the slave units 10-1 to 10-m send temporarily
to 10-m is 32, the transfer rate is 155.52 M(b/s), the             stored information signals to the master unit 20. The volume
fixed-length packet size is 60 (B), and the delay control          of these signals does not exceed that of the information
region is 111 (s).                                                 amount ni (FIG. 31(1-4)).
   The data region is used to exchange data packets between 25        The above-described procedures are then sequentially
the master unit 20 and the slave units 10-1 to 10-m. The           repeated as indicated by (2-1) to (2-4) in FIG. 31.
control region is used to exchange control packets between            Alternatively, the information amount ni is a parameter
the master unit 20 and the slave units 10-1 to 10-m,               that is needed to facilitate mounting and to ensure the
providing enough time slots to allow all 32 slave units 10-1       following: that the slave units 10-1 to 10-m are notified of
to 10-m to exchange control packets during each frame 30 the information amount Ni by the master unit 20, that it is
period.                                                            checked on the side of the slave units 10-1 to 10-m whether
   The delay control region is used to adjust the packet           information signals whose volume is equal to or less than the
transmission time when there are variations in the transmis-       information amount Ni can be transmitted within a single
sion distance between the master unit 20 and the slave units       frame, and that the transmission of the information signals
10-1 to 10-m. A size that is presumed to correspond to a 35 is optionally controlled.
transmission distance of 10 (km) is provided. In this case,           With the access protocol of the point-to-multipoint com-
there is no particular reason to provide a delay control region    munication system of the sixth embodiment aspect, the slave
if the transmission distance is short and the packet trans-        units 10-1 to 10-m notified of the information amount have
mission delay remains invariable.                                  exclusive use of the upstream transmission line and can
   The frame periods of TDM and TDMA, the configuration 40 continuously transmit signals at no more than the informa-
of regions within the frames, and the position and size of         tion amount calculated by the master unit 20, as in the band
each region may be arbitrarily set by the system. One              allocation shown in FIG. 12.
possible option is to insert delay control regions into the           For the sake of convenience, 32 is selected as the total
frames at a specific time period without providing each            number of slave units 10-1 to 10-m, and 155.52 M(b/s) is
frame with a region, and thus to yield a multiframe structure 45 selected as the transfer rate of the optical transmission line
having larger data regions. In addition, the frame format can      30 for a downstream transmission from the master unit 20 to
be configured differently in the upstream and downstream           the slave units 10-1 to 10-m and for an upstream transmis-
directions.                                                        sion from the slave units 10-1 to 10-m to the master unit 20.
   FIG. 31 is a sequence diagram depicting a control routine          It is also possible, for example, to adopt a structure in
for the access protocol in the point-to-multipoint commu- 50 which the downstream transfer rate used here is set to 622.08
nication system according to the sixth embodiment aspect.          M(b/s), and the upstream and downstream transfer rates are
   In FIG. 31, the slave units 10-1 to 10-m, which send            mutually asymmetrical. In addition, the transfer rate and the
information signals to the master unit 20, temporarily store       total number of the slave units 10-1 to 10-m may also be
the information signals to be sent in a buffer memory 15, and      arbitrarily set by the system.
the storage amounts of the information signals thus stored 55         Another alternative is to exchange 60-byte fixed-length
are reported to the master unit 20 via a transmission unit 13      packets between the master unit 20 and the slave units 10-1
(FIG. 31(1-1)). Here, i indicates an individual slave unit, and    to 10-m via the above-described optical transmission line 30
i=l, 2, ... , m, where m is the total number of slave units        in accordance with a multiplexing protocol in which the
(m is an integer).                                                 downstream transmission is TDM (Time Division
   Upon receipt of the reports from the slave units 10-1 to 60 Multiplex) and the upstream transmission is TDMA (Time
10-m, the master unit 20 calculates, based on the storage          Division Multiple Access).
amounts Ri thus reported, the information amount Ni that              This packet contains at least a header region, a packet
allows each slave unit 10-1 to 10-m to transmit signals at no      identification region, a slave unit identification region, a
more than a specific maximum value k (bits) (FIG. 31(1-2)).        reserve region reserved for extensions, and a communica-
Here, the specific maximum value k is set such that the 65 tions region, as shown in FIG. 32.
relation expressed by Eq. (1) is satisfied. In this equation, m       Written to the header region are a guard for preventing
is the total number of slave units, a is the proportion of         packet collisions in the optical transmission line 30, a

                                                         Appx3821
                                                   US 6,778,557 Bl
                            33                                                                 34
preamble for receiving burst signals, and a delimiter for          each region may be arbitrarily set by the system. One
distinguishing between packet headers and other segments.          possible option is to insert delay control regions into the
   In addition, written in the packet identification region are    frames at a specific time period without providing each
packet classification numbers for identifying packet types by      frame with a region, and thus to yield a multiframe structure
the master unit 20 and the slave units 10-1 to 10-m.             5 having larger data regions. In addition, the frame format can
   With these packet classification numbers, an individual         be configured differently in the upstream and downstream
value is predetermined by the system for each packet type,         directions.
as shown in FIG. 33.                                                  Voice, video, data, or other such information signals can
   Furthermore, written in the slave unit identification region    be input from a terminal or other network to the input port
are slave unit numbers individually assigned to the slave          of a slave unit 10 (10-1 to 10-m) shown in FIG. 2 or to the
                                                                10
units 10-1 to 10-m, as shown in FIG. 34. The numbers of the        input port of the master unit 20 shown in FIG. 3.
slave units are managed by the master unit 20, and the                These information signals are sent to the buffer memories
numbers of the slave units are conveyed during the initial         15 and 25 through the input units 11 and 21, respectively,
stage from the master unit 20 to all the slave units 10-1 to       and are temporarily stored in the buffer memories 15 and 25.
10-m participating in the operation of the system.                    FIFO (First In First Out) or the like can be suggested as
   By virtue of these slave unit numbers, the master unit 20 15 a method for storing information signals in the buffer
can trace a packet to a particular slave unit 10-1 to 10-m, and    memories 15 and 25.
each of the slave units 10-1 to 10-m can determine whether            These information signals may be arranged in cells or
the packet it has received is addressed to this station.           packets while stored in the buffer memories 15 and 25, such
   The reserve region is used to exchange anti-                    as ATM cells or Ethernet packets, for example.
eavesdropping security keys or packet time stamps 20                  Another feature of the sixth embodiment aspect is that the
(transmission time, number of transmissions, etc.) between         input information signals have good consistency when
the master unit 20 and the slave units 10-1 to 10-m.               arranged as ATM cells because the size of the communica-
   The communications region is used to exchange informa-          tions region of a data packet is set to 53 (bytes), as shown
tion signals between the master unit 20 and the slave units        in FIG. 35. In addition, consistency can be improved by
10-1 to 10-m, to issue storage amount reports or information 25 mapping data as ATM AAL Type 5 when the information
amount notifications, or to perform OAM (Operation                 signal is an Ethernet packet.
Administration & Maintenance) such as configuration                   In the slave unit 10 shown in FIG. 2, the storage amounts
management, fault control, billing, traffic control, security      of the information signals temporarily stored in the buffer
management, and the like.                                          memory 15 are sequentially counted by the counter 16.
   Packet size and format may be set arbitrarily in accor- 30 These storage amounts are counted as integral units of
dance with the characteristics of the service handled by the       packets needed to transmit the information signals.
system, and packet classification numbers and slave unit              For example, information signals are transmitted with the
numbers may also be set arbitrarily in accordance with the         communications region (53 B) of the packet format shown
makeup of the system.                                              in FIG. 32 in the case of the information package shown in
   It is also possible to appropriately use packet reserve 35 FIG. 35. With such storage amounts, therefore, signals
regions or communications regions for exchanging security          containing 53 bytes of information are converted to single
keys or time stamps, performing various types of OAM, or           packets and counted.
the like in accordance with the specifics of actual imple-            Examples of recommended counting methods include
mentation or the like.                                             methods in which counting is performed as required in
   As shown in FIG. 30, 1 ms is selected as the frame period 40 accordance with the input of information signals to the
of TDM and TDMA, which are packet multiplexing                     buffer memory 15 and the output of information signals from
protocols, and each frame contains a data region, a control        the buffer memory 15, and methods in which the counting is
region, and a delay control region.                                based on the difference between the start address and the end
   In the example shown in FIG. 30, the data region and the        address of an information signal stored as FIFO in the buffer
control region consist of 256- and 32-packet time slots, 45 memory 15.
respectively, and the #n in the drawing indicates the time slot       If the stored information signal is less than 53 bytes, a
number, assuming that the total number of slave units 10-1         single packet may be counted as the one necessary for
to 10-m is 32, the transfer rate is 155.52 M(b/s), the             transmission, and the counting may be stopped before 53
fixed-length packet size is 60 (B), and the delay control          bytes are reached. The storage amounts may be obtained by
region is 111 (s).                                              50 counting bits or bytes in integral units.
   The data region is used to exchange data packets between           As noted above, counting the storage amounts of infor-
the master unit 20 and the slave units 10-1 to 10-m. The           mation signals as the numbers of packets necessary for
control region is used to exchange control packets between         transmission is effective because lower values are reported
the master unit 20 and the slave units 10-1 to 10-m,               to the master unit 20.
providing enough time slots to allow all 32 slave units 10-1 55       The storage amounts of information signals counted by
to 10-m to exchange control packets during each frame              the storage amount counter 16 are read by the control unit
period.                                                            17. The control unit 17 crates control packets for reporting
   The delay control region is used to adjust the packet           these storage amounts to the master unit.
transmission time when there are variations in the transmis-          In the control packets, the communications region of the
sion distance between the master unit 20 and the slave units 60 packet format shown in FIG. 32 serves as a storage amount
10-1 to 10-m. A size that is presumed to correspond to a           reporting region for reporting storage amounts, as shown in
transmission distance of 10 (km) is provided. In this case,        FIG. 36.
there is no particular reason to provide a delay control region       The storage amounts read from the storage amount
if the transmission-distance is short and the packet trans-        counter 16 are written to the storage amount reporting
mission delay remains invariable.                               65 region.
   The frame periods of TDM and TDMA, the configuration               Packet classification numbers 0lh, which indicate that the
of regions within the frames, and the position and size of         packets are for reporting storage amounts, are written to a

                                                        Appx3822
                                                     US 6,778,557 Bl
                              35                                                                   36
packet identification region. Slave unit numbers preassigned           For example, the storage amount table resulting from the
to the slave units 10-1 to 10-m by the master unit 20 are           receipt of control packets by the master unit 20 is updated as
written to a slave unit identification region. With the storage     shown in FIGS. 37a and 38 when the storage amounts of
amounts, it is also possible to report differential values based    information signals stored in the buffer memories 15 of the
on previous reports.                                              5 slave units 10-1 to 10-m are counted, as shown in FIG. 38.
   As noted above, the necessary information is written to          The storage amounts shown in FIGS. 37a and 38 are
each region of the control packet in the control unit 17, and       measured in packets.
this control packet is then sent to the transmission unit 13.          With the control unit 27, the information amount that
In the header region, a procedure in which the necessary            allows the slave units 10-1 to 10-m to transmit signals is
information is written by means of the transmission unit 13 10 calculated based on the storage amount table of the storage
may be substituted for the procedure in which the informa-          unit 26. This information amount is calculated such that the
tion is written by means of the control unit 17.                    specific maximum value k given by Eq. (1) does not exceed
   In addition, the storage amount reporting region may             a certain amount. The data transfer rater in Eq. (1) is the rate
optionally be used for purposes other than submitting stor-         at which signals can be transmitted in the data region of a
age amount reports, and the use of a reserve region may be 15 frame. For example, r=108.544 Mb/s for the data packet
substituted for the reporting of storage amounts by means of        shown in FIG. 35 or the frame format shown in FIG. 30.
the communications region shown in FIG. 32.                            Furthermore, the delay time td allowed for data transmis-
   The control packet sent from the control unit 17 to the          sion is set on the basis of the service class or the like handled
transmission unit 13 is transmitted to the master unit 20 by        by the system. For example, a value of about 0.001---0.1 sis
the time slots of a control region provided inside the frame. 20 considered appropriate for a voice-based service class, in
   The control unit 17 issues instructions regarding time slot      which no delay is allowed. By contrast, a value of about
numbers and transmission timing.                                    0.1-1 s is considered appropriate for a data-based service
   For example, the control region of the frame shown in            class in which some delay is allowed, taking into account,
FIG. 30 is provided with enough time slots to allow all 32          among other things, the imperceptible time that elapses until
slave units 10-1 to 10-m to exchange control packets during 25 information a signal transmission is completed.
each frame period. Where control packets are transmitted               When, for example, m=32, a=l.0, r=108.544 Mb/s, and
according to this frame format, control is implemented such         td=0.0125 s, the maximum value k of the information
that information is transmitted using the positions of the          amount that allows slave units to transmit signals is 42,400
time slots conveyed in advance to the master unit 20.               bits, which is 100 packets in terms of the number of data
   These time slots are arranged such that individual posi- 30 packets shown in FIG. 34.
tions are assigned to slave units 10-1 to 10-m to prevent the          The number of currently active slave units in Eq. (2) is
control packets of the slave units 10-1 to 10-m from collid-        counted by the control unit 27 of the master unit 20. To
ing in the optical transmission line 30.                            achieve this, it may be suggested, for example, that control
   The periods for reporting storage amounts may be arbi-           packets arriving from the slave units 10-1 to 10-m be
trarily set by the system in accordance with the total number 35 monitored, and the slave units that transmit these control
of the slave units 10-1 to 10-m, the type of service class, and     packets during each frame cycle be counted as being cur-
the like, and part of a frame format such as that shown in the      rently active. According to another method, the master unit
example in FIG. 30 is determined based on this setting.             20 polls the slave units, and the slave units that have
   In the master unit 20 shown in FIG. 3, packets received          responded to this polling are counted as being currently
from the slave units 10-1 to 10-m via the reception port are 40 active.
identified based on the packet classification numbers written          FIG. 39 is a flowchart depicting the procedure for calcu-
to the packets. This is done after headers are removed in the       lating information amounts whereby the slave units 10-1 to
reception unit 24.                                                  10-m are allowed to transmit data by the master unit 20
   The packets thus identified are sent to the output unit 22       when all the slave units 10-1 to 10-m are active; FIG. 40 is
when they are information packets, and to the storage unit 26 45 a flowchart depicting the procedure for initializing informa-
when they are control packets for submitting storage amount         tion amounts for notifying the slave units 10-1 to 10-m; and
reports.                                                            FIG. 41 is a flowchart depicting the procedure for calculat-
   The interior of the storage unit 26 comprises a storage          ing information amounts for notifying the slave units.
amount table (FIG. 37a) for storing the storage amounts                The information amount may also be calculated by the
reported by the slave units 10-1 to 10-m, an information 50 master unit 20 such that control packets for submitting
amount table (FIG. 37b) for storing the information amount          storage amount reports are received by the control unit 27
that allows the slave units 10-1 to 10-m to transmit signals,       directly from the reception unit 24 without any calculations
and a notification table (FIG. 37c) for storing the informa-        being made based on the storage amount table of the storage
tion amount used for notifying the slave units 10-1 to 10-m         unit 26, and calculations are performed sequentially every
during each frame period.                                        55 time a storage amount report is received.
   The initial values of the storage amount Ri, information            In FIGS. 39 to 41, i and j are slave unit numbers, mis the
amount Ni, and in the tables are zeroes, and values indi-           total number of the slave units 10-1 to 10-m, p is the number
vidually assigned to the slave units 10-1 to 10-m are written       of packets (time slots) for allowing information signals to be
to the slave unit numbers i.                                        transmitted as one frame, q is the information amount being
   In the storage unit 26, where control packets for submit- 60 calculated for conveyance to the slave units 10-1 to 10-m
ting storage amount reports are received from the reception         during each frame period, Riis the storage amount of a slave
unit 24, the slave unit numbers and storage amounts written         unit having a slave unit number i that is stored in the storage
to the corresponding packets are read from the slave unit           amount table, Ni is the information amount that allows a
identification regions and storage amount reporting regions         slave unit whose slave unit number i is stored in the
of the control packets. The storage amounts having matching 65 information amount table to transmit a signal, ni is the
slave unit numbers in the storage amount table are updated          information amount that is stored in the information amount
based on the storage amounts thus read.                             table and conveyed to the slave unit having a slave unit

                                                          Appx3823
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                              37                                                                   38
number i during each frame period, "flag 1" indicates                  amount notification region for submitting information
whether the storage amounts Ri of all the slave units 10-1 to          amount reports, as shown in FIG. 42. Information amount ni
10-m are zeroes, and "flag 2" is a flag that indicates whether         and the numbers #i of the time slots for starting the trans-
calculation of the information amounts ni conveyed to the              mission of data packets are written to this information
slave units 10-1 to 10-m during each frame period have been 5 amount notification region, as shown in FIG. 43.
completed.                                                                The positions #i of the time slots where the slave units
   In FIGS. 39 to 41, m=32 (all slave units 10-1 to 10-m are           10-1 to 10-m begin transmitting data packets are determined
currently active), 1 ~i, j ~m, the initial value of j is 1, and the    in accordance with the flowchart shown in FIG. 44.
initial values of Ni and flag 2 are zeroes. In addition, the              Packet classification numbers 02h, which indicate that the
information amount Ni is calculated according to the flow- 10 packets are for issuing information amount notifications, are
chart in FIG. 39 during each frame period, as shown FIGS.              written to a packet identification region. The slave unit
31(1-2) and 31(2-2).                                                   identification numbers of the slave units for issuing notifi-
   If Ni>'0 in FIG. 39, it means that a single-frame data              cations about the information amounts ni are written to a
region has an insufficient number of time slots and that the           slave unit identification region.
master unit 20 is incapable of completely conveying the 15                As noted above, the necessary information is written to
information amount Ni to the slave unit i.                             each region of the control packet in the control unit 28, and
   Consequently, the information amount Ni is not updated              this control packet is then sent to the transmission unit 23.
when Ni>'0 in the flowchart in FIG. 39. "1" is set for flag 1             In the-header region, a procedure in which the necessary
when all the storage amounts Ri of the slave units are                 information is written by means of the transmission unit 13
different from zero following the calculation of the infor- 20 may be substituted for the procedure in which the informa-
mation amount Ni.                                                      tion is written by means of the control unit. In addition, the
   The information amount ni conveyed to the slave units               information amount notification region may optionally be
10-1 to 10-m during each frame period is calculated-in                 used for purposes other than submitting information amount
accordance with the flowchart shown in FIG. 41 following               notifications, and the use of a reserve region may be sub-
the initialization in accordance with the flowchart shown in 25 stituted for submitting information amount notifications by
FIG. 40. If flag 2>'0, ni is not initialized because of the fact       means of the communications region shown in FIG. 32.
that the information amount ni for conveyance to the slave                The control packet sent from the control unit 27 to the
units (that is, the procedure of the flowchart shown in FIG.           transmission unit 23 is transmitted to the slave units 10-1 to
41) is calculated two or more times.                                   10-m by the time slots of a control region provided inside the
   In FIG. 41, the initial value of the number of packets p for 30 frame. Transmission timing and time slot numbers are
allowing data packets to be transmitted within the data                controlled by the control unit 28.
region of a single frame corresponds to the number of time                In the slave unit 10 shown in FIG. 2, the packets from the
slot in the data region. Here, this number is equal to 256,            master unit 20 are received by the reception unit 14 via the
based on the flowchart shown in FIG. 30.                               reception port. In the reception unit 14, the header is
   The condition Nj>p corresponds to a case in which the 35 removed, and it is then determined based on the slave unit
information amount Nj cannot be confined to the data region            numbers written to the received packet whether the received
of a single frame, so the slave unit whose slave unit number           packet is indeed addressed to this slave unit 10. The type of
is j is notified about the information amount nj in the form           packet is identified on the basis of the packet type number
of a continuous frame.                                                 written to the packet if the packet is indeed addressed to the
   If p>0 and flag 1 is not zero when calculations of the 40 slave unit 10.
information amount for conveyance to m slave units have                   The identified packet is sent to the output unit 12 if it is
come a full circle (i=j), the time slots of the data region still      a data packet, and to the control unit 17 if it is a control
have a margin, and the storage amount Ri of a slave unit is            packet for submitting an information amount notification.
not zero. In this case, "1" is set for flag 2, and the informa-           Once the control packet for submitting an information
tion amounts Ni and ni are repeatedly calculated using the 45 amount notification such as that shown in FIG. 18 is
flowchart shown in FIG. 39 to achieve efficient use of the             received by the control unit 17 from the reception unit 14,
time slots in the data region.                                         the time slot number for starting a data packet transmission
   If flag 1 is zero when p is zero or when calculations of the        and the information amount ni for allowing these packets to
information amount for conveyance to the m slave units                 be transmitted are read from the information amount noti-
10-1 to 10-m have come a full circle, the calculations are 50 fication region of the control packet. If i>'0, the control unit
completed because all the time slots of the data region have           17 instructs the buffer memory 15 to output the stored
been assigned or because the information amounts Ni have               information signals to the transmission unit at no more than
been assigned with respect to all storage amounts Ri.                  the information amount ni. For example, an instruction to
   The information amount ni determined according to the               output an information signal of less than 5300 bytes to the
above-described sequence for conveyance to the slave units 55 transmission unit 13 is given if ni is 100.
during each frame period is read by the control unit 28. The              In the transmission unit 13, a data packet such as that
information amount ni is sent together with the slave unit             shown in FIG. 35 is created in order to transmit to the master
number i to the control unit 27 the moment the calculation             unit 20 the information signal sent from the buffer memory
of the information amount ni is completed.                             15. In the data packet, the communications region of the
   In the control unit 27, the information amount ni for 60 packet format shown in FIG. 32 serves as the information
conveyance to the slave units 10-1 to 10-m during each                 signal region for transmitting information signals.
frame period is read from the notification table of the storage           The information signals sent from the buffer memory 15
unit 26, and a control packet is created for reporting this            are written in the information signal region. Packet classi-
information amount ni to each of the slave units 10-1 to               fication numbers llh, which indicate that the packets are for
10-m.                                                               65 transmitting information signals, are written to a packet
   In the control packet, the communications region of the             identification region. Slave unit identification numbers
packet format shown in FIG. 32 serves as the information               assigned in advance to the slave units 10 are written to a

                                                          Appx3824
                                                         US 6,778,557 Bl
                                39                                                                        40
slave unit identification region. The necessary information is    service class, an information amount table (FIG. 49b), and
written to each region of the data packet in the transmission     a notification table (FIG. 49c) for submitting an information
unit 13, and this data packet is then sent to the master unit     amount report during each frame period to ensure that the
20 by the time slots of a data region provided inside the         information amount relayed to the slave units 10-1 to 10-m
frame. Transmission timing and time slot numbers are 5 is calculated in mutually different service class units.
controlled by the control unit 17.                                   In FIGS. 49a, 49b, and 49c, respectively, Ris is the
   FIG. 45 is a sequence diagram depicting the manner in          storage amount of each service class in a slave unit, Nis is
which information signals such as those in FIG. 38, which         the information amount of each service class that allows the
have been stored according to the above-described process,        slave unit to transmit signals, and nis is the information
are transmitted to the master unit 20.                         10 amount of each service class for issuing a notification to the
   Following is a description of the process for determining      slave unit during each frame period. It is assumed that s=l,
the specific maximum value ki for each of the slave units         2, ... , sc, where s indicates a service class, and sc is the total
10-1 to 10-m.                                                     number of service classes.
   The specific maximum values k of the information                  In the master unit 20, where control packets for reporting
amount that allows information signals to be transmitted for 15 the storage amounts of individual service classes ( an
the slave units 10-1 to 10-m are selected such that individual    example is shown in FIG. 48) have been received, the slave
values can be calculated for each of the slave units 10-1 to      unit numbers and the storage amounts of each service class
10-m, depending on the financial charges, contract type,          written to the corresponding packets are read from the slave
urgency, priority level, and other differences among the          unit identification regions and storage amount reporting
slave units 10-1 to 10-m.                                      20 regions of the control packets. The storage amounts Ris
   In this case, the specific maximum number value ki (bits)      belonging to each service class and having matching slave
for each of the slave units 10-1 to 10-m (i=l, ... , m) is        unit numbers in the storage amount table are updated based
determined for each of the slave units such that Eq. (5) is       on the storage amounts thus read.
satisfied, where m is the total number of slave units 10-1 to        The specific maximum values of the information amount
10-m (mis an integer), a is the proportion of currently active 25 Nis (i=l, 2, ... , m, s=l, 2, ... , sc) that allows the slave
slave units 10-1 to 10-m (0<a~l.0), r (b/s) is the data           units 10-1 to 10-m to transmit information signals in service
transfer rate of the point-to-multipoint communication            class units can be determined for service class units and
system, and td (s) is the delay time allowed for data             individual slave units 10-1 to 10-m.
transmission and determined by the system, as in the band            In this case, the specific maximum values kis (i=l, 2, ... ,
allocation shown in FIG. 29. Here,~ indicates a sum of i's 30 m; s=l, 2, ... , sc) can be determined for individual slave
from 1 to m. The proportion a of currently active slave units     units and service classes unit such that the following relation
is calculated in the same manner using Eq. (2).                   is satisfied:
   The information amount Ni can be calculated in accor-
dance with the flowchart in FIG. 39 by substituting ki fork,              :E.kis~rsxtds (s-1, 2, ... , sc)                                (6),
and the information amount ni for notifying the slave units 35
10-1 to 10-m during each frame period can be calculated in        where mis the total number of slave units 10-1 to 10-m (m
the same manner in accordance with the flowchart shown in         is an integer), sc is the total number of service classes
FIG. 14.                                                          determined by the delay time (sc is an integer), as is the
   Following is a description of the procedure for setting the    proportion of currently active slave unit service classes
specific maximum values ki for individual slave units 10-1 40 (0<as~ 1.0), rs (b/s) is the data transfer rate of each service
to 10-m and service class units.                                  class in a point-to-multipoint communication system, and
   The buffer memory 15 of the slave unit 10 shown in FIG.        tds (s) is the delay time allowed for the data transmission in
2 is configured such that input information signals can be        each   service class and determined by the system. Here, ~
                                                                  indicates the sum of i's from 1 to asxm.
individually stored as mutually different service class units,
depending on categories such as voice, video, data, or the 45        If, for example, m=6, sc=2, al=l.0, a2=1.0, rl=lO0 kb/s,
like; categories such as analog voice signals, ATM cells,         r2=360 kb/s, tdl=0.003 s, and td2=0.002 s, the maximum
Ethernet packets, and the like; and categories such as best       values of the information amount that allows a slave unit
effort service (where delay is allowed) and guaranteed            having a slave unit number i to transmit signals are ki1=50
service (where delay is not allowed).                             b  and ki2=120 b, as shown in FIG. 50. In FIG. 50, C
   In this case, the structure of the buffer memory 15 can be 50 indicates a control region, and DM indicates a delay control
divided into a plurality of physical memories ( as shown in       region. The proportion as of currently active slave unit
FIG. 46) or into a plurality of logical queues (as shown in       service classes is given by
FIG. 47).                                                                 as=(Number of slave units with currently active service classes
   When information signals are stored for each service                      s)/m                                                          (7)
class, the input information signals are divided among the 55
service classes at a preceding stage of the buffer memory 15.        In Eq. ( 6), the number of slave units with currently active
   When information signals are stored in the buffer memory       service classes sis assumed to be counted by the master unit.
15 as mutually different service class units, the correspond-        To achieve this, it may be suggested, for example, that the
ing storage amounts are counted by the storage amount             number of slave units involved in handling a service class s
counter of each service class, as shown in FIGS. 46 and 47. 60 be counted as the number of currently active stations at a
   When the storage amount of each service class is reported      stage during which the slave units 10-1 to 10-m are regis-
to the master unit 20, the storage amount of each service         tered by the system. Other suggested methods include those
class is written to the storage amount reporting region of a      in which.control packets arriving from the slave units 10-1
control packet, as shown in FIG. 48. In FIGS. 46 to 48, sc        to 10-m are monitored, slave units (in which the storage
indicates the total number of service classes.                 65 amounts reported for a service class s are different from zero
   The storage unit 26 of the master unit 20 shown in FIG.        for a fixed period of time) are counted as currently active
3 comprises a storage amount table (FIG. 49a) for each            stations, or counting is conducted by causing the master unit

                                                              Appx3825
                                                    US 6,778,557 Bl
                             41                                                                 42
20 to poll slave units 10-1 to 10-m and confirming that a          packets are addressed to all stations is written in the slave
service class s is currently active.                               unit identification region. In the drawing, C indicates a
   The information amount Nis that allows individual slave         control region, and DM indicates a delay control region.
units 10-1 to 10-m to transmit signals in the form of service         Necessary information is written to each region of the
class units can be calculated by substituting ki for k in the 5 control packet in the control unit 27, and this control packet
flowchart shown in FIG. 39, and performing sc cycles of            is sent first to the transmission unit 23 and then to the slave
operations for mutually different service class units.             units 10-1 to 10-m.
   The information amount nis for conveyance to the slave             When a control packet such as that shown in FIG. 53 is
units 10-1 to 10-m during each frame period can be calcu-          received from the reception unit 14 by the control unit 17 of
lated by performing sc cycles of the flowchart shown in FIG. 10 the slave unit 10 shown in FIG. 2, the information amounts
41 for mutually different service class units. A number that       ni for all the slave units 10-1 to 10-m are read from the
enables data packets to be transmitted in each service class       information amount notification region of the control packet.
is set in the data region of a frame as the initial value of p.    The time slot number for starting a data packet transmission
   The information amount nis of each service class calcu-         is calculated according to the flowchart in FIG. 44 when the
lated by the control unit 27 is read by the transmission unit 15 information amount for the slave units 10-1 to 10-m satisfies
23, written to a control packet such as that shown in FIG. 51,     the condition ni;,0. The buffer memory 15 is then instructed
and conveyed to a slave unit.                                      to output stored information signals in the direction of the
   The information amount nis written to the control packet        transmission unit 13 at no more than the notified information
is read by a slave unit 10 that have received this control         amount ni.
packet. Such control packets are used to convey the infor- 20         Following is a description of another multicasting process
mation amounts nis of various service class units.                 for issuing information amount notifications to slave units
   The control unit 17 issues instructions for the information     10-1 to 10-m.
signals stored in the buffer memory 15 at no more than the            Sending information amount notifications to the slave
information amount nis to be output in the direction of the        units 10-1 to 10-m from the master unit 20 can also be
transmission unit 13 for a buffer memory of service class s 25 accomplished by providing specific time slots with instruc-
or for a queue of service class s inside the buffer memory if      tions regarding the slave units for which transmission is
nis;,0 in an arrangement such as that shown in FIG. 46 or 47.      allowed, as shown in FIG. 54 or 55. In the master unit 20,
   For example, an instruction to output an information            the slave unit numbers of the slave units 10-1 to 10-m
signal of less than 5300 bytes in the direction of the             notified of the transmission-enabling information amount
transmission unit 13 is given to the buffer memory or queue 30 are written in the information amount notification region of
of service class 1 if nil is 100, and an instruction to output     the control packet. The same slave unit number is continu-
an information signal of less than 2650 bytes is given to the      ously written when the information amount conveyed cor-
buffer memory or queue of service class 2 if ni2 is 50.            responds to a plurality of time slot numbers.
   In the transmission unit 13, a data packet such as that            The transmission-enabling slave unit numbers are read
shown in FIG. 35 is created in order to transmit to the master 35 from the information amount notification region to specific
unit 20 the information signal of each service class sent from     time slots when the slave units 10-1 to 10-m receive control
the buffer memory 15, and the result is transmitted to the         packets for issuing information amount notifications in
master unit 20 by means of the time slots of a control region      accordance with a frame format such as that shown in FIG.
in a frame. The control unit 17 issues instructions regarding      54 or 55. If the slave unit numbers thus read match the
time slot numbers and transmission timing.                      40 numbers assigned to the slave units 10-1 to 10-m, the buffer
   Following is a description of the procedure used when the       memory 15 is instructed to output information signals cor-
information amount for conveyance to slave units 10-1 to           responding to a single packet (in this case, 53 bytes) in the
10-m is multicast.                                                 direction the transmission unit 13.
   In the example of a frame format shown in FIG. 30, a               The aforementioned process is sequentially repeated for
sufficient number of time slots are provided as a control 45 the slave unit numbers read by the slave units 10-1 to 10-m.
region to allow all 32 slave units 10-1 to 10-m to exchange           Although the above embodiment aspect was described
control packets during each frame period.                          with reference to cases in which TDM and TDMA were used
   As shown, for example, in FIG. 52, the frame format in          as packet multiplexing protocols, the access protocol in
question is such that the control region is limited to one         accordance with the sixth embodiment aspect can be easily
packet, but the data region can be extended over 286 50 adapted, for example, to FDM (Frequency Division
packets. To allow slave units 10-1 to 10-m to report storage       Multiplex), FDMA (Frequency Division Multiple Access),
amounts to the master unit 20 using this frame format,             CDMA (Code Division Multiple Acces), and the like.
control is implemented such that control packets are trans-           Thus, according to the sixth embodiment aspect, slave
mitted either in response to polling by the master unit 20 or      units 10-1 to 10-m transmit information signals in accor-
at regular periods individually set for the slave units 10-1 to 55 dance with the information amount conveyed by the master
10-m.                                                              unit 20, completely eliminating signal collisions in the
   Because the control region comprises a single packet,           transmission line and preventing the throughput from
control packets for issuing notifications about the informa-       decreasing in the manner observed with CSMNCD when
tion amount ni can be multicast as control packets addressed       information signals on the order of several megabytes are
to all slave units instead of being individually transmitted to 60 transmitted in bursts.
specific slave units when the master unit 20 notifies the slave       Furthermore, the information amount that allows infor-
units 10-1 to 10-m of the information amount ni using a            mation signals to be td can be calculated dynamically and
frame format such as that shown in FIG. 52.                        efficiently on the basis of reports from the slave units 10-1
   The control packets used in this case are illustrated in        to 10-m such that the data transfer rate is utilized with 100%
FIG. 53, where the information amounts ni of all the slave 65 efficiency, so high throughput can be obtained even under
units are written in the information amount notification           complex conditions created by greater burst traffic or an
region. A value (for example, 00h) indicating that control         increased number of slave units 10-1 to 10-m.

                                                         Appx3826
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                             43                                                                   44
  In addition, the maximum value k (bits) of information            enabling amounts. In the process, the master unit 20 gives
amount is set such that the following relation is satisfied:        instructions to transmit signals in sequence from higher-
                                                                    priority service classes, and then gives instructions to trans-
        k~(rxtd)+(axm),
                                                                    mit signals for other types of services using the remaining
where mis the total number of slave units 10-1 to 10-m (m 5 band. Upon receipt of instructions from the master unit 20
is an integer), a is the proportion of currently active slave       the slave units 10-1 to 10-m transmit the stored signals to th~
units 10-1 to 10-m (0<a~l.0), r (b/s) is the data transfer          master unit 20 for each type of service in accordance with
rate, and td (s) is the delay time allowed for data transmis-       the instructions.
sion and determined by the system.                                     Specifically, the access protocol according to the point-
   Slave units 10-1 to 10-m can therefore continuously 10           to-multipoint  communication system of the seventh embodi-
transmit large information signals because these stations           ment aspect operates on the following basic principle: the
have exclusive use of the upstream transmission line during         information amount needed to ensure transmission for each
the transmission of information signals whose maximum               service class is reported in accordance with instructions
size is measured in k (bits).                                       from the master unit 20, and transmission by service class is
   Another feature is that when the information amount is 15 enabled by the master unit 20.
determined on the basis of the above equation, a time of td            In each service class, slave units 10-1 to 10-m about to
seconds is necessary for the transmission if all the slave units    transmit information signals issue reports for the master unit
10-1 to 10-m transmit kilobit-size information signals, mak-        20 regarding the information amount needed to transmit the
ing it possible to secure an allowed delay time of td seconds       information signals in accordance with the instructions from
for data transmission by all the slave units 10-1 to 10-m. 20 the master unit 20. Upon receipt of the reports from the slave
   In addition, a point-to-multipoint communication system          units 10-1 to 10-m, the master unit 20 issues transmission
access protocol capable of sustaining access fairness can be        instructions for the slave units 10-1 to 10-m in each service
provided because all the slave units 10-1 to 10-m can               class on the basis of the information amount reported for
invariably transmit their information signals within the            each service class. At this time, the master unit 20 issues
allowed delay time td.                                           25 instructions to transmit data in sequence from higher-
   A seventh embodiment aspect of the point-to-multipoint           priority service classes.
communication system of the present invention will now be              Upon receipt of transmission instructions from the master
described.                                                          unit 20 regarding a certain service class, the slave units 10-1
   In the seventh embodiment aspect of the point-to-                to 10-m transmit the data for the corresponding service class
multipoint communication system of the present invention, 30 to the master unit 20.
the system structure is the same as the structure shown in             Because such an arrangement allows slave units 10-1 to
FIG. 1.                                                             10-m    to transmit signals in accordance with instructions
   Specifically, the entire system structure according to the       from the master unit 20, no signal collisions at all occur in
seventh embodiment aspect of the present invention is               the transmission line, and a throughput reduction such as
configured by connecting m slave units 10-1, 10-2, ... , 35 that observed in the case of CSMNCD is avoided when
10-m and a single master unit 20 by means of an optical             signals containing several megabytes of data are transmitted
transmission line 30, as shown in FIG. 1. The transmission          in bursts.
line 30 connected to the master unit 20 is divided by an               Here, the information amount that allows information
optical coupler 40 into m branch lines 30-1, 30-2, ... , 30-m,      signals to be transmitted can be calculated dynamically and
which are connected to the slave units 10-1, 10-2, ... , 10-m, 40 efficiently on the basis of reports from the slave units 10-1
respectively.                                                       to 10-m such that the data transfer rate is utilized with 100%
   Although the point-to-multipoint communication system            efficiency, so high throughput can be obtained even under
shown in FIG. 1 is configured as an optical access network          complex conditions created by greater burst traffic or an
in which the master unit 20 and the m slave units 10-1              increased number of slave units 10-1 to 10-m.
10-2, . . . , 10-m are connected by means of the optical 45            Information amount is reported by service class and
transmission line 30, optical coupler 40, and m branch lines        transmission instructions are given in sequence from higher-
30-1, 30-2, ... , 30-m, the seventh embodiment aspect is also       priority service classes, so the stringent delay requirements
widely applicable to communication systems composed of a            imposed on higher-priority service classes can be satisfied
master unit 20 and a plurality of slave units 10-1 to 10-m          because the instructions to transmit data are issued indepen-
such that the transmission line band is allocated among the 50 dently for the higher-priority service classes even when
slave units 10-1 to 10-m by the master unit 20 in a controlled      several megabytes or more are transmitted in bursts for a
manner. Other possible applications include wireless access         lower-priority service class.
networks configured such that part of the transmission line            Another feature of the seventh embodiment aspect is that
is a landline or a wireless line, such as an arrangement in         the information amount reported by each slave unit 10-1 to
which a plurality of wireless terminals are connected instead 55 10-m is limited to one for issuing an instruction to transmit
of the slave units 10-1 to 10-m to the master unit 20 by            a signal within a certain time period. When a particular slave
means of a wireless transmission line.                              unit 10-1 to 10-m reports a high information amount in
   When a wireless transmission line is used in such a case         excess of several megabytes, the data transmission of this
the use of the access protocol of the seventh embodimen~            particular slave unit 10-1 to 10-m has very little effect on the
aspect is facilitated by the simple synthesis or distribution of 60 transmission of other slave units 10-1 to 10-m because the
signals among wireless terminals and the master unit.               transmission does not exceed a certain limiting value and
   In the seventh embodiment aspect, the slave units 10-1 to        b~cause no instruction is issued concerning data transmis-
10-m temporarily store signals by service type and report the       s10n.
storage amounts when instructed by the master unit 20. The             The maximum value k (bits) of data transmission within
master unit 20 calculates transmission-enabling amounts 65 a certain time period is set such that the following relation
below a certain value and gives the slave units 10-1 to 10-m        is satisfied:
signal transmission instructions on the basis of these                     k~(rxtd)!m,

                                                         Appx3827
                                                         US 6,778,557 Bl
                                45                                                              46
where mis the total number of slave units 10-1 to 10-m (m         contains a 3-byte overhead, and downstream transmission
is an integer), r (b/s) is the data transfer rate, and td (s) is the
                                                                  frames contain two PLOAM cells per frame in a ratio of one
delay time allowed for the data transmission and determined       cell per every 28 cells.
by the system. In the presence of inactive slave units 10-1 to       The initial PLOAM cell (PLOAML) has 27 grants for
10-m, the proportion a of active slave units is assumed to be  5 requesting upstream cells from the slave units 10-1 to 10-m,
0<a ~ 1.0, and the maximum value k of data transmission           and the second PLOAM cell (PLOAM2) has 26 grants, to a
within a certain time period is determined such that the          total of 53 grants.
following relation is satisfied:                                     The master unit 20 is capable of issuing instructions as to
                                                                  which of the slave units 10-1 to 10-m can transmit a cell to
        k~(rxtd)f(axm).
                                                               10 a particular slot inside the upstream transmission frame by
   The slave units 10-1 to 10-m can therefore continuously        writing the ID numbers or other identifiers of the slave units
transmit large information signals because these stations         10-1 to 10-m to the grants of the PLOAM cells shown in
have exclusive use of the upstream transmission line during       FIG. 5.
the transmission of information signals whose maximum                The slave units 10-1 to 10-m can transmit cells to those
size is measured ink (bits). Another feature is that when the 15 slots of the upstream transmission frame that correspond to
information amount is determined on the basis of the above        the aforementioned grants when identifiers of these slave
equation, a time of td seconds is necessary for the transmis-     units 10-1 to 10-m are written to the PLOAM cells. This
sion if all the slave units 10-1 to 10-m transmit kilobits of     method makes it possible to avoid cell collisions in the
data, making it possible to secure an allowed delay time td       optical transmission line.
for data transmission by all the slave units 10-1 to 10-m. 20        The seventh embodiment aspect is not limited to instruc-
   All the slave units 10-1 to 10-m can invariably transmit       tion methods involving upstream transmissions, and meth-
their information signals within the allowed delay time of td     ods such as those described below may also be used as the
seconds, and are thus assured access fairness.                    upstream transmission methods.
   The seventh embodiment aspect of the point-to-                    One example is a method in which, in a frame structure
multipoint communication system of the present invention 25 in which there is a one-to-one correspondence between
will now be described in detail.                                  downstream slots and upstream slots, upstream transmis-
   In the seventh embodiment aspect, the buffer memory 15         sions are specified for each service class by providing each
of the slave unit 10 shown in FIG. 2 temporarily stores the       upstream slot corresponding to a downstream slot with the
information signals from the input port by service class, and     ID numbers of the slave units 10-1 to 10-m using these
a counter 16 counts, also by service class, the storage 30 downstream slots, and with identifiers that specify these
amounts of the information signals stored in the buffer           service classes.
memory 15 for each service class. In addition, a control unit        Instructions regarding upstream transmissions can also be
17 informs the master unit 20 of the storage amounts              given by issuing notifications regarding the number of slots
pertaining to each service class of the information signals       for allowing signals to be continuously transmitted by
counted by the counter 16 and performs other types of 35 specific slave units 10-1 to 10-m for specific service classes
control, and the information signals stored in the buffer         with the aid of downstream slots.
memory 15 are output by service class to a transmission unit         FIG. 56 is a diagram depicting the structure of a slave unit
13 in accordance with instructions from the master unit 20.       10-1 to 10-m for accommodating voice signals as a service
   The storage unit 26 of the master unit 20 shown in FIG.        class requiring periodic fixed-length data transmissions, and
3 stores the storage amounts reported for each service class 40 for accommodating data signals as a service class with
by the slave units 10-1 to 10-m. A control unit 27 calculates,    sporadic transmission of variable-length data in the seventh
based on the storage amounts for each service class of the        embodiment aspect of the present invention.
slave units 10-1 to 10-m stored in the storage unit 26, the          In FIG. 56, the slave unit 10 comprises input units lla,
information amount for each service class that allows the         llb connected to a voice signal input port and a data signal
slave units 10-1 to 10-m to transmit data, provides the slave 45 input port; an output unit 12 connected to an output port; a
units 10-1 to 10-m with transmission instructions in accor-       transmission unit 13 connected to a transmission port; a
dance with the information amounts calculated for each            reception unit 14 connected to a reception port; a buffer
service class, and instructs the stations to issue reports        memory 15 for temporarily storing information signals from
regarding each type of service. As shown in FIG. 4, the           the input ports as separately grouped voice signals and data
upstream and downstream frames in the transmission line 50 signals; a counter 16 for counting the storage amounts of the
shown in FIG. 1 are such that the transfer rate of the            data signals stored in the buffer memory 15; and a control
transmission line is 155.52 Mb/s both for the downstream          unit 17 for informing the master unit 20 of the information
transmission from the master unit 20 to the slave units 10-1      amounts of the voice signals and the storage amounts of the
to 10-m and for the upstream transmission from the slave          data signals counted by the counter 16, performing other
units 10-1 to 10-m to the master unit 20. The transmission 55 control procedures, and outputting the data signals and voice
frame and cell format are set according to tentative guide-       signals stored in the buffer memory 15 to the transmission
lines G.983 in ITU-T SG15.                                        unit 13 for each service class in accordance with the instruc-
   A downstream frame comprises 56 slots, and an upstream         tions from the master unit 20.
frame comprises 53 slots. Based on these transmission                In the above-described structure, the slave units 10-1 to
frames, 53 bytes and 56 bytes are exchanged downstream 60 10-m for transmitting data signals to the master unit 20 first
and upstream, respectively, in accordance with the TDM            temporarily store data signals to be transmitted in the buffer
(Time Division Multiplex) multiplexing protocol in the case       memory 15, and then report the storage amounts of the data
of the downstream transmission from the master unit 20 to         signals thus stored to the master unit 20 via the transmission
the slave units 10-1 to 10-m, and in accordance with the          unit 13 in accordance with the instructions from the master
TDMA (Time Division Multiple Access) multiplexing pro- 65 unit 20. Here, i=l, 2, ... , m, where i indicates individual
tocol in the case of the upstream transmission to the master      slave units 10-1 to 10-m, and mis the total number of the
unit 20 from the slave units 10-1 to 10-m. An upstream cell       slave units 10-1 to 10-m (mis an integer).

                                                              Appx3828
                                                     US 6,778,557 Bl
                             47                                                                   48
   The service class identifiers and ID numbers of the slave       reports when instructions to submit information amount
units 10-1 to 10-m are managed by the master unit 20, and          reports are issued using the grants of the PLOAM cells.
these service class identifiers and ID numbers are conveyed           To achieve this distinction, it may be suggested, for
during the initial stage to all the slave units 10-1 to 10-m       example, that the logical sum of a specific value and the ID
participating in the operation of the system. By virtue of 5 number of a slave unit 10-1 to 10-m be written to a grant,
these ID numbers and identifiers, the master unit 20 can           and a flag be raised for a specific bit when an instruction to
trace an information signal within a service class to a            submit an information amount report is given, as shown in
particular slave unit 10-1 to 10-m, and each of the slave units    FIGS. 7 and 8.
10-1 to 10-m can determine whether the information signal             The specific value should be set to a level not yet used as
it has received is indeed addressed to this station.
                                                                10 the ID number of the slave unit 10- to 10-m, such as 0x80
   The signals stored in the buffer memory 15 may be
                                                                   or the like.
arranged in cells or packets while stored in the buffer
                                                                      The slave unit 10-1 to 10-m checks whether a flag has
memory, such as ATM cells or Ethernet packets, for
example.                                                           been raised at a specific bit on the basis of the logical product
   Another feature of the seventh embodiment aspect is that        of the specific value and the value written to the grant when
the input signals have good consistency when arranged as 15 the logical product of the negative specific value and the
ATM cells because each slot of the downstream transmission         value written to the grant matches the ID number of the slave
frame and each slot of the upstream transmission frame             unit, and it is then determined whether information amount
( excluding the overhead) has 53 bytes, as with the trans-         is to be reported or a signal transmitted.
mission frames shown in FIG. 4.                                       According to another method, it is suggested that the ID
   For example, consistency can be improved by mapping 20 number of a slave unit 10-1 to 10-m be written to a grant,
voice signals to ATM AAL Type 1, and data signals to AAL           and the number #n of the grant instructed to submit an
Type 5 when input signals are Ethernet packets.                    information amount report be written to the additional area
   In the counters 16 of the slave units 10 shown in FIGS. 2       of a PLOAM cell, as shown in FIGS. 9 and 10.
and 6, the information amount necessary to transmit the               The slave unit 10-1 to 10-m reads the aforementioned
signals temporarily stored in the buffer memory 15 causes 25 additional area value if the ID number of the slave unit 10-1
the number of cells or slots necessary for such signal             to 10-m written to the grant matches the ID number of this
transmission to be counted in integral units.                      slave unit. This value is compared with the number of the
   For example, in the upstream transmission frame shown           grant for which a transmission instruction has been issued,
in FIG. 4, the information amount is counted such that 53          and it is checked whether information amount is to be
bytes constitute one unit because the signals are transmitted 30 reported or a signal transmitted.
using 53 bytes (excluding the overhead).                              Following is a description of the method whereby slave
   Examples of recommended counting methods include                units 10-1 to 10-m present the master unit 20 with reports on
methods in which counting is performed as required in              the information amount needed to transmit signals.
accordance with the input of signals to the buffer memory 15          If a slave unit 10-1 to 10-m concludes that an instruction
and the output of signals from the buffer memory, and 35 to issue an information amount report has been given to this
methods in which the counting is based on the difference           slave unit 10-1 to 10-m according to the flowcharts in FIGS.
between the start address and the end address of a signal          7 to 10, the result is the creation of a cell to which at least
stored as FIFO in the buffer memory 15. The information            the following data is written: a cell identifier indicating the
amount may be the absolute value of a signal stored in the         information amount report, the information amount of voice
buffer memory 15, or it may be a differential value based on 40 signals, the storage amount of the data signals counted by
the previous report.                                               the counter 16, and the ID number of the slave unit.
   Although the information amount may also be counted as             The arrangement described here is not limited to voice
an integral value using bits or bytes as units, counting this      signals as a service class requiring periodic fixed-length data
amount as the number of cells or slots needed to transmit a        transmissions, and can also accommodate common circuit-
signal is effective because it reduces the values reported to 45 switching types of services such as ordinary telephone
the master unit 20.                                                systems or ISDN. To create a cell, the information amount
   If the stored signal is less than 53 bytes, a single cell or    of voice signals is set to 64 kb/s for an ordinary telephone
slot may be counted as the one necessary for transmission,         system, and 144 kb/s for an ISDN basic rate service.
and the counting may be stopped before 53 bytes are                   The cell thus created is transmitted to the master unit 20
reached.                                                        50 via the transmission unit 13 by means of those slots in the
   In addition, the method in which the master unit 20 uses        upstream transmission frame that correspond to the grants
PLOAM cells to provide slave units 10-1 to 10-m with               instructed to issue a report. The storage amount of data
instructions on reporting the information amount necessary         signals is reported using either one or both of the absolute
to transmit a signal is the same as the method described with      values counted by the counter 16 and the differential values
reference to FIGS. 6 to 10 and related to the first embodi- 55 based on the previous report.
ment aspect.                                                          In the master unit 20 that has received notifications about
   Specifically, FIG. 6 is a flowchart depicting the method        the storage amounts of data signals and the information
whereby the master unit 20 gives instructions to issue             amounts of voice signals from the slave units 10-1 to 10-m,
information amount reports to PLOAM cells. In FIGS. 7 and          these notifications are received by the reception unit 24
8, N represents the total number of grants in a PLOAM cell. 60 shown in FIG. 3, and the information amounts of voice
N=27 for the PLOAM cell 1, and N=26 for the PLOAM cell             signals and the storage amounts of data signals thus received
2. P indicates the grant interval for giving instructions on       are stored in the storage unit 26.
information amount reporting, and #n indicates the grant              FIG. 57 is a diagram depicting the upstream transmission
number. P is assumed to be initialized as an integral value        frame for the point-to-multipoint communication system
(P~l), and #n as #n=P.                                          65 according to the seventh embodiment aspect of the present
   It is necessary to distinguish between signal transmission      invention, in which voice signals are accommodated by a
instructions and instructions to submit information amount         service class requiring periodic fixed-length data

                                                         Appx3829
                                                       US 6,778,557 Bl
                              49                                                                     50
transm1ss10ns, and data signals are accommodated by a                   signals is sufficiently narrow compared with the transfer rate
service class with sporadic transmission of variable-length             of the entire transmission line (for example, 1/10 or less), the
data.                                                                   allowed delay time td for data signals is several milliseconds
   In FIG. 57, the transmission frame is a fixed-length frame           or greater, and the allowed value of the delay time for data
subdivided into fixed-length slots. Transmission instructions 5 signals is not strictly defined.
for the data signals in FIG. 57 will now be described.                     Furthermore, the delay time td allowed for data signals is
   In the master unit 20 shown in FIG. 3, information signals           set on the basis of the type of service or the like handled by
received from the slave units 10-1 to 10-m via the reception            the system. A value of about 0.1-1 sis considered appro-
port are identified based on the cell identifiers written to the        priate for regular Internet access or another type of data-
cells. This is done after headers are removed in the reception 10 based service in which some delay is allowed, taking into
unit 24. The cells thus identified are sent to the storage unit         account, among other things, the imperceptible time that
26 when they are for issuing information amount reports,                elapses until a signal transmission is completed.
and to the output unit 22 when they are for transmitting
                                                                           The number of currently active slave units in Eq. (2) is
signals.
                                                                        counted by the master unit 20. To achieve this, it may be
   FIGS. 58a, 58b, 58c, and 58d depict the structure of the
storage unit 26 in the master unit 20 shown in FIG. 3 in 15 suggested, for example, that the slave units 10-1 to 10-m
connection with the seventh embodiment aspect.                          responding to transmission instructions issued by the master
   In the seventh embodiment aspect, the storage unit 26 is             unit 20 for these slave units 10-1 to 10-m be counted as
provided with an information amount table 1 (FIG. 58a) for              being currently active.
storing the information amount for the voice signals reported              FIG. 59 is a flowchart depicting the overall relation
by the slave units 10-1 to 10-m, an information amount table 20 among the procedures pertaining to such transmission
2 (FIG. 58b) for storing the storage amounts for data signals,          instructions. FIG. 60 is a flowchart depicting the procedure
an enabling amount table 1 (FIG. 58c) for storing the                   for measuring the period with which transmission instruc-
transmit voice signals, and an enabling amount table 2 (FIG.            tions are issued for voice signals; FIG. 61 is a flowchart
58d) for storing the enabling amounts that allow the slave              depicting the procedure for calculating the enabling amount
units 10-1 to 10-m to transmit data signals.                         25 Gdi; FIG. 62 is a flowchart depicting the procedure for
   The initial values of the information amounts Rvi, Rdi and           issuing transmission instructions, or grants; FIG. 63 is a
the enabling amounts Gvi, Gdi in the tables are zeroes, and             flowchart depicting the procedure for issuing voice signal
values individually assigned to the slave units 10-1 to 10-m            transmission instructions; and FIG. 64 is a flowchart depict-
are written to the ID numbers i of the slave units 10-1 to              ing the procedure for issuing data signal transmission
10-m.                                                                30 instructions.
   In the storage unit 26, where cells for submitting infor-               As shown in FIG. 59, the procedure pertaining to trans-
mation amount reports are received from the reception unit
                                                                        mission instructions is a multitasking arrangement in which
24, the storage amounts reported and the ID numbers of the
                                                                        the following four routines are carried out simultaneously:
slave units 10-1 to 10-m written to the cells are read for each
service class, and, based on the values thus read, the storage          generation of upstream PLOAM instructions in accordance
amounts Rdi for the data signals are updated, as are the 35 with the flowchart in FIG. 6 (step 631), generation of
information amounts Rvi for the voice signals that match the            transmission instructions (step 634), operation of a period-
ID numbers of the slave units 10-1 to 10-m in the informa-              measuring   timer (step 632), and calculation of transmission-
tion amount tables.                                                     enabling amounts (step 633).
   In the control unit 27 of the master unit 20, the enabling              FIG. 60 illustrates the operation of the period-measuring
amounts Gdi that allow the slave units 10-1 to 10-m to 40 timer. In FIG. 60, the specific period needed to transmit a
transmit data signals are calculated at no more than a specific         voice signal is measured with a counter, and direct counting
maximum value k (bits) on the basis of the information                  is continued up to the specific period, at which point "flag
amount tables in the storage unit 26.                                   l=TRUE" is set, and the counter is reset.
   Here, the specific maximum value k is set such that the                 FIG. 61 depicts the procedure for calculating the enabling
following relation is satisfied:                                     45 amount Gdi. In the procedure shown in FIG. 61, Gdi is
        k~(rdminxtd)+(axm)                                      (8),    calculated within a range not exceeding the value of k from
                                                                        the storage amount Rdi.
where m is the total number of the slave units 10-1 to 10-m,
                                                                           FIG. 62 depicts the procedure for issuing transmission
a is the proportion of currently active slave units 10-1 to             instructions. In FIG. 62, a voice signal transmission instruc-
10-m (0<a ~ 1.0), rdmin (b/s) is the minimum value of the 50 tion procedure is performed when flag l=TRUE, and a data
data transfer rate for data signals, and td (s) is the delay time       signal transmission instruction procedure is performed when
allowed for data transmission and determined by the system.             flag l=FALSE. Here, Ns indicates the number of slots that
The proportion a of currently active slave units is given by            can be indicated with a single PLO AM cell. According to the
Eq. (2), where a=l.0 when all the slave units 10-1 to 10-m              aforementioned tentative guidelines G.983 in ITU-T SG15,
are currently active.                                                55 Ns=27 for PLOAMl and Ns=26 for PLOAM2. A PLOAM
   When the voice signals are telephone or ISDN signals, the            cell is formed when the grant number #n is equal to Ns
service band is established when the contract is taken out.
                                                                        (#n=l, ... , Ns).
Consequently, the sum total rvc (b/s) of the contract bands
                                                                           FIG. 63 depicts the voice transmission instruction proce-
of such voice signals is given by
                                                                        dure. In FIG. 63, the condition flag l=FALSE is established
        rvc=Lrvci                                               (9), 60 after voice transmission instructions have been issued for all

where rvci (b/s) is a contract band of voice signals accom-             slave units. This procedure makes it possible to prevent
modated by a slave unit 10-1 to 10-m. The minimum value                 instructions to transmit data signals. from being issued
rdmin of the transfer rate for data signals can be defined as           before voice transmission instructions have been given to all
                                                                        the slave units.
        rdmin=r-rvc                                            (lO) 65     FIG. 64 depicts the data signal transmission instruction
   In addition, the transfer rate r of the entire transmission          procedure. In FIG. 64, instructions to perform transmission
line can be used as rdmin when the band for using voice                 continuously (with the exception of voice signal transmis-

                                                           Appx3830
                                                     US 6,778,557 Bl
                             51                                                                   52
sion or PLOAM transmission) are issued until a given                 maximum value k=7, and a single-slot transm1ss10n is
enabling amount Gdi reaches the level Gdi=0. In addition,            already completed prior to voice transmission, so an instruc-
an idle is inserted when no transmission instructions are            tion is issued for the continuous transmission of 6 slots.
given.                                                                  For a voice signal, a slot is subsequently assigned to a
   Following is a description of the method for transmitting 5 transmission in the same manner every time the timer raises
signals in accordance with the instructions given by the             flag 1, and for a data signal, Gdi values (Gdi~k) are
master unit 20 to slave units 10-1 to 10-m.                          individually assigned to transmissions in a continuous
   In the slave units 10 shown in FIGS. 2 and 56, cells are          manner, with the exception of the slots for voice signals.
received by the reception unit 14 via the reception port. In            It thus follows with respect to the access protocol of the
the reception unit 14, it is determined based on the addresses 10 point-to-multipoint communication system of the seventh
written to the cells whether the received cells are addressed        embodiment aspect that voice signals are periodically trans-
to the slave units 10-1 to 10-m in question. If the cells are        mitted and data signals are continuously transmitted accord-
indeed addressed to the slave units 10-1 to 10-m in question,        ing to an arrangement in which the slave units instructed to
cell type is determined based on the cell identifiers written        transmit signals have exclusive use of the upstream trans-
to the cells. The identified cells are sent to the output unit 12 15 mission line below the enabling amount Gdi calculated by
if they are signal cells, and to the control unit 17 if they are     the master unit 20 for the regions remaining after the
PLOAM cells.                                                         transmission of voice signals, as in the band allocation
    Once the PLOAM cells are received by the control unit 17         shown in FIG. 57.
via the reception unit 14, it is checked whether an instruction         An eighth embodiment aspect will now be described in
has been issued to transmit a signal or to submit an infor- 20 detail with reference to FIGS. 65 to 67.
mation amount report in accordance with the flowcharts in               FIG. 65 is a diagram depicting a slave unit 10 of the eighth
FIGS. 6 to 8.                                                        embodiment aspect of a point-to-multipoint communication
   If it is concluded that a signal transmission instruction has     system for accommodating video signals generated by a
been issued, the service class for which this transmission           variable-rate signal compression protocol as a service class
instruction has been issued is identified. Following such 25 requiring variable-length data transmissions at a specific
identification, the signal of the pertinent service class tem-       period T, and for accommodating data signals as a service
porarily stored in the buffer memory 15 is retrieved, a              class with sporadic data transmissions.
signal-transmitting cell is created, and this cell is transmitted       Variable-rate signal compression is a sign format in which
via the transmission unit 13.                                        a large number of signs are used per unit of time when the
   The seventh embodiment aspect will now be described in 30 original video signal is a rapidly changing image, and the
further detail with reference to FIG. 57.                            number of signs per unit of time is kept low when,
   In FIG. 57, a single frame comprises 12 slots. The voice          conversely, the image changes only slightly. Excluding
signal ports of the slave units 1-3 are active, as are the data      special cases, video signals generated by the variable-rate
signal ports of the slave units 1-4. Seven slots are assigned        signal compression protocol will be referred to hereinbelow
to the specific maximum value k for the enabling amount 35 merely as video signals when mentioned in connection with
Gdi that allows data signals to be transmitted.                      the eighth embodiment aspect.
   In FIG. 57, time progresses from left to right. At the time          In FIG. 65, the slave unit 10 comprises input units llb,
corresponding to the left end of FIG. 57, the information            llc connected to a video signal input port and a data signal
amounts of the voice signals of the slave units 1-3 each             input port; an output unit 12 connected to an output port; a
correspond to a single slot, and the storage amounts Rdi of 40 transmission unit 13 connected to a transmission port; a
the data signals of the slave units 1-4 are Rdl=lO0 slots,           reception unit 14 connected to a reception port; a buffer
Rd2=2 slots, Rd3=4 slots, and Rd4=150 slots, respectively.           memory 15 for temporarily storing information signals from
   The enabling amounts that allow data signals to be                the input ports as separately grouped video signals and data
transmitted are first calculated. Here, k=7 slots, so Gdl=7,         signals; a counter 16 for counting the storage amounts of the
Gd2=2, Gd3=4, and Gd4=7. In addition, the following 45 data signals and video signals stored in the buffer memory
values are selected as the storage amounts Rdi of data               15; and a control unit 17 for informing the master unit 20
signals when the Gdi values are calculated: Rdi=93, Rd2=0,           about the storage amounts of data signals and the storage
Rd3=0, and Rd4=143. For the sake of simplicity, the time             amounts of the video signals counted by the counter 16,
needed for calculation and allocation procedures is ignored          performing other control procedures, and outputting the
here.                                                             50 video signals and data signals stored in the buffer memory
   At the time corresponding to the left end of FIG. 57, slot        15 to the transmission unit 13 for each service class in
allocation is started for the data signals of the slave unit 1,      accordance with the instructions from the master unit 20.
and the slots of the data signals of the slave unit 1 are               In the eighth embodiment aspect, the slave units 10 for
allocated at the left end of FIG. 57.                                transmitting video signals and data signals to the master unit
   With the next slot, flag 1 is raised to indicate the start of 55 20 first temporarily store the video signals and data signals
the period during which voice signals are transmitted as a           to be transmitted in the buffer memory 15, and then report
result of the timer procedure shown in FIG. 60. In the               the storage amounts of the video signals and data signals
procedure for issuing transmission instructions that is shown        thus stored to the master unit 13 via the transmission unit 13
in FIG. 62, flag 1 is detected, and instructions to transmit         in accordance with the instructions from the master unit 20.
voice signals are issued. As a result, instructions for the 60 Here, i=l, 2, ... , m, where i indicates individual slave units
slot-wise transmission of the voice signals in the slave units       10-1 to 10-m, and mis the total number of the slave units
1-3 are issued according to the information amounts                  10-1 to 10-m (mis an integer).
Gvl-Gv3 for the slave units 1-3 stored in the storage unit              In the eighth embodiment aspect, the transfer rate of video
26 of the master unit 20.                                            signals varies from one moment to the next, so the storage
   Transmission of the data signals in the slave unit 1 is 65 amounts of video signals are reported to the master unit 20
restarted after transmission instructions have been issued for       in the same manner as the storage amounts of data signals
the voice signals. In the process, Gdl is limited to the             according to the instructions from the master unit 20. The

                                                         Appx3831
                                                     US 6,778,557 Bl
                              53                                                                   54
reporting is performed in a manner identical to the seventh        (9), where rvci (b/s) is the maximum band of the video
embodiment aspect in accordance with the flowchart shown           signals accommodated by the slave units 10-1 to 10-m.
in FIGS. 6 to 10.                                                     The minimum value rdmin of the transfer rate for data
   FIG. 66 is a diagram depicting an upstream transmission         signals can be defined as Eq. (10).
frame for the point-to-multipoint communication system 5              In addition, the video signals of slave units 10-1 to 10-m
according to the eighth embodiment aspect.                         are usually unrelated to each other, and the sum total of the
   Here, the eighth embodiment aspect differs from the             transfer rates of video signals can be expected to be rvce,
seventh embodiment aspect in that the periodically assigned        which is a value that is commonly lower than the aforemen-
video signal slots have variable length.                           tioned rvc as a result of a statistical multiplexing effect. For
   Specifically, the eighth embodiment aspect differs from 10 this reason, the statistical multiplexing effect is added, and
the seventh embodiment aspect in that two slots are used for       the parameter can be defined as
the video signals of the slave unit 2 in a frame, and another
                                                                           rdmin=r-rvce                                          (12)
two slots are used for the video signals of the slave unit 3 in
a subsequent frame.                                                   In addition, the transfer rate r of the entire transmission
   Similar to the seventh embodiment aspect, the master unit 15 line can be used as rdmin when the band for using video
20 is configured as shown in FIG. 3. In addition, the storage      signals is sufficiently narrow compared with the transfer rate
unit 26 of the master unit 20 is configured as shown in FIG.       of the entire transmission line (for example, 1/10 or less), the
58 in the same manner as in the seventh embodiment aspect.         allowed delay time td for data signals is several milliseconds
   The storage unit 26 is provided with an information             or greater, and the allowed value of the delay time for data
amount table 1 (FIG. 58(a)) for storing the storage amounts 20 signals is not strictly defined.
for the video signals reported by the slave units 10-1 to             The number of currently active slave units in Eq. (2) is
10-m, an information amount table 2 (FIG. 58(b)) for storing       counted by the master unit 20. To achieve this, it may be
the storage amounts for data signals, an enabling amount           suggested, for example, that the slave units 10-1 to 10-m
table 1 (FIG. 58(c)) for storing the enabling amounts that         responding to transmission instructions issued by the master
allow the slave units to transmit video signals, and an 25 unit 20 for these slave units 10-1 to 10-m be counted as
enabling amount table 2 (FIG. 58(d)) for storing the enabling      being currently active.
amounts that allow the slave units to transmit data signals.          The transmission instructions in the eighth embodiment
   The initial values of the information amounts Rvi, Rdi and      aspect are identical to those of the seventh embodiment
the enabling amounts Gvi, Gdi in the tables are zeroes, and        aspect, and can be performed in the same manner by the
values individually assigned to the slave units 10-1 to 10-m 30 processes shown in FIGS. 59 to 64.
are written to the ID numbers i of the slave units 10-1 to            A ninth embodiment aspect of the present invention will
10-m.                                                              now be described.
   In the storage unit 26, where cells for submitting infor-          In the transmission of images and other video signals via
mation amount reports are received from the reception unit         the Internet, a certain amount of delay or data loss is often
24, the storage amounts reported and the ID numbers of the 35 tolerated. The ability to periodically transmit data is required
slave units 10-1 to 10-m written to the cells are read for each    in these cases as well because of the presence of periodic
service class, and, based on the values thus read, the storage     changes in the images relayed by such video signals. The
amounts Rdi for the data signals are updated, as are the           ninth embodiment aspect will be described with reference to
storage amounts Rvi for the voice signals that match the ID        a point-to-multipoint communication system in which some
numbers of the slave units 10-1 to 10-m in the information 40 delay or data loss is tolerated but in which data signals and
amount tables.                                                     video signals are transmitted in a manner such that the data
   In the control unit of the master unit 20, the enabling         is transmitted with a specific period T.
amounts Gdi that allow the slave units 10-1 to 10-m to                A distinctive feature of the ninth embodiment aspect is
transmit data signals are calculated at no more than a specific    that enabling amounts are calculated in the same manner as
maximum value k (bits) on the basis of the information 45 in FIG. 61 for video signals as well. Specifically, enabling
amount tables of the storage unit 26.                              amounts Gvi that allow the slave units 10-1 to 10-m to
   Here, the specific maximum value k is set such that Eq.         transmit signals are also calculated for video signals by the
(8) is satisfied, where mis the total number of the slave units    control unit 27 of the master unit 20 at no more than a
10-1 to 10-m, a is the proportion of currently active slave        specific maximum value kv (bits) on the basis of the
units 10-1 to 10-m (O<a~l.O), rdmin (b/s) is the minimum 50 information amount tables of the storage unit 26.
value of the data transfer rate for data signals, and td (s) is       Here, the specific maximum value kv is set such that the
the delay.time allowed for data transmission and determined        following relation is satisfied:
by the system. The allowed delay time td for a service class
requiring variable-length data transmissions at period T can               kv~(rvmaxxtv)+( avxm)                                (13),
be made equal to the period T. Specifically,                    55
                                                                   where m is the total number of slave units, av is the
                                                            (11) proportion of the currently active video signal input ports of
                                                                 the slave units (O<av~ 1.0), rvmax (b/s) is the maximum
   The proportion a of currently active slave units 10-1 to      value of the data transfer rate for video signals, and tv (s) is
10-m is given by Eq. (2), where a=l.0 when all the slave         the delay time allowed for data transmission and determined
units are currently active.                                   60
                                                                 by the system. The delay time tv allowed for video signals
   For a video signal transmission service, which differs        can be made equal to the period T. Specifically,
from a data signal service by more rigorous specifications
related to delay and data loss, the maximum value of the                                                                      (14)
service range is often established when the contract is taken
                                                                    The proportion av of the currently active video signal
out. For a service whose maximum band is established when 65
                                                                 ports of slave units 10-1 to 10-m is given by
a contract is taken out in such a manner, the sum total rvc
(b/s) of the maximum band of video signals is given by Eq.              av-(Number of currently active slave units )+m       (15),

                                                          Appx3832
                                                     US 6,778,557 Bl
                             55                                                                   56
where av=l.0 when the video signal ports of all the slave              A tenth embodiment aspect of the present invention will
units are currently active. In addition, rvmax is set by the        now be described with reference to FIGS. 68 to 73.
system in accordance with, among other things, the number              The point-to-multipoint communication system of the
of subscribers who transmit video signals.                          tenth embodiment aspect of the present invention comprises
   After a maximum value kv has been established for video 5 a service class s0 requiring data transmissions at a specific
signals in such a manner, the enabling amounts Gdi that             period T, and two service classes sl and s2 for sporadic data
allow the slave units 10-1 to 10-m to transmit data signals         transmissions.
are calculated by the control unit 27 of the master unit 20 at         The two service classes accommodated are a service class
no more than the specific maximum value k (bits) on the             sl in which the delay time allowed for data transmissions is
basis of the information amount tables of the storage unit 26.
                                                                 10 tl, and a service class s2 in which the delay time allowed for
   Here, the specific maximum value k is set such that Eq.
                                                                    data transmissions is t2.
(8) is satisfied, where mis the total number of the slave units
10-1 to 10-m, a is the proportion of currently active slave            Information signals for the real-time transmission of
units 10-1 to 10-m (0<a~l.0), rdmin (b/s) is the minimum            voice, video, and other multimedia signals over the Internet
value of the data transfer rate for data signals, and td (s) is     using a protocol referred to as UDP can be cited as an
the delay time allowed for data transmission and determined 15 example of signals accommodated by a service class whose
by the system. The proportion a of currently active slave           allowed delay time is tl.
units 10-1 to 10-m is given by Eq. (2), where a=l.0 when               Information signals for regular Web access or file transfer
all the slave units 10-1 to 10-m are currently active.              can be cited as an example of signals accommodated by a
   The following can also be written.                               service class whose allowed delay time is t2. Such trans-
                                                                 20 mission is commonly accomplished using a set of protocols
        rdmin=r-rvmax                                       (16)    referred to as TCP.
   Furthermore, the delay time td allowed for data signals is          In FIG. 68, the slave unit 10 comprises input units 11-1,
set on the basis of the type of service or the like handled by      11-2, and 11-3 connected to an input port for the service
the system. A value of about 0.1-1 sis considered appro-            class s0, an input port for the service class sl, and an input
priate for regular Internet access or another type of data- 25 port for the service class s2; an output unit 12 connected to
based service in which some delay is allowed, taking into           an output port; a transmission unit 13 connected to a
account, among other things, the imperceptible time that            transmission port; a reception unit 14 connected to a recep-
elapses until a signal transmission is completed.                   tion port; a buffer memory 15 for temporarily storing infor-
   About 30 ms is appropriate as the allowed delay time for         mation signals from the input ports for each service class; a
video signals, taking into account the frame pitch of regular 30 counter 16 for counting the storage amounts of the infor-
TV signals.                                                         mation signals of each service class stored in the buffer
   FIG. 67 is a flowchart depicting the overall relation            memory 15; and a control unit 17 for informing the master
among the procedures pertaining to transmission instruc-            unit 20 about the storage amounts of the information signals
tions in a ninth embodiment aspect. The ninth embodiment            of each service class counted by the counter 16, performing
aspect is different from the seventh embodiment aspect in 35 other control procedures, and outputting the information
that the transmission-enabling amounts are calculated for           signals of each service class stored in the buffer memory 15
video signals as well.                                              to the transmission unit 13 for each service class in accor-
   In FIG. 67, the following features are identical to those of     dance with the instructions from the master unit 20.
the seventh embodiment aspect: the operation of the period             In the structure in FIG. 68, it is not always necessary to
timer shown in FIG. 60, the procedure for calculating the 40 provide an input port for each service class. In particular,
enabling amounts for data transmission shown in FIG. 61,            when the service class sl is the aforementioned UDP, and
the transmission instruction procedure shown in FIG. 62,            the service class s2 is the aforementioned TCP, it is possible
and the data signal transmission procedure shown in FIG.            to adopt an arrangement in which the two service classes can
64.                                                                 be distinguished from each other using protocol numbers
   In addition, the procedure for calculating the enabling 45 attached to the input packets of the service classes.
amounts for video signals (step 644) is arrived at by sub-             In the structure in FIG. 68, the storage amounts classified
stituting the data storage amount Rdi for Rvi, the enabling         by service class and counted by the counter 16 are conveyed
amount Gdi for Gvi, and the specific maximum value k for            by the slave units 10-1 to 10-m to the master unit 20 via the
kv in the procedure for calculating the enabling amounts for        transmission unit 13 in accordance with instructions from
data transmission shown in FIG. 61.                              50 the master unit 20.
   Although the seventh to ninth embodiment aspects above              In the master unit 20 that have received a notification
were described with reference to voice signals as the service       concerning the storage amounts for each service class from
class requiring periodic fixed-length data transmissions, and       the slave units 10-1 to 10-m, this notification is received by
video signals as the service class requiring periodic variable-     the reception unit 24 shown in FIG. 3, and the storage
length data transmissions, it is also possible to accommodate 55 amounts for each of the service classes thus received are
service classes in which the voice signals must be subjected        stored in the storage unit 26.
to voice coding at a variable rate, and variable-length data           FIGS. 69a, 69b, 69c, 69d, 69e, and 69/ depict the structure
transmissions performed periodically.                               of the storage unit 26 according to the tenth embodiment
   It is also possible to accommodate service classes in            aspect.
which the video signals must be subjected to image coding 60           Consistent with this embodiment, the storage unit 26 is
at a fixed rate, and fixed-length data transmissions per-           provided with information amount tables 1-3 (FIGS. 69a to
formed periodically.                                                69c) for storing, as a separate category for each service class,
   Service classes requiring periodic fixed-length data trans-      storage amounts related to the data signals reported by the
missions may also be accommodated by the point-to-                  slave units 10-1 to 10-m; and enabling amount tables 1-3
multipoint communication system of the eighth or ninth 65 (FIGS. 69d to 69!) for storing, as a separate category for
embodiment aspect, in which periodic variable-length data           each service class, enabling amounts that allow the slave
transmissions are required.                                         units 10-1 to 10-m to transmit data signals.

                                                         Appx3833
                                                         US 6,778,557 Bl
                                57                                                                        58
   The initial values of the information amounts R0i, Rli,              The proportion al of currently active slave units is given
R2i and the enabling amounts G0i, Gli, G2i in the tables are         by
zeroes, and values individually assigned to the slave units
10-1 to 10-m are written to the ID numbers i of the slave                    al=(Number of currently active slave units in each service
                                                                                 class)+m                                               (21),
units 10-1 to 10-m.                                                5
   In the storage unit 26, where cells for submitting storage        where al=l.0 when the service classes of all slave units are
amount reports are received from the reception unit 24, the          currently active.
storage amounts reported and the ID numbers of the slave
units 10-1 to 10-m written to the cells are read for each                    rlmin+r2min=r-r0max                                         (22)
service class, and, based on the values thus read, the storage 10
amounts R0i-R2i for the data signals of each service class              The allowed delay time for s0 is about 1 ms, assuming
are updated where a match is achieved with the ID numbers            that, for example, regular telephone or ISDN signals are
of the slave units 10-1 to 10-m in the information amount            accommodated by a service class s0 in which data is
tables.                                                              transmitted at a specific period T. An allowed delay time of
   In the control unit 27 of the master unit 20, the enabling 15 about 30 ms is considered appropriate for service class sl,
amounts G0i to G2i that allow the slave units 10-1 to 10-m           taking into account the frame pitch of regular TV signals
to transmit the data signals of each service class as signals        adopted for video transmissions.
classified by service class are calculated at no more than              With service class sl, therefore, data is actually transmit-
specific maximum values k0 to k2 (bits) on the basis of the          ted at a period of about T =tl. In addition, service class 2
information amount tables of the storage unit 26.                 20
                                                                     accommodates regular Internet access or another type of
   Calculated first is the enabling amount G0i for a service         data-based service in which some delay is allowed, and a
class s0 with periodic data transmission requirements.               value of about 0.1-1 s is considered appropriate for the
   Here, the specific maximum value k0 is set such that the          allowed delay time tl, taking into account, among other
following relation is satisfied:                                     things,   the imperceptible time that elapses until a signal
                                                                  25
                                                                     transmission is completed.
        kO;c; (r0maxxtO)+(a0xm)                             (17),       As noted above, the tenth embodiment aspect is config-
                                                                     ured such that the delay time tl allowed for data transmis-
where m is the total number of the slave units 10-1 to 10-m,         sion is reduced in the case of the service class s2 because
a0 is the proportion of the currently active video signal input      service class sl is primarily used for transmitting data in real
ports of the slave units 10-1 to 10-m (0<a0~ 1.0), r0max             time. Consequently, the transfer rate will first be secured for
                                                                  30
(b/s) is the maximum value of the data transfer rate for the         the service class sl, and the remaining transfer rate will be
data signals of service class s0, and t0 (s) is the delay time       allocated to the service class s2. The corresponding maxi-
allowed for data transmission and determined by the system.          mum transmittable information amounts kl and k2 for sl
The allowed delay time t0 for service class s0 can be made           and s2 will therefore be
equal to the period T. Specifically,
                                                                       35        kl<k2                                                    (23)
                                                                (18)
                                                                                  This is because the information amount that can be
   The proportion aO of the currently active data signal ports                 continuously transmitted is reduced for a service with a low
of the slave units 10-1 to 10-m in service class s0 is given                   allowed delay value, and instructions to transmit are given
by                                                                          40 to all the terminals that have stored the information signals
                                                                               of service class sl, for which transmission is to be completed
       a-(Number of currently active slave units in service class s0)-fW),     in a comparatively short time.
                                                                                  FIG. 70 is a flowchart depicting the overall relation
where a0=l.0 when the data signal ports of all the slave
                                                                               among the procedures pertaining to transmission instruc-
units in service class s0 are currently active.
                                                                            45 tions in the tenth embodiment aspect.
   The value of r0max is set by the system in accordance
                                                                                  The tenth embodiment aspect differs from the seventh
with, among other things, the number of subscribers who
                                                                               embodiment aspect in that a procedure for calculating
transmit data signals in service class s0.
                                                                               transmission-enabling amounts is performed for the data
   After a maximum value k0 has been established in such
                                                                               signals of all service classes (steps 654-656) and that the
a manner for the data-signals of service class s0, the
                                                                            50 period-measuring timer operates for the service class 1 as
enabling amounts Gli and G2i that allow the slave units
                                                                               well.
10-1 to 10-m to transmit the data signals of other service
                                                                                  FIG. 71 is a flowchart depicting the period-measuring
classes are calculated by the control unit 27 of the master
                                                                               timer procedure for service class 1 shown in FIG. 70. The
unit 20 at no more than the specific maximum values kl and
                                                                               period-measuring timer procedure for service class s0 is the
k2 (bits) on the basis of the information amount tables of the
                                                                            55 same as the procedure in the flowchart shown in FIG. 60.
storage unit 26.
                                                                                  The procedure in FIG. 71 for calculating the amounts that
   Here, the specific maximum value kl (1=1, 2) is set such
                                                                               allow data to be transmitted can be arrived at by adopting the
that the following relation is satisfied:
                                                                               condition 1=1, 2 and substituting Gdi for Dli, Rdi for Rli,
       kl;c; (rlminxtl)+(alxm)                                        (20),    and k for kl for each service class in the procedure in FIG.
                                                                            60 61 for calculating the amounts that allow data to be trans-
where m is the total number of the slave units 10-1 to 10-m,                   mitted.
al is the proportion of the-currently active service classes of                   FIG. 72 is a flowchart depicting the entire procedure for
the slave units 10-1 to 10-m (0<al~l.0), rlmin (b/s) is the                    issuing transmission instructions according to FIG. 70. In
minimum value of the data transfer rate for the data signals                   FIG. 72, transmission instructions for the service class s0
of each service class, and tl (s) is the delay time allowed for 65 have the highest priority level, and transmission instructions
the data transmission of each service class and determined                     are issued for the service classes sl and s2 after transmission
by the system.                                                                 instructions have been issued for the service class s0.

                                                              Appx3834
                                                       US 6,778,557 Bl
                              59                                                                     60
Between the service classes sl and s2, the service class sl            In this case, the information amount that allows informa-
has a higher priority level, and instructions to transmit are       tion signals to be transmitted can be calculated dynamically
issued at regular intervals for the service class sl before they    and efficiently on the basis of reports from the slave units
are issued for s2.                                                  10-1 to 10-m such that the data transfer rate is utilized with
   FIG. 73 is a diagram depicting the procedure for issuing 5 100% efficiency, so high throughput can be obtained even
instructions to transmit signals for the service class s0           under complex conditions created by greater burst traffic or
according to FIG. 72. An instruction to transmit signals for        an increased number of slave units 10-1 to 10-m.
the service class s0 can be obtained by substituting G0i for           In addition, information amount is reported by service
Gvi and using service class s0 identifiers instead voice            class, and information transmission instructions are issued in
signals identifiers in the instruction for transmitting voice 10 sequence from higher-priority service classes, so the strin-
signals according to FIG. 16.                                       gent delay requirements imposed on higher-priority service
   FIG. 74 is a flowchart depicting the procedure for issuing       classes can be satisfied because the information transmission
instructions to transmit data signals for the service class sl      instructions are issued independently for the higher-priority
according to FIG. 72. An instruction to transmit data signals       service classes even when several megabytes or more are
for the service class sl can be obtained by substituting Gli 15 transmitted in bursts for a lower-priority service class.
for Gvi ( and flag 2 for flag 1) and providing the identifiers         Furthermore, the information amount reported by each
of the service class sl instead of the identifiers for voice        slave unit 10-1 to 10-m is limited to one designed to issue
signals in the instruction to transmit voice signals according      instructions for transmitting signals within a certain time
to FIG. 63.                                                         period. When a particular slave unit 10-1 to 10-m reports a
   An instruction to transmit signals for the service class s2 20 high information amount in excess of several megabytes, the
can be obtained by substituting G2i for Gvi in the instruction      data transmission of this particular slave unit 10-1 to 10-m
to transmit data signals according to FIG. 64.                      has very little effect on the transmission of other slave units
   FIG. 75 is a diagram depicting the frame structure of the        10-1 to 10-m because the transmission does not exceed a
point-to-multipoint communication system according to the           certain limiting value and because no instruction is issued
tenth embodiment aspect. FIG. 75 illustrates a case in which 25 concerning data transmission.
the slave unit 1 uses the service classes s0 and sl, and the           The maximum value k (bits) of data transmission within
slave units 2 and 3 use the service classes s0 and s2.              a certain time period is set such that the following relation
   In the tenth embodiment aspect, bands are invariably             is satisfied:
allocated to the service class s0 at period T. In addition,
                                                                            k~(rxtd)!m,
transmission bands are allocated to the service class sl after 30
they are allocated to the service class s0.                         where mis the total number of slave units 10-1 to 10-m (m
   The result is that a transmission instruction is issued for      is an integer), r (b/s) is the data transfer rate, and td (s) is the
the service class sl of the slave unit 1, and a transmission        delay time allowed for the data transmission and determined
instruction is then issued for the service class sl following       by the system. In the presence of inactive slave units 10-1 to
the transmission of the service class s0, rather than being 35 10-m, the proportion a of active slave units is assumed to be
issued precisely after a period Tl has elapsed. With the            O<a ~ 1.0, and the maximum value k of data transmission
service class s2, an instruction for a continuous transmission      within a certain time period is determined such that the
at G21 (G2i~k) is given using the remaining bands after             following relation is satisfied:
instructions to transmit have been given for the service
                                                                            k~(rxtd)f(axm)
classes s0 and sl.                                               40
   In the tenth embodiment aspect, enabling amounts are                The slave units 10-1 to 10-m can therefore continuously
initially calculated for the service class s0, which requires       transmit large information signals because these stations
that data be periodically transmitted, and the enabling             have exclusive use of the upstream transmission line during
amounts of other service classes are then assigned with             the transmission of information signals whose maximum
respect to the remaining bands. According to this protocol, 45 size is measured ink (bits). When the information amount is
the service class s0 is not necessarily a service class that has    determined on the basis of the above equation, a time of td
periodic data transmission requirements.                            seconds is necessary to transmit signals if all the slave units
   Specifically, preferential transmission instructions can be      10-1 to 10-m transmit kilobits of data, making it possible to
issued using a higher-priority service class or a service class     secure an allowed delay time td for data transmission by all
with a short allowed delay time as the service class s0 of the 50 the slave units 10-1 to 10-m.
fourth embodiment, and using the delay time allowed for                In addition, all the slave units 10-1 to 10-m can invariably
this service class as the period T.                                 transmit their information signals within the allowed delay
   For the sake of simplicity, the maximum value k of the           time td, and are thus assured access fairness.
information amount that allows signals to be transmitted               An eleventh embodiment aspect will now be described.
continuously is assumed to be the same for all the slave units 55      The point-to-multipoint communication system of the
10-1 to 10-m in the seventh to tenth embodiment aspects. In         eleventh embodiment aspect is configured such that when
actual practice, various k-values can be adopted, depending         communication is performed for a plurality of service
on the financial charges or priority level of the slave units       classes that transmit data at a variety of allowed delay times,
10-1 to 10-m.                                                       the communication can be performed with high communi-
   Thus, the seventh to tenth embodiment aspects of the 60 cations efficiency while the stringent communication quality
present invention allow slave units 10-1 to 10-m to transmit        requirements of the service classes are satisfied.
information signals in accordance with the information                 FIG. 76 is a block diagram depicting a detailed structure
amount relayed from the master unit 20, so no signal                of a slave unit for the point-to-multipoint communication
collisions at all occur in the transmission line, and a through-    system according to the eleventh embodiment aspect.
put reduction such as that observed in the case of CSMNCD 65           The overall structure of the point-to-multipoint commu-
is avoided when signals containing several megabytes of             nication system according to the eleventh embodiment
data are transmitted in bursts.                                     aspect is the same as the structure shown in FIG. 1.

                                                           Appx3835
                                                     US 6,778,557 Bl
                              61                                                                   62
   In FIG. 76, the slave unit 10 comprises an input unit 11            The slave units 10-1 to 10-m can transmit cells to those
connected to a plurality of input ports; an output unit 12          slots of the upstream transmission frame that correspond to
connected to an output port; a transmission unit 13 con-            the aforementioned grants when identifiers for requesting
nected to a transmission port; a reception unit 14 connected        the upstream cells of these slave units 10-1 to 10-m are
to a reception port; a buffer memory 15 for temporarily 5 written to the PLOAM cell PLOAMl or the PLOAM cell
storing the signals of a plurality of service classes; a counter    PLOAM2. This method makes it possible to avoid cell
16 for counting the information amount needed to transmit           collisions in the optical transmission line and to transmit
the signals stored in the buffer memory 15 for all the service      signals to the master unit.
classes; and a control unit 17 for submitting reports regard-          In the upstream transmission frame shown in FIG. 4, cells
                                                                    from each of the slave units 10-1 to 10-m are transmitted as
ing the information amount counted by the counter 16 in 10
                                                                    single slots, although it is also possible to transmit cells from
accordance with the instructions from the master unit 20,
                                                                    a plurality of slave units 10-1 to 10-m as single slots by
transmitting the signals temporarily stored in the buffer           segmenting each slot into a plurality of mini-slots. These
memory 15, and performing other control procedures.                 mini-slots are used to provide the master unit 20 with reports
   Although the buffer memory of FIG. 76 stores signals             regarding the information amount necessary to transmit the
belonging to mutually different service classes using a 15 signals stored in the buffer memories of the slave units 10-1
plurality of logical queues, it is also possible to adopt an        to 10-m.
arrangement in which the storage is accomplished using a               The master unit 20 issues instructions as to which slave
plurality of physical buffer memories.                              units 10-1 to 10-m can transmit a mini-cell to a particular
   The service classes should be established based on the           mini-slot inside the upstream transmission frame by per-
allowed delay times of the signals transmitted by the slave 20 forming a procedure whereby an identifier for requesting the
units 10-1 to 10-m to the master unit 20. In the present            information amount of a particular slave units 10-1 to 10-m
embodiment aspect, signals having a comparatively short             is written to a grant of the PLOAM cell PLOAMl or the
allowed delay time constitute a higher-priority service class,      PLOAM cell PLOAM2.
and signals having a comparatively long allowed delay time             The slave units 10-1 to 10-m can transmit mini-cells to
constitute a lower-priority service class.                       25 those mini-slots of the upstream transmission frame that
   The service classes may also be established based on the         correspond to the aforementioned grants when identifiers for
importance, traffic characteristics, and other properties of the    requesting the information amount of these slave units 10-1
signals transmitted to the master unit 20.                          to 10-m are written to the PLOAM cell PLOAMl or the
                                                                    PLOAM cell PLOAM2. This method makes it possible to
   With the transmission of video signals coded, for
                                                                    avoid mini-cell collisions in the optical transmission line 30
example, by discreet cosine transform or another coding 30
                                                                    and to provide the master unit 20 with reports regarding the
technique, it is possible to adopt an arrangement in which          information amount necessary to transmit the signals of all
signals composed of low-frequency components (principal             service classes stored in the buffer memories.
portion of an image) constitute a higher-priority service              The access protocol according to the point-to-multipoint
class, and signals composed of high-frequency components            communication system of the eleventh embodiment aspect
(detailed portions) constitute a lower-priority service class. 35 will now be described.
   In the eleventh embodiment aspect, the transmission                 First, ID numbers for identifying the slave units 10-1 to
frames shown in FIG. 4 are adopted as the upstream and              10-m are managed by the master unit 20, and these ID
downstream transmission frames of the optical transmission          numbers are conveyed during the initial stage to all the slave
line. Specifically, a downstream frame comprises 56 slots,          units 10-1 to 10-m participating in the operation of the
and an upstream frame comprises 53 slots. Based on these 40 system. By virtue of these ID numbers, the master unit 20
transmission frames, 53- and 56-byte cells are exchanged            can trace a cell to a particular slave unit 10-1 to 10-m, and
downstream and upstream, respectively, in accordance with           each of the slave units 10-1 to 10-m can determine whether
the IDM (Time Division Multiplex) multiplexing protocol             the cell it has received is addressed to this station.
in the case of the downstream transmission from the master             Signals such as voice, video, or data are input from a
unit to slave units, and in accordance with the TDMA(Time 45 terminal or other network to a plurality of input ports of the
Division Multiple Access) multiplexing protocol in the case         slave unit 10 shown in FIG. 76, and these signals are sent to
of the upstream transmission from the slave units to the            the buffer memory 15 via the input unit 11 and are tempo-
master unit.                                                        rarily stored in the logical queue of each service class in the
   An upstream cell contains a 3-byte overhead, and down-           buffer memory 15.
stream transmission frames contain two PLOAM cells per 50              Each input port may be set up to uniquely define the input
frame in a ratio of one cell for every 28 cells. The initial        signals, as is the case with telephone, video, Ethernet, or
PLOAM cell 1 has 27 grants for requesting upstream cells            ATM. The signals stored in the buffer memory 15 may be
from the slave units, and the second PLOAM cell 2 has 26            arranged in cells or packets while stored in the buffer
grants, to a total of 53 grants.                                    memory 15, such as ATM cells or Ethernet packets, for
   In addition, the frame shown in FIG. 25 is adopted as the 55 example. Another feature of the eleventh embodiment aspect
correspondence between the grants of a PLOAM cell and the           is that the input signals have good consistency when
slots of an upstream transmission frame. Here, the initial          arranged as 53-byte units because each slot of the down-
PLO AM cell 1 of the downstream transmission frame has 27           stream transmission frame and each slot of the upstream
grants for requesting upstream cells from the slave units, and      transmission frame ( excluding the overhead) has 53 bytes,
the second PLOAM cell 2 has 26 grants, to a total of 53 60 as in the case of the transmission frames shown in FIG. 4.
grants.                                                                When, for example, variable-length Ethernet packets are
   The master unit 20 issues instructions as to which slave         input, these packets should be segmented in the input unit 11
unit can transmit a cell to a particular slot inside the            into fixed-length cells (each of which comprises 53 bytes),
upstream transmission frame by performing a procedure               and stored in the queues in the buffer memory 15. In this
whereby an identifier for the upstream cell of a particular 65 case, the information for reconstructing the packets on the
slave unit is written to the PLOAM cell PLOAMl or the               side of the master unit 20 may be included in some of the 53
PLOAM cell PLOAM2.                                                  bytes.

                                                          Appx3836
                                                     US 6,778,557 Bl
                              63                                                                   64
   In the counter 16 of the slave unit 10 shown in FIG. 76,          reception unit 14, it is determined based on the addresses
the information amount necessary to transmit the signals of          written to the cells whether the received cells are addressed
all service classes temporarily stored in the buffer memory          to the slave unit 10 in question. If the cells are indeed
15 causes the number of cells or slots necessary for such            addressed to the slave unit 10 in question, cell type is
signal transmission to be counted in integral units. In the 5 determined based on the cell identifiers written to the cells.
upstream transmission frame shown in FIG. 4, for example,            The identified cells are sent to the control unit 17 if they are
the information amount is counted such that 53 bytes                 PLOAM cells, and to the output unit 12 in all other cases.
constitute one unit because the signals are transmitted using           Once the PLOAM cells are received by the control unit 17
53 bytes (excluding the overhead).                                   via the reception unit 14, it is checked on the basis of the
   Examples of recommended counting methods include
                                                                  10 identifiers written to the grants of the PLO AM cells whether
methods in which counting is performed as required in
                                                                     an instruction has been issued to transmit a signal or to
accordance with the input of signals to the buffer memory 15
and the output of signals from the buffer memory 15, and             submit  an information amount report. If it is concluded that
methods in which the counting is based on the difference             the information amount of these slave units 10-1 to 10-m has
between the start address and the end address of a signal            been requested by the master unit 20, a mini-cell containing
stored as FIFO in the buffer memory 15. The information 15 at least the ID numbers of these slave units 10-1 to 10-m and
amount may be the absolute value of a signal stored in the           the information amount counted by the counter 16 is created,
buffer memory 15, or it may be a differential value based on         and this mini-cell is sent via the transmission unit 13 by
the previous report.                                                 means of the mini-slots in the upstream transmission frame
   Although the information amount may also be counted as            that correspond to the grants instructed to issue a report.
an integral value using bits or bytes as units, counting this 20        Information amount is reported using either one or both of
amount as the number of cells or slots needed to transmit a          the absolute values counted by the counter 16 and the
signal is effective because it reduces the values reported to        differential values based on the previous report. If it is
the master unit 20. If the stored signal is less than 53 bytes,      concluded that the upstream cells of the slave units 10-1 to
a single cell or slot may be counted as the one necessary for        10-m have been requested by the master unit 20, signals are
transmission, and the counting may be stopped before 53 25 retrieved in sequence from the queues of the buffer memory
bytes are reached.                                                   for which the service class has the highest priority level,
   Described below is a method in which the master unit 20           cells for transmitting these signals are created, and the cells
uses PLOAM cells to instruct slave units 10-1 to 10-m to             thus created are transmitted via the transmission unit 13 by
issue reports regarding the information amount necessary to          means of the slots in the upstream transmission frame that
transmit. signals, and instructions to transmit signals are 30 correspond to the grants instructed to issue a report.
given based on the information amount reported by the slave             When, for example, upstream cells amounting to 8 cells
units 10-1 to 10-m.                                                  are requested by the master unit 20 in a case in which signals
   First, identifiers for requesting specific slave units 10-1 to    are stored in the queues of the service classes 1 to 3 in the
10-m to submit information amount reports are written by             buffer memories 15 of the slave units 10-1 to 10-m (as
the master unit 20 to the grants of a PLO AM cell on the basis 35 shown in FIG. 77), 2-, 4- and 2-cell signals are retrieved
of the period with which the slave units 10-1 to 10-m are            from the queues of the service classes 1, 2, and 3,
instructed to issue the information amount reports.                  respectively, and these signals are sequentially transmitted
   Next, enabling amounts-that allow the slave units 10-1 to         to the master unit 20. For a case in which signals are
10-m to transmits signals are calculated at no more than a           retrieved from the queues of a buffer memory 15, it is
specific maximum value k (bits) in accordance with the 40 possible to adopt an arrangement in which the service
information amount reported by the slave units 10-1 to               classes involved are weighted, and signals stored in the
10-m, and identifiers for requesting the transmission of             queue of each service class are transmitted at an appropriate
upstream cells to specific slave units 10-1 to 10-m are              ratio.
written on the basis of these enabling amounts.                         With such a structure, the slave units 10-1 to 10-m have
   Here, the specific maximum value k is set such that Eq. 45 exclusive use of the upstream transmission line and can
(1) is satisfied, where m is the total number of slave units         continuously transmit signals at no more than the enabling
10-1 to 10-m, a is the proportion of currently active slave          amounts indicated by the master unit 20 in sequence from
units (0<a~ 1.0), r (b/s) is the data transfer rate, and td (s)      signals belonging to a high-priority service class.
is the delay time allowed for data transmission and deter-              A twelfth embodiment aspect of the present invention will
mined by the system. The proportion a of currently active 50 now be described.
slave units 10-1 to 10-m is given by Eq. (2), where a=l.0               The twelfth embodiment aspect allows communications
when all the slave units 10-1 to 10-m are currently active.          efficiency to be improved by adopting a structure in which,
   The data transfer rate r in Eq. (1) is the rate at which          for example, the interval at which the master unit 20
signals can actually be transmitted as upstream transmission         instructs the slave units 10-1 to 10-m to issue information
frames, and the delay time td allowed for data transmission 55 amount reports is dynamically updated in the structure
is set on the basis of the type of service or the like handled       shown in FIG. 1, and instructions to submit information
by the system. The specifics of the method whereby the               amount reports or to transmit signals are issued with the aid
enabling amounts are calculated and the identifiers are              of the unused grants of the PLOAM cell PLOAMl or the
written to the grants of PLOAM cells are the same as in the          PLOAM cell PLOAM2.
first embodiment aspect.                                          60    The interval for issuing instructions to submit information
   Following is a description of a method whereby the slave          amount reports is kept narrow by the control unit 17 of a
units 10-1 to 10-m provide the master unit 20 with reports           slave unit 10 when, for example, the volume of traffic from
regarding the information amount necessary to transmit the           the slave units 10-1 to 10-m shown in FIG. 76 to the master
signals of all service classes, and a method whereby the             unit 20 is low, and the load on the transmission line is light.
signals stored by the buffer memory 15 are transmitted.           65 Variations in the information amount of the slave units 10-1
   In the slave unit 10 shown in FIG. 76, cells are received         to 10-m can thus be identified by the master unit 20 at a
by the reception unit 14 via the reception port. In the              higher speed. In addition, the master unit 20 can be more

                                                          Appx3837
                                                    US 6,778,557 Bl
                             65                                                                  66
flexible in issuing signal transm1ss10n instructions under         priority during the transmission of signals whose maximum
conditions of varying information amount from the slave            size is measured ink (bits). Another feature is that when an
units 10-1 to 10-m, making it possible to reduce the latency       enabling amount is determined on the basis of the above
time elapsed before a slave unit 10-1 to 10-m transmits a          equation, a time of td seconds is necessary for the transmis-
signal.                                                          5 sion if all the slave units 10-1 to 10-m transmit k (bit)
   Conversely, the interval for issuing instructions to submit     signals, making it possible to secure an allowed delay time
information amount reports is kept wide when the volume of         td for the transmission of data by all the slave units 10-1 to
traffic from the slave units 10-1 to 10-m to the master unit       10-m. All the slave units 10-1 to 10-m can invariably
20 is high, and the load on the transmission line is consid-       transmit their signals within the allowed delay time of td
erable. The throughput can thus be increased even further 10 seconds, making it possible to ensure access fairness and to
because of the ability to broaden the transmission band            yield the delay time allowed for data transmission.
within which signals can be transmitted along the transmis-           FIG. 78 is a diagram depicting the transmission frames
sion line.                                                         adopted in a thirteenth embodiment aspect of the present
   Another feature is that when unused grants remain in a          invention, FIG. 79 is a diagram depicting the structure of a
PLOAM cell after the master unit 20 has issued a signal 15 slave unit, and FIG. 80 is a diagram depicting the structure
transmission instruction for the information amount reported       of the master unit.
by all the slave unit 10-1 to 10-m, these slave units 10-1 to         In FIG. 78, the transmission frames adopted in the thir-
10-m are instructed to submit information amount reports           teenth embodiment aspect employ a time-division duplex
using these grants. The result is that communications effi-        (TDD) transmission protocol, and the following two types of
ciency can be improved by performing a look-ahead proce- 20 signals are transmitted by being allocated unique time slots:
dure for the information amount of each slave unit 10-1 to         downstream signals from the master unit 20 to the slave
10-m.                                                              units 10-1 to 10-m, and upstream signals from the slave units
   In addition, each slave unit 10-1 to 10-m is sequentially       10-1 to 10-m to the master unit 20.
instructed to transmit signals by means of the unused grants          Specifically, a transmission frame is divided between a
of the PLOAM cell. In such an arrangement, signal trans- 25 control channel and a data channel, with the front portion
mission instructions are constantly received from the master       serving as the control channel.
unit 40, making it possible to reduce the latency time elapsed        Furthermore, the front portion of the control channel is
before the slave units 10-1 to 10-m can transmit signals.          used as a control channel for the downstream direction (the
   Thus, the eleventh and twelfth embodiment aspects of the        direction from the master unit 20 to the slave units 10-1 to
present invention are such that the slave units 10-1 to 10-m 30 10-m; hereinafter referred to as "the downstream
provide the master unit 20 with reports regarding the infor-       direction"), and the back portion is used as a control channel
mation amount necessary to transmit the signals of all             for the upstream direction (the direction from the slave units
service classes, and the master unit 20 issues signal trans-       10-1 to 10-m to the master unit 20; hereinafter referred to as
mission instructions on the basis of the information. amount       "the upstream direction").
reported by the slave units 10-1 to 10-m, making it possible 35       The control channel is assigned time slot numbers from
to prevent any signal collisions from occurring in the             #1 to #n. These time slots are adaptively distributed by the
transmission line, and the throughput from being reduced           master unit 20 between the upstream direction and the
under conditions of increased traffic volume.                      downstream direction.
   When, for example, comparatively large files are trans-            The number of bytes of information constituting a single
ferred while the slave units 10-1 to 10-m transmit images, 40 time slot is determined depending on the system. For
the files can be transferred with high efficiency without          example, time slots containing 53 bytes of information are
compromising image quality. It is also possible to achieve         preferred for transferring data in an A1M (asynchronous
further improvements in communications efficiency by               transfer mode). Any other number of bytes does not pose any
dynamically updating the intervals at which the slave units        problems as long as the length is fixed.
10-1 to 10-m are instructed to submit information amount 45           A certain guard time is needed, considering that there are
reports, or by issuing instructions pertaining to the informa-     cases in which upstream signal time slots follow down-
tion amount or signal transmission by means of unused              stream signal time slots, or cases in which upstream time
grants.                                                            slots continuously arrive from various slave units 10-1 to
   The enabling amounts that allow signals to be transmitted       10-m. Reducing the number of bytes of information in a
can be calculated dynamically and efficiently on the basis of 50 single time slot yields lower efficiency because of the
reports from the slave units 10-1 to 10-m such that the data       resulting overhead.
transfer rate is utilized with 100% efficiency, so high               The configuration information of a data channel is entered
throughput can be obtained even under complex conditions           into the downstream control channel shown in FIG. 78. The
created by greater burst traffic or an increased number of         time slots of the data channel are assigned numbers from #1
slave units. The maximum value k (bits) of the enabling 55 to #n, and the downstream control channel is provided with
amounts is set such that the following relation is satisfied:      time slots whose amount corresponds to the quantity of time
                                                                   slot numbers in the data channel.
        k~(rxtd)+(axm),
                                                                      An identifier for specifying whether the time slot #j in the
where m is the total number of slave units (m is an integer),      data channel is an upstream or downstream slot is first
a is the proportion of currently active slave units 60 entered into the No. j slot (CONT #j; j=l, ... , n) of the
(0<a~ 1.0), r (b/s) is the data transfer rate, and td (s) is the   downstream control channel. Addresses indicating the slave
delay time allowed for data transmission and determined by         units 10-1 to 10-m are then entered in the case of down-
the system. The slave units 10-1 to 10-m can therefore have        stream data, and transmission-enabling addresses are
exclusive use of the upstream transmission line and con-           entered in the case of upstream data.
tinuously transmit large information signals at no more than 65       The upstream control channel shown in FIG. 78 contains
the enabling amounts indicated by the master unit 20 in            the amount of data and other parameters stored in the data
sequence from signals whose service classes have high              buffer memories of the slave units 10-1 to 10-m. The number

                                                         Appx3838
                                                     US 6,778,557 Bl
                             67                                                                  68
of time slots in the upstream control channel is not limited          A memory read signal is output to the buffer memory 702
to the number of slave units 10-1 to 10-m. The arrangement         when the time slot numbers arrive at the TDMA transmis-
may also comprise a plurality of transmission frames if the        sion frame generator 703. Data is read from the buffer
number of slave units 10-1 to 10-m exceeds the number of           memory 702, converted to transmission frame form, and
time slots.                                                      5 output to the transmission unit 704.
   Transmission frames were described here as one possible            In FIG. 80, the master unit 20 is connected to a backbone
embodiment, but the transmission frames are not limited to         network unit, and data signals that are output from this
the embodiment described herein. It is, for example, pos-          backbone network unit are first transmitted and terminated
sible to transmit signals along different transmission lines or    by an input interface unit 801, and are then correlated by a
within different frequency bands upstream and downstream. 10 destination address verification unit 802 with data signal
In such cases, the downstream transmission frame comprises         addresses and physical slave unit addresses. In the case of
a downstream control channel and a downstream data                 data composed of IP (Internet Protocol) frames, for example,
channel, and the upstream transmission frame comprises an          a map is provided for correlating IP frame addresses and
upstream control channel and an upstream data channel. In          slave unit addresses, and the slave unit address is derived in
such cases, downstream signals are continuous frames (or 15 accordance with this match.
TDM), and upstream signals are burst signals (or TDMA).               The destination address verification unit 802 outputs
   The main point here is that the time slots of the upstream      control signals having slave unit addresses in accordance
control channel are preset, and the master unit 20 is con-         with the match, and outputs data signals to a TDMA
figured such that the control information from the slave units     transmission frame generator 803. In the TDMA transmis-
10-1 to 10-m (that is, the storage amounts of data or the like) 20 sion frame generator 803, transmission frames are written to
can be traced to the specific slave unit 10-1 to 10-m that has     downstream control channels in accordance with signals
sent this information.                                             from a time slot assigning arithmetic logical unit 804,
   In FIG. 79, data signals from a terminal unit connected to      downstream data signals are written to the time slots of the
a slave unit 10 are stored in a buffer memory 702 via an input     corresponding data channels, and the result is output to a
interface unit 701.                                             25 transmission unit 805. Signals to be transmitted to slave unit
   The data stored in the buffer memory 702 is read in             10 are output via the transmission unit 805.
accordance with memory read signals that are output by a              Meanwhile, upstream signals from slave units 10 are
TDMA transmission frame generator 703.                             input to a TDMA transmission frame separator 807 via a
   The data thus read is entered by the TDMA transmission          reception unit 806. In the TDMA transmission frame sepa-
frame generator 703 into the time slots of the data channel 30 rator 807, the information amount stored in the buffer
specified by the master unit 20, in accordance with the            memory of each slave unit 10 is first detected by the
numbers of the time slots thus specified.                          upstream control channel. Here, the slave units #1 to #m
   In a transmission unit 204, the signals from the TDMA           about to transmit information signals to the master unit 20
transmission frame generator 703 are converted into signals        provide the master unit 20 with a report regarding the
to be transmitted along a transmission line.                    35 storage amounts Ri of the information signals thus stored.
   In addition, the information amount stored in the buffer        Here, i indicates an individual slave unit 10, and i=l, 2, ... ,
memory 702 is measured by an information amount mea-               m, where m is the total number of slave units (m is an
suring Eunit 705. Here, the difference between the read            integer).
address and the write address for the buffer memory 702 is            Upon receipt of the reports from the slave units 10, the
calculated, and the absolute value of the amount of stored 40 master unit 20 calculates, based on the storage amounts Ri
data is measured. Both an absolute value and a differential        thus reported, the information amount Ni that allows each
value may also be calculated. The stored information               slave unit 10 to transmit signals at no more than a specific
amount thus measured is entered into specific time slots in        maximum value K (bits). Here, the specific maximum value
the upstream control channel of the transmission frame in          K is set such that the relation expressed by Eq. (1) above is
the TDMAA transmission frame generator 703.                     45 satisfied.
   Meanwhile, downstream signals from the master unit 20              The master unit 10 calculates the information amount Ni
are first received by a reception unit 706 and are then divided    and, based on the information amount Ni, calculates the
among control channels and data channels by a TDMA                 information amount ni that can be allocated in the course of
transmission frame separator 707.                                  a frame period. The information amount ni allows the time
   In the TDMA transmission frame separator 707, control 50 slots of upstream data to be continuously allocated, and the
channels provided with downstream data identifiers are first       slave unit addresses of the corresponding downstream con-
extracted from among the identifiers that indicate whether         trol channels to be written to the time slot numbers thus
the data in the downstream control channels is upstream data       allocated. Here, the reason that ni is determined separately
or downstream data, and the result is output as a control          from Ni is that when the information amount Ni thus
signal to an address filter unit 708.                           55 calculated exceeds the data transfer rate transmittable with a
   In the address filter unit 708, only the time slots that        single frame, the control channel is straddled in relation to
pertain to the slave unit addresses corresponding to the           a slave unit i, and the information amount Ni is output from
addresses in question are extracted from the data channels         the slave units 10 by the head section of the subsequent data
on the basis of the aforementioned control signal.                 channel. Here, the operation whereby the slave units 10 are
   The data signals extracted by the address filter unit 708 60 allowed to transmit signals (that is, the operation whereby
are output to a terminal unit via an output interface unit 709.    time slots of upstream data are assigned) on the basis of the
   Another feature is that in the TDMA transmission frame          information amount supplied by the slave units 10 is per-
separator 707, pertinent time slot numbers are transmitted as      formed by the time slot assigning arithmetic logical unit 804.
transmission-enabling signals to the TDMA transmission                The time slot assigning arithmetic logical unit 804 also
frame generator 703 if the addresses in question are among 65 assigns the upstream and downstream time slots of the data
the identifiers for indicating upstream data in the down-          channels in a transmission frame. Here, the following
stream control channels.                                           method can be suggested as an example of an algorithm to

                                                         Appx3839
                                                     US 6,778,557 Bl
                             69                                                                  70
be executed: priority is given to the downstream data from         sible to use different transmission lines, which involves
the backbone network, and the data is assigned to upstream         employing different lines, optical wavelength division
time slots in the destination address verification unit 802 if     multiplexing, or the like in the case of a landline, and
no downstream information is available.                            different frequency bands in the case of a wireless line. In
   It is also possible to suggest a method in which down- 5 such cases, a downstream data channel is entered subsequent
stream time slot regions and upstream time slot regions are        to a downstream control channel, and signals are continu-
assigned in advance fixedly or semi-fixedly. Another appar-        ously directed toward the slave units. In the upstream
ent suggestion is the preferential allocation of upstream time     direction, upstream burst data channels can be transmitted to
slots. In the time slots of an upstream data channel, data is      the slave units following transmission of upstream control
entered into the portions to which the time slots have been 10 channels.
assigned by the master unit 20. Consequently, the corre-              A fourteenth embodiment aspect of the present invention
sponding slave unit addresses can be identified in a user          will now be described.
information reconstruction unit 808 on the basis of the               In the fourteenth embodiment aspect, a circuit-switching
signals from the time slot assigning arithmetic logical unit       guaranteed service is added to the best effort service pro-
804. IP frames, for example, are transmitted after being 15 vided in the thirteenth embodiment aspect.
divided among a plurality of time slots, and can thus be              FIG. 81 is a diagram depicting the transmission frames
reconstructed here to a single IP frame. This data is input to     adopted for the fourteenth embodiment aspect.
the backbone network unit via an output interface 809.                In FIG. 81, the portion obtained by general classification
   It should be particularly stressed with regard to the           into a downstream control channel, upstream control
thirteenth embodiment aspect that the upstream signals from 20 channel, and data channel is the same as in the thirteenth
slave units 10 are transmitted as continuous time slots to the     embodiment aspect. However, the downstream control chan-
master unit 20, and that the condition Ri~k yields the             nel is supplemented with a downstream control channel used
following equation                                                 for a guaranteed service, and the upstream control channel
                                                                   is supplemented with a guaranteed-service control channel.
        a*m
                                                                25    The downstream control channel for a guaranteed service
        Tt-:E.(Ri/r);c;(k*a*m)!~td                                 is used for the purpose of performing circuit control aimed
                                                                   at providing a data channel. Specifically, this channel is used
                                                                   to exchange circuit request signals from slave units 10,
where Tt is the transfer delay time of upstream data. This         corresponding ACK/NACK signals from the master unit 20,
limits the upstream transfer delay-time of data by a specific 30 circuit disconnect requests, corresponding ACKACK
time td. Specifically, transfer can be achieved at a delay time    signals, and the like.
that does not exceed td even when the upstream traffic load           An actual data channel for a guaranteed service can be
from the terminal unit connected to a slave unit 10 is 100%.       created using the time-slot control portion of the down-
Not only does this satisfy QOS, but fairness among the slave       stream control channel. A data channel broken up with n
units is also achieved.                                         35 time slots is indicated, including upstream and downstream
   In addition, continuous provision of time slots allows the      data. This portion is the same as in the thirteenth embodi-
average transfer delay time tda to satisfy the condition           ment aspect.
                                                                      FIG. 82 depicts the structure of a slave unit 10 adopted for
        tda;c;td/2 (when a*m is sufficiently great)
                                                                   the fourteenth embodiment aspect. Here, the portion asso-
   This indicates that the average transfer delay time can be 40 ciated with the best-effort service is the same as in the
reduced by continuously allocating time slots to the same          thirteenth embodiment aspect.
slave unit.                                                           With guaranteed service, guaranteed-service input data
   It was assumed with respect to the thirteenth embodiment        from a terminal unit is first terminated at an input interface
aspect that the positions of the time slots for the upstream       unit 711. The input interface unit 711 informs a circuit
information signals and downstream information signals in 45 control unit 712 of a circuit setup request in accordance with
a data channel were established by control from the master         a circuit setup request from the terminal unit. In the. circuit
unit.                                                              control unit 712, the circuit setup request is sensed, and a
   Guard time must be provided, however, between the time          signal indicating that a request is in progress is returned to
slots of upstream information signals and the time slots of        the terminal unit via the output interface unit 711 of the
downstream information signals. When the distance 50 guaranteed service. In the input interface unit 711, the circuit
between the master unit 40 and a plurality of slave units 10       setup request is output to the circuit control unit 712, and the
varies, the minimum required guard time is a round-trip            circuit control unit 712 sends out a circuit setup request for
delay time corresponding to the magnitude of the distance          a TDMA transmission frame generator 703.
variation.                                                            In the TDMA transmission frame generator 703, the
   The time slots of upstream information signals and down- 55 circuit setup request is written to the local-station ID number
stream information signals may therefore be separated in           time slots corresponding to the upstream control channel
advance, and a guard time be provided between them. In this        guaranteed service of the transmission frame, and a signal is
case, delay time compensation can be achieved for the              transmitted to the master unit.
absolute value of the propagation delay time between the              In the TDMA transmission frame separator 707,
master unit 20 and the slave units 10.                          60 meanwhile, an ACK/NACK signal from the master unit 20
   To achieve this, it may be suggested, for example, that the     is dropped into the local-station ID number time slots of
round-trip propagation time from the master unit 20 to the         guaranteed service for the downstream control channel, and
slave units 10 be measured, and appropriate delay specified        the result is output to the circuit control unit 712.
for the instructions from the master unit 20 to the slave units       If ACK has returned, a channel setup request signal is
10.                                                             65 output by the circuit control unit 712. If NACK has returned,
   Rather than using a TDD protocol, in which upstream and         a busy signal is output by the circuit control unit 712 toward
downstream multiplexing is achieved temporally, it is pos-         an output interface unit 719.

                                                         Appx3840
                                                     US 6,778,557 Bl
                             71                                                                   72
   After the ACK has returned and the channel setup request        teed service region of the upstream control channel. If
signal has been output to the master unit 20, an upstream          NACK has returned, a busy signal is returned from the
signal flag of the guaranteed service is written to the time       circuit control unit 812 to the switching system via an output
slot control section of the downstream control channel, and        interface unit 819.
a local station ID is written to the corresponding time slot 5        If ACK has returned, a downstream signal flag, a slave
number. This is done together with a circuit setup confir-         unit ID, and a flag for identifying the type of guaranteed
mation notification from the master unit 20.                       service are written together with a circuit setup completion
   In the slave unit 10, data from the input interface unit 711    signal in sequence from the lower number of the time slots
of the guaranteed service is transmitted according to the          not used for the time slot control region of the downstream
aforementioned flag and ID. With the downstream signals of 10 control channel, and the result is output to the TDMA
the guaranteed service, the service type and upstream-             transmission frame generator 803. Data is written at the
downstream differences are identified by the time slot con-        same time to the region accommodating the time slot
trol of the downstream control channel. This identification is     numbers of the data channel described above, and the result
performed by an address filter/service separator 708. In the       is output toward a slave unit 10.
case of guaranteed service, the results are divided by the 15         In the circuit control unit 812, an upstream data channel
output interface unit 719 of the guaranteed service.               is assigned at the same time to the subsequent time slots of
   A circuit disconnect procedure is performed using a             the downstream data channel. The designated slave unit 10
control channel in the same manner as for the above-               sends data according to the upstream transmission-enabling
described circuit setup. There is also a circuit setup proce-      signals in the time slot control region of the control channel.
dure from the master unit 20. This circuit setup procedure is 20      This data is separated by the user information reconstruc-
based on signaling from the backbone network. From the             tion unit 808 in accordance with signals from the time slot
master unit 20, a circuit setup signal flows into a local-         assigning arithmetic logical unit 804, and is output to the
station ID time slot in the guaranteed service region of the       switching system via an output interface unit 819. Multi-
downstream control channel. Upon receipt of this signal, the       plexing is performed in this case in accordance with the
circuit control unit 712 outputs a connection request to a 25 multiplexing format of a preset switching system interface.
terminal unit via the output interface unit 719. The terminal         The above-described sequence is a circuit setup sequence
unit that has received this signal commonly returns a              performed on the backbone side for a single slave unit 10.
response signal, and this response signal is returned to the       This sequence is simultaneously set for a plurality of slave
circuit control unit 712 via the input interface unit 711.         units. The setting procedure does not pose any problems in
   In the circuit control unit 712, this is used as an ACK 30 terms of control channel because different time slots have
signal, and this ACK signal is output to the time slot of the      been pre-assigned.
local station ID corresponding to the guaranteed service              In the circuit control unit 812, earlier numbers of data
region of the upstream control channel. An NACK signal is          channel time slots are assigned in sequence from the earlier
output in the circuit control unit 712 in the absence of a         instants of circuit setting. As circuits are broken, earlier time
response from the terminal unit.                                35 slot numbers are searched and assigned by the circuit control
   A flag indicating that the service is a guaranteed service,     unit 812. Data can therefore be incorporated into best effort
and a flag specifying whether the signal data is of an             service areas by the time slot assigning arithmetic logical
upstream or downstream nature are subsequently displayed           unit 804 if vacant time slots are created by the line being
by the master unit 20 in the time slot control region of the       disconnected at specific instants. The circuit setting of the
downstream control channel.                                     40 guaranteed service takes precedence, however, so the same
   With the time slot numbers of a data channel, downstream        treatment as that used for vacant circuits is performed by the
signals are assigned by the master unit 20 in sequence from        circuit control unit 812 with respect to the time slot numbers
the lower numbers of vacant time slots. Upstream signals are       used for the best effort service.
assigned to subsequent time slot numbers. The slave units 10          To set up a circuit from a slave unit 10, a circuit setup
output upstream data to the master unit according to the 45 request is subsequently entered into the guaranteed service
upstream-assigned time slot numbers. The circuit disconnect        region of the upstream control channel. In the master unit 20,
procedure is performed using control channels.                     this request is input to the circuit control unit 812 via the
   FIG. 83 depicts the structure of the master unit adopted        TDMA transmission frame separator 807.
for the fourteenth embodiment aspect. In this case as well,           In the circuit control unit 812, it is checked whether a
a guaranteed service will be described because a best effort 50 condition in which none of the time slots in the data channel
service has already been described with reference to the           are used for a guaranteed service is satisfied, and ACK or
thirteenth embodiment aspect.                                      NACK is returned to the slave unit 10 using a guaranteed
   With guaranteed service, the equipment connected on the         region of the downstream control channel.
backbone network side is primarily a switching system.                If an ACK has been returned, a channel setup request
   Data from the switching system is input to the input 55 signal is presented by a slave unit 10.
interface unit 811 of the guaranteed service. Signaling               At this time, the master unit 20 sends a connection request
information, which is information concerning connection            to the backbone-side switching system via the circuit control
objects, is separated by the input interface unit 811 and input    unit 812 and the output interface unit 819. Where a connec-
to a circuit control unit 812.                                     tion completion notification has been issued by the switch-
   In the circuit control unit 812, a circuit setup signal is 60 ing system side via the input interface unit 811, a circuit
output toward a slave unit 10 via the TDMA transmission            setup confirmation notification is returned to the slave unit
frame generator 803 using the time slots of a slave unit ID        10 by the circuit control unit 812 using the guaranteed
corresponding to the guaranteed service region of a down-          service region or the downstream control channel.
stream control channel.                                               At the same time, the ID number of the corresponding
   In accordance with this signal, ACK/NACK are repeat- 65 slave unit, an upstream/downstream identification flag, and
edly directed by time slots from the corresponding slave unit      a flag for indicating that the service is a guaranteed service
10 to the ID of the corresponding slave unit in the guaran-        are written to the vacant time slot numbers of the time slot

                                                         Appx3841
                                                     US 6,778,557 Bl
                              73                                                                   74
control region in the downstream control channel. At this            system and retrieved based on the terminal addresses con-
time, the time slot numbers are used in sequence from lower          tained in the input packets. Because the slave units 10-1 to
numbers of vacant time slots. In addition, subsequent time           10-m operate such that data is retrieved only when the
slot numbers are concurrently designated as the time slot            addresses contained in the aforementioned headers match
numbers for upstream data. Furthermore, downstream data 5 the addresses of the local stations, the transfer rate in the
is concurrently written to the TDMA transmission frame               downstream direction for each of the slave units 10-1 to
generator 803 and is output toward the slave unit 10.                10-m can be varied in a simple manner using the master unit
   Here, the best effort service is treated the same way as          alone.
vacant time slots when the time slots of data are assigned.             In addition, a short bit length is used and the transfer rate
The circuit disconnect procedure is also performed using 10 can be utilized efficiently because the addresses of the slave
upstream and downstream control channels.                            units 10-1 to 10-m used in each header are those that have
   The fourteenth embodiment aspect was described with               significance solely inside a point-to-multipoint communica-
reference to a case in which the time slots of a data channel        tion system.
were a mixed upstream/downstream type. When the distance                Furthermore, the address architecture used in the point-
from the master unit 20 to a plurality of slave units 10 varies, 15 to-multipoint communication system is hierarchized, and the
the minimum required guard time should be the round-trip             addresses are set such that a subnet is used and the slave
delay time corresponding to the magnitude of the distance            units 10-1 to 10-m constitute a single network within the
variation. The time slots of upstream information signals and        entire point-to-multipoint communication system.
downstream information signals may therefore be separated               The structure of the master unit can thus be simplified
in advance, and a guard time be provided between them. In 20 because the subnet-identifying portion of a terminal address
this case, delay time compensation can be achieved for the           can be used directly as the address of a slave unit 10-1 to
absolute value of the propagation delay time between the             10-m.
master unit 20 and the slave units 10.                                  The same structure as the system structure shown in FIG.
   To achieve this, it may be suggested, for example, that the       1 can be adopted for the point-to-multipoint communication
round-trip propagation time from the master unit 20 to the 25 system of the fifteenth embodiment aspect.
slave units 10 be measured, and appropriate delay specified             FIG. 84 depicts the structure of a slave unit 10 (10-1 to
for the instructions from the master unit 20 to the slave units      10-m) adopted for the point-to-multipoint communication
10.                                                                  system of the fifteenth embodiment aspect.
   Rather than using a TDD protocol, in which upstream and              In FIG. 84, the slave unit 10 comprises an input unit 11
downstream multiplexing is achieved temporally, it is pos- 30 connected to an input port; an output unit 12 connected to an
sible to use different transmission lines, which involves            output port; a transmission unit 13 connected to a transmis-
employing different lines, optical wavelength division               sion port; a reception unit 14 connected to a reception port;
multiplexing, or the like in the case of a landline, and             a buffer memory 15-2 for temporarily storing information
different frequency bands in the case of a wireless line. In         signals from the reception unit 14; a reception control unit
such cases, a downstream data channel is entered subsequent 35 18-2 for reconstructing into packets the information signals
to a downstream control channel, and signals are continu-            stored in the buffer memory 15-2; a buffer memory 15-1 for
ously directed toward the slave units. In the upstream               temporarily storing the information signals from the input
direction, upstream burst data channels can be transmitted to        port that are input by means of the input unit 11; and a
the slave units following transmission of upstream control           transmission control unit 18-1 for controlling, among other
channels.                                                         40 things, the division of the packets stored in the transmission
   Thus, the thirteenth embodiment aspect is such that the           buffer memory in accordance with the assignment of
master unit 20 allows slave units 10 to transmit information         upstream transmission slots from the master unit 20.
signals in accordance with the information amount reported              FIG. 85 is a block diagram depicting a detailed structure
by the slave units 10, making it possible to efficiently use the     of the master unit 20 adopted for the fifteenth embodiment
data transfer rate determined by the system and to ensure 45 aspect.
fairness for the upstream signals of the slave units 10. It is          In FIG. 85, the master unit 20 comprises an input unit 21
also possible to secure worst-case transfer delay time for the       connected to an input port; an output unit 22 connected to an
average time needed to transfer upstream data from the slave         output port; a transmission unit 23 connected to a transmis-
units to the master unit.                                            sion port; a reception unit 24 connected to a reception port;
   Another feature of the fourteenth embodiment aspect is 50 a buffer memory 25-2 for temporarily storing information
that best effort transmission service can be delivered while         signals from the reception unit 24; a reception control unit
circuit switching or another type of guaranteed service is           28-2 for reconstructing into packets the information signals
performed according to demand assignment TDMA. In                    stored in the buffer memory 25-2; a buffer memory 25-1 for
addition, the best effort service can have all the effects of the    temporarily storing the information signals from the input
thirteenth embodiment aspect.                                     55 port that are input by means of the input unit 21; an address
   A fifteenth embodiment aspect of the present invention            sensing unit 29 for searching out the address of the desti-
will now be described.                                               nation slave unit 10 from among the addresses of packets
   The point-to-multipoint communication system according            delivered from the input port and entered by means of the
to the fifteenth embodiment aspect of the present invention          input unit 21; and a transmission control unit 28-1 for
is configured such that variable-length packets can be trans- 60 controlling, among other things, the division of the packets
mitted flexibly and efficiently.                                     stored in the buffer memory 25-1 and adding the addresses
   Specifically, the point-to-multipoint communication sys-          of slave units 10 sensed by the address sensing unit 29.
tem according to the fifteenth embodiment aspect is such                The upstream and downstream transmission frames in the
that the master unit 20 segments terminal-addressed input            transmission line of the fifteenth embodiment aspect are
packets and attaches headers to create fixed-length cells.        65 configured as shown in FIG. 4. For the sake of convenience,
   Each header contains the addresses of slave units 10-1 to         the transfer rate, cell length, and frame format used here
10-m for use in the point-to-multipoint communication                conform to the tentative guidelines G.983 in ITU-T SG15. It

                                                          Appx3842
                                                    US 6,778,557 Bl
                             75                                                                  76
should be noted, however, that tentative guidelines G.983            The segmented data units are then segmented into fixed-
specify using ATM cells per se as the cells being transmitted,    length cells, and headers are attached. In the case considered
whereas the cells used in the fifteenth embodiment aspect         here, both the headers and the data accommodated by the
are obtained by segmenting input packets by the method            cells have fixed length. On occasion, the headers may have
described below. In addition, the transfer rate of the optical 5 variable length, and the length of the data accommodated by
transmission line is 155.52 Mb/s both for the downstream          each cell may be varied in accordance with the header
transmission from the master unit 20 to the slave units 10-1      length, making it possible to maintain a fixed length for the
to 10-m and for the upstream transmission from the slave          cells as a whole.
units 10-1 to 10-m to the master unit 20.                            The structure of a header is shown in FIG. 87. The header
   A downstream frame comprises 56 slots, and an upstream 10 shown here pertains to a case in which 64 slave units 10-1
frame comprises 53 slots. Based on these transmission             to 10-m are connected to the master unit 20. The header
frames, 53 bytes and 56 bytes are exchanged downstream            typically becomes longer with an increase in the number of
and upstream, respectively, in accordance with the TDM            slave units 10-1 to 10-m.
(Time Division Multiplex) multiplexing protocol in the case          Headers can be divided into passive optical network
of the downstream transmission from the master unit 20 to 15 overheads (PON-OH), which are used in burst transmission
the slave units 10-1 to 10-m, and in accordance with the          applications and are required solely for upstream headers,
TDMA (Time Division Multiple Access) multiplexing pro-            and PDU-OH, which are payload headers and which are
tocol in the case of the upstream transmission to the master      required for upstream and downstream headers. This is
unit 20 from the slave units 10-1 to 10-m.                        because downstream cells can be continuously transmitted
   An upstream cell contains a 3-byte overhead for burst 20 from the master unit, dispensing with the need for the guard
transmission, and downstream transmission frames contain          time, preambles, or delimiters described below.
two PLOAM cells per frame in a ratio of one cell for every           A passive optical network overhead (PON-OH) comprises
28 cells. The initial PLOAM cell (PLOAML) has 27 grants           a guard time for preventing collisions among cells, a pre-
for allowing upstream cell transmission from the slave units      amble for extracting clock signals, and a delimiter for
10-1 to 10-m, and the second PLOAM cell (PLOAM2) has 25 separating the preamble and subsequent cells and ensuring
26 grants, to a total of 53 grants. The grants of a PLOAM         byte synchronization. Furthermore, a PDU-OH (payload
cell and the slots of an upstream transmission frame are          header) is composed of a single byte comprising addresses
related to each other as shown in FIG. 5.                         of the slave units 10-1 to 10-m, cell content identifiers, and
   The master unit 20 issues instructions as to which slave       identifiers of the continuous state of the cell.
unit 10-1 to 10-m can transmit a cell to a particular slot 30        The minimum number of addresses of the slave units 10-1
inside an upstream transmission frame by performing a             to 10-m must be equal to the number of the slave units 10-1
procedure whereby the ID numbers or other identifiers of          to 10-m. Six bits are assigned in the case under consider-
slave units 10-1 to 10-m are written to the grants of the         ation. A cell content identifier indicates whether the data
PLOAM cells shown in FIG. 5.                                      contained in a cell is significant data or invalid data. Invalid
   The slave units 10-1 to 10-m can transmit cells to those 35 data is transmitted in cases in which the buffer memory 15-1
slots of the upstream transmission frame that correspond to       does not contain any data that is to be transmitted when an
the aforementioned grants when the identifiers of the slave       instruction to transmit has been issued by the master unit 20
units 10-1 to 10-m are written to the PLOAM cells. This           to the slave units 10-1 to 10-m. The identifier of the
method makes it possible to avoid cell collisions in the          continuous state of a cell is one that indicates that the
optical transmission line.                                     40 segmented cell corresponds to the end data of the original
   The fifteenth embodiment aspect is not limited to instruc-     packet or that the packet received can be accommodated by
tion methods involving upstream transmissions, and meth-          a single cell without being segmented.
ods such as those described below may also be used as the            Packet reconstruction is performed in reverse order in
upstream transmission methods.                                    relation to the above-described packet segmenting and
   One example is a method in which, in a frame structure 45 assembly. Specifically, cells addressed to a local station are
in which there is a one-to-one correspondence between             temporarily stored in the buffer memory 15-2 or 25-2. In the
downstream slots and upstream slots, upstream transmis-           case of the master unit 20, information is stored in the buffer
sions are specified for each service class by providing each      memory 25-2 for each of the slave units 10-1 to 10-m that
upstream slot corresponding to a downstream slot with the         has sent out a cell. If it is detected based on a continuous
ID numbers of the slave units 10-1 to 10-m using these 50 state identifier that the received cell is a unit cell or the end
downstream slots, and with identifiers that specify these         data of an original packet, it is concluded that the entire
service classes.                                                  original packet has been received, and this packet is there-
   Instructions regarding upstream transmissions can also be      fore reconstructed. At this time, the data length of the
given by issuing notifications regarding the number of slots      original packet is identified on the basis of the length
that allows signals to be continuously transmitted by specific 55 attached to the end of the final cell, and the PAD attached to
slave units 10-1 to 10-m for specific service classes with the    the back is deleted and is output as a packet by the output
aid of downstream slots.                                          unit 12 or 22.
   Packet segmenting and assembly for a case in which the            Here, the header structure is the same for the upstream
input packets are IP packets are depicted in FIG. 86. In FIG.     and downstream arrangements, as shown in FIG. 87. In the
86, PADs and length are first assigned to the input packets, 60 upstream direction, the addresses of the slave units 10-1 to
yielding CS-PDUs with segmented data units. The PADs are          10-m can sometimes be dispensed with, however. When, for
provided in order to create redundancy during the separation      example, a plurality of master units 20 are provided using a
of packets into fixed-length cells, and the number of seg-        redundancy configuration or the like, the addresses of these
mented data units is an integral multiple of cell data length.    master units 20 are entered into the corresponding regions of
   In addition, length is provided in order separate the data 65 upstream headers in order to identify these master units 20.
on the receiving side by indicating the actually used data           The addresses of slave units 10-1 to 10-m attached to the
length within the data region expanded by the PADs.               headers may have a short bit length because they have

                                                         Appx3843
                                                     US 6,778,557 Bl
                             77                                                                  78
significance solely in a point-to-multipoint communication         signals are temporarily stored, and the information amount
system. Correspondence between destination addresses and           of the stored signals is counted. The master unit instructs
the addresses of the slave units 10-1 to 10-m allows the           each slave unit to report its information amount. The slave
addresses of the terminals connected to the slave units 10-1       units that have received these instructions from the master
to 10-m in advance to be retained as tables for each of the 5 unit inform the master unit about the information amount
slave units 10-1 to 10-m, to search for the tables by packet       according to the instructions. The master unit, upon receipt
input, and to assign to headers the addresses of the slave         of the reports from the slave units, calculates enabling
units 10-1 to 10-m.                                                amounts that allow the slave units to transmit signals below
   A simple method for detecting the addresses of slave units      a specific maximum value on the basis of the information
10-1 to 10-m can be found by devising an optimum address 10 amount thus reported, and instructs the slave units to trans-
assignment method. An example will be described herein.            mit the signals on the basis of the enabling amounts thus
The description that follows refers to the use of IP packets       calculated. Upon receipt of the instructions from the master
as the aforementioned packets, but the fifteenth embodiment        unit, the slave units present the master unit with signals
aspect is also applicable to the use of packets governed by        stored in accordance with the instructions. Furthermore, the
other protocols.                                                15 master unit dynamically updates the period for giving the
   32-bit IP addresses can commonly be divided into net-           slave units instructions on reporting the information amount.
work addresses and host addresses, and classes A, B, and C         A point-to-multipoint communication system capable of
are primarily used, depending on the length of each region.        providing adequate communication can thus be constructed
Recently, methods for specifying the length of a network           even when data signals on the order of several megabytes are
address independently from conventional classification have 20 transmitted in bursts.
come to be used.                                                      What is claimed is:
   An example of an IP address assignment in the fifteenth            1. A point-to-multipoint communication system, in which
embodiment aspect is shown in FIG. 88. The network                 a master unit and a plurality of slave units are connected by
address of the entire point-to-multipoint communication            means of a transmission line, and point-to-multipoint com-
system of the fifteenth embodiment aspect may, for example, 25 munication is performed between the master unit and the
be set to <152.1.0.0/18>. As used herein, the numbers in           plurality of slave units, characterized in that:
quotation marks are numbers in decimal notation obtained              the slave units each comprise information amount report-
by dividing the ordinarily binary-coded 32-bit addresses into            ing means for presenting the master unit with reports
8-bit units.                                                             regarding information amount necessary to transmit
   In addition, "/18" indicates that the 18 bits of the MSB in 30        signals; and
an IP address are treated as a network address. Similarly, the        the master unit comprises calculation means for deter-
network addresses connected to slave units 10-1 to 10-m are              mining a maximum transmittable information amount
assumed to range from <152.1.10/24> to <152.1.32.0/24>.                  of each currently active slave unit by allocating among
   Here, "/24" indicates that the upper 24 bits of an IP                 the currently active slave units the maximum transmit-
address are treated as a network address. It is assumed here 35          table information amount that can be transmitted from
that a single subnetwork is connected to each of the 32 slave            the slave units to the master unit, calculating as a
units 10-1 to 10-m. If each of the slave units 10-1 to 10-m              transmission-enabling information amount the infor-
requires a plurality of network addresses, the IP addresses              mation amount reported by the slave units if the infor-
assigned to the slave units 10-1 to 10-m should be sub-                  mation amount thus reported does not reach the maxi-
networked using an even finer segmenting arrangement.           40
                                                                         mum transmittable information amount, and
   Allocating IP addresses in such a manner allows networks              calculating as the transmission-enabling information
50-1 to 50-m connected to the slave units 10-1 to 10-m to be
                                                                         amount the maximum transmittable information
treated as a plurality of networks connected to a single                 amount if the information amount reported by the slave
master unit 20.                                                          units exceeds the maximum transmittable information
   In addition, six bits (from eighteenth to twenty-third) of a 45       amount, and signal transmission instruction means for
network address serve as an address for distinguishing                   instructing each of the slave units to transmit signals on
among the subnetworks 50-1 to 50-m. Because the subnet-
                                                                         the basis of the transmission-enabling information
works 50-1 to 50-m are assigned to each slave unit 10-1 to               amount calculated by the calculation means.
10-m, the addresses for distinguishing these subnetworks              2. The point-to-multipoint communication system accord-
50-1 to 50-m can be used as the addresses of the slave units 50
                                                                   ing to claim 1, characterized in that the information amount
10-1 to 10-m.                                                      reporting means comprises:
   Consequently, the lower bits of the network addresses of
                                                                      data signal storage means for temporarily storing data
IP packages transmitted to the slave units 10-1 to 10-m can
                                                                         signals transmitted to the master unit;
be directly used as the addresses of the slave units 10-1 to
10-m in the address detecting unit of the master unit 20 by 55        storage  amount counting means for counting the storage
means of such a hierarchical address allocation. Therefore,              amounts of the data signals stored in the data signal
the search data for retrieve slave unit addresses from IP                storage means; and
addresses can be dispensed with, and the master unit 20 can           storage amount reporting means whereby the storage
be configured as a simple structure.                                     amounts counted by the storage amount counting
                                                                60       means are reported to the master unit as the information
              INDUSTRIAL APPLICABILITY                                   amount necessary for transmission of the signals.
   The present invention provides a point-to-multipoint               3. The point-to-multipoint communication system accord-
communication system in which a master unit and a plurality        ing to claim 2, characterized in that the storage amount
of slave units are connected by means of a transmission line,      counting means comprises:
and point-to-multipoint communication is performed 65                 absolute value counting means whereby the storage
between the master unit and the plurality of slave units.                amounts of data signals stored in the data signal storage
When the slave units are about to transmit signals, these                means are counted as absolute values; and

                                                         Appx3844
                                                     US 6,778,557 Bl
                             79                                                                  80
   the storage amount reporting means provides the master                calculates the maximum transmittable information
      unit with reports regarding the absolute values of the             amount as the transmission-enabling information
      storage amounts of data signals counted by the absolute            amount for each of the service classes when the storage
      value counting means.                                              amounts reported by the slave units for each of the
   4. The point-to-multipoint communication system accord- 5             service classes exceeds the maximum transmittable
ing to claim 2, characterized in that the storage amount                 information amount.
counting means comprises:                                             11. The point-to-multipoint communication system
   differential value counting means whereby the storage           according to claim 1, characterized in that the master unit
      amounts of data signals stored in the data signal storage    further comprises information amount report instruction
      means are counted as differential values obtained based 10 means for instructing the slave units to issue reports regard-
      on a previous report; and                                    ing the information amount necessary to transmit the sig-
   the storage amount reporting means provides the master          nals; and
      unit with reports regarding the absolute values of the          the information amount reporting means presents the
      storage amounts of data signals counted by the absolute            master unit with reports regarding the information
      value counting means.                                     15       amount necessary to transmit the signals in accordance
   5. The point-to-multipoint communication system accord-               with the instructions from the information amount
ing to claim 2, characterized in that the storage amount                 report instruction means.
counting means comprises absolute value counting means                12. The point-to-multipoint communication system
whereby the storage amounts of data signals stored by the          according to claim 11, characterized in that the information
data signal storage means are counted as absolute values, 20 amount report instruction means comprises information
and differential value counting means whereby the storage          amount report period setting means for setting the period
amounts of data signals stored in the data signal storage          with which the slave units are instructed to report the
means are counted as differential values obtained based on         information amount; and
a previous report; and                                                the slave units are instructed to issue reports regarding the
   the storage amount reporting means provides the master 25             information amount necessary to transmit the signals
      unit with reports regarding the absolute values of the             with the period that is set by the information amount
      storage amounts of data signals counted by the absolute            report period setting means.
      value counting means, and the absolute values of the            13. The point-to-multipoint communication system
      storage amounts of data signals counted by the differ-       according to claim 12, characterized in that the information
      ential value counting means.                              30 amount report period setting means sets the period with
   6. The point-to-multipoint communication system accord-         which the information amount is to be reported by the slave
ing to claim 1, characterized in that an overall transmittable     units on the basis of the counted value of the information
information amount that can be transmitted from the slave          amount reported by the information amount reporting
units to the master unit is calculated based on an allowed         means.
delay time and the rate of transmission from the slave units 35       14. The point-to-multipoint communication system
to the master unit.                                                according to claim 12, characterized in that the master unit
   7. The point-to-multipoint communication system accord-         further comprises transmission line monitoring means for
ing to claim 1, characterized in that the maximum transmittal      monitoring the load state of the transmission line; and
information amount is calculated by equally allocating an             the information amount report period setting means sets
overall transmittable information amount among currently 40              the period with which the slave units are instructed to
active slave units.                                                      report the information amount on the basis of the load
   8. The point-to-multipoint communication system accord-               state of the transmission line monitored by the trans-
ing to claim 1, characterized in that the maximum transmit-              mission line monitoring means.
table information amount is calculated by individually allo-          15. A point-to-multipoint communication system, in
cating an overall transmittable information amount among 45 which a master unit and a plurality of slave units are
currently active slave units.                                      connected by means of a transmission line, and point-to-
   9. The point-to-multipoint communication system accord-         multipoint communication is performed between the master
ing to claim 1, characterized in that the signal transmission      unit and the plurality of slave units, wherein the point-to-
instruction means continuously instructs the slave units to        multipoint communication system is characterized in that
transmit signals at no more than the transmission-enabling 50 the slave units each comprise information amount reporting
information amount calculated by the calculation means.            means for presenting the master unit with reports regarding
   10. The point-to-multipoint communication according to          the information amount necessary to transmit signals; and
claim 1, characterized in that the information amount report-         the master unit comprises calculation means for calculat-
ing means reports the information amount necessary to                    ing an overall transmittable information amount that
transmit the signals for each service class to the master unit; 55       can be transmitted from the slave units to the master
and                                                                      unit on the basis of an allowed delay time and a rate of
   the calculation means calculates for each service class the           transfer from the slave units to the master unit, deter-
      overall transmittable information amount that can be               mining a maximum transmittable information amount
      transmitted from the slave units to the master unit on             of each currently active slave unit by allocating the
      the basis of the allowed delay time and the rate of 60             overall maximum transmittable information amount
      transfer from the slave units to the master unit for each          among the currently active slave units, calculating the
      of the service classes, calculates the reported storage            reported storage amounts as the transmission-enabling
      amounts as the transmission-enabling information                   information amount when the storage amounts reported
      amount for each of the service classes when the storage            by the slave units are less than the maximum transmit-
      amounts reported by the slave units for each of the 65             table information amount, and calculating the maxi-
      service classes are less than the maximum transmittable            mum transmittable information amount as the
      information amount for each of the service classes, and            transmission-enabling information amount when the

                                                         Appx3845
                                                     US 6,778,557 Bl
                             81                                                                  82
      storage amounts reported by the slave units exceeds the             amount relayed in each of the service classes by the
      maximum transmittable information amount, and                       transmission-enabling information amount notification
      transmission-enabling information amount notification               means.
      means for notifying each of the slave units about the            19. A point-to-multipoint communication system, in
      transmission-enabling information amount calculated 5 which a master unit and a plurality of slave units are
      by the calculation means, the slave units exercising          connected by means of a transmission line, and point-to-
      control over transmissions to the master unit on the          multipoint communication is performed between the master
      basis of the transmission-enabling information amount         unit and the plurality of slave units, wherein the point-to-
      relayed by the transmission-enabling information              multipoint communication system is characterized in that
      amount notification means.                                 10 the slave units comprise information amount reporting
   16. The point-to-multipoint communication system                 means for submitting reports regarding the information
according to claim 15, characterized in that the information        amount necessary to transmit signals according to instruc-
amount reporting means operates such that reports regarding         tions from the master unit;
the information amount necessary for signal transmission               the master unit comprises signal transmission instruction
are submitted to the master unit with a first period; and        15       means for instructing the slave units to transmit signals
   the transmission-enabling information amount notifica-                 on the basis of the information amount reported by the
      tion means operates such that the transmission-                     slave units with the aid of the information amount
      enabling information amount calculated by the calcu-                reporting means;
      lation means is conveyed to the slave units with a               the signal transmission instruction means comprises con-
      second period.                                             20
                                                                          tinuous transmission instruction means for continu-
   17. The point-to-multipoint communication system                       ously instructing the slave units to transmit signals at
according to claim 15, characterized in that information                  no more than a specific maximum value on the basis of
signals are transmitted from the slave units to the master unit           information amount reported by the slave units, and
as frame units of fixed data length; and                                  sequential transmission instruction means for instruct-
   the transmission-enabling notification means segments 25               ing each slave unit to transmit signals in a sequential
      the transmission-enabling information amount calcu-                 manner;
      lated by the calculation means and issues notifications          the continuous transmission instruction means calculates
      for the slave units when the transmission-enabling                  an overall transmittable information amount that can be
      information amount is greater than the information                  transmitted from the slave units to the master unit on
                                                                 30
      amount that can be transmitted in a single session with             the basis of an allowed delay time and a rate of transfer
      the frame.                                                          from the slave units to the master unit, determines a
   18. The point-to-multipoint communication system                       maximum transmittable information amount of each
according to claim 15, characterized in that the information              slave unit by allocating the overall transmittable infor-
amount reporting means reports, separately for each service               mation amount among the slave units, continuously
class, the information amount necessary for transmitting the 35           issues instructions to transmit signals at no more than
signals;                                                                  the information amount reported by the slave units
   the calculation means calculates, separately for each of               when the information amount thus reported is less than
      the service classes, the overall transmittable informa-             the maximum transmittable information amount, and
      tion amount that can be transmitted from the slave units 40         continuously issues instructions to transmit signals at
      to the master unit on the basis of the allowed delay time           less than the maximum transmittable information
      and the rate of transfer from the slave units to the                amount when the information amount reported by the
      master unit in each service class, determines the maxi-             slave units exceeds the maximum transmittable infor-
      mum transmittable information amount of each cur-                   mation amount; and
      rently active slave unit in each of the service classes by 45    the sequential transmission instruction means issues
      allocating the calculated overall maximum transmit-                 sequential instructions to transmit signals to each slave
      table information amount among the currently active                 unit when the overall transmittable information amount
      slave units in each of the service classes, calculates the          still has a margin after instructions to transmit signals
      reported storage amounts as the transmission-enabling               have been issued by the continuous transmission
      information amount of each of the service classes when 50           instruction means for the information amount reported
      the storage amounts reported by the slave units in each             by all the slave units.
      of the service classes are less than the maximum                 20. The point-to-multipoint communication system
      transmittable information amount of each of the service       according to claim 19, characterized in that the sequential
      classes, and calculates the maximum transmittable             transmission instruction means issues sequential instructions
      information amount as the transmission-enabling infor-
                                                                 55 to transmit signals for currently active slave units.
      mation amount of each of the service classes when the            21. A point-to-multipoint communication system, in
      storage amounts reported by the slave units in each of        which a master unit and a plurality of slave units are
      the service classes exceeds the maximum transmittable         connected by means of a transmission line, and point-to-
      information amount;                                           multipoint communication is performed between the master
   the transmission-enabling information amount notifica- 60 unit and the plurality of slave units, wherein the point-to-
      tion means notifies each of the slave units about the         multipoint communication system is characterized in that
      transmission-enabling information amount calculated           the slave units comprise information amount reporting
      by the calculation means for each of the service classes;     means for providing the master unit with reports regarding
      and                                                           the information amount of transmission data in each service
   the slave units control the transmission of the information 65 class according to instructions from the master unit;
      amount to the master unit in each of the service classes         the master unit comprises information amount retrieval
      on the basis of the transmission-enabling information               means for issuing instructions on the reporting of the

                                                         Appx3846
                                                    US 6,778,557 Bl
                             83                                                                  84
      information amount necessary to transmit signals for               data for these service classes with the period required
      the slave units, and transmission instruction means for            by these service classes, and in the case of service
      calculating an overall transmittable information                   classes with sporadic data transmissions, instructions
      amount that can be transmitted in each service class               are issued to transmit data for the service classes with
      from the master unit to slave units, determining a 5               sporadic data transmissions at the transfer rate remain-
      maximum transmittable information amount of each                   ing after instructions have been issued to transmit data
      slave unit per service class by allocating the overall             for the service classes with periodic data transmission
      transmittable information amount of each service class             requirements.
      to each of the service classes inside the slave units           27. The point-to-multipoint communication system
      issuing instructions to transmit signals in the servic~ 10 according to claim 26, characterized in that the service
      classes as signals equal to or less than the information     classes with periodic data transmission requirements are
      amount of each service class retrieved from the slave        service classes that require fixed-length data to be periodi-
      units when the information amount thus retrieved in          cally transmitted.
      each service class is less than the maximum transmit-           28. The point-to-multipoint communication system
      table information amount in each of the service classes
                                                              ' 15 according to claim 21, characterized in that the service
      and issuing instructions to transmit signals at no more      classes comprise service classes with periodic data trans-
      than the maximum transmittable information amount of         mission requirements, and service classes with sporadic data
      each service class when the information amount of each       transmissions;
      service class received from the slave units exceeds the
      maximum transmittable information amount in each of 20          the service classes with sporadic data transmissions fur-
      the service classes, on the basis of the information               ther comprise one or more service classes with different
      amount reported by the slave units in each service                 priority  levels and requirements regarding the data
      class; and                                                         transmission delay time; and
   the slave units control the transmission of the information        in the case of service classes with sporadic data
      amount to the master unit in each service class on the 25          transmissions, instructions are issued to transmit data
      basis of the transmission instructions of service class            separately for each service class in sequence according
      from the master unit.                                              to the priority levels and requirements regarding the
   22. The point-to-multipoint communication system                      data transmission delay time at the transfer rate remain-
according to claim 21, characterized in that the slave units             ing after instructions have been issued to transmit data
comprise data storage means for temporarily storing data by 30           for the service classes with periodic data transmission
service class, and storage amount counting means for                     requirements.
counting, separately for each service class, the storage              29.   The point-to-multipoint communication system
amount of data stored by the data storage means; and               according to claim 28, characterized in that the transmission
   the information amount reporting means operates such            instruction means issues instructions to transmit data by
      that the storage amounts counted by the storage amount 35 service class in sequence according to the maximum trans-
      counting means separately for each service class are         mittable information amount for each service class.
      reported to the master unit in accordance with instruc-         30. A point-to-multipoint communication system, in
      tions from the master unit.                                  which a master unit and a plurality of slave units are
   23. The point-to-multipoint communication system                connected by means of a transmission line, and the slave
according to claim 21, characterized in that the maximum 40        units  transmit signals belonging to a plurality of service
transmittable information amount of each service class is          classes according to instructions from the master unit,
calculated by equally allocating the overall transmittable         wherein the point-to-multipoint communication system is
information amount of each service class among slave units         characterized in that the master unit comprises information
in each service class.                                             amount report instruction means for instructing the slave
   24. The point-to-multipoint communication system 45 units to issue reports regarding the information amount
according to claim 21, characterized in that the maximum           necessary to transmit signals, and signal transmission
transmittable information amount of each service class is          instruction means for instructing the slave units to transmit
calculated by individually allocating the overall transmit-        signals on the basis of the information amount reported by
table information amount of each service class among slave         the slave units;
units separately for each service class.                              the slave units comprise service class setting means for
                                                                50
   25. The point-to-multipoint communication system                      setting a signal service class, information amount
according to claim 21, characterized in that the service                 reporting means for submitting reports regarding the
classes comprise a plurality of service classes having mutu-             information amount necessary to transmit signals
ally different priority levels and requirements regarding the            according to reporting instructions from the master
data transmission delay time; and                                        unit, and signal transmission means for transmitting
                                                                55
   the transmission instruction means issues instructions to             signals according to transmission instructions from the
      transmit signals separately for each service class in              master unit;
      sequence according to the priority levels and require-          the information amount report instruction means instructs
      ments regarding the delay time.                                    the slave units to issue reports regarding the informa-
   26. The point-to-multipoint communication system 60                   tion amount necessary to transmit signals;
according to claim 21, characterized in that the service              the information amount reporting means presents the
classes comprise service classes with periodic data trans-               master unit with reports regarding the information
mission requirements, and service classes with sporadic data             amount necessary to transmit the signals of all of the
transmissions; and                                                       service classes in accordance with the instructions from
   the transmission instruction means operates such that in 65           the master unit; and
      the case of service classes with periodic data transmis-        the signal transmission instruction means calculates the
      sion requirements, instructions are issued to transmit             overall transmittable information amount that can be

                                                         Appx3847
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                              85                                                                   86
      transmitted from the slave units to the master unit on            the slave units that have received the notifications from
      the basis of the allowed delay time of signals and the               the second notification means transmit data signals in
      rate of transfer from the slave units to the master unit,            the time slot units thus assigned.
      determines the maximum transmittable information                  34. The point-to-multipoint communication system
      amount of each slave unit by allocating the overall 5 according to claim 33, characterized in that the first notifi-
      transmittable information amount among the slave
                                                                     cation means notifies the master unit of the measurement
      units, issues instructions to transmit signals at no more
      than the information amount reported by the slave units        results obtained by the measurement means, using pre-
      for all of the service classes when the information            assigned control time slots.
      amount thus reported is less than the maximum trans-              35. The point-to-multipoint communication system
                                                                  10
      mittable information amount, and issues instructions to        according to claim 33, characterized in that the second
      transmit signals at less than the maximum transmittable        notification means assigns one or more continuous time slots
      information amount when the information amount                 to the slave units on the basis of the transmission-enabling
      reported by the slave units for all of the service classes     information amount calculated by the calculation means,
      exceeds the maximum transmittable information                  and notifies the slave units about the results of this assigning
      amount.                                                     15
                                                                     using pre-assigned control time slots.
   31. The point-to-multipoint communication system
according to claim 30, characterized in that the service class          36. A point-to-multipoint communication system, in
setting means comprises means for setting the service class          which
of signals transmitted to the master unit on the basis of               a master unit and a plurality of slave units are connected
differences in the allowed delay times of signals, wherein 20              by means of a transmission line, the slave units transmit
signals for which the allowed delay time is comparatively                  information signals by authorization from the master
short are classified as belonging to a high-priority service               unit, and there are two types of service classes for the
class, and signals for which the allowed delay time is                     allowed delay times of these information signals: guar-
comparatively long are classified as belonging to a low                    anteed service, which guarantees a delay time, and best
priority service class.                                           25       effort service, in which there is no compensation for the
   32. The point-to-multipoint communication system                        delay time, wherein the point-to-multipoint communi-
according to claim 30, characterized in that the signal                    cation system is characterized in that in the case of
transmission means first transmits signals of the high prior-              guaranteed service, the slave units comprise first noti-
ity service classes when instructions to transmit signals are
                                                                           fication means for notifying the master unit of circuit
received from the master unit.
                                                                  30       requests;
   33. A point-to-multipoint communication system, in
which a master unit and a plurality of slave units are                  the  master unit comprises second notification means for
connected by means of a transmission line, and the slave                   assigning the transmission line as time slot units to the
units transmit information signals by authorization from the               slave units on the basis of the circuit requests conveyed
master unit, wherein the point-to-multipoint communication                 by the slave units, and notifying the slave units about
system is characterized in that the slave units comprise 35                the results of this assigning; and
measurement means for measuring the information amount                  the slave units receiving the notifications from the second
to be transmitted, and first notification means for notifying              notification means transmit data signals as the time slot
the master unit of the measurement results obtained by the                 units thus assigned; and
measurement means;
                                                                        in the case of best effort service, the slave units comprise
   the master unit comprises calculation means for calculat- 40            measurement means for measuring the information
      ing a transmission-enabling information amount that                  amount to be transmitted, and third notification means
      allows each slave unit to transmit signals at no more                for notifying the master unit of the measurement results
      than a specific maximum value by determining a maxi-                 obtained by the measurement means;
      mum overall transmittable information amount of each
      currently active slave unit by allocating among the 45            the  master unit comprises calculation means for calculat-
      currently active slave units the maximum transmittable               ing  a transmission-enabling information amount that
      information amount that can be transmitted from the                  allows each slave unit to transmit signals at no more
      slave units to the master unit, calculating as the                   than a specific maximum value on the basis of an
      transmission-enabling information amount the infor-                  information amount conveyed from the slave units by
      mation amount reported by the slave units if the infor- 50           the third notification means, and fourth notification
      mation amount thus reported does not reach the maxi-                 means for assigning the transmission line as time slot
      mum transmittable information amount, and                            units to the slave units on the basis of the transmission-
      calculating as the transmission-enabling information                 enabling information amount calculated by the calcu-
      amount the maximum transmittable information                         lation means, and notifying the slave units about the
      amount if the information amount reported by the slave 55            results of this assigning;
      units exceeds the maximum transmittable information               the  slave units that have received the notifications from
      amount, and second notification means for assigning                  the fourth notification means transmit data signals in
      the transmission line as time slot units to the slave units          the time slot units thus assigned; and
      on the basis of the transmission-enabling information             the master unit gives preference to the guaranteed service
      amount calculated by the calculation means, and noti- 60             in assigning the time slots.
      fying the slave units about the results of this assigning;
      and                                                                                     * * * * *




                                                          Appx3848
US 2003/0020991 Al                                                                                              Jan.30,2003
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 AUTOMATIC BANDWIDTH ADJUSTMENT IN A                                  (PON) comprising an optical line terminal (OLT) connected
      PASSIVE OPTICAL NETWORK                                         to a plurality of optical network units (ONUs). A particular
                                                                      embodiment of the method according to the invention com-
                RELATED APPLICATIONS                                  prises the steps of transmitting data between at least one of
                                                                      the ONUs and the OLT, detecting if there is any undelivered
[0001] The present application relates to U.S. patent appli-          data in the data being transmitted, queuing the undelivered
cation Ser. No. 09/792,309 filed on Feb. 23, 2001 and                 data in an undelivered data block (UDE) in an upstream
entitled "IP PACKETIZED FRAME FORMAT IN A PAS-                        frame of the ONU, informing the OLT of the undelivered
SIVE OPTICAL NETWORK" which is incorporated herein                    data using the undelivered data block (UDE), reading the
by reference.                                                         UDE, adjusting bandwidth of the ONU according to the
                                                                      UDE, informing the ONU whether the PON is busy/unavail-
         BACKGROUND OF THE INVENTION                                  able using an unused bandwidth block (UBW), and rejecting
[0002]   1. Field of the Invention                                    a new service transmission request (such as a video on
                                                                      demand (VOD) request) between the ONU and the OLT if
[0003] The invention relates to optical networks and, more            the PON is busy or unavailable.
particularly, to the automatic bandwidth adjustment in a
passive optical network (PON) with optical network units or           [0009] A further embodiment of the method according to
ONUs.                                                                 the invention comprises the steps of calculating the unused
                                                                      bandwidth (UBW) and informing the ONUs of the UBW,
[0004]   2. Description of the Related Art                            sending an Downstream frame to the ONUs, and determin-
[0005] A passive optical network or PON is an optical                 ing if an ONU frame (for each of the ONUs) is received at
network that does not employ, or reduces the use of, active           the OLT. If it is determined that an ONU frame is received
devices such as lasers, regenerators and amplifiers. A PON            at the OLT, the UDE is recorded at the OLT, recalculating an
includes an optical line terminal (OLT), located at the central       automatic bandwidth adjustment beginning (ABAB) and an
office (CO) or cable headend, connected to a plurality of             automatic bandwidth adjustment terminating (ABAT), and
optical network units (ONUs). Because of the reduction in             calculating a new UBW for each received ONU frame. If an
the number of active devices, the optical network can                 ONU frame is not received at the OLT, a new UBW is
improve performance and become more cost-effective in                 calculated for each ONU frame not received at the OLT. The
operation and maintenance.                                            Downstream frame with the recalculated ABAB and ABAT
                                                                      is sent to each of the ONUs.
[0006] A PON can employ a tree, bus or ring architecture
in connecting the single OLT with the ONUs. FIG. 1 is a               [0010] At the ONUs, the UDE is calculated, and the ONU
block diagram generally illustrating a PON with an OLT 11             frames are transmitted to the OLT. At each of the ONUs, it
connected to a plurality of ONUs in a ring structure,                 is then determined whether an downstream frame is
including at least ONUs 111, 112, 113, 114 and 115. FIG. 2            received. If the Downstream frame is received, each of the
is a block diagram generally illustrating a PON with an OLT           ONUs records the recalculated ABAB and ABAT from the
21 connected to a plurality of ONUs in a tree architecture,           received Downstream frame, updates the ABAB and ABAT,
including at least ONUs 211, 212, 213, 214 and 215. FIG.              checks the UBW for deciding to accept ( or not) a new
3 is a block diagram generally illustrating a PON with an             transmission, and calculates a new UDE for each of the
OLT 31 connected to a plurality of ONUs in a bus archi-               transmitted ONU frames. If it is determined that the down-
tecture, including at least ONUs 311,312,313,314,315 and              stream frame is not received, a new UDE is calculated for
316. Data travels upstream when the data are transmitted              each of the transmitted ONU frames. The ONU frames are
from the ONUs to the OLT. Data travels downstream when                then transmitted to the OLT with the updated ABAB and
the data are transmitted from the OLT to the ONUs. The OLT            ABAT.
can also be connected to another optical or non-optical
                                                                      [0011] With the automatic bandwidth adjustment method
network, e.g., the Internet or an Internet protocol (IP)
                                                                      and system according to the invention, a PON, through its
network. Note that IP is a widely used protocol in the art that
                                                                      OLT, can advantageously control the bandwidth for each of
specifies the format of packets ( also called datagrams in IP
                                                                      the ONUs in the PON and accordingly optimize the overall
network) and the associated addressing scheme. A packet is
                                                                      bandwidth utilization therein.
a piece of a message transmitted over a packet-switching
network (such as an IP network) where the packet includes
                                                                            BRIEF DESCRIPTION OF THE DRAWINGS
the destination address in addition to the data, and each
packet in the network is transmitted individually (which can          [0012] The foregoing and other advantages and features of
follow different routes) to its corresponding destination.            the invention will become more apparent from the detailed
[0007] As data traffic increases or decreases due to the size         description of the preferred embodiments of the invention
and type of data being transmitted in the PON, bandwidth              given below with reference to the accompanying drawings,
utilization and efficiency may suffer. There is therefore a           not necessarily drawn to scale, in which:
general need in the art for a PON that allows automatic               [0013] FIG. 1 is a diagram generally illustrating a passive
bandwidth adjustment in optimizing bandwidth usage and                optical network (PON) in the art with a ring architecture;
thereby improving bandwidth efficiency.
                                                                      [0014] FIG. 2 is a diagram generally illustrating a passive
            SUMMARY OF THE INVENTION                                  optical network (PON) in the art with a tree architecture;
[0008] The invention provides an automatic bandwidth                  [0015] FIG. 3 is a diagram generally illustrating a passive
adjustment method and system in a passive optical network             optical network (PON) in the art with a bus architecture;


                                                      Appx3910
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     OPTICAL NETWORK UNIT AND CENTER                              NET. The communication network NET is a bi-directional
       OF AN OPTICAL COMMUNICATION                                network. It comprises the center OLTwhich is connected via
                 NETWORK                                          optical fiber links with several optical network units ONU,
                                                                  of which one unit is shown. For transmitting information
                     TECHNICAL FIELD                            5 from the center OLT to the network units ONU, the optical
                                                                  fiber links are implemented using optical splitters in star or
   The invention relates to an optical network unit of an         tree topology. Independent of these optical fiber links, there
optical communication network.                                    exists additional optical fiber links which are also imple-
                                                                  mented in star or tree topology for the purpose of transmit-
          BACKGROUND OF THE INVENTION                             ting information from the optical network units ONU to the
                                                               10
                                                                  center OLT.
   Optical communication networks require an optical trans-
mitter in each optical network unit. To eliminate the need for       Information is transmitted from the center OLT to the
the transmitters, an optical LAN in star topology with a          optical network units ONU using the optical time division
central laser has been constructed, as described in Electron-     multiplex or TDM technique. For this purpose, there are data
ics Letters, Sep. 1, 1994, Vol. 30, No. 18, pages 1506-1507. 15 packets generated in the center OLT which are transmitted
The central laser provides reference pulses which are trans-      sequentially in time to all optical network units ONU via the
mitted to all network units. In each network unit, the            glass fiber links. The beginning of each data packet contains
received reference pulses are modulated with the respective       an address specifying the network unit ONU for which the
digital data stream via an electro/optical switch using the       data packet is designated. Aside from the data packets, the
TDMA technique and subsequently reflected into the com- 20 center OLT also generates reference pulses. The reference
munication network. Because of the differences in propaga-        pulses are transmitted periodically and serve two functions:
tion time which are caused, for example, by temperature           first, the optical network units can use these reference pulses
variations, problems relating to synchronization can arise.       to establish synchronization with respect to the received
The reflection of the modulated reference pulses is lossy and     information. Secondly, the optical network units ONU can
may lead to interferences with the unmodulated reference 25 use the received optical reference pulses to transmit infor-
pulses. In addition, the optical network units have to be         mation to the center OLT without having their own trans-
synchronized with respect to each other.                          mitter by modulating the optical reference pulses with their
                                                                  own data stream and transmitting these signals to the center
             SUMMARY OF THE INVENTION                             OLT via the optical fiber links. As a result, the center OLT
                                                               30 transmits composite signals comprising reference pulses and
   It is therefore an object of the invention to reduce the       data packets. The data packets are transmitted during the
number of optical transmitters in optical network units. This     time intervals between the reference pulses.
object is solved by an optical network unit of an optical            Information is transmitted from the optical network units
communication network for receiving composite signals             ONU to the center OLT using the asynchronous CDMA
consisting of periodically transmitted reference pulses and
                                                               35 technique; CDMA=Code Division Multiple Access. CDMA
data packets transmitted in the time intervals between the        is an access technique wherein each optical network unit
reference pulses, comprising a processing unit for evaluating     ONU is assigned a code. Each optical network unit ONU
the received data packets and for generating a data stream,       receives from the center OLT the composite signals com-
an electro-optical unit for modulating the received reference     prising reference pulses and data packets. The data packets
pulses with the generated data stream, and a CDMA encoder
                                                               40 are evaluated if the addresses match. The received reference
for encoding the modulated reference pulses using the             pulses are modulated with the data stream containing the
asynchronous CDMA technique and for transmitting the              information to be transmitted and are subsequently encoded
encoded reference pulses.                                         using the CDMA technique before they are transmitted to
   Another object of the invention is a center of an optical      the center OLT via the optical fiber links. Each optical
communication network for transmitting composite signals 45 network unit ONU uses its own individual code for encod-
consisting of reference pulses and data packets which are         ing. The code is, for example, the address of the respective
transmitted in the time intervals between the reference           optical network unit ONU. In the center OLT, the reference
pulses, and for receiving a plurality of different CDMA-          pulses encoded with the CDMA technique are received,
encoded signals, comprising a unit for generating the com-        decoded and evaluated.
posite signals and a plurality of CDMA decoders for decod- 50        The communication between the center OLT and the
ing the received encoded signals.                                 optical network units ONU can be broadband. In this way,
                                                                  for example, an optical LAN can be constructed wherein the
       BRIEF DESCRIPTION OF THE DRAWINGS                          optical network units ONU communicate with each other,
   In the following, the invention will be discussed in           for example transmit data, via the center OLT.
reference to an illustrative embodiment in conjunction with 55       The center OLT is a so-called Optical Line Termination.
the accompanying drawings. In the drawings:                       It comprises a light source LAS, an electro/optical modula-
   FIG. 1, a schematic illustration of a communication            tor MOD, several CDMA decoders Dl, D2, ... , Dn and an
network of the invention,                                         arithmetic unit µP. n is an integer number corresponding to
                                                                  the number of optical network units ONU adapted for
   FIG. 2, illustrates three diagrams of signal forms, and
                                                               60 bi-directional communication, wherein each of these units
   FIG. 3, schematically illustrates a construction of a          includes one CDMA encoder. The light source LAS com-
CDMA encoder.                                                     prises a laser diode for generating continuous (CW) light in
                                                                  the wavelength range 1520 nm to 1570 nm. The arithmetic
         BEST MODE FOR CARRYING OUT THE
                                                                  unit µPis implemented as a microprocessor. In the arithmetic
                         INVENTION
                                                               65 unit µP, electrical signals are generated. The electrical sig-
   The embodiment will now be initially described with            nals are composite signals consisting of reference pulses and
reference to FIG. 1. FIG. 1 shows a communication network         data packets. The reference pulses are transmitted periodi-


                                                     Appx3987
                                                          6,023,467
                              1                                                                  2
     OPERATIONS AND MAINTENANCE DATA                               account for the efficient and successful delivery of "system
     FLOWS OVER A POINT TO MULTIPOINT                              level" data, including what is commonly referred to as
        BROADBAND ACCESS NETWORK                                   operations, administration and maintenance ("OAM") data.
                                                                   In particular, OAM functions are generally categorized into
                FIELD OF THE INVENTION
                                                                5 performance, fault, configuration, accounting, security and
   The present invention pertains to the field of communi-         traffic management data.
cation networks and, more particularly, to transmission               For example, OAM functions needed in an ATM-based
protocols for the transport of operations, administration and      point-to-multipoint PON can be categorized by looking at
maintenance data over a point-to-multipoint broadband              the protocols chosen for data transfer, the physical equip-
access network.                                                 10 ment related functions, the functions required, and the
           BACKGROUND OF THE INVENTION                             services supported over the access network. A general cat-
   Much activity is presently being directed towards the           egorization of the OAM functions, based on a "protocol
                                                                   stack" view of a PON system, is set forth as follows:
design and deployment of "point-to-multipoint" broadband
access networks, wherein downstream signals are broadcast 15 1. Physical layer:
from a single head-end facility to multiple end user stations         (a) Optical layer, including transmit and receive power
(i.e., via "point-to-multipoint" transmission), and upstream              levels, ranging, synchronization, optical signal
signals are transmitted from each respective end user to the              loopback, signal detection and frame alignment; and
head end facility (i.e., via "point-to-point" transmission). It       (b) PON transmission convergence, including cell slot
presently anticipated that point-to-multipoint broadband 20               and frame integrity, downstream frame and cell
access networks will be employed to support a variety of                  loopback, upstream cell loopback, error monitoring,
independent communication services, such as traditional                   cell rate de-coupling, cell delineation, performance
two-way telecommunications, broadcast video (i.e., CATV)                  monitoring, and fault localization.
services and a full range of digital baseband services.            2. ATM layer:
   Given the wide variety of potential communication ser- 25          ( a) ATM cell integrity, flow control, traffic congestion
vices to be supported over point-to-multipoint broadband                  control, and service priority identification ("PTI") and
access networks, it is desirable to provide efficient digital             processing;
data transmission protocols for supporting both the down-             (b) Virtual path ("VP") alarm indication signals ("AIS"),
stream and upstream communication paths. Notably, such                    remote defect indication ("RDI"), continuity check,
networks are well suited to support asynchronous transfer 30              forward performance monitoring, backward perfor-
mode ("ATM") based data transmission, whereby data pack-                  mance monitoring, loopback, system management
ets or "cells" are periodically assembled and transmitted                 functions, and fault and performance management; and
from a sending node, and received and disassembled at a               (c) Virtual circuit ("VC") AIS, RDI, continuity check,
receiving node. In particular, ATM transmission enables the               forward performance monitoring, backward perfor-
transmission of multiple services over a single communica- 35             mance monitoring, loopback, system management
tion path, whereby individual service bandwidth utilization               functions, and fault and performance management.
may be optimized as a function of the statistical activity of      3. Media Access control ("MAC") functions:
each individual service.
                                                                      (a) Downstream bandwidth allocation and maintenance,
   By way of specific examples, a preferred system archi-
                                                                          upstream transmission bandwidth request processing,
tecture and data transmission protocol for a point-to- 40
                                                                          polling and sign-on of idle optical network units
multipoint broadband access network employing an ATM-
                                                                          ("ONUs"); and
based passive optical network ("PON") is disclosed and
described in U.S. Application Ser. No. 08/826,633, filed Apr.         (b)  Upstream bandwidth requests based on traffic demand
3, 1997, entitled "Data Transmission Over a Point-to-                     from  each respective ONU, request grant identification
Multipoint Optical Network," now U.S. Pat. No. 5,926,478. 45              and proper association with the upstream cell slot.
A preferred system architecture and data transmission pro-         4. ATM Adaptation Layer ("AAL") level:
tocol for a point-to-multipoint broadband access network              ( a) User data at this level is beyond the scope of the PON
employing a shared coaxial medium is disclosed and                        management; and
described in U.S. application Ser. No. 08/772,088, filed Dec.         (b) System signalling data is carried over AAL and is to
19, 1996, entitled "Network Architecture for Broadband 50                 be managed at the AAL level.
Data Communication Over a Shared Medium," now U.S.                 5. Service Level:
Pat. No. 5,926,476. Both of these applications are assigned           This is transparent to PON the interface and concerns only
to the assignee of the present application and both are fully      end-points and intermediate points that process each par-
incorporated herein by reference.                                  ticular service type.
   The use of a relatively low noise, high speed point-to- 55 6. Hardware alarms:
multipoint optical network to support the two-way transmis-           (a) Equipment failures affecting the physical, MAC, and/
sion of a wide variety broadband data services is especially              or ATM layers; and
desirable in that relatively large amounts of data may be             (b) Internal failures, such as power or battery failures,
transported in short time periods. However, in order to fully             backplane, board and component failures, and
utilize the high speed, low noise environment provided by an 60           mechanical and environmental failures.
optical network, the selected data transmission protocol(s)           A generally accepted standard for OAM flows in broad-
should be compatible with existing optical transmission            band access networks is published in the ITU-T Recom-
standards, should most fully utilize the available carrier         mendation 1.610 (draft published November 1995), entitled
channel bandwidth, and should conform with applicable              "B-ISDN Operation and Maintenance Principles and
ATM transmission protocols.                                     65 Functions," which is fully incorporated herein by reference.
   In addition to the efficient and successful delivery of         In accordance with the ITU-T 1.610 Recommendation,
bearer information, such communication protocols must also         OAM functions in a broadband integrated services digital


                                                      Appx3999
                                                          6,023,467
                              3                                                                  4
network (i.e., "B-ISDN OAM functions") are divided into              upstream OAM data flows in an ATM-based point-to-
the following stages: (1) performance monitoring, including          multipoint broadband communication network.
the continuous or periodic monitoring of all network man-               In accordance with a first aspect of the invention, B-ISDN
aged entities to verify their normal operation, resulting in         OAM functions in a point-to-multipoint PON-based broad-
maintenance event information; (2) defect and failure 5 band access network ("BAN"), are defined from an "OAM
detection, including the detection of malfunction conditions
                                                                     flow" perspective, wherein some of the PON physical layer
through a continuous or periodic inspection, resulting in
                                                                     related functions are performed at the Fl level flow, includ-
maintenance or alarm reports; (3) system protection, includ-
ing minimizing of managed entity failure effects by blocking         ing   all functions relating to the sign-on, ranging, power
or replacing the entity-i.e., excluding the failed entity from       tuning, synchronization and timing status of the ONUs;
                                                                  10 certain physical layer performance, fault and configuration
further operation; (4) delivery of failure or performance
impairment information to network management entities,               management; physical layer loopback testing; and equip-
e.g., such as alarm indication and status report delivery; and       ment related status, failure, inventory and testing reports.
(5) fault localization, including internal or external testing to       At the F3 flow level, the OAM functions are defined to
determine the impaired entity for fault localization.                include further performance and fault management
   In accordance with the ITU-T 1.610 Recommendation, 15 functions, as well as MAC related functions. These func-
B-ISDN OAM functions are essentially performed over five             tions concern mainly upstream and for upstream bandwidth
hierarchical "levels" associated with the ATM and physical           management transactions between the headend facility and
layers of the protocol reference model, resulting in corre-          the respective ONUs.
sponding bidirectional "information flows" Fl, F2, F3, F4
and FS, referred to herein as "OAM flows." Not all five 20              In an exemplary point-to-multipoint PON, downstream
hierarchical OAM flows Fl-FS must necessarily be                     data   over is broadcast (or multicast) in successive down-
employed in a particular network implementation-e.g., the            stream frames from an optical line terminal ("OLT") to a
OAM functions of a missing level may be performed at the             plurality of ONUs, wherein each downstream data frame
next higher level. More particularly, the OAM flows Fl-FS            generally comprises a framing header followed by a plural-
constitute a means for in-band communication of informa- 25 ity of successive downstream ATM slots. Upstream data is
tion between peer OAM elements and functions of the                  transmitted point-to-point from respective ONUs to the OLT
broadband network, which collectively monitor the data               in packets, with each upstream packet including a header
path at different network levels. The transfer mode used for         added to a standard ATM cell.
the information carried by these flows depends on the nature            In accordance with a further aspect of the invention, the
of both the particular level and the transport network.
                                                                  30 Fl and F3 OAM data flows are transported in the respective
   By way of examples, for a physical layer based on the             downstream frames and upstream packets in preferred pro-
CCITT standard synchronous digital hierarchy ("SDH"), Fl             tocols suitable for a point-to-multipoint network configura-
to F3 flows are carried in synchronous channels in the
                                                                     tion. In particular, downstream Fl OAM flows are carried in
overhead of the physical layer. For a cell-based physical
                                                                     specifically allocated overhead of each downstream frame
layer, Fl to F3 flows are carried by physical layer OAM (
                                                                     header, with a downstream Fl "flow unit" defined as the
"PL-OAM") cells. For the ATM layer itself, the F4 flows are 35
                                                                     entire frame. Downstream F3 OAM flows may be alter-
carried in cells distinguished by pre-assigned virtual circuit
                                                                     nately carried in either the framing overhead, or in overhead
identifiers ("VCis") in the virtual path, and the FS flows are
                                                                     associated with specific downstream ATM slots. In either
carried in cells distinguished by special PTI codes in the
                                                                     case, a downstream F3 flow unit is defined as the respective
virtual circuit.
                                                                     ATM slots.
   Existing industry standards addressing broadband OAM 40
functionality are mainly directed to point-to-point backbone            Upstream Fl and F3 data flows are carried in specifically
networks. Such networks, however, are fundamentally dif-             allocated overhead associated with each upstream packet,
ferent from broadband access network architectures, and in           with an upstream Fl flow unit defined as the entire upstream
particular, from point-to-multipoint networks. For example,          packet, and an upstream F3 flow unit defined as the upstream
while the data flows in a point-to-multipoint broadband 45 ATM cell and MAC layer overhead. In accordance with a
access network are bidirectional, they are asymmetrical. As          still further aspect of the invention, the respective down-
such, OAM flows in a point-to-multipoint broadband access            stream and upstream Fl and F3 data flows may be cell-
network must be separately defined for "downstream" (i.e.            based, wherein the respective flows are transported in cus-
from a head-end facility to the respective subtending                tomized downstream and upstream ATM cells-i.e., with no
terminals) and "upstream" (i.e., from the respective subtend- 50 overhead allocation required.
ing terminals to the head-end facility) directions. Further,            Other and further objects, features, aspects, and advan-
these OAM flows must be implemented through different                tages of the present invention will become better understood
mechanisms, carry different functions, and pertain to differ-        with the following detailed description of the accompanying
ent end-points in each direction. In this context, the head-         drawings.
end and the subtending terminals are not peer entities, e.g., 55
the terminals must report back fault conditions and perfor-                  BRIEF DESCRIPTION OF THE DRAWINGS
mance degradation to the head-end, but the opposite is not              The drawings illustrate both the design and utility of
applicable.                                                          preferred embodiments of the present invention, in which:
   Thus, it would be desirable to define and provide specific
                                                                        FIG. 1 depicts a Bellcore recommended OAM cell format
OAM flow protocols for a broadband access network envi- 60
                                                                     for F4 and FS OAM data flows;
ronment and, by way of example, show how such definitions
and protocols would be applicable in a PON-based, point-                FIG. 2 depicts a basic assignment of Fl through FS OAM
to-multipoint broadband access network configuration.                flows through an exemplary PON-based broadband access
                                                                     network;
             SUMMARY OF THE INVENTION                             65    FIG. 3 depicts a first preferred protocol for downstream
   The present invention provides both functional definitions        Fl and F3 OAM flows in a frame-based ATM transmission
and data transmission protocols for both downstream and              scheme;


                                                      Appx4000
breakdown voltage                                                                                                       80

breakdown voltage: The voltage between two isolated            n1 are the refractive indices of medium 2 and medium
or insulated points at which electric conduction occurs,       1, respectively, and E2 and E1 are their electric permittiv-
i.e., arc-over occurs, between the two points. Note:           ities. Note 3: The Brewster angle is a convenient angle
At the breakdown voltage, material destruction usually         for transmitting all the energy in an optical fiber to a
occurs. See also avalanche multiplication, conduc-             photodetector, or from a light source to a fiber. Note
tion, insulated, isolated, point, voltage.                     4: There is no Brewster angle when the electric field
                                                               component of the incident wave is parallel to the inter-
breaker: See circuit breaker, power circuit breaker.
                                                               face, except when the electric permittivities are equal,
break lock: To lose frequency lock, phase lock, or             in which case there is no interface. Note 5: For entry
synchronism. See angle break lock. See also fre-               into a more dense medium, such as from air into an
quency lock, phase lock, synchronism.                          optical fiber, 0 8 is less than 45°. From a more dense
                                                               medium into a less dense medium, such as from an
breakout: To separate and access the individual optical
                                                               optical fiber to air, 0 8 is greater than 45°. See also
fibers or electrical conductors of a cable or bus, usually
                                                               Brewster's law, dielectric, electric field vector, elec-
to (a) establish a breakout box, (b) create a splice, or
                                                               tric permittivity, electromagnetic wave, energy, inci-
(c) connect the individual optical fibers or electrical
                                                               dence angle, incident, interface surface, light source,
conductors to terminal receiving or transmitting equip-
                                                               magnetic field vector, optical fiber, photodetector,
ment. Synonym furcate. See also breakout box, con-
                                                               Poynting vector, propagation, propagation medium,
ductor, fiber optic breakout cable, fiber optic break-
                                                               reflectance, refractive index, transmit, transmit-
out kit, fiber optic splice, optical fiber, terminal.
                                                               tance.
breakout box: In an interface bus, a device that permits
                                                               Brewster's law: When an electromagnetic wave is inci-
a user to access individual leads for various purposes,
                                                               dent upon an interface surface, i.e., an incidence plane,
such as to monitor, break, switch, interconnect, or test
                                                               and the angle between the refracted and reflected ray
selected circuits. See also distribution frame, fiber
                                                               is 90°, (a) maximum polarization occurs in both rays,
optic distribution frame, fiber optic patch panel,
                                                               (b) the reflected ray has its maximum polarization in
interface bus.
                                                               a direction normal to the interface surface, and (c) the
breakout cable: See fiber optic breakout cable.                refracted ray has its maximum polarization parallel to
                                                               the interface surface, i.e., the incidence plane. See also
breakout kit: See fiber optic breakout kit.
                                                               Brewster angle, electromagnetic wave, incidence, in-
breakout point: The point where a branch meets,                cident, interface surface, polarization, ray, refracted
merges, or joins with or diverges from the main cable          ray, refraction.
or harness run. Note: An example of a breakout point
                                                               brick: In the mobile service, a station that consists of
is the point of convergence or divergence of the fibers
                                                               a hand-held radiotelephone unit that (a) is licensed un-
in a fiber optic cable. See also branch, branched cable,
                                                               der a site authorization and (b) is capable of operation
fiber optic cable.
                                                               while being hand-carried. See also radiotelephone,
bremsstrahlung: A pulsed ray or beam, literally from           station.
the German, a braked ray, i.e., an interrupted ray. See
                                                               bridge: 1. In a communications network, such as a
also beam, optical pulse, pulse, ray.
                                                               fiber optic net, a means that (a) links or routes signals
Brewster angle: The angle, measured with respect to            from one ring or bus to another or from one network
the normal at an interface surface, at which an electro-       to another, (b) extends the distance span and capacity
magnetic wave incident upon the interface surface be-          of a single local area network (LAN), (c) does not
tween two dielectric media of different refractive indi-       modify packets or messages, (d) operates at the Data
ces is totally transmitted from one propagation medium         link Layer of the Open Systems Interconnection-Ref-
into another. Note I: The transmittance will be unity and      erence Model (OSI-RM) (Layer 2), and (e) reads
the reflectance will be zero only for an electromagnetic       packets and messages and passes only those with ad-
wave that has its electric field vector in the plane defined   dresses on the same segment of the network as the
by (a) the direction of propagation, i.e., the direction       source user. 2. A functional unit that interconnects two
of the Poynting vector, and (b) the normal to the surface.     local area networks (LANs) that use the same logical
Thus, the magnetic field vector of the incident wave           link control sublayer, but may use different medium
must be parallel to the interface surface. Note 2: The         access control sublayers. See also bridging connection,
Brewster angle, 0 8 , for propagation from medium 1 to         fiber optic link, fiber optic net, functional unit, local
medium 2, is given by the relation 0 8 =arctan(nzfn 1) =       area network, logical link control sublayer, medium,
arctan(Ez/E 1) 112 where 0 8 is the Brewster angle; n2 and     medium access control sublayer, medium access


                                                    Appx4108
carrier dropout                                                                                                       96

service to the public, such as a railroad company, an        control, frequency, optical carrier, suppressed car-
airline company, a steamship company, a communica-           rier transmission.
tions company, or a trucking company. Synonyms car-
                                                             carrier level: The level of a carrier signal at a specified
rier system, carrier wave. See charge carrier, com-
mercial communications common carrier, common                point in a communications system. Note: The carrier
carrier, communications common carrier, continu-             level may be expressed (a) in dB (decibels) relative to
ous carrier, digital loop carrier, full carrier, local       a specified reference level or relative to a specified
exchange carrier, optical carrier, other common car-         point in the system or (b) in absolute power units, such
rier, pulse carrier, resale carrier, specialized com-        as kilowatts, watts, milliwatts, or microwatts. See also
mon carrier, subcarrier, telecommunications car-             carrier power, dB, level, optical carrier, optical
rier, value-added carrier, virtual carrier, wireline         power, optical signal, power, reference.
common carrier. See also amplitude modulation,               carrier mobility: See charge carrier mobility.
electromagnetic wave, emission, frequency modula-
tion, information-bearing signal, lightwave, micro-          carrier multiplex: Synonym frequency division mul-
wave, modulation, optical pulse, phase modulation,           tiplex.
pulse, pulse code modulation, pulse train, radio
                                                             carrier noise level: The noise level that results from
wave, sinusoidal function, transmit, wavelength
                                                             undesired variations of a carrier in the absence of any
modulation. Refer to Appendix B, Tables 1, 2, 4, 6,
                                                             intended modulation. Common abbreviation: CNL.
7, 8, 10.
                                                             Synonym residual modulation. See also carrier, level,
carrier dropout: A temporary loss of a carrier. Note:        modulation, noise, optical carrier, optical carrier
Some causes of carrier dropout are noise, maintenance        leak.
activity, system failure, system degradation, and tempo-
rary loss of power. See also carrier, failure, mainte-       carrier pulse: 1. A carrier that has the duration of a
nance, noise, optical carrier, optical power, power.         pulse. 2. A pulse of a carrier, such as an optical pulse
                                                             or a pulse that occurs in pulse code modulation (PCM).
carrier frequency: 1. The frequency of a carrier. 2.         Common abbreviation: CP. See also carrier, modula-
The frequency of an unmodulated wave, such as an             tion, optical pulse, pulse, pulse carrier, pulse code
unmodulated lightwave or an unmodulated radio wave,          modulation, pulse duration.
capable of being modulated with an information-bear-
ing signal. Note: In frequency-modulated systems, the        carrier sense: Synonym carrier sensing.
carrier frequency is also the center frequency. In fre-
                                                             carrier sense multiple access: A network control fea-
quency modulation, synonym center frequency. See
                                                             ture in which a transmitter checks for a clear channel,
also carrier, center frequency, frequency, frequency
                                                             such as a clear fiber optic channel, before transmitting.
modulation, frequency spectrum designation, infor-
                                                             Common abbreviation: CSMA. See also access, car-
mation-bearing signal, lightwave, lower sideband,
                                                             rier, check, clear channel, code division multiple
modulation, radio wave, signal, upper sideband,
                                                             access, collision, fiber optic channel, local area net-
wave.
                                                             work, network, transmit, transmitter.
carrier frequency shift: See subcarrier frequency
shift.                                                       carrier sense multiple access with collision avoid-
                                                             ance: A protocol in which (a) carrier sensing is used,
carrier frequency stability: A measure of the ability of     (b) a data station that intends to transmit sends a jam
a transmitter to maintain, i.e., to remain on, an assigned   signal, (c) after waiting a sufficient time for all stations
frequency an assigned wavelength, or a design wave-          to receive the jam signal, the data station transmits a
length, such as that of a radio wave or a lightwave.         frame, and (d) while transmitting, if the data station
See also assigned frequency, lightwave, radio wave,          detects a jam signal from another station, it stops trans-
transmitter, wavelength.                                     mitting for a designated time and then tries again. Com-
carrier interrupt signaling: See digital carrier inter-      mon abbreviation: CSMA/CA. See also carrier, car-
rupt signaling.                                              rier sensing, collision, data station, frame, jam
                                                             signal, local area network, optical carrier, optical
carrier leak: In a suppressed carrier transmission sys-
                                                             signal, protocol, signal, station.
tem, the carrier that remains after carrier suppression.
Note: The carrier leak may be used as a reference for        carrier sense multiple access with collision detection:
an automatic frequency control system. See optical           A protocol in which (a) carrier sensing is used and (b)
carrier leak. See also carrier, carrier suppression,         a transmitting data station that detects another signal


                                                   Appx4124
97                                                                               carrier-to-receiver noise density

while transmitting a frame stops transmitting that frame,   carrier, time division multiplexing, transmission,
transmits a jam signal, and then waits for a specified      voice.
time interval before trying to send that frame again.
                                                            carrier-to-noise power ratio: The ratio of (a) the
Common abbreviation: CSMA/CD. See also carrier,
                                                            power of the carrier, such as an optical carrier, to (b)
carrier sensing, collision, data station, detection,
                                                            the power of the noise measured at a receiver, such as
frame, jam signal, local area network, optical car-
                                                            a fiber optic receiver, of defined bandwidth before any
rier, optical signal, protocol, signal, station.
                                                            nonlinear signal processing is performed. Common ab-
carrier sensing: In a local area network (LAN), an          breviations: CNR, C/N. Note 1: The carrier-to-noise
ongoing activity of a data station to detect whether        (C/N) power ratio usually is expressed in dB. Note
another station is transmitting, including determining      2: Nonlinear signal processing includes (a) amplitude
whether an optical carrier is being transmitted. Synonym    limiting, i.e., clipping, and (b) detection, i.e., rectifica-
carrier sense. See also carrier, local area network,        tion and demodulation. In lightwave communications
optical carrier, station.                                   systems, noise is introduced by light sources, coupling
                                                            with adjacent channels, the propagation media, and var-
carrier shift: 1. In the transmission of binary or tele-
                                                            ious sources of interference. See also bandwidth, car-
typewriter signals, keying in which the carrier fre-
                                                            rier, channel, clipping, coupling, demodulation, de-
quency is changed in one direction for marks and in         tection, fiber optic channel, fiber optic receiver,
the opposite direction for spaces. 2. In amplitude modu-    interference, light source, lightwave, limiter, noise,
lation, a condition that (a) results from imperfect modu-   optical carrier, optical power, power, propagation
lation such that the positive and negative excursions of    medium, signal processing.
the modulating envelope are unequal in amplitude, (b)
results in a change in the power associated with the        carrier-to-noise ratio: 1. The ratio of (a) the received
carrier, and (c) may be positive or negative, i.e., an      signal level, such as the received optical signal power
increased or a decreased frequency. See also ampli-         level, to (b) the receiver noise level, such as the fiber
tude, amplitude modulation, carrier, carrier fre-           optic receiver noise level. Note 1: If power values are
quency, carrier power, frequency, frequency shift           used, 10 times the logarithm to the base 10 of the
keying, keying, mark, modulation, space. Refer to           carrier-to-noise ratio (C/N or CNR) converts the ratio
Appendix B, Tables 1, 2, 4, 6, 7, 8, 10.                    to dB. If current or voltage values are used, 20 times
                                                            the logarithm of C/N converts the ratio to dB. Note 2:
carrier single sideband emission: See reduced car-          The carrier-to-noise ratio (CNR) usually is expressed
rier single sideband emission.                              in dB. Common abbreviation: CNR, C/N. 2. In radio
carrier suppression: See suppressed carrier trans-          receivers, the ratio of (a) the amplitude of the carrier
mission.                                                    to (b) the amplitude of the noise in the intermediate
                                                            frequency (IF) bandwidth before any nonlinear signal
carrier synchronization: In a radio receiver, the gener-    processing occurs, such as amplitude limitation and
ation of a reference carrier that has a phase closely       detection. See also amplitude, bandwidth, carrier,
matched to that of a received signal. Note: Carrier         current, dB, fiber optic receiver, level, limiter, noise,
synchronization may occur in optical pulse code modu-       optical signal, power, power level, signal-to-noise
lation systems and in coherent detection systems. See       ratio, signal processing, value, voltage. Refer to Fig.
also carrier, coherence, coherent, coherent detec-          C-1.
tion, modulation, optical pulse, phase, pulse code
modulation, phase locked loop, synchronization.             carrier-to-receiver noise density: In satellite commu-
                                                            nications systems, the ratio of (a) the received carrier
carrier system: A multichannel telecommunications           power to (b) the receiver noise power density. Common
arrangement in which a number of individual data or         abbreviation: C/kT. Note 1: The carrier-to-receiver
voice circuits, such as fiber optic circuits, are multi-    noise power density is usually expressed in dB (deci-
plexed for use in transmission between the nodes of a       bels). Note 2: The carrier-to-receiver noise density is
network. Common abbreviation: CS. Note 1: In carrier        given by the relation C!kT where C is the received
systems, many different forms of multiplexing are used,     carrier power in watts, k is Boltzmann's constant in
such as time division multiplexing, and frequency divi-     joules per kelvin, and T is the receiver system noise
sion multiplexing. Note 2: Multiple layers of multi-        temperature in kelvins. Note 3: The receiver noise
plexing may be imposed on the same carrier, such as         power density, kT, is the receiver noise power per hertz.
an optical carrier. See also carrier, channel, data,        See also carrier, carrier power, noise power, noise
fiber optic circuit, frequency division multiplexing,       power density, noise temperature, receiver, signal-
multichannel, multiplexing, network, node, optical          to-noise ratio, satellite communications system.

                                                  Appx4125
code converter                                                                                                    126

ture, such as 5, 7, or 14 bits per character interval, to    code-dependent system: A system that depends for
a second code with a different structure, such as a          its correct functioning upon the character set or code
different number of bits per character interval. Note:       required for data transmission. Synonym code-sensitive
In code conversion, alphabetical order is not significant.   system. See also character, code, coded character
See also binary digit, bit, character, code, line code,      set, code-transparent system, data transmission.
optical signal, pulse code modulation, signal.
                                                             coded image: A representation of a display image in a
code converter: A data converter that changes the rep-       form suitable for transmission, storage, and processing.
resentation of data using one code, or coded character       See also display device, image, image storage space,
set, into data representing the same information but         storage, transmission.
using a different code, or a different coded character
                                                             coded image space: Synonym image storage space.
set. Note: Examples of code converters are (a) a device
that converts data encoded in international Morse code       code division multiple access: 1. Modulation that (a)
into data encoded in the American National Code for          independently codes data in multiple channels for trans-
Information Interchange (ASCII) and (b) a device that        mission over a single wideband channel, such as a fiber
converts a nonreturn to zero (NRZ) binary code to a          optic channel, (b) may be used as an access method
return to zero (RZ) binary code. See also coded charac-      that permits carriers from different stations to use the
ter set, nonreturn to zero binary code, optical signal,      same transmission equipment by using a wider band-
pulse code mdoulation, return to zero binary code.           width than the individual carriers, and on reception,
coded character: The representation of a discrete value      each carrier can be distinguished from the others by
or symbol in accordance with a code. Note: An example        means of a specific modulation code, thereby allowing
of a coded character is the letter A represented by a        for the reception of signals that were originally overlap-
bit pattern, such as a bit pattern in the American Stan-     ping in frequency and time, (c) permits several trans-
dard Code for Information Interchange. See also Amer-        missions to occur simultaneously within the same band-
ican Standard Code for Information Interchange,              width, with the mutual interference reduced by the
character, code, coded character set, digital alpha-         degree of orthogonality of the unique codes used in
bet, value.                                                  each transmission, and (d) permits a more uniform dis-
                                                             tribution of energy in the emitted bandwidth. Common
coded character set: A character set established in          abbreviation: CDMA. Note: Code division multiple
accordance with unambiguous rules that define the char-      access signals may be transferred between transmitting
acter set and the one-to-one relationships between the       stations via fiber optic links. 2. A coding scheme in
characters of the set and their coded representations.       which (a) digital information is encoded in an expanded
See also coded, character, character set, code, digi-        bandwidth format, (b) several transmissions can occur
tal alphabet.                                                simultaneously within the same bandwidth with the
coded decimal interchange code: See extended bi-             mutual interference reduced by the degree of orthogo-
nary coded decimal interchange code.                         nality of the unique codes used in each transmission,
                                                             and (c) a high degree of energy dispersion occurs in
code-dependent: Pertaining to a communications,
                                                             the emitted bandwidth. See also access, bandwidth,
computer, data processing, or control system in which
                                                             carrier, channel, code, dispersion, emit, fiber optic
correct and proper functioning depends on the use of
                                                             channel, fiber optic link, modulation, mutual inter-
a specific coded representation or coded character set.
                                                             ference, reception, transmission, wideband. Refer to
See also code, coded character set, code independent.
                                                             Fig. C-11.
code-dependent communications: Synonym code-de-
                                                             coded modulation: See differential trellis coded
pendent data communications.
                                                             modulation, trellis coded modulation.
code-dependent data communications: Data commu-
                                                             coded speech: The output of any device that converts
nications in which protocols are used that depend upon
                                                             a signal derived from plain speech into another type of
the coded character set or data code used for their
                                                             signal. See also optical signal, plain speech, signal.
correct functioning. Nore: Fiber optic systems usually
are code-independent systems. Synonyms code-depen-           code element: In the set of characters of a code, one
dent communications, code-nontransparent com-                of a set of parts used to compose or construct the
munications, code-nontransparent data communi-               characters. See also binary digit, character, code,
cations. See also code, coded character set, data,           mark, pulse code modulation, space, start-stop
data communications, data transmission, source.              transmission.

                                                       Appx4154
383                                                                                                frequency drift

or one-fourth of the input frequency. See also fre-         ing. Note 3: In fiber optic systems, frequency division
quency, frequency translator, integral.                     multiplexing (FDM) is usually called wavelength divi-
                                                            sion multiplexing (WDM) because lightwaves and opti-
frequency division: In communications systems, the
                                                            cal components are best and more often described in
use of frequency to obtain separation between channels,
                                                            terms of wavelength. To be consistent, modulation of
such as electronic and fiber optic channels, so that
                                                            the instantaneous wavelength is called wavelength
several messages can be handled by the same circuit
                                                            modulation (WM) and it avoids confusion with FDM,
at the same time, each message being transmitted at a
                                                            which also may be in use in the same system. FDM
different frequency. See also communications system,
                                                            signals can be modulated onto optical carriers by means
fiber optic channel, frequency division multiplexing,
                                                            of WM or by intensity modulation (IM). See also car-
space division, time division. Refer to Appendix B,
                                                            rier, channel, channelization, demultiplexing, emit,
Tables 1, 2, 4.
                                                            frequency, frequency division multiplexing, infor-
frequency division multiple access: The use of fre-         mation-bearing signal, intensity, inverted position,
quency division to provide multiple and simultaneous        laser, modulate, multiplex hierarchy, multiplexing,
transmissions to a single transponder. Common abbre-        optical, optical fiber, optical source, optical spec-
viation: FDMA. See also frequency, frequency divi-          trum, optical wavelength, photodetector, prism,
sion, transmission, transponder. Refer to Appendix          propagation medium, time assignment speech inter-
B, Tables 1, 2, 4.                                          polation, time division multiplexing, wavelength,
frequency division multiplex: To derive two or more         wavelength division multiplexing. Refer to Appendix
simultaneous, continuous channels from a propagation        B, Tables 1, 2, 4.
medium that connects two points by (a) assigning sepa-      frequency domain: The domain in which mathematical
rate portions of the available frequency spectrum to        functions and events are expressed as a function of
each of the individual channels, (b) dividing the fre-      frequency, i.e., the domain in which frequency is the
quency range into narrow bands, and (c) using each          independent variable used to express functions and
band as a separate channel. Common abbreviation:            events. Note 1: Examples of frequency domains are
FDM. Synonym carrier multiplex. See also band,              (a) impedances expressed as a function of constants
channel, fiber optic channel, frequency band, fre-          and the applied frequency, (b) a Fourier analysis of a
quency division multiplexing, frequency spectrum,           waveform, and (c) the response of a device as a function
narrowband, propagation medium, wavelength divi-            of frequency. Note 2: In certain mathematical trans-
sion multiplex.                                             forms, such as LaPlace transforms, time and frequency
frequency division multiplex combining: Synonym             domains can be interchanged. Note 3: In propagating
radio frequency combining.                                  electromagnetic waves and sound waves, frequency and
                                                            wavelength are interchangeable because the velocity
frequency division multiplexing: The multiplexing,          usually is a constant. In fiber optics, the reciprocal of
i.e., the deriving, of two or more simultaneous, continu-   the frequency is proportional to the wavelength. See
ous channels from a propagation medium by assigning         also dependent variable, distributed network, do-
separate portions of the available frequency spectrum to    main, Domain Name System, event, Fourier analy-
each of the individual channels. Common abbreviation:
                                                            sis, function, independent variable, modulation do-
FDM. Note 1: A broadband frequency spectrum allows
                                                            main, multiple domain network, software, time
for a large number of channels. Note 2: In optical
                                                            domain, variable, waveform. Refer to Appendix B,
communications, frequency division multiplexing
                                                            Tables 1, 2, 4.
(FDM) may be accomplished by wavelength division
multiplexing (WDM), in which several distinct optical       frequency drift: A slow undesired progressive change
sources, such as lasers, are used, each having a distinct   in frequency with time. Note 1: Causes of frequency
center frequency, i.e., each emitting a different optical   drift include component aging and environmental
wavelength or color and each modulated by a different       changes. Note 2: Frequency drift may be in either direc-
information-bearing signal. Each separate wavelength        tion, i.e., increasing or decreasing frequency, and not
provides a separate channel. All wavelengths may be         necessarily be a linear function of the cause. Note 3:
simultaneously coupled into a single optical waveguide,     Frequency drj.ft may occur in devices that generate
such as an optical fiber. Each wavelength can be demul-     waves as well as devices that process them. Note 4:
tiplexed, i.e., can be separated and recovered at the far   Frequency drift may occur in various devices, such as
end of the optical fiber as long as a combination of        oscillators, clocks, transmitters, receivers, and repeat-
components, such as prisms and photodetectors, on the       ers. See also clock, drift, fiber optic receiver, fiber
receiving end are wavelength-sensitive for demultiplex-     optic repeater, fiber optic transmitter, frequency,

                                                      Appx4411
gas panel                                                                                                          400

argon, krypton, and xenon lasers, (c) metal vapor lasers,     that have similar high-level protocols but different
such as helium-cadmium molecular and helium-                  transmission level protocols, i.e., different physical
selenium lasers, and (d) molecular lasers, such as car-       layer or data link layer protocols. Note 2: A protocol
bon dioxide, hydrogen cyanide, and water vapor lasers.        translation/mapping gateway interconnects networks
See mixed gas laser. See also active laser medium,            with different network and protocol technologies by
laser.                                                        performing the required protocol conversions. Note 3:
                                                              A gateway may consist of various devices, such as
gas panel: In a display device, a part that consists of
                                                              protocol translators, impedance matching devices, rate
a display surface beneath which is a grid of electrodes
                                                              converters, fault isolation equipment, and signal transla-
or wires in a flat gas-filled envelope in which (a) the
                                                              tors, as necessary, to provide system interoperability.
energizing of a group of electrodes causes the electrons
                                                              Mutually acceptable administrative procedures must be
in the gas molecules to attain higher energy levels at
                                                              established between the interconnected entities. 2. A
specific locations and (b) upon returning to normal
                                                              node at which two or more networks are connected,
levels, photons are emitted at those locations, thus creat-
ing an image of light. Synonym plasma panel. See              with the fundamental role of serving as the boundary
also display device, electron, emit, emission, energy,        between the internal protocols of the connected net-
energy level, image, level, light, photon.                    works. 3. The collection of hardware and software that
                                                              is required to effect an interconnection between one
gate: 1. A combinational circuit that (a) performs an         communications network and another. 4. The interface
elementary logic operation, i.e., such as the AND, OR,        or connection between one communications network
NOR, NAND, or NEGATION operation, (b) usually                 and another. 5. The path into or out of a communications
has one output channel and one or more input channels,        network. Note: An example of a gateway is a connection
and (c) has an output channel state that is completely        between a local area network (LAN) of personal com-
determined by the input channel states, except during         puter (PC) systems and a large-scale host computer.
switching transients i.e., during transition from one sig-    See also bridge, brouter, communications, commu-
nificant condition to another. Note: Inputs to gates may      nications network, fiber optic net, functional unit,
be 0 or I. If there are two inputs, there are 16 different    gating, gating circuit, hardware, host, host com-
possible input arrangements, ranging from 0000 to             puter, impedance, impedance matching, intercon-
1111, giving rise to 16 different gating arrangements.        nection, interface, internetworking, interoperabil-
Of course, strictly speaking, a device that emits a contin-   ity, isolated, isolation, isolator, local area network,
uous series of Os or ls might be considered as a gate         logic, logical expression, network, network architec-
only if the output can be inhibited. 2. To select portions    ture, node, Open Systems Interconnection-Refer-
of electrical pulses or electromagnetic waves that meet       ence Model, path, port, protocol, router, signal, sig-
specified criteria, such as portions that lie between cer-    nificant condition, software, switch, switching,
tain time or amplitude limits. 3. To use combinational        translator, transmission, transmission level, user.
circuits, i.e., to use logic, for purposes such as mix        Refer to Fig. N-9.
signals, execute logic functions, perform signal process-
ing functions, and adjust the timing of signals. See          gateway interface: An interface between two dissimi-
channel gate. See also amplitude, Boolean function,           lar communications systems, such as a fiber optic com-
Boolean operation, channel, combinational circuit,            munications system, in which (a) switching centers are
emit, fiber optic channel, gating, laser-amplifier            provided that enable switching, signaling, supervisory,
gate, logic, logic device, logic diagram, optical inte-       and transmission functions to be performed on calls
grated circuit, optical pulse, pulse, signal, signal pro-     from a user in one system to a user in another system,
cessing, switch, switching, transition. Refer to Figs.        (b) switching functions are automatically performed
B-3, C-4, L-12, S-1, S-12.                                    under the control of a programmed computer, (c) usu-
                                                              ally only a limited number of users in both systems are
gateway: 1. In a communications network, a functional
                                                              permitted access to the other system via the interface.
unit that (a) is used for interfacing with a user or net-
                                                              See also bridge, brouter, fiber optic communications,
work, such as a fiber optic net, using different architec-
                                                              fiber optic communications system, gateway, inter-
tures or protocol suites, (b) may perform the functions
                                                              face, signaling, supervisory signal, supervisory sig-
of a router, (c) usually is located at, or may be part of,
                                                              naling, switching, transmission.
a node, and (d) is used for interconnecting (i) dissimilar
local area networks (LANs), (ii) devices on the same          gateway switching center: An automatic telephone
LAN that use different high-level protocols, and (iii)        system switching center that is part of a gateway and
LANs with networks of different architectures. Note I:        provides interconnections among communications sys-
A media conversion gateway interconnects networks             tems and networks, such as fiber optic communications

                                                        Appx4428
537                                                                                                       local battery

higher frequencies, such as in carrier systems, loading       network, pertaining to a protocol that applies only to
coils are not used. Note 3: Loading coils are not used        that node and not to any other station in the network,
on the optical side of a fiber optic transmitter between      (b) pertaining to a call in which charges are not based
the light source output and the photodetector input.          on a per call basis, (c) in computer programming, per-
See also attenuation, capacitance, carrier, coupling,         taining to what is defined on one subdivision of a com-
cutoff frequency, fiber optic transmitter, filter, fre-       puter program and is not used in any other subdivision
quency, inductance, light source, line, optical, photo-       of that or any other program, (d) in personal computer
detector, resistance, signal, twisted pair, voice fre-        (PC) systems, pertaining to a setting, definition, or con-
quency.                                                       dition that applies to only one part of a program and
                                                              not to any other part, and (e) on a spreadsheet, pertaining
load resistance: An electrical resistance that is used
                                                              to a setting that affects only one cell, or one set of
to accept electrical current from a source or to cause
                                                              cells, such as the column width, for one column on
a voltage drop when it is conducting a current. Note:
                                                              the spreadsheet. See also foreign exchange service,
Load resistance is used to (a) adjust stability and sensi-
                                                              global, long-distance call, long local call, network,
tivity in active devices, such as amplifiers, photodetec-
                                                              node.
tors, transmitters, receivers, and electric power genera-
tors and (b) adjust impedance of passive devices, such        local access and transport area: Under the terms of
as transmission lines and antennas. See also active           the Modification of Final Judgment, the geographical
device, amplifier, antenna, fiber optic receiver, fiber       area within which a Bell Operating Company is permit-
optic transmitter, impedance, passive device, photo-          ted to provide exchange telecommunications and ex-
detector, power, receiver, resistance, sensitivity, sta-      change access services after divestiture by the American
bility, transmission line, transmitter.                       Telephone and Telegraph (AT&T) Company. Common
                                                              abbreviation: LAT A. See also central office, divesti-
load test: A test of a device under various conditions
                                                              ture, exchange, exchange area, interchange carrier,
of loading. See tensile load test. See also loading, test.
                                                              inter-LATA, intra-LATA, service, telecommunica-
lobe: 1. An identifiable part of a radiation pattern. 2. In   tions service.
a polar coordinate diagram and in each direction, the
                                                              local area network: A communications system that
locus of points at which the power density, i.e., the
                                                              (a) lies within a limited geographical area, (b) has a
irradiance, is a specified fraction, such as one-half, of
                                                              specific user group, (c) has a specific topology, (d) is
the peak power density at the central axis of the radia-
                                                              not a public switched network, such as a public switched
tion pattern of an emitter, i.e., an antenna or source of
                                                              telephone network (PSTN), a metropolitan area net-
radiation, such as an optical source or a fiber optic
                                                              work (MAN), or a wide area network (WAN), but may
source. Note: The central axis of the lobe is the line
                                                              be connected to one, (e) usually is restricted to relatively
from the antenna or source to a point at a particular
                                                              small areas, such as rooms, buildings, clusters of build-
range, i.e., the range for which a lobe is drawn, where
                                                              ings, industrial plants, military installations, ships, and
the power density, i.e., the irradiance, is a maximum.
                                                              aircraft, (f) uses fairly high data signaling rates (DSRs),
3. A pair of channels between a data station and a lobe
                                                              (g) is not subject to public telecommunications regula-
attaching unit, one channel for sending and one for
                                                              tions, (h) usually is connected to a switching center or
receiving signals by the attached data station. See an-
                                                              central office (C.O.) for outside communications via
tenna lobe, main lobe, side lobe. See also channel,
                                                              other networks, such as telephone and data networks,
data station, fiber optic source, irradiance, laser ba-
                                                              and (i) may be a fiber optic net. Common abbreviation:
sic mode, light source, lobe attaching unit, power
                                                              LAN. See also central office, closed user group,
density, radiation pattern.
                                                              closed user group with outgoing access, communica-
lobe attaching unit: In a ring network, a functional          tions system, data network, data signaling rate, fiber
unit used to connect and disconnect data stations to and      optic net, metropolitan area network, network topol-
from the ring without disrupting network operations.          ogy, switching center, wide area network. Refer to
See also data station, lobe, network, network to-             Fig. C-13.
pology.
                                                              local area signaling service: See custom local area
lobe switching: See beam lobe switching.                      signaling service.
local: In communications, computer, data processing,          local battery: 1. In communications networks, a system
and control systems, pertaining to an entity that is appli-   in which each end terminal or end instrument provides
cable to a specific area of consideration and is not          the electrical power it needs from its own source. 2. In
applicable beyond that area, such as (a) at a node in a       telephony, a system in which each telephone has its

                                                        Appx4565
587                                                                                                                micro

meter: 1. The SI unit (Systeme International d'Unites)        crons), which is equivalent to 0.00000131 m (meters).
of length equal to 1,650,763.73 times the wavelength          See also electromagnetic wave, fiber optic transmis-
of the spectral line of orange light emitted when a gas       sion system, frequency, frequency spectrum desig-
consisting of the pure krypton isotope of mass number         nation, lightwave, meter, metric system, wavelength.
86 is excited by an electronic discharge. Common ab-
                                                              metropolitan area network: A network that usually
breviation: m. Note: The meter was originally estab-
                                                              (a) covers an area larger than a local area network
lished by Napoleonic scientists as one ten millionth of
                                                              (LAN) and smaller than a wide area network (WAN),
the distance between an Earth pole and the equator,
                                                              (b) interconnects two or more LANs, (c) covers an
i.e., 10-7 of that distance along the surface of the Earth.
                                                              entire metropolitan area, such as a large city and its
Later, the standard international meter was the distance
                                                              suburbs, (d) operates at a higher speed than a WAN,
between two fine lines engraved on a platinum bar held
                                                              (e) crosses administrative, i.e., political, boundaries,
at the International Bureau of Weights and Measures
                                                              and (f) uses multiple access methods. Common abbrevi-
near Paris, France. 2. A device that measures a parame-
                                                              ation: MAN. Note I: The Washington, DC metropoli-
ter value and indicates the result of the measurement.
                                                              tan area network (MAN) includes parts of the 301
Note: Fiber optic parameters, such as path lengths, fiber
                                                              (Maryland) and 703 (Virginia) area codes and all of
optic cable lengths, and lightwave speeds, are usually
                                                              the 202 (District of Columbia) area code. Note 2: New
expressed in meters or meters per second. See fiber
                                                              metropolitan area networks (MANs) are being installed
optic blood flow meter, frequency meter, induc-
                                                              with fiber optic nets. Existing MAN components are
tance-capacitance-resistance meter, par meter,
                                                              being expanded, supplemented, or replaced with fiber
phase meter, photoconductive meter, photometer,
                                                              optic links, fiber optic loops, and fiber optic trunks in
photovoltaic meter, power meter. See also light,
                                                              order to take advantage of the wideband capabilities of
lightwave, path length, spectral line, standard,
                                                              fiber optic systems. See also communications, fiber
value.
                                                              optic link, fiber optic loop, fiber optic net, fiber optic
method: See actuation method, alternative test                system, fiber optic trunk, local area network, me-
method, broadcast communications method, fiber                dium interface connector, medium interface point,
optic test method, Fresnel reflection method, induc-          wide area network, wideband.
tive assertion method, maximal-ratio-square diver-
                                                              Michelson fiber optic sensor: A high-resolution inter-
sity combining method, peak mode method, power
                                                              ferometric sensor in which (a) a coherent electromag-
weighted method, radio and telegraph operating
                                                              netic wave, such as monochromatic light, is split by a
method, reference test method, refracted ray
                                                              beam splitter, one half is reflected from a fixed mirror
method, relay communications method, transverse
                                                              and back through the splitter to a photodetector and the
scattering method.
                                                              other half is passed directly through the splitter to a
metric system: A decimal system of weights and mea-           movable mirror that reflects it back to the splitter where
sures based on the meter, the kilogram, and the second,       it is reflected to the same photodetector, (b) the two
i.e., on the MKS system. Note 1: The latest version of        waves can enhance or cancel each other, thereby modu-
this system uses the International System (SI) of Units       lating the irradiance, i.e., the light intensity, at the pho-
(Systeme International d'Unites). Note 2: Fiber optic         todetector in accordance with an input signal in the
parameters, standards, and protocols are usually ex-          form of a displacement of the movable mirror, such as
pressed in metric system units. For example, the stan-        might be produced by a sound wave or a pressure,
dard wavelength for fiber optic transmission systems is       strain, or temperature variation, (c) if an optical fiber
1.31 µm (microns) and a typical optical fiber attenuation     is used, the ends of the fiber form the reflecting surfaces,
rate is 0.1 dB • km- 1 (dB per kilometer). See also atten-    (d) moving one end relative to the other produces the
uation rate, fiber optic transmission system, Interna-        same effect as moving the mirror, and (e) displacements
tional System of Units, optical fiber, second. Refer          less than 10- 13 m (meter) can be measured when narrow
to Appendix B, Tables 3, 4.                                   spectral width, i.e., monochromatic, highly coherent
                                                              laser sources are used. See also beam splitter, coher-
metric wave: An electromagnetic wave with a wave-
                                                              ency, coherent, coherent light, constructive interfer-
length that is between 1 m (meter) to 10 m, i.e., that
                                                              ence, destructive interference, electromagnetic
has a frequency that lies in the range that (a) extends
                                                              wave, fiber optic splitter, interferometric sensor, ir-
from 30 MHz (megahertz) to 300 MHz, (b) has the
                                                              radiance, laser, mirror, modulation, monochro-
letter designation VHF (very high frequency), and (c)
                                                              matic, optical fiber, photodetector, reflection, signal,
has the numerical designation 8. Note: For comparison
                                                              spectral width.
with metric waves, lightwaves used in fiber optic trans-
mission systems have a wavelength of 1.31 µm (mi-             micro: Refer to Appendix B, Table 4.

                                                        Appx4615
slab interferometry                                                                                                 932

                                                              tion, secondary station, synchronized clock, timing,
n =Refractive Index
n,>n,                                                         timing signal, tributary station.
                                                              slave timing system: See master-slave timing system.
                             Cladding n,                      sleek: In optical elements, a scratch that (a) may be
                              /              Coren,           produced by polishing and (b) is not accompanied by
                                                              visible conchoidal fracturing of the edges. See also
                                           /                  optical element.
                                                              sleeve splicer: See precision sleeve splicer.
                                                              sleeve splicing: See precision sleeve splicing.
                                                              slew: See clock phase slew.
Fig. S-3. A slab dielectric waveguide that (a) is a
few microns wide and thick and (b) might be formed            slewing: 1. Rotating a directional antenna or transducer
by an etching process or a chemical vapor deposition          rapidly, usually in a horizontal or vertical direction or
process on an optical integrated circuit chip.                both. 2. Changing the frequency or pulse repetition rate
                                                              of a signal source. 3. Changing the tuning of a receiver,
                                                              usually by sweeping through many or all frequencies.
                                                              See also antenna, frequency, pulse repetition rate,
                                                              receiver, signal, source, transducer, tuning.
slab interferometry: Measurement of the refractive
index profile of a dielectric waveguide, such as an           slice: See time slice.
optical fiber or a slab dielectric waveguide, by using
                                                              slice interferometry: Synonym slab interferometry.
(a) a thin sample, i.e., a short length, that has its faces
perpendicular to the axis of the waveguide and (b) an         sliding window: A variable-duration window that
interferometer that scans across an endface. Note: The        allows a transmitter to transmit a specified number of
refractive index profile is calculated from the interfer-     data units before an acknowledgement is received or
ence patterns obtained by the interferometer. Synonyms        before a specified event occurs. Note: An example of
axial interference microscopy, slice interferometry,          a sliding window in packet transmission is one in which,
transverse interferometry. See also dielectric wave-          after the sender fails to receive an acknowledgement
guide, endface, interference pattern, interferometer,         for the first transmitted packet, the sender resets the
interferometry, optical fiber, refractive index pro-          window, i.e. , "slides" the window, and sends a second
file, scan, slab dielectric waveguide.                        packet. This process is repeated for a specified number
                                                              of times before the sender interrupts transmission. Syn-
slave clock: A clock that is coordinated with, i.e., is
                                                              onym acknowledgement delay period. See also data
controlled by, a master clock. Note I: Slave clock coor-
                                                              unit, event, packet, transmission, window.
dination usually is achieved by phase-locking the slave
clock signal to a signal received from the master clock.      slip: In a sequence of transmitted symbols, a signal
Note 2: To adjust for the delay of the timing signal          phase shift, i.e., a signal positional displacement, that
from the master clock to the slave clock, the phase of        causes (a) the loss of one or more symbols or (b) the
the slave clock may be adjusted with respect to the           insertion of one or more extraneous symbols or charac-
timing signal from the master clock so that both clocks       ter strings, such as character strings represented by
are in phase. Thus, the time markers of both clocks, at       optical pulse trains. Note: Slips usually are caused by
the output of the clocks, occur simultaneously at their       inadequate synchronization of the two clocks control-
respective locations. See also clock, delay, master           ling the transmission and reception of the signals that
clock, phase, signal, synchronous, synchronous opti-          represent the symbols. See bit slip, digital slip, frame
cal network, timing, timing signal.                           slip. See also bit string, character string, clock,
                                                              optical pulse, phase, phase shift, position, pulse
slave station: 1. In a data network, the station that
                                                              train, reception, signal, synchronization, trans-
(a) is selected and controlled by a master station and
                                                              mission.
(b) usually can only call, or be called by, a master
station. 2. In navigation systems that employ precise         slip-free operation: Operation of a communications
time dissemination, a station that has a clock that is        system, such as a synchronous optical network (sonet),
synchronized by a master station. See also call, control      with sufficient phase locking (a) to prevent slip or (b) to
station, data network, master station, primary sta-           prevent the overflowing or emptying of buffers. See


                                                        Appx4960
1033                                                                                 time division multiple access

or condition to another, contained in the relation At =       time diversity transmission: Transmission in which
A 0 e-11• where At is the value of the state at time t, A 0   identical signals, such as optical signals, are sent over
is the value of the state at time t = 0, a is the time        the same channel at different times. Note: Time diver-
constant, and t is the time that has elapsed from the         sity transmission is often used in systems subject to
start of the exponential decay. Note I: When t = a,           error burst conditions. The time spacing is adjusted to
 AtfA 0 = lie, or about 0.37, and the system has changed      be longer than an error burst. See also burst, burst
about 63% toward its new value in one time constant.          transmission, diversity, diversity reception, diver-
A system is considered to have completely changed its         sity transmission, error, error burst, frequency di-
state after the elapse of three time constants, which         versity, optical signal, signal, space diversity, time
corresponds to a 95% change in state. Thus, an electrical     diversity, transmission.
capacitor, C, is 95% discharged through a resistor, R,
                                                              time division: In communications, the use of time to
after the elapse of 3RC seconds, where R is in ohms
                                                              share the use of a system or device, such as a fiber
and C is in farads, because the discharge is given by
                                                              optic device, when the device can handle only one user
the relation qt= q 0 e-tlRC, where qt represents the charge
                                                              at a time. Common abbreviation: TD. Note: Examples
after time t has elapsed and q0 is the initial charge at      of time division are (a) the use of a single channel,
time t =0. Note 2: Time constants usually are expressed       such as a fiber optic channel, by separating the available
in seconds, such as 3.5 x 10-5 seconds, i.e., 3.5 µs          time into time slots that may be used to create additional
(microseconds). See fast time constant, logarithmic           channels, (b) to divide the time of a switch among a
fast time constant. See also capacitor, electronic            multiplicity of users, and (c) to divide the use of equip-
charge, resistor, second, time.                               ment, such as facsimile, transmission, and computing
time control: See sensitivity time control.                   equipment, among several users, one at a time. See also
                                                              available time, channel, fiber optic channel, fiber
time conversion chart: A table that enables (a) the time      optic device, frequency division, space division,
expressed in one mode at one location to be expressed         switch, time division multiplexing, time slot, user.
in the same or another mode at another location and
(b) the determination of the time differences between         time division demultiplexing: Reversing the process
the locations. Synonym time chart.                            of time division multiplexing such that messages, con-
                                                              versations, packets, blocks, or other units of data that
time delay: See near real time delay, receiver attack         time-shared one channel, such as a fiber optic channel,
time delay, receiver release time delay, transmitter          are each assigned separate channels, such as wireline
attack time delay, transmitter release time delay.            channels, so that they can each be routed to a different
Note: These terms are redundant in the sense that delay       destination, i.e., a form of serial to parallel conversion.
can only be with respect to time. However, they are           Common abbreviation: TDD. See also channel, fiber
defined as such by recognized standards bodies. See           optic channel, message, packet, serial to parallel con-
delay.                                                        version, time division multiplexing, wireline. Refer
time delay distortion: Synonym delay distortion.              to Fig. T-4.

time-derived channel: A channel created by time divi-         time division duplexing: Duplex communication ac-
sion multiplexing a line, circuit, or another channel,        complished by the simultaneous transmission and re-
                                                              ception of two signals each representing different infor-
such as a fiber optic circuit or channel. See also fiber
                                                              mation over a common path by using different time
optic channel, fiber optic circuit, frequency-derived
                                                              intervals for each signal. See also duplex communica-
channel, time division multiplexing.
                                                              tion, path, reception, signal, transmission.
time difference: See clock time difference.
                                                              time division multiple access: In a telecommunications
time diversity: 1. Pertaining to transmission in which        system, the allocation of unique time slots to the different
a signal, such as an optical signal, is sent through the      users of a common channel. Note: Time division multi-
same channel, such as a fiber optic channel, more than        ple access (TDMA) may be used in multiple or broadcast
once. 2. Pertaining to transmission and reception in          transmission. It is used extensively in satellite communi-
which the same information, though it may be repre-           cations systems, local area networks (LANs), physical
sented by different signals, is transmitted and received      security systems, and combat radio nets. Common ab-
at the same frequency more than once, but not simulta-        breviation: TDMA. See also channel time slot, fre-
neously. See also channel, fiber optic channel, fre-          quency division multiple access, local area network,
quency, optical signal, reception, signal, time diver-        multiple, multiplexing, radio net, satellite communi-
sity transmission, transmission.                              cations system, security, time slot, user.

                                                    Appx5061
time division multiplex equipment                                                                                   1034

time division multiplex equipment: Communications               during their assigned time intervals. Note 2: Time divi-
equipmentthat (a) allows messages or packets in several         sion multiplexing (TDM) systems usually use pulse
relatively slower speed channels to be transmitted              transmission. The multiplexed pulse trains are inter-
through one higher speed channel, (b) includes comple-          leaved with the pulse trains of the derived channels.
mentary demultiplexing equipment at the distant end             The derived channel pulses may be individually analog
to obtain the individual messages, (c) may include a            modulated or digitally modulated. Thus, individual sig-
matched computer to which the complete multiplexed              nals from separate sources share the time of a circuit
signal may be fed for demultiplexing, and (d) may               by being assigned time slots on the circuit. In fiber
use channel time sharing, such as (i) scanning, i.e.,           optic data links a single optical fiber can share its time
sampling, in which each possible input is connected in          among a large number of sources. If each source is
tum until all inputs have been scanned and the sequence         assigned 1 µs (microsecond) out of each ms (millisec-
is then repeated, (ii) polling, in which a code is used         ond) of time on the channel, 1000 sources can be accom-
to ask for a message that is ready to be transmitted            modated by the single fiber. Of course, the individual
now, and the one unit that is ready is connected and            sources can be frequency division multiplexed, giving
sends its address to the serving switching center, i.e.,        rise to many more channels. In an optical fiber, the
serving exchange, and, if two or more units are ready at        lightwaves in the fiber can be wavelength division mul-
the same time, a priority is arranged, and (iii) addressing     tiplexed, i.e., a different-color lightwave for each chan-
remote devices that then send back a ready signal or            nel. See asynchronous time division multiplexing,
a not-ready signal. See also address, channel, code,            synchronous time division multiplexing. See also
computer, demultiplexing, exchange, fiber optic                 channel, channelization, circuit, concentrator, digit
channel, message, multiplexing, not-ready signal,               time slot, fiber optic channel, frequency-derived
packet, polling, ready signal, scan, signal, switching          channel, frequency division multiplexing, frequency
center, time sharing, transmit.                                 spectrum, highway, multiplex aggregate bit rate,
                                                                multiplex hierarchy, multiplexing, optical fiber, par-
time division multiplexing: In a single channel operat-
                                                                allel to serial conversion, propagation medium, pulse
ing in a given frequency spectrum and in a propagation
                                                                train, source, time sharing, time slot, wavelength
medium connecting two or more points, the derivation
                                                                division multiplexing. Refer to Fig. T-4. Refer also to
of two or more concurrent channels, such as fiber optic
                                                                Fig. A-1.
channels, from the single channel by assigning discrete
time intervals, in sequence, to each of the derived chan-       time division switching: 1. The switching of time divi-
nels, i.e., a form of parallel to serial conversion. Com-       sion multiplexed (TDM) channels by shifting the data
mon abbreviation: TDM. Note 1: The entire available             from one time slot to another in the TDM frame. 2. In
frequency spectrum can be used by the derived channels          a switching system, an arrangement in which (a) the



         input pulse lines                                            time-division demultiplexer?
            1   2   3 ... 10


    - -~
                ~                 r       transducer
                                          (light source)
                                                                 /
                                                                          optical
                                                                          fiber
                                                                                             ~
                     ~                 / ---------- ~
                                           ---------- /                                          ~~
                                       "
                          ~
   (I.                                                        transducer _ /
                                                               (photodetector)
                                                                                                          !~
                L    time-division multiplexer                                             1    2   3 ... 10
                                                                                       output pulse lines

Fig. T-4. Time division multiplexing on a fiber optic link.

                                                    Appx5062
                                                           5,572,349
                               1                                                                    2
             COMMUNICATIONS SYSTEM                                    up to the network.management hierarchy to provide the BTS
                                                                      with all the data necessary to enable it to map the appropriate
      This application is a continuation-in-part of our copend-       number of traffic bits to a specified circuit.
ing commonly assigned application Ser. No. 08/194,081,                    Currently, the BTS is designed to be substantially sym-
filed as PCT/GB94/02744, Dec. 15, 1994.                            5 metrical. Bandwidth configured in the downstream direction
                                                                      is also available in the upstream direction.
                 FIELD OF THE INVENTION                                   In summary, the BTS is a transport system which allows
                                                                      the bandwidth from an OLT to be distributed flexibly
    This invention relates to a communications system, and to         between a number of remote customer ONUs sharing a
a line terminal and a customer terminal therefor.                  10
                                                                      common point-to-multipoint passive split optical network.
                                                                      In current TPON systems, four BTS master units at the OLT
            BACKGROUND OF THE INVENTION                               are connected, via a time switch, to tributary units (TUs)
                                                                      which enables any 64k timeslot from any 2048 Kbit/s TU to
    A known optical fibre communications network is the               be mapped to any timeslot on a particular BTS master unit.
passive optical network (PON) which is used to support 15 The BTS slave in the ONU distributes the TPON bandwidth
voice and data traffic-so-called telephony over a passive             to service units (SUs) which deliver the individual 64k
optical network (TPON). Managing the movement of traffic              timeslots to the customer for any given service.
through a TPON involves a number of technical consider-
                                                                          The concept of video-on-demand (VoD) has recently been
ations.
                                                                      proposed.    When using VoD, a subscriber to the service
    TPON systems currently are designed to carry a range of 20 would be able to call up a video transmission from a library
voice/data services. At the time these were specified, it was         of titles as and when the subscriber wanted to, and to
assumed that any expansion of such systems to include                 manipulate the video information, for example by freezing
video would be a long way into the future for regulatory              on a particular frame and fast searching backwards and
reasons. The systems were, therefore, specified to allow the          forwards.
use of a second wavelength for broadband services on the 25
                                                                          Now that video compression techniques have been devel-
PON at a later date, without impinging on existing systems.
                                                                      oped, requiring 2 Mbit/s or less per customer channel, the
    The present assignee has developed a bit transport system         possibility of distributing video channels among customers
(BTS) for use in a TPON. In this bit transport, system, an            is feasible, without the need for higher bandwidth transmis-
optical line terminal (OLT) at an exchange transmits bit 30 sion systems than are currently available.
interleaved time division multiplex (TDM) frames down-
stream to all the receiving terminations on the network,
known as optical network units (ONUs). The transmitted
                                                                                    SUMMARY OF THE INVENTION
frames include both traffic data and control data. Each
 termination recognises, and responds to, appropriately-ad-               The present invention provides a communications system
 dressed portions of the data in the transmitted frames, and 35 comprising an OLT, a plurality of ONUs, and a PON for
 ignores the remainder of the frames.                                  supporting traffic between the OLT and the ONUs, the OLT
     In the upstream direction, each termination transmits data        having a first terminal unit means for relatively narrow
 in a predetermined time slot, and the data from the different         bandwidth traffic, a second terminal unit means for relatively
 terminations are assembled at the OLT into time division 40 wider bandwidth traffic, and a time domain multiplexer
 multiple access (TDMA) frames of predetermined format.                arranged to multiplex the traffic from the first and second
     One feature necessary to such a network is the provision          terminal unit means for downstream transmission over the
 of compensation for the differing delays associated with the          PON, each ONU having a first service unit means for
 different distances of the various terminations from the OLT.         relatively narrow bandwidth traffic, a second service unit
 To this end, in the BTS system, each termination     is arranged  45
                                                                       means for relatively wider bandwidth traffic, a demultiplexer
 to transmit a ranging pulse timed to arrive in a predeter-            arranged to receive multiplexed downstream traffic from the
 mined portion of the upstream TDMA frame. The OLT is                  PON    and to segregate the traffic between the first and second
 arranged to monitor the timing and phase of the arrival of the        service unit means, and control means for generating rela-
 ranging pulse from each of the terminations, and to return a          tively narrow bandwidth control signals for upstream trans-
 servo-control signal to each termination to adjust the launch 50 mission over the PON, the second terminal unit means of the
 power of that termination, and to retard or advance its               OLT being responsive to the control signals from a given
  transmissions as appropriate. This active fine ranging               ONU to control the transmission of the relatively wider
  enables the BTS to ensure the stability of the upstream              bandwidth     traffic to that ONU, wherein the downstream
  TDMA frame and, for example, to compensate for fluctua-              transmission is by TDM and the upstream transmission is by
  tions in timing due to such effects as changes in the 55 TDMA.
  operating temperature of the network. However, this places               The invention is applicable to VoD for the wider band-
  severe demands on the design of the OLT, requiring the               width traffic. However, other wide bandwidth traffic can
  measurement of the timing of received signals to within a            equally well be transmitted. In general, the system of the
  fraction of a clock cycle in real-time.                              invention is suited to interactive information systems. For
      Additionally, the BTS must respond to commands from 60 example, educational video, data and voice services can be
  the next level in the network management hierarchy to                 transmitted by a system according to the invention. While
  allocate traffic circuits and to handle the addition/deletion of      the information traffic in these systems is likely to be
  subscribers and the change/reallocation of numbers (known             inherently unbalanced, the system of the invention can
  as "chum"). In practice, BTS controllers have no intrinsic            equally well be used to support wide bandwidth traffic of a
  knowledge of the type of traffic to be transmitted from an 65 substantially more balanced nature.
  exchange (or its format), or the bandwidth which should be               Advantageously, the first service unit means includes the
  allocated to a particular network customer termination; it is         control means.

                                                              Appx5253
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                              5                                                                    6
2 is arranged to transmit onto the PON 3 a ranging pulse              and to the video channel at the customer end. Conversely,
timed to arrive at a predetermined position within the                the control channel represents a two-way, generally sym-
ranging section R. The OLT 1 determines the phase of each             metrical, flow of traffic between the OLT 1 and the ONU 2.
arriving ranging pulse, and then transmits control signals to         The control channel is specific to a particular customer, and
the respective ONU 2 to adjust the launch power of that 5 comprises a narrow band full duplex (e.g. 9.6 kbit/s asyn-
ONU, and to retard or advance the timing of the transmis-             chronous) link between the ONU 2 and the OLT 1 in a
sion from that ONU       in order to minimise  the  phase  offset     normal narrower bandwidth voice/data channel. Thus, the
between the received data from that customer terminal and             control channel data is more normally representative of the
                          of that data within the  return frame       bandwidth of the voice/data present on a conventional
the intended    position
                                                                      TPON.
structure.                                                        10
                                                                          The BTS frame structure is designed to carry traffic
    Referring to FIG. 3, a simple implementation of the               arriving at eight 2.352 Mbit/s PCM ports at a BTS master
invention is shown for full duplex operation at 20.48 Mbit/s          unit. In addition to traffic, bandwidth needs to be allocated
with overlaid video data. The system comprises a bank of              for BTS control and ranging. For simplicity, the frame
BTS master units BTS(l) to BTS(n) which are located in the            structures in both directions have similar formats but differ
OLT 1. Each BTS master unit BTS(l) to BTS(n) has an 15 in functional detail, e.g. data in the downstream direction is
incoming line 12 carrying the signal to be transmitted over           scrambled to facilitate clock recovery at the remote termi-
a PON 18 coming from eight data streams. There is also a              nations.
clock input 13 synchronising the BTS master units BTS(l)
                                                                          The aggregate system baud rate is 20.48 MBaud, and the
to BTS(n) to a common source.
                                                                  20 multiframe frequency is 100 Hz, giving a multi frame period
    Each BTS master unit BTS(l) to BTS(n) has a transmit-             of 10 ms. The conventional BTS is a symmetrical transmis-
ting output tx and a receiving input rx. In this embodiment,          sion system, with the upstream direction of transmission
the BTS master unit BTS(n) is arranged to support relatively          being more complex than the downstream direction. Accord-
narrow bandwidth duplex voice and data traffic. The other             ing to the invention, it is possible to extend this multiplex in
BTS master units BTS(l) to BTS(n-1) are arranged to
                                                                  25 a TPON system to provide additional bandwidth in the
support relatively wider bandwidth asymmetric traffic, such           downstream direction without modifying in any way the
as VoD channels. A narrow bandwidth duplex control chan-              more complex upstream TDMA protocol.
nel, associated with the VoD channels, for customer control
                                                                          Referring to FIGS. 4(a) and (b), the conventional BTS
of the received video information, uses a small proportion
(e.g. 8 Kbit/s) of the bandwidth provided by the BTS master           downstream      multi frame repeats every 10 ms. It consists of
                                                                      one sync frame 34 and 80 basic frames BF0 to BF79. Each
unit BTS(n) supporting the narrow bandwidth duplex traffic. 30
                                                                      basic frame BF0 to BF79 contains the channel data from
    The transmitting outputs tx of the BTS master units               eight 125 µs source frames 36 (provided by the associated
BTS(l) to BTS(n) are commonly fed to the inputs of a time             data streams) and 144 housekeeping bits 38 (see FIG. 4 (b)).
division multiplexer 14 which is also located in the OLT 1.           Each source frame contains 294 channel bits.
The multiplexed output signal is then converted into an 35
                                                                          The 125 µs source frames are rate adapted to interface
 optical wavelength signal in an electro-optics converter 16,
                                                                      with   the BTS master units BTS(l) to BTS(n), each of which
 in which a laser light source having an output wavelength of
                                                                      receives    the 8x294 bits per 125 µs source frame from its data
 1310 nm is amplitude modulated with, for example, pulse
                                                                       streams    at 2.56 Mbit/s (this includes some redundant bit
 code modulated (PCM) traffic signals for transmission
                                                                       space).  The   bit streams are bit interleaved and time com-
 across the PON 18. The electro-optics converter 16 is also 40
                                                                       pressed   (to 20.48 Mbit/s) in the BTS master units BTS(l) to
 arranged to convert optical wavelength traffic received from
                                                                       BTS(n). They are then multiplexed in the multiplexer 14 and
 the PON 18 into electrical signals.
                                                                       transmitted over the PON 18. This multiplexing, by a
     An ONU 2 (see FIG. 3) according to the invention                  convenient factor (e.g. 2, 4, 8 or more-depending upon the
 comprises an electro-optics converter 20 similar to the               number of BTS master unit BTS(l) to BTS(n)), enables the
 electro-optics converter 16 in the OLT 1. The output from 45 handling of the increased traffic requirements caused by the
 the converter 20 is connected to the input to a demultiplexer         presence of the video traffic.
 2 which distributes the multiplexed signals between two
                                                                           At the customer end, the slave unit 24 is able to retrieve
 conventional BTS slave units 24 and 26. In this embodi-
                                                                       a  minimum     of one bit per basic frame of the multiframe.
 ment, the slave unit 24 is a VoD output, this slave unit having
                                                                       Thus, the minimum channel size available from a decom-
 an associated customer video channel for relatively broad- 5
                                                                    o pressed 125 µs source frame at the customer end is 8 kbit/s.
 band video signals. The other BTS slave unit 26 is used for
 the narrower bandwidth control channel between the video                  The sync frame 34 of the multiframe is subdivided into
  source and the customer. Thus, the narrow bandwidth BTS              two main areas: a 196 bit multiframe sync pattern 40 and a
  master unit BTS(n) in the OLT 1 and the slave unit 26 in the         4096 bit optical time domain reflectometry (OTDR) area 42.
 ONU 2 communicate via the control channel. It will be 55 The OTDR area 42 is not always fully used, if at all, and is,
  appreciated, by the skilled person, that a full network will         therefore, used for alignment of a superframe for the system
  combine many exchanges and numerous customers. Only                   according to the invention.
  one OLT 1 and one ONU 2 are shown in FIG. 3 for the sake                 Referring to FIG. S(a), the input to the multiplexer 14 is
  of clarity. Each ONU 2 requires a channel for transmitting            a superframe constituted by a sequence of multiframes from
  and receiving control signals associated with the VoD infor- 60 the BTS master units BTS(l) to BTS(n).
  mation. This is described above in relation to the narrow                A superframe incorporating the wider bandwidth traffic
  bandwidth BTS slave unit 26. However, the same slave unit             of, for example the VoD service, is an enhanced version of
  26 may service more than one VoD channel for each                     the basic BTS downstream multiframe. The superframe can
  customer, depending on its capacity.                                  be generated simply by interleaving the bits from the mul-
     The skilled person will also be aware that the video signal 65 tiframes from the BTS master units BTS(l) to BTS(n). The
  itself represents a one-way, or severely asymmetrical, flow           multi frame from the BTS master unit BTS(n) contains a
  of traffic from the OLT 1, downstream across the PON 18               unique reference pattern in its OTDR area 42 which enables

                                                             Appx5255
US 2002/0063932 Al                                                                                               May 30, 2002
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between the head end and individual outstations. A charac-                  BRIEF DESCRIPTION OF THE DRAWINGS
teristic of FTIH networks is that customers tend to exist in
                                                                      [0032] In order to show how the invention may be carried
groups situated geographically close to each other (say,
                                                                      into effect, embodiments of the invention are now described
within a few hundred meters), but the head end (or central
                                                                      below by way of example only and with reference to the
office) may be some kilometers away. We exploit this
                                                                      accompanying figures in which:
observation to increase the overall transmission capacity.
                                                                      [0033] FIG. 1 shows a schematic diagram of a passive
[0023] The invention also provides for a system for the
                                                                      optical access network (PON) in accordance with a preferred
purposes of digital signal processing which comprises one or
                                                                      embodiment of the present invention;
more instances of apparatus embodying the present inven-
tion, together with other additional apparatus.                       [0034]    FIG. 2 shows the structure of a downstream data
                                                                      frame;
[0024] There is rapidly rising interest in fibre in the loop
solutions. Multiple access networks allow fibre and                   [0035] FIG. 3 shows the structure of a downstream com-
exchange end equipment to be shared across groups of end              mand or pause frame; and
customers, resulting in a more cost effective infrastructure.
                                                                      [0036] FIG. 4 is a flow chart illustrating the use of a
Our arrangement and method allows a multiple access
                                                                      multiple access algorithm in the network of FIG. 1 to
network to be built without the need for active electronics in
                                                                      marshal upstream transmissions;
street locations. A network requiring only passive elements
in outside locations is attractive, particularly to incumbent         [0037] FIG. 5 shows a schematic diagram of a wireless
network operators who traditionally have not used active              access network in accordance with a preferred embodiment
street equipment.                                                     of the present invention.
[0025] Further use of the present invention in areas of
                                                                               DETAILED DESCRIPTION OF PREFERED
application other than optical access networks helps provide
                                                                                         EMBODIMENTS
increased technical benefit from the invention over a wide
range of shared medium access networks, allowing reuse of             [0038] Referring first to FIG. 1, this shows in schematic
essential designs and components.                                     form an exemplary FTTH access network in which a head
[0026] The invention is also directed to medium access                end 11 is connected to a number of customer terminals or
logic for a communications network arranged to receive at             outstations 12 through a 1:n passive optical splitter 13 via
a first port a send pause request and at a second port to cause       respective optical fibre paths 14 and 15. Typically, the
a command to be sent to a remote station to pause trans-              distance from the head end to the splitter is up to around 5
mission for a time period responsive thereto. The command             km The distance between any two outstations is assumed to
may be directed to multiple outstations by means of a                 be relatively small, typically about 500 m. The splitter 13 is
multicast address, In a preferred embodiment, the medium              located at a convenient point in the street and requires no
access logic embodies the Ethernet protocol, modified to              power supply In the system illustrated, downstream and
support receipt of the send pause request. Typically such             upstream traffic use the same fibres and splitter, but each
medium access logic may be provided in the form of a chip             direction uses a different optical wavelength. Optionally, the
or chips set.                                                         network may use separate fibres and splitters for each
                                                                      direction of transmission.
[0027] The invention is also directed to software in a
machine readable form for the control and operation of all            [0039] As shown in FIG. 1, the head end 11 comprises an
aspects of the invention as disclosed.                                optical transmitter 110, typically a laser, operating at a first
                                                                      wavelength 11.1 , and an optical receiver 112 operating at a
[0028] Reference is here directed to our co-pending appli-            second wavelength 11.2 . The transmitter and receiver are
cation Ser. No. (09/584,330) of May 30, 2000, the contents            coupled to fibre 14 via a wavelength multiplexer 114 so as
of which are incorporated herein by reference.                        to provide bi-directional optical transmission.
[0029] The preferred features may be combined as appro-               [0040] The transmitter and receiver are electrically
priate, as would be apparent to a skilled person, and may be          coupled to control logic circuit 116, which circuit provides
combined with any of the aspects of the invention.                    an interface with an external network (not shown) to receive
                                                                      data to be transmitted downstream to the outstations 12 and
[0030] Other aspects and features of the present invention
                                                                      to transmit to the external network upstream data received
will become apparent to those ordinarily skilled in the art
                                                                      from those outstations
upon review of the following description of specific embodi-
ments of the invention in conjunction with the accompany-             [0041] Each outstation comprises an optical transmitter
ing figures.                                                          120 operating at a the second wavelength 11.2 , and an optical
                                                                      receiver 112 operating at the first wavelength 11. 1 . The
[0031] The specific embodiments of the invention given
                                                                      transmitter and receiver are coupled to fibre 15 via a
below are based on the use of the Ethernet protocol over an
                                                                      wavelength multiplexer 124.
optical fibre transmission system. It will be evident to those
skilled in the art of communications technology that the              [0042] Since the optical path between an outstation and
methods described can also be applied to other guided                 the head end passes through the splitter 13 in each direction,
transmission systems, such as coaxial cable and twisted               the optical transmission path has higher loss than in a simple
copper pair cable, and also to free space transmission using          point to point arrangement. To compensate for this trans-
electromagnetic waves, such as radio and free space optical           mission loss, the head end can be equipped with a powerful
transmission. Similarly, protocols other than Ethernet can be         laser transmitter 110 and a sensitive receiver 112. Preferably
used.                                                                 the outstation electro-optics should be based on standard


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                                                                            PON   (Up to16 ONUs, 20km)
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Appx5286
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                            Addendum B                                             [0239] Supports from 384 KB to 12 MB of Packet
                                                                                     Buffer Memory per nP3400 device. This Packet
[0231] Following is a description of a hardware design for
                                                                                     Buffer is dynamically allocated across all the ports.
a field programmable gate array for an Optical Network Unit
(ONU). It is intended to provide essential yet complete                            [0240] Supports up to 16 MB of routing table
information for hardware and software design. Following                              memory Packet size: 48 bytes to 16 KB-1
abbreviations are used herein.
                                                                                   [0241] On-chip Packet Classification CAM (Policy
                                                                                     Engine) and interface for nPC2110 XSM External
                                                                                     Search Machine (external search coprocessor)
         CAM              Content Addressable Memory
         DSl              Digital Signal Level 1
                                                                               [0242] ONU FPGA Architecture is based on an Altera
         FE               Fast Ethernet                                        APEX20K400 FPGA. This FPGAis to be used to enable the
         GE               Gigabit Ethernet                                     connection between NP3400 and PON PHY. As an extension
         IP               Internet Protocol                                    of Gigabit Ethernet MAC, the FPGA performs synchroni-
         LAN              Local Area Network
         MAC              Media Access Control
                                                                               zation, OAM&P, framing and de-framing functions. FIG.
         MM               Multi Mode                                           9B illustrates the ONU FPGA Block Diagram.
         OAM&P            Operation, Administration, Maintenance
                          and Provisioning                                     [0243]     The ONU features are as follows:
         ONU              Optical Network Unit
         OLC              Optical Line Card
                                                                                   [0244] Support up to 1 OAM&P message queue for
         OLT              Optical Line Terminal                                      downstream and 1 queue for the upstream. (160B
         PON              Passive Optical Network                                    each)
         SM               Single Mode
         SONET            Sync Optical NETwork                                     [0245] Support up to 8 Tl/El connections and con-
         TOM              Time Division Multiplexing                                 figurable number of active Tl/El.
         WAN              Wide Area Network
                                                                                   [0246]     Support slave mode PowerPC bus mode
                                                                                   [0247] Assemble HSF and non-diagonal sub-frames
[0232] Each ONU is Customer Premises Equipment that                                  from data buffer and TDM buffers.
accesses the customer LAN networks via multiple Fast
Ethernet connections and Tl connections. It also provides                          [0248] Respond to the ranging request and schedule
Gigabit/Fast Ethernet PON link to OLT, central office equip-                         up-stream transmission based on the range informa-
ment. Both OLC and ONU are built around the MMC's                                    tion from OLC
nP3400 network processor.
                                                                                   [0249] Statistical counters, up-stream PON frame
                                                                                     count, receiving error frame count.
                                                                                   [0250] Performance monitoring, link status, PRPG
                                         Memory
                                                                                     test, etc.
Com-                                      Size       Chip     Port Size
ponent     Base Address                  (Bytes)     Select    (Bits)              [0251] PON system bandwidth allocation and modi-
DRAM       0x000 0000                      16 M       CS2          32                fication
Bank 1
DRAM       0x040 0000                      16 M       CS3          32              [0252] PON system error monitoring and alarm gen-
Bank 2                                                                               eration
Internal   0x220 0000                                 NA           32
RAM                                                                            [0253] Steps OLT FPGA Need to Perform in Ranging
Intel      0x280 0000                      16 M       cso          32          Process:
Flash
NP3400     0x300 0000                                 CS7          16            [0254] 1. set offset delay to zero, send the ranging
FPGA       0x400 0000                                 CS4          16              request with out-of-range status at the sub-frame prior
Quad       TOM Modl 0xS00 0000                        css           8
Framers    TOM Modl LED 0xS00 1000                                                 to the diagonal sub-frame for a specific ONU_I;
           TOM Mod2 0xS00 2000
           TOM Mod2 LED 0xS00 3000
                                                                                 [0255]     2. Expect the ranging reply from ONU_I
XSM        0x600 0000                                 CS6          16
                                                                                 [0256] 3. If the ranging reply arrives before the end of
                                                                                   the next sub-frame, i.e. the diagonal sub-frame, calcu-
                                                                                   late the time count from the moment the reply arrives
[0233] ONU Board Clock Distribution is illustrated in                              to the end of the diagonal sub-frame. Got to 4. else
FIG. 9A.
                                                                                   ONU_I is not there or too far away.
[0234]      System Capabilities are as follows for the ONU:
                                                                                 [0257] 4. If the status is out-of-range, The count is the
      [0235]      24 Fast Ethernet+2 Gigabit Ethernet ports                        offset delay value; else if the status is ranged, the count
      [0236] Support up to 8 Tl/El, Default 4 Tl/El and                            should be equal to the offset delay value, compare the
        removable module has 4 Tl/El                                               value difference against the out-of-range threshold.
      [0237] Supports a dedicated CPU port for manage-                           [0258] 5. Wait till the same diagonal sub-frame time slot
        ment and control.                                                          in the next supper-frame, assemble a ranging request
                                                                                   frame with the offset delay value and ranged status in
      [0238] Provides a standard SMII interface for each                           the request.
        Fast Ethernet connection and an 8B/10B interface for
        each Gigabit Ethernet connection.                                        [0259]     6. go to step 2.


                                                                    Appx5334
US 2004/002804 7 Al                                                                                             Feb. 12,2004
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ware, or in combinations of them. The invention can be               medium of digital data communication, e.g., a communica-
implemented as a computer program product, i.e., a com-              tion network. Examples of communication networks include
puter program tangibly embodied in an information carrier,           a local area network ("LAN") and a wide area network
e.g., in a machine-readable storage device or in a propagated        ("WAN"), e.g., the Internet.
signal, for execution by, or to control the operation of, data
                                                                     [0064] The computing system can include clients and
processing apparatus, e.g., a programmable processor, a
                                                                     servers. A client and server are generally remote from each
computer, or multiple computers. A computer program can
                                                                     other and typically interact through a communication net-
be written in any form of programming language, including
                                                                     work. The relationship of client and server arises by virtue
compiled or interpreted languages, and it can be deployed in
                                                                     of computer programs running on the respective computers
any form, including as a stand-alone program or as a
                                                                     and having a client-server relationship to each other.
module, component, subroutine, or other unit suitable for
use in a computing environment. A computer program can               [0065] The invention has been described in terms of
be deployed to be executed on one computer or on multiple            particular embodiments. Other embodiments are within the
computers at one site or distributed across multiple sites and       scope of the following claims. For example, the steps of the
interconnected by a communication network.                           invention can be performed in a different order and still
                                                                     achieve desirable results. The switch can be built as single
[0060] Method steps of the invention can be performed by             or multiple rack units such as chassis and blade configura-
one or more programmable processors executing a computer             tion with management and ingress/egress port blade and
program to perform functions of the invention by operating           communication via backplane. An embodiment of the switch
on input data and generating output. Method steps can also           can support data throughput speeds of 10 megabit per
be performed by, and apparatus of the invention can be               second to 40 gigabit per second. The switch can be used in
implemented as, special purpose logic circuitry, e.g., an            both wired and wireless applications to deliver voice, data,
FPGA (field programmable gate array) or an ASIC (appli-              internet, and video services.
cation-specific integrated circuit).
                                                                     What is claimed is:
[0061] Processors suitable for the execution of a computer             1. A method for processing data packets in a computer
program include, by way of example, both general and                 network, the data packets including information from one or
special purpose microprocessors, and any one or more                 more of Layers 2 through 7 of the OSI Model, comprising:
processors of any kind of digital computer. Generally, a
processor will receive instructions and data from a read-only          configuring a packet filter engine to process data packets
memory or a random access memory or both. The essential                  at wire-speed based on one or more user defined packet
elements of a computer are a processor for executing                     policies, each user defined packet policy specifying
instructions and one or more memory devices for storing                  information for one or more of Layers 4 through 7;
instructions and data. Generally, a computer will also
include, or be operatively coupled to receive data from or             receiving a data packet, the received data packet having a
transfer data to, or both, one or more mass storage devices               sequence of bytes;
for storing data, e.g., magnetic, magneto-optical disks, or            examining the data packet;
optical disks. Information carriers suitable for embodying
computer program instructions and data include all forms of            determining if there is a match between the data packet
non-volatile memory, including by way of example semi-                   and one or more of the packet policies, each packet
conductor memory devices, e.g., EPROM, EEPROM, and                       policy having on or more policy action fields;
flash memory devices; magnetic disks, e.g., internal hard
                                                                       if no matching packet policy is found, routing the data
disks or removable disks; magneto-optical disks; and CD-
                                                                          packet;
ROM and DVD-ROM disks. The processor and the memory
can be supplemented by, or incorporated in special purpose               if a matching packet policy is found, processing the data
logic circuitry.                                                            packet based on the policy action fields of the matching
                                                                            policy.
[0062] To provide for interaction with a user, the invention
                                                                         2. The method of claim 1, wherein configuring the packet
can be implemented on a computer having a display device,
                                                                     filter engine includes:
e.g., a CRT (cathode ray tube) or LCD (liquid crystal
display) monitor, for displaying information to the user and           receiving a user request for a packet policy; and
a keyboard and a pointing device, e.g., a mouse or a
trackball, by which the user can provide input to the com-              transmitting the requested packet policy to the packet
puter. Other kinds of devices can be used to provide for                   filter engine as one of the one or more user defined
interaction with a user as well; for example, feedback                     packet policies.
provided to the user can be any form of sensory feedback,               3. The method of claim 1, wherein each user defined
e.g., visual feedback, auditory feedback, or tactile feedback;       packet policy specifies a policy byte pattern and determining
and input from the user can be received in any form,                 if there is a match includes:
including acoustic, speech, or tactile input.                           determining if the sequence of bytes in the received
[0063] The invention can be implemented in a computing                     packet matches the policy byte pattern.
system that includes a back-end component, e.g., as a data              4. The method of claim 1, wherein routing the packet
server, or that includes a middleware component, e.g., an            includes:
application server, or that includes a front-end component,            routing the packet using a Layer 2-3 switch.
e.g., a client computer having a graphical user interface or           5. The method of claim 1, wherein the policy action field
a Web browser through which a user can interact with an              specifies an action to be performed on the received data
implementation of the invention, or any combination of such
                                                                     packet and processing the packet includes:
back-end, middleware, or front-end components. The com-
ponents of the system can be interconnected by any form or             performing the specified action in the policy action field.


                                                         Appx5375
